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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                                Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,

       Defendants.


                         INTERVENOR EBAY INC.’S RESPONSE
                        TO THE COURT’S MARCH 9, 2022 ORDER

       Intervenor eBay Inc. (“eBay”) hereby files this response to the Court’s March 9, 2022

Order (Dkt. 191) (the “Order”). Attached at Exhibit 1 is a copy of the PowerPoint deck that was

used during the presentation to the government on March 16, 2021.

Dated: March 16, 2022                          Respectfully submitted,
                                              /s/ Jack W. Pirozzolo
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                                 CERTIFICATE OF SERVICE

   I hereby certify that on March 16, 2022, this document, filed through the CM/ECF system,

will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing (NEF) and paper copies will be sent to those indicated as non-registered participants.

                                                   /s/ Jack W. Pirozzolo
                                                   Jack. W. Pirozzolo




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                  EXHIBIT 1




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                             eBay Presentation on “Federal Corporate Principles” to the
                                   Office of the U.S. Attorney for Massachusetts
                                Concerning the August 2019 Crimes Committed by
                                Former eBay Employees Against the Natick Couple

                                                                  March 16, 2021




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                                                            Introduction

• The government has charged 7 individual defendants for crimes committed against
     Ina and David Steiner.
• eBay realizes that, under the facts and legal principles (e.g., respondeat superior),
     DOJ could take enforcement action against the company. You have broad discretion
     in this determination under the 11 Principles of Federal Prosecution.
• Purpose of this presentation:
      • Explain why we believe that the Principles and facts here support a decision not
          to take enforcement action against eBay.
      • That decision is in the interest of justice, the victims, and the public.
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                                                  Executive Summary
Five main points:
1.     eBay acknowledges the seriousness of the misconduct and the company’s responsibility. The conduct of the
       seven defendants was clearly criminal, and eBay is troubled by the role here of its former-CEO and former-Chief
       Communications Officer in particular. We hope the government agrees that their actions do not warrant criminal
       charges against the company.

2.     All the wrongdoers deliberately hid their misconduct from eBay because they knew the company would not
       condone it. They even said explicitly before the crimes that eBay would fire them if it found out.

3.     eBay had a robust compliance program before the Natick events and has taken significant steps to buttress that
       program and revamp the Safety & Security unit to prevent anything like this from happening again.

4.     eBay’s cooperation with the government has been voluntary, swift, proactive, unconditional, and complete.

5.     In the end, we hope to persuade you that, eBay – the company -- acted in a manner that the government would
       want other companies to model and that a decision not to take enforcement action against eBay is in the
       interests of justice, the victims, and the public.
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                    Presentation Roadmap: The 11 Principles
                                         (we will address all 11, not all in numerical order)

1. Nature of offenses
2. Pervasiveness of wrongdoing
3. Company history of similar misconduct
4. Company’s willingness to cooperate
5. Adequacy of compliance at time of wrongdoing and charging decision
6. Company’s timely and voluntary disclosure
7. Company’s remedial actions
8. Collateral consequences
9. Adequacy of other remedies
10. Adequacy of prosecution of responsible individuals
11. Interests of the Victims
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                                                  Principle 1
                                            Seriousness of Offenses
Nature and seriousness of the offense, including risk of harm to the public, and
applicable policies and priorities, if any, governing the prosecution of corporations
for particular categories of crime (JM 9-28.400)


  1. The wrongdoers committed serious crimes against the two victims.

  2. The crimes did not risk broader harm to the public.

  3. The crimes were very unusual: the government does not have applicable policies or priorities for
         them.


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                                           Principle 3
                                No History of Similar Misconduct

Company’s history of similar misconduct, including prior criminal,
civil, and regulatory enforcement actions against it (JM 9-28.600)

1.     eBay has been in business 25 years.

2.     eBay has no history of similar misconduct.

3.     eBay has no history of any criminal misconduct.




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                                             Principle 2
                                    Pervasiveness of Wrongdoing
Pervasiveness of wrongdoing within company, including management complicity in,
or condoning of, the wrongdoing (JM 9-28.500)
We will address pervasiveness on three different levels:
1. Overall at the company
2. Specific to the Safety & Security team
3. The responsibility of the former-CEO and former-Chief Communications Officer
                                --------------------------------------------------------------------------------
1.    Companywide, overall, the conduct was not pervasive or condoned.
eBay is an international company with 30,000 employees and contractors in 54 offices across 31
countries. These crimes were committed by 7 members in 1 unit from 1 office.

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                                                      Principle 2, cont.
                                                       Pervasiveness
2. Safety & Security Team: the wrongdoing was pervasive in Baugh’s hand-picked group, but not
more broadly among the 100+ members of Safety & Security unit.

• Baugh was Senior Director of the Safety & Security unit. He hand-picked people he thought he could
     control from different teams within the unit
      • Intel (Popp, Zea, Stockwell), Resilience (Harville), Physical Security (Gilbert and Cooke)

• He deliberately excluded and concealed his plans from managers who would stop him.
      •    e.g. Dan Cory, Alicia-Maria Domingos

• Two junior Safety & Security members he recruited refused to participate (Alford and Mount).
• The hand-picked group knew eBay would not condone – and would severely punish the misconduct.


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                                         Principle 2, cont.
                                 Not Pervasive/Condoned by eBay
• They showed by their words and actions that they knew eBay did not condone their wrongdoing and
   would punish it severely:
    • On August 11 on WhatsApp Baugh wrote, before the crimes were committed: “Once you read it delete this
         entire thread and don’t save to your phone or we will all get fired.”
    • Throughout, they tried to hide all their misconduct from eBay:
          •   Booked travel “off the grid”
          •   Lied to coworkers (and even family)
          •   Created false covers and documents, doctored records
          •   Communicated over WhatsApp so eBay could not trace
          •   Deleted records and messages
          •   Used burner devices and non-company cash cards
          •   Conspired to lie extensively, and did lie extensively, to eBay investigators

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                                                      Principle 2, cont.
                                                       Pervasiveness
3. Wenig/Wymer set an improper tone between themselves that was critical of Ms. Steiner and her website.
•    In 2019, Wenig & Wymer exchanged texts criticizing her and her website (i.e., “hate her” “take her down”).
•    We found no evidence that they sent these texts to other executives or ELT members. Their improper tone was not pervasive among
     other executives. Only these two were preoccupied with Ina Steiner and eCommercebytes.
•    eBay recognizes that their improper tone contributed significantly to the crimes in Natick.
•    Wenig’s tone was improper and unacceptable. But we did not find evidence that he directed or knew that criminal acts would occur.
•    Wymer’s tone was much worse. Inexcusable from any employee, much less an ELT member.
      •   We did not find evidence he actually directed or knew that criminal acts would follow.
      •   But: his words were extremely reckless and irresponsible AND eBay fired him for cause.
      •   Significant: Wymer hid his August 1 Baugh texts from everyone – General Counsel; Chief of Litigation; and apparently even
          Wenig.
           •    Why? Because he knew they were wrong and would not be condoned by anyone else at eBay.
           •    August 7 Wymer email: “Utterly vexed…Whatever. It. Takes.”
      •   Wymer: January 2019 hire: too green/inexperienced to push back on CEO tone, sought to curry favor.

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                                               Principle 2, cont.
                                             Not Condoned by eBay
4. The Corporate response upon learning of the crimes also demonstrates that eBay did not condone the wrongdoing.

•    eBay General Counsel, Chief People Officer, and Chief Compliance Officer took decisive action.
      • They immediately launched/pursued a thorough investigation, with unhindered scope and access.
      • Chief Compliance Officer (Molly Finn) rejected Baugh’s effort to obstruct.
•    Investigators determined the facts and roles, regardless of position or title.
      • Marshalled records.
      • Cut through coordinated lies and false documents with numerous interviews.
•    eBay terminated all those responsible.

•    ELT/Board of Directors immediately directed: full report to and assist government.

•    eBay reported all facts to the government, including roles of CEO and Chief Communications Officer.


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                                 Principles 4 & 6
                       Immediate Disclosure and Cooperation
4. Company willingness to cooperate, including as to potential wrongdoing by its agents (JM 9-28.700)

6. Company’s timely and voluntary disclosure of wrongdoing (JM 9-28.900)



• DOJ Manual seeks:                                                      • Speed: 32 Days from Notice to full eBay report to
    • “early voluntary disclosure”                                         USAO
    • “timeliness of the cooperation”                                            •   Aug. 22: eBay learned of inquiry, launched
    • “diligence, thoroughness and speed of the                                      investigation, contacted NPD.
       internal investigation”                                                   •   Aug. 23-Sep. 23: documents, interviews, devices,
                                                                                     forensics, etc.
    • “proactive nature of the cooperation”
                                                                                 •   Sep. 11-20: eBay contacted NPD, FBI, AUSAs.
                                                                                         • eBay will voluntarily report
• eBay met all parts of these criteria                                                   • No subpoenas needed
                                                                                 •   Sep. 24: eBay disclosed all facts and persons to USAO

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                        Principles 4 & 6, cont.
             Cooperation: Extensive, Thorough, Continuing
1. Continuous: September 2019 through the present
2. Produced in response to every government request (no request denied)
3. Made further proactive disclosures/productions (witnesses, phones, et al.)
4. 12 main productions, +12,000 pages
5. Devices and images
6. Forensic results/reports
7. Additional company network searches run as requested
8. Appendix 1: Cooperation – Partial Chronology next slides:
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                                              Appendix 1
                                     Cooperation: Partial Chronology
*This chronology is only partial: it does not capture numerous eBay/AUSA calls and emails where eBay provided other assistance.
*The cooperation continues through the present.
 2019
 Aug. 22              eBay received NPD inquiry, launched investigation, called NPD detective
 Sep. 11-20           eBay called FBI, spoke with AUSAs Kosto and Burkart: explained status, requested meeting to fully report investigation facts, no subpoenas needed
 Sep. 24              Full eBay report to AUSAs Burkart, Kosto
 Oct. 9               eBay production #1, up to Bates # E_000468. Key docs, including org chart, expense records, electronic records, device review facts/information, imagings,
                      forensic results/reviews, texts, emails, email review summaries, and witness-specific records.
 Oct. 18              eBay production #2, up to E_000656. Native docs, internet search reports, web history reports, expense reimbursements.
                      eBay identified M. Alford, newly-discovered witness with relevant information
 Oct. 25              eBay production #3 up to E_000819. Expense and travel reports, native emails.
 Oct. 29              eBay produced results of network searches for specific data regarding IP addresses and domain names searched during misconduct by requested persons.
 Nov. 1               eBay production #4, up to E_000830. Phone call logs, installed-apps reports for employee phones, status of IP address and domain name searches.
 Nov. 4               eBay produced M. Alford for USAO interview.
 Nov. 15              eBay production #5, up to E_000831. Report of web browsing activity from eBay networked devices for 8 requested people and contact information for
                      contract employee's company.
 Nov. 21              eBay production #6, up to E_001090. Date and time of every travel reservation booked for six requested former employees, reports of web browsing activity
                      of 8 requested people, natives of emails from eBay's production #1.
 Nov. 29              eBay produced R. Moore for USAO interview.
 Dec. 11              eBay production #7, up to E_001097. Forensics from Cooke's ebay cell phone.
 Dec. 17              eBay produced P. Cooke for USAO interview.
 Dec. 27              eBay production #8, up to E_010127. Outlook calendars for 8 requested people.
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                                        Appendix 1, cont.
                                  Cooperation: Partial Chronology
2020
Feb. 19              eBay production #9, up to E_010142. Responses regarding defendants’ work phones, 3 additional phones, and Popp notebook
                     Delivery to government of Harville eBay phone.
June 15              USAO announcement of charges against 6 defendants
Oct. 13              eBay fact proffer re: eBay investigator's three August 2019 Harville interviews.
Oct. 13              eBay fact proffer re: eBay investigator's several August 2019 Baugh interviews.
Oct. 16              eBay fact proffer re: eBay investigator's regarding two late-August Wymer interviews
Nov. 6               eBay production #10, up to E_010194. Badge access records for requested defendants, data on receipt and dissemination of Natick Police Department's
                     August 2019 communications to eBay.
Nov. 3               Grand jury indicts Baugh and Harville on additional charges.
Nov. 24              eBay provided requested bank acct info re: Baugh
Dec. 4               eBay sent Wymer's eBay phone image to the government, with chain of custody.
                     eBay also provided search consents for work phones.
Dec. 5               eBay Production #11, up to E_010196. Floor plans/schematics of requested eBay office space and locations of access-card readers.
Dec. 14              eBay provided salary information for requested defendants
Dec. 29              eBay Production #12, up to E_012340. All Wymer emails as requested for 8/23/19 to 9/1/19.

2021
Feb. 23              eBay produced for interview eBay investigator who interviewed Baugh and Harville several times each in late August 2019.
March 12             eBay produced Harville's original system record and the forged record (up to E_012347) Harville sent to the eBay investigator in August 2019.




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                                       Principles 4 & 6, cont.
                                    Cooperation: Full & Thorough
• eBay cooperation was without any preconditions.


• eBay disclosed all relevant facts, including potential agent wrongdoing.


• Government confirmed accuracy of all facts.


• eBay did not omit, conceal, minimize any fact or actor, including then-CEO and Chief
     Communications Officer.
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                                            Principle 5
                                   Company’s Compliance Program
Adequacy and effectiveness of company’s compliance program at times of the offense
and charging decisions. (JM 9-28.800)


• DOJ Manual: “Compliance programs should be designed to detect the particular types of misconduct most
   likely to occur in a particular corporation's line of business.”
    • The misconduct here was not “likely to occur” in eBay’s line of business
    • eBay never experienced this kind of conduct.
    • We do not believe any company has experienced this -- ever.


    • And: there was no “gap” in eBay’s compliance program that missed this.

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                                          Principle 5, cont.
                                    Company’s Compliance Program
•   eBay already had a robust compliance program as of August 2019, with a long-established and well-developed Code of Business
    Conduct & Ethics:




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                                               Principle 5, cont.
                                         Company’s Compliance Program
Verbatim from Section 1 of eBay’s August 2019 Code of Business Conduct & Ethics:
Following the Law
-We are accountable for our actions, and we honor our commitments. Our success as a company is driven by our shared goals of honest and ethical action.
-We are committed to ensuring that every action we take is in full compliance with the law — and in keeping with our high ethical standards.
-Report suspected violations of the Code, eBay policies, or the law to your manager, a Business Ethics Officer or other resource available for assistance. You can email
askethics@ebay.com; or submit an anonymous inquiry, by calling eBay’s Integrity Helpline at 800.461.9330.

Making Ethical Decisions
-When you face difficult decisions at eBay, take the time to think and consider the ethical and legal consequences. Don’t give in to pressure and rush your decision. Carefully
consider the implications of your actions.
-Always Ask: Is it honest and fair? Is it consistent with the law and the Code? Is it consistent with our values? Does it make you feel good about yourself and the Company? Would
you feel comfortable reading about your action in the news?
-If you answered yes to all of these questions, chances are that you’re probably okay to proceed. If you hesitated in answering “yes” to even one of these questions, then it’s best
to get a second opinion from your manager or a Business Ethics Officer.
-Most importantly, ask for help when you need it.

Understanding the Importance of Speaking Up
-A culture that encourages us to voice our opinions and concerns will help keep eBay a great place to work. If something does not feel right, each of us should feel empowered to
take action.
-When you see or suspect misconduct, speak up promptly. Doing so will allow the Company an opportunity to deal with the issue and correct it, ideally before it becomes a
violation of law or a risk to health, security or the Company’s reputation.
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                                                    Principle 5, cont.
                                                 Adequacy of Compliance
•   eBay constantly emphasized the
    importance of the Code, via:
     • Periodic Trainings
    • Surveys on Ethics
    • Annual Compliance Trainings
    • Posters around campus
    • eBay’s Intranet Home Page (Hub)
    • Regular Ethics & Compliance
        reminder emails. E.g.
•   eBay also reports quarterly on Ethics
    to Board/Audit Committee




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                                    Principle 5, cont.
                        Specific/Recency of Compliance Training
• In June/July 2019, just before these events, the defendants all completed their 2019 Annual Compliance
   Training, including attesting to the Code and methods of reporting:
    • Jim Baugh – 7/5/2019                                             David Harville – 7/7/2019
    • Stephanie Popp – 6/21/2019                                       Stephanie Stockwell – 6/27/2019
    • Brian Gilbert – 7/8/2019                                         Veronica Zea – 6/26/2019
    • Phil Cooke – Completed 2018/2019 New Hire Compliance Training on 7/8/2019


• Eighty-eight percent (15 of 17) of Baugh’s team had also completed the April 2019 Ethics Survey, and made
   no negative or concerning comments.
• Steve Wymer completed 2018/2019 New Hire Compliance Training on 4/9/2019
• Devin Wenig completed 2019 direct/in-person 2019 Annual Compliance Training on 4/30/2019

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                                                 Principle 5, cont.
                                              Adequacy of Compliance
eBay had robust reporting channels for the misconduct that occurred here.
• Here, all that was required was for 1 person to report. “If you see something, say something”
• Many channels to report.
    • eBay hotlines (including anonymous): - Phone                      - Intranet     - Email      - Internet
    • eBay/PFC supervisors
    • Any legal or compliance employee, including Business Ethics Officers (BEOs)
    • Any People Team member (HR)
• But no one reported.
    • Intimidation – the investigation uncovered new information about Baugh’s unsuitability as a manager
    • eBay reviewed Baugh’s hiring/personnel file and S&S team review and 3x/year survey files: no red flags
    • Baugh “spun” to the defendants Wymer’s August texts and email
    • Self-interest?
                                                                         R25                                     22
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                                                       Principle 7
                                                     Remedial Actions
Company’s remedial actions, including efforts to implement an adequate and effective
compliance program or improve existing one, replace responsible management,
discipline or terminate wrongdoers, or pay restitution. (JM 9-28.1000)
1. Additional eBay reviews (in addition to independent investigation)

• Reviewed all 2019 Wenig and Wymer emails, used search terms specific to Natick. (Vonsover, Macauley,
  eDiscovery, Phelan)

• Interviewed remaining Safety & Security members. (Finn, Vonsover, Macauley, Phelan)

• Metrics (all reviews combined):
    • Interviews: 98
    • Witnesses: 63
    • Records searched/reviewed: excess of 1,200,000

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                                                      Principle 7, cont.
                                                      Remedial Actions

2. Management Changes and 10 Terminations due to Natick events:

       a.   Wymer
       b.   Baugh
       c.   Harville
       d.   Popp
       e.   Gilbert
       f.   Stockwell
       g.   Zea
       h.   Fitzgerald
       i.   Cooke
       j.   Barrett




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                                                          Principle 7, cont.
                                                          Remedial Actions
3. Safety and Security Team: Specific Changes
a. Safety & Security unit moved to the Legal Department from Global Operations division.
      • Reports to eBay Legal VP, Chief of Litigation (who is liaison with law enforcement to prevent fraud on eBay’s platform)
b. New Safety & Security Senior Director: Dan Cory. Well regarded, favorably vetted by independent security firm in 2020 (post-Natick).
c. New Hire: Senior Manager, Americas Region (32-years Scotland Yard).
d. Michelle Alford re-hired as full-time employee after eBay learned of termination.
e. End-to-end review by Independent security firm of Safety & Security (policies & procedures, vendor management, hiring/talent
     acquisition, financial oversight).

f.   The role of the Safety & Security team has been made very clear: it is limited now to address only physical security.

g. Independent security firm working to develop Security Management Plan: policies/procedures per professional standards of the
     American Society for Industrial Security (ASIS).

h. eBay outsourced POI (Person of Interest) work to third party security vendor with monthly cross-functional reviews (Legal, Compliance,
     Investor Relations, Safety & Security).
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                                                      Principle 7, cont.
                                                      Remedial Efforts
4. Other Structural/Policy Improvements
a. Reframed 5 Core Beliefs of eBay to include: “Act with Integrity.”
b. Broad expansion of Business Ethics Officers (BEOs). Now in every office, business line, and across seniority levels.
c. More training on duty to report and accessibility of reporting channels (e.g. BEOs, ethics hotlines, periodic reminders,
     etc.).

d. Tone From The Top Initiative
      •   Enhanced program to require leaders to talk on compliance topics quarterly.
      •   e.g. include larger group of leaders to give ethics talks, track completion, and include ELT accountability

e. Vendor identifying improvements to Alternative Work Force (i.e. non-employees) procedures/controls and training.
      •   e.g., closed AWF expensing loophole discovered in Natick matter.

f. Vendor RFPs and Master Service Agreements: will be required to comply with, and certify to, ethics requirements.
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                                                      Principle 7, cont.
                                                      Remedial Efforts
5. Multiple uses of Natick facts for training/discussion.
•    eBay-wide “Fireside Chat” with CEO, GC, Chief Compliance Officer, ethics expert

•    Multiple trainings for leaders (Directors and above) with ethics expert and ELT members

•    Multiple business unit all-hands meetings (e.g., Americas, Information Security, Legal, Safety & Security)

•    Multiple written communications




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                                                      Principle 11
                                                  Interests of Victims
The interests of the victims (JM 9-28.1400)
Since September 2019, eBay has sought to address the harm caused to the victims.

•    eBay raised this in first government meeting and several times after. The Government asked eBay to wait given
     the ongoing investigation. eBay complied.

•    Immediately after public charges announced, eBay publicly apologized and eBay's new CEO sent an apology
     letter to the Steiners.

•    Counsel sought contact through the government. Victims' counsel responded that they did not currently wish to
     communicate with eBay.

•    eBay remains ready to address restitution with the victims



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                                                      Principle 8
                                               Collateral Consequences
Collateral consequences, including whether there is disproportionate harm to shareholders, pension holders, employees,
and others not proven personally culpable, and impact on public arising from prosecution (JM 9-28.1100)
•   eBay is a good company.
     • Vast majority of employees act ethically.
     •     eBay is a company that: enables millions of people to earn or supplement their living; promotes and supports American
          small businesses; has donated over $1 billion to charity.

•   The misconduct and crimes here by a handful of wrongdoers has caused eBay significant reputational harm.
     • This reputational harm was warranted given the facts.
•   But, eBay submits that, what is not warranted is additional harm from criminal charges/enforcement.
     • eBay – the company – did all the right things – discussed in the Principles above – before and when it learned of the
          crimes and misconduct.

•   eBay’s conduct throughout is the type of corporate conduct to reinforce by not bringing enforcement action.

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                                             Principle 9
                                     Adequacy of Other Remedies
Adequacy of remedies such as civil or regulatory enforcement actions, including remedies
resulting from the corporation’s cooperation with relevant government agencies (JM 9-28.1200)
• The remedies resulting from eBay’s cooperation are extensive.
     a. eBay facilitated the government’s ability to quickly charge the 7 culpable defendants
     b. 5 already pled guilty; eBay will continue to assist with regard to any trial of the other defendants.
     c. eBay gave the government all the evidence eBay had collected to assist the government in determining
        whether Wymer or Wenig also were criminally responsible.
     d. The evidence eBay provided in its cooperation will also help the victims recover to the extent they pursue
        available civil remedies:
                -against the 7 defendants
                -against Wymer and Wenig, if warranted
                -against eBay, if not mutually resolved

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                                        Principle 10
                             Prosecution of Culpable Individuals
Adequacy of the prosecution of individuals responsible for the corporation’s malfeasance (JM
9-28.1300)
•    The 7 defendants went to great lengths to hide their misconduct from eBay.
      • This shows that they knew the company did not condone that conduct.
      • By all their concealments, they prevented eBay from stopping them ahead of time.
•    eBay’s voluntary and extensive cooperation helped the government quickly bring the culpable ones to justice.

•    eBay has made clear its intention to provide restitution.

•    DOJ Manual 9-28.100: “prosecutors should be mindful of the common cause we share with responsible
     corporate leaders who seek to promote trust and confidence.”
      • The responsible corporate leaders at eBay demonstrated here the “common cause” that should be shared
          with prosecutors
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                              Conclusion / Questions / Follow-Up

• eBay had a robust compliance program before the events.
• Consistent with that program, eBay then:
      1. investigated and reported immediately;
      2. assisted the government in bringing those responsible to account;
      3. changed management;
      4. fired the wrongdoers;
      5. buttressed its compliance program;
      6. made structural changes to, and overhauled, the Safety & Security team; and
      7. sought to provide restitution to the victims.
• eBay respectfully suggests that the government should want other companies to model eBay
     conduct here.
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                                                       Appendix 2
                                                    Wenig/Wymer Table
Wenig                                                                         Wymer
Texts with Wymer about Steiner/ECB were bad/improper                          Same (Wymer texts with Wenig)
No apparent texts with Baugh about Steiner/ECB                                -Multiple texts with Baugh about Steiner/ECB, inflammatory and can
                                                                              support inference to take bad action (sin, ashes, whatever it takes, etc.)
1 text with Baugh about Unsuckebay – substance ok                             -Concealed his Baugh texts before Natick
-on some parts of Unsuckebay email chain with GC, SW, JB - substance ok       -Concealed his Baugh texts after Natick

Did not delete texts about Steiner/ECB with Wymer                             Deleted all texts about Steiners/ECB


No apparent communications with Baugh or Wymer post-Natick                    Monitored events with Baugh post-Natick

Apparent cooperation in investigation.                                        Non-cooperation in investigation.
-No apparent withholding of knowledge/comms                                   -Failed to report for 7 days after knew of NPD/eBay investigations
-No deletion of August texts with Wymer                                       -Withheld knowledge/evidence 1st interview (Aug. 27)
-No deletion of Baugh Unsuckebay text                                         -Admitted Baugh texts only when confronted in 2nd interview (Aug. 28).
                                                                              -Deleted all Wenig texts
                                                                              -Deleted all Baugh texts, incl. Aug. 24 detailed “Op” text
                                                                              -Deleted forensics of 2 calls with Baugh Aug. 22 & 24 (+10 min.)



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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA,
                                                        Criminal No. 20-CR-10263-PBS
          v.

  JIM BAUGH, et al,

           Defendants.


      INTERVENOR MORGAN, LEWIS & BOCKIUS LLP’S RESPONSE TO THE
                   COURT’S JANUARY 20, 2022 ORDER

         Pursuant to the Court’s January 20, 2022 Order [D.E. 160], Intervenor Morgan, Lewis &

Bockius LLP (“Morgan Lewis”) files the attached, unredacted Initial Privilege Log and

Supplemental Privilege Log, served on Defendant Jim Baugh (“Defendant”) on November 8,

2021 and December 16, 2021 respectively. These Privilege Logs are unredacted as they contain

no information within the scope of the redactions permitted under the Court’s January 20, 2022

Order.

Dated: February 10, 2022                            /s/ Nathan J. Andrisani
                                                      Nathan J. Andrisani (pro hac vice)
                                                      nathan.andrisani@morganlewis.com
                                                      MORGAN, LEWIS & BOCKIUS, LLP
                                                      1701 Market Street
                                                      Philadelphia, PA 19103-2921
                                                      Phone: 215-963-5362
                                                      Fax: 215-963-5001

                                                     Jonathan M. Albano (BBO #013850)
                                                     jonathan.albano@morganlewis.com
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                                                     MORGAN, LEWIS & BOCKIUS LLP
                                                     One Federal Street
                                                     Boston, MA 02110-1726
                                                     Phone: 617-951-8000
                                                     Fax: 617-951-8736
                                                     Counsel for Morgan, Lewis & Bockius LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2022, this document and attachments, filed through

the CM/ECF system, will be sent electronically to the registered participants as identified on the

Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-

registered participants.




                                             /s/ Nathan J. Andrisani
                                             Nathan J. Andrisani




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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA,
                                                            Criminal No. 20-CR-10263-PBS
          v.

  JIM BAUGH, et al,

         Defendants.


                       DECLARATION OF NATHAN J. ANDRISANI

       I, Nathan J. Andrisani, hereby declare as follows:

           1. I am an attorney licensed to practice law in Pennsylvania and New Jersey. I am

admitted to practice before this Court pro hac vice. I am a partner at the law firm Morgan, Lewis

& Bockius LLP (“Morgan Lewis”) and I represent Morgan Lewis in connection with the

subpoena Defendant Jim Baugh (“Defendant”) issued to Morgan Lewis in this matter.

           2. I submit this declaration in response to the Court’s January 20, 2022 Order,

instructing Morgan Lewis to file copies of its privilege logs with “email addresses and

confidential personal contact information” redacted “on the public docket within 15 business

days.” [D.E. 160].

           3. Morgan Lewis’s privilege logs contain no information within the scope of the

redactions permitted under the Court’s January 20, 2022 Order.

           4. Exhibit A to this Declaration is a true and accurate copy of Morgan Lewis’s Initial

Privilege Log, served on Defendant on November 8, 2021.

           5. Exhibit B to this Declaration is a true and accurate copy of Morgan Lewis’s

Supplemental Privilege Log, served on Defendant on December 16, 2021.

       I declare under the penalty of perjury that the foregoing is true and correct.


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Dated: February 10, 2022                   /s/ Nathan J. Andrisani
                                             Nathan J. Andrisani




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             EXHIBIT A




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      Log Number          Parent/Standalone      Family Date            Author/From                   Recipient/To            Other Recipient(s)/CC    Other Recipient(s)/BCC   Email Subject             File Name                     Privilege Basis                        Document Description



                                                                                                                                                                                                                                                              Memorandum from Andrew C. Phelan to Special
                                                                                                                                                                                                                                                              Committee prepared by counsel providing legal
                                                                                                                                                                                                                                                              advice regarding eBay internal investigation after
                                                                                                                                                                                                                                                              Natick events; regarding eBay response to law
                                                                                                                                                                                                052094-02__107451934v1_ACP                                    enforcement investigations after Natick events;
                                                                                              Special Committee, eBay Board
          1                  Standalone           09/25/19           Phelan, Andrew C.                                                                                                            Memo to Special Committee      Attorney Client;Work Product regarding Board/Committee evaluations and/or
                                                                                                        of Directors
                                                                                                                                                                                                       9_25_19.DOCX                                           determinations related to executive employment
                                                                                                                                                                                                                                                              matters; regarding employment/personnel matters
                                                                                                                                                                                                                                                              and/or actions after Natick events; and regarding
                                                                                                                                                                                                                                                              corporate communications after Natick events
                                                                                                                                                                                                                                                              prepared in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                                              mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                                              legal theories of counsel and/or counsel's agents.



                                                                                                                                                                                                                                                            Memorandum from Andrew C. Phelan to Special
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                                                                                                                                                                                                                                                            advice regarding eBay internal investigation after
                                                                                                                                                                                                052094-02__109967407v1_eBay                                 Natick events; regarding eBay response to law
                                                                                              Special Committee, eBay Board
          2                  Standalone           11/18/19           Phelan, Andrew C.                                                                                                           11_18_19 Project Lewis update Attorney Client;Work Product enforcement investigations after Natick events;
                                                                                                        of Directors
                                                                                                                                                                                                  to Special Committee.DOCX                                 regarding employment/personnel matters and/or
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                                                                                                                                                                                                                                                            Memorandum from Andrew C. Phelan to Special
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                                                                                              Special Committee, eBay Board                                                                                                                                 Natick events; regarding eBay response to law
          3                  Standalone           11/26/19           Phelan, Andrew C.                                                                                                           11_26_19 Project Lewis update Attorney Client;Work Product
                                                                                                        of Directors                                                                                                                                        enforcement investigations after Natick events; and
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                                                                                                                                                                                                                                                              Notes of confidential interview of Jim Baugh on
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                                                                                                                                                                                                                                                              Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                              collection of information and annotations by
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                                                                                                                                                                                                                                                              Notes of confidential interview of Jim Baugh on
                                                                                                                                                                                                                                                              8/23/2019 at 10:17 AM attended by Shannon
                                                                                                                                                                                                                                                              Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                              collection of information and annotations by
                                                                                                                                                                                                                                                              counsel and/or counsel's agents for the purpose of
          7              Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                                               Baugh.pdf              Attorney Client;Work Product
                                                                                                                                                                                                                                                              rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                              internal investigation after Natick events, prepared
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
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UNITED STAES V. BAUGH, ET AL.
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                                                                                                                                                                                                                                          Notes of confidential interview of Josh Bentley on
                                                                                                                                                                                                                                          9/12/2019 at 3:19 PM attended by Andrew Phelan
                                                                                                                                                                                                                                          reflecting the collection of information and
                                                                                                                                                                                                                                          annotations by counsel and/or counsel's agents for
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          8              Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                            Baugh.pdf             Attorney Client;Work Product
                                                                                                                                                                                                                                          with eBay internal investigation after Natick events,
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                                                                                                                                                                                                                                          Notes of confidential interview of Josh Bentley on
                                                                                                                                                                                                                                          9/12/2019 at 10:50 AM attended by Andy Phelan
                                                                                                                                                                                                                                          and Amir Vonsover reflecting the collection of
                                                                                                                                                                                                                                          information and annotations by counsel and/or
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          9              Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                            Baugh.pdf             Attorney Client;Work Product
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                                                                                                                                                                                                                                          8/27/2019 at 7:58 PM attended by Shannon
                                                                                                                                                                                                                                          Macauley and Amir Vonsover reflecting the
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         10                  Standalone        8/28/2019 22:29       Macauley, Shannon                                                                                         2019.08.27 Jim Baugh_3.docx   Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                          internal investigation after Natick events, prepared
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         11                  Standalone        8/28/2019 22:22       Macauley, Shannon                                                                                         2019.08.23 Jim Baugh_2.docx   Attorney Client;Work Product rendering legal advice in connection with eBay
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                                                                                                                                                                                                                                          Macauley and Amir Vonsover reflecting the
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         12                  Standalone        8/28/2019 22:20       Macauley, Shannon                                                                                          2019.08.23 Jim Baugh.docx    Attorney Client;Work Product rendering legal advice in connection with eBay
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         13                  Standalone        8/28/2019 22:35       Macauley, Shannon                                                                                         2019.08.28 Jim Baugh_4.docx   Attorney Client;Work Product rendering legal advice in connection with eBay
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         14                  Standalone        8/28/2019 22:32       Macauley, Shannon                                                                                         2019.08.27 Steve Wymer.docx   Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                          internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                          Notes of confidential interview of Wendy Jones on
                                                                                                                                                                                                                                          8/30/2019 attended by Andrew Phelan and Jordan
                                                                                                                                                                                                                                          Mundell reflecting the collection of information and
                                                                                                                                                                                                                                          annotations by counsel and/or counsel's agents for
                                                                                                                                                                                                                                          the purpose of rendering legal advice in connection
         15              Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                             Jones.pdf            Attorney Client;Work Product
                                                                                                                                                                                                                                          with eBay internal investigation after Natick events,
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
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                                                                                                                                                                                                                                            Notes of confidential interview of Wendy Jones on
                                                                                                                                                                                                                                            8/30/2019 at 9:00 AM attended by Andrew Phelan,
                                                                                                                                                                                                                                            Jordan Mundell, and Shannon Macauley reflecting
                                                                                                                                                                                                                                            the collection of information and annotations by
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         16              Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                             Jones.pdf              Attorney Client;Work Product
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                                                                                                                                                                                                                                            Notes in preparation of confidential interview of
                                                                                                                                                                                                                                            Wendy Jones on 9/6/2019 reflecting the collection
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         17              Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                             Jones.pdf              Attorney Client;Work Product advice in connection with eBay internal
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         18              Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                             Jones.pdf              Attorney Client;Work Product advice in connection with eBay internal
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                                                                                                                                                                                                                                            Notes of confidential interview of Wendy Jones on
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         19              Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                             Jones.pdf              Attorney Client;Work Product
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         20                  Standalone        8/28/2019 22:18       Macauley, Shannon                                                                                         2019.08.23 Dave Harville.docx   Attorney Client;Work Product rendering legal advice in connection with eBay
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                                                                                                                                                                                                                                            8/23/2019 at 12:45 PM attended by Shannon
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         21                  Standalone        9/20/19 12:36 PM          eBay Legal                                                                                                    Shepard.pdf             Attorney Client;Work Product rendering legal advice in connection with eBay
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         22              Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                             Wymer.pdf              Attorney Client;Work Product
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
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                                                                                                                                                                                                                                              Notes of confidential interview of Steve Wymer on
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         23              Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                              Wymer.pdf               Attorney Client;Work Product
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         24              Standalone Document   9/20/19 12:55 PM       Mundell, Jordan                                                                                                    Wymer.pdf               Attorney Client;Work Product
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                                                                                                                                                                                                                                              Notes of confidential interview of Steve Wymer on
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         25              Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                              Wymer.pdf               Attorney Client;Work Product
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         26              Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                              Wymer.pdf               Attorney Client;Work Product eBay internal investigation after Natick events,
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         27              Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                              Wymer.pdf               Attorney Client;Work Product
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         28              Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                              Wymer.pdf               Attorney Client;Work Product
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         29                  Standalone        8/28/2019 22:26       Macauley, Shannon                                                                                         2019.08.26 Dave Harville_2.docx Attorney Client;Work Product rendering legal advice in connection with eBay
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
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                                                                                                                                                                                                                         Notes of confidential interview of Stephanie Popp
                                                                                                                                                                                                                         on 8/23/2019 at 8:30 AM attended by Shannon
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         30              Standalone Document   9/7/19 9:46 AM       Phelan, Andrew C.                                                                                         Popp.pdf      Attorney Client;Work Product
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         31              Standalone Document   9/7/19 9:46 AM    eBay Legal / Morgan Lewis                                                                                    Popp.pdf      Attorney Client;Work Product
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         32              Standalone Document   9/7/19 9:46 AM    eBay Legal / Morgan Lewis                                                                                    Popp.pdf      Attorney Client;Work Product rendering legal advice in connection with eBay
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         33              Standalone Document   9/4/19 11:42 AM   eBay Legal / Morgan Lewis                                                                                    Gilbert.pdf   Attorney Client;Work Product
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         34              Standalone Document   9/4/19 11:42 AM   eBay Legal / Morgan Lewis                                                                                    Gilbert.pdf   Attorney Client;Work Product rendering legal advice in connection with eBay
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         35              Standalone Document   9/4/19 11:42 AM   eBay Legal / Morgan Lewis                                                                                    Gilbert.pdf   Attorney Client;Work Product advice in connection with eBay internal
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                                                                                                                                                                                                                         Notes of confidential interview of Brian Gilbert on
                                                                                                                                                                                                                         8/30/2019 at 2:00 PM attended by Andrew Phelan,
                                                                                                                                                                                                                         Jordan Mundell, and Shannon Macauley reflecting
                                                                                                                                                                                                                         the collection of information and annotations by
                                                                                                                                                                                                                         counsel and/or counsel's agents for the purpose of
         36              Standalone Document   9/4/19 11:42 AM   eBay Legal / Morgan Lewis                                                                                    Gilbert.pdf   Attorney Client;Work Product
                                                                                                                                                                                                                         rendering legal advice in connection with eBay
                                                                                                                                                                                                                         internal investigation after Natick events, prepared
                                                                                                                                                                                                                         by counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                         mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                         legal theories of counsel and/or counsel’s agents.




CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
                                                                                                                               R46                                                                                                                           MLB_BAUGHPRIV_0001
UNITED STAES V. BAUGH, ET AL.
                                                     Case
                                                      Case1:21-cv-11181-DPW
                                                            1:20-cr-10263-PBS         Document
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                                                                        INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP*
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                                                                                                                                                                                                                                             Notes of confidential interview of Brian Gilbert on
                                                                                                                                                                                                                                             9/2/2019 at 2:00 PM attended by Andrew Phelan,
                                                                                                                                                                                                                                             Jordan Mundell, Colin West, and Shannon Macauley
                                                                                                                                                                                                                                             reflecting the collection of information and
                                                                                                                                                                                                                                             annotations by counsel and/or counsel's agents for
         37              Standalone Document   9/4/19 11:42 AM    eBay Legal / Morgan Lewis                                                                                              Gilbert.pdf            Attorney Client;Work Product the purpose of rendering legal advice in connection
                                                                                                                                                                                                                                             with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                             prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                             reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                             and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                             agents.



                                                                                                                                                                                                                                             Notes of confidential interview of Julianne Whitelaw
                                                                                                                                                                                                                                             on 9/13/2019 attended by Andrew Phelan, Colin
                                                                                                                                                                                                                                             West, and Amir Vonsover reflecting the collection
                                                                                                                                                                                                                                             of information for the purpose of rendering legal
                                                                                                                                                                                2019.09.13 Julianne Whitelaw
         38                  Standalone        9/16/2019 10:06    eBay Legal / Morgan Lewis                                                                                                                     Attorney Client;Work Product advice in connection with eBay internal
                                                                                                                                                                                       Interview.docx
                                                                                                                                                                                                                                             investigation after Natick events, prepared by
                                                                                                                                                                                                                                             counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                             mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                             legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                             Notes of confidential interview of Julianne Whitelaw
                                                                                                                                                                                                                                             on 9/13/2019 attended by Andrew Phelan, Colin
                                                                                                                                                                                                                                             West, and Amir Vonsover reflecting the collection of
                                                                                                                                                                                                                                             information and annotations by counsel and/or
                                                                                                                                                                                                                                             counsel's agents for the purpose of rendering legal
         39                  Standalone        9/20/19 12:48 PM   eBay Legal / Morgan Lewis                                                                                            Whitelaw.pdf             Attorney Client;Work Product
                                                                                                                                                                                                                                             advice in connection with eBay internal
                                                                                                                                                                                                                                             investigation after Natick events, prepared by
                                                                                                                                                                                                                                             counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                             mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                             legal theories of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                             Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                                                             8/23/2019 at 12:00 PM attended by Shannon
                                                                                                                                                                                                                                             Macauley, Amir Vonsover, and Tony Shepard
                                                                                                                                                                                                                                             reflecting the collection of information for the
                                                                                                                                                                                                                                             purpose of rendering legal advice in connection with
         40                  Standalone        8/28/2019 22:25       Macauley, Shannon                                                                                         2019.08.23 Veronica Zea_2.docx   Attorney Client;Work Product
                                                                                                                                                                                                                                             eBay internal investigation after Natick events,
                                                                                                                                                                                                                                             prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                             reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                             and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                             agents.

                                                                                                                                                                                                                                             Notes in preparation for a confidential interview of
                                                                                                                                                                                                                                             Devin Wenig for the purpose of rendering legal
                                                                                                                                                                                                                                             advice in connection with eBay internal
         41              Standalone Document   9/20/19 12:44 PM   eBay Legal / Morgan Lewis                                                                                              Wenig.pdf              Attorney Client;Work Product investigation after Natick events, prepared by
                                                                                                                                                                                                                                             counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                             mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                             legal theories of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                             Notes of confidential interview of Devin Wenig on
                                                                                                                                                                                                                                             9/10/2019 attended by Andrew Phelan and Colin
                                                                                                                                                                                                                                             West reflecting the collection of information and
                                                                                                                                                                                                                                             annotations by counsel and/or counsel's agents for
                                                                                                                                                                                                                                             the purpose of rendering legal advice in connection
         42              Standalone Document   9/20/19 12:44 PM   eBay Legal / Morgan Lewis                                                                                              Wenig.pdf              Attorney Client;Work Product
                                                                                                                                                                                                                                             with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                             prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                             reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                             and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                             agents.



                                                                                                                                                                                                                                             Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                                                             9/9/2019 attended by Andrew Phelan, Colin West,
                                                                                                                                                                                                                                             and Shannon Macauley reflecting the collection of
                                                                                                                                                                                  2019.09.09 Steve Wymer
                                                                                                                                                                                                                                             information for the purpose of rendering legal
                                                                                                                                                                                 Interview Notes ebay acp-
         43                  Standalone         9/10/2019 9:25       Macauley, Shannon                                                                                                                          Attorney Client;Work Product advice in connection with eBay internal
                                                                                                                                                                               combined CWest and SMacauley
                                                                                                                                                                                                                                             investigation after Natick events, prepared by
                                                                                                                                                                                       summary.docx
                                                                                                                                                                                                                                             counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                             mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                             legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                             Notes of confidential interview of Stephanie Popp
                                                                                                                                                                                                                                             on 8/26/2019 at 9:30 AM attended by Shannon
                                                                                                                                                                                                                                             Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                             collection of information for the purpose of
                                                                                                                                                                                   2019.08.26 Stephanie
         44                  Standalone        8/28/2019 22:26       Macauley, Shannon                                                                                                                          Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                       Popp_2.docx
                                                                                                                                                                                                                                             internal investigation after Natick events, prepared
                                                                                                                                                                                                                                             by counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                             mental impressions, conclusions, opinions and/or
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
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UNITED STAES V. BAUGH, ET AL.
                                                     Case
                                                      Case1:21-cv-11181-DPW
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                                                                                                                                                                                                                                                       Notes of confidential interview of Stephanie Popp
                                                                                                                                                                                                                                                       on 8/27/2019 at 11:30 AM attended by Shannon
                                                                                                                                                                                                                                                       Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information for the purpose of
                                                                                                                                                                                            2019.08.27 Stephanie
         45                  Standalone        8/28/2019 22:31       Macauley, Shannon                                                                                                                                    Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                Popp_3.docx
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                       by counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                                       mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                                       legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                       Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                                                                       8/28/2019 at 1:30 PM attended by Shannon
                                                                                                                                                                                                                                                       Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information for the purpose of
                                                                                                                                                                                          2019.08.28 Steve Wymer
         46                  Standalone        8/28/2019 22:36       Macauley, Shannon                                                                                                                                    Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                  _2.docx
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                       by counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                                       mental impressions, conclusions, opinions and/or
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                                                                                                                                                                                                                                                       Memorandum of confidential interview of Scott
                                                                                                                                                                                                                                                       Fitzgerald on 8/30/2019 attended by Colin West,
                                                                                                                                                                                                                                                       Bryan Connor, and Shannon Macauley reflecting the
                                                                                                                                                                                       2019.08.30 Project Lewis - Scott                                collection of information for the purpose of
         47                  Standalone         9/4/2019 20:32        Connor, Bryan M.        Project Lewis - File                                                                     Fitzgerald August 30th Interview   Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                 Memo.DOCX                                             internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                       by counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                                       mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                                       legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                       Notes of confidential interview of Dave Harville on
                                                                                                                                                                                                                                                       8/23/2019 at 12:30 AM attended by Shannon
                                                                                                                                                                                                                                                       Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information and annotations by
                                                                                                                                                                                                                                                       counsel and/or counsel's agents for the purpose of
         48              Standalone Document   9/20/19 12:01 PM   eBay Legal / Morgan Lewis                                                                                                      Harville.pdf             Attorney Client;Work Product
                                                                                                                                                                                                                                                       rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                       by counsel in anticipation of litigation, and reflecting
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                                                                                                                                                                                                                                                       Notes of confidential interview of Dave Harville on
                                                                                                                                                                                                                                                       8/23/2019 at 10:22 AM attended by Shannon
                                                                                                                                                                                                                                                       Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information and annotations by
                                                                                                                                                                                                                                                       counsel and/or counsel's agents for the purpose of
         49              Standalone Document   9/20/19 12:01 PM   eBay Legal / Morgan Lewis                                                                                                      Harville.pdf             Attorney Client;Work Product
                                                                                                                                                                                                                                                       rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                       Notes of confidential interview of Dave Harville on
                                                                                                                                                                                                                                                       8/23/2019 at 4:35 PM attended by Shannon
                                                                                                                                                                                                                                                       Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information and annotations by
                                                                                                                                                                                                                                                       counsel and/or counsel's agents for the purpose of
         50              Standalone Document   9/20/19 12:01 PM   eBay Legal / Morgan Lewis                                                                                                      Harville.pdf             Attorney Client;Work Product
                                                                                                                                                                                                                                                       rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                       Notes of confidential interview of Dave Harville on
                                                                                                                                                                                                                                                       9/13/2019 at 3:00 PM attended by Andy Phelan,
                                                                                                                                                                                                                                                       Colin West, Amir Vonsover, and Evan Nelson
                                                                                                                                                                                                                                                       reflecting the collection of information and
                                                                                                                                                                                                                                                       annotations by counsel and/or counsel's agents for
         51              Standalone Document   9/20/19 12:01 PM   eBay Legal / Morgan Lewis                                                                                                      Harville.pdf             Attorney Client;Work Product the purpose of rendering legal advice in connection
                                                                                                                                                                                                                                                       with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                       prepared by counsel in anticipation of litigation, and
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
                                                                                                                                        R48                                                                                                                                                MLB_BAUGHPRIV_0001
UNITED STAES V. BAUGH, ET AL.
                                                     Case
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                                                                                                                                                                                                                                                                Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                                                                                8/23/2019 at 9:00 AM attended by Shannon
                                                                                                                                                                                                                                                                Macauley, Amir Vonsover, and Tony Shepard
                                                                                                                                                                                                                                                                reflecting the collection of information for the
                                                                                                                                                                                                                                                                purpose of rendering legal advice in connection with
         52                  Standalone        8/28/2019 22:25       Macauley, Shannon                                                                                                            2019.08.23 Veronica Zea.docx     Attorney Client;Work Product
                                                                                                                                                                                                                                                                eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                                                reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                                                and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                                agents.

                                                                                                                                                                                                                                                                Notes of confidential interview of David Harville on
                                                                                                                                                                                                                                                                9/13/2019 at 3:00 PM attended by Andrew Phelan,
                                                                                                                                                                                                                                                                Colin West, Amir Vonsover, and Evan Nelson
                                                                                                                                                                                                                                                                reflecting the collection of information for the
                                                                                                                                                                                                   2019.09.13 Harville Attorney                                 purpose of rendering legal advice in connection with
         53                  Standalone        9/13/2019 17:31         Vonsover, Amir                                                                                                                                              Attorney Client;Work Product
                                                                                                                                                                                                       Meeting Notes.docx                                       eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                                                reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                                                and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                                agents.

                                                                                                                                                                                                                                                                Notes of confidential interview of Jose Gordon on
                                                                                                                                                                                                                                                                9/17/2019 at 2:35 PM attended by Andrew Phelan
                                                                                                                                                                                                                                                                reflecting the collection of information for the
                                                                                                                                                                                                                                                                purpose of rendering legal advice in connection with
                                                                                                                                                                                                     2019.09.17 Jose Gordon
         54                  Standalone        9/17/2019 18:39        Connor, Bryan M.                                                                                                                                             Attorney Client;Work Product eBay internal investigation after Natick events,
                                                                                                                                                                                                         Interview.docx
                                                                                                                                                                                                                                                                prepared by counsel in anticipation of litigation, and
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                                                                                                                                                                                                                                                                agents.


                                                                                                                                                                                                                                                                Notes of confidential interview of Ryan Moore on
                                                                                                                                                                                                                                                                9/13/2019 attended by Andrew Phelan, Colin West,
                                                                                                                                                                                                                                                                and Amir Vonsover reflecting the collection of
                                                                                                                                                                                                                                                                information and annotations by counsel and/or
                                                                                                                                                                                                                                                                counsel's agents for the purpose of rendering legal
         55                  Standalone        9/20/19 12:24 PM   eBay Legal / Morgan Lewis                                                                                                                 Moore.pdf              Attorney Client;Work Product
                                                                                                                                                                                                                                                                advice in connection with eBay internal
                                                                                                                                                                                                                                                                investigation after Natick events, prepared by
                                                                                                                                                                                                                                                                counsel in anticipation of litigation, and reflecting
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                                                                                                                                                                                                                                                                  Email between counsel providing and discussing
                                                                                                                                                                 August 30th Meeting with Scott   August 30th Meeting with Scott                                  legal advice and prepared in anticipation of
         56                  Standalone        8/30/2019 17:47        Connor, Bryan M.        West, Colin C.                                                                                                                       Attorney Client;Work Product
                                                                                                                                                                           Fitzgerald                       Fitzgerald                                            litigation regarding eBay internal investigation after
                                                                                                                                                                                                                                                                  Natick events.

                                                                                                                                                                                                                                                                Notes of confidential interview of Ryan Moore on
                                                                                                                                                                                                                                                                9/13/2019 attended by Andrew Phelan, Colin West,
                                                                                                                                                                                                                                                                and Amir Vonsover reflecting the collection of
                                                                                                                                                                                                                                                                information for the purpose of rendering legal
                                                                                                                                                                                                     2019.09.13 Ryan Moore
         57                  Standalone        9/16/2019 10:06    eBay Legal / Morgan Lewis                                                                                                                                        Attorney Client;Work Product advice in connection with eBay internal
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                                                                                                                                                                                                                                                                investigation after Natick events, prepared by
                                                                                                                                                                                                                                                                counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                                                mental impressions, conclusions, opinions and/or
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                                                                                                                                                                                                                                                                Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                                                                                8/23/2019 at 9:00 AM attended by Shannon
                                                                                                                                                                                                                                                                Macauley, Amir Vonsover, and Tony Shepard
                                                                                                                                                                                                                                                                reflecting the collection of information and
                                                                                                                                                                                                                                                                annotations by counsel and/or counsel's agents for
         58              Standalone Document   9/20/19 1:00 PM    eBay Legal / Morgan Lewis                                                                                                                  Zea.pdf               Attorney Client;Work Product the purpose of rendering legal advice in connection
                                                                                                                                                                                                                                                                with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                prepared by counsel in anticipation of litigation, and
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                                                                                                                                                                                                                                                                agents.


                                                                                                                                                                                                                                                                Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                                                                                8/23/2019 at 12:00 PM attended by Shannon
                                                                                                                                                                                                                                                                Macauley, Amir Vonsover, and Tony Shepard
                                                                                                                                                                                                                                                                reflecting the collection of information and
                                                                                                                                                                                                                                                                annotations by counsel and/or counsel's agents for
         59              Standalone Document   9/20/19 1:00 PM    eBay Legal / Morgan Lewis                                                                                                                  Zea.pdf               Attorney Client;Work Product the purpose of rendering legal advice in connection
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
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UNITED STAES V. BAUGH, ET AL.
                                                     Case
                                                      Case1:21-cv-11181-DPW
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                                                                                                                                                                                                                                              Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                                                              8/26/2019 at 12:30 PM attended by Shannon
                                                                                                                                                                                                                                              Macauley, Amir Vonsover, Tony Shepard, and Ellen
                                                                                                                                                                                                                                              Sherman reflecting the collection of information and
                                                                                                                                                                                                                                              annotations by counsel and/or counsel's agents for
         60              Standalone Document   9/20/19 1:00 PM    eBay Legal / Morgan Lewis                                                                                                Zea.pdf               Attorney Client;Work Product the purpose of rendering legal advice in connection
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                                                                                                                                                                                                                                              prepared by counsel in anticipation of litigation, and
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                                                                                                                                                                                                                                              agents.



                                                                                                                                                                                                                                            Notes of confidential interview of Dave Harville on
                                                                                                                                                                                                                                            8/27/2019 at 4:35 PM attended by Shannon
                                                                                                                                                                                                                                            Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                            collection of information for the purpose of
         61                  Standalone        8/28/2019 22:37       Macauley, Shannon                                                                                         2019.08.27 Dave Harville_3.docx Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                            internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                            mental impressions, conclusions, opinions and/or
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                                                                                                                                                                                                                                              Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                              on 9/5/2019 attended by Colin West, Andrew
                                                                                                                                                                                                                                              Phelan, and Shannon Macauley reflecting the
                                                                                                                                                                                                                                              collection of information for the purpose of
                                                                                                                                                                                 2019.09.05 Scott Fitzgerald
         62                  Standalone        9/12/2019 12:36       Macauley, Shannon                                                                                                                           Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                         (ML).docx
                                                                                                                                                                                                                                              internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                              Notes of confidential interview of Stephanie
                                                                                                                                                                                                                                              Stockwell on 8/26/2019 at 2:16 PM attended by
                                                                                                                                                                                                                                              Shannon Macauley and Amir Vonsover reflecting
                                                                                                                                                                                                                                              the collection of information for the purpose of
         63                  Standalone        9/20/19 12:38 PM          eBay Legal                                                                                                     Stockwell.pdf            Attorney Client;Work Product rendering legal advice in connection with eBay
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                                                                                                                                                                                                                                              Notes of confidential interview of Michelle (last
                                                                                                                                                                                                                                              name unknown) on 10/15/2019 at 4:30 PM
                                                                                                                                                                                                                                              attended by Molly Finn and Amir Vonsover
                                                                                                                                                                                                                                              reflecting the collection of information for the
                                                                                                                                                                               Michelle Interview Oct 15 2019                                 purpose of rendering legal advice in connection with
         64                  Standalone        10/15/2019 23:47        Vonsover, Amir                                                                                                                            Attorney Client;Work Product
                                                                                                                                                                                    Project Lewis.docx                                        eBay internal investigation after Natick events,
                                                                                                                                                                                                                                              prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                              reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                              and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                              agents.


                                                                                                                                                                                                                                              Notes of confidential interview of Stephanie Popp
                                                                                                                                                                                                                                              on 8/23/2019 at 8:30 AM attended by Shannon
                                                                                                                                                                                                                                              Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                              collection of information for the purpose of
         65                  Standalone        8/28/2019 22:24       Macauley, Shannon                                                                                         2019.08.23 Stephanie Popp.docx    Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                              internal investigation after Natick events, prepared
                                                                                                                                                                                                                                              by counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                              mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                              legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                              Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                              on 8/23/2019 at 10:30 AM attended by Shannon
                                                                                                                                                                                                                                              Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                              collection of information and annotations by
                                                                                                                                                                                                                                              counsel and/or counsel's agents for the purpose of
         66              Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                             Fitzgerald.pdf           Attorney Client;Work Product
                                                                                                                                                                                                                                              rendering legal advice in connection with eBay
                                                                                                                                                                                                                                              internal investigation after Natick events, prepared
                                                                                                                                                                                                                                              by counsel in anticipation of litigation, and reflecting
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
                                                                                                                                R50                                                                                                                                               MLB_BAUGHPRIV_0001
UNITED STAES V. BAUGH, ET AL.
                                                     Case
                                                      Case1:21-cv-11181-DPW
                                                           1:20-cr-10263-PBS          Document 117-1 182-1 Filed 05/23/22
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                                                                                                                                                                                                                                            Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                            on 9/3/2019 at 5:50 PM reflecting the collection of
                                                                                                                                                                                                                                            information and annotations by counsel and/or
                                                                                                                                                                                                                                            counsel's agents for the purpose of rendering legal
         67              Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                            Fitzgerald.pdf          Attorney Client;Work Product advice in connection with eBay internal
                                                                                                                                                                                                                                            investigation after Natick events, prepared by
                                                                                                                                                                                                                                            counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                            mental impressions, conclusions, opinions and/or
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                                                                                                                                                                                                                                            Notes in preparation for confidential interview of
                                                                                                                                                                                                                                            Scott Fitzgerald on 9/5/2019 at 2:30 PM reflecting
                                                                                                                                                                                                                                            the collection of information and annotations by
                                                                                                                                                                                                                                            counsel and/or counsel's agents for the purpose of
         68              Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                            Fitzgerald.pdf          Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                            internal investigation after Natick events, prepared
                                                                                                                                                                                                                                            by counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                            mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                            legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                            Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                            on 8/30/2019 at 3:00 PM attended by Colin West,
                                                                                                                                                                                                                                            Bryan Connor, and Shannon Macauley reflecting the
                                                                                                                                                                                                                                            collection of information and annotations by
                                                                                                                                                                                                                                            counsel and/or counsel's agents for the purpose of
         69              Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                            Fitzgerald.pdf          Attorney Client;Work Product
                                                                                                                                                                                                                                            rendering legal advice in connection with eBay
                                                                                                                                                                                                                                            internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                            Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                            on 9/3/2019 at 3:43 PM attended by Colin West,
                                                                                                                                                                                                                                            Jordan Mundell, Andrew Phelan, and Shannon
                                                                                                                                                                                                                                            Macauley reflecting the collection of information
                                                                                                                                                                                                                                            and annotations by counsel and/or counsel's agents
         70              Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                            Fitzgerald.pdf          Attorney Client;Work Product for the purpose of rendering legal advice in
                                                                                                                                                                                                                                            connection with eBay internal investigation after
                                                                                                                                                                                                                                            Natick events, prepared by counsel in anticipation
                                                                                                                                                                                                                                            of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                            conclusions, opinions and/or legal theories of
                                                                                                                                                                                                                                            counsel and/or counsel’s agents.



                                                                                                                                                                                                                                            Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                            on 9/5/2019 attended by Colin West, Andrew
                                                                                                                                                                                                                                            Phelan, and Shannon Macauley reflecting the
                                                                                                                                                                                                                                            collection of information and annotations by
                                                                                                                                                                                                                                            counsel and/or counsel's agents for the purpose of
         71              Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                            Fitzgerald.pdf          Attorney Client;Work Product
                                                                                                                                                                                                                                            rendering legal advice in connection with eBay
                                                                                                                                                                                                                                            internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                            Notes of confidential interview of Brian Gilbert on
                                                                                                                                                                                                                                            8/23/2019 at 10:00 AM attended by Shannon
                                                                                                                                                                                                                                            Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                            collection of information for the purpose of
         72              Standalone Document   8/28/2019 22:17       Macauley, Shannon                                                                                         2019.08.23 Brian Gilbert.docx   Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                            internal investigation after Natick events, prepared
                                                                                                                                                                                                                                            by counsel in anticipation of litigation, and reflecting
                                                                                                                                                                                                                                            mental impressions, conclusions, opinions and/or
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                                                                                                                                                                                                                                            Memorandum of confidential interviews of Wendy
                                                                                                                                                                                                                                            Jones, Brian Gilbert, and Steve Wymer on
                                                                                                                                                                                                                                            8/30/2019 attended by Andrew Phelan, Colin West,
                                                                                                                                                                                                                                            Bryan Connor, and Jordan Mundell reflecting the
                                                                                                                                                                               Memorandum of Interview with                                 collection of information for the purpose of
         73              Standalone Document       8/30/19            Mundell, Jordan             File                                                                                                         Attorney Client;Work Product
                                                                                                                                                                                  ebay Employees.DOCX                                       rendering legal advice in connection with eBay
                                                                                                                                                                                                                                            internal investigation after Natick events, prepared
                                                                                                                                                                                                                                            by counsel in anticipation of litigation, and reflecting
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
                                                                                                                                R51                                                                                                                                             MLB_BAUGHPRIV_0001
UNITED STAES V. BAUGH, ET AL.
                                                     Case
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                                                                                                                                                                                                                                      Notes of confidential interview of Stephanie
                                                                                                                                                                                                                                      Stockwell on 8/26/2019 at 2:16 PM attended by
                                                                                                                                                                                                                                      Shannon Macauley and Amir Vonsover reflecting
                                                                                                                                                                                                                                      the collection of information for the purpose of
                                                                                                                                                                           2019.08.26 Stephanie
         74              Standalone Document   8/28/2019 22:27   Macauley, Shannon                                                                                                                       Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                              Stockwell.docx
                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                      Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                      on 8/23/2019 at 10:30 AM attended by Shannon
                                                                                                                                                                                                                                      Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                      collection of information for the purpose of
         75              Standalone Document   8/28/2019 22:23   Macauley, Shannon                                                                                    2019.08.23 Scott Fitzgerald.docx   Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                      Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                                                      8/26/2019 at 12:30 PM attended by Shannon
                                                                                                                                                                                                                                      Macauley, Amir Vonsover, Tony Shepard, and Ellen
                                                                                                                                                                                                                                      Sherman reflecting the collection of information for
                                                                                                                                                                                                                                      the purpose of rendering legal advice in connection
         76              Standalone Document   8/28/2019 22:29   Macauley, Shannon                                                                                    2019.08.26 Veronica Zea_3.docx     Attorney Client;Work Product
                                                                                                                                                                                                                                      with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                      prepared by counsel in anticipation of litigation, and
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                                                                                                                                                                                                                                      agents.


                                                                                                                                                                                                                                      Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                                                      8/30/2019 at 3:30 PM attended by Andrew Phelan,
                                                                                                                                                                                                                                      Jordan Mundell, and Shannon Macauley reflecting
                                                                                                                                                                                                                                      the collection of information for the purpose of
                                                                                                                                                                          2019.08.30 Steve Wymer
         77              Standalone Document   9/12/2019 12:34   Macauley, Shannon                                                                                                                       Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                         (ML)_107862029_1.DOCX
                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                      Notes of confidential interview of Wendy Jones on
                                                                                                                                                                                                                                      8/30/2019 at 9:00 PM attended by Andrew Phelan,
                                                                                                                                                                                                                                      Jordan Mundell, and Shannon Macauley reflecting
                                                                                                                                                                                                                                      the collection of information for the purpose of
                                                                                                                                                                          2019.08.30 Wendy Jones
         78              Standalone Document   9/12/2019 12:35   Macauley, Shannon                                                                                                                       Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                         (ML)_107862030_1.DOCX
                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                      Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                      on 9/3/2019 at 3:34 PM attended by Colin West,
                                                                                                                                                                                                                                      Jordan Mundel, Andrew Phelan, and Shannon
                                                                                                                                                                                                                                      Macauley reflecting the collection of information for
                                                                                                                                                                        2019.09.03 Scott Fitzgerald                                   the purpose of rendering legal advice in connection
         79              Standalone Document   9/12/2019 12:35   Macauley, Shannon                                                                                                                       Attorney Client;Work Product
                                                                                                                                                                         (ML)_107862032_1.DOCX                                        with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                      prepared by counsel in anticipation of litigation, and
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                                                                                                                                                                                                                                      agents.


                                                                                                                                                                                                                                      Notes of confidential interview of Wendy Jones on
                                                                                                                                                                                                                                      9/6/2019 at 11:00 AM attended by Andrew Phelan,
                                                                                                                                                                                                                                      Colin West, and Shannon Macauley reflecting the
                                                                                                                                                                                                                                      collection of information for the purpose of
                                                                                                                                                                          2019.09.06 Wendy Jones
         80              Standalone Document   9/12/2019 12:37   Macauley, Shannon                                                                                                                       Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                         (ML)_107862035_1.DOCX
                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                      Notes of confidential interview of Brian Gilbert on
                                                                                                                                                                                                                                      9/3/2019 at 2:00 PM attended by Andrew Phelan,
                                                                                                                                                                                                                                      Jordan Mundell, Colin West, and Shannon Macauley
                                                                                                                                                                                                                                      reflecting the collection of information for the
                                                                                                                                                                          2019.09.03 Brian Gilbert                                    purpose of rendering legal advice in connection with
         81              Standalone Document   9/12/2019 12:09   Macauley, Shannon                                                                                                                       Attorney Client;Work Product
                                                                                                                                                                         (ML)_107862040_1.DOCX                                        eBay internal investigation after Natick events,
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS
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UNITED STAES V. BAUGH, ET AL.
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                                                                                                      Case1:21-cv-11181-DPW
                                                                                                           1:20-cr-10263-PBS          Document 117-1 182-1 Filed 05/23/22
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                                                                                                                                                                                                                                                                                                                                                                                      Notes of confidential interview of Tony Shepard on
                                                                                                                                                                                                                                                                                                                                                                                      8/23/2019 at 12:45 PM attended by Shannon
                                                                                                                                                                                                                                                                                                                                                                                      Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                                                                                                                                      collection of information for the purpose of
                                                                                                                                                                                                                                                                                                                            2019.08.23 Tony
                 82                                 Standalone Document                       9/12/2019 12:15               Macauley, Shannon                                                                                                                                                                                                            Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                                                                       Shepard_107862008_1.DOCX
                                                                                                                                                                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                                                                                                                                                      Notes of confidential interview of Scott Fitzgerald
                                                                                                                                                                                                                                                                                                                                                                                      on 8/30/2019 at 3:00 PM attended by Colin West,
                                                                                                                                                                                                                                                                                                                                                                                      Bryan Connor, and Shannon Macauley reflecting the
                                                                                                                                                                                                                                                                                                                                                                                      collection of information for the purpose of
                                                                                                                                                                                                                                                                                                                        2019.08.30 Scott Fitzgerald
                 83                                 Standalone Document                       9/12/2019 12:33               Macauley, Shannon                                                                                                                                                                                                            Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                                                                         (ML)_107862028_1.DOCX
                                                                                                                                                                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                                                                                                                                                      Notes of confidential interview of Brian Gilbert on
                                                                                                                                                                                                                                                                                                                                                                                      8/30/2019 at 2:00 PM attended by Andrew Phelan,
                                                                                                                                                                                                                                                                                                                                                                                      Jordan Mundell, and Shannon Macauley reflecting
                                                                                                                                                                                                                                                                                                                                                                                      the collection of information for the purpose of
                                                                                                                                                                                                                                                                                                                         2019.08.30 Brian Gilbert
                 84                                 Standalone Document                       9/12/2019 12:32               Macauley, Shannon                                                                                                                                                                                                            Attorney Client;Work Product rendering legal advice in connection with eBay
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                                                                                                                                                                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                                                                                                                                                      Notes of confidential interview of Detective Jason
                                                                                                                                                                                                                                                                                                                                                                                      Sutherland on 8/22/2019 at 4:00 PM attended by
                                                                                                                                                                                                                                                                                                                                                                                      Shannon Macauley and Amir Vonsover reflecting
                                                                                                                                                                                                                                                                                                                                                                                      the collection of information for the purpose of
                                                                                                                                                                                                                                                                                                                        2019.08.22 Sutherland
                 85                                 Standalone Document                       9/12/2019 12:08               Macauley, Shannon                                                                                                                                                                                                            Attorney Client;Work Product rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                                                                      Convo_107862041_1.DOCX
                                                                                                                                                                                                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                                                                                                                                                      legal theories of counsel and/or counsel’s agents.

                                                                                                                                                                                                                                                                                                                                                                         Email between counsel and company employees
                                                                                                                                                                                                                                                                                  Project Lewis -- USAO Update Project Lewis -- USAO Update
                                                                                                                                                                                                                                                                                                                                                                         providing legal advice and prepared in anticipation
                 86                                   Parent Document                        10/23/19 3:44 PM               Phelan, Andrew C.              Huber, Marie; Finn, Molly         Vonsover, Amir; Connor, Bryan M.                                                        10/23/19 - Privileged and    10/23/19 - Privileged and Attorney Client;Work Product
                                                                                                                                                                                                                                                                                                                                                                         of litigation regarding eBay internal investigation
                                                                                                                                                                                                                                                                                           Confidential                 Confidential
                                                                                                                                                                                                                                                                                                                                                                         after Natick events.

                                                                                                                                                                                                                                                                                                                                                                                      Memorandum from Andrew C. Phelan to Special
                                                                                                                                                                                                                                                                                                                                                                                      Committee prepared by counsel providing legal
                                                                                                                                                                                                                                                                                                                                                                                      advice regarding eBay internal investigation after
                                                                                                                                                                                                                                                                                                                              052094-                                                 Natick events; regarding eBay response to law
                                                                                                                                                         Special Committee, eBay Board                                                                                                                               02__109777006v1_eBay ACP                                         enforcement investigations after Natick events;
                 87                                 Standalone Document                          11/7/2019                   Andrew C. Phelan                                                                                                                                                                                                            Attorney Client;Work Product
                                                                                                                                                                   of Directors                                                                                                                                       Memo to Special Committee                                       regarding employment/personnel matters and/or
                                                                                                                                                                                                                                                                                                                           11_7_19.DOCX                                               actions after Natick events; and regarding corporate
                                                                                                                                                                                                                                                                                                                                                                                      communications after Natick events prepared in
                                                                                                                                                                                                                                                                                                                                                                                      anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                                                                                                                                                      impressions, conclusions, opinions and/or legal
                                                                                                                                                                                                                                                                                                                                                                                      theories of counsel and/or counsel's agents.

* Morgan Lewis & Bockius LLP produces this privilege log without waiver of, and expressly preserves, any and all objections and challenges to the Fed. R. Crim. P. 17(c) subpoena issued to it, and reserves all rights to file a motion to quash the subpoena or to seek other protections, on all available grounds. The provision of this privilege log, or any purported failure to list a document or information within the privilege log,
shall not constitute a waiver of the attorney client privilege, work product protections or other applicable protections in this case or in any other federal or state proceeding and shall not limit the right of eBay or Morgan Lewis & Bockius LLP to assert privilege or work product protection over material or information in connection with this or any other proceeding. Further, Morgan Lewis & Bockius LLP notes that certain of
   the documents logged within this privilege log may reflect potentially attorney client privileged and/or work product protected information concerning matters not responsive to the subpoena. Morgan Lewis & Bockius LLP has not undertaken to review all nonresponsive content for attorney client privilege and/or work product protection, but expressly preserves and does not waive all claims of privilege/protection.
                                                                                                                                                                          Morgan Lewis & Bockius LLP reserves the right to supplement and/or amend this privilege log.




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      1:20-cr-10263-PBS Document 117-1
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             EXHIBIT B




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UNITED STATES V. BAUGH, ET AL.
                                                                Case
                                                                 Case1:21-cv-11181-DPW
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                                                                                                                                                                                                                                                       Notes of confidential interview of Devin Wenig on 9/11/2019 attended by Andrew
                                                                                                                                                                                                                                                       Phelan, reflecting the collection of information and annotations by counsel and/or
                                                                                                                                                                                                                                                       counsel's agents for the purpose of rendering legal advice in connection with eBay
         88                       Standalone             09/11/19     Phelan, Andrew C.                                                                                   2021.12.03 HW interviews DW, JW, MA, PC.pdf   Attorney Client;Work Product
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared by counsel in anticipation of
                                                                                                                                                                                                                                                       litigation, and reflecting mental impressions, conclusions, opinions and/or legal
                                                                                                                                                                                                                                                       theories of counsel and/or counsel’s agents.




                                                                                                                                                                                                                                                       Notes of confidential conversation with Devin Wenig on 9/12/2019 attended by
                                                                                                                                                                                                                                                       Andrew Phelan, reflecting the collection of information and annotations by counsel
                                                                                                                                                                                                                                                       and/or counsel's agents for the purpose of rendering legal advice in connection with
         89                       Standalone             09/12/19     Phelan, Andrew C.                                                                                   2021.12.03 HW interviews DW, JW, MA, PC.pdf   Attorney Client;Work Product
                                                                                                                                                                                                                                                       eBay internal investigation after Natick events, prepared by counsel in anticipation of
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                                                                                                                                                                                                                                                       theories of counsel and/or counsel’s agents.




                                                                                                                                                                                                                                                       Notes of confidential conversation with Devin Wenig on 9/13/2019 attended by
                                                                                                                                                                                                                                                       Andrew Phelan, reflecting the collection of information and annotations by counsel
                                                                                                                                                                                                                                                       and/or counsel's agents for the purpose of rendering legal advice in connection with
         89                       Standalone             09/13/19     Phelan, Andrew C.                                                                                   2021.12.03 HW interviews DW, JW, MA, PC.pdf   Attorney Client;Work Product
                                                                                                                                                                                                                                                       eBay internal investigation after Natick events, prepared by counsel in anticipation of
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                                                                                                                                                                                                                                                       Notes of confidential interview of Julieann Whitelaw on 9/17/2019 attended by
                                                                                                                                                                                                                                                       Andrew Phelan, reflecting the collection of information and annotations by counsel
                                                                                                                                                                                                                                                       and/or counsel's agents for the purpose of rendering legal advice in connection with
         90                       Standalone             09/17/19     Phelan, Andrew C.                                                                                   2021.12.03 HW interviews DW, JW, MA, PC.pdf   Attorney Client;Work Product
                                                                                                                                                                                                                                                       eBay internal investigation after Natick events, prepared by counsel in anticipation of
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                                                                                                                                                                                                                                                       Notes of confidential interview of Michelle Alford (Echevarria) on 11/1/2019 attended
                                                                                                                                                                                                                                                       by Andrew Phelan, reflecting the collection of information and annotations by counsel
                                                                                                                                                                                                                                                       and/or counsel's agents for the purpose of rendering legal advice in connection with
         91                       Standalone             11/01/19     Phelan, Andrew C.                                                                                   2021.12.03 HW interviews DW, JW, MA, PC.pdf   Attorney Client;Work Product
                                                                                                                                                                                                                                                       eBay internal investigation after Natick events, prepared by counsel in anticipation of
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                                                                                                                                                                                                                                                       Notes of confidential interview of Phil Cooke on 11/22/2019 attended by Andrew
                                                                                                                                                                                                                                                       Phelan, reflecting the collection of information and annotations by counsel and/or
                                                                                                                                                                                                                                                       counsel's agents for the purpose of rendering legal advice in connection with eBay
         92                       Standalone             11/22/19     Phelan, Andrew C.                                                                                   2021.12.03 HW interviews DW, JW, MA, PC.pdf   Attorney Client;Work Product
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared by counsel in anticipation of
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                                                                                                                                                                                                                                                       Notes of confidential interview of Phil Cooke on 11/25/2019 attended by Andrew
                                                                                                                                                                                                                                                       Phelan, reflecting the collection of information and annotations by counsel and/or
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         93                       Standalone             11/25/19     Phelan, Andrew C.                                                                                   2021.12.03 HW interviews DW, JW, MA, PC.pdf   Attorney Client;Work Product
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared by counsel in anticipation of
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                                                                                                                                     SUPPLEMENTAL PRIVILEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP*
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             Log Number                            Parent/Attachment/Standalone                           Family Date                    Author/From                         Recipient/To                       Other Recipient(s)/CC                       Other Recipient(s)/BCC                        Email Subject                                 File Name                                 Privilege Basis                                           Document Description




                                                                                                                                                                                                                                                                                                                                                                                                                            Notes of confidential interview of Phil Cooke on 11/26/2019 attended by Andrew
                                                                                                                                                                                                                                                                                                                                                                                                                            Phelan, reflecting the collection of information and annotations by counsel and/or
                                                                                                                                                                                                                                                                                                                                                                                                                            counsel's agents for the purpose of rendering legal advice in connection with eBay
                  94                                           Standalone                                  11/26/19                    Phelan, Andrew C.                                                                                                                                                                            2021.12.03 HW interviews DW, JW, MA, PC.pdf           Attorney Client;Work Product
                                                                                                                                                                                                                                                                                                                                                                                                                            internal investigation after Natick events, prepared by counsel in anticipation of
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                                                                                                                                                                                                                                                                                                                                                                                                                            Email between counsel providing and discussing legal advice and prepared in
                  95                                             Parent                                10/17/19 7:39 PM                Connor, Bryan M.                   Phelan, Andrew C.                  Vonsover, Amir; Finn, Molly                                                                                            Project lLewis - Call with Michelle Echevarria.msg    Attorney Client;Work Product
                                                                                                                                                                                                                                                                                                                                                                                                                            anticipation of litigation regarding eBay internal investigation after Natick events.




                                                                                                                                                                                                                                                                                                                                                                                                                            Notes of confidential interview of Michelle Echevarria on 10/17/2019 at 6:51 PM
                                                                                                                                                                                                                                                                                                                                                                                                                            attended by Byan Connor, Andrew Phelan, Amir Vonsover and Molly Finn reflecting
                                                                                                                                                                                                                                                                                                                                    052094-02_10819332v1_Project Lewis - Michelle                                           the collection of information for the purpose of rendering legal advice in connection
                  96                                          Attachment                                   10/17/19                    Connor, Bryan M.                      Memo to File                                                                                                                                                                                                 Attorney Client;Work Product
                                                                                                                                                                                                                                                                                                                                    Echeverria Call Memo to File (10.17.2019).DOCX                                          with eBay internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                                                                                                                                                                                            anticipation of litigation, and reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                                                                                                                                                                                                            and/or legal theories of counsel and/or counsel’s agents.




* Morgan Lewis & Bockius LLP produces this privilege log without waiver of, and expressly preserves, any and all objections and challenges to the Fed. R. Crim. P. 17(c) subpoena issued to it, and reserves all rights to file a motion to quash the subpoena or to seek other protections, on all available grounds. The provision of this privilege log, or any purported failure to list a document or information within the privilege log, shall not constitute a waiver of the attorney client privilege, work
  product protections or other applicable protections in this case or in any other federal or state proceeding and shall not limit the right of eBay or Morgan Lewis & Bockius LLP to assert privilege or work product protection over material or information in connection with this or any other proceeding. Further, Morgan Lewis & Bockius LLP notes that certain of the documents logged within this privilege log may reflect potentially attorney client privileged and/or work product protected
                                                   information concerning matters not responsive to the subpoena. Morgan Lewis & Bockius LLP has not undertaken to review all nonresponsive content for attorney client privilege and/or work product protection, but expressly preserves and does not waive all claims of privilege/protection. Morgan Lewis & Bockius LLP reserves the right to supplement and/or amend this privilege log.




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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                                  Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,                                   Leave to file Redacted Exhibits
                                                     Granted on January 20, 2022
       Defendants.



            SUPPLEMENTAL DECLARATION OF JACK W. PIROZZOLO, ESQ.

       I, Jack W. Pirozzolo, hereby depose and say as follows:

       1.      I submit this supplemental declaration in accordance with the Court’s January 20,

2022 Order requiring the public filing of redacted versions of eBay Inc.’s (“eBay’s”) privilege

logs (the “Order”) (Dkt. 160) and in further support of the motions of eBay and Morgan, Lewis

& Bockius LLP (“Morgan Lewis”) to partially quash the Rule 17(c) Subpoenas served on them

by defendant Jim Baugh (“Baugh”) (Dkts. 137, 141). Unless otherwise noted, the statements set

forth herein are based on my own personal knowledge. They are also true to the best of my

knowledge, information and belief as of the date I signed this declaration.

       2.      I am a partner with the law firm of Sidley Austin LLP and counsel of record for

eBay in the above-captioned matter.

       3.      Attached hereto as Exhibit 1 is a true and accurate copy of eBay’s Initial Privilege

Log that eBay produced to Baugh on November 8, 2021. Redactions are applied to the publicly-

filed version of the Initial Privilege Log in accordance with the Order. eBay’s Initial Privilege

Log was previously filed with the Court under seal as Exhibit 7 to the Declaration of Jack W.

Pirozzolo (“Pirozzolo Declaration”) (Dkt. 140, Ex. 7).




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       4.      Attached hereto as Exhibit 2 is a true and accurate copy of eBay’s Supplemental

Privilege Log that eBay produced to Baugh on November 15, 2021. Redactions are applied to

the publicly-filed version of the Supplemental Privilege Log in accordance with the Order.

eBay’s Supplemental Privilege Log was previously filed with the Court under seal as Exhibit 9

to the Pirozzolo Declaration. (Dkt. 140, Ex. 9).

       5.      Attached hereto as Exhibit 3 is a true and accurate copy of eBay’s Second

Supplemental Privilege Log that eBay produced to Baugh on December 16, 2021. Redactions

are applied to the publicly-filed version of the Second Supplemental Privilege Log in accordance

with the Order. eBay’s Second Supplemental Privilege Log was previously filed with the Court

under seal as Exhibit 19 to the Pirozzolo Declaration. (Dkt. 140, Ex. 19).

       I declare, under the pains and penalties of perjury that the foregoing is true and correct to

the best of my knowledge, information and belief.

       Executed, February 10, 2022, in the Commonwealth of Massachusetts, United States of

America.

                                                   /s/ Jack W. Pirozzolo
                                                   Jack W. Pirozzolo, Esq.




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                                 CERTIFICATE OF SERVICE

   I hereby certify that on February 10, 2022, this document, filed through the CM/ECF system,

will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing (NEF) and paper copies will be sent to those indicated as non-registered participants. A

copy of the unredacted exhibits is being filed with the Court and being served on counsel of

record via email.

                                                   /s/ Jack W. Pirozzolo
                                                   Jack. W. Pirozzolo




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              EXHIBIT 1




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                Parent                   Subpoena                                                                                                                                          Privilege
Log Number                       Date                   Author              From                       To                                   CC        BCC      Subject      Filename                           Privilege Description
              Attachment                  Request                                                                                                                                            Basis
                                                                                                                                                                                                       Report prepared by counsel
                                                                                                                                                                                                       containing legal advice regarding eBay
                                                                                                                                                                                                       internal investigation and remedial
                                                                                                                                                                                       Attorney        actions after Natick events, prepared
                                                                                                                                                                                       Client          in anticipation of litigation and
                                                                                                                                                                                       Privileged;     reflecting mental impressions,
                                                                                                                                                                                       Work            conclusions, opinions and/or legal
             Standalone                                                                                                                                                   Lewis Exec   Product         theories of counsel and/or counsel's
Log00001     Document      9/28/2020    Request 1   eBay Legal                                                                                                            Summary.pptx Protected       agents.
                                                                                                                                                                                                       Report prepared by counsel
                                                                                                                                                                                                       containing legal advice regarding eBay
                                                                                                                                                                                                       internal investigation and remedial
                                                                                                                                                                                         Attorney      actions after Natick events, prepared
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                                                                                                                                                                          Lewis Summary Privileged;    reflecting mental impressions,
                                                                                                                                                                          9.24.2020      Work          conclusions, opinions and/or legal
             Standalone                                                                                                                                                   [Autosaved].pp Product       theories of counsel and/or counsel's
Log00002     Document      9/26/2020    Request 1   eBay Legal                                                                                                            tx             Protected     agents.




                                                                                      Brown, Adriane
                                                                                           [REDACTED]
                                                                                      Bates, Anthony [REDACTED]
                                                                                                   ; Swan, Bob
                                                                                        [REDACTED] ; Hammer,
                                                                                      Bonnie
                                                                                              [REDACTED]              ;
                                                                                      Farrell, Diana
                                                                                             [REDACTED]             ;
                                                                                      Anderson, Fred
                                                                                         [REDACTED] ; Cohn, Jesse
                                                                                          [REDACTED] ; Mitic,
                                                                                      Katie     [REDACTED] ;
                                                                                      Green, Logan [REDACTED ;            Schenkel, Scott                                                              Email from counsel to company
                                                                                      Murphy, Matt [REDACTED] ;              [REDACTED] ; Yetto,                                                       representative(s) providing legal
                                                                                      Pressler, Paul [REDACTED]           Kristin [REDACTED] ;                                                         advice regarding Board/Committee
                                                                                                ; Traquina, Perry         Cring, Andy [REDACTED] >;                                     Attorney       evaluations and/or determinations
                                                                                           [REDACTED]             ;       Billante, Joe                                                 Client         related to executive employment
                                                                                      Omidyar, Pierre                      [REDACTED] ; Rome,               FYI ‐ CEO                   Privileged;    matters and regarding corporate
                                                                                        [REDACTED] ; Tierney,             Mark [REDACTED] ;                 change 8‐K;                 Work           communications after Natick events
                                                                   Huber, Marie       Thomas                              Huber, Marie                      media                       Product        and prepared in anticipation of
Log00003     Parent        9/25/2019    Request 2   Huber, Marie    [REDACTED]               [REDACTED]                     [REDACTED]                      coverage                    Protected      litigation.
                                                                                                                                                                                        Attorney
                                                                                                                                                                                        Client         Draft document prepared at the
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                                                    Sergio de la                                                                                                          summary       Product        of legal advice and prepared in
Log00004     Attachment    9/25/2019    Request 2   Calle                                                                                                                 20190925.docx Protected      anticipation of litigation

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                                                                                                                                                                                                       Communication from counsel to
                                                                                                                                                                                         Attorney      company representative(s) providing
                                                                                                                                                                                         Client        information to allow for the rendering
Log00005     Attachment    9/25/2019    Request 2                                                                                                                         806459A.pdf    Privileged    of legal advice




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                Parent                   Subpoena                                                                                                                                               Privilege
Log Number                       Date                   Author                 From                    To                                 CC         BCC       Subject         Filename                              Privilege Description
              Attachment                  Request                                                                                                                                                 Basis

                                                                                                                          Schenkel, Sco
                                                                                                                           [REDACTED] ; Huber,
                                                                                                                         Marie [REDACTED] ;
                                                                                      Thomas Tierney                     Yetto, Kristin
                                                                                                [REDACTED]            ;   [REDACTED] ; Cring, Andy                                                          Email between company
                                                                                      Adriane Brown                       [REDACTED] ; Finn, Molly                                            Attorney      representatives reflecting legal advice
                                                                                            [REDACTED]            ; Diana [REDACTED] ; Andrew              Project Lewis                      Client        regarding eBay internal investigation
                                                                                      Farrell                            Phelan                            Draft                              Privileged;   after Natick events and regarding
                                                                                            [REDACTED]            ; Bob      [REDACTED] ;                  Communicatio                       Work          corporate communications after
                                                                    Billante, Joe     Swan [REDACTED]           ; Perry Rome, Marc                         ns ‐ Privileged                    Product       Natick events and prepared in
Log00006     Parent        3/15/2020    Request 2   Billante, Joe     [REDACTED]      Traquina [REDACTED]                  [REDACTED]                      & Confidential                     Protected     anticipation of litigation.


                                                                                                                                                                             DRAFT Project    Attorney
                                                                                                                                                                             Lewis            Client        Draft document prepared at the
                                                                                                                                                                             Indictment       Privileged;   direction of counsel providing
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Log00007     Attachment    3/15/2020    Request 2   Joele Frank                                                                                                              20200313.docx    Protected     anticipation of litigation.




                                                                                      Brown, Adriane
                                                                                             [REDACTED]             ;
                                                                                      Bates, Anthony [REDACTED]
                                                                                                   ; Swan, Bob
                                                                                        [REDACTED] ; Hammer,
                                                                                      Bonnie
                                                                                              [REDACTED]              ;
                                                                                      Farrell, Diana
                                                                                             [REDACTED]             ;
                                                                                      Anderson, Fred
                                                                                         [REDACTED] ; Cohn, Jesse                                                                                           Email from counsel to company
                                                                                          [REDACTED] ; Mitic,                                                                                               representative(s) providing and
                                                                                      Katie     [REDACTED] ;                                                                                                discussing legal advice regarding eBay
                                                                                      Green, Logan [REDACTED ;                                                                                              internal investigation after Natick
                                                                                      Murphy, Matt [REDACTED] ;           Billante, Joe                                                                     events and regarding eBay response
                                                                                      Pressler, Paul [REDACTED]             [REDACTED] ; Finn,                                                              to law enforcement investigations
                                                                                                ; Traquina, Perry         Molly [REDACTED] ;                                            Attorney            after Natick events and regarding
                                                                                           [REDACTED]             ;       Huber, Marie                                                  Client              employment/personnel matters
                                                                                      Omidyar, Pierre                       [REDACTED] ; Iannone,                                       Privileged;         and/or actions after Natick events and
                                                                                        [REDACTED] ; Tierney,             Jamie [REDACTED] ;               Lewis Update ‐               Work                regarding corporate communications
                                                                    Huber, Marie      Thomas                              Yetto, Kristin                   Privileged &                 Product             after Natick events and prepared in
Log00008     Parent        6/10/2020    Request 2   Huber, Marie      [REDACTED]                [REDACTED]                 [REDACTED]                      Confidential                 Protected           anticipation of litigation.
                                                                                                                                                                                        Attorney
                                                                                                                                                                                        Client              Draft document prepared at the
                                                                                                                                                                          DRAFT Project Privileged;         direction of counsel providing
                                                                                                                                                                          Lewis Press   Work                information to allow for the rendering
                                                    Sergio de la                                                                                                          Release       Product             of legal advice and prepared in
Log00009     Attachment    6/10/2020    Request 2   Calle                                                                                                                 only.docx     Protected           anticipation of litigation.




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              Attachment                  Request                                                                                                                                            Basis

                                                                                                                                                                                                       Email from counsel to company
                                                                                      Brown, Adriane                 Billante, Joe                                                                     representative(s) providing and
                                                                                             [REDACTED]    ;           [REDACTED] ; Finn,                                                              discussing legal advice regarding eBay
                                                                                      Swan, Bob [REDACTED] ;         Molly [REDACTED] ;                                                                internal investigation after Natick
                                                                                      Farrell, Diana                 Huber, Marie                                                    Attorney          events and regarding eBay response
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                                                                                      Traquina, Perry                Jamie [REDACTED] ;                                              Privileged;       after Natick events and regarding
                                                                                           [REDACTED]   ; Tierney,   Pressler, Paul [REDACTED]          Lewis Update ‐               Work              corporate communications after
                                                                   Huber, Marie       Thomas                                   ; Yetto, Kristin         Privileged &                 Product           Natick events and prepared in
Log00010     Parent        6/9/2020     Request 2   Huber, Marie    [REDACTED]               [REDACTED]               [REDACTED]                        Confidential                 Protected         anticipation of litigation.
                                                                                                                                                                                     Attorney
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                                                    Sergio de la                                                                                                       Release       Product           of legal advice and prepared in
Log00011     Attachment    6/9/2020     Request 2   Calle                                                                                                              only.docx     Protected         anticipation of litigation.


                                                                                                                     Billante, Joe
                                                                                                                       [REDACTED] ; Bonnett,
                                                                                                                     Erica E. [REDACTED] ;
                                                                                                                     Finn, Molly
                                                                                                                       [REDACTED] ; Huber,
                                                                                                                     Marie [REDACTED] ;
                                                                                      Brown, Adriane                 Iannone, Jamie
                                                                                             [REDACTED]     ;         [REDACTED] ; Meli,                                                               Email from counsel to company
                                                                                      Swan, Bob [REDACTED] ;         Graham W.                                                                         representative(s) providing legal
                                                                                      Farrell, Diana                    [REDACTED] ; Neff,                                                             advice regarding eBay internal
                                                                                             [REDACTED]      ;       Daniel A. [REDACTED] ;             Lewis                            Attorney      investigation after Natick events and
                                                                                      Cohn, Jesse                    Rome, Marc                         Committee                        Client        regarding Board/Committee
                                                                                          [REDACTED] ; Pressler,       [REDACTED] ; Savitt,             6.24.20, 1 pm                    Privileged;   evaluations and/or determinations
                                                                                      Paul      [REDACTED] ;         William D.                         PT/4 pm ET ‐                     Work          related to executive employment
                                                                   Huber, Marie       Traquina, Perry                   [REDACTED] ; Yetto,             Privileged &                     Product       matters and prepared in anticipation
Log00012     Parent        6/23/2020    Request 2   Huber, Marie    [REDACTED]             [REDACTED]                Kristin [REDACTED]                 Confidential                     Protected     of litigation.

                                                                                                                                                                                                       Presentation prepared by counsel
                                                                                                                                                                        Lewis Special    Attorney      providing and discussing legal advice
                                                                                                                                                                        Committee ‐      Client        regarding Board/Committee
                                                                                                                                                                        Clawback         Privileged;   evaluations and/or determinations
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                                                                                                                                                                        Draft            Product       matters and prepared in anticipation
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                                                                                                                                                                                                       Email from counsel to company
                                                                                                                                                                                                       representative(s) providing and
                                                                                      Brown, Adriane                                                                                                   discussing legal advice regarding eBay
                                                                                             [REDACTED]     ;        Billante, Joe                                                                     internal investigation after Natick
                                                                                      Swan, Bob [REDACTED] ;           [REDACTED] ; Finn,                                                              events and regarding eBay response
                                                                                      Farrell, Diana                 Molly [REDACTED] ;                                                                to law enforcement investigations
                                                                                             [REDACTED]      ;       Huber, Marie                                                        Attorney      after Natick events and regarding
                                                                                      Cohn, Jesse                      [REDACTED] ; Iannone,                                             Client        employment/personnel matters
                                                                                          [REDACTED] ; Pressler,     Jamie [REDACTED] ;                 For the Lewis                    Privileged;   and/or actions after Natick events and
                                                                                      Paul      [REDACTED] ;         Rome, Marc                         mtg 6.20.20 ‐                    Work          regarding corporate communications
                                                                   Huber, Marie       Traquina, Perry                  [REDACTED] ; Yetto,              Privileged &                     Product       after Natick events and prepared in
Log00014     Parent        6/20/2020    Request 2   Huber, Marie    [REDACTED]             [REDACTED]                Kristin [REDACTED]                 Confidential                     Protected     anticipation of litigation.




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Log Number                       Date                    Author             From                       To                              CC   BCC      Subject         Filename                           Privilege Description
              Attachment                  Request                                                                                                                                    Basis
                                                                                                                                                                                Attorney
                                                                                                                                                                                Client          Draft document prepared at the
                                                                                                                                                                  DRAFT Project Privileged;     direction of counsel providing
                                                                                                                                                                  Lewis ‐ pros  Work            information to allow for the rendering
                                                                                                                                                                  and cons      Product         of legal advice and prepared in
Log00015     Attachment    6/20/2020    Request 2   JF                                                                                                            list.docx     Protected       anticipation of litigation.




                                                                                      Brown, Adriane
                                                                                             [REDACTED]             ;
                                                                                      Bates, Anthony [REDACTED]
                                                                                                   ; Swan, Bob
                                                                                         [REDACTED] ; Hammer,
                                                                                      Bonnie
                                                                                              [REDACTED]              ;
                                                                                      Farrell, Diana
                                                                                             [REDACTED]             ;
                                                                                      Anderson, Fred
                                                                                         [REDACTED] ; Iannone,
                                                                                      Jamie [REDACTED] ; Cohn,
                                                                                      Jesse      [REDACTED] ;                                                                                   Email from counsel to company
                                                                                      Mitic, Katie     [REDACTED] ;                                                                             representative(s) providing and
                                                                                      Green, Logan [REDACTED ;                                                                                  discussing legal advice regarding eBay
                                                                                      Murphy, Matt [REDACTED] ;                                                                                 internal investigation after Natick
                                                                                      Pressler, Paul [REDACTED]                                                                                 events and regarding
                                                                                                ; Traquina, Perry                                 Summary of                      Attorney      Board/Committee evaluations and/or
                                                                                           [REDACTED]             ;                               6.24.20 Lewis                   Client        determinations related to executive
                                                                                      Omidyar, Pierre                                             Committee                       Privileged;   employment matters and regarding
                                                                                         [REDACTED] ; Tierney,                                    Mtg ‐                           Work          corporate communications after
                                                                   Huber, Marie       Thomas                            Huber, Marie              Privileged &                    Product       Natick events and prepared in
Log00016     Parent        6/25/2020    Request 2   Huber, Marie    [REDACTED]               [REDACTED]                  [REDACTED]               Confidential                    Protected     anticipation of litigation.


                                                                                                                                                                  Lewis Special  Attorney       Presentation prepared by counsel
                                                                                                                                                                  Committee ‐    Client         providing legal advice regarding
                                                                                                                                                                  Clawback       Privileged;    Board/Committee evaluations and/or
                                                                                                                                                                  Analysis WLRK  Work           determinations related to executive
                                                                                                                                                                  Draft 6.23.20  Product        employment matters and prepared in
Log00017     Attachment    6/25/2020    Request 2   Huber, Marie                                                                                                  (004).pptx     Protected      anticipation of litigation.
                                                                                                                                                                                 Attorney
                                                                                                                                                                  DRAFT Project Client          Draft document prepared at the
                                                                                                                                                                  Lewis Director Privileged;    direction of counsel providing
                                                                                                                                                                  Bridging       Work           information to allow for the rendering
                                                    Sergio de la                                                                                                  Phrases        Product        of legal advice and prepared in
Log00018     Attachment    6/25/2020    Request 2   Calle                                                                                                         (004).docx     Protected      anticipation of litigation.




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Log Number                       Date                   Author               From                      To                                 CC        BCC       Subject          Filename                            Privilege Description
              Attachment                  Request                                                                                                                                                Basis


                                                                                                                          Phelan, Andrew C.
                                                                                                                                 [REDACTED]
                                                                                                                              ; Billante, Joe                                                              Email from counsel to company
                                                                                      Brown, Adriane                       [REDACTED] ; Cring,                                                             representative(s) providing and
                                                                                             [REDACTED]      ;            Andy [REDACTED] ; Finn,                                                          discussing legal advice regarding eBay
                                                                                      Swan, Bob [REDACTED] ;              Molly [REDACTED] ;                                                               internal investigation after Natick
                                                                                      Farrell, Diana                 Huber, Marie                         Project Lewis                      Attorney      events and regarding eBay response
                                                                                             [REDACTED]      ;         [REDACTED] ; Rome,                 Draft                              Client        to law enforcement investigations
                                                                                      Traquina, Perry                Marc [REDACTED] ;                    Communicatio                       Privileged;   after Natick events and regarding
                                                                                           [REDACTED]     ; Tierney, Schenkel, Scott                      ns ‐ Privileged                    Work          corporate communications after
                                                                    Huber, Marie      Thomas                            [REDACTED] ; Yetto,               and                                Product       Natick events and prepared in
Log00019     Parent        1/6/2020     Request 2   Huber, Marie     [REDACTED]                [REDACTED]            Kristin [REDACTED]                   Confidential                       Protected     anticipation of litigation.
                                                                                                                                                                                             Attorney
                                                                                                                                                                                             Client        Draft document prepared at the
                                                                                                                                                                            DRAFT Project    Privileged;   direction of counsel providing
                                                                                                                                                                            Lewis Leak       Work          information to allow for the rendering
                                                    Sergio de la                                                                                                            Scenario Press   Product       of legal advice and prepared in
Log00020     Attachment    1/6/2020     Request 2   Calle                                                                                                                   Release.docx     Protected     anticipation of litigation.
                                                                                                                                                                                             Attorney
                                                                                                                                                                            DRAFT Project    Client        Draft document prepared at the
                                                                                                                                                                            Lewis Leak       Privileged;   direction of counsel providing
                                                                                                                                                                            Scenario Plan    Work          information to allow for the rendering
                                                    Sergio de la                                                                                                            Employee         Product       of legal advice and prepared in
Log00021     Attachment    1/6/2020     Request 2   Calle                                                                                                                   Letter.docx      Protected     anticipation of litigation.
                                                                                                                                                                                             Attorney
                                                                                                                                                                            DRAFT Project    Client        Draft document prepared at the
                                                                                                                                                                            Lewis            Privileged;   direction of counsel providing
                                                                                                                                                                            Indictment       Work          information to allow for the rendering
                                                    Sergio de la                                                                                                            Scenario Press   Product       of legal advice and prepared in
Log00022     Attachment    1/6/2020     Request 2   Calle                                                                                                                   Release.docx     Protected     anticipation of litigation.
                                                                                                                                                                            DRAFT Project    Attorney
                                                                                                                                                                            Lewis            Client        Draft document prepared at the
                                                                                                                                                                            Indictment       Privileged;   direction of counsel providing
                                                                                                                                                                            Scenario         Work          information to allow for the rendering
                                                    Sergio de la                                                                                                            Employee         Product       of legal advice and prepared in
Log00023     Attachment    1/6/2020     Request 2   Calle                                                                                                                   Letter.docx      Protected     anticipation of litigation.

                                                                                                                                                                                                           Email between company
                                                                                      Paul Pressler [REDACTED]                                                                                             representatives providing and
                                                                                               ; Thomas Tierney                                                                                            discussing legal advice regarding eBay
                                                                                              [REDACTED]              ;                                                               Attorney             internal investigation after Natick
                                                                                      Bonnie Hammer                                                                                   Client               events and regarding
                                                                                              [REDACTED]        ;                                                                     Privileged;          Board/Committee evaluations and/or
                                                                                      Tony Bates                                                                        SVP Severance Work                 determinations related to executive
                                                                    Colman, Robin          [REDACTED]       ; Katie       Pilson,David                    SVP Severance Plan          Product              employment matters and prepared in
Log00024     Parent        1/7/2020     Request 2   Colman, Robin    [REDACTED]       Mitic  [REDACTED]                    [REDACTED]                     Plan Appeal   Appeal.msg    Protected            anticipation of litigation.




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                                                                                                                          R65                                                                                                 EBAY_BAUGHPRIV_0001
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                                                                                                                                                                                 Memorandum from counsel to
                                                                                                                                                                                 company representative(s) providing
                                                                                                                                                                                 and discussing legal advice regarding
                                                                                                                                                   SVP Severance   Attorney      eBay internal investigation after
                                                                                                                                                   Plan Appeal     Client        Natick events and regarding
                                                                                                                                                   Comp            Privileged;   Board/Committee evaluations and/or
                                                                                                                                                   Committee       Work          determinations related to executive
                                                                                                                                                   Summary         Product       employment matters and prepared in
Log00025     Attachment    1/7/2020     Request 2   Finn, Molly                                                                                    1.7.2020.DOCX   Protected     anticipation of litigation.




                                                                                                                                                                                 Attachment to Privileged/Protected
                                                                                                                                                                   Attorney      Communication from counsel to
                                                                                                                                                                   Client        company representative(s) providing
                                                                                                                                                                   Privileged;   information to allow for the rendering
                                                                                                                                                                   Work          of legal advice regarding eBay internal
                                                                                                                                                   Wymer           Product       investigation after Natick events and
Log00026     Attachment    1/7/2020     Request 2   Administrator                                                                                  Appendix .pdf   Protected     prepared in anticipation of litigation.




                                                                                                                                                                                 Attachment to Privileged/Protected
                                                                                                                                                                                 Communication from counsel to
                                                                                                                                                                                 company representative(s) providing
                                                                                                                                                   eBay Restated Attorney        information to allow for the rendering
                                                                                                                                                   SVP and Above Client          of legal advice regarding
                                                                                                                                                   Standard        Privileged;   Board/Committee evaluations and/or
                                                                                                                                                   Severance Plan‐ Work          determinations related to executive
                                                                                                                                                   Final Jan 1     Product       employment matters and prepared in
Log00027     Attachment    1/7/2020     Request 2                                                                                                  2016.pdf        Protected     anticipation of litigation.




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                                                                                                     R66                                                                                            EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                           Case
                                                            Case1:21-cv-11181-DPW
                                                                  1:20-cr-10263-PBS Document
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                Parent                   Subpoena                                                                                                                  Privilege
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              Attachment                  Request                                                                                                                    Basis




                                                                                                                                                                               Minutes of meeting of Compensation
                                                                                                                                                                               Committee on January 8, 2020,
                                                                                                                                                                               containing legal advice provided by
                                                                                                                                                                               internal counsel regarding
                                                                                                                                                                               Board/Committee evaluations and/or
                                                                                                                                                                               determinations related to executive
                                                                                                                                                                               employment matters, including
                                                                                                                                                                               claims, prepared in anticipation of
                                                                                                                                                                               litigation and reflecting mental
                                                                                                                                                                               impressions, conclusions, opinions
                                                                                                                                                                               and/or legal theories of counsel
                                                                                                                                                                               and/or counsel's agents. Minutes also
                                                                                                                                                                               reflect potentially attorney client
                                                                                                                                                                               privileged and/or work product
                                                                                                                                                                               protected information concerning
                                                                                                                                                                               matters not responsive to the
                                                                                                                                                                               subpoena. eBay has not undertaken
                                                                                                                                                                Attorney       to review this nonresponsive content
                                                                                                                                                                Client         for attorney client privilege and/or
                                                                                                                                                  Compensation Privileged;     work product protection, but
                                                                                                                                                  CommitteeMin Work            expressly preserves and does not
             Standalone                             Mehta,                                                                                        utes20200108F Product        waive all claims of privilege and/or
Log00028     Document      4/16/2020    Request 2   Elna(AWF)                                                                                     INAL.pdf      Protected      protection.


                                                                                                                                                                               Minutes of meeting of Board of
                                                                                                                                                                               Directors on January 7‐8, 2020
                                                                                                                                                                               reflecting potentially attorney client
                                                                                                                                                                               privileged and/or work product
                                                                                                                                                                               protected information concerning
                                                                                                                                                                               matters not responsive to the
                                                                                                                                                                               subpoena. eBay has not undertaken
                                                                                                                                                                Attorney       to review this nonresponsive content
                                                                                                                                                                Client         for attorney client privilege and/or
                                                                                                                                                                Privileged;    work product protection, but
                                                                                                                                                  BoardMinutes2 Work           expressly preserves and does not
             Standalone                                                                                                                           0200107FINAL. Product        waive all claims of privilege and/or
Log00029     Document      4/16/2020    Request 2   Rome, Marc                                                                                    pdf           Protected      protection.


                                                                                                                                                                               Minutes of meeting of Board of
                                                                                                                                                                               Directors on September 17‐18, 2019
                                                                                                                                                                               reflecting potentially attorney client
                                                                                                                                                                               privileged and/or work product
                                                                                                                                                                               protected information concerning
                                                                                                                                                                               matters not responsive to the
                                                                                                                                                                               subpoena. eBay has not undertaken
                                                                                                                                                                Attorney       to review this nonresponsive content
                                                                                                                                                                Client         for attorney client privilege and/or
                                                                                                                                                                Privileged;    work product protection, but
                                                                                                                                                  BODMinutes20 Work            expressly preserves and does not
             Standalone                                                                                                                           190917FINAL.p Product        waive all claims of privilege and/or
Log00030     Document      1/9/2020     Request 2                                                                                                 df            Protected      protection.




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                                                                                                                                                                                 Minutes of meeting of Board of
                                                                                                                                                                                 Directors on March 17‐18, 2020
                                                                                                                                                                                 reflecting potentially attorney client
                                                                                                                                                                                 privileged and/or work product
                                                                                                                                                                                 protected information concerning
                                                                                                                                                                                 matters not responsive to the
                                                                                                                                                                                 subpoena. eBay has not undertaken
                                                                                                                                                                Attorney         to review this nonresponsive content
                                                                                                                                                                Client           for attorney client privilege and/or
                                                                                                                                                                Privileged;      work product protection, but
                                                                                                                                                   BODMinutes20 Work             expressly preserves and does not
             Standalone                                                                                                                            200317‐      Product          waive all claims of privilege and/or
Log00031     Document      1/17/2021    Request 2   Rome, Marc                                                                                     18FINAL.pdf  Protected        protection.

                                                                                                                                                                                 Minutes of meeting of Board of
                                                                                                                                                                                 Directors on June 16‐17, 2020,
                                                                                                                                                                                 containing legal advice provided by
                                                                                                                                                                                 internal counsel regarding eBay
                                                                                                                                                                                 internal investigation after Natick
                                                                                                                                                                                 events; regarding eBay response to
                                                                                                                                                                                 law enforcement investigations after
                                                                                                                                                                                 Natick events; regarding potential
                                                                                                                                                                                 litigation; and regarding
                                                                                                                                                                                 employment/personnel matters
                                                                                                                                                                                 and/or actions after Natick events,
                                                                                                                                                                                 prepared in anticipation of litigation
                                                                                                                                                                                 and reflecting mental impressions,
                                                                                                                                                                                 conclusions, opinions and/or legal
                                                                                                                                                                                 theories of counsel and/or counsel's
                                                                                                                                                                                 agents. Minutes also reflect
                                                                                                                                                                                 potentially attorney client privileged
                                                                                                                                                                                 and/or work product protected
                                                                                                                                                                                 information concerning matters not
                                                                                                                                                                                 responsive to the subpoena. eBay has
                                                                                                                                                                Attorney         not undertaken to review this
                                                                                                                                                                Client           nonresponsive content for attorney
                                                                                                                                                                Privileged;      client privilege and/or work product
                                                                                                                                                   BODMinutes20 Work             protection, but expressly preserves
             Standalone                                                                                                                            200616‐      Product          and does not waive all claims of
Log00032     Document      1/17/2021    Request 2   Nitzen, Leana                                                                                  17FINAL.pdf  Protected        privilege and/or protection.
                                                                                                                                                                                 Minutes of meeting of Special
                                                                                                                                                                                 Committee on January 7, 2020,
                                                                                                                                                                                 containing legal advice provided by
                                                                                                                                                                                 outside counsel regarding law
                                                                                                                                                                                 enforcement investigations after
                                                                                                                                                                                 Natick events; and regarding
                                                                                                                                                                                 employment/personnel matters
                                                                                                                                                                  Attorney       and/or actions after Natick events,
                                                                                                                                                                  Client         prepared in anticipation of litigation
                                                                                                                                                                  Privileged;    and reflecting mental impressions,
                                                                                                                                                   ProjectLewisMi Work           conclusions, opinions and/or legal
             Standalone                                                                                                                            nutes20200107 Product         theories of counsel and/or counsel's
Log00033     Document      1/17/2021    Request 2   Nitzen, Leana                                                                                  FINAL.pdf      Protected      agents.




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                                                                                                                                                                                                           Minutes of meeting of Special
                                                                                                                                                                                                           Committee on June 24, 2020,
                                                                                                                                                                                                           containing legal advice provided by
                                                                                                                                                                                                           outside counsel regarding
                                                                                                                                                                                                           Board/Committee evaluations and/or
                                                                                                                                                                                            Attorney       determinations related to executive
                                                                                                                                                                                            Client         employment matters, prepared in
                                                                                                                                                                                            Privileged;    anticipation of litigation and reflecting
                                                                                                                                                                             ProjectLewisMi Work           mental impressions, conclusions,
             Standalone                                                                                                                                                      nutes20200624 Product         opinions and/or legal theories of
Log00034     Document      1/17/2021    Request 2    Hall, Kathryn                                                                                                           FINAL.pdf      Protected      counsel and/or counsel's agents.




                                                                                      Brown, Adriane
                                                                                             [REDACTED]             ;
                                                                                      Bates, Anthony [REDACTED]
                                                                                                   ; Swan, Bob
                                                                                        [REDACTED] ; Hammer,
                                                                                      Bonnie
                                                                                              [REDACTED]              ;
                                                                                      Farrell, Diana
                                                                                             [REDACTED]             ;
                                                                                      Anderson, Fred
                                                                                         [REDACTED] ; Cohn, Jesse                                                                                          Email from counsel to company
                                                                                          [REDACTED] ; Mitic,                                                                                              representative(s) providing and
                                                                                      Katie     [REDACTED] ;              Phelan, Andrew C.                                                                discussing legal advice regarding eBay
                                                                                      Green, Logan [REDACTED ;                   [REDACTED]                                                                internal investigation after Natick
                                                                                      Murphy, Matt [REDACTED] ;               ; Billante, Joe                                                              events and regarding eBay response
                                                                                      Pressler, Paul [REDACTED]             [REDACTED] Finn,                                                               to law enforcement investigations
                                                                                                ; Traquina, Perry         Molly [REDACTED] ;                                                Attorney       after Natick events and regarding
                                                                                           [REDACTED]             ;       Huber, Marie                                                      Client         employment/personnel matters
                                                                                      Omidyar, Pierre                       [REDACTED] ; Schenkel,         10.3.19:                         Privileged;    and/or actions after Natick events and
                                                                                        [REDACTED] ; Tierney,             Scott [REDACTED] ;               Project Lewis ‐                  Work           regarding corporate communications
                                        Request 2;                   Huber, Marie     Thomas                              Yetto, Kristin                   Privileged and                   Product        after Natick events and prepared in
Log00035     Parent        10/3/2019    Request 6    Huber, Marie     [REDACTED]             [REDACTED]                    [REDACTED]                      Confidential                     Protected      anticipation of litigation.




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              Attachment                  Request                                                                                                                                           Basis


                                                                                                                                                                                                      Memorandum from Andrew C. Phelan
                                                                                                                                                                                                      to Special Committee prepared by
                                                                                                                                                                                                      counsel providing legal advice
                                                                                                                                                                                                      regarding eBay internal investigation
                                                                                                                                                                                                      after Natick events; regarding eBay
                                                                                                                                                                                                      response to law enforcement
                                                                                                                                                                                                      investigations after Natick events;
                                                                                                                                                                                                      regarding Board/Committee
                                                                                                                                                                                                      evaluations and/or determinations
                                                                                                                                                                                                      related to executive employment
                                                                                                                                                                                                      matters; regarding
                                                                                                                                                                                                      employment/personnel matters
                                                                                                                                                                                                      and/or actions after Natick events;
                                                                                                                                                                         052094‐                      and regarding corporate
                                                                                                                                                                         02__10745193  Attorney       communications after Natick events
                                                                                                                                                                         4v1_ACP       Client         prepared in anticipation of litigation,
                                                                                                                                                                         Memo to       Privileged;    and reflecting mental impressions,
                                                                                                                                                                         Special       Work           conclusions, opinions and/or legal
                                        Request 2;                                                                                                                       Committee     Product        theories of counsel and/or counsel's
Log00036     Attachment    10/3/2019    Request 6                                                                                                                        9_25_19.DOCX  Protected      agents.
                                                                                                                                                                                       Attorney
                                                                                                                                                                                       Client         Draft document prepared at the
                                                                                                                                                                         DRAFT Project Privileged;    direction of counsel providing
                                                                                                                                                                         Lewis Release Work           information to allow for the rendering
                                        Request 2;                                                                                                                       (01130683xA2 Product         of legal advice and prepared in
Log00037     Attachment    10/3/2019    Request 6                                                                                                                        6CA).docx     Protected      anticipation of litigation.


                                                                                                                         Phelan, Andrew C.
                                                                                                                                [REDACTED]                                                            Email from counsel to company
                                                                                                                             ; Billante, Joe                                                          representative(s) providing and
                                                                                      Swan, Bob [REDACTED] ;               [REDACTED] ; Finn,                                                         discussing legal advice regarding eBay
                                                                                      Farrell, Diana                     Molly [REDACTED] ;             Project Lewis                                 internal investigation after Natick
                                                                                             [REDACTED]       ; Mitic,   Huber, Marie                   Special                         Attorney      events and regarding eBay response
                                                                                      Katie     [REDACTED]                 [REDACTED] ; Rome,           Committee                       Client        to law enforcement investigations
                                                                                      Traquina, Perry                    Marc [REDACTED] ;              Briefing and                    Privileged;   after Natick events and regarding
                                                                                           [REDACTED]      ; Tierney,    Schenkel, Scott                Draft Comms ‐                   Work          corporate communications after
                                        Request 2;                  Huber, Marie      Thomas                                [REDACTED] ; Yetto,         Privileged and                  Product       Natick events and prepared in
Log00038     Parent        9/26/2019    Request 6    Huber, Marie    [REDACTED]             [REDACTED]                   Kristin [REDACTED]             Confidential                    Protected     anticipation of litigation.




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Log Number                       Date                   Author                 From                    To                            CC         BCC       Subject         Filename                            Privilege Description
              Attachment                  Request                                                                                                                                           Basis


                                                                                                                                                                                                      Memorandum from Andrew C. Phelan
                                                                                                                                                                                                      to Special Committee prepared by
                                                                                                                                                                                                      counsel providing legal advice
                                                                                                                                                                                                      regarding eBay internal investigation
                                                                                                                                                                                                      after Natick events; regarding eBay
                                                                                                                                                                                                      response to law enforcement
                                                                                                                                                                                                      investigations after Natick events;
                                                                                                                                                                                                      regarding Board/Committee
                                                                                                                                                                                                      evaluations and/or determinations
                                                                                                                                                                                                      related to executive employment
                                                                                                                                                                                                      matters; regarding
                                                                                                                                                                                                      employment/personnel matters
                                                                                                                                                                                                      and/or actions after Natick events;
                                                                                                                                                                        052094‐                       and regarding corporate
                                                                                                                                                                        02__10745193  Attorney        communications after Natick events
                                                                                                                                                                        4v1_ACP       Client          prepared in anticipation of litigation,
                                                                                                                                                                        Memo to       Privileged;     and reflecting mental impressions,
                                                                                                                                                                        Special       Work            conclusions, opinions and/or legal
                                        Request 2;                                                                                                                      Committee     Product         theories of counsel and/or counsel's
Log00039     Attachment    9/26/2019    Request 6                                                                                                                       9_25_19.DOCX  Protected       agents.
                                                                                                                                                                                      Attorney
                                                                                                                                                                                      Client          Draft document prepared at the
                                                                                                                                                                        DRAFT Project Privileged;     direction of counsel providing
                                                                                                                                                                        Lewis Release Work            information to allow for the rendering
                                        Request 2;                                                                                                                      (01129369‐    Product         of legal advice and prepared in
Log00040     Attachment    9/26/2019    Request 6    Eric Brielmann                                                                                                     8xA26CA).docx Protected       anticipation of litigation.

                                                                                                                     Phelan, Andrew C.
                                                                                                                            [REDACTED]
                                                                                      Brown, Adriane                     ; Billante, Joe
                                                                                             [REDACTED]    ;           [REDACTED] ; Cring,                                                            Email from counsel to company
                                                                                      Swan, Bob [REDACTED] ;         Andy [REDACTED] ; Finn,                                                          representative(s) providing and
                                                                                      Farrell, Diana                 Molly [REDACTED] ;                                                 Attorney      discussing legal advice regarding eBay
                                                                                             [REDACTED]    ;         Huber, Marie                     Project Lewis ‐                   Client        internal investigation after Natick
                                                                                      Traquina, Perry                  [REDACTED] ; Schenkel,         Reddit posting                    Privileged;   events and regarding corporate
                                                                                           [REDACTED]   ; Tierney,   Scott [REDACTED] ;               and revised                       Work          communications after Natick events
                                        Request 2;                    Huber, Marie    Thomas                         Yetto, Kristin                   statement ‐                       Product       and prepared in anticipation of
Log00041     Parent        10/30/2019   Request 6    Huber, Marie      [REDACTED]            [REDACTED]               [REDACTED]                      Privileged                        Protected     litigation.
                                                                                                                                                                                        Attorney
                                                                                                                                                                                        Client        Draft document prepared at the
                                                                                                                                                                                        Privileged;   direction of counsel providing
                                                                                                                                                                        Draft Project   Work          information to allow for the rendering
                                        Request 2;                                                                                                                      Lewis Release   Product       of legal advice and prepared in
Log00042     Attachment    10/30/2019   Request 6    bgolden                                                                                                            (5 pm).docx     Protected     anticipation of litigation.




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                                                                                                                     R71                                                                                                 EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                            Case
                                                             Case1:21-cv-11181-DPW
                                                                  1:20-cr-10263-PBS Document            117-1
                                                                                                        183-1 Filed 05/23/22
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Log Number                       Date                   Author               From                      To                            CC        BCC       Subject         Filename                          Privilege Description
              Attachment                  Request                                                                                                                                        Basis

                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                                                                   company representative(s) providing
                                                                                                                                                                                                   and discussing legal advice regarding
                                                                                                                                                                                                   eBay internal investigation after
                                                                                      Brown, Adriane                                                                                               Natick events and regarding eBay
                                                                                             [REDACTED]      ;       Phelan, Andrew C.                                                             response to law enforcement
                                                                                      Swan, Bob [REDACTED] ;                  [REDACTED]                                                           investigations after Natick events and
                                                                                      Farrell, Diana                      ; Finn, Molly              FW: Project                     Attorney      regarding employment/personnel
                                                                                             [REDACTED]      ;        [REDACTED] ; Huber,            Lewis ‐‐ USAO                   Client        matters and/or actions after Natick
                                                                                      Traquina, Perry                Marie [REDACTED] ;              Update                          Privileged;   events and regarding corporate
                                                                                           [REDACTED]     ; Tierney, Schenkel, Scott                 10/23/19 ‐                      Work          communications after Natick events
                                        Request 2;                  Huber, Marie      Thomas                            [REDACTED] ; Yetto,          Privileged and                  Product       and prepared in anticipation of
Log00043     Parent        10/23/2019   Request 6    Huber, Marie    [REDACTED]                [REDACTED]            Kristin [REDACTED]              Confidential                    Protected     litigation.


                                                                                                                                                                                                   Attachment to Privileged/Protected
                                                                                                                                                                                                   Communication prepared by counsel
                                                                                                                                                                                                   providing information to allow for the
                                                                                                                                                                                                   rendering of legal advice regarding
                                                                                                                                                                      2019.10.18 ‐                 eBay internal investigation after
                                                                                                                                                                      Production     Attorney      Natick events and regarding eBay
                                        Request 2;                                                                                                                    Letter 2 to    Client        response to law enforcement
Log00044     Attachment    10/23/2019   Request 6                                                                                                                     USAO.pdf       Privileged    investigations after Natick events.

                                                                                                                     Phelan, Andrew C.
                                                                                                                            [REDACTED]
                                                                                      Brown, Adriane                     ; Billante, Joe
                                                                                             [REDACTED]    ;           [REDACTED] ; Cring,                                                         Email from counsel to company
                                                                                      Swan, Bob [REDACTED] ;         Andy [REDACTED] ; Finn,                                                       representative(s) providing legal
                                                                                      Farrell, Diana                 Molly [REDACTED] ;              eBay: Andy                      Attorney      advice regarding eBay internal
                                                                                             [REDACTED]    ;         Huber, Marie                    Phelan Memo                     Client        investigation after Natick events and
                                                                                      Traquina, Perry                  [REDACTED] ; Yetto,           to Lewis                        Privileged;   regarding eBay response to law
                                                                                           [REDACTED]   ; Tierney,   Kristin [REDACTED] >;           Special                         Work          enforcement investigations after
                                        Request 2;                  Huber, Marie      Thomas                         Schenkel, Scott                 Committee ‐                     Product       Natick events and prepared in
Log00045     Parent        11/8/2019    Request 6    Huber, Marie    [REDACTED]              [REDACTED]                [REDACTED]                    Privileged                      Protected     anticipation of litigation.


                                                                                                                                                                                                   Memorandum from Andrew C. Phelan
                                                                                                                                                                                                   to Special Committee prepared by
                                                                                                                                                                                                   counsel providing legal advice
                                                                                                                                                                                                   regarding eBay internal investigation
                                                                                                                                                                                                   after Natick events; regarding eBay
                                                                                                                                                                                                   response to law enforcement
                                                                                                                                                                                                   investigations after Natick events;
                                                                                                                                                                                                   regarding employment/personnel
                                                                                                                                                                                                   matters and/or actions after Natick
                                                                                                                                                                      052094‐                      events; and regarding corporate
                                                                                                                                                                      02__10977700   Attorney      communications after Natick events
                                                                                                                                                                      6v1_eBay ACP   Client        prepared in anticipation of litigation,
                                                                                                                                                                      Memo to        Privileged;   and reflecting mental impressions,
                                                                                                                                                                      Special        Work          conclusions, opinions and/or legal
                                        Request 2;                                                                                                                    Committee      Product       theories of counsel and/or counsel's
Log00046     Attachment    11/8/2019    Request 6                                                                                                                     11_7_19.DOCX   Protected     agents.




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                                                                                                                     R72                                                                                              EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                             Case
                                                              Case1:21-cv-11181-DPW
                                                                   1:20-cr-10263-PBS Document            117-1
                                                                                                         183-1 Filed 05/23/22
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Log Number                       Date                   Author                 From                    To                            CC         BCC       Subject        Filename                            Privilege Description
              Attachment                  Request                                                                                                                                          Basis

                                                                                                                     Phelan, Andrew C.
                                                                                                                            [REDACTED]
                                                                                      Brown, Adriane                     ; Billante, Joe
                                                                                            [REDACTED]    >;           [REDACTED] ; Cring,                                                           Email from counsel to company
                                                                                      Swan, Bob [REDACTED] ;         Andy [REDACTED] ; Finn,          Project Lewis                                  representative(s) providing legal
                                                                                      Farrell, Diana                 Molly [REDACTED] ;               update to                        Attorney      advice regarding eBay internal
                                                                                             [REDACTED]    ;         Huber, Marie                     Special                          Client        investigation after Natick events and
                                                                                      Traquina, Perry                  [REDACTED] ; Schenkel,         Committee                        Privileged;   regarding eBay response to law
                                                                                           [REDACTED]   ; Tierney,   Scott [REDACTED] ;               11.26.19 ‐                       Work          enforcement investigations after
                                        Request 2;                    Huber, Marie    Thomas                         Yetto, Kristin                   Privileged and                   Product       Natick events and prepared in
Log00047     Parent        11/26/2019   Request 6    Huber, Marie      [REDACTED]            [REDACTED]               [REDACTED]                      Confidential                     Protected     anticipation of litigation.


                                                                                                                                                                                                     Memorandum from Andrew C. Phelan
                                                                                                                                                                                                     to Special Committee prepared by
                                                                                                                                                                                                     counsel providing legal advice
                                                                                                                                                                                                     regarding eBay internal investigation
                                                                                                                                                                                                     after Natick events; regarding eBay
                                                                                                                                                                       052094‐                       response to law enforcement
                                                                                                                                                                       02__11013620                  investigations after Natick events; and
                                                                                                                                                                       7v2_eBay                      regarding employment/personnel
                                                                                                                                                                       11_26_19        Attorney      matters and/or actions after Natick
                                                                                                                                                                       Project Lewis   Client        events prepared in anticipation of
                                                                                                                                                                       update to       Privileged;   litigation, and reflecting mental
                                                                                                                                                                       Special         Work          impressions, conclusions, opinions
                                        Request 2;                                                                                                                     Committee.DO    Product       and/or legal theories of counsel
Log00048     Attachment    11/26/2019   Request 6                                                                                                                      CX              Protected     and/or counsel's agents.


                                                                                                                     Cring, Andy [REDACTED] ;
                                                                                                                     Huber, Marie
                                                                                                                       [REDACTED] ; Billante,
                                                                                                                     Joe [REDACTED] ; Finn,
                                                                                                                     Molly [REDACTED] ;
                                                                                                                     Neff, Daniel A.
                                                                                      Swan, Bob [REDACTED] ;          [REDACTED] ; Phelan,
                                                                                      Farrell, Diana                 Andrew C.                                                                       Email from counsel to company
                                                                                             [REDACTED]      ; Mitic,         [REDACTED]                                            Attorney         representative(s) providing legal
                                                                                      Katie     [REDACTED] ;              ; Rome, Marc                                              Client           advice regarding eBay internal
                                                                                      Traquina, Perry                  [REDACTED] ; Schenkel,         Sept 27:                      Privileged;      investigation after Natick events and
                                                                                           [REDACTED]     ; Tierney, Scott [REDACTED] ;               Project Lewis ‐               Work             regarding corporate communications
                                        Request 2;                    Huber, Marie    Thomas                          Yetto, Kristin                  Privileged and                Product          after Natick events and prepared in
Log00049     Parent        9/27/2019    Request 6    Huber, Marie      [REDACTED]            [REDACTED]               [REDACTED]                      Confidential                  Protected        anticipation of litigation.
                                                                                                                                                                                    Attorney
                                                                                                                                                                                    Client           Draft document prepared at the
                                                                                                                                                                      DRAFT Project Privileged;      direction of counsel providing
                                                                                                                                                                      Lewis Release Work             information to allow for the rendering
                                        Request 2;                                                                                                                    (01130683xA2 Product           of legal advice and prepared in
Log00050     Attachment    9/27/2019    Request 6    Eric Brielmann                                                                                                   6CA).docx     Protected        anticipation of litigation.




CONFIDENTIAL ‐ SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY CONCERNING PRIVILEGE LOGS
                                                                                                                     R73                                                                                                EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                            Case
                                                             Case1:21-cv-11181-DPW
                                                                  1:20-cr-10263-PBS Document            117-1
                                                                                                        183-1 Filed 05/23/22
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Log Number                       Date                   Author               From                      To                            CC         BCC       Subject        Filename                           Privilege Description
              Attachment                  Request                                                                                                                                         Basis

                                                                                                                     Phelan, Andrew C.
                                                                                                                            [REDACTED]
                                                                                      Brown, Adriane                     ; Billante, Joe
                                                                                             [REDACTED]    ;           [REDACTED] ; Cring,                                                          Email from counsel to company
                                                                                      Swan, Bob [REDACTED] ;         Andy [REDACTED] ; Finn,                                                        representative(s) providing and
                                                                                      Farrell, Diana                 Molly [REDACTED] ;               Project Lewis                   Attorney      discussing legal advice regarding eBay
                                                                                             [REDACTED]    ;         Huber, Marie                     Special                         Client        internal investigation after Natick
                                                                                      Traquina, Perry                  [REDACTED] ; Schenkel,         Committee                       Privileged;   events and regarding eBay response
                                                                                           [REDACTED]   ; Tierney,   Scott [REDACTED] ;               Update                          Work          to law enforcement investigations
                                        Request 2;                  Huber, Marie      Thomas                         Yetto, Kristin                   11.18.19 ‐                      Product       after Natick events and prepared in
Log00051     Parent        11/18/2019   Request 6    Huber, Marie    [REDACTED]              [REDACTED]               [REDACTED]                      Privileged                      Protected     anticipation of litigation.


                                                                                                                                                                                                    Memorandum from Andrew C. Phelan
                                                                                                                                                                                                    to Special Committee prepared by
                                                                                                                                                                                                    counsel providing legal advice
                                                                                                                                                                                                    regarding eBay internal investigation
                                                                                                                                                                                                    after Natick events; regarding eBay
                                                                                                                                                                                                    response to law enforcement
                                                                                                                                                                                                    investigations after Natick events;
                                                                                                                                                                      052094‐                       regarding employment/personnel
                                                                                                                                                                      02__10996740                  matters and/or actions after Natick
                                                                                                                                                                      7v1_eBay                      events; and regarding corporate
                                                                                                                                                                      11_18_19        Attorney      communications after Natick events
                                                                                                                                                                      Project Lewis   Client        prepared in anticipation of litigation,
                                                                                                                                                                      update to       Privileged;   and reflecting mental impressions,
                                                                                                                                                                      Special         Work          conclusions, opinions and/or legal
                                        Request 2;                                                                                                                    Committee.DO    Product       theories of counsel and/or counsel's
Log00052     Attachment    11/18/2019   Request 6                                                                                                                     CX              Protected     agents.

                                                                                                                                                                                                    Notes of confidential interview of Jim
                                                                                                                                                                                                    Baugh on August 23, 2019, attended
                                                                                                                                                                                                    by Shannon Macauley, Amir
                                                                                                                                                                                                    Vonsover, and Jim Baugh reflecting
                                                                                                                                                                                                    the collection of information for the
                                                                                                                                                                                                    purpose of rendering legal advice in
                                                                                                                                                                                                    connection with eBay internal
                                                                                                                                                                                                    investigation after Natick events,
                                                                                                                                                                                     Attorney       prepared at the direction of counsel in
                                                                                                                                                                                     Client         anticipation of litigation, and
                                                                                                                                                                                     Privileged;    reflecting mental impressions,
                                                                                                                                                                                     Work           conclusions, opinions and/or legal
             Standalone                              Macauley,                                                                                                        2019.08.23 Jim Product        theories of counsel and/or counsel's
Log00053     Document      8/10/2021    Request 3    Shannon                                                                                                          Baugh.docx     Protected      agents.




CONFIDENTIAL ‐ SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY CONCERNING PRIVILEGE LOGS
                                                                                                                     R74                                                                                               EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                           Case
                                                            Case1:21-cv-11181-DPW
                                                                 1:20-cr-10263-PBS Document            117-1
                                                                                                       183-1 Filed 05/23/22
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Log Number                       Date                  Author           From               To             CC              BCC       Subject      Filename                           Privilege Description
              Attachment                  Request                                                                                                                 Basis

                                                                                                                                                                            Notes of confidential interview of Jim
                                                                                                                                                                            Baugh on August 23, 2019, attended
                                                                                                                                                                            by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Jim Baugh reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                                             Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 2019.08.23 Jim Product        theories of counsel and/or counsel's
Log00054     Document      9/12/2019    Request 3   Shannon                                                                                   Baugh_2.docx Protected        agents.

                                                                                                                                                                            Notes of confidential interview of Jim
                                                                                                                                                                            Baugh on August 27, 2019, attended
                                                                                                                                                                            by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Jim Baugh reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                                             Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 2019.08.27 Jim Product        theories of counsel and/or counsel's
Log00055     Document      9/12/2019    Request 3   Shannon                                                                                   Baugh_3.docx Protected        agents.

                                                                                                                                                                            Notes of confidential interview of Jim
                                                                                                                                                                            Baugh on August 28, 2019, attended
                                                                                                                                                                            by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Jim Baugh reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                                             Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 2019.08.28 Jim Product        theories of counsel and/or counsel's
Log00056     Document      2/23/2021    Request 3   Shannon                                                                                   Baugh_4.docx Protected        agents.
                                                                                                                                                                            Notes of conversations between Andy
                                                                                                                                                                            Phelan and Josh Bentley on
                                                                                                                                                                            September 12, 2019 reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2019.09.12     Work           conclusions, opinions and/or legal
             Standalone                                                                                                                       Baugh          Product        theories of counsel and/or counsel's
Log00057     Document      11/5/2021    Request 4                                                                                             Counsel.docx   Protected      agents.




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                                                                                                  R75                                                                                          EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                           Case
                                                            Case1:21-cv-11181-DPW
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                                                                                                       183-1 Filed 05/23/22
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Log Number                       Date                  Author           From               To             CC              BCC       Subject      Filename                            Privilege Description
              Attachment                  Request                                                                                                                 Basis

                                                                                                                                                                            Notes of conversation between Andy
                                                                                                                                                                            Phelan, Amir Vonsover, and Josh
                                                                                                                                                                            Bentley on September 12, 2019
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared by counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              Phelan Bentley Work           conclusions, opinions and/or legal
             Standalone                                                                                                                       call 9.12.2019 Product        theories of counsel and/or counsel's
Log00058     Document      9/12/2019    Request 4   Vonsover, Amir                                                                            AJV.docx       Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Brian Gilbert on August 23, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Brian Gilbert reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events, and
                                                                                                                                                              Attorney      prepared at the direction of counsel in
                                                                                                                                                              Client        anticipation of litigation, and
                                                                                                                                                              Privileged;   reflecting mental impressions,
                                                                                                                                              2019.08.23      Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Brian           Product       theories of counsel and/or counsel's
Log00059     Document      9/12/2019    Request 4   Shannon                                                                                   Gilbert.docx    Protected     agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            David Harville on August 23, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and David Harville
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.23      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Dave            Product       and/or legal theories of counsel
Log00060     Document      9/12/2019    Request 4   Shannon                                                                                   Harville.docx   Protected     and/or counsel's agents.




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                                                                                                  R76                                                                                          EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
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                                                            Case1:21-cv-11181-DPW
                                                                 1:20-cr-10263-PBS Document            117-1
                                                                                                       183-1 Filed 05/23/22
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                Parent                   Subpoena                                                                                                               Privilege
Log Number                       Date                  Author           From               To             CC              BCC       Subject      Filename                            Privilege Description
              Attachment                  Request                                                                                                                 Basis

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Scott Fitzgerald on August 23, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Scott Fitzgerald
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.23      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Scott           Product       and/or legal theories of counsel
Log00061     Document      9/12/2019    Request 4   Shannon                                                                                   Fitzgerald.docx Protected     and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Stephanie Popp on August 23, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Stephanie Popp
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.23      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Stephanie       Product       and/or legal theories of counsel
Log00062     Document      9/12/2019    Request 4   Shannon                                                                                   Popp.docx       Protected     and/or counsel's agents.

                                                                                                                                                                            Notes of conversation between
                                                                                                                                                                            Shannon Macauley, Amir Vonsover
                                                                                                                                                                            and Tony Shepard on August 23,
                                                                                                                                                                            2019, in connection with eBay
                                                                                                                                                                            internal investigation after Natick
                                                                                                                                                              Attorney      events, prepared at the direction of
                                                                                                                                                              Client        counsel in anticipation of litigation,
                                                                                                                                                              Privileged;   and reflecting mental impressions,
                                                                                                                                              2019.08.23      Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Tony            Product       theories of counsel and/or counsel's
Log00063     Document      9/12/2019    Request 4   Shannon                                                                                   Shepard.docx    Protected     agents.


                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Veronica Zea on August 23, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, Tony Shepard, and
                                                                                                                                                                            Veronica Zea reflecting the collection
                                                                                                                                                                            of information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.23      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Veronica        Product       and/or legal theories of counsel
Log00064     Document      9/12/2019    Request 4   Shannon                                                                                   Zea.docx        Protected     and/or counsel's agents.




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                                                                                                  R77                                                                                           EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                           Case
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                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Veronica Zea on August 23, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, Tony Shepard, and
                                                                                                                                                                            Veronica Zea reflecting the collection
                                                                                                                                                                            of information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.23      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Veronica        Product       and/or legal theories of counsel
Log00065     Document      9/12/2019    Request 4   Shannon                                                                                   Zea_2.docx      Protected     and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            David Harville on August 26, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and David Harville
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.26      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Dave            Product       and/or legal theories of counsel
Log00066     Document      9/12/2019    Request 4   Shannon                                                                                   Harville_2.docx Protected     and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Stephanie Popp on August 26, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Stephanie Popp
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.26      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Stephanie       Product       and/or legal theories of counsel
Log00067     Document      9/12/2019    Request 4   Shannon                                                                                   Popp_2.docx     Protected     and/or counsel's agents.




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                                                                                                  R78                                                                                          EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                           Case
                                                            Case1:21-cv-11181-DPW
                                                                 1:20-cr-10263-PBS Document            117-1
                                                                                                       183-1 Filed 05/23/22
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Log Number                       Date                  Author           From               To             CC              BCC       Subject      Filename                            Privilege Description
              Attachment                  Request                                                                                                                 Basis
                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Stephanie Stockwell on August 26,
                                                                                                                                                                            2019, attended by Shannon
                                                                                                                                                                            Macauley, Amir Vonsover, and
                                                                                                                                                                            Stephanie Stockwell reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2019.08.26     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Stephanie      Product        theories of counsel and/or counsel's
Log00068     Document      9/12/2019    Request 4   Shannon                                                                                   Stockwell.docx Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Veronica Zea on August 26, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, Tony Shepard, Ellen
                                                                                                                                                                            Sherman, and Veronica Zea reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                              Attorney      prepared at the direction of counsel in
                                                                                                                                                              Client        anticipation of litigation, and
                                                                                                                                                              Privileged;   reflecting mental impressions,
                                                                                                                                              2019.08.26      Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Veronica        Product       theories of counsel and/or counsel's
Log00069     Document      9/12/2019    Request 4   Shannon                                                                                   Zea_3.docx      Protected     agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            David Harville on August 27, 2019,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and David Harville
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.27      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Dave            Product       and/or legal theories of counsel
Log00070     Document      9/12/2019    Request 4   Shannon                                                                                   Harville_3.docx Protected     and/or counsel's agents.




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                                                                                                  R79                                                                                          EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                           Case
                                                            Case1:21-cv-11181-DPW
                                                                 1:20-cr-10263-PBS Document            117-1
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Log Number                       Date                  Author           From               To             CC              BCC       Subject     Filename                           Privilege Description
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                                                                                                                                                                          Notes of confidential interview of
                                                                                                                                                                          Stephanie Popp on August 27, 2019,
                                                                                                                                                                          attended by Shannon Macauley, Amir
                                                                                                                                                                          Vonsover, and Stephanie Popp
                                                                                                                                                                          reflecting the collection of
                                                                                                                                                                          information for the purpose of
                                                                                                                                                                          rendering legal advice in connection
                                                                                                                                                                          with eBay internal investigation after
                                                                                                                                                            Attorney      Natick events, prepared at the
                                                                                                                                                            Client        direction of counsel in anticipation of
                                                                                                                                                            Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.27    Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Stephanie     Product       and/or legal theories of counsel
Log00071     Document      9/12/2019    Request 4   Shannon                                                                                   Popp_3.docx   Protected     and/or counsel's agents.

                                                                                                                                                                          Notes of confidential interview of
                                                                                                                                                                          Steve Wymer on August 27, 2019,
                                                                                                                                                                          attended by Shannon Macauley, Amir
                                                                                                                                                                          Vonsover, and Steve Wymer reflecting
                                                                                                                                                                          the collection of information for the
                                                                                                                                                                          purpose of rendering legal advice in
                                                                                                                                                                          connection with eBay internal
                                                                                                                                                                          investigation after Natick events,
                                                                                                                                                            Attorney      prepared at the direction of counsel in
                                                                                                                                                            Client        anticipation of litigation, and
                                                                                                                                                            Privileged;   reflecting mental impressions,
                                                                                                                                              2019.08.27    Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Steve         Product       theories of counsel and/or counsel's
Log00072     Document      9/12/2019    Request 4   Shannon                                                                                   Wymer.docx    Protected     agents.

                                                                                                                                                                          Notes of confidential interview of
                                                                                                                                                                          Steve Wymer on August 28, 2019,
                                                                                                                                                                          attended by Shannon Macauley, Amir
                                                                                                                                                                          Vonsover, and Steve Wymer reflecting
                                                                                                                                                                          the collection of information for the
                                                                                                                                                                          purpose of rendering legal advice in
                                                                                                                                                                          connection with eBay internal
                                                                                                                                                                          investigation after Natick events,
                                                                                                                                                            Attorney      prepared at the direction of counsel in
                                                                                                                                                            Client        anticipation of litigation, and
                                                                                                                                                            Privileged;   reflecting mental impressions,
                                                                                                                                              2019.08.28    Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Steve Wymer   Product       theories of counsel and/or counsel's
Log00073     Document      9/12/2019    Request 4   Shannon                                                                                   _2.docx       Protected     agents.




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                                                                                                  R80                                                                                        EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                           Case
                                                            Case1:21-cv-11181-DPW
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                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Brian Gilbert on August 30, 2019,
                                                                                                                                                                             attended by Andy Phelan, Jordan
                                                                                                                                                                             Mundell, Shannon Macauley, and
                                                                                                                                                                             Brian Gilbert reflecting the collection
                                                                                                                                                                             of information for the purpose of
                                                                                                                                                                             rendering legal advice in connection
                                                                                                                                                                             with eBay internal investigation after
                                                                                                                                                               Attorney      Natick events, prepared at the
                                                                                                                                                               Client        direction of counsel in anticipation of
                                                                                                                                                               Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.30       Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Brian Gilbert    Product       and/or legal theories of counsel
Log00074     Document      9/12/2019    Request 4   Shannon                                                                                   (ML).docx        Protected     and/or counsel's agents.


                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Scott Fitzgerald on August 30, 2019,
                                                                                                                                                                             attended by Colin West, Bryan
                                                                                                                                                                             Connor, Shannon Macauley, and Scott
                                                                                                                                                                             Fitzgerald reflecting the collection of
                                                                                                                                                                             information for the purpose of
                                                                                                                                                                             rendering legal advice in connection
                                                                                                                                                                             with eBay internal investigation after
                                                                                                                                                               Attorney      Natick events, prepared at the
                                                                                                                                                               Client        direction of counsel in anticipation of
                                                                                                                                                               Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.30       Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Scott Fitzgerald Product       and/or legal theories of counsel
Log00075     Document      9/12/2019    Request 4   Shannon                                                                                   (ML).docx        Protected     and/or counsel's agents.


                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Steve Wymer on August 30, 2019,
                                                                                                                                                                             attended by Andy Phelan, Jordan
                                                                                                                                                                             Mundell, Shannon Macauley, and
                                                                                                                                                                             Steve Wymer reflecting the collection
                                                                                                                                                                             of information for the purpose of
                                                                                                                                                                             rendering legal advice in connection
                                                                                                                                                                             with eBay internal investigation after
                                                                                                                                                               Attorney      Natick events, prepared at the
                                                                                                                                                               Client        direction of counsel in anticipation of
                                                                                                                                                               Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.30       Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Steve Wymer      Product       and/or legal theories of counsel
Log00076     Document      2/3/2020     Request 4   Shannon                                                                                   (ML).docx        Protected     and/or counsel's agents.




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                                                                                                  R81                                                                                            EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
                                                           Case
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Log Number                       Date                  Author           From               To             CC              BCC       Subject      Filename                             Privilege Description
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                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Wendy Jones on August 30, 2019,
                                                                                                                                                                             attended by Andy Phelan, Jordan
                                                                                                                                                                             Mundell, Shannon Macauley, and
                                                                                                                                                                             Wendy Jones reflecting the collection
                                                                                                                                                                             of information for the purpose of
                                                                                                                                                                             rendering legal advice in connection
                                                                                                                                                                             with eBay internal investigation after
                                                                                                                                                               Attorney      Natick events, prepared at the
                                                                                                                                                               Client        direction of counsel in anticipation of
                                                                                                                                                               Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.08.30       Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Wendy Jones      Product       and/or legal theories of counsel
Log00077     Document      9/12/2019    Request 4   Shannon                                                                                   (ML).docx        Protected     and/or counsel's agents.

                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Brian Gilbert on September 3, 2019,
                                                                                                                                                                             attended by Andy Phelan, Jordan
                                                                                                                                                                             Mundell, Colin West, Shannon
                                                                                                                                                                             Macauley, and Brian Gilbert reflecting
                                                                                                                                                                             the collection of information for the
                                                                                                                                                                             purpose of rendering legal advice in
                                                                                                                                                                             connection with eBay internal
                                                                                                                                                                             investigation after Natick events,
                                                                                                                                                               Attorney      prepared at the direction of counsel in
                                                                                                                                                               Client        anticipation of litigation, and
                                                                                                                                                               Privileged;   reflecting mental impressions,
                                                                                                                                              2019.09.03       Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Brian Gilbert    Product       theories of counsel and/or counsel's
Log00078     Document      9/12/2019    Request 4   Shannon                                                                                   (ML).docx        Protected     agents.

                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Scott Fitzgerald on September 3,
                                                                                                                                                                             2019, attended by Colin West, Jordan
                                                                                                                                                                             Mundell, Andy Phelan, Shannon
                                                                                                                                                                             Macauley, and Scott Fitzgerald
                                                                                                                                                                             reflecting the collection of
                                                                                                                                                                             information for the purpose of
                                                                                                                                                                             rendering legal advice in connection
                                                                                                                                                                             with eBay internal investigation after
                                                                                                                                                               Attorney      Natick events, prepared at the
                                                                                                                                                               Client        direction of counsel in anticipation of
                                                                                                                                                               Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.09.03       Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Scott Fitzgerald Product       and/or legal theories of counsel
Log00079     Document      9/12/2019    Request 4   Shannon                                                                                   (ML).docx        Protected     and/or counsel's agents.




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UNITED STATES V. BAUGH, ET AL.
                                                           Case
                                                            Case1:21-cv-11181-DPW
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              Attachment                  Request                                                                                                                  Basis

                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Scott Fitzgerald on September 5,
                                                                                                                                                                             2019, attended by Colin West, Andy
                                                                                                                                                                             Phelan, Shannon Macauley, and Scott
                                                                                                                                                                             Fitzgerald reflecting the collection of
                                                                                                                                                                             information for the purpose of
                                                                                                                                                                             rendering legal advice in connection
                                                                                                                                                                             with eBay internal investigation after
                                                                                                                                                               Attorney      Natick events, prepared at the
                                                                                                                                                               Client        direction of counsel in anticipation of
                                                                                                                                                               Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.09.05       Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Scott Fitzgerald Product       and/or legal theories of counsel
Log00080     Document      9/12/2019    Request 4   Shannon                                                                                   (ML).docx        Protected     and/or counsel's agents.

                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Wendy Jones on September 6, 2019,
                                                                                                                                                                             attended by Andy Phelan, Colin West,
                                                                                                                                                                             Shannon Macauley, and Wendy Jones
                                                                                                                                                                             reflecting the collection of
                                                                                                                                                                             information for the purpose of
                                                                                                                                                                             rendering legal advice in connection
                                                                                                                                                                             with eBay internal investigation after
                                                                                                                                                               Attorney      Natick events, prepared at the
                                                                                                                                                               Client        direction of counsel in anticipation of
                                                                                                                                                               Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.09.06       Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Wendy Jones      Product       and/or legal theories of counsel
Log00081     Document      9/12/2019    Request 4   Shannon                                                                                   (ML).docx        Protected     and/or counsel's agents.

                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                             Steve Wymer on September 9, 2019,
                                                                                                                                                                             attended by Andy Phelan, Colin West,
                                                                                                                                                                             Shannon Macauley, and Steve Wymer
                                                                                                                                                                             reflecting the collection of
                                                                                                                                                                             information for the purpose of
                                                                                                                                                                             rendering legal advice in connection
                                                                                                                                                                             with eBay internal investigation after
                                                                                                                                                               Attorney      Natick events, prepared at the
                                                                                                                                                               Client        direction of counsel in anticipation of
                                                                                                                                                               Privileged;   litigation, and reflecting mental
                                                                                                                                              2019.09.09       Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Steve Wymer      Product       and/or legal theories of counsel
Log00082     Document      2/3/2020     Request 4   Shannon                                                                                   (ML).docx        Protected     and/or counsel's agents.




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UNITED STATES V. BAUGH, ET AL.
                                                           Case
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              Attachment                  Request                                                                                                                 Basis


                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Julianne Whitelaw on September 13,
                                                                                                                                                                            2019, attended by Andy Phelan, Colin
                                                                                                                                                                            West, Amir Vonsover, and Julianne
                                                                                                                                                                            Whitelaw reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared by counsel in
                                                                                                                                              2019.09.13     Client         anticipation of litigation, and
                                                                                                                                              Julianne       Privileged;    reflecting mental impressions,
                                                                                                                                              Whitelaw       Work           conclusions, opinions and/or legal
             Standalone                                                                                                                       Interview      Product        theories of counsel and/or counsel's
Log00083     Document      11/2/2021    Request 4                                                                                             (ML).docx      Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Michelle Echevaria on October 15,
                                                                                                                                                                            2019, attended by Molly Finn, Amir
                                                                                                                                                                            Vonsover, and Michelle Echevaria
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared by counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2019.10.15     Work           conclusions, opinions and/or legal
             Standalone                                                                                                                       Michelle       Product        theories of counsel and/or counsel's
Log00084     Document      10/15/2019   Request 4   Vonsover, Amir                                                                            Echevaria.docx Protected      agents.


                                                                                                                                                                            Memorandum of confidential
                                                                                                                                                                            interview of Meaghan Barrett on
                                                                                                                                                                            March 6, 2020, attended by Andy
                                                                                                                                                                            Phelan and Amir Vonsover reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                            Attorney        investigation after Natick events,
                                                                                                                                                            Client          prepared by counsel in anticipation of
                                                                                                                                              2020.03.06    Privileged;     litigation, and reflecting mental
                                                                                                                                              Meagan Barret Work            impressions, conclusions, opinions
             Standalone                             Kimberley                                                                                 Interview     Product         and/or legal theories of counsel
Log00085     Document      7/2/2020     Request 4   Phelan                                                                                    (ML).docx     Protected       and/or counsel's agents.




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                                                                                                  R84                                                                                          EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
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                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Matt Drazba on June 23, 2020,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Matt Drazba reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.06.23     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Matt Drazba    Product        theories of counsel and/or counsel's
Log00086     Document      7/1/2020     Request 4   Shannon                                                                                   Interview.docx Protected      agents.


                                                                                                                                                                            Notes of confidential interview of Dan
                                                                                                                                                                            Cory on June 23, 2020, attended by
                                                                                                                                                                            Shannon Macauley, Amir Vonsover,
                                                                                                                                                                            and Dan Cory reflecting the collection
                                                                                                                                                                            of information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.06.24     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Dan Cory       Product        and/or legal theories of counsel
Log00087     Document      6/24/2020    Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Gurneet Jandir on June 25, 2020,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Gurneet Jandir
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.06.25     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Gurneet Jandir Product        and/or legal theories of counsel
Log00088     Document      7/1/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.




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UNITED STATES V. BAUGH, ET AL.
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                                                                                                                                                                            Notes of confidential interview of Karl
                                                                                                                                                                            Barnhart on June 25, 2020, attended
                                                                                                                                                                            by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Karl Barnhart reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.06.25     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Karl Barnhart Product         theories of counsel and/or counsel's
Log00089     Document      7/1/2020     Request 4   Shannon                                                                                   Interview.docx Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Michelle Alford on June 30, 2020,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Michelle Alford
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2020.06.30      Work          impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Michelle Alford Product       and/or legal theories of counsel
Log00090     Document      7/7/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Meagan Barret on July 1, 2020,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Meagan Barret
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.01     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Meagan Barret Product         and/or legal theories of counsel
Log00091     Document      6/22/2021    Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.




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UNITED STATES V. BAUGH, ET AL.
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                                                            Case1:21-cv-11181-DPW
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              Attachment                  Request                                                                                                                 Basis

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Gregg Crandall on July 6, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Molly Finn, and Greg Crandall
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.06     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Greg Crandall Product         and/or legal theories of counsel
Log00092     Document      7/9/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.


                                                                                                                                                                            Notes of confidential interview of Neil
                                                                                                                                                                            Lynch on July 6, 2020, attended by
                                                                                                                                                                            Shannon Macauley, Molly Finn, and
                                                                                                                                                                            Neil Lynch reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.06     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Neil Lynch     Product        and/or legal theories of counsel
Log00093     Document      7/7/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Alicia Maria Domingos on July 7, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Molly Finn, and Alicia Maria Domingos
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                              2020.07.07     Privileged;    litigation, and reflecting mental
                                                                                                                                              Alicia Maria   Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Domingos       Product        and/or legal theories of counsel
Log00094     Document      7/9/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.




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UNITED STATES V. BAUGH, ET AL.
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                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Jason Holly on July 7, 2020, attended
                                                                                                                                                                            by Shannon Macauley, Molly Finn,
                                                                                                                                                                            and Jason Holly reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.07     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Jason Holly    Product        theories of counsel and/or counsel's
Log00095     Document      7/9/2020     Request 4   Shannon                                                                                   Interview.docx Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Stephano Lee on July 6, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Molly Finn, and Stephano Lee
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.07     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Stephano Lee Product          and/or legal theories of counsel
Log00096     Document      7/10/2020    Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Tinel Bedford on July 6, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Molly Finn, and Tinel Bedford
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.07     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Tinel Bedford Product         and/or legal theories of counsel
Log00097     Document      7/6/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.




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UNITED STATES V. BAUGH, ET AL.
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              Attachment                  Request                                                                                                                 Basis

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Bernadette King on July 8, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Molly Finn, and Bernadette King
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                              2020.07.08     Privileged;    litigation, and reflecting mental
                                                                                                                                              Bernadette     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 King           Product        and/or legal theories of counsel
Log00098     Document      7/9/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Gurneet Jandir on July 8, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Molly Finn, and Gurneet Jandir
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.08     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Gurneet Jandir Product        and/or legal theories of counsel
Log00099     Document      9/9/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Matt Drazba on July 8, 2020, attended
                                                                                                                                                                            by Shannon Macauley, Molly Finn,
                                                                                                                                                                            and Matt Drazba reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.08     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Matt Drazba    Product        theories of counsel and/or counsel's
Log00100     Document      7/9/2020     Request 4   Shannon                                                                                   Interview.docx Protected      agents.




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UNITED STATES V. BAUGH, ET AL.
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                                                            Case1:21-cv-11181-DPW
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              Attachment                  Request                                                                                                                 Basis

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Alicia Maria Domingos on July 9, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Molly Finn, and Alicia Maria Domingos
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                              2020.07.09     Privileged;    litigation, and reflecting mental
                                                                                                                                              Alicia Maria   Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Domingos       Product        and/or legal theories of counsel
Log00101     Document      7/9/2020     Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Jason Holly on July 9, 2020, attended
                                                                                                                                                                            by Shannon Macauley, Molly Finn,
                                                                                                                                                                            and Jason Holly reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.09     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Jason Holly    Product        theories of counsel and/or counsel's
Log00102     Document      10/2/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Meagan Barrett on July 9, 2020,
                                                                                                                                                                            attended by Shannon Macauley, Andy
                                                                                                                                                                            Phelan, and Meagan Barrett reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.09     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Meagan Barret Product         theories of counsel and/or counsel's
Log00103     Document      2/1/2021     Request 4   Shannon                                                                                   Interview.docx Protected      agents.




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UNITED STATES V. BAUGH, ET AL.
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                                                                                                                                                                            Notes of confidential interview of Sia
                                                                                                                                                                            Dinesh Mokkapati on July 13, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Molly Finn, and Sia Dinesh Mokkapati
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                              2020.07.13 Sai Privileged;    litigation, and reflecting mental
                                                                                                                                              Dinesh         Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Mokkapati.doc Product         and/or legal theories of counsel
Log00104     Document      11/1/2021    Request 4   Shannon                                                                                   x              Protected      and/or counsel's agents.


                                                                                                                                                                            Notes of confidential interview of Ken
                                                                                                                                                                            Ton on July 15, 2020, attended by
                                                                                                                                                                            Shannon Macauley, David Wolfe, and
                                                                                                                                                                            Ken Ton reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.15 Ken Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Ton            Product        and/or legal theories of counsel
Log00105     Document      7/17/2020    Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Mario Bravo on July 15, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            Mario Bravo, Samantha Volpenhein,
                                                                                                                                                                            and David Wolfe reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.15     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Mario Bravo    Product        theories of counsel and/or counsel's
Log00106     Document      7/17/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.




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                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Daniela Lomeli on July 16, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Daniela Lomeli, and
                                                                                                                                                                            Samantha Volpenhein reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                              Attorney      prepared at the direction of counsel in
                                                                                                                                                              Client        anticipation of litigation, and
                                                                                                                                                              Privileged;   reflecting mental impressions,
                                                                                                                                              2020.07.16      Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Daniela Lomeli Product        theories of counsel and/or counsel's
Log00107     Document      7/17/2020    Request 4   Shannon                                                                                   Interview .docx Protected     agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Frank Yu on July 16, 2020, attended
                                                                                                                                                                            by Shannon Macauley, David Wolfe,
                                                                                                                                                                            Kristy Chin, and Frank Yu reflecting
                                                                                                                                                                            the collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                              Attorney      prepared at the direction of counsel in
                                                                                                                                                              Client        anticipation of litigation, and
                                                                                                                                                              Privileged;   reflecting mental impressions,
                                                                                                                                              2020.07.16      Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Frank Yu        Product       theories of counsel and/or counsel's
Log00108     Document      7/17/2020    Request 4   Shannon                                                                                   Interview .docx Protected     agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Jeffrey Vonasek on July 16, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Jeffrey Vonasek, and
                                                                                                                                                                            Samantha Volpenhein reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                              Attorney      prepared at the direction of counsel in
                                                                                                                                                              Client        anticipation of litigation, and
                                                                                                                                              2020.07.16      Privileged;   reflecting mental impressions,
                                                                                                                                              Jeffrey         Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Vonasek         Product       theories of counsel and/or counsel's
Log00109     Document      7/16/2020    Request 4   Shannon                                                                                   Interview .docx Protected     agents.




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UNITED STATES V. BAUGH, ET AL.
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                                                                 1:20-cr-10263-PBS Document            117-1
                                                                                                       183-1 Filed 05/23/22
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                                                                                                                                                                            Notes of confidential interview of Jim
                                                                                                                                                                            Koepf on July 16, 2020, attended by
                                                                                                                                                                            Shannon Macauley, David Wolfe,
                                                                                                                                                                            Samantha Volpenhein, and Jim Koepf
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                              Attorney      Natick events, prepared at the
                                                                                                                                                              Client        direction of counsel in anticipation of
                                                                                                                                                              Privileged;   litigation, and reflecting mental
                                                                                                                                              2020.07.16 Jim Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Koepf           Product       and/or legal theories of counsel
Log00110     Document      7/17/2020    Request 4   Shannon                                                                                   Interview .docx Protected     and/or counsel's agents.
                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Kevin Padilla on July 16, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Kevin Padilla, and
                                                                                                                                                                            Samantha Volpenhein reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                              Attorney      prepared at the direction of counsel in
                                                                                                                                                              Client        anticipation of litigation, and
                                                                                                                                                              Privileged;   reflecting mental impressions,
                                                                                                                                              2020.07.16      Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Kevin Padilla   Product       theories of counsel and/or counsel's
Log00111     Document      7/16/2020    Request 4   Shannon                                                                                   Interview .docx Protected     agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Kevin Wren on July 16, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Samantha Volpenhein,
                                                                                                                                                                            and Kevin Wren reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.16     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Kevin Wren     Product        theories of counsel and/or counsel's
Log00112     Document      7/17/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.




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                                                           Case
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                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Mark Dulay on July 16, 2020, attended
                                                                                                                                                                            by Shannon Macauley, David Wolfe,
                                                                                                                                                                            Mark Dulay, and Samantha
                                                                                                                                                                            Volpenhein reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.16     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Mark Dulay     Product        and/or legal theories of counsel
Log00113     Document      7/17/2020    Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Stacie McGrady on July 16, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Samantha Volpenhein,
                                                                                                                                                                            and Stacie McGrady reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                              Attorney      prepared at the direction of counsel in
                                                                                                                                                              Client        anticipation of litigation, and
                                                                                                                                              2020.07.16      Privileged;   reflecting mental impressions,
                                                                                                                                              Stacie          Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 McGrady         Product       theories of counsel and/or counsel's
Log00114     Document      7/16/2020    Request 4   Shannon                                                                                   Interview .docx Protected     agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Victor Castillo on July 16, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Samantha Volpenhein,
                                                                                                                                                                            and Victor Castillo reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                              Attorney      prepared at the direction of counsel in
                                                                                                                                                              Client        anticipation of litigation, and
                                                                                                                                                              Privileged;   reflecting mental impressions,
                                                                                                                                              2020.07.16      Work          conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Victor Castillo Product       theories of counsel and/or counsel's
Log00115     Document      7/17/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.




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                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Carmen Castro on July 17, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Samantha Volpenhein,
                                                                                                                                                                            and Carmen Castro reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.17     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Carmen Castro Product         theories of counsel and/or counsel's
Log00116     Document      7/17/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Geoff Quares on July 17, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Samantha Volpenhein,
                                                                                                                                                                            and Geoff Quares reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.17     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Geoff Quares Product          theories of counsel and/or counsel's
Log00117     Document      7/17/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.


                                                                                                                                                                            Notes of confidential interview of Ray
                                                                                                                                                                            Romero on July 17, 2020, attended by
                                                                                                                                                                            Shannon Macauley, David Wolfe,
                                                                                                                                                                            Samantha Volpenhein, and Ray
                                                                                                                                                                            Romero reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.07.17 Ray Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Romero         Product        and/or legal theories of counsel
Log00118     Document      7/17/2020    Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.




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                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Miguel Mercado on July 27, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Miguel Mercado, and
                                                                                                                                                                            Samantha Volpenhein reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                              2020.07.27     Privileged;    reflecting mental impressions,
                                                                                                                                              Miguel         Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Mercado        Product        theories of counsel and/or counsel's
Log00119     Document      7/28/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.
                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Pete Scanlan on July 27, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Pete Scanlan, and
                                                                                                                                                                            Samantha Volpenhein reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                                             Privileged;    reflecting mental impressions,
                                                                                                                                              2020.07.27     Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Pete Scanlan   Product        theories of counsel and/or counsel's
Log00120     Document      7/28/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Richard Howard on July 28, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Samantha Volpenhein,
                                                                                                                                                                            and Richard Howard reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                              2020.07.28     Privileged;    reflecting mental impressions,
                                                                                                                                              Richard        Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Howard         Product        theories of counsel and/or counsel's
Log00121     Document      7/30/2020    Request 4   Shannon                                                                                   Interview.docx Protected      agents.




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                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Lizette Martinez on August 5, 2020,
                                                                                                                                                                            attended by Shannon Macauley,
                                                                                                                                                                            David Wolfe, Lizette Martinez, and
                                                                                                                                                                            Samantha Volpenhein reflecting the
                                                                                                                                                                            collection of information for the
                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                            connection with eBay internal
                                                                                                                                                                            investigation after Natick events,
                                                                                                                                                             Attorney       prepared at the direction of counsel in
                                                                                                                                                             Client         anticipation of litigation, and
                                                                                                                                              2020.08.05     Privileged;    reflecting mental impressions,
                                                                                                                                              Lizette        Work           conclusions, opinions and/or legal
             Standalone                             Macauley,                                                                                 Martinez       Product        theories of counsel and/or counsel's
Log00122     Document      8/5/2020     Request 4   Shannon                                                                                   Interview.docx Protected      agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Gurneet Jandir on August 13, 2020,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Gurneet Jandir
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.08.13     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Gurneet Jandir Product        and/or legal theories of counsel
Log00123     Document      9/15/2020    Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.

                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                            Gurneet Jandir on September 9, 2020,
                                                                                                                                                                            attended by Shannon Macauley, Amir
                                                                                                                                                                            Vonsover, and Gurneet Jandir
                                                                                                                                                                            reflecting the collection of
                                                                                                                                                                            information for the purpose of
                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                            with eBay internal investigation after
                                                                                                                                                             Attorney       Natick events, prepared at the
                                                                                                                                                             Client         direction of counsel in anticipation of
                                                                                                                                                             Privileged;    litigation, and reflecting mental
                                                                                                                                              2020.09.09     Work           impressions, conclusions, opinions
             Standalone                             Macauley,                                                                                 Gurneet Jandir Product        and/or legal theories of counsel
Log00124     Document      9/11/2020    Request 4   Shannon                                                                                   Interview.docx Protected      and/or counsel's agents.




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                                                                                                                                                                                                     Notes of confidential interview of
                                                                                                                                                                                                     Devin Wenig on September 10, 2019,
                                                                                                                                                                                                     attended by Andrew Phelan, Colin
                                                                                                                                                                                                     West, and Devin Wenig, reflecting the
                                                                                                                                                                                                     collection of information for the
                                                                                                                                                                                                     purpose of rendering legal advice in
                                                                                                                                                                                                     connection with eBay internal
                                                                                                                                                                                       Attorney      investigation after Natick events,
                                                                                                                                                                                       Client        prepared by counsel in anticipation of
                                                                                                                                                                                       Privileged;   litigation, and reflecting mental
                                                                                                                                                                                       Work          impressions, conclusions, opinions
                                                                                                                                                                         Notes from    Product       and/or legal theories of counsel
Log00125     Attachment    9/10/2019    Request 4                                                                                                                        Wenig.docx    Protected     and/or counsel's agents.


                                                                                                                                                                                                     Notes of confidential interview of
                                                                                                                                                                                                     David Harville on September 13, 2019,
                                                                                                                                                                                                     attended by Andy Phelan, Colin West,
                                                                                                                                                                                                     Amir Vonsover, David Harville, and
                                                                                                                                                                                                     Evan Nelson reflecting the collection
                                                                                                                                                                                                     of information for the purpose of
                                                                                                                                                                                                     rendering legal advice in connection
                                                                                                                                                                                                     with eBay internal investigation after
                                                                                                                                                                                       Attorney      Natick events, prepared by counsel in
                                                                                                                                                                         Harville      Client        anticipation of litigation, and
                                                                                                                                                                         Attorney      Privileged;   reflecting mental impressions,
                                                                                                                                                                         meeting       Work          conclusions, opinions and/or legal
                                        Request 4;                                                                                                                       9.13.2019     Product       theories of counsel and/or counsel's
Log00126     Attachment    9/13/2019    Request 6    Vonsover, Amir                                                                                                      AJV.docx      Protected     agents.
                                                                                                                                                                                                     Email from company employee to
                                                                                                                                                                                                     counsel providing information to
                                                                                                                                                           Fwd: eBay                                 allow for the rendering of legal advice
                                                                                                                                                           Imposter                   Attorney       regarding evaluation of media
             Standalone                                               Wenig, Devin    Huber, Marie   [REDACTED]    ;                                       Twitter       000110893.ms Client         reports, articles, or posts concerning
Log00127     Document      7/10/2019    Request 6    Wenig, Devin     [REDACTED]      Wymer, Steve    [REDACTED]                                           account       g            Privileged     eBay.

                                                                                                                                                           FW: eBay                                  Email chain between counsel and
                                                                                                                           Baugh, Jim [REDACTED] ;         Imposter                                  company employee(s) providing and
                                                                                                                           Huber, Marie                    Twitter                     Attorney      discussing legal advice regarding
             Standalone                                               Huber, Marie    Wenig, Devin [REDACTED] ;             [REDACTED] ; Johnson,          account ‐                   Client        evaluation of media reports, articles,
Log00128     Document      8/6/2019     Request 6    Huber, Marie      [REDACTED]     Wymer, Steve [REDACTED]              Aaron [REDACTED]                Privileged                  Privileged    or posts concerning eBay.

                                                                                                                                                                                                     Email chain between counsel and
                                                                                                                                                                                                     company employee(s) providing
                                                                                                                           Johnson, Aaron                  FW: eBay                                  information to allow for the rendering
                                                                                                                             [REDACTED]          ;         Imposter                    Attorney      of legal advice regarding evaluation of
             Standalone                                               Huber, Marie                                         Wymer, Steve                    Twitter                     Client        media reports, articles, or posts
Log00129     Document      7/10/2019    Request 6    Huber, Marie      [REDACTED]     OOTP   [REDACTED]                     [REDACTED]                     account                     Privileged    concerning eBay.

                                                                                      Hadlock, Kameron                                                                                               Email chain between counsel and
                                                                                        [REDACTED] ; Johnson,                                              Re: eBay                                  company employee(s) providing and
                                                                                      Aaron [REDACTED] ;                                                   Imposter                    Attorney      discussing legal advice regarding
             Standalone                                               Huber, Marie    Leavitt, Amber [REDACTED]        ;                                   Twitter                     Client        evaluation of media reports, articles,
Log00130     Document      7/15/2019    Request 6    Huber, Marie      [REDACTED]     Wymer, Steve [REDACTED]                                              account                     Privileged    or posts concerning eBay.




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Log Number                       Date                  Author                 From                      To                          CC             BCC         Subject        Filename                          Privilege Description
              Attachment                  Request                                                                                                                                            Basis
                                                                                                                                                                                                       Email from company employee to
                                                                                                                                                                                                       counsel providing information to
                                                                                                                                                                                                       allow for the rendering of legal advice
                                                                                                                                                           FW:                           Attorney      regarding evaluation of media
             Standalone                                          Baugh, Jim                                          Jones, Wendy                          FidoMaster1                   Client        reports, articles, or posts concerning
Log00131     Document      3/23/2019    Request 6   Baugh, Jim    [REDACTED]          Popp, Stephanie   [REDACTED]    [REDACTED]                           Tweets (3/23)                 Privileged    eBay.




                                                                                                                                                           Re: In a bizarre
                                                                                                                                                           Tweet,
                                                                                                                                                           struggling
                                                                                                                                                           #eBay CEO
                                                                                                                                                           Devin
                                                                                                                                                           "Misexecution"
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             Standalone                                          Baugh, Jim           Huber, Marie    [REDACTED]   ; Popp, Stephanie                       #ElliottManage                Client        eBay and regarding shareholder
Log00132     Document      3/21/2019    Request 6   Baugh, Jim    [REDACTED]          Rome, Marc     [REDACTED]       [REDACTED]                           ment #En...                   Privileged    activism matters.




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                                                                                                                                                           forced hand by                Attorney      media reports, articles, or posts
             Standalone                                          Baugh, Jim                                                              Popp, Stephanie   #ElliottManage                Client        concerning eBay and regarding
Log00133     Document      3/21/2019    Request 6   Baugh, Jim    [REDACTED]          Finn, Molly   [REDACTED]                           [REDACTED]        ment #En...                   Privileged    shareholder activism matters.




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                                                                                                                      R99                                                                                                 EBAY_BAUGHPRIV_0001
UNITED STATES V. BAUGH, ET AL.
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Log Number                       Date                  Author               From                        To                         CC          BCC       Subject        Filename                          Privilege Description
              Attachment                  Request                                                                                                                                      Basis
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                                                                                                                                                     Re:                           Attorney      regarding evaluation of media
             Standalone                                            Jones, Wendy                                                                      Fidomaster1                   Client        reports, articles, or posts concerning
Log00134     Document      4/9/2019     Request 6   Jones, Wendy    [REDACTED]        Popp, Stephanie   [REDACTED]   Baugh, Jim   [REDACTED]         Tweet (4/9)                   Privileged    eBay.

                                                                                                                                                                                                 Email chain between counsel and
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                                                                                                                                                                                                 information to allow for the rendering
                                                                                      Finn, Molly [REDACTED] ;                                       Re:                           Attorney      of legal advice regarding evaluation of
             Standalone                                            Huber, Marie       Popp, Stephanie [REDACTED] ;                                   FidoMaster1                   Client        media reports, articles, or posts
Log00135     Document      3/23/2019    Request 6   Huber, Marie    [REDACTED]        Rome, Marc [REDACTED]        Baugh, Jim     [REDACTED]         Tweets (3/23)                 Privileged    concerning eBay.




                                                                                                                                                     RE: In a bizarre
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             Standalone                                            Huber, Marie                                      Rome, Marc                      #ElliottManage                Client        eBay and regarding shareholder
Log00136     Document      3/21/2019    Request 6   Huber, Marie    [REDACTED]        Baugh, Jim   [REDACTED]         [REDACTED]                     ment #En...                   Privileged    activism matters.




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Log Number                       Date                  Author               From                     To                          CC       BCC       Subject        Filename                          Privilege Description
              Attachment                  Request                                                                                                                                 Basis




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             Standalone                                            Huber, Marie                                  Rome, Marc                     #ElliottManage                Client        eBay and regarding shareholder
Log00137     Document      3/21/2019    Request 6   Huber, Marie    [REDACTED]        Baugh, Jim   [REDACTED]     [REDACTED]                    ment #En...                   Privileged    activism matters.




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                                                                                      Baugh, Jim [REDACTED] ;    Billante, Joe                  forced hand by                Attorney      regarding evaluation of media
             Standalone                                            Huber, Marie       Finn, Molly [REDACTED] ;     [REDACTED] ; Freiha,         #ElliottManage                Client        reports, articles, or posts concerning
Log00138     Document      3/21/2019    Request 6   Huber, Marie    [REDACTED]        Rome, Marc [REDACTED]      Selim [REDACTED]               ment #En...                   Privileged    eBay.




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Log Number                       Date                   Author                From                           To                  CC         BCC       Subject         Filename                          Privilege Description
              Attachment                  Request                                                                                                                                    Basis




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             Standalone                                            Finn, Molly                                                                    #ElliottManage                 Client        eBay and regarding shareholder
Log00139     Document      3/22/2019    Request 6   Finn, Molly     [REDACTED]          Baugh, Jim   [REDACTED]                                   ment #En...                    Privileged    activism matters.

                                                                                                                                                                                               Email between company employees
                                                                                                                                                                                               reflecting a request for legal advice
                                                                                                                  Baugh, Jim [REDACTED] ;                                        Attorney      regarding evaluation of media
             Standalone                                            Jones, Wendy         Phimister, Russell        Wymer, Steve                    Re: Ina Steiner ‐              Client        reports, articles, or posts concerning
Log00140     Document      5/22/2019    Request 6   Jones, Wendy    [REDACTED]             [REDACTED]              [REDACTED]                     Walker's West                  Privileged    eBay.

                                                                                                                                                                                               Email between company employees
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                                                                                                                                                  Fwd: Ina                       Attorney      regarding evaluation of media
             Standalone                             Phimister,     Phimister, Russell                             Edwards, Tom                    Steiner ‐                      Client        reports, articles, or posts concerning
Log00141     Document      5/23/2019    Request 6   Russell           [REDACTED]        Baugh, Jim   [REDACTED]     [REDACTED]                    Walker's West                  Privileged    eBay.

                                                                                                                                                                                               Email between company employees
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                                                                                                                  Baugh, Jim [REDACTED] ;                                        Attorney      regarding evaluation of media
             Standalone                                            Jones, Wendy         Phimister, Russell        Wymer, Steve                    Re: Ina Steiner ‐              Client        reports, articles, or posts concerning
Log00142     Document      5/22/2019    Request 6   Jones, Wendy    [REDACTED]             [REDACTED]              [REDACTED]                     Walker's West                  Privileged    eBay.

                                                                                                                                                                                               Email between company employees
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                                                                                                                                                                                 Attorney      regarding evaluation of media
             Standalone                                            Jones, Wendy         Phimister, Russell                                        Re: Ina Steiner ‐              Client        reports, articles, or posts concerning
Log00143     Document      5/23/2019    Request 6   Jones, Wendy    [REDACTED]             [REDACTED]             Baugh, Jim   [REDACTED]         Walker's West                  Privileged    eBay.
                                                                                                                                                                                               Email chain between counsel and
                                                                                                                                                  FW: eBay                                     company employee(s) reflecting legal
                                                                                                                                                  Imposter                       Attorney      advice regarding evaluation of media
             Standalone                                            Wymer, Steve                                                                   Twitter                        Client        reports, articles, or posts concerning
Log00144     Document      7/15/2019    Request 6   Wymer, Steve    [REDACTED]          Baugh, Jim   [REDACTED]                                   account                        Privileged    eBay.




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              Attachment                  Request                                                                                                                                     Basis

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                                                                                                                                                 Imposter                         Attorney      regarding evaluation of media
             Standalone                                            Wymer, Steve                                                                  Twitter                          Client        reports, articles, or posts concerning
Log00145     Document      7/10/2019    Request 6   Wymer, Steve    [REDACTED]         Baugh, Jim    [REDACTED]                                  account                          Privileged    eBay.
                                                                                                                                                                                                Email from company employee to
                                                                                                                                                                                                counsel providing information to
                                                                                                                                                                                  Attorney      allow for the rendering of legal advice
             Standalone                                            Baugh, Jim          Vonsover, Amir                         Baugh, Jim         FW: Ina Steiner                  Client        regarding eBay internal investigation
Log00146     Document      8/27/2019    Request 6   Baugh, Jim      [REDACTED]             [REDACTED]                          [REDACTED]        ‐ Walker's West                  Privileged    after Natick events.
                                                                                                                                                                                                Email from company employee to
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                                                                                                                                                                                                allow for the rendering of legal advice
                                                                                                                                                 CONFIDENTIAL                     Attorney      regarding evaluation of media
                                                                   Baugh, Jim                                                 Baugh, Jim         | Ecommerce                      Client        reports, articles, or posts concerning
Log00147     Parent        8/26/2019    Request 6   Baugh, Jim      [REDACTED]         Finn, Molly   [REDACTED]                [REDACTED]        Threat                           Privileged    eBay.


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                                                                                                                                                                                                employee to counsel providing
                                                                                                                                                                   Screen Shot                  information to allow for the rendering
                                                                                                                                                                   2019‐08‐26 at Attorney       of legal advice regarding evaluation of
                                                                                                                                                                   8.53.17       Client         media reports, articles, or posts
Log00148     Attachment    8/26/2019    Request 6                                                                                                                  PM.png        Privileged     concerning eBay.
                                                                                                                                                                                                Email from company employee to
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                                                                                                                                                 FW:                              Attorney      allow for the rendering of legal advice
             Standalone                                            Baugh, Jim          Vonsover, Amir                         Baugh, Jim         FidoMaster                       Client        regarding eBay internal investigation
Log00149     Document      8/27/2019    Request 6   Baugh, Jim      [REDACTED]             [REDACTED]                          [REDACTED]        Hillhouse                        Privileged    after Natick events.
                                                                                                                                                                                                Email from company employee to
                                                                                                                                                                                                counsel providing information to
                                                                                                                                                                                  Attorney      allow for the rendering of legal advice
                                                                   Baugh, Jim          Vonsover, Amir                         Baugh, Jim         Wymer                            Client        regarding eBay internal investigation
Log00150     Parent        8/27/2019    Request 6   Baugh, Jim      [REDACTED]             [REDACTED]                          [REDACTED]        screenshots                      Privileged    after Natick events.


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Log00151     Attachment    8/27/2019    Request 6                                                                                                                  IMG_8244.jpeg Privileged     investigation after Natick events.


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                                                                                                                                                                                 Client         of legal advice regarding eBay internal
Log00152     Attachment    8/27/2019    Request 6                                                                                                                  IMG_8391.jpeg Privileged     investigation after Natick events.




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              Attachment                  Request                                                                                                                                                Basis


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                                                                                                                                                             FW: eBay                                      regarding eBay internal investigation
                                                                                                                                                             Imposter                        Attorney      after Natick events and regarding
                                                                 Baugh, Jim           Vonsover, Amir                                      Baugh, Jim         Twitter                         Client        evaluation of media reports, articles,
Log00153     Parent        8/27/2019    Request 6   Baugh, Jim    [REDACTED]               [REDACTED]                                      [REDACTED]        account                         Privileged    or posts concerning eBay.


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                                                                                                                                                                              Screenshot_20                investigation after Natick events and
                                                                                                                                                                              190806‐       Attorney       regarding evaluation of media
                                                                                                                                                                              071052_Twitte Client         reports, articles, or posts concerning
Log00154     Attachment    8/27/2019    Request 6                                                                                                                             r.jpg         Privileged     eBay.


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                                                                                                                                                             FW: eBay                                      regarding eBay internal investigation
                                                                                                                                                             Imposter                        Attorney      after Natick events and regarding
             Standalone                                          Baugh, Jim           Vonsover, Amir                                      Baugh, Jim         Twitter                         Client        evaluation of media reports, articles,
Log00155     Document      8/27/2019    Request 6   Baugh, Jim    [REDACTED]               [REDACTED]                                      [REDACTED]        account                         Privileged    or posts concerning eBay.

                                                                                                                                                                                                           Email chain from company employee
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             Standalone                                          Baugh, Jim           Vonsover, Amir                                      Baugh, Jim         FW: Suspicious                  Client        regarding eBay internal investigation
Log00156     Document      8/27/2019    Request 6   Baugh, Jim    [REDACTED]               [REDACTED]                                      [REDACTED]        Comments                        Privileged    after Natick events.
                                                                                                                                                                                                           Email from company employee to
                                                                                                                                                                                                           counsel providing information to
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                                                                 Baugh, Jim           Vonsover, Amir                                      Baugh, Jim         CindyW                          Client        regarding eBay internal investigation
Log00157     Parent        8/27/2019    Request 6   Baugh, Jim    [REDACTED]               [REDACTED]                                      [REDACTED]        screenshot                      Privileged    after Natick events.


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                                                                                                                                                                                           Attorney        information to allow for the rendering
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Log00158     Attachment    8/27/2019    Request 6                                                                                                                             IMG_8600.JPG Privileged      investigation after Natick events.

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                                                                                                                                                             Re: eBay                                      information to allow for the rendering
                                                                                                                  Huber, Marie                               Imposter                        Attorney      of legal advice regarding evaluation of
             Standalone                                          Baugh, Jim                                         [REDACTED] ; Wymer,   Baugh, Jim         Twitter                         Client        media reports, articles, or posts
Log00159     Document      8/6/2019     Request 6   Baugh, Jim    [REDACTED]          Wenig, Devin   [REDACTED]   Steve [REDACTED]         [REDACTED]        account                         Privileged    concerning eBay.




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Log Number                       Date                   Author                    From                    To                          CC         BCC       Subject      Filename                            Privilege Description
              Attachment                  Request                                                                                                                                        Basis
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                                                                                                                                                       RE: eBay                                    company employee(s) providing legal
                                                                                                                                                       Imposter                      Attorney      advice regarding evaluation of media
             Standalone                                              Huber, Marie        Baugh, Jim [REDACTED] ;       Wymer, Steve                    Twitter                       Client        reports, articles, or posts concerning
Log00160     Document      8/6/2019     Request 6   Huber, Marie      [REDACTED]         Wenig, Devin [REDACTED]        [REDACTED]                     account                       Privileged    eBay.

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                                                                                                                                                       Re: eBay                                    company employee(s) reflecting a
                                                                                                                       Huber, Marie                    Imposter                      Attorney      request for legal advice regarding
             Standalone                                              Wenig, Devin                                        [REDACTED] ; Wymer,           Twitter                       Client        evaluation of media reports, articles,
Log00161     Document      8/6/2019     Request 6   Wenig, Devin     [REDACTED]          Baugh, Jim   [REDACTED]       Steve [REDACTED]                account                       Privileged    or posts concerning eBay.

                                                                                                                                                       RE: eBay                                    Email chain between counsel and
                                                                                                                                                       Imposter                                    company employee(s) providing and
                                                                                                                       Baugh, Jim [REDACTED] ;         Twitter                       Attorney      discussing legal advice regarding
             Standalone                                              Johnson, Aaron                                    Huber, Marie                    account ‐                     Client        evaluation of media reports, articles,
Log00162     Document      8/7/2019     Request 6   Johnson, Aaron      [REDACTED]       Wymer, Steve     [REDACTED]    [REDACTED]                     Privileged                    Privileged    or posts concerning eBay.
                                                                                                                                                                                                   Email from company employee to
                                                                                                                                                       Fwd: eBay                                   counsel requesting legal advice
                                                                                         Baugh, Jim [REDACTED] ;                                       Imposter                      Attorney      regarding evaluation of media
                                                                     Wenig, Devin        Huber, Marie [REDACTED] ;                                     Twitter                       Client        reports, articles, or posts concerning
Log00163     Parent        8/6/2019     Request 6   Wenig, Devin     [REDACTED]          Wymer, Steve [REDACTED]                                       account                       Privileged    eBay.


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                                                                                                                                                                                                   Communication from company
                                                                                                                                                                                                   employee to counsel providing
                                                                                                                                                                      Screenshot_20                information to allow for the rendering
                                                                                                                                                                      190806‐       Attorney       of legal advice regarding evaluation of
                                                                                                                                                                      071052_Twitte Client         media reports, articles, or posts
Log00164     Attachment    8/6/2019     Request 6                                                                                                                     r.jpg         Privileged     concerning eBay.

                                                                                                                                                                                                   Email chain between company
                                                                                                                                                       Re: eBay                                    employees reflecting a request for
                                                                                                                                                       Imposter                      Attorney      legal advice regarding evaluation of
             Standalone                                              Baugh, Jim                                                                        Twitter                       Client        media reports, articles, or posts
Log00165     Document      7/10/2019    Request 6   Baugh, Jim        [REDACTED]         Wymer, Steve     [REDACTED]                                   account                       Privileged    concerning eBay.
                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                       Re:                                         company employee(s) providing legal
                                                                                                                                                       CONFIDENTIAL                  Attorney      advice regarding evaluation of media
             Standalone                                              Finn, Molly                                                                       | Ecommerce                   Client        reports, articles, or posts concerning
Log00166     Document      8/26/2019    Request 6   Finn, Molly       [REDACTED]         Baugh, Jim   [REDACTED]                                       Threat                        Privileged    eBay.
                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                       Re: eBay                                    company employee(s) reflecting legal
                                                                                                                                                       Imposter                      Attorney      advice regarding evaluation of media
             Standalone                                              Baugh, Jim                                                                        Twitter                       Client        reports, articles, or posts concerning
Log00167     Document      7/15/2019    Request 6   Baugh, Jim        [REDACTED]         Wymer, Steve     [REDACTED]                                   account                       Privileged    eBay.


                                                                                                                                                                                                   Email chain from company employee
                                                                                                                                                                                                   to counsel providing information to
                                                                                                                                                       FW: eBay                                    allow for the rendering of legal advice
                                                                                                                                                       Imposter                                    regarding eBay internal investigation
                                                                                                                                                       Twitter                       Attorney      after Natick events and regarding
             Standalone                                              Baugh, Jim          Vonsover, Amir                                                account ‐                     Client        evaluation of media reports, articles,
Log00168     Document      8/27/2019    Request 6   Baugh, Jim        [REDACTED]           [REDACTED]                                                  Privileged                    Privileged    or posts concerning eBay.




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Log Number                       Date                   Author                From                     To                CC   BCC        Subject            Filename                           Privilege Description
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                                                                                                                                                                                      Email between company employees
                                                                                      Jones, Wendy [REDACTED] ;                                                         Attorney      requesting legal advice regarding
             Standalone                                          Baugh, Jim           Phimister, Russell                             Re: Ina Steiner ‐                  Client        evaluation of media reports, articles,
Log00169     Document      5/23/2019    Request 6   Baugh, Jim    [REDACTED]               [REDACTED]                                Walker's West                      Privileged    or posts concerning eBay.

                                                                                                                                                                                      Email chain from company employee
                                                                                                                                                                                      to counsel providing information to
                                                                                                                                                                                      allow for the rendering of legal advice
                                                                                      Finn, Molly [REDACTED] ;                       Fwd: Elliott ‐                     Attorney      regarding evaluation of media
             Standalone                                          Baugh, Jim           Huber, Marie [REDACTED] ;                      Enhancing                          Client        reports, articles, or posts concerning
Log00170     Document      5/5/2019     Request 6   Baugh, Jim    [REDACTED]          Rome, Marc [REDACTED]                          eBay                               Privileged    eBay.
                                                                                                                                                                                      Email from company employee to
                                                                                                                                                                                      counsel providing information to
                                                                                                                                                                        Attorney      allow for the rendering of legal advice
                                                                 Baugh, Jim           Vonsover, Amir                                 Ecommerce                          Client        regarding eBay internal investigation
Log00171     Parent        8/27/2019    Request 6   Baugh, Jim    [REDACTED]               [REDACTED]                                threat history                     Privileged    after Natick events.


                                                                                                                                                                                      Attachment to Privileged/Protected
                                                                                                                                                                                      Communication from company
                                                                                                                                                                                      employee to counsel providing
                                                                                                                                                                        Attorney      information to allow for the rendering
                                                                                                                                                                        Client        of legal advice regarding eBay internal
Log00172     Attachment    8/27/2019    Request 6                                                                                                        2018[1].pdf    Privileged    investigation after Natick events.


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                                                                                                                                                                                      employee to counsel providing
                                                                                                                                                                        Attorney      information to allow for the rendering
                                                    Akdeniz,                                                                                                            Client        of legal advice regarding eBay internal
Log00173     Attachment    8/27/2019    Request 6   Meli(AWF)                                                                                            2017[1].pdf    Privileged    investigation after Natick events.


                                                                                                                                                                                      Attachment to Privileged/Protected
                                                                                                                                                                                      Communication from company
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                                                                                                                                                                        Attorney      information to allow for the rendering
                                                    Stockwell,                                                                                                          Client        of legal advice regarding eBay internal
Log00174     Attachment    8/27/2019    Request 6   Stephanie                                                                                            2019[2][1].pdf Privileged    investigation after Natick events.


                                                                                                                                                                                      Email chain from company employee
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                                                                                                                                     FW: eBay                                         allow for the rendering of legal advice
                                                                                                                                     Imposter                                         regarding eBay internal investigation
                                                                                                                                     Twitter                            Attorney      after Natick events and regarding
             Standalone                                          Baugh, Jim           Vonsover, Amir                                 account ‐                          Client        evaluation of media reports, articles,
Log00175     Document      8/27/2019    Request 6   Baugh, Jim    [REDACTED]               [REDACTED]                                Privileged                         Privileged    or posts concerning eBay.




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                                                                                                                                                                               Email chain from company employee
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                                                                                                                                                                               allow for the rendering of legal advice
                                                                                                                                       FW: eBay                                regarding eBay internal investigation
                                                                                                                                       Imposter                  Attorney      after Natick events and regarding
             Standalone                                            Baugh, Jim          Vonsover, Amir                                  Twitter                   Client        evaluation of media reports, articles,
Log00176     Document      8/27/2019    Request 6   Baugh, Jim      [REDACTED]             [REDACTED]                                  account                   Privileged    or posts concerning eBay.

                                                                                                                                                                               Email chain from company employee
                                                                                                                                                                               to counsel providing information to
                                                                                                                                       FW:                       Attorney      allow for the rendering of legal advice
             Standalone                                            Baugh, Jim          Vonsover, Amir                                  FidoMaster                Client        regarding eBay internal investigation
Log00177     Document      8/27/2019    Request 6   Baugh, Jim      [REDACTED]             [REDACTED]                                  Hillhouse                 Privileged    after Natick events.

                                                                                                                                                                               Email chain between counsel and
                                                                                                                                       FW: eBay                                company employee(s) reflecting a
                                                                                                                                       Imposter                  Attorney      request for legal advice regarding
             Standalone                                            Baugh, Jim                                                          Twitter                   Client        evaluation of media reports, articles,
Log00178     Document      8/6/2019     Request 6   Baugh, Jim      [REDACTED]         Jones, Wendy     [REDACTED]                     account                   Privileged    or posts concerning eBay.
                                                                                                                                                                               Email chain between counsel and
                                                                                                                                       Re:                                     company employee(s) reflecting legal
                                                                                                                                       CONFIDENTIAL              Attorney      advice regarding evaluation of media
             Standalone                                            Baugh, Jim                                                          | Ecommerce               Client        reports, articles, or posts concerning
Log00179     Document      8/26/2019    Request 6   Baugh, Jim      [REDACTED]         Finn, Molly   [REDACTED]                        Threat                    Privileged    eBay.
                                                                                                                                                                               Email chain between counsel and
                                                                                                                                       FW: eBay                                company employee(s) reflecting legal
                                                                                                                                       Imposter                  Attorney      advice regarding evaluation of media
             Standalone                                            Baugh, Jim                                                          Twitter                   Client        reports, articles, or posts concerning
Log00180     Document      8/6/2019     Request 6   Baugh, Jim      [REDACTED]         Jones, Wendy     [REDACTED]                     account                   Privileged    eBay.

                                                                                       Hadlock, Kameron                                                                        Email chain between counsel and
                                                                                         [REDACTED] ; Huber, Marie                     Re: eBay                                company employee(s) discussing legal
                                                                                         [REDACTED] ; Johnson,                         Imposter                  Attorney      advice regarding evaluation of media
             Standalone                                            Wymer, Steve        Aaron [REDACTED] ;                              Twitter                   Client        reports, articles, or posts concerning
Log00181     Document      7/15/2019    Request 6   Wymer, Steve    [REDACTED]         Leavitt, Amber [REDACTED]                       account                   Privileged    eBay.

                                                                                                                                                                               Email chain between counsel and
                                                                                                                                       RE: eBay                                company employee(s) providing and
                                                                                                                                       Imposter                  Attorney      discussing legal advice regarding
             Standalone                                            Huber, Marie        Johnson, Aaron                                  Twitter                   Client        evaluation of media reports, articles,
Log00182     Document      8/6/2019     Request 6   Huber, Marie    [REDACTED]             [REDACTED]                                  account                   Privileged    or posts concerning eBay.

                                                                                                                                                                               Email chain between counsel and
                                                                                                                                       RE: eBay                                company employee(s) providing and
                                                                                                                                       Imposter                  Attorney      discussing legal advice regarding
             Standalone                                            Huber, Marie        Johnson, Aaron                                  Twitter                   Client        evaluation of media reports, articles,
Log00183     Document      8/6/2019     Request 6   Huber, Marie    [REDACTED]             [REDACTED]                                  account                   Privileged    or posts concerning eBay.

                                                                                                                                                                               Email chain between counsel and
                                                                                                                                       RE: eBay                                company employee(s) providing and
                                                                                                                                       Imposter                  Attorney      discussing legal advice regarding
             Standalone                                            Huber, Marie        Johnson, Aaron                                  Twitter                   Client        evaluation of media reports, articles,
Log00184     Document      8/6/2019     Request 6   Huber, Marie    [REDACTED]             [REDACTED]                                  account                   Privileged    or posts concerning eBay.




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                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                              Fwd: eBay                                   company employee(s) providing and
                                                                                      Johnson, Aaron                                          Imposter                      Attorney      discussing legal advice regarding
             Standalone                                              Huber, Marie       [REDACTED] ; Leavitt,                                 Twitter                       Client        evaluation of media reports, articles,
Log00185     Document      8/6/2019     Request 6   Huber, Marie      [REDACTED]      Amber [REDACTED]                                        account                       Privileged    or posts concerning eBay.

                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                                                                          company employee(s) providing and
                                                                                                                                              Re: eBay                                    discussing legal advice regarding
                                                                                                                                              Imposter                                    evaluation of media reports, articles,
                                                                                                                                              Twitter                       Attorney      or posts concerning eBay and
             Standalone                                              Huber, Marie     Johnson, Aaron                                          account ‐                     Client        regarding unrelated litigation/legal
Log00186     Document      8/6/2019     Request 6   Huber, Marie      [REDACTED]           [REDACTED]                                         Privileged                    Privileged    matters.

                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                                                                          company employee(s) providing and
                                                                                                                                              RE: eBay                                    discussing legal advice regarding
                                                                                                                                              Imposter                                    evaluation of media reports, articles,
                                                                                                                                              Twitter                       Attorney      or posts concerning eBay and
             Standalone                                              Huber, Marie     Johnson, Aaron                                          account ‐                     Client        regarding unrelated litigation/legal
Log00187     Document      8/6/2019     Request 6   Huber, Marie      [REDACTED]           [REDACTED]                                         Privileged                    Privileged    matters.
                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                              FW: eBay                                    company employee(s) discussing legal
                                                                                                                                              Imposter                      Attorney      advice regarding evaluation of media
             Standalone                                              Huber, Marie     Johnson, Aaron                                          Twitter                       Client        reports, articles, or posts concerning
Log00188     Document      8/6/2019     Request 6   Huber, Marie      [REDACTED]           [REDACTED]                                         account                       Privileged    eBay.

                                                                                                                                              FW: eBay                                    Email chain between counsel and
                                                                                                                                              Imposter                                    company employee(s) providing and
                                                                                                                                              Twitter                       Attorney      discussing legal advice regarding
             Standalone                                              Huber, Marie     Johnson, Aaron                                          account ‐                     Client        evaluation of media reports, articles,
Log00189     Document      8/6/2019     Request 6   Huber, Marie      [REDACTED]           [REDACTED]                                         Privileged                    Privileged    or posts concerning eBay.

                                                                                      Huber, Marie [REDACTED] ;                                                                           Email chain between counsel and
                                                                                      Johnson, Aaron                                          Re: eBay                                    company employee(s) requesting
                                                                                         [REDACTED] ; Leavitt,                                Imposter                      Attorney      legal advice regarding evaluation of
             Standalone                                              Wymer, Steve     Amber [REDACTED] ; OOTP                                 Twitter                       Client        media reports, articles, or posts
Log00190     Document      7/10/2019    Request 6   Wymer, Steve      [REDACTED]      [REDACTED]                                              account                       Privileged    concerning eBay.

                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                                                                          company employee(s) requesting and
                                                                                                                                                                            Attorney      providing legal advice regarding eBay
                                                                                                                                                                            Client        internal investigation after Natick
                                                                                                                                                                            Privileged;   events and regarding eBay response
                                                                                                                                                                            Work          to law enforcement investigations
                                                                     Johnson, Aaron   Finn, Molly [REDACTED] ;    Vonsover, Amir              Natick Mass.                  Product       after Natick events and prepared in
Log00191     Parent        8/22/2019    Request 6   Johnson, Aaron     [REDACTED]     Huber, Marie [REDACTED]       [REDACTED]                Police                        Protected     anticipation of litigation.


                                                                                                                                                                                          Attachment to Privileged/Protected
                                                                                                                                                                                          Communication from in‐house
                                                                                                                                                                                          counsel providing information to
                                                                                                                                                                                          allow for the rendering of legal advice
                                                                                                                                                                                          regarding eBay internal investigation
                                                                                                                                                             20190821 ‐     Attorney      after Natick events and regarding
                                                                                                                                                             case           Client        eBay response to law enforcement
Log00192     Attachment    8/22/2019    Request 6                                                                                                            01778103.pdf   Privileged    investigations after Natick events.




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                                                                                                                                                       FW:                                           Email from in‐house counsel
                                                                                                                                                       eBay/StubHub ‐                                requesting information to render legal
                                                                                                                                                       Case 01777906                                 advice regarding eBay internal
                                                                                                                                                       [                                             investigation after Natick events and
                                                                                                                                                       ref:_00D1I1Uk                   Attorney      regarding eBay response to law
                                                                     Jones, Spencer                                                                    RS._5001INn5Jj                  Client        enforcement investigations after
Log00193     Attachment    8/22/2019    Request 6   Jones, Spencer    [REDACTED]         Baugh, Jim   [REDACTED]                                       :ref ]                          Privileged    Natick events.
                                                                                                                                                                                                     Email chain from company employee
                                                                                                                                                       Re: eBay                                      to counsel requesting legal advice
                                                                                                                                                       Imposter                        Attorney      regarding evaluation of media
             Standalone                                              Wymer, Steve        Huber, Marie [REDACTED] ; Johnson, Aaron                      Twitter                         Client        reports, articles, or posts concerning
Log00194     Document      7/10/2019    Request 6   Wymer, Steve      [REDACTED]         OOTP [REDACTED]              [REDACTED]                       account                         Privileged    eBay.

                                                                                                                                                                                                     Email chain from in‐house counsel
                                                                                                                                                                                       Attorney      providing legal advice regarding eBay
                                                                                                                                                                                       Client        internal investigation after Natick
                                                                                                                                                                                       Privileged;   events and regarding eBay response
                                                                                         Huber, Marie [REDACTED] ;                                     Re: Natick                      Work          to law enforcement investigations
             Standalone                                              Finn, Molly         Johnson, Aaron                                                Mass. Police ‐                  Product       after Natick events and prepared in
Log00195     Document      8/22/2019    Request 6   Finn, Molly       [REDACTED]           [REDACTED]                                                  Privileged                      Protected     anticipation of litigation.
                                                                                                                                                                                       Attorney
                                                                                                                                                                                       Client
                                                                                                                       Johnson, Aaron                                                  Privileged;   Email from in‐house counsel providing
                                                                                         Finn, Molly [REDACTED] ;        [REDACTED]          ;         Natick, MA                      Work          legal advice regarding eBay internal
             Standalone                                              Johnson, Aaron      Vonsover, Amir                Ricupero, Kara                  Incident                        Product       investigation after Natick events and
Log00196     Document      8/22/2019    Request 6   Johnson, Aaron      [REDACTED]         [REDACTED]                    [REDACTED]                    (privileged)                    Protected     prepared in anticipation of litigation.
                                                                                                                                                                                                     Email chain between counsel and
                                                                                                                                                                                                     company employee(s) requesting
                                                                                                                                                       Fwd: eBay                                     information to render legal advice
                                                                                                                                                       Imposter                        Attorney      regarding evaluation of media
                                                                     Huber, Marie                                      Johnson, Aaron                  Twitter                         Client        reports, articles, or posts concerning
Log00197     Parent        8/6/2019     Request 6   Huber, Marie      [REDACTED]         Leavitt, Amber   [REDACTED]     [REDACTED]                    account                         Privileged    eBay.


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                                                                                                                                                                        Screenshot_20                counsel requesting information to
                                                                                                                                                                        190806‐       Attorney       render legal advice regarding
                                                                                                                                                                        071052_Twitte Client         evaluation of media reports, articles,
Log00198     Attachment    8/6/2019     Request 6                                                                                                                       r.jpg         Privileged     or posts concerning eBay.

                                                                                         Hadlock, Kameron                                                                                            Email chain between counsel and
                                                                                           [REDACTED] ; Huber, Marie                                   Re: eBay                                      company employee(s) reflecting a
                                                                                           [REDACTED] ; Johnson,                                       Imposter                        Attorney      request for legal advice regarding
             Standalone                                              Wymer, Steve        Aaron [REDACTED] ;                                            Twitter                         Client        evaluation of media reports, articles,
Log00199     Document      7/10/2019    Request 6   Wymer, Steve      [REDACTED]         Leavitt, Amber [REDACTED]                                     account                         Privileged    or posts concerning eBay.

                                                                                                                                                                                                     Email chain between counsel and
                                                                                                                                                                                                     company employee(s) requesting
                                                                                                                                                                                                     information to render legal advice
                                                                                                                                                                                                     regarding eBay internal investigation
                                                                                                                                                                                       Attorney      after Natick events and regarding
             Standalone                                              Baugh, Jim          Johnson, Aaron                                                                                Client        eBay response to law enforcement
Log00200     Document      8/22/2019    Request 6   Baugh, Jim        [REDACTED]           [REDACTED]                                                  Re: Talk                        Privileged    investigations after Natick events.




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                                                                                                                                                                                                  Email from in‐house counsel
                                                                                                                                                                                    Attorney      requesting and providing legal advice
                                                                                                                                                                                    Client        regarding eBay internal investigation
                                                                                                                                                                                    Privileged;   after Natick events and regarding
                                                                                         Finn, Molly [REDACTED] ;                                 FW: Natick                        Work          eBay response to law enforcement
                                                                     Huber, Marie        Johnson, Aaron                                           Mass. Police ‐                    Product       investigations after Natick events and
Log00201     Parent        8/22/2019    Request 6   Huber, Marie      [REDACTED]           [REDACTED]                                             Privileged                        Protected     prepared in anticipation of litigation.


                                                                                                                                                                                                  Attachment to Privileged/Protected
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                                                                                                                                                                                                  counsel providing information to
                                                                                                                                                                                                  allow for the rendering of legal advice
                                                                                                                                                                                                  regarding eBay internal investigation
                                                                                                                                                                     20190821 ‐     Attorney      after Natick events and regarding
                                                                                                                                                                     case           Client        eBay response to law enforcement
Log00202     Attachment    8/22/2019    Request 6                                                                                                                    01778103.pdf   Privileged    investigations after Natick events.
                                                                                                                                                  FW:
                                                                                                                                                  eBay/StubHub ‐
                                                                                                                                                  Case 01777906                                   Email from in‐house counsel
                                                                                                                                                  [                                               requesting information to render legal
                                                                                                                                                  ref:_00D1I1Uk                     Attorney      advice regarding eBay response to law
                                                                     Jones, Spencer                                                               RS._5001INn5Jj                    Client        enforcement investigations after
Log00203     Attachment    8/22/2019    Request 6   Jones, Spencer    [REDACTED]         Baugh, Jim   [REDACTED]                                  :ref ]                            Privileged    Natick events.




                                                                                                                                                  Re: In a bizarre
                                                                                                                                                  Tweet,
                                                                                                                                                  struggling
                                                                                                                                                  #eBay CEO
                                                                                                                                                  Devin
                                                                                                                                                  "Misexecution"
                                                                                                                                                  Wenig
                                                                                                                                                  announced
                                                                                                                                                  payout of
                                                                                                                                                  $EBAY's first
                                                                                                                                                  dividend saying
                                                                                                                                                  he's "delighted
                                                                                                                                                  to share
                                                                                                                                                  (eBay's)
                                                                                                                                                  ongoing
                                                                                                                                                  success..." As                                  Email chain between counsel and
                                                                                                                                                  if it were his                                  company employee(s) providing
                                                                                                                                                  idea and not a                                  information to allow for the rendering
                                                                                         Finn, Molly [REDACTED] ;  Billante, Joe                  forced hand by                    Attorney      of legal advice regarding evaluation of
             Standalone                                              Baugh, Jim          Huber, Marie [REDACTED] ;   [REDACTED] ; Freiha,         #ElliottManage                    Client        media reports, articles, or posts
Log00204     Document      3/21/2019    Request 6   Baugh, Jim        [REDACTED]         Rome, Marc [REDACTED]     Selim [REDACTED]               ment #En...                       Privileged    concerning eBay.




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                                                                                                                                               Fwd: In a
                                                                                                                                               bizarre Tweet,
                                                                                                                                               struggling
                                                                                                                                               #eBay CEO
                                                                                                                                               Devin
                                                                                                                                               "Misexecution"
                                                                                                                                               Wenig
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                                                                                                                                               if it were his                              to counsel providing information to
                                                                                                                                               idea and not a                              allow for the rendering of legal advice
                                                                                                                                               forced hand by                Attorney      regarding evaluation of media
             Standalone                                          Baugh, Jim                                                                    #ElliottManage                Client        reports, articles, or posts concerning
Log00205     Document      3/21/2019    Request 6   Baugh, Jim    [REDACTED]          Finn, Molly   [REDACTED]                                 ment #En...                   Privileged    eBay.




                                                                                                                                               Re: In a bizarre
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                                                                                                                                               #eBay CEO
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                                                                                      Finn, Molly [REDACTED] ;  Billante, Joe                  forced hand by                Attorney      of legal advice regarding evaluation of
                                                                 Baugh, Jim           Huber, Marie [REDACTED] ;   [REDACTED] ; Freiha,         #ElliottManage                Client        media reports, articles, or posts
Log00206     Parent        3/21/2019    Request 6   Baugh, Jim    [REDACTED]          Rome, Marc [REDACTED]     Selim [REDACTED]               ment #En...                   Privileged    concerning eBay.




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                                                                                                                                                                                                                  Attachment to Privileged/Protected
                                                                                                                                                                                                                  Communication from company
                                                                                                                                                                                                                  employee to counsel providing
                                                                                                                                                                                                                  information to allow for the rendering
                                                                                                                                                                                    FidoMaster1 ‐   Attorney      of legal advice regarding evaluation of
                                                    Alford,                                                                                                                         POI             Client        media reports, articles, or posts
Log00207     Attachment    3/21/2019    Request 6   Michelle(AWF)                                                                                                                   Report[1].pdf   Privileged    concerning eBay.

                                                                                                                                                                                                                  Email chain between counsel and
                                                                                                                                                                  Re: Launch                                      company employee(s) providing
                                                                                                                          Subramanyan, Sankar                     Day: Seller                                     information to allow for the rendering
                                                                                                                               [REDACTED]               ;         Update 19.1 ‐                     Attorney      of legal advice regarding evaluation of
             Standalone                                              Jones, Wendy     Hanson, Jay    [REDACTED]     ;     Temkin, Harry                           Seller Reaction                   Client        media reports, articles, or posts
Log00208     Document      5/2/2019     Request 6   Jones, Wendy      [REDACTED]      Wenig, Devin   [REDACTED]            [REDACTED]                             Check‐in 2 of 2                   Privileged    concerning eBay.

                                                                                                                                                                                                                  Email chain from in‐house counsel
                                                                                                                                                                                                    Attorney      discussing legal advice regarding eBay
                                                                                                                                                                                                    Client        internal investigation after Natick
                                                                                                                                                                  Fwd: Privileged                   Privileged;   events and regarding corporate
                                                                                                                                                                  discussion ‐                      Work          communications after Natick events
             Standalone                                              Finn, Molly                                                                                  MLB and M.                        Product       and prepared in anticipation of
Log00209     Document      8/29/2019    Request 6   Finn, Molly       [REDACTED]      Huber, Marie     [REDACTED]                                                 Huber                             Protected     litigation.

                                                                                                                                                                                                    Attorney      Email chain between in‐house counsel
                                                                                                                          Huber, Marie                                                              Client        and outside counsel providing and
                                                                                      Cerveny, Laurie A.                   [REDACTED]           ; Phelan,         Re: Privileged                    Privileged;   discussing legal advice regarding eBay
                                                                                              [REDACTED]                ; Andrew C.                               discussion ‐                      Work          internal investigation after Natick
             Standalone                                              Finn, Molly      Shaulson, Samuel S.                       [REDACTED]                        MLB and M.                        Product       events and prepared in anticipation of
Log00210     Document      8/29/2019    Request 6   Finn, Molly       [REDACTED]              [REDACTED]                                                          Huber                             Protected     litigation.
                                                                                                                                                                                                                  Email chain between counsel and
                                                                                                                                                                  Re: eBay                                        company employee(s) discussing legal
                                                                                                                                                                  Imposter                          Attorney      advice regarding evaluation of media
             Standalone                                              Johnson, Aaron                                                                               Twitter                           Client        reports, articles, or posts concerning
Log00211     Document      8/6/2019     Request 6   Johnson, Aaron      [REDACTED]    Huber, Marie     [REDACTED]                                                 account                           Privileged    eBay.

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                                                                                                                                                                  RE: eBay                                        company employee(s) providing and
                                                                                                                                                                  Imposter                          Attorney      discussing legal advice regarding
             Standalone                                              Johnson, Aaron   Huber, Marie     [REDACTED] ;                                               Twitter                           Client        evaluation of media reports, articles,
Log00212     Document      8/6/2019     Request 6   Johnson, Aaron      [REDACTED]    Leavitt, Amber    [REDACTED]                                                account                           Privileged    or posts concerning eBay.

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                                                                                                                                                                  RE: eBay                                        company employee(s) providing and
                                                                                                                                                                  Imposter                          Attorney      discussing legal advice regarding
             Standalone                                              Johnson, Aaron                                                                               Twitter                           Client        evaluation of media reports, articles,
Log00213     Document      8/6/2019     Request 6   Johnson, Aaron      [REDACTED]    Huber, Marie     [REDACTED]                                                 account                           Privileged    or posts concerning eBay.

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                                                                                                                                                                  RE: eBay                                        discussing legal advice regarding
                                                                                                                                                                  Imposter                                        evaluation of media reports, articles,
                                                                                                                                                                  Twitter                           Attorney      or posts concerning eBay and
             Standalone                                              Johnson, Aaron                                                                               account ‐                         Client        regarding unrelated litigation/legal
Log00214     Document      8/6/2019     Request 6   Johnson, Aaron      [REDACTED]    Huber, Marie     [REDACTED]                                                 Privileged                        Privileged    matters.




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                                                                                                                                                             RE: eBay                                       Email chain between counsel and
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             Standalone                                              Johnson, Aaron                                                                          account ‐                        Client        evaluation of media reports, articles,
Log00215     Document      8/6/2019     Request 6   Johnson, Aaron     [REDACTED]     Huber, Marie   [REDACTED]                                              Privileged                       Privileged    or posts concerning eBay.


                                                                                      Macauley, Shannon                                                                                       Attorney      Email chain between in‐house counsel
                                                                                           [REDACTED]       ; Phelan,                                                                         Client        and outside counsel providing
                                                                                      Andrew C.                                                                                               Privileged;   information to allow for the rendering
                                                                                               [REDACTED]               ;                                    Re: Atty/Client                  Work          of legal advice regarding eBay internal
             Standalone                                              Vonsover, Amir   Shaulson, Samuel S.                                                    Privilege ‐                      Product       investigation after Natick events and
Log00216     Document      8/29/2019    Request 6   Vonsover, Amir     [REDACTED]             [REDACTED]                    Finn, Molly   [REDACTED]         Interesting Doc                  Protected     prepared in anticipation of litigation.


                                                                                      Finn, Molly [REDACTED] ;
                                                                                      Macauley, Shannon
                                                                                         [REDACTED] ; Phelan,                                                                                               Email chain between in‐house counsel
                                                                                      Andrew C.                                                                                                             and outside counsel providing
                                                                                               [REDACTED]               ;                                                                     Attorney      information to allow for the rendering
             Standalone                                              Vonsover, Amir   Shaulson, Samuel S.                                                    FW: David                        Client        of legal advice regarding eBay internal
Log00217     Document      8/30/2019    Request 6   Vonsover, Amir     [REDACTED]             [REDACTED]                                                     Harville                         Privileged    investigation after Natick events.

                                                                                                                                                                                                            Email chain from in‐house counsel
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                                                                                                                                                                                                            rendering of legal advice regarding
                                                                                                                                                             Fwd: eBay                                      eBay internal investigation after
                                                                                      Finn, Molly [REDACTED] ;                                               Imposter                         Attorney      Natick events and regarding
                                                                     Vonsover, Amir   Macauley, Shannon                                                      Twitter                          Client        evaluation of media reports, articles,
Log00218     Parent        8/28/2019    Request 6   Vonsover, Amir     [REDACTED]          [REDACTED]                                                        account                          Privileged    or posts concerning eBay.


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                                                                                                                                                                                             Attorney       after Natick events and regarding
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Log00219     Attachment    8/28/2019    Request 6                                                                                                                              IMG_8387.jpeg Privileged     or posts concerning eBay.


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                                                                                                                                                                               500fbdfe‐b1f6‐               regarding eBay internal investigation
                                                                                                                                                                               48d3‐a49b‐     Attorney      after Natick events and regarding
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Log00220     Attachment    8/28/2019    Request 6                                                                                                                              JPG            Privileged    or posts concerning eBay.




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                                                                                       Coppo, Alessandro
                                                                                         [REDACTED] ; Fisher, Steve                     UPDATED
                                                                                         [REDACTED] ; Huber, Marie                      MEDIA
                                                                                         [REDACTED] ; Jones, Wendy                      COVERAGE:
                                                                                         [REDACTED] ; Lee, Jay                          EBAY EVOLVES
                                                                                        [REDACTED] ; Miller, Kris                       REGIONAL                                   Email from company employee to
                                                                                          [REDACTED] ; Schenkel,                        MARKET                                     counsel providing information to
                                                                                       Scott [REDACTED] ; Singh                         ORGANIZATIO                                allow for the rendering of legal advice
                                                                                       Cassidy, Sukhinder                               N ‐ February                               regarding evaluation of media
                                                                                            [REDACTED] ; Wenig,                         15, 2019 as of               Attorney      reports, articles, or posts concerning
             Standalone                                            Wymer, Steve        Devin [REDACTED] ; Yetto,                        9:30 AM PT /                 Client        eBay and regarding shareholder
Log00221     Document      2/15/2019    Request 6   Wymer, Steve    [REDACTED]         Kristin [REDACTED]                               12:30 PM EST                 Privileged    activism matters.

                                                                                                                                        Re: eBay Open
                                                                                                                                        2019 Coverage                Attorney      Email chain between company
             Standalone                                            Wymer, Steve        Schenkel, Scott                                  Snapshot ‐ Day               Client        employees discussing legal advice
Log00222     Document      7/28/2019    Request 6   Wymer, Steve    [REDACTED]             [REDACTED]                                   2                            Privileged    regarding general corporate matters.




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                                                                                                                                        forced hand by               Attorney      regarding evaluation of media
             Standalone                                            Baugh, Jim                                                           #ElliottManage               Client        reports, articles, or posts concerning
Log00223     Document      3/21/2019    Request 6   Baugh, Jim      [REDACTED]         Finn, Molly   [REDACTED]                         ment #En...                  Privileged    eBay.




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             Standalone                                          Baugh, Jim                                       Rome, Marc              #ElliottManage                Client        concerning eBay and regarding
Log00224     Document      3/21/2019    Request 6   Baugh, Jim    [REDACTED]          Huber, Marie   [REDACTED]    [REDACTED]             ment #En...                   Privileged    shareholder activism matters.




                                                                                                                                          Re: In a bizarre
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             Standalone                                          Baugh, Jim                                       Rome, Marc              #ElliottManage                Client        concerning eBay and regarding
Log00225     Document      3/21/2019    Request 6   Baugh, Jim    [REDACTED]          Huber, Marie   [REDACTED]    [REDACTED]             ment #En...                   Privileged    shareholder activism matters.




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                                                                                                                                         forced hand by                Attorney      advice regarding evaluation of media
             Standalone                                           Finn, Molly         Huber, Marie    [REDACTED]   ;                     #ElliottManage                Client        reports, articles, or posts concerning
Log00226     Document      3/21/2019    Request 6   Finn, Molly    [REDACTED]         Rome, Marc     [REDACTED]                          ment #En...                   Privileged    eBay.




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             Standalone                                           Finn, Molly         Huber, Marie    [REDACTED]   ;                     #ElliottManage                Client        reports, articles, or posts concerning
Log00227     Document      3/21/2019    Request 6   Finn, Molly    [REDACTED]         Rome, Marc     [REDACTED]                          ment #En...                   Privileged    eBay.




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                                                                                                                 Finn, Molly                                                       Client        internal investigation after Natick
                                                                                                                  [REDACTED]         ; Phelan,                                     Privileged;   events and regarding
                                                                                                                 Andrew C.                                                         Work          employment/personnel matters
             Standalone                                              Vonsover, Amir   Shaulson, Samuel S.               [REDACTED]                                                 Product       and/or actions after Natick events and
Log00228     Document      8/30/2019    Request 6   Vonsover, Amir     [REDACTED]             [REDACTED]                                               Re: Privileged              Protected     prepared in anticipation of litigation.


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                                                                                                                  [REDACTED]         ; Phelan,                                     Privileged;   events and regarding
                                                                                                                 Andrew C.                                                         Work          employment/personnel matters
             Standalone                                              Vonsover, Amir   Shaulson, Samuel S.               [REDACTED]                                                 Product       and/or actions after Natick events and
Log00229     Document      8/30/2019    Request 6   Vonsover, Amir     [REDACTED]             [REDACTED]                                               Re: Privileged              Protected     prepared in anticipation of litigation.


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                                                                                                                 Finn, Molly                                                       Client        internal investigation after Natick
                                                                                                                  [REDACTED]         ; Phelan,                                     Privileged;   events and regarding
                                                                                                                 Andrew C.                                                         Work          employment/personnel matters
             Standalone                                              Vonsover, Amir   Shaulson, Samuel S.               [REDACTED]                                                 Product       and/or actions after Natick events and
Log00230     Document      8/30/2019    Request 6   Vonsover, Amir     [REDACTED]             [REDACTED]                                               Re: Privileged              Protected     prepared in anticipation of litigation.


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                                                                                                                  [REDACTED]         ; Phelan,                                     Privileged;   events and regarding
                                                                                                                 Andrew C.                                                         Work          employment/personnel matters
             Standalone                                              Vonsover, Amir   Shaulson, Samuel S.               [REDACTED]                                                 Product       and/or actions after Natick events and
Log00231     Document      8/30/2019    Request 6   Vonsover, Amir     [REDACTED]             [REDACTED]                                               Re: Privileged              Protected     prepared in anticipation of litigation.


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                                                                                      Finn, Molly [REDACTED] ;   Phelan, Andrew C.                                                 Work          employment/personnel matters
             Standalone                                              Vonsover, Amir   Shaulson, Samuel S.               [REDACTED]                                                 Product       and/or actions after Natick events and
Log00232     Document      8/30/2019    Request 6   Vonsover, Amir     [REDACTED]             [REDACTED]                                               Re: Privileged              Protected     prepared in anticipation of litigation.




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                 Parent                        Subpoena                                                                                                                                                                                                 Privilege
Log Number                         Date                         Author                  From                                 To                                       CC                           BCC                  Subject         Filename                             Privilege Description
               Attachment                       Request                                                                                                                                                                                                   Basis


                                                                                                                                                                                                                                                                    Email chain between in‐house counsel
                                                                                                                                                                                                                                                                    and outside counsel providing and
                                                                                                                                                                                                                                                      Attorney      discussing legal advice regarding eBay
                                                                                                                                                                                                                                                      Client        internal investigation after Natick
                                                                                                          Shaulson, Samuel S.                                                                                                                         Privileged;   events and regarding
                                                                                                                   [REDACTED]                  ;       Phelan, Andrew C.                                                                              Work          employment/personnel matters
             Standalone                                                      Finn, Molly                  Vonsover, Amir                                      [REDACTED]                                                                              Product       and/or actions after Natick events and
Log00233     Document         8/30/2019       Request 6     Finn, Molly       [REDACTED]                     [REDACTED]                                                                                            Re: Privileged                     Protected     prepared in anticipation of litigation.


                                                                                                                                                                                                                                                                    Email chain between in‐house counsel
                                                                                                                                                                                                                                                                    and outside counsel providing and
                                                                                                                                                                                                                                                      Attorney      discussing legal advice regarding eBay
                                                                                                                                                                                                                                                      Client        internal investigation after Natick
                                                                                                          Shaulson, Samuel S.                                                                                                                         Privileged;   events and regarding
                                                                                                                   [REDACTED]                  ;       Phelan, Andrew C.                                                                              Work          employment/personnel matters
             Standalone                                                      Finn, Molly                  Vonsover, Amir                                      [REDACTED]                                                                              Product       and/or actions after Natick events and
Log00234     Document         8/30/2019       Request 6     Finn, Molly       [REDACTED]                     [REDACTED]                                                                                            Re: Privileged                     Protected     prepared in anticipation of litigation.

                                                                                                                                                       Finn, Molly                                                                                    Attorney      Email chain between in‐house counsel
                                                                                                                                                        [REDACTED]            ; Phelan,                                                               Client        and outside counsel providing and
                                                                                                                                                       Andrew C.                                                   Re: Privileged:                    Privileged;   discussing legal advice regarding eBay
                                                                                                                                                              [REDACTED]                                           accessing                          Work          internal investigation after Natick
             Standalone                                                      Vonsover, Amir               Shaulson, Samuel S.                              ; Ricupero, Kara                                        personal                           Product       events and prepared in anticipation of
Log00235     Document         8/29/2019       Request 6     Vonsover, Amir      [REDACTED]                         [REDACTED]                            [REDACTED]                                                electronic data                    Protected     litigation.

                                                                                                                                                                                                                                                      Attorney      Email chain between in‐house counsel
                                                                                                                                                                                                                                                      Client        and outside counsel providing and
                                                                                                          Phelan, Andrew C.                            Finn, Molly                                                 Re: Privileged:                    Privileged;   discussing legal advice regarding eBay
                                                                                                                    [REDACTED]                     ;    [REDACTED]            ; Macauley,                          Interview                          Work          internal investigation after Natick
             Standalone                                                      Vonsover, Amir               Shaulson, Samuel S.                          Shannon                                                     Schedule                           Product       events and prepared in anticipation of
Log00236     Document         8/29/2019       Request 6     Vonsover, Amir      [REDACTED]                         [REDACTED]                             [REDACTED]                                               tomorrow                           Protected     litigation.

                                                                                                                                                                                                                                                      Attorney      Email chain between in‐house counsel
                                                                                                                                                                                                                                                      Client        and outside counsel providing and
                                                                                                          Phelan, Andrew C.                            Finn, Molly                                                 Re: Privileged:                    Privileged;   discussing legal advice regarding eBay
                                                                                                                    [REDACTED]                     ;    [REDACTED]            ; Macauley,                          Interview                          Work          internal investigation after Natick
             Standalone                                                      Vonsover, Amir               Shaulson, Samuel S.                          Shannon                                                     Schedule                           Product       events and prepared in anticipation of
Log00237     Document         8/29/2019       Request 6     Vonsover, Amir      [REDACTED]                         [REDACTED]                             [REDACTED]                                               tomorrow                           Protected     litigation.


  * eBay produces this privilege log without waiver of, and expressly preserves, any and all objections and challenges to the Fed. R. Crim. P. 17(c) subpoenas issued to eBay Inc. and Morgan Lewis Bockius LLP, and reserves all rights to file a motion to quash the subpoenas or to seek other
protections, on all available grounds. The provision of this privilege log, or any purported failure to list a document or information within the privilege log, shall not constitute a waiver of the attorney client privilege, work product protections or other applicable protections in this case or in
 any other federal or state proceeding and shall not limit eBay’s right to assert privilege or work product protection over material or information in connection with this or any other proceeding. Further, eBay notes that certain of the documents logged within this privilege log may reflect
 potentially attorney client privileged and/or work product protected information concerning matters not responsive to the subpoena. eBay has not undertaken to review all nonresponsive content for attorney client privilege and/or work product protection, but expressly preserves and
                                                                                        does not waive all claims of privilege/protection. eBay reserves the right to supplement and/or amend this privilege log.




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UNITED STATES V. BAUGH, ET AL.                          INITIAL PRIVILEGE LOG OF EBAY INC.*
20‐CR‐10263
Attorneys and Legal Support Personnel          Email Address
Bonnett, Erica                                      [REDACTED]

Cerveny, Laurie                                          [REDACTED]

Connor, Bryan                                            [REDACTED]

Finn, Molly                                       [REDACTED]

Huber, Marie                                       [REDACTED]

Johnson, Aaron                                      [REDACTED]

Jones, Spencer                                     [REDACTED]

Macauley, Shannon (Legal Employee Relations         [REDACTED]
Manager/Paralegal)
Meli, Graham                                       [REDACTED]

Neff, Daniel                                      [REDACTED]

Phelan, Andrew                                            [REDACTED]

Pilson, David                                     [REDACTED]

Ricpupero, Kara                                    [REDACTED]

Rome, Marc                                        [REDACTED]

Savitt, William                                    [REDACTED]

Shaulson, Samuel                                         [REDACTED]

Tronnes, Bob                                       [REDACTED]

Vonsover, Amir                                      [REDACTED]




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OF CONFIDENTIALITY CONCERNING PRIVILEGE LOGS                                                              EBAY_BAUGHPRIV_0001
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               EXHIBIT 2




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20-CR-10263


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              Attachment                     Request                                                                                                                               Basis

                                                                                                                                                                                             Report prepared by Guidepost Solutions
                                                                                                                                                                                             at the direction of counsel providing
                                                                                                                                                                                             information to allow for the rendering of
                                                                                                                                                                                             legal advice in connection with
                                                                                                                                                                                             assessment of policies, procedures, and
                                                                                                                                                                                             organization of Global Security &
                                                                                                                                                                               Attorney      Resiliency, prepared in anticipation of
                                                                                                                                                                               Client        litigation and reflecting mental
                                                                                                                                                                               Privileged;   impressions, conclusions, opinions
                                                                                                                                                              eBay - GSR       Work          and/or legal theories of counsel and/or
              Standalone                                                                                                                                      Review           Product       counsel's agents.
Log00238      Document            9/9/2020 Request 1   Lyons, Leslie                                                                                          09.09.2020.pdf   Protected

                                                                                                                                                                                             Minutes of meeting of Board of
                                                                                                                                                                                             Directors on September 15-16, 2020
                                                                                                                                                                                             reflecting potentially attorney client
                                                                                                                                                                                             privileged and/or work product
                                                                                                                                                                                             protected information concerning
                                                                                                                                                                                             matters not responsive to the subpoena.
                                                                                                                                                                                             eBay has not undertaken to review this
                                                                                                                                                                            Attorney         nonresponsive content for attorney
                                                                                                                                                                            Client           client privilege and/or work product
                                                                                                                                                                            Privileged;      protection, but expressly preserves and
                                                                                                                                                              BODMinutes202 Work             does not waive all claims of privilege
              Standalone                               Nitzen,                                                                                                00915-        Product          and/or protection.
Log00239      Document           11/8/2021 Request 2   Leana                                                                                                  16FINAL.pdf   Protected

                                                                                                                                                                                             Notes of confidential interview of Steve
                                                                                                                                                                                             Wymer on September 9, 2019, attended
                                                                                                                                                                                             by Andy Phelan, Colin West, Shannon
                                                                                                                                                                                             Macauley, and Steve Wymer reflecting
                                                                                                                                                                                             the collection of information for the
                                                                                                                                                                                             purpose of rendering legal advice in
                                                                                                                                                                                             connection with eBay internal
                                                                                                                                                                                             investigation after Natick events,
                                                                                                                                                                               Attorney      prepared at the direction of counsel in
                                                                                                                                                                               Client        anticipation of litigation, and reflecting
                                                                                                                                                                               Privileged;   mental impressions, conclusions,
                                                                                                                                                              2019 09.09       Work          opinions and/or legal theories of counsel
              Standalone                               Macauley,                                                                                              Steve Wymer      Product       and/or counsel's agents.
Log00240      Document            9/9/2019 Request 4   Shannon                                                                                                (ML) (1).docx    Protected




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 Log Number                       Date                   Author       From                     To                              CC           BCC   Subject**     Filename**                            Privilege Description
              Attachment                     Request                                                                                                                              Basis

                                                                                                                                                                                            Notes of confidential interview of Steve
                                                                                                                                                                                            Wymer on September 9, 2019, attended
                                                                                                                                                                                            by Andy Phelan, Colin West, Shannon
                                                                                                                                                                                            Macauley, and Steve Wymer reflecting
                                                                                                                                                                                            the collection of information for the
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                                                                                                                                                                                            prepared at the direction of and by
                                                                                                                                                                              Attorney      counsel in anticipation of litigation, and
                                                                                                                                                                              Client        reflecting mental impressions,
                                                                                                                                                              2019 09.09      Privileged;   conclusions, opinions and/or legal
                                                                                                                                                              Steve Wymer     Work          theories of counsel and/or counsel's
              Standalone                               Macauley,                                                                                              (ML) (1)        Product       agents.
Log00241      Document           9/11/2019 Request 4   Shannon                                                                                                (003).docx      Protected

                                                                                                                                                                                            Notes of confidential interview of Dan
                                                                                                                                                                                            Cory on August 12, 2020, reflecting the
                                                                                                                                                                                            collection of information for the purpose
                                                                                                                                                                                            of rendering legal advice in connection
                                                                                                                                                                                            with assessment of policies, procedures,
                                                                                                                                                                                            and organization of Global Security &
                                                                                                                                                                                            Resiliency, prepared by Guidepost
                                                                                                                                                                              Attorney
                                                                                                                                                                                            Solutions at the direction of counsel in
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                                                                                                                                                                                            anticipation of litigation, and reflecting
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                                                                                                                                                                                            opinions and/or legal theories of counsel
              Standalone                               Douglas,                                                                                                               Product
                                                                                                                                                                                            and/or counsel's agents.
Log00242      Document           8/13/2020 Request 4   Stephanie                                                                                              Dan Cory.docx   Protected


                                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                                            Andrew Phelan on August 11, 2020,
                                                                                                                                                                                            reflecting the collection of information
                                                                                                                                                                                            for the purpose of rendering legal advice
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                                                                                                                                                                                            Global Security & Resiliency, prepared by
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                                                                                                                                                                              Attorney      counsel in anticipation of litigation, and
                                                                                                                                                                              Client        reflecting mental impressions,
                                                                                                                                                                              Privileged;   conclusions, opinions and/or legal
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              Standalone                               Douglas,                                                                                               Phelan          Product       agents.
Log00243      Document           8/14/2020 Request 4   Stephanie                                                                                              Outline.docx    Protected




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 Log Number                       Date                   Author       From                     To                              CC           BCC   Subject**     Filename**                             Privilege Description
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                                                                                                                                                                                             Notes of confidential interviews of Lou
                                                                                                                                                                                             Pezzola, Karl Barnhart, and Michelle
                                                                                                                                                                                             Alford on August 21, 2020, reflecting the
                                                                                                                                                                                             collection of information for the purpose
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                                                                                                                                                                             Client          mental impressions, conclusions,
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                                                                                                                                                              Questions eBay Work            and/or counsel's agents.
              Standalone                               Douglas,                                                                                               August 21,     Product
Log00244      Document           8/21/2020 Request 4   Stephanie                                                                                              2020 docx      Protected
                                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                                             Gurneet Jandir on August 27, 2020,
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                                                                                                                                                                               Attorney      Guidepost Solutions at the direction of
                                                                                                                                                                               Client        counsel in anticipation of litigation, and
                                                                                                                                                              Questions for    Privileged;   reflecting mental impressions,
                                                                                                                                                              eBay Interview   Work          conclusions, opinions and/or legal
              Standalone                               Osborne,                                                                                               Jandir,          Product       theories of counsel and/or counsel's
Log00245      Document           8/27/2020 Request 4   Angela                                                                                                 Gurneet.docx     Protected     agents.


                                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                                             Gurneet Jandir on August 27, 2020,
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              Standalone                               Osborne,                                                                                                                Product       agents.
Log00246      Document           8/27/2020 Request 4   Angela                                                                                                 gurneet docx     Protected




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                                                                                                                                                                                            Notes of confidential interview of Aaron
                                                                                                                                                                                            Johnson on August 25, 2020, reflecting
                                                                                                                                                                                            the collection of information for the
                                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                                            connection with assessment of policies,
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                                                                                                                                                                              Work
                                                                                                                                                                                            agents.
              Standalone                               Douglas,                                                                                               Aaron           Product
Log00247      Document           8/27/2020 Request 4   Stephanie                                                                                              Johnson docx    Protected

                                                                                                                                                                                            Notes of confidential interview of Alicia-
                                                                                                                                                                                            Maria Domingues on August 20, 2020,
                                                                                                                                                                                            reflecting the collection of information
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                                                                                                                                                                                            theories of counsel and/or counsel's
              Standalone                               Douglas,                                                                                               Alicia Maria   Product
                                                                                                                                                                                            agents.
Log00248      Document           8/28/2020 Request 4   Stephanie                                                                                              Domingues.docx Protected


                                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                                            Anagha Apte on August 26, 2020,
                                                                                                                                                                                            reflecting the collection of information
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                                                                                                                                                                              Work
                                                                                                                                                                                            agents.
              Standalone                               Douglas,                                                                                               Anagha          Product
Log00249      Document           8/28/2020 Request 4   Stephanie                                                                                              Apte.docx       Protected




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              Attachment                     Request                                                                                                                              Basis


                                                                                                                                                                                            Notes of confidential interview of Vince
                                                                                                                                                                                            Castro and Brian Ross on August 25,
                                                                                                                                                                                            2020, reflecting the collection of
                                                                                                                                                                                            information for the purpose of rendering
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              Standalone                               Douglas,                                                                                               COntracts       Product
Log00250      Document           8/28/2020 Request 4   Stephanie                                                                                              Interviews.docx Protected

                                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                                            Carmen Orr, Jennifer Correa and Merav
                                                                                                                                                                                            Bar on August 27, 2020, reflecting the
                                                                                                                                                                                            collection of information for the purpose
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              Standalone                               Douglas,                                                                                               HR Interviews   Product
                                                                                                                                                                                            and/or counsel's agents.
Log00251      Document           8/28/2020 Request 4   Stephanie                                                                                              .docx           Protected


                                                                                                                                                                                            Notes of confidential interview of Karl
                                                                                                                                                                                            Barnhardt on August 21, 2020, reflecting
                                                                                                                                                                                            the collection of information for the
                                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                                            connection with assessment of policies,
                                                                                                                                                                                            procedures, and organization of Global
                                                                                                                                                                                            Security & Resiliency, prepared by
                                                                                                                                                                                            Guidepost Solutions at the direction of
                                                                                                                                                                              Attorney      counsel in anticipation of litigation, and
                                                                                                                                                                              Client        reflecting mental impressions,
                                                                                                                                                                              Privileged;   conclusions, opinions and/or legal
                                                                                                                                                                              Work          theories of counsel and/or counsel's
              Standalone                               Douglas,                                                                                               Karl Barnhardt Product        agents.
Log00252      Document           8/28/2020 Request 4   Stephanie                                                                                              2020 08.21 docx Protected




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 Log Number                       Date                   Author       From                     To                              CC           BCC   Subject**     Filename**                            Privilege Description
              Attachment                     Request                                                                                                                              Basis


                                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                                            Michelle Alford on August 21, 2020,
                                                                                                                                                                                            reflecting the collection of information
                                                                                                                                                                                            for the purpose of rendering legal advice
                                                                                                                                                                                            in connection with assessment of
                                                                                                                                                                                            policies, procedures, and organization of
                                                                                                                                                                                            Global Security & Resiliency, prepared by
                                                                                                                                                                                            Guidepost Solutions at the direction of
                                                                                                                                                                                            counsel in anticipation of litigation, and
                                                                                                                                                                              Attorney
                                                                                                                                                                                            reflecting mental impressions,
                                                                                                                                                                              Client
                                                                                                                                                                                            conclusions, opinions and/or legal
                                                                                                                                                                              Privileged;
                                                                                                                                                                                            theories of counsel and/or counsel's
                                                                                                                                                                              Work
                                                                                                                                                                                            agents.
              Standalone                               Douglas,                                                                                               Michelle        Product
Log00253      Document           8/28/2020 Request 4   Stephanie                                                                                              Alford.docx     Protected

                                                                                                                                                                                            Notes of confidential interview of Amir
                                                                                                                                                                                            Vonsover and Shannon Macauley on
                                                                                                                                                                                            August 20, 2020, reflecting the collection
                                                                                                                                                                                            of information for the purpose of
                                                                                                                                                                                            rendering legal advice in connection
                                                                                                                                                                                            with assessment of policies, procedures,
                                                                                                                                                                                            and organization of Global Security &
                                                                                                                                                                                            Resiliency, prepared by Guidepost
                                                                                                                                                                              Attorney
                                                                                                                                                                                            Solutions at the direction of counsel in
                                                                                                                                                                              Client
                                                                                                                                                                                            anticipation of litigation, and reflecting
                                                                                                                                                                              Privileged;
                                                                                                                                                                                            mental impressions, conclusions,
                                                                                                                                                              Shannon and     Work
                                                                                                                                                                                            opinions and/or legal theories of counsel
              Standalone                               Douglas,                                                                                               Amir            Product
                                                                                                                                                                                            and/or counsel's agents.
Log00254      Document           8/28/2020 Request 4   Stephanie                                                                                              Outline.docx    Protected


                                                                                                                                                                                            Notes of confidential interview of Aaron
                                                                                                                                                                                            Johnson on August 25, 2020, reflecting
                                                                                                                                                                                            the collection of information for the
                                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                                            connection with assessment of policies,
                                                                                                                                                                                            procedures, and organization of Global
                                                                                                                                                                                            Security & Resiliency, prepared by
                                                                                                                                                                                            Guidepost Solutions at the direction of
                                                                                                                                                                              Attorney      counsel in anticipation of litigation, and
                                                                                                                                                                              Client        reflecting mental impressions,
                                                                                                                                                              Aaron Johnson   Privileged;   conclusions, opinions and/or legal
                                                                                                                                                              Interview       Work          theories of counsel and/or counsel's
              Standalone                               Douglas,                                                                                               August 25,      Product       agents.
Log00255      Document           8/30/2020 Request 4   Stephanie                                                                                              2020 docx       Protected




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 Log Number                       Date                   Author       From                     To                              CC           BCC   Subject**     Filename**                              Privilege Description
              Attachment                     Request                                                                                                                                Basis


                                                                                                                                                                                              Notes of confidential interview of Aaron
                                                                                                                                                                                              Johnson on August 25, 2020, reflecting
                                                                                                                                                                                              the collection of information for the
                                                                                                                                                                                              purpose of rendering legal advice in
                                                                                                                                                                                              connection with assessment of policies,
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                                                                                                                                                                                              counsel in anticipation of litigation, and
                                                                                                                                                                                Attorney
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                                                                                                                                                                                Work
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              Standalone                               Douglas,                                                                                               Aaron Johnson     Product
Log00256      Document           8/30/2020 Request 4   Stephanie                                                                                              Interview.docx    Protected
                                                                                                                                                                                              Notes of confidential interview of
                                                                                                                                                                                              Anagha Apte on August 26, 2020,
                                                                                                                                                                                              reflecting the collection of information
                                                                                                                                                                                              for the purpose of rendering legal advice
                                                                                                                                                                                              in connection with assessment of
                                                                                                                                                                                              policies, procedures, and organization of
                                                                                                                                                                                              Global Security & Resiliency, prepared by
                                                                                                                                                                                Attorney      Guidepost Solutions at the direction of
                                                                                                                                                                                Client        counsel in anticipation of litigation, and
                                                                                                                                                              Anagha Apte       Privileged;   reflecting mental impressions,
                                                                                                                                                              Interview         Work          conclusions, opinions and/or legal
              Standalone                               Douglas,                                                                                               August 26,        Product       theories of counsel and/or counsel's
Log00257      Document           8/30/2020 Request 4   Stephanie                                                                                              2020 docx         Protected     agents.
                                                                                                                                                                                              Notes of confidential interview of Dan
                                                                                                                                                                                              Cory on August 12, 2020, reflecting the
                                                                                                                                                                                              collection of information for the purpose
                                                                                                                                                                                              of rendering legal advice in connection
                                                                                                                                                                                              with assessment of policies, procedures,
                                                                                                                                                                                              and organization of Global Security &
                                                                                                                                                                                              Resiliency, prepared by Guidepost
                                                                                                                                                                                Attorney
                                                                                                                                                                                              Solutions at the direction of counsel in
                                                                                                                                                              Dan Cory          Client
                                                                                                                                                                                              anticipation of litigation, and reflecting
                                                                                                                                                              Interview         Privileged;
                                                                                                                                                                                              mental impressions, conclusions,
                                                                                                                                                              August 12, 2020   Work
                                                                                                                                                                                              opinions and/or legal theories of counsel
              Standalone                               Douglas,                                                                                               400 PM            Product
                                                                                                                                                                                              and/or counsel's agents.
Log00258      Document           8/30/2020 Request 4   Stephanie                                                                                              EST.docx          Protected




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UNITED STATES V. BAUGH, ET AL.
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 Log Number                       Date                   Author       From                     To                              CC           BCC   Subject**     Filename**                            Privilege Description
              Attachment                     Request                                                                                                                              Basis


                                                                                                                                                                                            Notes of confidential interview of Dan
                                                                                                                                                                                            Cory on September 1, 2020, reflecting
                                                                                                                                                                                            the collection of information for the
                                                                                                                                                                                            purpose of rendering legal advice in
                                                                                                                                                                                            connection with assessment of policies,
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                                                                                                                                                                                            Security & Resiliency, prepared by
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                                                                                                                                                                              Attorney      counsel in anticipation of litigation, and
                                                                                                                                                                              Client        reflecting mental impressions,
                                                                                                                                                                              Privileged;   conclusions, opinions and/or legal
                                                                                                                                                                              Work          theories of counsel and/or counsel's
              Standalone                               Douglas,                                                                                               Dan 2           Product       agents.
Log00259      Document           8/31/2020 Request 4   Stephanie                                                                                              08.31.2020 docx Protected
                                                                                                                                                                                            Notes of confidential interview of
                                                                                                                                                                                            Andrew Phelan on August 11, 2020,
                                                                                                                                                                                            reflecting the collection of information
                                                                                                                                                                                            for the purpose of rendering legal advice
                                                                                                                                                                                            in connection with assessment of
                                                                                                                                                                                            policies, procedures, and organization of
                                                                                                                                                                                            Global Security & Resiliency, prepared by
                                                                                                                                                                              Attorney      Guidepost Solutions at the direction of
                                                                                                                                                                              Client        counsel in anticipation of litigation, and
                                                                                                                                                              Interview with Privileged;    reflecting mental impressions,
                                                                                                                                                              A. Phelan       Work          conclusions, opinions and/or legal
              Standalone                               Douglas,                                                                                               August 11, 2020 Product       theories of counsel and/or counsel's
Log00260      Document            9/2/2020 Request 4   Stephanie                                                                                              eBay docx       Protected     agents.


                                                                                                                                                                                            Notes of confidential interview of Dan
                                                                                                                                                                                            Cory on September 1, 2020, reflecting
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                                                                                                                                                                                            counsel in anticipation of litigation, and
                                                                                                                                                                              Attorney
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                                                                                                                                                                              Client
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                                                                                                                                                              Interview with Privileged;
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                                                                                                                                                              Dan Cory (Part Work
                                                                                                                                                                                            agents.
              Standalone                               Douglas,                                                                                               2)              Product
Log00261      Document            9/2/2020 Request 4   Stephanie                                                                                              09.01.2020 docx Protected




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 Log Number                      Date                   Author        From                     To                              CC           BCC   Subject**     Filename**                             Privilege Description
              Attachment                    Request                                                                                                                                Basis


                                                                                                                                                                                             Notes of confidential interview of Dan
                                                                                                                                                                                             Cory on September 1, 2020, reflecting
                                                                                                                                                                                             the collection of information for the
                                                                                                                                                                                             purpose of rendering legal advice in
                                                                                                                                                                                             connection with assessment of policies,
                                                                                                                                                                                             procedures, and organization of Global
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                                                                                                                                                              Dan Cory (Part Work
                                                                                                                                                                                             agents.
              Standalone                              Douglas,                                                                                                2)09.01.2020.do Product
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                                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                                             Gurneet Jandir on August 27, 2020,
                                                                                                                                                                                             reflecting the collection of information
                                                                                                                                                                                             for the purpose of rendering legal advice
                                                                                                                                                                                             in connection with assessment of
                                                                                                                                                                                             policies, procedures, and organization of
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                                                                                                                                                                                             conclusions, opinions and/or legal
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                                                                                                                                                              Interview        Work
                                                                                                                                                                                             agents.
              Standalone                              Osborne,                                                                                                Gurneet          Product
Log00263      Document           9/2/2020 Request 4   Angela                                                                                                  Jandir docx      Protected


                                                                                                                                                                                             Notes of confidential interview of
                                                                                                                                                                                             Gurneet Jandir on August 27, 2020,
                                                                                                                                                                                             reflecting the collection of information
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                                                                                                                                                                               Attorney      counsel in anticipation of litigation, and
                                                                                                                                                                               Client        reflecting mental impressions,
                                                                                                                                                              Interview        Privileged;   conclusions, opinions and/or legal
                                                                                                                                                              Gurneet Jandir   Work          theories of counsel and/or counsel's
              Standalone                              Osborne,                                                                                                August 27,       Product       agents.
Log00264      Document           9/2/2020 Request 4   Angela                                                                                                  2020 docx        Protected




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                                                                                                                                                                                                      Notes of confidential interview of
                                                                                                                                                                                                      Michelle Alford on August 21, 2020,
                                                                                                                                                                                                      reflecting the collection of information
                                                                                                                                                                                                      for the purpose of rendering legal advice
                                                                                                                                                                                                      in connection with assessment of
                                                                                                                                                                                                      policies, procedures, and organization of
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                                                                                                                                                                                        Attorney      counsel in anticipation of litigation, and
                                                                                                                                                                                        Client        reflecting mental impressions,
                                                                                                                                                                        Interview       Privileged;   conclusions, opinions and/or legal
                                                                                                                                                                        Michelle Alford Work          theories of counsel and/or counsel's
              Standalone                               Douglas,                                                                                                         eBay August 21, Product       agents.
Log00265      Document            9/2/2020 Request 4   Stephanie                                                                                                        2020 docx       Protected

                                                                                                                                                                                                      Notes of confidential interview of Ryan
                                                                                                                                                                                                      Moore on September 13, 2019, attended
                                                                                                                                                                                                      by Andy Phelan, Colin West, Amir
                                                                                                                                                                                                      Vonsover, and Ryan Moore reflecting
                                                                                                                                                                                                      the collection of information for the
                                                                                                                                                                                                      purpose of rendering legal advice in
                                                                                                                                                                                                      connection with eBay internal
                                                                                                                                                                                                      investigation after Natick events,
                                                                                                                                                                                        Attorney
                                                                                                                                                                                                      prepared by counsel in anticipation of
                                                                                                                                                                                        Client
                                                                                                                                                                                                      litigation, and reflecting mental
                                                                                                                                                                        2019 09.13 Ryan Privileged;
                                                                                                                                                                                                      impressions, conclusions, opinions
                                                                                                                                                                        Moore           Work
                                                                                                                                                                                                      and/or legal theories of counsel and/or
              Standalone                                                                                                                                                Interview       Product
                                                                                                                                                                                                      counsel's.
Log00266      Document           11/2/2021 Request 4                                                                                                                    (ML).docx       Protected


                                                                                     Wenig, Devin [REDACTED] ;
                                                                                     Lee, Jay [REDACTED]
                                                                                     Fisher, Steve
                                                                                     [REDACTED] ; Yetto,
                                                                                     Kristin[REDACTED] ;                                               UPDATED                                        Email from company employee to
                                                                                     Miller, Kris                                                      MEDIA                                          counsel providing information to allow
                                                                                     [REDACTED]             ; Coppo,                                   COVERAGE:                                      for the rendering of legal advice
                                                                                     Alessandro [REDACTED]            ;                                EBAY EVOLVES                                   regarding evaluation of media reports,
                                                                                     Singh Cassidy, Sukhinder                                          REGIONAL                                       articles, or posts concerning eBay and
                                                                                     [REDACTED]                  ;                                     MARKET                                         regarding shareholder activism matters.
                                                                                     Schenkel, Scott                                                   ORGANIZATIO
                                                                                     [REDACTED]              ; Huber,                                  N - February
                                                                                     Marie [REDACTED]                                                  15, 2019 as of                   Attorney
              Standalone                               Wymer,      Wymer, Steve      Jones, Wendy                                                      9:30 AM PT /                     Client
Log00267      Document           2/15/2019 Request 6   Steve       [REDACTED]        [REDACTED]                                                        12:30 PM EST                     Privileged
                                                                                                                                                       RE: eBay Open                                  Email chain between company
                                                                                                                                                       2019 Coverage                    Attorney      employees discussing legal advice
              Standalone                               Schenkel,   Schenkel, Scott   Wymer, Steve                                                      Snapshot - Day                   Client        regarding general corporate matters.
Log00268      Document           7/29/2019 Request 6   Scott       [REDACTED]        [REDACTED]                                                        2                                Privileged




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              Attachment                     Request                                                                                                                                         Basis
                                                                                                                                                                                         Attorney
                                                                                                                                                                                         Client        Email from in-house counsel providing
                                                                                                                                                                                         Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                         Work          investigation after Natick events and
              Standalone                               Vonsover,   Vonsover, Amir                                                                                                        Product       prepared in anticipation of litigation.
Log00269      Document           8/28/2019 Request 6   Amir        [REDACTED]        Finn, Molly[REDACTED]                                                Draft email                    Protected
                                                                                                                                                                                         Attorney      Email chain from in-house counsel
                                                                                                                                                                                         Client        providing and discussing legal advice
                                                                                                                                                                                         Privileged;   regarding eBay internal investigation
                                                                                                                                                                                         Work          after Natick events and prepared in
              Standalone                               Vonsover,   Vonsover, Amir                                                                                                        Product       anticipation of litigation.
Log00270      Document           8/29/2019 Request 6   Amir        [REDACTED]        Finn, Molly[REDACTED]                                                Re: Draft email                Protected

                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                     Phelan, Andrew C.                                                                                                 and outside counsel providing
                                                                                     [REDACTED]                                                           FW:                                          information to allow for the rendering of
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                 Attorney      legal advice regarding eBay internal
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                  Client        investigation after Natick events.
Log00271      Document           8/30/2019 Request 6   Amir        [REDACTED]                                           Finn, Molly [REDACTED]            Follow Up                      Privileged

                                                                                     Finn, Molly [REDACTED]                                                                                            Email chain between in-house counsel
                                                                                     Phelan, Andrew C.                                                                                                 and outside counsel providing
                                                                                     [REDACTED]                                                           FW:                                          information to allow for the rendering of
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                 Attorney      legal advice regarding eBay internal
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                  Client        investigation after Natick events.
Log00272      Document           8/30/2019 Request 6   Amir        [REDACTED]                                                                             Follow Up                      Privileged

                                                                                     Finn, Molly [REDACTED]                                                                                            Email chain between in-house counsel
                                                                                     Phelan, Andrew C.                                                                                                 and outside counsel providing
                                                                                     [REDACTED]                                                           Re:                                          information to allow for the rendering of
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                 Attorney      legal advice regarding eBay internal
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                  Client        investigation after Natick events.
Log00273      Document           8/30/2019 Request 6   Amir        [REDACTED]                                                                             Follow Up                      Privileged

                                                                                     Finn, Molly [REDACTED]                                                                                            Email chain between in-house counsel
                                                                                     Phelan, Andrew C.                                                                                                 and outside counsel providing
                                                                                     [REDACTED]                                                           Re:                                          information to allow for the rendering of
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                 Attorney      legal advice regarding eBay internal
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                  Client        investigation after Natick events.
Log00274      Document           8/30/2019 Request 6   Amir        [REDACTED]                                                                             Follow Up                      Privileged

                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                     Finn, Molly [REDACTED]                                                                              Attorney      and outside counsel providing
                                                                                     Phelan, Andrew C.                                                                                   Client        information to allow for the rendering of
                                                                                     [REDACTED]                                                           Re:                            Privileged;   legal advice regarding eBay internal
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                 Work          investigation after Natick events and
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                  Product       prepared in anticipation of litigation.
Log00275      Document           8/30/2019 Request 6   Amir        [REDACTED]                                                                             Follow Up                      Protected




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              Attachment                     Request                                                                                                                                        Basis


                                                                                     Finn, Molly [REDACTED]                                                                                           Email chain between in-house counsel
                                                                                     Phelan, Andrew C.                                                                                                and outside counsel providing
                                                                                     [REDACTED]                                                           FW:                                         information to allow for the rendering of
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                Attorney      legal advice regarding eBay internal
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                 Client        investigation after Natick events.
Log00276      Document           8/30/2019 Request 6   Amir        [REDACTED]                                                                             Follow Up                     Privileged


                                                                                     Finn, Molly [REDACTED]
                                                                                     Macauley, Shannon                                                                                                Email chain between in-house counsel
                                                                                     [REDACTED]               Phelan, Connor, Bryan M.                                                  Attorney      and outside counsel requesting and
                                                                                     Andrew C.                        [REDACTED]                                                        Client        providing legal advice regarding eBay
                                                                                     [REDACTED]                       Mundell, Jordan                     Re:                           Privileged;   internal investigation after Natick events
                                                                                        ; Shaulson, Samuel S.         [REDACTED]                          Confidential -                Work          and prepared in anticipation of litigation.
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                       West, Colin C.                      Investigation                 Product
Log00277      Document           8/30/2019 Request 6   Amir        [REDACTED]                                           [REDACTED]                        Follow Up                     Protected

                                                                                     Finn, Molly [REDACTED]
                                                                                     Macauley, Shannon                                                                                                Email chain between in-house counsel
                                                                                     [REDACTED]          Phelan,                                                                                      and outside counsel providing
                                                                                     Andrew C.                                                                                                        information to allow for the rendering of
                                                                                     [REDACTED]                                                           Fwd:                                        legal advice regarding eBay internal
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                Attorney      investigation after Natick events.
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                 Client
Log00278      Document           8/30/2019 Request 6   Amir        [REDACTED]                                                                             Follow Up                     Privileged

                                                                                     Finn, Molly [REDACTED]
                                                                                     Macauley, Shannon                                                                                                Email chain between in-house counsel
                                                                                     [REDACTED]          Phelan,                                                                                      and outside counsel providing
                                                                                     Andrew C.                                                                                                        information to allow for the rendering of
                                                                                     [REDACTED]                                                           Re:                                         legal advice regarding eBay internal
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                Attorney      investigation after Natick events.
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                 Client
Log00279      Document           8/30/2019 Request 6   Amir        [REDACTED]                                                                             Follow Up                     Privileged

                                                                                     Finn, Molly [REDACTED]
                                                                                                                                                                                                      Email chain between in-house counsel
                                                                                     Macauley, Shannon
                                                                                                                                                                                                      and outside counsel providing
                                                                                     [REDACTED]          Phelan,                                                                        Attorney
                                                                                                                                                                                                      information to allow for the rendering of
                                                                                     Andrew C.                                                                                          Client
                                                                                                                                                                                                      legal advice regarding eBay internal
                                                                                     [REDACTED]                                                           FW:                           Privileged;
                                                                                                                                                                                                      investigation after Natick events and
                                                                                           ; Shaulson, Samuel S.                                          Confidential -                Work
                                                                                                                                                                                                      prepared in anticipation of litigation.
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                                                           Investigation                 Product
Log00280      Document           8/30/2019 Request 6   Amir        [REDACTED]                                                                             Follow Up                     Protected

                                                                                     Finn, Molly [REDACTED]
                                                                                     Macauley, Shannon                                                                                                Email chain between in-house counsel
                                                                                     [REDACTED]               Phelan, Connor, Bryan M.                                                  Attorney      and outside counsel requesting and
                                                                                     Andrew C.                        [REDACTED]                                                        Client        providing legal advice regarding eBay
                                                                                     [REDACTED]                       Mundell, Jordan                     Re:                           Privileged;   internal investigation after Natick events
                                                                                        ; Shaulson, Samuel S.         [REDACTED]                          Confidential -                Work          and prepared in anticipation of litigation.
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                       West, Colin C.                      Investigation                 Product
Log00281      Document           8/30/2019 Request 6   Amir        [REDACTED]                                           [REDACTED]                        Follow Up                     Protected




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              Attachment                     Request                                                                                                                                            Basis
                                                                                          Vonsover, Amir
                                                                                          [REDACTED]                 Phelan,
                                                                                                                                                                                                          Email chain between in-house counsel
                                                                                          Andrew C.
                                                                                                                                                                                                          and outside counsel providing
                                                                                          [REDACTED]                           West, Colin C.                                               Attorney
                                                                                                                                                                                                          information to allow for the rendering of
                                                                                             ; Macauley, Shannon               [REDACTED]                                                   Client
                                                                                                                                                                                                          legal advice regarding eBay internal
                                                                                          [REDACTED]                           Connor, Bryan M.              Re:                            Privileged;
                                                                                                                                                                                                          investigation after Natick events and
                                                                                          Shaulson, Samuel S.                  [REDACTED]                    Confidential -                 Work
                                                                                                                                                                                                          prepared in anticipation of litigation.
              Standalone                                             Finn, Molly          [REDACTED]                           Mundell, Jordan               Investigation                  Product
Log00282      Document           8/30/2019 Request 6   Finn, Molly   [REDACTED]                                                [REDACTED]                    Follow Up                      Protected

                                                                                          Finn, Molly [REDACTED]
                                                                                          Macauley, Shannon                                                                                               Email chain between in-house counsel
                                                                                          [REDACTED]               Phelan, Connor, Bryan M.                                                 Attorney      and outside counsel requesting and
                                                                                          Andrew C.                        [REDACTED]                                                       Client        providing legal advice regarding eBay
                                                                                          [REDACTED]                       Mundell, Jordan                   Re:                            Privileged;   internal investigation after Natick events
                                                                                             ; Shaulson, Samuel S.         [REDACTED]                        Confidential -                 Work          and prepared in anticipation of litigation.
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]                       West, Colin C.                    Investigation                  Product
Log00283      Document           8/30/2019 Request 6   Amir          [REDACTED]                                                [REDACTED]                    Follow Up                      Protected

                                                                                          Finn, Molly [REDACTED]
                                                                                          Macauley, Shannon                                                                                               Email chain between in-house counsel
                                                                                          [REDACTED]          Phelan,                                                                                     and outside counsel providing
                                                                                          Andrew C.                                                                                                       information to allow for the rendering of
                                                                                          [REDACTED]                                                         Fwd:                                         legal advice regarding eBay internal
                                                                                             ; Shaulson, Samuel S.                                           Confidential -                 Attorney      investigation after Natick events.
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]                                                         Investigation                  Client
Log00284      Document           8/30/2019 Request 6   Amir          [REDACTED]                                                                              Follow Up                      Privileged


                                                                                                                                                                                                          Email between in-house counsel and
                                                                                                                                                                                                          outside counsel requesting and
                                                                                                                                                                                                          providing legal advice regarding eBay
                                                                                                                                                                                                          internal investigation after Natick events
                                                                                          Finn, Molly [REDACTED]
                                                                                                                                                                                                          and regarding eBay response to law
                                                                                          Macauley, Shannon
                                                                                                                                                                                                          enforcement investigations after Natick
                                                                                          [REDACTED]          Phelan,                                                                       Attorney
                                                                                                                                                                                                          events and regarding
                                                                                          Andrew C.                                                                                         Client
                                                                                                                                                                                                          employment/personnel matters and/or
                                                                                          [REDACTED]                                                                                        Privileged;
                                                                                                                                                                                                          actions after Natick events and prepared
                                                                                             ; Shaulson, Samuel S.                                           Privileged:                    Work
                                                                                                                                                                                                          in anticipation of litigation.
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]                                                         Next Steps on                  Product
Log00285      Document            9/1/2019 Request 6   Amir          [REDACTED]                                                                              Project Lewis                  Protected


                                                                                                                                                                                                          Email chain between in-house counsel
                                                                                                                                                                                                          and outside counsel requesting and
                                                                                                                                                                                                          providing legal advice regarding eBay
                                                                                                                                                                                                          internal investigation after Natick events
                                                                                                                               Connor, Bryan M.
                                                                                                                                                                                                          and regarding eBay response to law
                                                                                                                               [REDACTED]
                                                                                                                                                                                                          enforcement investigations after Natick
                                                                                          Finn, Molly [REDACTED]      Mundell, Jordan                                                       Attorney
                                                                                                                                                                                                          events and regarding
                                                                                          Macauley, Shannon           [REDACTED]                                                            Client
                                                                                                                                                                                                          employment/personnel matters and/or
                                                                                          [REDACTED]          Phelan, Shaulson, Samuel S.                                                   Privileged;
                                                                                                                                                                                                          actions after Natick events and prepared
                                                                                          Andrew C.                   [REDACTED]                             Re: Privileged:                Work
                                                                                                                                                                                                          in anticipation of litigation.
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]                  West, Colin C.                         Next Steps on                  Product
Log00286      Document            9/1/2019 Request 6   Amir          [REDACTED]                                                [REDACTED]                    Project Lewis                  Protected




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              Attachment                    Request                                                                                                                                             Basis

                                                                                                                                                                                                          Email chain between in-house counsel
                                                                                                                                                                                                          and outside counsel providing and
                                                                                                                                                                                                          discussing legal advice regarding eBay
                                                                                                                                                                                            Attorney      internal investigation after Natick events
                                                                                                                                                                                            Client        and regarding employment/personnel
                                                                                                                                                                                            Privileged;   matters and/or actions after Natick
                                                                                                                                                          Re: Privileged:                   Work          events and prepared in anticipation of
              Standalone                                            Finn, Molly          Vonsover, Amir                 Macauley, Shannon                 Next Steps on                     Product       litigation.
Log00287      Document           9/1/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                     [REDACTED]                        Project Lewis                     Protected

                                                                                                                                                                                                          Email chain between in-house counsel
                                                                                                                        Connor, Bryan M.                                                                  and outside counsel requesting and
                                                                                                                        [REDACTED]                                                                        providing legal advice regarding eBay
                                                                                         Finn, Molly [REDACTED]      Mundell, Jordan                                                        Attorney      internal investigation after Natick events
                                                                                         Macauley, Shannon           [REDACTED]                                                             Client        and regarding employment/personnel
                                                                                         [REDACTED]          Phelan, Shaulson, Samuel S.                                                    Privileged;   matters and/or actions after Natick
                                                                                         Andrew C.                   [REDACTED]                           Re: Privileged:                   Work          events and prepared in anticipation of
              Standalone                              Vonsover,     Vonsover, Amir       [REDACTED]                  West, Colin C.                       Next Steps on                     Product       litigation.
Log00288      Document           9/1/2019 Request 6   Amir          [REDACTED]                                          [REDACTED]                        Project Lewis                     Protected
                                                                                         Finn, Molly [REDACTED]
                                                                                         Huber, Marie                                                                                                     Email between in-house counsel and
                                                                                         [REDACTED]        Phelan,                                                                                        outside counsel providing and discussing
                                                                                         Andrew C.                                                                                          Attorney      legal advice regarding eBay internal
                                                                                         [REDACTED]                                                                                         Client        investigation after Natick events and
                                                                                           ; Shaulson, Samuel S.                                                                            Privileged;   regarding corporate communications
                                                                                         [REDACTED]                                                       Project Lewis -                   Work          after Natick events and prepared in
                                                      Johnson,      Johnson, Aaron         Vonsover, Amir                                                 holding                           Product       anticipation of litigation.
Log00289      Parent             9/2/2019 Request 6   Aaron         [REDACTED]           [REDACTED]                                                       statement                         Protected

                                                                                                                                                                            DRAFT Lewis     Attorney      Draft document prepared at the
                                                                                                                                                                            Leak Scenario   Client        direction of counsel providing
                                                                                                                                                                            Holding         Privileged;   information to allow for the rendering of
                                                                                                                                                                            Statement       Work          legal advice and prepared in
                                                                                                                                                                            (01121521-      Product       anticipation of litigation.
Log00290      Attachment         9/2/2019 Request 6                                                                                                                         8xA26CA) docx   Protected
                                                                                                                                                                                            Attorney
                                                                                                                                                                                            Client        Email from in-house counsel reflecting
                                                                                                                                                                                            Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                            Work          investigation after Natick events and
              Standalone                              Vonsover,     Vonsover, Amir       Huber, Marie                                                     Draft message                     Product       prepared in anticipation of litigation.
Log00291      Document           9/2/2019 Request 6   Amir          [REDACTED]           [REDACTED]                     Finn, Molly [REDACTED]            to DW                             Protected
                                                                                                                                                                                            Attorney
                                                                                                                                                                                            Client        Email chain from in-house counsel
                                                                                                                                                                                            Privileged;   reflecting legal advice regarding eBay
                                                                                                                                                                                            Work          internal investigation after Natick events
              Standalone                              Huber,        Huber, Marie         Vonsover, Amir                                                   FW: Privileged                    Product       and prepared in anticipation of litigation.
Log00292      Document           9/2/2019 Request 6   Marie         [REDACTED]           [REDACTED]                     Finn, Molly [REDACTED]            & Confidential                    Protected

                                                                                                                                                                                            Attorney      Email chain from in-house counsel
                                                                                                                                                                                            Client        providing and discussing legal advice
                                                                                                                                                                                            Privileged;   regarding eBay internal investigation
                                                                                                                                                                                            Work          after Natick events and prepared in
              Standalone                              Huber,        Huber, Marie         Vonsover, Amir                                                   RE: Privileged                    Product       anticipation of litigation.
Log00293      Document           9/2/2019 Request 6   Marie         [REDACTED]           [REDACTED]                     Finn, Molly [REDACTED]            & Confidential                    Protected




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              Attachment                    Request                                                                                                                                         Basis
                                                                                                                                                                                        Attorney
                                                                                                                                                                                        Client        Email chain from in-house counsel
                                                                                                                                                                                        Privileged;   providing legal advice regarding eBay
                                                                                         Huber, Marie                                                                                   Work          internal investigation after Natick events
              Standalone                                            Finn, Molly          [REDACTED]      Vonsover,                                        Re: Privileged                Product       and prepared in anticipation of litigation.
Log00294      Document           9/2/2019 Request 6   Finn, Molly   [REDACTED]           Amir [REDACTED]                                                  & Confidential                Protected

                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                          Re: Risk                                    company representative(s) requesting
                                                                                                                                                          Committee                                   legal advice regarding eBay internal
                                                                                                                                                          Meeting                       Attorney      investigation after Natick events and
              Standalone                              Huber,        Huber, Marie                                                                          Agenda -                      Client        regarding general corporate matters.
Log00295      Document           9/3/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                           September 17                  Privileged
                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                          Re: Risk                                    company representative(s) providing
                                                                                                                                                          Committee                                   and discussing legal advice regarding
                                                                                                                                                          Meeting                       Attorney      eBay internal investigation after Natick
              Standalone                                            Finn, Molly          Huber, Marie                                                     Agenda -                      Client        events and regarding general corporate
Log00296      Document           9/3/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       September 17                  Privileged    matters.

                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                          Re: Risk                                    company representative(s) providing
                                                                                                                                                          Committee                                   and discussing legal advice regarding
                                                                                                                                                          Meeting                       Attorney      eBay internal investigation after Natick
              Standalone                              Huber,        Huber, Marie                                                                          Agenda -                      Client        events and regarding general corporate
Log00297      Document           9/3/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                           September 17                  Privileged    matters.

                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                          Re: Risk                                    company representative(s) providing
                                                                                                                                                          Committee                                   and discussing legal advice regarding
                                                                                                                                                          Meeting                       Attorney      eBay internal investigation after Natick
              Standalone                                            Finn, Molly          Huber, Marie                                                     Agenda -                      Client        events and regarding general corporate
Log00298      Document           9/3/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       September 17                  Privileged    matters.

                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                          Re: Risk                                    company representative(s) providing
                                                                                                                                                          Committee                                   and discussing legal advice regarding
                                                                                                                                                          Meeting                       Attorney      eBay internal investigation after Natick
              Standalone                              Huber,        Huber, Marie                                                                          Agenda -                      Client        events and regarding general corporate
Log00299      Document           9/3/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                           September 17                  Privileged    matters.

                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                                                                      company representative(s) providing
                                                                                                                                                          Re: Risk
                                                                                                                                                                                                      and discussing legal advice regarding
                                                                                                                                                          Committee
                                                                                                                                                                                                      eBay internal investigation after Natick
                                                                                                                                                          Meeting                       Attorney
                                                                                                                                                                                                      events and regarding general corporate
              Standalone                                            Finn, Molly          Huber, Marie                                                     Agenda -                      Client
                                                                                                                                                                                                      matters.
Log00300      Document           9/3/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       September 17                  Privileged




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 Log Number                      Date                   Author                    From                   To                                     CC                 BCC     Subject**         Filename**                            Privilege Description
              Attachment                    Request                                                                                                                                                            Basis
                                                                                                                                                                                                                         Email chain from in-house counsel
                                                                                                                                                                                                           Attorney      providing and discussing legal advice
                                                                                                                                                                                                           Client        regarding eBay internal investigation
                                                                                                                                                                                                           Privileged;   after Natick events and regarding
                                                                                                                                                                         FW: Project                       Work          corporate communications after Natick
                                                                    Finn, Molly          Huber, Marie                                                                    Lewis - holding                   Product       events and prepared in anticipation of
Log00301      Parent             9/3/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                                      statement                         Protected     litigation.

                                                                                                                                                                                           DRAFT Lewis     Attorney      Draft document prepared at the
                                                                                                                                                                                           Leak Scenario   Client        direction of counsel providing
                                                                                                                                                                                           Holding         Privileged;   information to allow for the rendering of
                                                                                                                                                                                           Statement       Work          legal advice and prepared in
                                                                                                                                                                                           (01121521-      Product       anticipation of litigation.
Log00302      Attachment         9/3/2019 Request 6                                                                                                                                        8xA26CA) docx   Protected


                                                                                         Macauley, Shannon                   Connor, Bryan M.                                                                            Email chain between in-house counsel
                                                                                         [REDACTED]                Phelan,   [REDACTED]                                                                    Attorney      and outside counsel providing and
                                                                                         Andrew C.                           Mundell, Jordan                                                               Client        discussing legal advice regarding eBay
                                                                                         [REDACTED]                          [REDACTED]                                  Re: Atty/Client                   Privileged;   internal investigation after Natick events
                                                                                             Shaulson, Samuel S.             Vonsover, Amir                              Privilege -                       Work          and prepared in anticipation of litigation.
              Standalone                                            Finn, Molly          [REDACTED]                          [REDACTED]              West, Colin         Fitzgerald                        Product
Log00303      Document           9/4/2019 Request 6   Finn, Molly   [REDACTED]                                               C. [REDACTED]                               Phone                             Protected

                                                                                         Macauley, Shannon                   Connor, Bryan M.
                                                                                                                                                                                                                         Email chain between in-house counsel
                                                                                         [REDACTED]                Phelan,   [REDACTED]                                                                    Attorney
                                                                                                                                                                                                                         and outside counsel requesting and
                                                                                         Andrew C.                           Finn, Molly [REDACTED]                                                        Client
                                                                                                                                                                                                                         providing legal advice regarding eBay
                                                                                         [REDACTED]                          Mundell, Jordan                             Re: Atty/Client                   Privileged;
                                                                                                                                                                                                                         internal investigation after Natick events
                                                                                             Shaulson, Samuel S.             [REDACTED]                                  Privilege -                       Work
                                                                                                                                                                                                                         and prepared in anticipation of litigation.
              Standalone                              Vonsover,     Vonsover, Amir       [REDACTED]                          West, Colin C.                              Fitzgerald                        Product
Log00304      Document           9/4/2019 Request 6   Amir          [REDACTED]                                               [REDACTED]                                  Phone                             Protected

                                                                                         Macauley, Shannon
                                                                                         [REDACTED]                Phelan,                                                                                               Email chain between in-house counsel
                                                                                         Andrew C.                           Connor, Bryan M.                                                              Attorney      and outside counsel providing and
                                                                                         [REDACTED]                          [REDACTED]                                                                    Client        discussing legal advice regarding eBay
                                                                                             Shaulson, Samuel S.             Mundell, Jordan                             Re: Atty/Client                   Privileged;   internal investigation after Natick events
                                                                                         [REDACTED]                          [REDACTED]                                  Privilege -                       Work          and prepared in anticipation of litigation.
              Standalone                                            Finn, Molly            Vonsover, Amir                    West, Colin C.                              Fitzgerald                        Product
Log00305      Document           9/4/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                          [REDACTED]                                  Phone                             Protected


                                                                                         Finn, Molly [REDACTED]
                                                                                         Macauley, Shannon                                                                                                               Email chain between in-house counsel
                                                                                         [REDACTED]              Phelan, Connor, Bryan M.                                                                  Attorney      and outside counsel requesting and
                                                                                         Andrew C.                       [REDACTED]                                                                        Client        providing legal advice regarding eBay
                                                                                         [REDACTED]                      Mundell, Jordan                                 Re: Atty/Client                   Privileged;   internal investigation after Natick events
                                                                                             Shaulson, Samuel S.         [REDACTED]                                      Privilege -                       Work          and prepared in anticipation of litigation.
              Standalone                              Vonsover,     Vonsover, Amir       [REDACTED]                      West, Colin C.                                  Fitzgerald                        Product
Log00306      Document           9/4/2019 Request 6   Amir          [REDACTED]                                               [REDACTED]                                  Phone                             Protected




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 Log Number                      Date                   Author                    From                    To                            CC           BCC     Subject**       Filename**                           Privilege Description
              Attachment                    Request                                                                                                                                           Basis


                                                                                                                                                                                                        Email chain between in-house counsel
                                                                                                                                                                                          Attorney
                                                                                                                                                                                                        and outside counsel requesting and
                                                                                         Finn, Molly [REDACTED]                                                                           Client
                                                                                                                                                                                                        providing legal advice regarding eBay
                                                                                         Phelan, Andrew C.                                                 Re: Atty/Client                Privileged;
                                                                                                                                                                                                        internal investigation after Natick events
                                                                                         [REDACTED]                                                        Privilege -                    Work
                                                                                                                                                                                                        and prepared in anticipation of litigation.
              Standalone                              Vonsover,     Vonsover, Amir           West, Colin C.                                                Fitzgerald                     Product
Log00307      Document           9/4/2019 Request 6   Amir          [REDACTED]           [REDACTED]                                                        Phone                          Protected
                                                                                                                                                                                          Attorney
                                                                                                                                                                                                        Email chain from in-house counsel
                                                                                                                                                                                          Client
                                                                                                                                                                                                        requesting and providing legal advice
                                                                                                                                                           Fwd:                           Privileged;
                                                                                                                                                                                                        regarding eBay internal investigation
                                                                                                                                                           CONFIDENTIAL                   Work
                                                                                                                                                                                                        after Natick events and prepared in
              Standalone                              Vonsover,     Vonsover, Amir       Ricupero, Kara                                                    Cell Phone                     Product
                                                                                                                                                                                                        anticipation of litigation.
Log00308      Document           9/4/2019 Request 6   Amir          [REDACTED]           [REDACTED]                      Finn, Molly [REDACTED]            Check                          Protected
                                                                                         Connor, Bryan M.
                                                                                         [REDACTED]
                                                                                           Macauley, Shannon
                                                                                         [REDACTED]                                                                                                     Email chain between in-house counsel
                                                                                         Mundell, Jordan                                                                                                and outside counsel providing
                                                                                         [REDACTED]                                                                                                     information to allow for the rendering of
                                                                                            ; Phelan, Andrew C.                                                                           Attorney      legal advice regarding eBay internal
                                                                                         [REDACTED]                                                                                       Client        investigation after Natick events and
                                                                                             Shaulson, Samuel S.                                           Re:                            Privileged;   prepared in anticipation of litigation.
                                                                                         [REDACTED]                                                        CONFIDENTIAL                   Work
              Standalone                              Vonsover,     Vonsover, Amir         West, Colin C.                                                  Cell Phone                     Product
Log00309      Document           9/4/2019 Request 6   Amir          [REDACTED]           [REDACTED]                      Finn, Molly [REDACTED]            Check                          Protected

                                                                                                                                                                                          Attorney      Email chain from in-house counsel
                                                                                                                                                                                          Client        requesting and providing legal advice
                                                                                         Ricupero, Kara                                                    Re:                            Privileged;   regarding eBay internal investigation
                                                                                         [REDACTED]                                                        CONFIDENTIAL                   Work          after Natick events and prepared in
              Standalone                                            Finn, Molly          Vonsover, Amir                                                    Cell Phone                     Product       anticipation of litigation.
Log00310      Document           9/4/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                        Check                          Protected

                                                                                                                                                                                                        Email chain from in-house counsel
                                                                                                                                                                                          Attorney      requesting and providing legal advice
                                                                                                                                                                                          Client        regarding eBay internal investigation
                                                                                                                                                                                          Privileged;   after Natick events and regarding
                                                                                                                                                           Re: project                    Work          unrelated litigation/legal matters and
              Standalone                              Huber,        Huber, Marie         Johnson, Aaron                                                    lewis                          Product       prepared in anticipation of litigation.
Log00311      Document           9/5/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                        (privileged)                   Protected
                                                                                         Connor, Bryan M.
                                                                                         [REDACTED]
                                                                                           Mundell, Jordan
                                                                                                                                                                                                        Email between in-house counsel and
                                                                                         [REDACTED]
                                                                                                                                                                                                        outside counsel requesting legal advice
                                                                                            ; Phelan, Andrew C.                                                                           Attorney
                                                                                                                                                                                                        regarding eBay internal investigation
                                                                                         [REDACTED]                                                                                       Client
                                                                                                                                                                                                        after Natick events and prepared in
                                                                                             Shaulson, Samuel S.                                                                          Privileged;
                                                                                                                                                                                                        anticipation of litigation.
                                                                                         [REDACTED]                      Finn, Molly [REDACTED]            Privileged -                   Work
              Standalone                              Vonsover,     Vonsover, Amir         West, Colin C.                Macauley, Shannon                 Risk Exposure                  Product
Log00312      Document           9/5/2019 Request 6   Amir          [REDACTED]           [REDACTED]                      [REDACTED]                        Memo                           Protected




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              Attachment                    Request                                                                                                                                         Basis
                                                                                                                                                                                        Attorney
                                                                                                                                                                                                      Email chain from in-house counsel
                                                                                                                                                                                        Client
                                                                                                                                                                                                      providing information to allow for the
                                                                                                                                                          FW:                           Privileged;
                                                                                                                                                                                                      rendering of legal advice regarding eBay
                                                                                                                                                          Atty/Client                   Work
                                                                                                                                                                                                      internal investigation after Natick events
                                                                    Finn, Molly          Huber, Marie                                                     Privilege -                   Product
                                                                                                                                                                                                      and prepared in anticipation of litigation.
Log00313      Parent             9/5/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       Popp Phone                    Protected

                                                                                                                                                                                                      Attachment to Privileged/Protected
                                                                                                                                                                                                      Communication prepared at the
                                                                                                                                                                                        Attorney      direction of counsel providing
                                                                                                                                                                                        Client        information to allow for the rendering of
                                                                                                                                                                                        Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                        Work          investigation after Natick events and
                                                                                                                                                                        Popp Call       Product       prepared in anticipation of litigation.
Log00314      Attachment         9/5/2019 Request 6                                                                                                                     Log.xlsx        Protected

                                                                                                                                                                                                      Attachment to Privileged/Protected
                                                                                                                                                                                                      Communication prepared at the
                                                                                                                                                                                        Attorney      direction of counsel providing
                                                                                                                                                                                        Client        information to allow for the rendering of
                                                                                                                                                                                        Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                        Work          investigation after Natick events and
                                                                                                                                                                                        Product       prepared in anticipation of litigation.
Log00315      Attachment         9/5/2019 Request 6                                                                                                                     Popp Chats.xlsx Protected

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                                                                                                                                                                                                      Communication prepared at the
                                                                                                                                                                                        Attorney      direction of counsel providing
                                                                                                                                                                                        Client        information to allow for the rendering of
                                                                                                                                                                                        Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                        Work          investigation after Natick events and
                                                                                                                                                                        Internet Search Product       prepared in anticipation of litigation.
Log00316      Attachment         9/5/2019 Request 6                                                                                                                     Report.xlsx     Protected

                                                                                                                                                                                                      Attachment to Privileged/Protected
                                                                                                                                                                                                      Communication prepared at the
                                                                                                                                                                                        Attorney      direction of counsel providing
                                                                                                                                                                                        Client        information to allow for the rendering of
                                                                                                                                                                                        Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                        Work          investigation after Natick events and
                                                                                                                                                                        Web History     Product       prepared in anticipation of litigation.
Log00317      Attachment         9/5/2019 Request 6                                                                                                                     Report.xlsx     Protected

                                                                                                                                                                                                      Attachment to Privileged/Protected
                                                                                                                                                                                                      Communication prepared at the
                                                                                                                                                                                        Attorney      direction of counsel providing
                                                                                                                                                                                        Client        information to allow for the rendering of
                                                                                                                                                                                        Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                        Work          investigation after Natick events and
                                                                                                                                                                        Contacts        Product       prepared in anticipation of litigation.
Log00318      Attachment         9/5/2019 Request 6                                                                                                                     Report.xlsx     Protected




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              Attachment                    Request                                                                                                                                               Basis

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                                                                                                                                                                                                            Communication prepared at the
                                                                                                                                                                                              Attorney      direction of counsel providing
                                                                                                                                                                                              Client        information to allow for the rendering of
                                                                                                                                                                                              Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                              Work          investigation after Natick events and
                                                                                                                                                                             Text             Product       prepared in anticipation of litigation.
Log00319      Attachment         9/5/2019 Request 6                                                                                                                          Report.docx      Protected
                                                                                         Macauley, Shannon
                                                                                         [REDACTED]               Phelan,
                                                                                                                                                                                                            Email between in-house counsel and
                                                                                         Andrew C.                                                                                            Attorney
                                                                                                                                                                                                            outside counsel reflecting legal advice
                                                                                         [REDACTED]                                                         Attorney/Clien                    Client
                                                                                                                                                                                                            regarding eBay internal investigation
                                                                                             Vonsover, Amir                                                 t Privilege -                     Privileged;
                                                                                                                                                                                                            after Natick events and prepared in
                                                                                         [REDACTED]               West,                                     Draft Talking                     Work
                                                                                                                                                                                                            anticipation of litigation.
              Standalone                                            Finn, Molly          Colin C.                                                           points for                        Product
Log00320      Document           9/5/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                         Devin's phone                     Protected

                                                                                                                                                                                              Attorney      Email chain from in-house counsel
                                                                                                                                                                                              Client        providing information to allow for the
                                                                                         Macauley, Shannon                                                                                    Privileged;   rendering of legal advice regarding eBay
                                                                                         [REDACTED]                                                                                           Work          internal investigation after Natick events
              Standalone                                            Finn, Molly          Ricupero, Kara                     Vonsover, Amir                  RE: Project                       Product       and prepared in anticipation of litigation.
Log00321      Document           9/5/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                         [REDACTED]                      Lewis SP Sites                    Protected
                                                                                                                                                            FW:
                                                                                                                                                            Attorney/Clien                    Attorney      Email chain from in-house counsel
                                                                                                                                                            t Privilege -                     Client        reflecting legal advice regarding eBay
                                                                                                                                                            Draft Talking                     Privileged;   internal investigation after Natick events
                                                                                                                                                            points for                        Work          and prepared in anticipation of litigation.
              Standalone                                            Finn, Molly          Huber, Marie                                                       Devin's phone                     Product
Log00322      Document           9/5/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                         v.3                               Protected

                                                                                         Macauley, Shannon
                                                                                         [REDACTED]
                                                                                                                                                                                                            Email between in-house counsel and
                                                                                         Mundell, Jordan
                                                                                                                                                                                                            outside counsel providing information to
                                                                                         [REDACTED]
                                                                                                                                                                                                            allow for the rendering of legal advice
                                                                                            ; Phelan, Andrew C.                                                                               Attorney
                                                                                                                                                                                                            regarding eBay internal investigation
                                                                                         [REDACTED]                                                                                           Client
                                                                                                                                                                                                            after Natick events and prepared in
                                                                                             Vonsover, Amir                                                                                   Privileged;
                                                                                                                                                                                                            anticipation of litigation.
                                                                                         [REDACTED]               West,                                                                       Work
                                                                    Finn, Molly          Colin C.                           Shaulson, Samuel S.             Security Share                    Product
Log00323      Parent             9/6/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                         [REDACTED]                      Point List                        Protected

                                                                                                                                                                                                            Attachment to Privileged/Protected
                                                                                                                                                                                                            Communication between in-house
                                                                                                                                                                                              Attorney      counsel and outside counsel providing
                                                                                                                                                                                              Client        information to allow for the rendering of
                                                                                                                                                                                              Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                              Work          investigation after Natick events and
                                                                                                                                                                             Security Shared Product        prepared in anticipation of litigation.
Log00324      Attachment         9/6/2019 Request 6   Finn, Molly                                                                                                            Drive Excel.xlsx Protected




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                                                                                                                                                                                                                     Attachment to Privileged/Protected
                                                                                                                                                                                                                     Communication between in-house
                                                                                                                                                                                                                     counsel and outside counsel providing
                                                                                                                                                                                                                     information to allow for the rendering of
                                                      Alford,                                                                                                                                          Attorney      legal advice regarding eBay internal
                                                      Michelle(AW                                                                                                                     FidoMaster1 -    Client        investigation after Natick events.
Log00325      Attachment         9/6/2019 Request 6   F)                                                                                                                              POI Report.pdf   Privileged

                                                                                                                                                                                                                     Attachment to Privileged/Protected
                                                                                                                                                                                                                     Communication between in-house
                                                                                                                                                                                                                     counsel and outside counsel providing
                                                                                                                                                                                                                     information to allow for the rendering of
                                                      Echeveria,                                                                                                                                       Attorney      legal advice regarding eBay internal
                                                      Michelle(AW                                                                                                                                      Client        investigation after Natick events.
Log00326      Attachment         9/6/2019 Request 6   F)                                                                                                                              Work.docx        Privileged

                                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                             Macauley, Shannon                                                                       and outside counsel requesting and
                                                                                                                             [REDACTED]            Mundell,                                                          providing legal advice regarding eBay
                                                                                                                             Jordan                                                                    Attorney      internal investigation after Natick events
                                                                                                                             [REDACTED]                                                                Client        and regarding employment/personnel
                                                                                         Finn, Molly [REDACTED]              Phelan, Andrew C.                                                         Privileged;   matters and/or actions after Natick
                                                                                         Shaulson, Samuel S.                 [REDACTED]                                                                Work          events and prepared in anticipation of
              Standalone                              Vonsover,     Vonsover, Amir       [REDACTED]                          West, Colin C.                                                            Product       litigation.
Log00327      Document           9/6/2019 Request 6   Amir          [REDACTED]                                               [REDACTED]                             Re: Privileged                     Protected

                                                                                                                                                                                                       Attorney      Email chain between in-house counsel
                                                                                                                                                                                                       Client        and outside counsel discussing legal
                                                                                         Phelan, Andrew C.                                                          Re: Local                          Privileged;   advice regarding eBay internal
                                                                                         [REDACTED]                                                                 Counsel -                          Work          investigation after Natick events and
              Standalone                              Vonsover,     Vonsover, Amir           Finn, Molly                     Shaulson, Samuel S.                    Conference                         Product       prepared in anticipation of litigation.
Log00328      Document           9/6/2019 Request 6   Amir          [REDACTED]           [REDACTED]                          [REDACTED]                             Call                               Protected

                                                                                                                                                                                                       Attorney      Email chain between in-house counsel
                                                                                         Vonsover, Amir                                                                                                Client        and outside counsel discussing legal
                                                                                         [REDACTED]                Phelan,                                          Re: Local                          Privileged;   advice regarding eBay internal
                                                                                         Andrew C.                                                                  Counsel -                          Work          investigation after Natick events and
              Standalone                                            Finn, Molly          [REDACTED]                          Shaulson, Samuel S.                    Conference                         Product       prepared in anticipation of litigation.
Log00329      Document           9/6/2019 Request 6   Finn, Molly   [REDACTED]                                               [REDACTED]                             Call                               Protected
                                                                                         Finn, Molly [REDACTED]
                                                                                         Johnson, Aaron                                                                                                              Email chain between in-house counsel
                                                                                         [REDACTED]          Phelan,                                                                                                 and outside counsel providing and
                                                                                         Andrew C.                                                                                                     Attorney      discussing legal advice regarding eBay
                                                                                         [REDACTED]                                                                                                    Client        internal investigation after Natick events
                                                                                             Shaulson, Samuel S.                                                                                       Privileged;   and regarding corporate
                                                                                         [REDACTED]                                                                 RE: Project                        Work          communications after Natick events and
              Standalone                              Huber,        Huber, Marie           Vonsover, Amir                    Huber, Marie [REDACTED]                Lewis - holding                    Product       prepared in anticipation of litigation.
Log00330      Document           9/6/2019 Request 6   Marie         [REDACTED]           [REDACTED]                          Rome, Marc [REDACTED]                  statement                          Protected




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              Attachment                    Request                                                                                                                                                 Basis
                                                                                                                                                                                                              Email chain from in-house counsel
                                                                                                                                                                                                              providing and discussing legal advice
                                                                                                                                                                                                Attorney
                                                                                                                                                                                                              regarding eBay internal investigation
                                                                                                                                                                                                Client
                                                                                                                                                                                                              after Natick events and regarding
                                                                                                                                                                                                Privileged;
                                                                                                                                                                                                              corporate communications after Natick
                                                                                                                           Finn, Molly [REDACTED]           FW: Project                         Work
                                                                                                                                                                                                              events and prepared in anticipation of
                                                      Huber,        Huber, Marie                                           Johnson, Aaron                   Lewis - holding                     Product
                                                                                                                                                                                                              litigation.
Log00331      Parent             9/6/2019 Request 6   Marie         [REDACTED]           Rome, Marc [REDACTED]             [REDACTED]                       statement                           Protected

                                                                                                                                                                              DRAFT Lewis       Attorney      Draft document prepared at the
                                                                                                                                                                              Leak Scenario     Client        direction of counsel providing
                                                                                                                                                                              Holding           Privileged;   information to allow for the rendering of
                                                                                                                                                                              Statement         Work          legal advice and prepared in
                                                                                                                                                                              (01121521-        Product       anticipation of litigation.
Log00332      Attachment         9/6/2019 Request 6                                                                                                                           8xA26CA) docx     Protected

                                                                                                                           Connor, Bryan M.
                                                                                                                           [REDACTED]                                                                         Email chain between in-house counsel
                                                                                         Macauley, Shannon                 Mundell, Jordan                                                      Attorney      and outside counsel providing and
                                                                                         [REDACTED]              Phelan,   [REDACTED]                                                           Client        discussing legal advice regarding eBay
                                                                                         Andrew C.                         Shaulson, Samuel S.                                                  Privileged;   internal investigation after Natick events
                                                                                         [REDACTED]                        [REDACTED]                       Re: Atty/Client                     Work          and prepared in anticipation of litigation.
              Standalone                                            Finn, Molly              Vonsover, Amir                West, Colin C.                   Privilege -                         Product
Log00333      Document           9/7/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                        [REDACTED]                       Interesting Doc                     Protected

                                                                                                                           Connor, Bryan M.
                                                                                                                           [REDACTED]                                                                         Email chain between in-house counsel
                                                                                         Macauley, Shannon                 Mundell, Jordan                                                      Attorney      and outside counsel providing and
                                                                                         [REDACTED]              Phelan,   [REDACTED]                                                           Client        discussing legal advice regarding eBay
                                                                                         Andrew C.                         Shaulson, Samuel S.                                                  Privileged;   internal investigation after Natick events
                                                                                         [REDACTED]                        [REDACTED]                       Re: Atty/Client                     Work          and prepared in anticipation of litigation.
              Standalone                                            Finn, Molly              Vonsover, Amir                West, Colin C.                   Privilege -                         Product
Log00334      Document           9/8/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                        [REDACTED]                       Interesting Doc                     Protected

                                                                                                                                                                                                              Email chain between in-house counsel
                                                                                                                                                                                                Attorney      and outside counsel providing
                                                                                                                                                                                                Client        information to allow for the rendering of
                                                                                                                                                            Fwd: Privileged                     Privileged;   legal advice regarding eBay internal
                                                                                                                                                            and                                 Work          investigation after Natick events and
                                                                    Finn, Molly          Vonsover, Amir                    Phelan, Andrew C.                Confidential                        Product       prepared in anticipation of litigation.
Log00335      Parent             9/8/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                        [REDACTED]                       FW: Timeline                        Protected

                                                                                                                                                                                                Attorney      Memorandum prepared by counsel
                                                                                                                                                                              Project Lewis -   Client        providing information to allow for the
                                                                                                                                                                              Key Wenig and     Privileged;   rendering of legal advice regarding eBay
                                                                                                                                                                              Wymer Texts for   Work          internal investigation after Natick events
                                                                                                                                                                              Client -          Product       and prepared in anticipation of litigation.
Log00336      Attachment         9/8/2019 Request 6                                                                                                                           09.08.2019 docx   Protected




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              Attachment                    Request                                                                                                                                                Basis

                                                                                                                                                                                                             Email from in-house counsel requesting
                                                                                                                                                                                                             information to render legal advice
                                                                                                                                                                                               Attorney      regarding eBay internal investigation
                                                                                                                                                                                               Client        after Natick events and regarding
                                                                                                                                                                                               Privileged;   employment/personnel matters and/or
                                                                                                                                                                                               Work          actions after Natick events and prepared
              Standalone                              Huber,        Huber, Marie                                                                            Draft note to                      Product       in anticipation of litigation.
Log00337      Document           9/9/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                             Tom - Privilged                    Protected

                                                                                                                                                                                               Attorney      Email chain from in-house counsel
                                                                                                                                                                                               Client        requesting and providing legal advice
                                                                                                                                                                                               Privileged;   regarding eBay internal investigation
                                                                                                                                                            Re: Draft note                     Work          after Natick events and prepared in
              Standalone                                            Finn, Molly          Huber, Marie                                                       to Tom -                           Product       anticipation of litigation.
Log00338      Document           9/9/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                         Privilged                          Protected


                                                                                         Connor, Bryan M.
                                                                                         [REDACTED]                                                                                                          Email between in-house counsel and
                                                                                           Macauley, Shannon                                                                                   Attorney      outside counsel providing and discussing
                                                                                         [REDACTED]              Phelan,                                                                       Client        legal advice regarding eBay internal
                                                                                         Andrew C.                                                                                             Privileged;   investigation after Natick events and
                                                                                         [REDACTED]                                                         A/C Privilege -                    Work          prepared in anticipation of litigation.
                                                      Vonsover,     Vonsover, Amir           West, Colin C.                                                 Share Point                        Product
Log00339      Parent             9/9/2019 Request 6   Amir          [REDACTED]           [REDACTED]                        Finn, Molly [REDACTED]           Docs                               Protected

                                                                                                                                                                                                             Attachment to Privileged/Protected
                                                                                                                                                                                                             Communication between in-house
                                                                                                                                                                                                             counsel and outside counsel providing
                                                                                                                                                                                                             information to allow for the rendering of
                                                      Ticknor-                                                                                                                2018 eBay Open Attorney        legal advice regarding eBay internal
                                                      Squires,                                                                                                                BOLOs_7.19.201 Client          investigation after Natick events.
Log00340      Attachment         9/9/2019 Request 6   Lauryn(AWF)                                                                                                             8.pdf          Privileged

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                                                                                                                                                                                                             Communication between in-house
                                                                                                                                                                                                             counsel and outside counsel providing
                                                                                                                                                                                                             information to allow for the rendering of
                                                      Alford,                                                                                                                                  Attorney      legal advice regarding eBay internal
                                                      Michelle(AW                                                                                                             FidoMaster1 -    Client        investigation after Natick events.
Log00341      Attachment         9/9/2019 Request 6   F)                                                                                                                      POI Report.pdf   Privileged

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                                                                                                                                                                                                             counsel and outside counsel providing
                                                                                                                                                                                                             information to allow for the rendering of
                                                      Zea,                                                                                                                    Social         Attorney        legal advice regarding eBay internal
                                                      Veronica(A                                                                                                              Media_eBay     Client          investigation after Natick events.
Log00342      Attachment         9/9/2019 Request 6   WF)                                                                                                                     Open POIs.docx Privileged




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                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                          Finn, Molly [REDACTED]                                                                                       and outside counsel providing
                                                                                          Phelan, Andrew C.                                                                                            information to allow for the rendering of
                                                                                          [REDACTED]                                                                                     Attorney      legal advice regarding eBay internal
              Standalone                               Vonsover,     Vonsover, Amir          West, Colin C.                                                 FW: Follow-up                Client        investigation after Natick events.
Log00343      Document            9/9/2019 Request 6   Amir          [REDACTED]           [REDACTED]                                                        Interview                    Privileged

                                                                                          Finn, Molly [REDACTED]
                                                                                          Macauley, Shannon
                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                          [REDACTED]          Phelan,
                                                                                                                                                                                                       and outside counsel providing
                                                                                          Andrew C.
                                                                                                                                                                                                       information to allow for the rendering of
                                                                                          [REDACTED]
                                                                                                                                                                                                       legal advice regarding eBay internal
                                                                                             Shaulson, Samuel S.
                                                                                                                                                                                                       investigation after Natick events.
                                                                                          [REDACTED]                                                                                     Attorney
              Standalone                               Vonsover,     Vonsover, Amir         West, Colin C.                                                  FW: Follow-up                Client
Log00344      Document            9/9/2019 Request 6   Amir          [REDACTED]           [REDACTED]                                                        Interview                    Privileged

                                                                                                                                                                                                       Email from in-house counsel requesting
                                                                                                                                                                                                       information to render legal advice
                                                                                                                                                                                         Attorney
                                                                                                                                                                                                       regarding eBay internal investigation
              Standalone                               Huber,        Huber, Marie                                                                           FW: Project                  Client
                                                                                                                                                                                                       after Natick events.
Log00345      Document            9/9/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                            Lewis Readout                Privileged

                                                                                          Finn, Molly [REDACTED]                                                                                       Email chain between in-house counsel
                                                                                          Phelan, Andrew C.                                                                              Attorney      and outside counsel providing
                                                                                          [REDACTED]                                                                                     Client        information to allow for the rendering of
                                                                                             Shaulson, Samuel S.                                                                         Privileged;   legal advice regarding eBay internal
                                                                                          [REDACTED]                                                                                     Work          investigation after Natick events and
              Standalone                               Vonsover,     Vonsover, Amir         West, Colin C.                                                  FW: David                    Product       prepared in anticipation of litigation.
Log00346      Document           9/10/2019 Request 6   Amir          [REDACTED]           [REDACTED]                                                        Harville                     Protected
                                                                                                                                                                                                       Email from counsel to company
                                                                                                                                                                                                       employee(s) requesting information to
                                                                                                                                                                                         Attorney      render legal advice regarding
              Standalone                                             Finn, Molly          Wymer, Steve                                                                                   Client        employment/personnel matters and/or
Log00347      Document           9/10/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                        Update                       Privileged    actions after Natick events.

                                                                                                                                                                                                       Email chain between counsel and
                                                                                                                                                                                                       company employee(s) providing
                                                                                                                                                                                                       information to allow for the rendering of
                                                                                                                                                                                                       legal advice regarding
                                                                                                                                                                                         Attorney
                                                                                                                                                                                                       employment/personnel matters and/or
              Standalone                               Wymer,        Wymer, Steve                                                                                                        Client
                                                                                                                                                                                                       actions after Natick events.
Log00348      Document           9/10/2019 Request 6   Steve         [REDACTED]           Finn, Molly [REDACTED]                                            Re: Update                   Privileged

                                                                                                                                                                                                       Email chain between counsel and
                                                                                                                                                                                                       company employee(s) providing
                                                                                                                                                                                                       information to allow for the rendering of
                                                                                                                                                                                                       legal advice regarding
                                                                                                                                                                                         Attorney
                                                                                                                                                                                                       employment/personnel matters and/or
              Standalone                                             Finn, Molly          Wymer, Steve                                                                                   Client
                                                                                                                                                                                                       actions after Natick events.
Log00349      Document           9/10/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                        Re: Update                   Privileged




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                                                                                                                                                                                                           Email chain between in-house counsel
                                                                                                                                                                                             Attorney      and outside counsel reflecting legal
                                                                                                                                                                                             Client        advice regarding eBay response to law
                                                                                                                                                                                             Privileged;   enforcement investigations after Natick
                                                                                          Phelan, Andrew C.                                                                                  Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly          [REDACTED]                     Vonsover, Amir                    Re: ebay                          Product       litigation.
Log00350      Document           9/11/2019 Request 6   Finn, Molly   [REDACTED]                                          [REDACTED]                        matter                            Protected

                                                                                          Finn, Molly [REDACTED]
                                                                                                                                                                                                           Email between in-house counsel and
                                                                                          Macauley, Shannon
                                                                                                                                                                                                           outside counsel providing information to
                                                                                          [REDACTED]          Phelan,                                                                        Attorney
                                                                                                                                                                                                           allow for the rendering of legal advice
                                                                                          Andrew C.                                                                                          Client
                                                                                                                                                                                                           regarding eBay internal investigation
                                                                                          [REDACTED]                                                                                         Privileged;
                                                                                                                                                                                                           after Natick events and prepared in
                                                                                              Shaulson, Samuel S.                                                                            Work
                                                                                                                                                                                                           anticipation of litigation.
                                                       Vonsover,     Vonsover, Amir       [REDACTED]                                                       Andy interview                    Product
Log00351      Parent             9/12/2019 Request 6   Amir          [REDACTED]                                                                            w Josh Bentley                    Protected


                                                                                                                                                                                                           Notes of conversation between Andy
                                                                                                                                                                                                           Phelan, Amir Vonsover, and Josh Bentley
                                                                                                                                                                                                           on September 12, 2019 reflecting the
                                                                                                                                                                                                           collection of information for the purpose
                                                                                                                                                                                                           of rendering legal advice in connection
                                                                                                                                                                                                           with eBay internal investigation after
                                                                                                                                                                                             Attorney      Natick events, prepared by counsel in
                                                                                                                                                                                             Client        anticipation of litigation, and reflecting
                                                                                                                                                                                             Privileged;   mental impressions, conclusions,
                                                                                                                                                                            Phelan Bentley   Work          opinions and/or legal theories of counsel
                                                       Vonsover,                                                                                                            call 9.12.2019   Product       and/or counsel's agents.
Log00352      Attachment         9/12/2019 Request 6   Amir                                                                                                                 AJV.docx         Protected

                                                                                          Finn, Molly [REDACTED]
                                                                                                                                                                                                           Email chain between in-house counsel
                                                                                          Macauley, Shannon
                                                                                                                                                                                                           and outside counsel providing
                                                                                          [REDACTED]          Phelan,                                                                        Attorney
                                                                                                                                                                                                           information to allow for the rendering of
                                                                                          Andrew C.                                                                                          Client
                                                                                                                                                                                                           legal advice regarding eBay internal
                                                                                          [REDACTED]                                                                                         Privileged;
                                                                                                                                                                                                           investigation after Natick events and
                                                                                              Shaulson, Samuel S.                                          Re: Andy                          Work
                                                                                                                                                                                                           prepared in anticipation of litigation.
                                                       Vonsover,     Vonsover, Amir       [REDACTED]                                                       interview w                       Product
Log00353      Parent             9/12/2019 Request 6   Amir          [REDACTED]                                                                            Josh Bentley                      Protected


                                                                                                                                                                                                           Notes of conversation between Andy
                                                                                                                                                                                                           Phelan, Amir Vonsover, and Josh Bentley
                                                                                                                                                                                                           on September 12, 2019 reflecting the
                                                                                                                                                                                                           collection of information for the purpose
                                                                                                                                                                                                           of rendering legal advice in connection
                                                                                                                                                                                                           with eBay internal investigation after
                                                                                                                                                                                                           Natick events, prepared by counsel in
                                                                                                                                                                                             Attorney
                                                                                                                                                                                                           anticipation of litigation, and reflecting
                                                                                                                                                                                             Client
                                                                                                                                                                                                           mental impressions, conclusions,
                                                                                                                                                                                             Privileged;
                                                                                                                                                                                                           opinions and/or legal theories of counsel
                                                                                                                                                                            Phelan Bentley   Work
                                                                                                                                                                                                           and/or counsel's agents.
                                                       Vonsover,                                                                                                            call 9.12.2019   Product
Log00354      Attachment         9/12/2019 Request 6   Amir                                                                                                                 AJV.docx         Protected




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                                                                                          Macauley, Shannon
                                                                                          [REDACTED]                Phelan,                                                                              Email chain between in-house counsel
                                                                                          Andrew C.                                                                                        Attorney      and outside counsel providing
                                                                                          [REDACTED]                                                                                       Client        information to allow for the rendering of
                                                                                              Shaulson, Samuel S.                                                                          Privileged;   legal advice regarding eBay internal
                                                                                          [REDACTED]                                                         Re: Andy                      Work          investigation after Natick events and
              Standalone                                             Finn, Molly            Vonsover, Amir                                                   interview w                   Product       prepared in anticipation of litigation.
Log00355      Document           9/12/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                         Josh Bentley                  Protected

                                                                                          Shaulson, Samuel S.                                                                                            Email between in-house counsel and
                                                                                          [REDACTED]                                                                                       Attorney      outside counsel providing information to
                                                                                            Finn, Molly                                                                                    Client        allow for the rendering of legal advice
                                                                                          [REDACTED]            Phelan,                                                                    Privileged;   regarding eBay internal investigation
                                                                                          Andrew C.                                                          Harville's                    Work          after Natick events and prepared in
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]                                                         lawyer - A/C                  Product       anticipation of litigation.
Log00356      Document           9/12/2019 Request 6   Amir          [REDACTED]                                                                              Priv                          Protected

                                                                                          Shaulson, Samuel S.                                                                                            Email chain between in-house counsel
                                                                                          [REDACTED]                                                                                       Attorney      and outside counsel providing
                                                                                            Finn, Molly                                                                                    Client        information to allow for the rendering of
                                                                                          [REDACTED]            Phelan,                                                                    Privileged;   legal advice regarding eBay internal
                                                                                          Andrew C.                                                          Re: Harville's                Work          investigation after Natick events and
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]                                                         lawyer - A/C                  Product       prepared in anticipation of litigation.
Log00357      Document           9/12/2019 Request 6   Amir          [REDACTED]                                                                              Priv                          Protected

                                                                                                                                                                                                         Email between in-house counsel and
                                                                                          Huber, Marie                                                                                                   outside counsel providing information to
                                                                                          [REDACTED]            Phelan,                                                                                  allow for the rendering of legal advice
                                                                                          Andrew C.                                                                                        Attorney      regarding eBay internal investigation
              Standalone                                             Finn, Molly          [REDACTED]                                                                                       Client        after Natick events.
Log00358      Document           9/12/2019 Request 6   Finn, Molly   [REDACTED]                                                                              Article                       Privileged




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                                                                                          Brown, Adriane
                                                                                          [REDACTED]
                                                                                          Bates, Anthony [REDACTED]
                                                                                                     ; Swan, Bob
                                                                                          [REDACTED]             Hammer,
                                                                                          Bonnie
                                                                                          [REDACTED]                                                                                                             Email from counsel to company
                                                                                          Farrell, Diana                                                                                                         representative(s) providing legal advice
                                                                                          [REDACTED]                                                                                                             regarding eBay internal investigation
                                                                                          Anderson, Fred                                                                                                         after Natick events and regarding
                                                                                          [REDACTED]       Cohn,                                                                                                 corporate communications after Natick
                                                                                          Jesse [REDACTED]                                                                                                       events and prepared in anticipation of
                                                                                          Mitic, Katie                                                                                                           litigation.
                                                                                          [REDACTED]       Green,
                                                                                          Logan [REDACTED] Murphy,
                                                                                          Matt [REDACTED]
                                                                                          Pressler, Paul [REDACTED]
                                                                                                     Traquina, Perry                                                                               Attorney
                                                                                          [REDACTED]                         Finn, Molly [REDACTED]                                                Client
                                                                                          Omidyar, Pierre                    Huber, Marie [REDACTED]                                               Privileged;
                                                                                          [REDACTED]                Tierney, Schenkel, Scott                           Update -                    Work
              Standalone                               Huber,        Huber, Marie         Thomas                             [REDACTED]         Yetto, Kristin         Privileged &                Product
Log00359      Document           9/13/2019 Request 6   Marie         [REDACTED]           [REDACTED]                          [REDACTED]                               Confidential                Protected

                                                                                                                                                                                                   Attorney      Email chain between counsel and
                                                                                                                                                                                                   Client        company representative(s) providing
                                                                                                                                                                                                   Privileged;   legal advice regarding corporate
                                                                                                                                                                       FW: Update -                Work          communications after Natick events and
              Standalone                               Huber,        Huber, Marie                                                                                      Privileged &                Product       prepared in anticipation of litigation.
Log00360      Document           9/13/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                                       Confidential                Protected
                                                                                                                                                                                                   Attorney
                                                                                                                                                                                                   Client        Email chain from in-house counsel
                                                                                                                                                                                                   Privileged;   discussing legal advice regarding eBay
                                                                                                                                                                       Re: Update -                Work          internal investigation after Natick events
              Standalone                                             Finn, Molly          Huber, Marie                                                                 Privileged &                Product       and prepared in anticipation of litigation.
Log00361      Document           9/13/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                                   Confidential                Protected

                                                                                                                                                                                                                 Email from in-house counsel providing
                                                                                                                                                                                                   Attorney      information to allow for the rendering of
                                                                                                                                                                                                   Client        legal advice regarding
                                                                                                                                                                                                   Privileged;   employment/personnel matters and/or
                                                                                                                                                                                                   Work          actions after Natick events and prepared
                                                       Vonsover,     Vonsover, Amir                                                                                                                Product       in anticipation of litigation.
Log00362      Parent             9/15/2019 Request 6   Amir          [REDACTED]           Finn, Molly [REDACTED]                                                       Wymer draft                 Protected




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                                                                                                                                                                                             Attorney      Draft document prepared by counsel
                                                                                                                                                                                             Client        reflecting legal advice regarding
                                                                                                                                                                            Termination      Privileged;   employment/personnel matters and/or
                                                                                                                                                                            Letter - Wymer - Work          actions after Natick events and prepared
                                                                                                                                                                            AJV              Product       in anticipation of litigation.
Log00363      Attachment         9/15/2019 Request 6                                                                                                                        9.14.2019.docx Protected

                                                                                                                                                                                                           Email chain from in-house counsel
                                                                                                                                                                                                           providing information to allow for the
                                                                                                                                                                                                           rendering of legal advice regarding eBay
                                                                                                                                                                                                           internal investigation after Natick events
                                                                                                                                                                                                           and regarding evaluation of media
                                                                                                                                                                                             Attorney
                                                                                                                                                                                                           reports, articles, or posts concerning
              Standalone                               Vonsover,     Vonsover, Amir                                                                        Re: Concerning                    Client
                                                                                                                                                                                                           eBay.
Log00364      Document           9/15/2019 Request 6   Amir          [REDACTED]           Finn, Molly [REDACTED]                                           Tweets                            Privileged

                                                                                                                                                                                                           Email chain from in-house counsel
                                                                                                                                                                                                           requesting and providing legal advice
                                                                                                                                                                                             Attorney      regarding eBay internal investigation
                                                                                                                                                                                             Client        after Natick events and regarding
                                                                                                                                                                                             Privileged;   evaluation of media reports, articles, or
                                                                                                                                                                                             Work          posts concerning eBay and prepared in
              Standalone                                             Finn, Molly          Vonsover, Amir                                                   Re: Concerning                    Product       anticipation of litigation.
Log00365      Document           9/15/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       Tweets                            Protected

                                                                                                                                                                                                           Email chain from in-house counsel
                                                                                                                                                                                                           requesting and providing legal advice
                                                                                                                                                                                             Attorney      regarding eBay internal investigation
                                                                                                                                                                                             Client        after Natick events and regarding
                                                                                                                                                                                             Privileged;   evaluation of media reports, articles, or
                                                                                                                                                                                             Work          posts concerning eBay and prepared in
              Standalone                               Vonsover,     Vonsover, Amir                                                                        Re: Concerning                    Product       anticipation of litigation.
Log00366      Document           9/15/2019 Request 6   Amir          [REDACTED]           Finn, Molly [REDACTED]                                           Tweets                            Protected

                                                                                                                                                                                                           Email chain from in-house counsel
                                                                                                                                                                                                           requesting and providing legal advice
                                                                                                                                                                                             Attorney      regarding eBay internal investigation
                                                                                                                                                                                             Client        after Natick events and regarding
                                                                                                                                                                                             Privileged;   evaluation of media reports, articles, or
                                                                                                                                                                                             Work          posts concerning eBay and prepared in
              Standalone                                             Finn, Molly          Vonsover, Amir                                                   Re: Concerning                    Product       anticipation of litigation.
Log00367      Document           9/15/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       Tweets                            Protected


                                                                                                                                                                                             Attorney      Email between in-house counsel and
                                                                                                                                                                                             Client        outside counsel requesting information
                                                                                                                                                                                             Privileged;   to render legal advice regarding eBay
                                                                                          Phelan, Andrew C.                                                                                  Work          internal investigation after Natick events
              Standalone                               Huber,        Huber, Marie         [REDACTED]                                                                                         Product       and prepared in anticipation of litigation.
Log00368      Document           9/15/2019 Request 6   Marie         [REDACTED]                                          Finn, Molly [REDACTED]            FW: Counsel                       Protected




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                                                                                                                                                                                                Attorney      Email chain between in-house counsel
                                                                                                                                                                                                Client        and outside counsel requesting legal
                                                                                                                                                                                                Privileged;   advice regarding eBay internal
                                                                                          Phelan, Andrew C.                                                                                     Work          investigation after Natick events and
              Standalone                               Huber,        Huber, Marie         [REDACTED]                                                                                            Product       prepared in anticipation of litigation.
Log00369      Document           9/15/2019 Request 6   Marie         [REDACTED]                                            Finn, Molly [REDACTED]            RE: Counsel                        Protected

                                                                                                                                                                                                              Email chain between in-house counsel
                                                                                                                                                                                                              and outside counsel providing and
                                                                                                                                                                                                              discussing legal advice regarding eBay
                                                                                                                                                                                                Attorney      internal investigation after Natick events
                                                                                          Shaulson, Samuel S.                                                                                   Client        and regarding employment/personnel
                                                                                          [REDACTED]                       Phelan, Andrew C.                 Re: Privileged:                    Privileged;   matters and/or actions after Natick
                                                                                            Hill, Melissa D.               [REDACTED]                        are you                            Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]                       West, Colin C.                    available now                      Product       litigation.
Log00370      Document           9/15/2019 Request 6   Amir          [REDACTED]           Finn, Molly [REDACTED]           [REDACTED]                        to speak?                          Protected

                                                                                                                                                                                                              Email chain between in-house counsel
                                                                                          Finn, Molly [REDACTED]                                                                                              and outside counsel providing and
                                                                                          Hill, Melissa D.                                                                                                    discussing legal advice regarding eBay
                                                                                          [REDACTED]                                                                                            Attorney      internal investigation after Natick events
                                                                                          Phelan, Andrew C.                                                                                     Client        and regarding employment/personnel
                                                                                          [REDACTED]                                                         Re: Privileged:                    Privileged;   matters and/or actions after Natick
                                                                                              Shaulson, Samuel S.                                            are you                            Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]                       West, Colin C.                    available now                      Product       litigation.
Log00371      Document           9/15/2019 Request 6   Amir          [REDACTED]                                            [REDACTED]                        to speak?                          Protected

                                                                                                                                                                                                              Email chain between in-house counsel
                                                                                          Hill, Melissa D.                                                                                                    and outside counsel providing and
                                                                                          [REDACTED]                                                                                                          discussing legal advice regarding eBay
                                                                                          Phelan, Andrew C.                                                                                     Attorney      internal investigation after Natick events
                                                                                          [REDACTED]                                                                                            Client        and regarding employment/personnel
                                                                                              Shaulson, Samuel S.                                            Re: Privileged:                    Privileged;   matters and/or actions after Natick
                                                                                          [REDACTED]                                                         are you                            Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly            Vonsover, Amir                 West, Colin C.                    available now                      Product       litigation.
Log00372      Document           9/15/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                       [REDACTED]                        to speak?                          Protected

                                                                                                                                                                                                              Email between in-house counsel and
                                                                                                                                                                                                Attorney      outside counsel providing and discussing
                                                                                                                           Finn, Molly [REDACTED]                                               Client        legal advice regarding
                                                                                                                           Phelan, Andrew C.                                                    Privileged;   employment/personnel matters and/or
                                                                                          Huber, Marie                     [REDACTED]                        Re: SW next                        Work          actions after Natick events and prepared
                                                       Vonsover,     Vonsover, Amir       [REDACTED]     Johnson,          Shaulson, Samuel S.               steps -                            Product       in anticipation of litigation.
Log00373      Parent             9/15/2019 Request 6   Amir          [REDACTED]           Aaron [REDACTED]                 [REDACTED]                        Privileged                         Protected


                                                                                                                                                                                                Attorney      Draft document prepared by counsel
                                                                                                                                                                                                Client        reflecting legal advice regarding
                                                                                                                                                                               Termination      Privileged;   employment/personnel matters and/or
                                                                                                                                                                               Letter - Wymer - Work          actions after Natick events and prepared
                                                                                                                                                                               AJV              Product       in anticipation of litigation.
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                Parent                      Subpoena                                                                                                                                         Privilege
 Log Number                       Date                   Author              From                      To                             CC          BCC     Subject**         Filename**                             Privilege Description
              Attachment                     Request                                                                                                                                           Basis


                                                                                                                                                                                                         Email from in-house counsel providing
                                                                                                                                                                                           Attorney
                                                                                                                                                                                                         and discussing legal advice regarding
                                                                                                                                                                                           Client
                                                                                                                                                                                                         employment/personnel matters and/or
                                                                                                                                                        SW                                 Privileged;
                                                                                                                                                                                                         actions after Natick events and prepared
                                                                                     Schenkel, Scott                                                    Termination                        Work
                                                                                                                                                                                                         in anticipation of litigation.
                                                       Vonsover,   Vonsover, Amir    [REDACTED]         Yetto,        Finn, Molly [REDACTED]            Letter -                           Product
Log00375      Parent             9/15/2019 Request 6   Amir        [REDACTED]        Kristin [REDACTED]               Huber, Marie [REDACTED]           Privileged                         Protected

                                                                                                                                                                                           Attorney      Draft document prepared by counsel
                                                                                                                                                                                           Client        reflecting legal advice regarding
                                                                                                                                                                          Termination      Privileged;   employment/personnel matters and/or
                                                                                                                                                                          Letter - Wymer - Work          actions after Natick events and prepared
                                                                                                                                                                          AJV              Product       in anticipation of litigation.
Log00376      Attachment         9/15/2019 Request 6                                                                                                                      9.14.2019.docx Protected

                                                                                                                                                                                                         Email from in-house counsel providing
                                                                                                                                                                                           Attorney      information to allow for the rendering of
                                                                                                                                                                                           Client        legal advice regarding
                                                                                                                                                                                           Privileged;   employment/personnel matters and/or
                                                                                                                                                                                           Work          actions after Natick events and prepared
                                                       Vonsover,   Vonsover, Amir                                                                       A/C Priv - SW                      Product       in anticipation of litigation.
Log00377      Parent             9/16/2019 Request 6   Amir        [REDACTED]        Finn, Molly [REDACTED]                                             letter                             Protected

                                                                                                                                                                                           Attorney      Draft document prepared by counsel
                                                                                                                                                                                           Client        reflecting legal advice regarding
                                                                                                                                                                          Termination      Privileged;   employment/personnel matters and/or
                                                                                                                                                                          Letter - Wymer - Work          actions after Natick events and prepared
                                                                                                                                                                          AJV              Product       in anticipation of litigation.
Log00378      Attachment         9/16/2019 Request 6                                                                                                                      9.14.2019.docx Protected

                                                                                     Finn, Molly [REDACTED]                                                                                              Email chain between in-house counsel
                                                                                     Hill, Melissa D.                                                                                                    and outside counsel providing
                                                                                     [REDACTED]                                                                                            Attorney      information to allow for the rendering of
                                                                                     Macauley, Shannon                                                                                     Client        legal advice regarding
                                                                                     [REDACTED]                                                         FW: Re your                        Privileged;   employment/personnel matters and/or
                                                                                     Shaulson, Samuel S.                                                client                             Work          actions after Natick events and prepared
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                       Phelan, Andrew C.                 Stephanie                          Product       in anticipation of litigation.
Log00379      Document           9/16/2019 Request 6   Amir        [REDACTED]                                         [REDACTED]                        Popp                               Protected

                                                                                     Finn, Molly [REDACTED]                                                                                              Email chain between in-house counsel
                                                                                     Hill, Melissa D.                                                                                                    and outside counsel providing
                                                                                     [REDACTED]                                                                                            Attorney      information to allow for the rendering of
                                                                                     Macauley, Shannon                                                  Re: Privileged:                    Client        legal advice regarding
                                                                                     [REDACTED]                                                         RE: Re your                        Privileged;   employment/personnel matters and/or
                                                                                     Shaulson, Samuel S.                                                client                             Work          actions after Natick events and prepared
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                       Phelan, Andrew C.                 Stephanie                          Product       in anticipation of litigation.
Log00380      Document           9/16/2019 Request 6   Amir        [REDACTED]                                         [REDACTED]                        Popp                               Protected

                                                                                                                                                                                                         Email chain between counsel and
                                                                                                                                                        Re: Draft                                        company employee(s) providing
                                                                                     Billante, Joe                                                      Statements                                       information to allow for the rendering of
                                                                                     [REDACTED]           Schenkel,                                     (PRIVILEGED &                      Attorney      legal advice regarding corporate
              Standalone                               Huber,      Huber, Marie      Scott [REDACTED]                                                   CONFIDENTIAL                       Client        communications after Natick events.
Log00381      Document           9/18/2019 Request 6   Marie       [REDACTED]        Yetto, Kristin [REDACTED]                                          )                                  Privileged



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 Log Number                       Date                   Author                    From                   To                                CC             BCC     Subject**     Filename**                           Privilege Description
              Attachment                     Request                                                                                                                                              Basis

                                                                                                                                                                                                            Email chain between in-house counsel
                                                                                                                                                                                              Attorney      and outside counsel requesting and
                                                                                                                                                                 Fwd: Draft                   Client        providing legal advice regarding
                                                                                          Finn, Molly [REDACTED]                                                 Statements                   Privileged;   corporate communications after Natick
                                                                                          Phelan, Andrew C.                                                      (PRIVILEGED &                Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie         [REDACTED]                                                             CONFIDENTIAL                 Product       litigation.
Log00382      Document           9/18/2019 Request 6   Marie         [REDACTED]                                                                                  )                            Protected

                                                                                                                                                                                                            Email chain between in-house counsel
                                                                                                                                                                                              Attorney      and outside counsel requesting and
                                                                                          Huber, Marie                                                           Re: Draft                    Client        providing legal advice regarding
                                                                                          [REDACTED]            Phelan,                                          Statements                   Privileged;   corporate communications after Natick
                                                                                          Andrew C.                                                              (PRIVILEGED &                Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly          [REDACTED]                                                             CONFIDENTIAL                 Product       litigation.
Log00383      Document           9/19/2019 Request 6   Finn, Molly   [REDACTED]                                                                                  )                            Protected


                                                                                          Billante, Joe
                                                                                          [REDACTED]            Brielmann,                                                                                  Email chain between counsel and
                                                                                          Eric                                                                                                              company representative(s) providing
                                                                                          [REDACTED]                                                                                                        and discussing legal advice regarding
                                                                                          Finn, Molly [REDACTED]                                                                              Attorney      corporate communications after Natick
                                                                                          Golden, Barrett B.                                                                                  Client        events and prepared in anticipation of
                                                                                          [REDACTED]                                                                                          Privileged;   litigation.
                                                                                          Phelan, Andrew C.                                                      Re: Reconvene                Work
              Standalone                               Huber,        Huber, Marie         [REDACTED]                         Project Lewis JF [REDACTED]         later today                  Product
Log00384      Document           9/19/2019 Request 6   Marie         [REDACTED]                                                                                  4:15 pm PT?                  Protected


                                                                                          Billante, Joe
                                                                                          [REDACTED]            Brielmann,                                                                                  Email chain between counsel and
                                                                                          Eric                                                                                                              company representative(s) providing
                                                                                          [REDACTED]                                                                                                        and discussing legal advice regarding
                                                                                          Finn, Molly [REDACTED]                                                                              Attorney      corporate communications after Natick
                                                                                          Golden, Barrett B.                                                                                  Client        events and prepared in anticipation of
                                                                                          [REDACTED]                                                                                          Privileged;   litigation.
                                                                                          Phelan, Andrew C.                                                      Re: Reconvene                Work
              Standalone                               Huber,        Huber, Marie         [REDACTED]                         Project Lewis JF [REDACTED]         later today                  Product
Log00385      Document           9/19/2019 Request 6   Marie         [REDACTED]                                                                                  4:15 pm PT?                  Protected
                                                                                          Billante, Joe
                                                                                          [REDACTED]            Brielmann,
                                                                                                                                                                                                            Email chain between counsel and
                                                                                          Eric
                                                                                                                                                                                                            company representative(s) providing
                                                                                          [REDACTED]                                                                                          Attorney
                                                                                                                                                                                                            information to allow for the rendering of
                                                                                          Huber, Marie                                                                                        Client
                                                                                                                                                                                                            legal advice regarding corporate
                                                                                          [REDACTED]            Phelan,                                                                       Privileged;
                                                                                                                                                                                                            communications after Natick events and
                                                                                          Andrew C.                                                              Re: Reconvene                Work
                                                                                                                                                                                                            prepared in anticipation of litigation.
              Standalone                                             Finn, Molly          [REDACTED]                         Project Lewis JF [REDACTED]         later today                  Product
Log00386      Document           9/19/2019 Request 6   Finn, Molly   [REDACTED]                                                                                  4:15 pm PT?                  Protected




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              Attachment                     Request                                                                                                                                                    Basis

                                                                                                                                                                                                                  Email chain between in-house counsel
                                                                                                                                                                                                    Attorney      and outside counsel providing
                                                                                                                                                                                                    Client        information to allow for the rendering of
                                                                                                                                                                   Fwd: DRAFT                       Privileged;   legal advice regarding corporate
                                                                                                                                                                   Project Lewis                    Work          communications after Natick events and
                                                                     Finn, Molly          Vonsover, Amir                       Phelan, Andrew C.                   Memo with                        Product       prepared in anticipation of litigation.
Log00387      Parent             9/19/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                           [REDACTED]                          Statements                       Protected

                                                                                                                                                                                                    Attorney      Draft document prepared at the
                                                                                                                                                                                    DRAFT Project   Client        direction of counsel providing
                                                                                                                                                                                    Lewis Memo w.   Privileged;   information to allow for the rendering of
                                                                                                                                                                                    Statements      Work          legal advice and prepared in
                                                                                                                                                                                    (01128387-      Product       anticipation of litigation.
Log00388      Attachment         9/19/2019 Request 6                                                                                                                                3xA26CA) docx   Protected

                                                                                                                                                                   FW: Draft
                                                                                                                                                                   message to
                                                                                                                                                                   Special
                                                                                                                                                                                                                  Email chain from in-house counsel
                                                                                                                                                                   Committee
                                                                                                                                                                                                                  providing and discussing legal advice
                                                                                                                                                                   that will
                                                                                                                                                                                                                  regarding corporate communications
                                                                                                                                                                   accompany the                    Attorney
                                                                                                                                                                                                                  after Natick events and prepared in
                                                                                                                                                                   Joele Frank                      Client
                                                                                                                                                                                                                  anticipation of litigation.
                                                                                                                                                                   revised                          Privileged;
                                                                                                                                                                   memo/statem                      Work
              Standalone                               Huber,        Huber, Marie                                                                                  ents on Friday                   Product
Log00389      Document           9/19/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                                   9/20:                            Protected
                                                                                                                                                                   Re: Draft
                                                                                                                                                                   message to
                                                                                                                                                                   Special
                                                                                                                                                                   Committee                                      Email chain from in-house counsel
                                                                                                                                                                   that will                                      providing and discussing legal advice
                                                                                                                                                                   accompany the                    Attorney      regarding corporate communications
                                                                                                                                                                   Joele Frank                      Client        after Natick events and prepared in
                                                                                                                                                                   revised                          Privileged;   anticipation of litigation.
                                                                                                                                                                   memo/statem                      Work
              Standalone                                             Finn, Molly          Huber, Marie                                                             ents on Friday                   Product
Log00390      Document           9/19/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                               9/20:                            Protected
                                                                                          Billante, Joe
                                                                                          [REDACTED]             Finn, Molly
                                                                                          [REDACTED]            Goldman,                                                                                          Email chain between counsel and
                                                                                          Rachel                                                                                                                  company representative(s) requesting
                                                                                          [REDACTED]                                                                                                Attorney      and providing legal advice regarding
                                                                                          Phelan, Andrew C.                                                        RE: Updated                      Client        corporate communications after Natick
                                                                                          [REDACTED]                                                               DRAFT Project                    Privileged;   events and prepared in anticipation of
                                                                                              Vonsover, Amir                   Huber, Marie [REDACTED]             Lewis Memo                       Work          litigation.
              Standalone                               Huber,        Huber, Marie         [REDACTED]         Yetto,            Project Lewis JF [REDACTED]         with                             Product
Log00391      Document           9/19/2019 Request 6   Marie         [REDACTED]           Kristin [REDACTED]                                                       Statement                        Protected




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 Log Number                       Date                   Author             From                        To                               CC          BCC     Subject**        Filename**                            Privilege Description
              Attachment                     Request                                                                                                                                            Basis

                                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                                                                            Attorney
                                                                                                                                                                                                          company employee(s) providing and
                                                                                                                                                           FW: Updated                      Client
                                                                                                                                                                                                          discussing legal advice regarding
                                                                                                                                                           DRAFT Project                    Privileged;
                                                                                                                                                                                                          corporate communications after Natick
                                                                                                                                                           Lewis Memo                       Work
                                                                                                                                                                                                          events and prepared in anticipation of
                                                       Huber,     Huber, Marie                                                                             with                             Product
                                                                                                                                                                                                          litigation.
Log00392      Parent             9/19/2019 Request 6   Marie      [REDACTED]         Yetto, Kristin [REDACTED]           Finn, Molly [REDACTED]            Statement                        Protected

                                                                                                                                                                                            Attorney      Draft document prepared at the
                                                                                                                                                                            DRAFT Project   Client        direction of counsel providing
                                                                                                                                                                            Lewis Memo w.   Privileged;   information to allow for the rendering of
                                                                                                                                                                            Statement       Work          legal advice and prepared in
                                                                                                                                                                            (01128387-      Product       anticipation of litigation.
Log00393      Attachment         9/19/2019 Request 6                                                                                                                        7xA26CA) docx   Protected
                                                                                                                                                           FW: Draft
                                                                                                                                                           message to
                                                                                                                                                           Special
                                                                                                                                                                                                          Email from in-house counsel providing
                                                                                                                                                           Committee
                                                                                                                                                                                                          and discussing legal advice regarding
                                                                                                                                                           that will
                                                                                                                                                                                                          eBay internal investigation after Natick
                                                                                                                                                           accompany the                    Attorney      events and regarding corporate
                                                                                                                                                           Joele Frank                      Client        communications after Natick events and
                                                                                                                                                           revised                          Privileged;   prepared in anticipation of litigation.
                                                                                                                                                           memo/statem                      Work
              Standalone                               Huber,     Huber, Marie       Finn, Molly [REDACTED]                                                ents on Friday                   Product
Log00394      Document           9/19/2019 Request 6   Marie      [REDACTED]         Rome, Marc [REDACTED]               Huber, Marie [REDACTED]           9/20:                            Protected

                                                                                                                                                           Re: Draft
                                                                                                                                                           message to
                                                                                                                                                           Special                                        Email chain from in-house counsel
                                                                                                                                                           Committee                                      providing and discussing legal advice
                                                                                                                                                           that will                                      regarding eBay internal investigation
                                                                                                                                                           accompany the                    Attorney      after Natick events and regarding
                                                                                                                                                           Joele Frank                      Client        corporate communications after Natick
                                                                                                                                                           revised                          Privileged;   events and prepared in anticipation of
                                                                                                                                                           memo/statem                      Work          litigation.
              Standalone                               Huber,     Huber, Marie       Finn, Molly [REDACTED]                                                ents on Friday                   Product
Log00395      Document           9/20/2019 Request 6   Marie      [REDACTED]         Rome, Marc [REDACTED]                                                 9/20:                            Protected

                                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                                                                                          company representative(s) providing
                                                                                                                         Phelan, Andrew C.                 Memo,                            Attorney      and discussing legal advice regarding
                                                                                                                         [REDACTED]                        Release + Emp                    Client        eBay internal investigation after Natick
                                                                                     Farrell, Diana                      Billante, Joe [REDACTED]          Letter, QA,                      Privileged;   events and regarding corporate
                                                                                     [REDACTED]                          Finn, Molly [REDACTED]            Toolkit -                        Work          communications after Natick events and
                                                       Huber,     Huber, Marie       Mitic, Katie                        Huber, Marie [REDACTED]           Privileged -                     Product       prepared in anticipation of litigation.
Log00396      Parent             9/21/2019 Request 6   Marie      [REDACTED]         [REDACTED]                          Yetto, Kristin [REDACTED]         Project Lewis                    Protected

                                                                                                                                                                                            Attorney      Draft document prepared at the
                                                                                                                                                                            DRAFT Project   Client        direction of counsel providing
                                                                                                                                                                            Lewis Memo w.   Privileged;   information to allow for the rendering of
                                                                                                                                                                            Statement       Work          legal advice and prepared in
                                                                                                                                                                            (01128387-      Product       anticipation of litigation.
Log00397      Attachment         9/21/2019 Request 6                                                                                                                        8xA26CA) docx   Protected




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              Attachment                     Request                                                                                                                                                      Basis

                                                                                                                                                                                                      Attorney      Draft document prepared at the
                                                                                                                                                                                     DRAFT Project    Client        direction of counsel providing
                                                                                                                                                                                     Lewis Employee   Privileged;   information to allow for the rendering of
                                                                                                                                                                                     Letter           Work          legal advice and prepared in
                                                                                                                                                                                     (01121522-       Product       anticipation of litigation.
Log00398      Attachment         9/21/2019 Request 6                                                                                                                                 19xA26CA).docx   Protected

                                                                                                                                                                                                      Attorney      Draft document prepared at the
                                                                                                                                                                                                      Client        direction of counsel providing
                                                                                                                                                                                     DRAFT Project Privileged;      information to allow for the rendering of
                                                                                                                                                                                     Lewis VP Toolkit Work          legal advice and prepared in
                                                                                                                                                                                     (01128847-       Product       anticipation of litigation.
Log00399      Attachment         9/21/2019 Request 6                                                                                                                                 4xA26CA) docx Protected

                                                                                                                                                                                                    Attorney        Draft document prepared at the
                                                                                                                                                                                                    Client          direction of counsel providing
                                                                                                                                                                                     DRAFT Project Privileged;      information to allow for the rendering of
                                                                                                                                                                                     Lewis Internal Work            legal advice and prepared in
                                                                                                                                                                                     QA (01121640- Product          anticipation of litigation.
Log00400      Attachment         9/21/2019 Request 6   Billante, Joe                                                                                                                 17xA26CA).docx Protected

                                                                                                                                                                                                      Attorney      Email chain between counsel and
                                                                                                                                                                                                      Client        company employee(s) requesting and
                                                                                                                                                                                                      Privileged;   providing legal advice regarding
                                                                                                                                                                                                      Work          corporate communications after Natick
              Standalone                               Huber,          Huber, Marie     Billante, Joe                                                            RE: Lewis                            Product       events and prepared in anticipation of
Log00401      Document           9/21/2019 Request 6   Marie           [REDACTED]       [REDACTED]                       Finn, Molly [REDACTED]                  question                             Protected     litigation.


                                                                                                                                                                                                                    Email chain between in-house counsel
                                                                                                                                                                                                      Attorney      and outside counsel requesting and
                                                                                                                                                                                                      Client        providing legal advice regarding
                                                                                                                         Huber, Marie [REDACTED]                                                      Privileged;   corporate communications after Natick
                                                                                        Rome, Marc                       Narayan, Raaj S.                                                             Work          events and prepared in anticipation of
              Standalone                               Huber,          Huber, Marie     [REDACTED]       Niles,          [REDACTED]         Neff, Daniel         Re: privileged --                    Product       litigation.
Log00402      Document           9/22/2019 Request 6   Marie           [REDACTED]       Sabastian [REDACTED]             A. [REDACTED]                           Lewis release                        Protected




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              Attachment                     Request                                                                                                                                         Basis



                                                                                     Brown, Adriane
                                                                                     [REDACTED]
                                                                                     Swan, Bob
                                                                                     [REDACTED]                Hammer,
                                                                                     Bonnie
                                                                                     [REDACTED]
                                                                                     Farrell, Diana
                                                                                     [REDACTED]                                                                                                        Email from counsel to company
                                                                                     Anderson, Fred                                                                                                    representative(s) providing information
                                                                                     [REDACTED]       Cohn,                                                                                            to allow for the rendering of legal advice
                                                                                     Jesse [REDACTED]                                                                                                  regarding eBay internal investigation
                                                                                     Mitic, Katie                                                                                                      after Natick events and regarding
                                                                                     [REDACTED]       Green,                                                                                           Board/Committee evaluations and/or
                                                                                     Logan [REDACTED] Murphy,                                                                                          determinations related to executive
                                                                                     Matt [REDACTED]                                                                                                   employment matters.
                                                                                     Pressler, Paul [REDACTED]
                                                                                                Traquina, Perry
                                                                                     [REDACTED]
                                                                                     Omidyar, Pierre
                                                                                     [REDACTED]                Tierney,
                                                                                     Thomas                                                                eBay Notice of
                                                                                     [REDACTED]                                                            Monday (9/23)
                                                                                     ; Bates, Anthony [REDACTED]                                           Special Board                 Attorney
              Standalone                               Huber,     Huber, Marie                   ; Wenig, Devin                                            Meeting -                     Client
Log00403      Document           9/22/2019 Request 6   Marie      [REDACTED]         [REDACTED]                           Huber, Marie [REDACTED]          Privileged                    Privileged

                                                                                                                                                                                                       Email chain between counsel and
                                                                                                                                                                                                       company representative(s) providing
                                                                                                                                                                                                       information to allow for the rendering of
                                                                                                                                                           FW: eBay                                    legal advice regarding eBay internal
                                                                                                                                                           Notice of                                   investigation after Natick events and
                                                                                                                          Huber, Marie [REDACTED]          Monday (9/23)                               regarding Board/Committee evaluations
                                                                                                                          Mitic, Katie [REDACTED]          Special Board                 Attorney      and/or determinations related to
              Standalone                               Huber,     Huber, Marie                                            Tierney, Thomas                  Meeting -                     Client        executive employment matters.
Log00404      Document           9/22/2019 Request 6   Marie      [REDACTED]         Wenig, Devin [REDACTED]              [REDACTED]                       Privileged                    Privileged


                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                                                                                                                                       and outside counsel providing and
                                                                                                                                                                                                       discussing legal advice regarding eBay
                                                                                                                                                                                         Attorney      response to law enforcement
                                                                                                                                                                                         Client        investigations after Natick events and
                                                                                                                                                                                         Privileged;   regarding corporate communications
                                                                                                                                                                                         Work          after Natick events and prepared in
              Standalone                               Huber,     Huber, Marie                                                                             FW:                           Product       anticipation of litigation.
Log00405      Document           9/23/2019 Request 6   Marie      [REDACTED]         Finn, Molly [REDACTED]                                                Andy/USAO                     Protected




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                                                                Case
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                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                                     and outside counsel providing and
                                                                                                                                                                                                     discussing legal advice regarding eBay
                                                                                                                                                                                       Attorney      response to law enforcement
                                                                                                                                                                                       Client        investigations after Natick events and
                                                                                                                                                                                       Privileged;   regarding corporate communications
                                                                                                                                                                                       Work          after Natick events and prepared in
              Standalone                                             Finn, Molly          Huber, Marie                                                     Re:                         Product       anticipation of litigation.
Log00406      Document           9/23/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       Andy/USAO                   Protected

                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                                     and outside counsel providing
                                                                                                                                                                                                     information to allow for the rendering of
                                                                                                                                                                                                     legal advice regarding eBay internal
                                                                                                                                                                                       Attorney      investigation after Natick events and
                                                                                                                                                                                       Client        regarding eBay response to law
                                                                                          Phelan, Andrew C.                                                                            Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                                                                                   Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly              Huber, Marie                                                                             Product       litigation.
Log00407      Document           9/24/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       Re: Tue                     Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                                     providing information to allow for the
                                                                                                                                                                                                     rendering of legal advice regarding eBay
                                                                                                                                                                                       Attorney      internal investigation after Natick events
                                                                                                                                                                                       Client        and regarding eBay response to law
                                                                                                                                                                                       Privileged;   enforcement investigations after Natick
                                                                                                                                                                                       Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly          Huber, Marie                                                                                 Product       litigation.
Log00408      Document           9/24/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       Re: Tue                     Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                                     providing information to allow for the
                                                                                                                                                                                                     rendering of legal advice regarding eBay
                                                                                                                                                                                       Attorney      internal investigation after Natick events
                                                                                                                                                                                       Client        and regarding eBay response to law
                                                                                                                                                                                       Privileged;   enforcement investigations after Natick
                                                                                                                                                                                       Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie                                                                                                      Product       litigation.
Log00409      Document           9/24/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                           Re: Tue                     Protected

                                                                                                                                                                                                     Email from in-house counsel requesting
                                                                                                                                                                                                     information to render legal advice
                                                                                          Rome, Marc
                                                                                                                                                                                                     regarding eBay response to law
                                                                                          [REDACTED]          Vonsover,                                                                Attorney
                                                                                                                                                                                                     enforcement investigations after Natick
              Standalone                                             Finn, Molly          Amir [REDACTED]                                                                              Client
                                                                                                                                                                                                     events.
Log00410      Document           9/24/2019 Request 6   Finn, Molly   [REDACTED]           Yetto, Kristin [REDACTED]                                        USAO Debrief                Privileged




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                                                                                                                                                                                                          Email chain from in-house counsel
                                                                                                                                                                                                          providing information to allow for the
                                                                                                                                                                                                          rendering of legal advice regarding eBay
                                                                                                                                                                                            Attorney      internal investigation after Natick events
                                                                                                                                                                                            Client        and regarding eBay response to law
                                                                                                                                                                                            Privileged;   enforcement investigations after Natick
                                                                                                                                                                                            Work          events and prepared in anticipation of
              Standalone                               Huber,     Huber, Marie                                                                                                              Product       litigation.
Log00411      Document           9/24/2019 Request 6   Marie      [REDACTED]         Finn, Molly [REDACTED]                                                  Re: Tue                        Protected

                                                                                     Billante, Joe                                                                                                        Email chain between counsel and
                                                                                     [REDACTED]      Cring,                                                                                               company employee(s) providing
                                                                                     Andy [REDACTED]                                                                                                      information to allow for the rendering of
                                                                                     Schenkel, Scott                                                         Fwd: Privileged                Attorney      legal advice regarding corporate
              Standalone                               Huber,     Huber, Marie       [REDACTED]         Yetto,                                               and                            Client        communications after Natick events.
Log00412      Document           9/25/2019 Request 6   Marie      [REDACTED]         Kristin [REDACTED]                                                      Confidential                   Privileged

                                                                                                                                                                                                          Email chain between counsel and
                                                                                     Billante, Joe                                                                                          Attorney      company employee(s) providing
                                                                                     [REDACTED]      Cring,                                                                                 Client        information to allow for the rendering of
                                                                                     Andy [REDACTED]                                                                                        Privileged;   legal advice regarding corporate
                                                                                     Schenkel, Scott                                                         FW: Privileged                 Work          communications after Natick events and
              Standalone                               Huber,     Huber, Marie       [REDACTED]         Yetto,                                               and                            Product       prepared in anticipation of litigation.
Log00413      Document           9/25/2019 Request 6   Marie      [REDACTED]         Kristin [REDACTED]                                                      Confidential                   Protected

                                                                                     Swan, Bob
                                                                                                                                                                                                          Email chain between counsel and
                                                                                     [REDACTED]
                                                                                                                                                                                                          company representative(s) providing
                                                                                     Anderson, Fred                                                                                         Attorney
                                                                                                                                                                                                          information to allow for the rendering of
                                                                                     [REDACTED]       Mitic,           Cring, Andy [REDACTED]                                               Client
                                                                                                                                                                                                          legal advice regarding corporate
                                                                                     Katie [REDACTED]                  Huber, Marie [REDACTED]                                              Privileged;
                                                                                                                                                                                                          communications after Natick events and
                                                                                     Pressler, Paul [REDACTED]         Yetto, Kristin                        FW: Privileged                 Work
                                                                                                                                                                                                          prepared in anticipation of litigation.
              Standalone                               Huber,     Huber, Marie                  Tierney, Thomas        [REDACTED]          Schenkel,         and                            Product
Log00414      Document           9/25/2019 Request 6   Marie      [REDACTED]         [REDACTED]                        Scott [REDACTED]                      Confidential                   Protected

                                                                                                                                                                                                          Email between in-house counsel and
                                                                                                                                                                                                          outside counsel requesting information
                                                                                                                                                                                            Attorney      to render legal advice regarding eBay
                                                                                                                                                                                            Client        internal investigation after Natick events
                                                                                     Phelan, Andrew C.                                                                                      Privileged;   and regarding corporate
                                                                                     [REDACTED]                                                              Project Lewis                  Work          communications after Natick events and
              Standalone                               Huber,     Huber, Marie             Finn, Molly                 Huber, Marie [REDACTED]               update and                     Product       prepared in anticipation of litigation.
Log00415      Document           9/25/2019 Request 6   Marie      [REDACTED]         [REDACTED]                        Rome, Marc [REDACTED]                 readiness                      Protected




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                                                                                                                                                                                                           Email chain between in-house counsel
                                                                                                                                                                                                           and outside counsel providing
                                                                                                                                                                                                           information to allow for the rendering of
                                                                                                                                                                                                           legal advice regarding eBay internal
                                                                                                                                                                                                           investigation after Natick events and
                                                                                                                                                                                                           regarding employment/personnel
                                                                                                                                                                                             Attorney
                                                                                                                                                                                                           matters and/or actions after Natick
                                                                                                                                                            Fwd: ACP                         Client
                                                                                                                                                                                                           events and regarding corporate
                                                                                                                                                            Memo to                          Privileged;
                                                                                                                                                                                                           communications after Natick events and
                                                                                                                                                            Special                          Work
                                                                                                                                                                                                           prepared in anticipation of litigation.
                                                                     Finn, Molly          Huber, Marie                                                      Committee                        Product
Log00416      Parent             9/25/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                        9_25_19.DOCX                     Protected


                                                                                                                                                                                                           Memorandum from Andrew C. Phelan to
                                                                                                                                                                                                           Special Committee prepared by counsel
                                                                                                                                                                                                           providing legal advice regarding eBay
                                                                                                                                                                                                           internal investigation after Natick
                                                                                                                                                                                                           events; regarding eBay response to law
                                                                                                                                                                                                           enforcement investigations after Natick
                                                                                                                                                                                                           events; regarding Board/Committee
                                                                                                                                                                                                           evaluations and/or determinations
                                                                                                                                                                                                           related to executive employment
                                                                                                                                                                                                           matters; regarding
                                                                                                                                                                                                           employment/personnel matters and/or
                                                                                                                                                                                                           actions after Natick events; and
                                                                                                                                                                                                           regarding corporate communications
                                                                                                                                                                                                           after Natick events prepared in
                                                                                                                                                                             052094-         Attorney
                                                                                                                                                                                                           anticipation of litigation, and reflecting
                                                                                                                                                                             02__107451934   Client
                                                                                                                                                                                                           mental impressions, conclusions,
                                                                                                                                                                             v1_ACP Memo     Privileged;
                                                                                                                                                                                                           opinions and/or legal theories of counsel
                                                                                                                                                                             to Special      Work
                                                                                                                                                                                                           and/or counsel's agents.
                                                                                                                                                                             Committee       Product
Log00417      Attachment         9/25/2019 Request 6                                                                                                                         9_25_19.DOCX    Protected

                                                                                                                                                                                                           Email chain between in-house counsel
                                                                                                                                                                                                           and outside counsel requesting and
                                                                                                                                                                                                           providing legal advice regarding eBay
                                                                                                                                                                                             Attorney      response to law enforcement
                                                                                                                                                                                             Client        investigations after Natick events and
                                                                                                                                                                                             Privileged;   regarding corporate communications
                                                                                                                                                                                             Work          after Natick events and prepared in
              Standalone                               Huber,        Huber, Marie                                                                           Fwd: ebay -                      Product       anticipation of litigation.
Log00418      Document           9/25/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                            bloomberg                        Protected

                                                                                                                                                                                                           Email chain between in-house counsel
                                                                                          Phelan, Andrew C.                                                                                                and outside counsel providing
                                                                                          [REDACTED]                                                                                                       information to allow for the rendering of
                                                                                              Finn, Molly                                                   FW: Privileged                   Attorney      legal advice regarding corporate
              Standalone                               Huber,        Huber, Marie         [REDACTED]    Rome,                                               and                              Client        communications after Natick events.
Log00419      Document           9/25/2019 Request 6   Marie         [REDACTED]           Marc [REDACTED]                                                   Confidential                     Privileged




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                                                                                     Neff, Daniel A.
                                                                                     [REDACTED] Narayan,                                                                                             Attorney      Email between in-house counsel and
                                                                                     Raaj S. [REDACTED]                                                                                              Client        outside counsel requesting legal advice
                                                                                     Niles, Sabastian                                                                DRAFT Lewis                     Privileged;   regarding corporate communications
                                                                                     [REDACTED]               Wahlquist,   Finn, Molly [REDACTED]                    Statement -                     Work          after Natick events and prepared in
                                                       Huber,      Huber, Marie      Andrea K.                             Huber, Marie [REDACTED]                   Privileged and                  Product       anticipation of litigation.
Log00420      Parent             9/25/2019 Request 6   Marie       [REDACTED]        [REDACTED]                            Rome, Marc [REDACTED]                     Confidential                    Protected

                                                                                                                                                                                                      Attorney     Draft document prepared at the
                                                                                                                                                                                                      Client       direction of counsel providing
                                                                                                                                                                                      DRAFT Project Privileged;    information to allow for the rendering of
                                                                                                                                                                                      Lewis Release - Work         legal advice and prepared in
                                                       Eric                                                                                                                           With            Product      anticipation of litigation.
Log00421      Attachment         9/25/2019 Request 6   Brielmann                                                                                                                      Paragraph.DOCX Protected

                                                                                                                                                                                                                   Email chain between in-house counsel
                                                                                                                                                                                                     Attorney      and outside counsel providing and
                                                                                     Narayan, Raaj S.                                                                FW: DRAFT                       Client        discussing legal advice regarding
                                                                                     [REDACTED]        Niles,                                                        Project Lewis                   Privileged;   corporate communications after Natick
                                                                                     Sabastian [REDACTED]                  Neff, Daniel A. [REDACTED]                Release - With                  Work          events and prepared in anticipation of
                                                       Huber,      Huber, Marie      Wahlquist, Andrea K.                  Finn, Molly [REDACTED]                    Paragraph -                     Product       litigation.
Log00422      Parent             9/25/2019 Request 6   Marie       [REDACTED]        [REDACTED]                            Rome, Marc [REDACTED]                     Revised                         Protected

                                                                                                                                                                                                      Attorney     Draft document prepared at the
                                                                                                                                                                                                      Client       direction of counsel providing
                                                                                                                                                                                      DRAFT Project Privileged;    information to allow for the rendering of
                                                                                                                                                                                      Lewis Release - Work         legal advice and prepared in
                                                       Eric                                                                                                                           With            Product      anticipation of litigation.
Log00423      Attachment         9/25/2019 Request 6   Brielmann                                                                                                                      Paragraph.docx Protected


                                                                                                                                                                                                                   Email chain between in-house counsel
                                                                                                                           Finn, Molly [REDACTED]
                                                                                                                                                                                                                   and outside counsel providing and
                                                                                                                           Narayan, Raaj S.                                                          Attorney
                                                                                                                                                                                                                   discussing legal advice regarding
                                                                                                                           [REDACTED]             Rome, Marc         RE: DRAFT                       Client
                                                                                                                                                                                                                   corporate communications after Natick
                                                                                                                           [REDACTED]           Niles,               Project Lewis                   Privileged;
                                                                                                                                                                                                                   events and prepared in anticipation of
                                                                                                                           Sabastian [REDACTED]                      Release - With                  Work
                                                                                                                                                                                                                   litigation.
              Standalone                               Huber,      Huber, Marie      Neff, Daniel A.                       Wahlquist, Andrea K.                      Paragraph -                     Product
Log00424      Document           9/25/2019 Request 6   Marie       [REDACTED]        [REDACTED]                            [REDACTED]                                Revised                         Protected

                                                                                     Phelan, Andrew C.
                                                                                                                                                                                                                   Email chain between in-house counsel
                                                                                     [REDACTED]                      Neff, Daniel A. [REDACTED]
                                                                                                                                                                                                                   and outside counsel providing and
                                                                                           Billante, Joe             Huber, Marie [REDACTED]                         RE: DRAFT                       Attorney
                                                                                                                                                                                                                   discussing legal advice regarding
                                                                                     [REDACTED]          Finn, Molly Narayan, Raaj S.                                Project Lewis                   Client
                                                                                                                                                                                                                   corporate communications after Natick
                                                                                     [REDACTED]         Rome,        [REDACTED]            Niles,                    Release - With                  Privileged;
                                                                                                                                                                                                                   events and prepared in anticipation of
                                                                                     Marc [REDACTED]                 Sabastian [REDACTED]                            Paragraph -                     Work
                                                                                                                                                                                                                   litigation.
              Standalone                               Huber,      Huber, Marie      Whitelaw, Julianne              Wahlquist, Andrea K.                            Revised                         Product
Log00425      Document           9/25/2019 Request 6   Marie       [REDACTED]        [REDACTED]                            [REDACTED]                                Privileged                      Protected
                                                                                                                                                                     Re: DRAFT                       Attorney      Email chain between in-house counsel
                                                                                     Phelan, Andrew C.                                                               Project Lewis                   Client        and outside counsel providing and
                                                                                     [REDACTED]                                                                      Release - With                  Privileged;   discussing legal advice regarding
                                                                                           Finn, Molly                                                               Paragraph -                     Work          corporate communications after Natick
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]     Huber,                                                           Revised                         Product       events and prepared in anticipation of
Log00426      Document           9/26/2019 Request 6   Amir        [REDACTED]        Marie [REDACTED]                      Billante, Joe [REDACTED]                  Privileged                      Protected     litigation.




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                                                                                                                                                                                                                    Email chain between in-house counsel
                                                                                                                                                                        RE: DRAFT                     Attorney      and outside counsel providing and
                                                                                                                                                                        Project Lewis                 Client        discussing legal advice regarding
                                                                                                                                                                        Release - With                Privileged;   corporate communications after Natick
                                                                                     Phelan, Andrew C.                                                                  Paragraph -                   Work          events and prepared in anticipation of
              Standalone                               Huber,     Huber, Marie       [REDACTED]                                                                         Revised                       Product       litigation.
Log00427      Document           9/26/2019 Request 6   Marie      [REDACTED]                                              Finn, Molly [REDACTED]                        Privileged                    Protected
                                                                                                                                                                                                                    Email chain between counsel and
                                                                                                                                                                                                      Attorney
                                                                                                                                                                                                                    company employee(s) providing and
                                                                                                                                                                                                      Client
                                                                                                                                                                                                                    discussing legal advice regarding
                                                                                                                          Finn, Molly [REDACTED]                                                      Privileged;
                                                                                                                                                                                                                    corporate communications after Natick
                                                                                                                          Schenkel, Scott                               RE: Project                   Work
                                                                                                                                                                                                                    events and prepared in anticipation of
              Standalone                               Huber,     Huber, Marie       Billante, Joe                        [REDACTED]         Yetto, Kristin             Lewis comms                   Product
                                                                                                                                                                                                                    litigation.
Log00428      Document           9/26/2019 Request 6   Marie      [REDACTED]         [REDACTED]                           [REDACTED]                                    update                        Protected

                                                                                     Finn, Molly [REDACTED]                                                             FW: Project                                 Email chain between in-house and
                                                                                     Neff, Daniel A.                                                                    Lewis Special                 Attorney      outside counsel requesting and
                                                                                     [REDACTED] Narayan,                                                                Committee                     Client        providing legal advice regarding
                                                                                     Raaj S. [REDACTED]                                                                 Briefing and                  Privileged;   corporate communications after Natick
                                                                                     Rome, Marc                                                                         Draft Comms -                 Work          events and prepared in anticipation of
              Standalone                               Huber,     Huber, Marie       [REDACTED]        Niles,                                                           Privileged and                Product       litigation.
Log00429      Document           9/26/2019 Request 6   Marie      [REDACTED]         Sabastian [REDACTED]                 Huber, Marie [REDACTED]                       Confidential                  Protected


                                                                                     Swan, Bob
                                                                                     [REDACTED]                Farrell,                                                                                             Email chain between counsel and
                                                                                     Diana                                Phelan, Andrew C.                                                                         company representative(s) providing
                                                                                     [REDACTED]                           [REDACTED]                                    Re: Project                                 and discussing legal advice regarding
                                                                                     Mitic, Katie                         Billante, Joe [REDACTED]                      Lewis Special                 Attorney      corporate communications after Natick
                                                                                     [REDACTED]                           Finn, Molly [REDACTED]                        Committee                     Client        events and prepared in anticipation of
                                                                                     Traquina, Perry                      Rome, Marc [REDACTED]                         Briefing and                  Privileged;   litigation.
                                                                                     [REDACTED]                           Schenkel, Scott                               Draft Comms -                 Work
              Standalone                               Huber,     Huber, Marie       Tierney, Thomas                      [REDACTED]             Yetto, Kristin         Privileged and                Product
Log00430      Document           9/26/2019 Request 6   Marie      [REDACTED]         [REDACTED]                           [REDACTED]                                    Confidential                  Protected

                                                                                     Billante, Joe
                                                                                     [REDACTED]      Finn, Molly
                                                                                     [REDACTED]     Johnson,                                                                                                        Email chain between counsel and
                                                                                     Aaron [REDACTED]                                                                                                               company representative(s) requesting
                                                                                     Neff, Daniel A.                                                                    FW: Project                                 and providing legal advice regarding
                                                                                     [REDACTED] Narayan,                                                                Lewis Special                 Attorney      corporate communications after Natick
                                                                                     Raaj S. [REDACTED]                                                                 Committee                     Client        events and prepared in anticipation of
                                                                                     Rome, Marc                                                                         Briefing and                  Privileged;   litigation.
                                                                                     [REDACTED]          Niles,                                                         Draft Comms -                 Work
              Standalone                               Huber,     Huber, Marie       Sabastian [REDACTED]                                                               Privileged and                Product
Log00431      Document           9/27/2019 Request 6   Marie      [REDACTED]         Yetto, Kristin [REDACTED]                                                          Confidential                  Protected




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              Attachment                     Request                                                                                                                                           Basis

                                                                                          Finn, Molly [REDACTED]
                                                                                          Johnson, Aaron                                                                                                 Email chain between in-house counsel
                                                                                          [REDACTED]               Neff,                                                                                 and outside counsel requesting and
                                                                                          Daniel A. [REDACTED]                                                                                           providing legal advice regarding
                                                                                          O'Neill, Katherine A.                                                                                          Board/Committee evaluations and/or
                                                                                          [REDACTED]            Narayan,                                     FW: Project                                 determinations related to executive
                                                                                          Raaj S. [REDACTED]                                                 Lewis Special                 Attorney      employment matters and regarding
                                                                                          Rome, Marc                                                         Committee                     Client        corporate communications after Natick
                                                                                          [REDACTED]            Niles,                                       Briefing and                  Privileged;   events and prepared in anticipation of
                                                                                          Sabastian [REDACTED]                                               Draft Comms -                 Work          litigation.
              Standalone                               Huber,        Huber, Marie         Wahlquist, Andrea K.                                               Privileged and                Product
Log00432      Document           9/27/2019 Request 6   Marie         [REDACTED]           [REDACTED]                         Huber, Marie [REDACTED]         Confidential                  Protected

                                                                                          Finn, Molly [REDACTED]
                                                                                          Johnson, Aaron                                                                                                 Email chain between in-house counsel
                                                                                          [REDACTED]               Neff,                                                                                 and outside counsel providing and
                                                                                          Daniel A. [REDACTED]                                                                                           discussing legal advice regarding
                                                                                          O'Neill, Katherine A.                                                                                          Board/Committee evaluations and/or
                                                                                          [REDACTED]            Narayan,                                     RE: Project                                 determinations related to executive
                                                                                          Raaj S. [REDACTED]                                                 Lewis Special                 Attorney      employment matters and regarding
                                                                                          Rome, Marc                                                         Committee                     Client        corporate communications after Natick
                                                                                          [REDACTED]            Niles,                                       Briefing and                  Privileged;   events and prepared in anticipation of
                                                                                          Sabastian [REDACTED]                                               Draft Comms -                 Work          litigation.
              Standalone                               Huber,        Huber, Marie         Wahlquist, Andrea K.                                               Privileged and                Product
Log00433      Document           9/27/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                         Confidential                  Protected



                                                                                          Huber, Marie
                                                                                          [REDACTED]     Johnson,                                                                                        Email chain between in-house counsel
                                                                                          Aaron [REDACTED]                                                                                               and outside counsel providing and
                                                                                          Neff, Daniel A.                                                                                                discussing legal advice regarding
                                                                                          [REDACTED]             O'Neill,                                                                                Board/Committee evaluations and/or
                                                                                          Katherine A.                                                                                                   determinations related to executive
                                                                                          [REDACTED]       Narayan,                                          Re: Project                                 employment matters and regarding
                                                                                          Raaj S. [REDACTED]                                                 Lewis Special                 Attorney      corporate communications after Natick
                                                                                          Rome, Marc                                                         Committee                     Client        events and prepared in anticipation of
                                                                                          [REDACTED]       Niles,                                            Briefing and                  Privileged;   litigation.
                                                                                          Sabastian [REDACTED]                                               Draft Comms -                 Work
              Standalone                                             Finn, Molly          Wahlquist, Andrea K.                                               Privileged and                Product
Log00434      Document           9/27/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                         Confidential                  Protected

                                                                                                                                                                                                         Email chain from in-house counsel
                                                                                                                                                                                                         providing and discussing legal advice
                                                                                                                                                             Re: Project                                 regarding Board/Committee evaluations
                                                                                                                                                             Lewis Special                 Attorney      and/or determinations related to
                                                                                                                                                             Committee                     Client        executive employment matters and
                                                                                                                                                             Briefing and                  Privileged;   regarding corporate communications
                                                                                                                                                             Draft Comms -                 Work          after Natick events and prepared in
              Standalone                                             Finn, Molly          Huber, Marie                                                       Privileged and                Product       anticipation of litigation.
Log00435      Document           9/27/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                         Confidential                  Protected




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                                                                                                                                                                                                            Email chain between counsel and
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                                                                                                                                                         FW: Project
                                                                                                                                                                                                            Board/Committee evaluations and/or
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                                                                                                                                                                                                            corporate communications after Natick
                                                                                                                                                         Draft Comms -                        Work
                                                                                                                                                                                                            events and prepared in anticipation of
              Standalone                               Huber,      Huber, Marie                                                                          Privileged and                       Product
                                                                                                                                                                                                            litigation.
Log00436      Document           9/27/2019 Request 6   Marie       [REDACTED]        Yetto, Kristin [REDACTED]      Finn, Molly [REDACTED]               Confidential                         Protected


                                                                                                                                                                                                            Email from in-house counsel providing
                                                                                                                                                                                                            legal advice regarding eBay internal
                                                                                                                                                                                                            investigation after Natick events and
                                                                                                                                                                                                            regarding eBay response to law
                                                                                                                                                                                                            enforcement investigations after Natick
                                                                                                                                                                                                            events and regarding Board/Committee
                                                                                                                                                                                              Attorney      evaluations and/or determinations
                                                                                                                                                         Project                              Client        related to executive employment
                                                                                                                                                         [REDACTED] -                         Privileged;   matters and regarding unrelated
                                                                                                                                                         Draft Talking                        Work          litigation/legal matters and prepared in
              Standalone                               Johnson,    Johnson, Aaron    Finn, Molly [REDACTED]                                              Points                               Product       anticipation of litigation.
Log00437      Document           9/27/2019 Request 6   Aaron       [REDACTED]        Rome, Marc [REDACTED]                                               (privileged)                         Protected

                                                                                                                                                                                              Attorney      Email from in-house counsel providing
                                                                                                                                                                                              Client        information to allow for the rendering of
                                                                                                                                                                                              Privileged;   legal advice regarding eBay internal
                                                                                                                                                                                              Work          investigation after Natick events and
                                                       Vonsover,   Vonsover, Amir    Johnson, Aaron                                                      A/C Priv                             Product       prepared in anticipation of litigation.
Log00438      Parent             9/27/2019 Request 6   Amir        [REDACTED]        [REDACTED]                                                          Confidential                         Protected


                                                                                                                                                                                              Attorney      Memorandum prepared by counsel
                                                                                                                                                                            Project Lewis -   Client        providing information to allow for the
                                                                                                                                                                            Key Wenig and     Privileged;   rendering of legal advice regarding eBay
                                                                                                                                                                            Wymer Texts for   Work          internal investigation after Natick events
                                                                                                                                                                            Client -          Product       and prepared in anticipation of litigation.
Log00439      Attachment         9/27/2019 Request 6                                                                                                                        09.08.2019 docx   Protected

                                                                                                                                                                                                            Email chain between in-house counsel
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                                                                                                                                                         [REDACTED]                           Attorney      evaluations and/or determinations
                                                                                     Finn, Molly [REDACTED]                                              Talking Points                       Client        related to executive employment
                                                                                     Huber, Marie                   White, John W.                       (attorney-                           Privileged;   matters and regarding unrelated
                                                                                     [REDACTED]        Neff,        [REDACTED]          Johnson,         client privilege                     Work          litigation/legal matters and prepared in
                                                       Johnson,    Johnson, Aaron    Daniel A. [REDACTED]           Aaron [REDACTED]                     / attorney                           Product       anticipation of litigation.
Log00440      Parent             9/28/2019 Request 6   Aaron       [REDACTED]        Rome, Marc [REDACTED]          Stuart, David [REDACTED]             work product)                        Protected




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Log00441      Attachment         9/28/2019 Request 6                                                                                                                              (003).docx      Protected

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                                                                                     Finn, Molly [REDACTED]                                                                                       Client        related to executive employment
                                                                                     Johnson, Aaron                                                              [REDACTED] 9-                    Privileged;   matters and regarding unrelated
                                                                                     [REDACTED]          Neff,                                                   30-19 -                          Work          litigation/legal matters and prepared in
                                                       Huber,     Huber, Marie       Daniel A. [REDACTED]                                                        Privileged and                   Product       anticipation of litigation.
Log00442      Parent             9/29/2019 Request 6   Marie      [REDACTED]         Rome, Marc [REDACTED]          Huber, Marie [REDACTED]                      confidential                     Protected

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                                                                                                                                                                                                  Client        communications after Natick events and
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                                                                                                                                                                                                  Work          matters and prepared in anticipation of
                                                       Huber,                                                                                                                     [REDACTED] 9-   Product       litigation.
Log00443      Attachment         9/29/2019 Request 6   Marie                                                                                                                      30-19 docx      Protected

                                                                                                                                                                                                                Email from in-house counsel requesting
                                                                                                                                                                                                                information to render legal advice
                                                                                                                    Doerger, Brian                                                                Attorney
                                                                                                                                                                                                                regarding eBay internal investigation
              Standalone                               Johnson,   Johnson, Aaron     Sands, Penny                   [REDACTED]              Finn, Molly                                           Client
                                                                                                                                                                                                                after Natick events.
Log00444      Document           9/29/2019 Request 6   Aaron      [REDACTED]         [REDACTED]                     [REDACTED]                                   Project Lewis                    Privileged

                                                                                                                                                                                                                Email between in-house counsel and
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                                                                                                                    Johnson, Aaron                                                                Attorney      and/or determinations related to
                                                                                     Finn, Molly [REDACTED]         [REDACTED]               White, John                                          Client        executive employment matters and
                                                                                     Huber, Marie                   W. [REDACTED]                                Project                          Privileged;   regarding unrelated litigation/legal
                                                                                     [REDACTED]        Neff,        FitzGerald, Kate                             Lewis/Project                    Work          matters and prepared in anticipation of
                                                       Johnson,   Johnson, Aaron     Daniel A. [REDACTED]           [REDACTED]                  Stuart,          [REDACTED]                       Product       litigation.
Log00445      Parent             9/29/2019 Request 6   Aaron      [REDACTED]         Rome, Marc [REDACTED]          David [REDACTED]                             Talking Points                   Protected




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                                                                                                                                                                                                           outside counsel providing and discussing
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                                                                                     Finn, Molly [REDACTED]         White, John W.                                                           Client        executive employment matters and
                                                                                     Huber, Marie                   [REDACTED]           Johnson,                                            Privileged;   regarding unrelated litigation/legal
                                                                                     [REDACTED]        Neff,        Aaron [REDACTED]                      [REDACTED]                         Work          matters and prepared in anticipation of
                                                       Johnson,   Johnson, Aaron     Daniel A. [REDACTED]           Stuart, David [REDACTED]              Talking Points                     Product       litigation.
Log00447      Parent             9/29/2019 Request 6   Aaron      [REDACTED]         Rome, Marc [REDACTED]          Ryan, Victoria [REDACTED]             (privileged)                       Protected

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Log00448      Attachment         9/29/2019 Request 6                                                                                                                       850pm.docx        Protected

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                                                                                                                    Finn, Molly [REDACTED]                                                                 and regarding Board/Committee
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                                                                                                                    Rome, Marc [REDACTED]                                                    Client        related to executive employment
                                                                                                                    Stuart, David [REDACTED]              RE:                                Privileged;   matters and regarding unrelated
                                                                                     Johnson, Aaron                 Ryan, Victoria [REDACTED]             [REDACTED]                         Work          litigation/legal matters and prepared in
                                                       Huber,     Huber, Marie       [REDACTED]         Neff,       White, John W.                        Talking Points                     Product       anticipation of litigation.
Log00449      Parent             9/29/2019 Request 6   Marie      [REDACTED]         Daniel A. [REDACTED]           [REDACTED]                            (privileged)                       Protected




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                                                       Huber,                                                                                                                    2019 09.29 945    Product       anticipation of litigation.
Log00450      Attachment         9/29/2019 Request 6   Marie                                                                                                                     pm PT.docx        Protected

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                                                                                                                     Huber, Marie [REDACTED]                  [REDACTED]                           Privileged;   matters and regarding unrelated
                                                                                                                     Johnson, Aaron                           Talking Points -                     Work          litigation/legal matters and prepared in
                                                       Huber,     Huber, Marie       Tierney, Thomas                 [REDACTED]          Neff, Daniel         Privileged &                         Product       anticipation of litigation.
Log00451      Parent             9/29/2019 Request 6   Marie      [REDACTED]         [REDACTED]                      A. [REDACTED]                            Confidential                         Protected


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                                                       Huber,                                                                                                                    2019 09.29 10     Product       anticipation of litigation.
Log00452      Attachment         9/29/2019 Request 6   Marie                                                                                                                     pm PT.docx        Protected

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                                                       Johnson,   Johnson, Aaron     Stuart, David                   Finn, Molly [REDACTED]                   Privileged &                         Product       anticipation of litigation.
Log00453      Parent             9/30/2019 Request 6   Aaron      [REDACTED]         [REDACTED]                      Rome, Marc [REDACTED]                    Confidential                         Protected




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Log00454      Attachment         9/30/2019 Request 6   Marie                                                                                                                      pm PT.docx        Protected

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                                                                                     Finn, Molly [REDACTED]                                                     Project Lewis /                     Client         related to executive employment
                                                                                     Huber, Marie                                                               Project                             Privileged;    matters and regarding unrelated
                                                                                     [REDACTED]        Neff,        FitzGerald, Kate                            [REDACTED] -                        Work           litigation/legal matters and prepared in
                                                       Johnson,   Johnson, Aaron     Daniel A. [REDACTED]           [REDACTED]                  Stuart,         [REDACTED]                          Product        anticipation of litigation.
Log00455      Parent             9/30/2019 Request 6   Aaron      [REDACTED]         Rome, Marc [REDACTED]          David [REDACTED]                            Talking Points                      Protected


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Log00456      Attachment         9/30/2019 Request 6                                                                                                                              x                  Protected

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                                                       Johnson,   Johnson, Aaron     Huber, Marie                                                               [REDACTED]                          Product        litigation.
Log00457      Parent             9/30/2019 Request 6   Aaron      [REDACTED]         [REDACTED]                                                                 talking points                      Protected




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                                                                                                                                                            Talking Points -                     Work           litigation/legal matters and prepared in
                                                       Huber,        Huber, Marie         Schenkel, Scott                                                   Privileged &                         Product        anticipation of litigation.
Log00459      Parent             9/30/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                        Confidential                         Protected

                                                                                                                                                                                                                Draft document prepared by counsel
                                                                                                                                                                                                                reflecting legal advice regarding eBay
                                                                                                                                                                                                                internal investigation after Natick events
                                                                                                                                                                                                                and regarding Board/Committee
                                                                                                                                                                               Sept. 30          Attorney       evaluations and/or determinations
                                                                                                                                                                               [REDACTED] Call   Client         related to executive employment
                                                                                                                                                                               Talking Points    Privileged;    matters and regarding unrelated
                                                                                                                                                                               UPDATED DRAFT     Work           litigation/legal matters and prepared in
                                                       Huber,                                                                                                                  2019 09.29 10     Product        anticipation of litigation.
Log00460      Attachment         9/30/2019 Request 6   Marie                                                                                                                   pm PT.docx        Protected

                                                                                                                                                                                                                Email chain between counsel and
                                                                                                                                                                                                 Attorney       company employees(s) providing
                                                                                                                                                                                                 Client         information to allow for the rendering of
                                                                                                                                                                                                 Privileged;    legal advice regarding eBay internal
                                                                                          Doerger, Brian                                                                                         Work           investigation after Natick events and
              Standalone                                             Finn, Molly          [REDACTED]       Johnson,                                         Project Lewis                        Product        prepared in anticipation of litigation.
Log00461      Document           9/30/2019 Request 6   Finn, Molly   [REDACTED]           Aaron [REDACTED]                                                  Discussion                           Protected




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                                                                                                                                                                                                          Email chain from counsel to company
                                                                                                                                                                                                          employee(s) providing information to
                                                                                                                                                                                                          allow for the rendering of legal advice
                                                                                                                                                                                                          regarding eBay internal investigation
                                                                                                                                                                                                          after Natick events and regarding eBay
                                                                                                                                                                                                          response to law enforcement
                                                                                                                                                                                                          investigations after Natick events and
                                                                                                                                                                                                          regarding Board/Committee evaluations
                                                                                                                                                                                            Attorney      and/or determinations related to
                                                                                                                                                             FW: Project                    Client        executive employment matters and
                                                                                                                                                             Lewis / Project                Privileged;   regarding unrelated litigation/legal
                                                                                                                                                             [REDACTED] -                   Work          matters and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie         Schenkel, Scott                                                    [REDACTED]                     Product       litigation.
Log00462      Document           9/30/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                         Talking Points                 Protected

                                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                                                                                          company employee(s) reflecting a
                                                                                                                                                                                                          request for legal advice regarding eBay
                                                                                          Doerger, Brian                                                     Re: Project                    Attorney
                                                                                                                                                                                                          internal investigation after Natick
              Standalone                               Johnson,      Johnson, Aaron       [REDACTED]       Finn,                                             Lewis                          Client
                                                                                                                                                                                                          events.
Log00463      Document           9/30/2019 Request 6   Aaron         [REDACTED]           Molly [REDACTED]                                                   Discussion                     Privileged

                                                                                                                                                                                            Attorney      Email chain between counsel and
                                                                                                                                                                                            Client        company employee(s) providing and
                                                                                          Billante, Joe                                                                                     Privileged;   discussing legal advice regarding
                                                                                          [REDACTED]           Huber,                                                                       Work          corporate communications after Natick
              Standalone                                             Finn, Molly          Marie [REDACTED]                                                   Re: Comms                      Product       events and prepared in anticipation of
Log00464      Document           9/30/2019 Request 6   Finn, Molly   [REDACTED]           Yetto, Kristin [REDACTED]                                          check in                       Protected     litigation.

                                                                                                                                                                                            Attorney      Email chain between counsel and
                                                                                                                                                                                            Client        company employee(s) requesting and
                                                                                          Billante, Joe                                                                                     Privileged;   providing legal advice regarding
                                                                                          [REDACTED]        Finn, Molly                                                                     Work          corporate communications after Natick
              Standalone                               Huber,        Huber, Marie         [REDACTED]       Yetto,                                            RE: Comms                      Product       events and prepared in anticipation of
Log00465      Document           9/30/2019 Request 6   Marie         [REDACTED]           Kristin [REDACTED]                                                 check in                       Protected     litigation.
                                                                                                                                                                                            Attorney
                                                                                                                                                                                                          Email chain from in-house counsel
                                                                                                                                                                                            Client
                                                                                                                                                                                                          discussing legal advice regarding
                                                                                                                                                                                            Privileged;
                                                                                                                                                                                                          corporate communications after Natick
                                                                                                                                                                                            Work
                                                                                                                                                                                                          events and prepared in anticipation of
              Standalone                               Johnson,      Johnson, Aaron       Finn, Molly [REDACTED]                                             FW: Comms                      Product
                                                                                                                                                                                                          litigation.
Log00466      Document           10/1/2019 Request 6   Aaron         [REDACTED]           Rome, Marc [REDACTED]                                              check in                       Protected

                                                                                                                                                                                            Attorney      Email chain from in-house counsel
                                                                                                                                                                                            Client        requesting and providing legal advice
                                                                                                                                                                                            Privileged;   regarding corporate communications
                                                                                          Johnson, Aaron                                                                                    Work          after Natick events and prepared in
              Standalone                                             Finn, Molly          [REDACTED]      Rome,                                              Re: Comms                      Product       anticipation of litigation.
Log00467      Document           10/1/2019 Request 6   Finn, Molly   [REDACTED]           Marc [REDACTED]                                                    check in                       Protected

                                                                                                                                                                                            Attorney      Email chain from in-house counsel
                                                                                                                                                                                            Client        requesting and providing legal advice
                                                                                                                                                                                            Privileged;   regarding corporate communications
                                                                                                                                                                                            Work          after Natick events and prepared in
              Standalone                               Johnson,      Johnson, Aaron       Finn, Molly [REDACTED]                                             Re: Comms                      Product       anticipation of litigation.
Log00468      Document           10/1/2019 Request 6   Aaron         [REDACTED]           Rome, Marc [REDACTED]                                              check in                       Protected




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                                                                                                                                                                                         Client        requesting and providing legal advice
                                                                                                                                                                                         Privileged;   and regarding corporate
                                                                                          Johnson, Aaron                                                                                 Work          communications after Natick events and
              Standalone                                             Finn, Molly          [REDACTED]      Rome,                                            Re: Comms                     Product       prepared in anticipation of litigation.
Log00469      Document           10/1/2019 Request 6   Finn, Molly   [REDACTED]           Marc [REDACTED]                                                  check in                      Protected
                                                                                                                                                                                         Attorney
                                                                                                                                                                                         Client        Email from in-house counsel discussing
                                                                                                                                                                                         Privileged;   legal advice regarding eBay internal
                                                                                                                                                           Project Lewis                 Work          investigation after Natick events and
              Standalone                               Huber,        Huber, Marie         Finn, Molly [REDACTED]                                           committee                     Product       prepared in anticipation of litigation.
Log00470      Document           10/1/2019 Request 6   Marie         [REDACTED]           Rome, Marc [REDACTED]          Huber, Marie [REDACTED]           change                        Protected

                                                                                                                                                                                         Attorney      Email chain from in-house counsel
                                                                                                                                                                                         Client        providing and discussing legal advice
                                                                                                                                                           Re: Project                   Privileged;   regarding eBay internal investigation
                                                                                          Huber, Marie                                                     Lewis                         Work          after Natick events and prepared in
              Standalone                                             Finn, Molly          [REDACTED]     Rome,                                             committee                     Product       anticipation of litigation.
Log00471      Document           10/1/2019 Request 6   Finn, Molly   [REDACTED]           Marc [REDACTED]                Huber, Marie [REDACTED]           change                        Protected
                                                                                                                                                                                         Attorney
                                                                                                                                                                                         Client        Email chain from in-house counsel
                                                                                                                                                           Re: Project                   Privileged;   discussing legal advice regarding eBay
                                                                                                                                                           Lewis                         Work          internal investigation after Natick events
              Standalone                               Huber,        Huber, Marie         Finn, Molly [REDACTED]                                           committee                     Product       and prepared in anticipation of litigation.
Log00472      Document           10/2/2019 Request 6   Marie         [REDACTED]           Rome, Marc [REDACTED]                                            change                        Protected

                                                                                                                                                                                                       Email from counsel to company
                                                                                                                                                                                         Attorney      representative(s) providing information
                                                                                                                                                                                         Client        to allow for the rendering of legal advice
                                                                                                                                                                                         Privileged;   regarding eBay internal investigation
                                                                                                                         Huber, Marie [REDACTED]           Project Lewis                 Work          after Natick events and prepared in
              Standalone                               Huber,        Huber, Marie         Brown, Adriane                 Tamboura, Angela                  Special                       Product       anticipation of litigation.
Log00473      Document           10/2/2019 Request 6   Marie         [REDACTED]           [REDACTED]                     [REDACTED]                        Committee                     Protected

                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                          Phelan, Andrew C.                                                                              Attorney      and outside counsel requesting and
                                                                                          [REDACTED]                 Finn, Molly [REDACTED]                                              Client        providing legal advice regarding
                                                                                              Doerger, Brian         Guy, Jennifer [REDACTED]                                            Privileged;   corporate communications after Natick
                                                                                          [REDACTED]        Narayan, Sands, Penny [REDACTED]               RE: Project                   Work          events and prepared in anticipation of
              Standalone                               Johnson,      Johnson, Aaron       Raaj S. [REDACTED]         Tamboura, Angela                      Lewis -                       Product       litigation.
Log00474      Document           10/2/2019 Request 6   Aaron         [REDACTED]           Rome, Marc [REDACTED]      [REDACTED]                            Privileged                    Protected


                                                                                                                                                                                         Attorney      Email chain from in-house counsel
                                                                                                                                                                                         Client        requesting and providing legal advice
                                                                                                                                                                                         Privileged;   regarding corporate communications
                                                                                                                                                                                         Work          after Natick events and prepared in
              Standalone                                             Finn, Molly          Johnson, Aaron                                                   Re: comms call                Product       anticipation of litigation.
Log00475      Document           10/2/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                     Rome, Marc [REDACTED]             recap                         Protected




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                                                                                                                                                                                                        Email chain between in-house counsel
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                                                                                                                                                                                                        internal investigation after Natick events
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                                                                                                                                                                                                        enforcement investigations after Natick
                                                                                                                                                                                          Client
                                                                                                                                                                                                        events and regarding corporate
                                                                                     Phelan, Andrew C.                                                   FW: Sept 27:                     Privileged;
                                                                                                                                                                                                        communications after Natick events and
                                                                                     [REDACTED]                                                          Project Lewis -                  Work
                                                                                                                                                                                                        prepared in anticipation of litigation.
                                                       Huber,      Huber, Marie            Finn, Molly                                                   Privileged and                   Product
Log00476      Parent             10/2/2019 Request 6   Marie       [REDACTED]        [REDACTED]                                                          Confidential                     Protected

                                                                                                                                                                                         Attorney       Draft document prepared at the
                                                                                                                                                                                         Client         direction of counsel providing
                                                                                                                                                                           DRAFT Project Privileged;    information to allow for the rendering of
                                                                                                                                                                           Lewis Release Work           legal advice and prepared in
                                                       Eric                                                                                                                (01130683xA26 Product        anticipation of litigation.
Log00477      Attachment         10/2/2019 Request 6   Brielmann                                                                                                           CA) docx      Protected


                                                                                                                                                                                                        Email chain between counsel and
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                                                                                                                                                                                                        advice regarding Board/Committee
                                                                                                                                                                                                        evaluations and/or determinations
                                                                                                                                                                                          Attorney      related to executive employment
                                                                                                                                                                                          Client        matters and regarding general corporate
                                                                                     Billante, Joe                                                                                        Privileged;   matters and regarding unrelated
                                                                                     [REDACTED]           Schenkel,                                      RE: Quick                        Work          litigation/legal matters and prepared in
              Standalone                               Huber,      Huber, Marie      Scott [REDACTED]                                                    Update -                         Product       anticipation of litigation.
Log00478      Document           10/2/2019 Request 6   Marie       [REDACTED]        Yetto, Kristin [REDACTED]      Huber, Marie [REDACTED]              Privileged                       Protected


                                                                                                                                                                                                        Email between in-house counsel and
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                                                                                     Phelan, Andrew C.                                                   10 2.19:                         Privileged;
                                                                                                                                                                                                        communications after Natick events and
                                                                                     [REDACTED]                                                          Project Lewis -                  Work
                                                                                                                                                                                                        prepared in anticipation of litigation.
                                                       Huber,      Huber, Marie            Finn, Molly                 Huber, Marie [REDACTED]           Privileged and                   Product
Log00479      Parent             10/2/2019 Request 6   Marie       [REDACTED]        [REDACTED]                        Rome, Marc [REDACTED]             Confidential                     Protected

                                                                                                                                                                                         Attorney       Draft document prepared at the
                                                                                                                                                                                         Client         direction of counsel providing
                                                                                                                                                                           DRAFT Project Privileged;    information to allow for the rendering of
                                                                                                                                                                           Lewis Release Work           legal advice and prepared in
                                                       Eric                                                                                                                (01130683xA26 Product        anticipation of litigation.
Log00480      Attachment         10/2/2019 Request 6   Brielmann                                                                                                           CA) docx      Protected




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                                                                                          Brown, Adriane
                                                                                          [REDACTED]
                                                                                          Bates, Anthony [REDACTED]
                                                                                                     ; Swan, Bob
                                                                                          [REDACTED]             Hammer,
                                                                                          Bonnie                                                                                                             Email from company employee to
                                                                                          [REDACTED]                                                                                                         counsel providing information to allow
                                                                                          Farrell, Diana                                                                                                     for the rendering of legal advice
                                                                                          [REDACTED]                                                                                                         regarding Board/Committee evaluations
                                                                                          Anderson, Fred                                                                                                     and/or determinations related to
                                                                                          [REDACTED]       Cohn,                                                                                             executive employment matters and
                                                                                          Jesse [REDACTED]                                                                                                   regarding general corporate matters and
                                                                                          Mitic, Katie                                                                                                       regarding unrelated litigation/legal
                                                                                          [REDACTED]       Green,                                                                                            matters.
                                                                                          Logan [REDACTED] Murphy,
                                                                                          Matt [REDACTED]
                                                                                          Pressler, Paul [REDACTED]
                                                                                                     Traquina, Perry
                                                                                          [REDACTED]
                                                                                          Omidyar, Pierre
                                                                                          [REDACTED]                Tierney,                                                                   Attorney
              Standalone                               Schenkel,     Schenkel, Scott      Thomas                                                                                               Client
Log00481      Document           10/2/2019 Request 6   Scott         [REDACTED]           [REDACTED]                           Huber, Marie [REDACTED]          Quick Update                   Privileged


                                                                                                                                                                                                             Email chain between in-house counsel
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                                                                                                                                                                                                             regarding corporate communications
                                                                                          Phelan, Andrew C.                                                     Re: 10.2.19:                   Privileged;
                                                                                                                                                                                                             after Natick events and prepared in
                                                                                          [REDACTED]                                                            Project Lewis -                Work
                                                                                                                                                                                                             anticipation of litigation.
              Standalone                                             Finn, Molly              Huber, Marie                     Huber, Marie [REDACTED]          Privileged and                 Product
Log00482      Document           10/3/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                           Rome, Marc [REDACTED]            Confidential                   Protected




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                                                                                          Phelan, Andrew C.                                                 Re: 10.2.19:                   Privileged;
                                                                                                                                                                                                         after Natick events and prepared in
                                                                                          [REDACTED]                                                        Project Lewis -                Work
                                                                                                                                                                                                         anticipation of litigation.
              Standalone                               Huber,        Huber, Marie             Finn, Molly                 Huber, Marie [REDACTED]           Privileged and                 Product
Log00483      Document           10/3/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Rome, Marc [REDACTED]             Confidential                   Protected


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                                                                                                                                                                                           Attorney      employment/personnel matters and/or
                                                                                                                                                                                           Client        actions after Natick events and
                                                                                          Phelan, Andrew C.                                                 Re: 10.2.19:                   Privileged;   regarding corporate communications
                                                                                          [REDACTED]                                                        Project Lewis -                Work          after Natick events and prepared in
              Standalone                               Huber,        Huber, Marie             Finn, Molly                                                   Privileged and                 Product       anticipation of litigation.
Log00484      Document           10/3/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Rome, Marc [REDACTED]             Confidential                   Protected


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                                                                                                                                                                                                         employment/personnel matters and/or
                                                                                                                                                                                           Attorney      actions after Natick events and
                                                                                                                                                                                           Client        regarding corporate communications
                                                                                          Phelan, Andrew C.                                                 Re: 10.2.19:                   Privileged;   after Natick events and prepared in
                                                                                          [REDACTED]                                                        Project Lewis -                Work          anticipation of litigation.
              Standalone                                             Finn, Molly              Huber, Marie                Huber, Marie [REDACTED]           Privileged and                 Product
Log00485      Document           10/3/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                      Rome, Marc [REDACTED]             Confidential                   Protected

                                                                                                                                                                                                         Email chain from in-house counsel
                                                                                                                                                                                           Attorney      providing and discussing legal advice
                                                                                                                                                                                           Client        regarding employment/personnel
                                                                                                                                                                                           Privileged;   matters and/or actions after Natick
                                                                                          Johnson, Aaron                                                    A/C Priv- SW                   Work          events and prepared in anticipation of
                                                       Vonsover,     Vonsover, Amir       [REDACTED]      Rome,                                             Indemnificatio                 Product       litigation.
Log00486      Parent             10/3/2019 Request 6   Amir          [REDACTED]           Marc [REDACTED]                 Finn, Molly [REDACTED]            n                              Protected




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                                                                                                                                                                       Wymer          Privileged;    employment/personnel matters and/or
                                                                                                                                                                       Undertaking to Work           actions after Natick events and prepared
                                                       Blanchard,                                                                                                      Repay          Product        in anticipation of litigation.
Log00487      Attachment         10/3/2019 Request 6   Michael D.                                                                                                      10.3.2019.DOCX Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                       Attorney      providing and discussing legal advice
                                                                                                                                                                                       Client        regarding employment/personnel
                                                                                                                                                      Re: A/C Priv-                    Privileged;   matters and/or actions after Natick
                                                                                     Johnson, Aaron                                                   SW                               Work          events and prepared in anticipation of
              Standalone                               Vonsover,    Vonsover, Amir   [REDACTED]      Rome,                                            Indemnificatio                   Product       litigation.
Log00488      Document           10/3/2019 Request 6   Amir         [REDACTED]       Marc [REDACTED]                Finn, Molly [REDACTED]            n                                Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                       Attorney      providing and discussing legal advice
                                                                                                                                                                                       Client        regarding employment/personnel
                                                                                                                                                      Re: A/C Priv-                    Privileged;   matters and/or actions after Natick
                                                                                     Johnson, Aaron                                                   SW                               Work          events and prepared in anticipation of
              Standalone                               Vonsover,    Vonsover, Amir   [REDACTED]      Rome,                                            Indemnificatio                   Product       litigation.
Log00489      Document           10/3/2019 Request 6   Amir         [REDACTED]       Marc [REDACTED]                Finn, Molly [REDACTED]            n                                Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                       Attorney      providing and discussing legal advice
                                                                                                                                                                                       Client        regarding employment/personnel
                                                                                                                                                      RE: A/C Priv-                    Privileged;   matters and/or actions after Natick
                                                                                     Rome, Marc                                                       SW                               Work          events and prepared in anticipation of
              Standalone                               Johnson,     Johnson, Aaron   [REDACTED]     Vonsover,                                         Indemnificatio                   Product       litigation.
Log00490      Document           10/3/2019 Request 6   Aaron        [REDACTED]       Amir [REDACTED]          Finn, Molly [REDACTED]                  n                                Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                       Attorney      providing and discussing legal advice
                                                                                                                                                                                       Client        regarding employment/personnel
                                                                                                                                                      Re: A/C Priv-                    Privileged;   matters and/or actions after Natick
                                                                                     Johnson, Aaron                                                   SW                               Work          events and prepared in anticipation of
              Standalone                               Vonsover,    Vonsover, Amir   [REDACTED]      Rome,                                            Indemnificatio                   Product       litigation.
Log00491      Document           10/3/2019 Request 6   Amir         [REDACTED]       Marc [REDACTED]                Finn, Molly [REDACTED]            n                                Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                       Attorney      providing and discussing legal advice
                                                                                                                                                                                       Client        regarding employment/personnel
                                                                                                                                                      Re: A/C Priv-                    Privileged;   matters and/or actions after Natick
                                                                                     Johnson, Aaron                                                   SW                               Work          events and prepared in anticipation of
              Standalone                               Vonsover,    Vonsover, Amir   [REDACTED]      Rome,                                            Indemnificatio                   Product       litigation.
Log00492      Document           10/3/2019 Request 6   Amir         [REDACTED]       Marc [REDACTED]                Finn, Molly [REDACTED]            n                                Protected




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                                                                                                                                                                                                      Client        regarding employment/personnel
                                                                                                                                                                     Re: A/C Priv-                    Privileged;   matters and/or actions after Natick
                                                                                          Rome, Marc                                                                 SW                               Work          events and prepared in anticipation of
              Standalone                               Johnson,      Johnson, Aaron       [REDACTED]     Vonsover,                                                   Indemnificatio                   Product       litigation.
Log00493      Document           10/3/2019 Request 6   Aaron         [REDACTED]           Amir [REDACTED]          Finn, Molly [REDACTED]                            n                                Protected


                                                                                                                                                                                                                    Email from in-house counsel providing
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                                                                                                                                                                                                                    and discussing legal advice regarding
                                                                                                                                                                                                      Client
                                                                                                                                                                                                                    employment/personnel matters and/or
                                                                                                                           Finn, Molly [REDACTED]                                                     Privileged;
                                                                                                                                                                                                                    actions after Natick events and prepared
                                                                                                                           Johnson, Aaron                            A/C Priv - SW                    Work
                                                                                                                                                                                                                    in anticipation of litigation.
                                                       Vonsover,     Vonsover, Amir       Huber, Marie                     [REDACTED]          Rome, Marc            Indemnificatio                   Product
Log00494      Parent             10/3/2019 Request 6   Amir          [REDACTED]           [REDACTED]                       [REDACTED]                                n Response                       Protected

                                                                                                                                                                                                                    Attachment to Privileged/Protected
                                                                                                                                                                                                     Attorney       Communication prepared by counsel
                                                                                                                                                                                                     Client         reflecting legal advice regarding
                                                                                                                                                                                      Wymer          Privileged;    employment/personnel matters and/or
                                                                                                                                                                                      Undertaking to Work           actions after Natick events and prepared
                                                       Blanchard,                                                                                                                     Repay          Product        in anticipation of litigation.
Log00495      Attachment         10/3/2019 Request 6   Michael D.                                                                                                                     10.3.2019.DOCX Protected

                                                                                                                                                                                                                    Email chain from in-house counsel
                                                                                                                                                                                                      Attorney      providing and discussing legal advice
                                                                                                                                                                                                      Client        regarding employment/personnel
                                                                                                                                                                     RE: A/C Priv -                   Privileged;   matters and/or actions after Natick
                                                                                          Huber, Marie                     Johnson, Aaron                            SW                               Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly          [REDACTED]      Vonsover, [REDACTED]                    Rome, Marc         Indemnificatio                   Product       litigation.
Log00496      Document           10/3/2019 Request 6   Finn, Molly   [REDACTED]           Amir [REDACTED]           [REDACTED]                                       n Response                       Protected

                                                                                                                                                                                                                    Email chain from in-house counsel
                                                                                                                                                                                                      Attorney      providing and discussing legal advice
                                                                                                                                                                                                      Client        regarding employment/personnel
                                                                                                                                                                     RE: A/C Priv -                   Privileged;   matters and/or actions after Natick
                                                                                          Finn, Molly [REDACTED]           Johnson, Aaron                            SW                               Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie         Vonsover, Amir                   [REDACTED]             Rome, Marc         Indemnificatio                   Product       litigation.
Log00497      Document           10/3/2019 Request 6   Marie         [REDACTED]           [REDACTED]                       [REDACTED]                                n Response                       Protected


                                                                                                                                                                                                                    Email chain between in-house counsel
                                                                                                                                                                                                                    and outside counsel providing and
                                                                                                                                                                     FW: A/C Priv -                   Attorney
                                                                                                                                                                                                                    discussing legal advice regarding
                                                                                          Neff, Daniel A.                                                            SW                               Client
                                                                                                                                                                                                                    employment/personnel matters and/or
                                                                                          [REDACTED] Narayan,                                                        Indemnificatio                   Privileged;
                                                                                                                                                                                                                    actions after Natick events and prepared
                                                                                          Raaj S. [REDACTED]               Finn, Molly [REDACTED]                    n Response -                     Work
                                                                                                                                                                                                                    in anticipation of litigation.
              Standalone                               Huber,        Huber, Marie         Niles, Sabastian                 Huber, Marie [REDACTED]                   Privileged &                     Product
Log00498      Document           10/3/2019 Request 6   Marie         [REDACTED]           [REDACTED]                       Rome, Marc [REDACTED]                     Confidential                     Protected




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                                                                                                                                                                                                                Email chain between counsel and
                                                                                                                                                                                                                company representative(s) providing
                                                                                                                                                                                                                and discussing legal advice regarding
                                                                                                                                                                                                                eBay internal investigation after Natick
                                                                                                                                                                                                                events and regarding eBay response to
                                                                                                                                                                                                                law enforcement investigations after
                                                                                                                                                                                                                Natick events and and regarding
                                                                                                                                                                                                  Attorney      employment/personnel matters and/or
                                                                                                                                                                                                  Client        actions after Natick events regarding
                                                                                                                                                                   Fwd: 10.3.19:                  Privileged;   corporate communications after Natick
                                                                                                                                                                   Project Lewis -                Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie         Finn, Molly [REDACTED]                                                   Privileged and                 Product       litigation.
Log00499      Document           10/4/2019 Request 6   Marie         [REDACTED]           Rome, Marc [REDACTED]                                                    Confidential                   Protected

                                                                                                                                                                                                                Email chain between in-house counsel
                                                                                                                                                                                                                and outside counsel requesting and
                                                                                                                         Connor, Bryan M.                                                                       providing legal advice regarding eBay
                                                                                                                         [REDACTED]                                                               Attorney      internal investigation after Natick events
                                                                                                                         Macauley, Shannon                                                        Client        and regarding eBay response to law
                                                                                                                         [REDACTED]              Ricupero,         Re:                            Privileged;   enforcement investigations after Natick
                                                                                          Phelan, Andrew C.              Kara [REDACTED]                           Forensics/eBay                 Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly          [REDACTED]                     Vonsover, Amir                            - outbound to                  Product       litigation.
Log00500      Document           10/4/2019 Request 6   Finn, Molly   [REDACTED]                                          [REDACTED]                                an ip address                  Protected

                                                                                                                                                                                                                Email chain between counsel and
                                                                                                                                                                                                                company representative(s) providing
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                                                                                                                                                                                                                eBay internal investigation after Natick
                                                                                                                                                                                                                events and regarding eBay response to
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                                                                                                                                                                                                                Natick events and and regarding
                                                                                                                                                                                                  Attorney      employment/personnel matters and/or
                                                                                                                                                                                                  Client        actions after Natick events regarding
                                                                                                                                                                   Re: 10.3.19:                   Privileged;   corporate communications after Natick
                                                                                                                                                                   Project Lewis -                Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie         Finn, Molly [REDACTED]                                                   Privileged and                 Product       litigation.
Log00501      Document           10/4/2019 Request 6   Marie         [REDACTED]           Rome, Marc [REDACTED]                                                    Confidential                   Protected

                                                                                                                                                                                                                Email chain between counsel and
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                                                                                                                                                                                                                eBay internal investigation after Natick
                                                                                                                                                                                                                events and regarding eBay response to
                                                                                                                                                                                                                law enforcement investigations after
                                                                                                                                                                                                                Natick events and and regarding
                                                                                                                                                                                                  Attorney      employment/personnel matters and/or
                                                                                                                                                                                                  Client        actions after Natick events regarding
                                                                                                                                                                   Re: 10.3.19:                   Privileged;   corporate communications after Natick
                                                                                          Huber, Marie                                                             Project Lewis -                Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly          [REDACTED]     Rome,                                                     Privileged and                 Product       litigation.
Log00502      Document           10/4/2019 Request 6   Finn, Molly   [REDACTED]           Marc [REDACTED]                                                          Confidential                   Protected




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                                                                                                                                                                                                           and discussing legal advice regarding
                                                                                                                                                                                                           eBay internal investigation after Natick
                                                                                                                                                                                                           events and regarding eBay response to
                                                                                                                                                                                                           law enforcement investigations after
                                                                                                                                                                                                           Natick events and and regarding
                                                                                                                                                                                             Attorney      employment/personnel matters and/or
                                                                                                                                                                                             Client        actions after Natick events regarding
                                                                                                                                                              Re: 10.3.19:                   Privileged;   corporate communications after Natick
                                                                                                                                                              Project Lewis -                Work          events and prepared in anticipation of
              Standalone                               Huber,      Huber, Marie      Finn, Molly [REDACTED]                                                   Privileged and                 Product       litigation.
Log00503      Document           10/4/2019 Request 6   Marie       [REDACTED]        Rome, Marc [REDACTED]                                                    Confidential                   Protected

                                                                                                                                                                                                           Email chain between in-house counsel
                                                                                                                                                                                                           and outside counsel requesting and
                                                                                                                                                                                                           providing legal advice regarding eBay
                                                                                                                                                                                             Attorney      internal investigation after Natick events
                                                                                     Phelan, Andrew C.                      Connor, Bryan M.                                                 Client        and regarding eBay response to law
                                                                                     [REDACTED]                             [REDACTED]                        Re:                            Privileged;   enforcement investigations after Natick
                                                                                           Finn, Molly                      Delis, Michael [REDACTED]         Forensics/eBay                 Work          events and prepared in anticipation of
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]     Ricupero,               Macauley, Shannon                 - outbound to                  Product       litigation.
Log00504      Document           10/7/2019 Request 6   Amir        [REDACTED]        Kara [REDACTED]                        [REDACTED]                        an ip address                  Protected

                                                                                                                                                                                                           Email chain between in-house counsel
                                                                                                                                                                                             Attorney      and outside counsel providing and
                                                                                                                                                                                             Client        discussing legal advice regarding eBay
                                                                                     Phelan, Andrew C.                      Connor, Bryan M.                                                 Privileged;   response to law enforcement
                                                                                     [REDACTED]                             [REDACTED]                                                       Work          investigations after Natick events and
              Standalone                               Vonsover,   Vonsover, Amir          Finn, Molly                      Dwyer, Daniela [REDACTED]         Re: Documents                  Product       prepared in anticipation of litigation.
Log00505      Document           10/7/2019 Request 6   Amir        [REDACTED]        [REDACTED]                             Huber, Marie [REDACTED]           for the USAO                   Protected

                                                                                                                                                                                                           Email chain between in-house counsel
                                                                                                                                                                                             Attorney      and outside counsel providing and
                                                                                     Phelan, Andrew C.                                                                                       Client        discussing legal advice regarding eBay
                                                                                     [REDACTED]                                                                                              Privileged;   response to law enforcement
                                                                                           Dwyer, Daniela                   Connor, Bryan M.                                                 Work          investigations after Natick events and
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]               Finn, Molly   [REDACTED]                        Re: Documents                  Product       prepared in anticipation of litigation.
Log00506      Document           10/7/2019 Request 6   Amir        [REDACTED]        [REDACTED]                             Huber, Marie [REDACTED]           for the USAO                   Protected

                                                                                                                                                                                                           Email from in-house counsel requesting
                                                                                     Johnson, Aaron                                                           FW: MLB/ebay                                 information to render legal advice
                                                                                     [REDACTED]        Finn,                                                  Project Lewis                  Attorney      regarding eBay internal investigation
              Standalone                               Huber,      Huber, Marie      Molly [REDACTED]                                                         Document                       Client        after Natick events.
Log00507      Document           10/7/2019 Request 6   Marie       [REDACTED]        Rome, Marc [REDACTED]                                                    Discussion                     Privileged




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                                                                                     Phelan, Andrew C.
                                                                                     [REDACTED]
                                                                                           Connor, Bryan M.                                                                                             Email chain between in-house counsel
                                                                                     [REDACTED]                                                                                                         and outside counsel requesting
                                                                                       Dwyer, Daniela                                                                                                   information to render legal advice
                                                                                     [REDACTED]    Finn, Molly                                                                                          regarding eBay internal investigation
                                                                                     [REDACTED]    Rome,                                                FW: MLB/ebay                                    after Natick events.
                                                                                     Marc [REDACTED]                                                    Project Lewis                     Attorney
              Standalone                               Johnson,     Johnson, Aaron   Vonsover, Amir                                                     Document                          Client
Log00508      Document           10/7/2019 Request 6   Aaron        [REDACTED]       [REDACTED]                                                         Discussion                        Privileged

                                                                                                                                                                                          Attorney      Email chain from in-house counsel
                                                                                                                                                        Re: Wymer -                       Client        providing legal advice regarding
                                                                                                                                                        indemnificatio                    Privileged;   employment/personnel matters and/or
                                                                                                                                                        n and                             Work          actions after Natick events and prepared
              Standalone                               Vonsover,    Vonsover, Amir                                                                      advancement                       Product       in anticipation of litigation.
Log00509      Document           10/8/2019 Request 6   Amir         [REDACTED]       Finn, Molly [REDACTED]                                             request                           Protected

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                                                                                                                                                                                          Attorney      and outside counsel providing and
                                                                                                                                                                                          Client        discussing legal advice regarding eBay
                                                                                                                                                                                          Privileged;   response to law enforcement
                                                                                     Finn, Molly [REDACTED]                                                                               Work          investigations after Natick events and
              Standalone                               Vonsover,    Vonsover, Amir   Johnson, Aaron                   Phelan, Andrew C.                 Re: Lewis                         Product       prepared in anticipation of litigation.
Log00510      Document           10/8/2019 Request 6   Amir         [REDACTED]       [REDACTED]                       [REDACTED]                        (privileged)                      Protected

                                                                                                                                                                                                        Email chain from in-house counsel
                                                                                                                                                                                          Attorney      providing and discussing legal advice
                                                                                                                                                        FW: Wymer -                       Client        regarding employment/personnel
                                                                                                                                                        indemnificatio                    Privileged;   matters and/or actions after Natick
                                                                                     Johnson, Aaron                                                     n and                             Work          events and prepared in anticipation of
                                                       Vonsover,    Vonsover, Amir   [REDACTED]      Rome,                                              advancement                       Product       litigation.
Log00511      Parent             10/8/2019 Request 6   Amir         [REDACTED]       Marc [REDACTED]                  Finn, Molly [REDACTED]            request                           Protected


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                                                                                                                                                                                                        Communication from in-house counsel
                                                                                                                                                                                         Attorney       providing information to allow for the
                                                                                                                                                                                         Client         rendering of legal advice regarding
                                                                                                                                                                                         Privileged;    employment/personnel matters and/or
                                                                                                                                                                         Wymer_Undert Work              actions after Natick events and prepared
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Log00512      Attachment         10/8/2019 Request 6                                                                                                                     pdf             Protected

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                                                                                                                                                                                          Attorney      Communication from in-house counsel
                                                                                                                                                                                          Client        reflecting legal advice regarding
                                                                                                                                                                         Wymer            Privileged;   employment/personnel matters and/or
                                                                                                                                                                         Undertaking to   Work          actions after Natick events and prepared
                                                       Blanchard,                                                                                                        Repay -          Product       in anticipation of litigation.
Log00513      Attachment         10/8/2019 Request 6   Michael D.                                                                                                        Redline doc      Protected




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                                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                                                     and outside counsel providing
                                                                                                                                                                                                                     information to allow for the rendering of
                                                                                                                                                                                                                     legal advice regarding eBay internal
                                                                                                                                                                                                       Attorney      investigation after Natick events and
                                                                                                                                                                                                       Client        regarding eBay response to law
                                                                                          Phelan, Andrew C.               Connor, Bryan M.                                                             Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                      [REDACTED]                                                                   Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly              Huber, Marie                Vonsover, Amir                                 Re: USAO                      Product       litigation.
Log00514      Document           10/9/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                      [REDACTED]                                     Update                        Protected

                                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                                                     and outside counsel discussing legal
                                                                                                                                                                                                                     advice regarding eBay internal
                                                                                                                                                                                                       Attorney      investigation after Natick events and
                                                                                                                          Connor, Bryan M.                                                             Client        regarding eBay response to law
                                                                                          Phelan, Andrew C.               [REDACTED]                                                                   Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                      Huber, Marie [REDACTED]                                                      Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie             Finn, Molly                 Vonsover, Amir                                 RE: USAO                      Product       litigation.
Log00515      Document           10/9/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      [REDACTED]                                     Update                        Protected

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                                                                                                                                                                                                                     advice regarding eBay internal
                                                                                                                                                                                                       Attorney      investigation after Natick events and
                                                                                                                                                                                                       Client        regarding eBay response to law
                                                                                          Phelan, Andrew C.               Connor, Bryan M.                                                             Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                      [REDACTED]                                                                   Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie             Finn, Molly                 Vonsover, Amir                                 Re: USAO                      Product       litigation.
Log00516      Document       10/10/2019 Request 6      Marie         [REDACTED]           [REDACTED]                      [REDACTED]                                     Update                        Protected


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                                                                                                                                                                                                                     and discussing legal advice regarding
                                                                                                                                                                                                                     eBay internal investigation after Natick
                                                                                                                          Phelan, Andrew C.
                                                                                                                                                                                                                     events and regarding eBay response to
                                                                                                                          [REDACTED]                                                                   Attorney
                                                                                                                                                                                                                     law enforcement investigations after
                                                                                                                          Finn, Molly [REDACTED]                                                       Client
                                                                                                                                                                                                                     Natick events and regarding corporate
                                                                                                                          Huber, Marie [REDACTED]                                                      Privileged;
                                                                                                                                                                                                                     communications after Natick events and
                                                                                                                          Schenkel, Scott                                FW: USAO                      Work
                                                                                                                                                                                                                     prepared in anticipation of litigation.
              Standalone                               Huber,        Huber, Marie         Tierney, Thomas                 [REDACTED]              Yetto, Kristin         Update -                      Product
Log00517      Document       10/10/2019 Request 6      Marie         [REDACTED]           [REDACTED]                      [REDACTED]                                     Privileged                    Protected

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                                                                                                                                                                         Re: Wymer -                   Client        regarding employment/personnel
                                                                                                                                                                         indemnificatio                Privileged;   matters and/or actions after Natick
                                                                                          Johnson, Aaron                                                                 n and                         Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir       [REDACTED]      Rome,                                                          advancement                   Product       litigation.
Log00518      Document       10/10/2019 Request 6      Amir          [REDACTED]           Marc [REDACTED]                 Finn, Molly [REDACTED]                         request                       Protected




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                                                                                                                                                                                                                     Email from in-house counsel providing
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                                                                                                                                                                                                                     and discussing legal advice regarding
                                                                                                                                                                      FW: Wymer -                      Client
                                                                                                                                                                                                                     employment/personnel matters and/or
                                                                                                                       Finn, Molly [REDACTED]                         indemnificatio                   Privileged;
                                                                                                                                                                                                                     actions after Natick events and prepared
                                                                                                                       Johnson, Aaron                                 n and                            Work
                                                                                                                                                                                                                     in anticipation of litigation.
                                                    Vonsover,   Vonsover, Amir       Huber, Marie                      [REDACTED]          Rome, Marc                 advancement                      Product
Log00519      Parent         10/10/2019 Request 6   Amir        [REDACTED]           [REDACTED]                        [REDACTED]                                     request                          Protected


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                                                                                                                                                                                                                     providing information to allow for the
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                                                                                                                                                                                                                     rendering of legal advice regarding
                                                                                                                                                                                                       Client
                                                                                                                                                                                                                     employment/personnel matters and/or
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                                                                                                                                                                                       Wymer_Undert Work
                                                                                                                                                                                                                     in anticipation of litigation.
                                                                                                                                                                                       aking_10 07.19. Product
Log00520      Attachment     10/10/2019 Request 6                                                                                                                                      pdf             Protected


                                                                                     Brown, Adriane                                                                                                                  Email chain from counsel to company
                                                                                     [REDACTED]                                                                                                                      representative(s) providing and
                                                                                     Swan, Bob                                                                                                                       discussing legal advice regarding eBay
                                                                                     [REDACTED]             Farrell,   Phelan, Andrew C.                                                                             internal investigation after Natick events
                                                                                     Diana                             [REDACTED]                                                                      Attorney      and regarding eBay response to law
                                                                                     [REDACTED]                        Finn, Molly [REDACTED]                                                          Client        enforcement investigations after Natick
                                                                                     Traquina, Perry                   Huber, Marie [REDACTED]                                                         Privileged;   events and regarding corporate
                                                                                     [REDACTED]                        Schenkel, Scott                                FW: USAO                         Work          communications after Natick events and
              Standalone                            Huber,      Huber, Marie         Tierney, Thomas                   [REDACTED]              Yetto, Kristin         Update -                         Product       prepared in anticipation of litigation.
Log00521      Document       10/10/2019 Request 6   Marie       [REDACTED]           [REDACTED]                        [REDACTED]                                     Privileged                       Protected

                                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                       Connor, Bryan M.                                                                Attorney      and outside counsel providing and
                                                                                                                       [REDACTED]                                                                      Client        discussing legal advice regarding eBay
                                                                                                                       Finn, Molly [REDACTED]                                                          Privileged;   response to law enforcement
                                                                                     Phelan, Andrew C.                 Huber, Marie [REDACTED]                                                         Work          investigations after Natick events and
              Standalone                            Vonsover,   Vonsover, Amir       [REDACTED]                        Macauley, Shannon                              Re: IP address                   Product       prepared in anticipation of litigation.
Log00522      Document       10/11/2019 Request 6   Amir        [REDACTED]                                             [REDACTED]                                     checks                           Protected
                                                                                                                                                                                                       Attorney
                                                                                                                                                                                                       Client        Email from in-house counsel providing
                                                                                                                                                                                                       Privileged;   legal advice regarding eBay internal
                                                                                     Finn, Molly [REDACTED]                                                                                            Work          investigation after Natick events and
              Standalone                            Huber,      Huber, Marie         Johnson, Aaron                    Huber, Marie [REDACTED]                                                         Product       prepared in anticipation of litigation.
Log00523      Document       10/12/2019 Request 6   Marie       [REDACTED]           [REDACTED]                        Rome, Marc [REDACTED]                          For Monday                       Protected
                                                                                                                                                                                                       Attorney      Email chain from in-house counsel
                                                                                                                                                                                                       Client        providing and discussing legal advice
                                                                                     Finn, Molly [REDACTED]                                                                                            Privileged;   regarding eBay internal investigation
                                                                                     Johnson, Aaron                                                                                                    Work          after Natick events and prepared in
              Standalone                            Huber,      Huber, Marie         [REDACTED]          Rome,                                                        Re: For                          Product       anticipation of litigation.
Log00524      Document       10/12/2019 Request 6   Marie       [REDACTED]           Marc [REDACTED]                                                                  Monday                           Protected




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                                                                                                                                                                                           Attorney
                                                                                                                                                                                           Client        Email from in-house counsel providing
                                                                                                                                                                                           Privileged;   legal advice regarding eBay internal
                                                                                       Finn, Molly [REDACTED]                                                                              Work          investigation after Natick events and
              Standalone                            Huber,        Huber, Marie         Johnson, Aaron                                                    Project Lewis                     Product       prepared in anticipation of litigation.
Log00525      Document       10/15/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Rome, Marc [REDACTED]             [REDACTED]                        Protected
                                                                                                                                                                                           Attorney
                                                                                                                                                                                           Client        Email chain from in-house counsel
                                                                                                                                                                                           Privileged;   discussing legal advice regarding eBay
                                                                                       Finn, Molly [REDACTED]                                            Re: Project                       Work          internal investigation after Natick events
              Standalone                            Huber,        Huber, Marie         Johnson, Aaron                                                    Lewis                             Product       and prepared in anticipation of litigation.
Log00526      Document       10/15/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Rome, Marc [REDACTED]             [REDACTED]                        Protected
                                                                                                                                                                                           Attorney
                                                                                                                                                                                           Client        Email chain from in-house counsel
                                                                                       Finn, Molly [REDACTED]                                                                              Privileged;   discussing legal advice regarding eBay
                                                                                       Johnson, Aaron                                                    Re: Project                       Work          internal investigation after Natick events
              Standalone                            Huber,        Huber, Marie         [REDACTED]          Rome,                                         Lewis                             Product       and prepared in anticipation of litigation.
Log00527      Document       10/15/2019 Request 6   Marie         [REDACTED]           Marc [REDACTED]                                                   [REDACTED]                        Protected

                                                                                                                                                                                           Attorney      Email chain from in-house counsel
                                                                                                                                                                                           Client        providing and discussing legal advice
                                                                                                                                                                                           Privileged;   regarding eBay internal investigation
                                                                                       Johnson, Aaron                                                    Re: Project                       Work          after Natick events and prepared in
              Standalone                                          Finn, Molly          [REDACTED]      Rome,                                             Lewis                             Product       anticipation of litigation.
Log00528      Document       10/15/2019 Request 6   Finn, Molly   [REDACTED]           Marc [REDACTED]                                                   [REDACTED]                        Protected

                                                                                                                                                                                           Attorney      Email from in-house counsel providing
                                                                                                                                                                                           Client        information to allow for the rendering of
                                                                                       Phelan, Andrew C.                                                                                   Privileged;   legal advice regarding eBay internal
                                                                                       [REDACTED]                                                        A/C Priv -                        Work          investigation after Natick events and
                                                    Vonsover,     Vonsover, Amir           Finn, Molly                                                   Michelle draft                    Product       prepared in anticipation of litigation.
Log00529      Parent         10/15/2019 Request 6   Amir          [REDACTED]           [REDACTED]                                                        notes                             Protected


                                                                                                                                                                                                         Notes of confidential interview of
                                                                                                                                                                                                         Michelle Echevaria on October 15, 2019,
                                                                                                                                                                                                         attended by Molly Finn, Amir Vonsover,
                                                                                                                                                                                                         and Michelle Echevaria reflecting the
                                                                                                                                                                                                         collection of information for the purpose
                                                                                                                                                                                                         of rendering legal advice in connection
                                                                                                                                                                                                         with eBay internal investigation after
                                                                                                                                                                                           Attorney      Natick events, prepared by counsel in
                                                                                                                                                                                           Client        anticipation of litigation, and reflecting
                                                                                                                                                                          Michelle         Privileged;   mental impressions, conclusions,
                                                                                                                                                                          Interview Oct 15 Work          opinions and/or legal theories of counsel
                                                    Vonsover,                                                                                                             2019 Project     Product       and/or counsel’s agents.
Log00530      Attachment     10/15/2019 Request 6   Amir                                                                                                                  Lewis docx       Protected
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                                                                                                                                                                                                         Email chain from in-house counsel
                                                                                                                                                                                           Client
                                                                                                                                                                                                         reflecting a request for legal advice
                                                                                       Phelan, Andrew C.                                                                                   Privileged;
                                                                                                                                                                                                         regarding eBay internal investigation
                                                                                       [REDACTED]                                                                                          Work
                                                                                                                                                                                                         after Natick events and prepared in
              Standalone                                          Finn, Molly              Vonsover, Amir                                                Update on                         Product
                                                                                                                                                                                                         anticipation of litigation.
Log00531      Document       10/15/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                        Project Lewis                     Protected




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                                                                                                                                                                                       Attorney      Email chain between in-house counsel
                                                                                                                                                                                       Client        and outside counsel providing and
                                                                                       Phelan, Andrew C.                                                                               Privileged;   discussing legal advice regarding eBay
                                                                                       [REDACTED]                                                                                      Work          internal investigation after Natick events
              Standalone                            Vonsover,     Vonsover, Amir           Finn, Molly                 Connor, Bryan M.                  Re: Michelle                  Product       and prepared in anticipation of litigation.
Log00532      Document       10/16/2019 Request 6   Amir          [REDACTED]           [REDACTED]                      [REDACTED]                        LNU / Eleanor                 Protected

                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                       Attorney      and outside counsel providing and
                                                                                                                                                                                       Client        discussing legal advice regarding eBay
                                                                                       Phelan, Andrew C.                                                                               Privileged;   response to law enforcement
                                                                                       [REDACTED]                                                                                      Work          investigations after Natick events and
              Standalone                            Vonsover,     Vonsover, Amir           Finn, Molly                 Connor, Bryan M.                  Re: Natick                    Product       prepared in anticipation of litigation.
Log00533      Document       10/17/2019 Request 6   Amir          [REDACTED]           [REDACTED]                      [REDACTED]                        matter                        Protected

                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                       Attorney      and outside counsel providing and
                                                                                                                                                                                       Client        discussing legal advice regarding eBay
                                                                                       Phelan, Andrew C.                                                                               Privileged;   response to law enforcement
                                                                                       [REDACTED]                                                                                      Work          investigations after Natick events and
              Standalone                                          Finn, Molly              Vonsover, Amir              Connor, Bryan M.                  Re: Natick                    Product       prepared in anticipation of litigation.
Log00534      Document       10/17/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                      [REDACTED]                        matter                        Protected

                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                       Attorney      and outside counsel providing and
                                                                                                                                                                                       Client        discussing legal advice regarding eBay
                                                                                       Phelan, Andrew C.                                                                               Privileged;   response to law enforcement
                                                                                       [REDACTED]                                                                                      Work          investigations after Natick events and
              Standalone                            Vonsover,     Vonsover, Amir           Finn, Molly                 Connor, Bryan M.                  Re: Natick                    Product       prepared in anticipation of litigation.
Log00535      Document       10/17/2019 Request 6   Amir          [REDACTED]           [REDACTED]                      [REDACTED]                        matter                        Protected

                                                                                                                                                                                                     Email from in-house counsel requesting
                                                                                       Finn, Molly [REDACTED]                                                                          Attorney      legal advice regarding eBay internal
              Standalone                            Huber,        Huber, Marie         Vonsover, Amir                                                    Update on                     Client        investigation after Natick events.
Log00536      Document       10/18/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                        Project Lewis?                Privileged

                                                                                                                                                                                                     Email from in-house counsel providing
                                                                                                                                                                                                     information to allow for the rendering of
                                                                                       Huber, Marie                                                                                    Attorney      legal advice regarding eBay internal
              Standalone                                          Finn, Molly          [REDACTED]      Vonsover,                                         Re: Update on                 Client        investigation after Natick events.
Log00537      Document       10/18/2019 Request 6   Finn, Molly   [REDACTED]           Amir [REDACTED]                                                   Project Lewis?                Privileged

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                                     providing information to allow for the
                                                                                                                                                                                                     rendering of legal advice regarding eBay
                                                                                                                                                                                                     internal investigation after Natick events
                                                                                                                                                                                                     and regarding eBay response to law
                                                                                                                                                                                       Attorney      enforcement investigations after Natick
                                                                                                                                                                                       Client        events and regarding
                                                                                                                                                                                       Privileged;   employment/personnel matters and/or
                                                                                       Huber, Marie                                                                                    Work          actions after Natick events and prepared
              Standalone                                          Finn, Molly          [REDACTED]      Vonsover,                                         RE: Update on                 Product       in anticipation of litigation.
Log00538      Document       10/18/2019 Request 6   Finn, Molly   [REDACTED]           Amir [REDACTED]                                                   Project Lewis?                Protected




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                                                                                     Brown, Adriane
                                                                                     [REDACTED]
                                                                                     Bates, Anthony [REDACTED]
                                                                                                ; Swan, Bob
                                                                                     [REDACTED]             Hammer,
                                                                                     Bonnie
                                                                                     [REDACTED]                                                                                                              Email chain between company
                                                                                     Farrell, Diana                                                                                                          representatives discussing legal advice
                                                                                     [REDACTED]                                                                                                              regarding Board/Committee evaluations
                                                                                     Anderson, Fred                                                                                                          and/or determinations related to
                                                                                     [REDACTED]       Cohn,                                                                                                  executive employment matters and
                                                                                     Jesse [REDACTED]                                                                                                        regarding general corporate matters and
                                                                                     Mitic, Katie                                                                                                            regarding unrelated litigation/legal
                                                                                     [REDACTED]       Green,                                                                                                 matters.
                                                                                     Logan [REDACTED] Murphy,
                                                                                     Matt [REDACTED]
                                                                                     Pressler, Paul [REDACTED]
                                                                                                Traquina, Perry
                                                                                     [REDACTED]
                                                                                     Omidyar, Pierre
                                                                                     [REDACTED]                Tierney,                                                                        Attorney
              Standalone                            Schenkel,   Schenkel, Scott      Thomas                                                                     RE: Quick                      Client
Log00539      Document       10/18/2019 Request 6   Scott       [REDACTED]           [REDACTED]                           Huber, Marie [REDACTED]               Update                         Privileged


                                                                                                                                                                                                             Email from in-house counsel providing
                                                                                                                                                                                                             legal advice regarding eBay internal
                                                                                                                                                                                                             investigation after Natick events and
                                                                                                                                                                                                             regarding eBay response to law
                                                                                                                                                                                               Attorney      enforcement investigations after Natick
                                                                                                                                                                                               Client        events and regarding
                                                                                                                                                                                               Privileged;   employment/personnel matters and/or
                                                                                                                          Finn, Molly [REDACTED]                Project Lewis -                Work          actions after Natick events and prepared
              Standalone                            Huber,      Huber, Marie         Schenkel, Scott                      Huber, Marie [REDACTED]               Privileged &                   Product       in anticipation of litigation.
Log00540      Document       10/20/2019 Request 6   Marie       [REDACTED]           [REDACTED]                           Yetto, Kristin [REDACTED]             Confidential                   Protected

                                                                                                                                                                                                             Email chain between counsel and
                                                                                                                                                                                                             company representative(s) providing
                                                                                                                                                                                                             and discussing legal advice regarding
                                                                                                                                                                FW: Project                    Attorney      eBay internal investigation after Natick
                                                                                                                          Finn, Molly [REDACTED]                Lewis -- USAO                  Client        events and regarding eBay response to
                                                                                                                          Huber, Marie [REDACTED]               Update                         Privileged;   law enforcement investigations after
                                                                                                                          Yetto, Kristin                        10/23/19 -                     Work          Natick events and prepared in
                                                    Huber,      Huber, Marie         Tierney, Thomas                      [REDACTED]          Schenkel,         Privileged and                 Product       anticipation of litigation.
Log00541      Parent         10/23/2019 Request 6   Marie       [REDACTED]           [REDACTED]                           Scott [REDACTED]                      Confidential                   Protected




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              Attachment                  Request                                                                                                                                                          Basis

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                                                                                                                                                                                                                     Communication prepared by counsel
                                                                                                                                                                                                                     providing information to allow for the
                                                                                                                                                                                                                     rendering of legal advice regarding eBay
                                                                                                                                                                                                                     internal investigation after Natick events
                                                                                                                                                                                        2019.10.18 -                 and regarding eBay response to law
                                                                                                                                                                                        Production     Attorney      enforcement investigations after Natick
                                                                                                                                                                                        Letter 2 to    Client        events.
Log00542      Attachment     10/23/2019 Request 6                                                                                                                                       USAO.pdf       Privileged

                                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                                                     and outside counsel providing and
                                                                                                                                                                                                                     discussing legal advice regarding eBay
                                                                                                                                                                       RE: Project                     Attorney      internal investigation after Natick events
                                                                                                                                                                       Lewis -- USAO                   Client        and regarding eBay response to law
                                                                                     Phelan, Andrew C.                       Connor, Bryan M.                          Update                          Privileged;   enforcement investigations after Natick
                                                                                     [REDACTED]                              [REDACTED]                                10/23/19 -                      Work          events and prepared in anticipation of
              Standalone                            Huber,      Huber, Marie               Finn, Molly                       Vonsover, Amir                            Privileged and                  Product       litigation.
Log00543      Document       10/23/2019 Request 6   Marie       [REDACTED]           [REDACTED]                              [REDACTED]                                Confidential                    Protected

                                                                                                                                                                                                                     Email chain between counsel and
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                                                                                                                                                                                                                     and discussing legal advice regarding
                                                                                                                                                                       RE: Project                     Attorney      eBay internal investigation after Natick
                                                                                                                                                                       Lewis -- USAO                   Client        events and regarding eBay response to
                                                                                                                             Finn, Molly [REDACTED]                    Update                          Privileged;   law enforcement investigations after
                                                                                                                             Schenkel, Scott                           10/23/19 -                      Work          Natick events and prepared in
              Standalone                            Huber,      Huber, Marie         Tierney, Thomas                         [REDACTED]         Yetto, Kristin         Privileged and                  Product       anticipation of litigation.
Log00544      Document       10/23/2019 Request 6   Marie       [REDACTED]           [REDACTED]                              [REDACTED]                                Confidential                    Protected

                                                                                                                                                                                                                     Email chain between counsel and
                                                                                                                                                                                                       Attorney      company representative(s) providing
                                                                                     Billante, Joe                                                                                                     Client        information to allow for the rendering of
                                                                                     [REDACTED]                Finn, Molly                                                                             Privileged;   legal advice regarding corporate
                                                                                     [REDACTED]               de la Calle,                                             Re: DRAFT                       Work          communications after Natick events and
              Standalone                            Vonsover,   Vonsover, Amir       Sergio                                  Project Lewis JF [REDACTED]               Project Lewis                   Product       prepared in anticipation of litigation.
Log00545      Document       10/25/2019 Request 6   Amir        [REDACTED]           [REDACTED]                                                                        Release                         Protected

                                                                                                                                                                                                                     Email chain between counsel and
                                                                                                                                                                                                                     company employee(s) requesting
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                                                                                                                                                                                                                     information to render legal advice
                                                                                                                                                                                                       Client
                                                                                                                                                                                                                     regarding corporate communications
                                                                                                                                                                                                       Privileged;
                                                                                                                                                                                                                     after Natick events and regarding
                                                                                     Billante, Joe                                                                     RE: DRAFT                       Work
                                                                                                                                                                                                                     unrelated litigation/legal matters and
              Standalone                            Huber,      Huber, Marie         [REDACTED]       Yetto,                 Finn, Molly [REDACTED]                    Project Lewis                   Product
                                                                                                                                                                                                                     prepared in anticipation of litigation.
Log00546      Document       10/27/2019 Request 6   Marie       [REDACTED]           Kristin [REDACTED]                      Huber, Marie [REDACTED]                   Release                         Protected




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                                                                                                                                                                                          Attorney      discussing legal advice regarding
                                                                                                                                                                                          Client        corporate communications after Natick
                                                                                       Billante, Joe                                                                                      Privileged;   events and regarding unrelated
                                                                                       [REDACTED]           Huber,                                        Re: DRAFT                       Work          litigation/legal matters and prepared in
              Standalone                                          Finn, Molly          Marie [REDACTED]                                                   Project Lewis                   Product       anticipation of litigation.
Log00547      Document       10/27/2019 Request 6   Finn, Molly   [REDACTED]           Yetto, Kristin [REDACTED]        Huber, Marie [REDACTED]           Release                         Protected

                                                                                                                                                                                                        Email chain between counsel and
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                                                                                                                                                                                          Client        information to allow for the rendering of
                                                                                                                                                                                          Privileged;   legal advice regarding corporate
                                                                                                                                                          FW: DRAFT                       Work          communications after Natick events and
                                                                  Finn, Molly          Johnson, Aaron                                                     Project Lewis                   Product       prepared in anticipation of litigation.
Log00548      Parent         10/28/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                       Rome, Marc [REDACTED]             Release                         Protected

                                                                                                                                                                                          Attorney      Draft document prepared at the
                                                                                                                                                                                          Client        direction of counsel providing
                                                                                                                                                                          DRAFT Project   Privileged;   information to allow for the rendering of
                                                                                                                                                                          Lewis Release   Work          legal advice and prepared in
                                                    Golden,                                                                                                               (01130683-      Product       anticipation of litigation.
Log00549      Attachment     10/28/2019 Request 6   Barrett B.                                                                                                            3xA26CA) docx   Protected
                                                                                                                                                                                          Attorney
                                                                                                                                                                                                        Draft document prepared at the
                                                                                                                                                                                          Client
                                                                                                                                                                                                        direction of counsel providing
                                                                                                                                                                                          Privileged;
                                                                                                                                                                                                        information to allow for the rendering of
                                                                                                                                                                          DRAFT Project Work            legal advice and prepared in
                                                    Golden,                                                                                                               Lewis Release - Product       anticipation of litigation.
Log00550      Attachment     10/28/2019 Request 6   Barrett B.                                                                                                            TRACKED.pdf     Protected

                                                                                                                                                                                                        Email chain between in-house counsel
                                                                                                                                                                                          Attorney      and outside counsel requesting and
                                                                                                                                                                                          Client        providing legal advice regarding
                                                                                                                                                                                          Privileged;   corporate communications after Natick
                                                                                       Phelan, Andrew C.                                                  FW: DRAFT                       Work          events and prepared in anticipation of
                                                                  Finn, Molly          [REDACTED]                       Vonsover, Amir                    Project Lewis                   Product       litigation.
Log00551      Parent         10/28/2019 Request 6   Finn, Molly   [REDACTED]                                            [REDACTED]                        Release                         Protected

                                                                                                                                                                                          Attorney      Draft document prepared at the
                                                                                                                                                                                          Client        direction of counsel providing
                                                                                                                                                                          DRAFT Project   Privileged;   information to allow for the rendering of
                                                                                                                                                                          Lewis Release   Work          legal advice and prepared in
                                                    Golden,                                                                                                               (01130683-      Product       anticipation of litigation.
Log00552      Attachment     10/28/2019 Request 6   Barrett B.                                                                                                            3xA26CA) docx   Protected

                                                                                                                                                                                          Attorney      Draft document prepared at the
                                                                                                                                                                                          Client        direction of counsel providing
                                                                                                                                                                                          Privileged;   information to allow for the rendering of
                                                                                                                                                                          DRAFT Project Work            legal advice and prepared in
                                                    Golden,                                                                                                               Lewis Release - Product       anticipation of litigation.
Log00553      Attachment     10/28/2019 Request 6   Barrett B.                                                                                                            TRACKED.pdf     Protected




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              Attachment                  Request                                                                                                                                          Basis

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                       Attorney      providing and discussing legal advice
                                                                                                                                                                                       Client        regarding corporate communications
                                                                                                                                                                                       Privileged;   after Natick events and regarding
                                                                                                                                                          RE: DRAFT                    Work          unrelated litigation/legal matters and
              Standalone                                          Finn, Molly          Johnson, Aaron                                                     Project Lewis                Product       prepared in anticipation of litigation.
Log00554      Document       10/28/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                       Rome, Marc [REDACTED]             Release                      Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                       Attorney      providing and discussing legal advice
                                                                                                                                                                                       Client        regarding corporate communications
                                                                                                                                                                                       Privileged;   after Natick events and regarding
                                                                                                                                                          RE: DRAFT                    Work          unrelated litigation/legal matters and
              Standalone                            Johnson,      Johnson, Aaron                                                                          Project Lewis                Product       prepared in anticipation of litigation.
Log00555      Document       10/28/2019 Request 6   Aaron         [REDACTED]           Finn, Molly [REDACTED]           Rome, Marc [REDACTED]             Release                      Protected


                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                       Attorney      providing and discussing legal advice
                                                                                                                                                                                       Client        regarding corporate communications
                                                                                                                                                                                       Privileged;   after Natick events and regarding
                                                                                                                                                          RE: DRAFT                    Work          unrelated litigation/legal matters and
              Standalone                                          Finn, Molly          Johnson, Aaron                                                     Project Lewis                Product       prepared in anticipation of litigation.
Log00556      Document       10/28/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                       Rome, Marc [REDACTED]             Release                      Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                                     providing and discussing legal advice
                                                                                                                                                                                                     regarding eBay response to law
                                                                                                                                                                                                     enforcement investigations after Natick
                                                                                                                                                                                       Attorney      events and regarding corporate
                                                                                                                                                                                       Client        communications after Natick events and
                                                                                                                                                                                       Privileged;   regarding unrelated litigation/legal
                                                                                                                                                          RE: DRAFT                    Work          matters and prepared in anticipation of
              Standalone                            Johnson,      Johnson, Aaron       Finn, Molly [REDACTED]                                             Project Lewis                Product       litigation.
Log00557      Document       10/28/2019 Request 6   Aaron         [REDACTED]           Rome, Marc [REDACTED]                                              Release                      Protected

                                                                                                                                                                                                     Email chain from in-house counsel
                                                                                                                                                                                                     providing and discussing legal advice
                                                                                                                                                                                                     regarding eBay response to law
                                                                                                                                                                                                     enforcement investigations after Natick
                                                                                                                                                                                       Attorney      events and regarding corporate
                                                                                                                                                                                       Client        communications after Natick events and
                                                                                                                                                                                       Privileged;   regarding unrelated litigation/legal
                                                                                       Johnson, Aaron                                                     RE: DRAFT                    Work          matters and prepared in anticipation of
              Standalone                                          Finn, Molly          [REDACTED]      Rome,                                              Project Lewis                Product       litigation.
Log00558      Document       10/28/2019 Request 6   Finn, Molly   [REDACTED]           Marc [REDACTED]                                                    Release                      Protected

                                                                                                                                                                                                     Email chain between counsel and
                                                                                                                                                                                                     company employee(s) providing and
                                                                                                                                                                                       Attorney      discussing legal advice regarding
                                                                                                                                                                                       Client        corporate communications after Natick
                                                                                       Billante, Joe                                                                                   Privileged;   events and regarding unrelated
                                                                                       [REDACTED]           Huber,                                        RE: DRAFT                    Work          litigation/legal matters and prepared in
              Standalone                                          Finn, Molly          Marie [REDACTED]                                                   Project Lewis                Product       anticipation of litigation.
Log00559      Document       10/28/2019 Request 6   Finn, Molly   [REDACTED]           Yetto, Kristin [REDACTED]                                          Release                      Protected




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                Parent                   Subpoena                                                                                                                                                      Privilege
 Log Number                      Date                 Author                    From                     To                                        CC           BCC     Subject**       Filename**                           Privilege Description
              Attachment                  Request                                                                                                                                                        Basis

                                                                                                                                                                                                                   Email chain between counsel and
                                                                                       Billante, Joe                                                                                                 Attorney      company representative(s) requesting
                                                                                       [REDACTED]                  de la Calle,                                                                      Client        and providing legal advice regarding
                                                                                       Sergio                                                                                                        Privileged;   corporate communications after Natick
                                                                                       [REDACTED]                                                                     RE: DRAFT                      Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly          Vonsover, Amir                             Project Lewis JF [REDACTED]         Project Lewis                  Product       litigation.
Log00560      Document       10/28/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                                     Release                        Protected

                                                                                                                                                                                                                   Email between in-house counsel and
                                                                                                                                                                                                                   outside counsel requesting and
                                                                                                                                                                                                                   providing legal advice regarding eBay
                                                                                                                                                                                                     Attorney      internal investigation after Natick events
                                                                                       Phelan, Andrew C.                                                                                             Client        and regarding employment/personnel
                                                                                       [REDACTED]                                                                                                    Privileged;   matters and/or actions after Natick
                                                                                              Connor, Bryan M.                                                                                       Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly          [REDACTED]                                 Vonsover, Amir                                                     Product       litigation.
Log00561      Document       10/28/2019 Request 6   Finn, Molly   [REDACTED]                                                      [REDACTED]                          Lewis update                   Protected

                                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                                                                                   company employee(s) requesting and
                                                                                                                                                                                                     Attorney      providing legal advice regarding
                                                                                                                                                                                                     Client        corporate communications after Natick
                                                                                       Billante, Joe                                                                                                 Privileged;   events and regarding unrelated
                                                                                       [REDACTED]        Finn, Molly                                                  RE: DRAFT                      Work          litigation/legal matters and prepared in
              Standalone                            Huber,        Huber, Marie         [REDACTED]       Yetto,                                                        Project Lewis                  Product       anticipation of litigation.
Log00562      Document       10/28/2019 Request 6   Marie         [REDACTED]           Kristin [REDACTED]            Huber, Marie [REDACTED]                          Release                        Protected

                                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                                                                                   company employees requesting and
                                                                                                                                                                                                     Attorney      providing legal advice regarding
                                                                                                                                                                                                     Client        corporate communications after Natick
                                                                                       Billante, Joe                                                                                                 Privileged;   events and regarding unrelated
                                                                                       [REDACTED]           Huber,                                                    Re: DRAFT                      Work          litigation/legal matters and prepared in
              Standalone                                          Finn, Molly          Marie [REDACTED]                                                               Project Lewis                  Product       anticipation of litigation.
Log00563      Document       10/28/2019 Request 6   Finn, Molly   [REDACTED]           Yetto, Kristin [REDACTED]                  Huber, Marie [REDACTED]             Release                        Protected

                                                                                       Phelan, Andrew C.
                                                                                       [REDACTED]
                                                                                              Golden, Barrett B.                                                                                                   Email chain between in-house counsel
                                                                                       [REDACTED]                                                                                                                  and outside counsel providing and
                                                                                       Billante, Joe                                                                                                               discussing legal advice regarding
                                                                                       [REDACTED]                  Brielmann,                                                                        Attorney      corporate communications after Natick
                                                                                       Eric                                                                           FW: eBay                       Client        events and prepared in anticipation of
                                                                                       [REDACTED]                                                                     Weekly Open                    Privileged;   litigation.
                                                                                       Huber, Marie                                                                   Source Report -                Work
                                                                  Finn, Molly          [REDACTED]       Yetto,                    Vonsover, Amir                      October 30,                    Product
Log00564      Parent         10/30/2019 Request 6   Finn, Molly   [REDACTED]           Kristin [REDACTED]                         [REDACTED]                          2019                           Protected




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              Attachment                  Request                                                                                                                                                        Basis

                                                                                                                                                                                                                   Attachment to Privileged/Protected
                                                                                                                                                                                                                   Communication between in-house
                                                                                                                                                                                                                   counsel and outside counsel providing
                                                                                                                                                                                      20191030 eBay                information to allow for the rendering of
                                                                                                                                                                                      CEO Open      Attorney       legal advice regarding corporate
                                                                                                                                                                                      Source Report Client         communications after Natick events.
Log00565      Attachment     10/30/2019 Request 6   Lauren Hoy                                                                                                                        .pdf          Privileged

                                                                                       Phelan, Andrew C.
                                                                                       [REDACTED]
                                                                                              Golden, Barrett B.                                                                                                   Email chain between counsel and
                                                                                       [REDACTED]                                                                                                                  company representative(s) requesting
                                                                                       Billante, Joe                                                                                                               and providing legal advice regarding
                                                                                       [REDACTED]                  Brielmann,                                                                        Attorney      corporate communications after Natick
                                                                                       Eric                                                                         Re: eBay                         Client        events and prepared in anticipation of
                                                                                       [REDACTED]                                                                   Weekly Open                      Privileged;   litigation.
                                                                                       Huber, Marie                                                                 Source Report -                  Work
              Standalone                                          Finn, Molly          [REDACTED]       Yetto,                  Vonsover, Amir                      October 30,                      Product
Log00566      Document       10/30/2019 Request 6   Finn, Molly   [REDACTED]           Kristin [REDACTED]                       [REDACTED]                          2019                             Protected


                                                                                       Phelan, Andrew C.
                                                                                       [REDACTED]                                                                                                                  Email chain between counsel and
                                                                                              Golden, Barrett B.                                                                                                   company representative(s) requesting
                                                                                       [REDACTED]                                                                                                                  and providing legal advice regarding
                                                                                       Billante, Joe                                                                                                 Attorney      corporate communications after Natick
                                                                                       [REDACTED]                  Brielmann,                                                                        Client        events and prepared in anticipation of
                                                                                       Eric                                                                                                          Privileged;   litigation.
                                                                                       [REDACTED]                                                                                                    Work
              Standalone                            Huber,        Huber, Marie         Finn, Molly [REDACTED]                   Vonsover, Amir                      Re: 5 pm ET                      Product
Log00567      Document       10/30/2019 Request 6   Marie         [REDACTED]           Yetto, Kristin [REDACTED]                [REDACTED]                          Draft                            Protected


                                                                                       Phelan, Andrew C.
                                                                                       [REDACTED]                                                                                                                  Email chain between counsel and
                                                                                              Billante, Joe                                                                                                        company representative(s) requesting
                                                                                       [REDACTED]                  Brielmann,                                                                                      and providing legal advice regarding
                                                                                       Eric                                                                                                          Attorney      corporate communications after Natick
                                                                                       [REDACTED]                                                                                                    Client        events and prepared in anticipation of
                                                                                       Finn, Molly [REDACTED]                                                                                        Privileged;   litigation.
                                                                                       Vonsover, Amir                           Huber, Marie [REDACTED]                                              Work
              Standalone                            Huber,        Huber, Marie         [REDACTED]         Yetto,                Project Lewis JF [REDACTED]         RE: 5 pm ET                      Product
Log00568      Document       10/30/2019 Request 6   Marie         [REDACTED]           Kristin [REDACTED]                                                           Draft                            Protected


                                                                                       Phelan, Andrew C.
                                                                                       [REDACTED]                                                                                                                  Email chain between counsel and
                                                                                              Billante, Joe                                                                                                        company representative(s) requesting
                                                                                       [REDACTED]                  Brielmann,                                                                                      and providing legal advice regarding
                                                                                       Eric                                                                                                          Attorney      corporate communications after Natick
                                                                                       [REDACTED]                                                                                                    Client        events and prepared in anticipation of
                                                                                       Finn, Molly [REDACTED]                                                                                        Privileged;   litigation.
                                                                                       Huber, Marie                                                                                                  Work
              Standalone                            Vonsover,     Vonsover, Amir       [REDACTED]       Yetto,                  Project Lewis JF [REDACTED]         Re: 5 pm ET                      Product
Log00569      Document       10/30/2019 Request 6   Amir          [REDACTED]           Kristin [REDACTED]                                                           Draft                            Protected




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              Attachment                  Request                                                                                                                                                   Basis


                                                                                     Phelan, Andrew C.
                                                                                     [REDACTED]                                                                                                               Email chain between counsel and
                                                                                            Billante, Joe                                                                                                     company representative(s) requesting
                                                                                     [REDACTED]              Brielmann,                                                                                       and providing legal advice regarding
                                                                                     Eric                                                                                                       Attorney      corporate communications after Natick
                                                                                     [REDACTED]                                                                                                 Client        events and prepared in anticipation of
                                                                                     Finn, Molly [REDACTED]                                                                                     Privileged;   litigation.
                                                                                     Vonsover, Amir                                                                                             Work
              Standalone                            Huber,      Huber, Marie         [REDACTED]         Yetto,            Project Lewis JF [REDACTED]         RE: 5 pm ET                       Product
Log00570      Document       10/30/2019 Request 6   Marie       [REDACTED]           Kristin [REDACTED]                                                       Draft                             Protected


                                                                                     Phelan, Andrew C.
                                                                                     [REDACTED]                                                                                                               Email chain between counsel and
                                                                                            Billante, Joe                                                                                                     company representative(s) requesting
                                                                                     [REDACTED]              Brielmann,                                                                                       and providing legal advice regarding
                                                                                     Eric                                                                                                       Attorney      corporate communications after Natick
                                                                                     [REDACTED]                                                                                                 Client        events and prepared in anticipation of
                                                                                     Finn, Molly [REDACTED]                                                                                     Privileged;   litigation.
                                                                                     Vonsover, Amir                                                                                             Work
              Standalone                            Huber,      Huber, Marie         [REDACTED]         Yetto,            Project Lewis JF [REDACTED]         RE: 5 pm ET                       Product
Log00571      Document       10/30/2019 Request 6   Marie       [REDACTED]           Kristin [REDACTED]                                                       Draft                             Protected


                                                                                     Phelan, Andrew C.
                                                                                     [REDACTED]                                                                                                               Email chain between counsel and
                                                                                            Billante, Joe                                                                                                     company representative(s) requesting
                                                                                     [REDACTED]              Brielmann,                                                                                       and providing legal advice regarding
                                                                                     Eric                                                                                                       Attorney      corporate communications after Natick
                                                                                     [REDACTED]                                                                                                 Client        events and prepared in anticipation of
                                                                                     Finn, Molly [REDACTED]                                                                                     Privileged;   litigation.
                                                                                     Vonsover, Amir                                                                                             Work
              Standalone                            Huber,      Huber, Marie         [REDACTED]         Yetto,            Project Lewis JF [REDACTED]         RE: 5 pm ET                       Product
Log00572      Document       10/30/2019 Request 6   Marie       [REDACTED]           Kristin [REDACTED]                                                       Draft                             Protected
                                                                                                                                                                                                Attorney
                                                                                                                                                                                                              Email from counsel to company
                                                                                                                                                              Project Lewis                     Client
                                                                                                                                                                                                              employee(s) providing legal advice
                                                                                                                          Billante, Joe [REDACTED]            Reddit posting                    Privileged;
                                                                                                                                                                                                              regarding corporate communications
                                                                                                                          Finn, Molly [REDACTED]              and draft                         Work
                                                                                                                                                                                                              after Natick events and prepared in
                                                    Huber,      Huber, Marie         Schenkel, Scott                      Huber, Marie [REDACTED]             release                           Product
                                                                                                                                                                                                              anticipation of litigation.
Log00573      Parent         10/30/2019 Request 6   Marie       [REDACTED]           [REDACTED]                           Yetto, Kristin [REDACTED]           Privileged                        Protected

                                                                                                                                                                                                Attorney      Draft document prepared at the
                                                                                                                                                                                                Client        direction of counsel providing
                                                                                                                                                                                                Privileged;   information to allow for the rendering of
                                                                                                                                                                               Draft Project    Work          legal advice and prepared in
                                                                                                                                                                               Lewis Release (5 Product       anticipation of litigation.
Log00574      Attachment     10/30/2019 Request 6   bgolden                                                                                                                    pm).docx         Protected




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              Attachment                  Request                                                                                                                                                        Basis

                                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                                                                     Attorney      company employee(s) providing and
                                                                                                                                                                       Re: Project                   Client        discussing legal advice regarding
                                                                                                                         Billante, Joe [REDACTED]                      Lewis Reddit                  Privileged;   corporate communications after Natick
                                                                                                                         Finn, Molly [REDACTED]                        posting and                   Work          events and prepared in anticipation of
              Standalone                            Schenkel,     Schenkel, Scott      Huber, Marie                      Huber, Marie [REDACTED]                       draft release                 Product       litigation.
Log00575      Document       10/30/2019 Request 6   Scott         [REDACTED]           [REDACTED]                        Yetto, Kristin [REDACTED]                     Privileged                    Protected

                                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                                                                     Attorney
                                                                                                                                                                                                                   company employee(s) providing and
                                                                                                                                                                       RE: Project                   Client
                                                                                                                                                                                                                   discussing legal advice regarding
                                                                                                                                                                       Lewis Reddit                  Privileged;
                                                                                                                                                                                                                   corporate communications after Natick
                                                                                                                                                                       posting and                   Work
                                                                                                                                                                                                                   events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie         Schenkel, Scott                                                                 draft release                 Product
                                                                                                                                                                                                                   litigation.
Log00576      Document       10/30/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                                      Privileged                    Protected

                                                                                                                                                                                                     Attorney      Email chain between counsel and
                                                                                                                                                                       Re: Project                   Client        company employee(s) providing and
                                                                                                                                                                       Lewis Reddit                  Privileged;   discussing legal advice regarding
                                                                                                                                                                       posting and                   Work          corporate communications after Natick
              Standalone                            Schenkel,     Schenkel, Scott      Huber, Marie                                                                    draft release                 Product       events and prepared in anticipation of
Log00577      Document       10/30/2019 Request 6   Scott         [REDACTED]           [REDACTED]                                                                      Privileged                    Protected     litigation.

                                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                                       FW: Project                   Attorney
                                                                                                                                                                                                                   company employee(s) providing and
                                                                                                                                                                       Lewis - Reddit                Client
                                                                                                                                                                                                                   discussing legal advice regarding
                                                                                                                                                                       posting and                   Privileged;
                                                                                                                                                                                                                   corporate communications after Natick
                                                                                                                                                                       revised                       Work
                                                                                                                                                                                                                   events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie         Finn, Molly [REDACTED]                                                          statement -                   Product
                                                                                                                                                                                                                   litigation.
Log00578      Document       10/31/2019 Request 6   Marie         [REDACTED]           Yetto, Kristin [REDACTED]         Billante, Joe [REDACTED]                      Privileged                    Protected

                                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                                       RE: Project                   Attorney
                                                                                                                                                                                                                   company employee(s) providing and
                                                                                                                                                                       Lewis - Reddit                Client
                                                                                                                                                                                                                   discussing legal advice regarding
                                                                                                                                                                       posting and                   Privileged;
                                                                                                                                                                                                                   corporate communications after Natick
                                                                                       Huber, Marie                                                                    revised                       Work
                                                                                                                                                                                                                   events and prepared in anticipation of
              Standalone                                          Finn, Molly          [REDACTED]       Yetto,                                                         statement -                   Product
                                                                                                                                                                                                                   litigation.
Log00579      Document       10/31/2019 Request 6   Finn, Molly   [REDACTED]           Kristin [REDACTED]                Billante, Joe [REDACTED]                      Privileged                    Protected

                                                                                                                                                                                                                   Email chain between counsel and
                                                                                                                                                                       RE: Project                   Attorney
                                                                                                                                                                                                                   company employee(s) providing and
                                                                                                                                                                       Lewis - Reddit                Client
                                                                                                                                                                                                                   discussing legal advice regarding
                                                                                                                                                                       posting and                   Privileged;
                                                                                                                                                                                                                   corporate communications after Natick
                                                                                                                                                                       revised                       Work
                                                                                                                                                                                                                   events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie         Finn, Molly [REDACTED]                                                          statement -                   Product
                                                                                                                                                                                                                   litigation.
Log00580      Document       10/31/2019 Request 6   Marie         [REDACTED]           Yetto, Kristin [REDACTED]         Billante, Joe [REDACTED]                      Privileged                    Protected


                                                                                       Brown, Adriane
                                                                                       [REDACTED]                        Phelan, Andrew C.                                                                         Email chain between counsel and
                                                                                       Swan, Bob                         [REDACTED]                                                                                company representative(s) providing
                                                                                       [REDACTED]             Farrell,   Billante, Joe [REDACTED]                                                                  and discussing legal advice regarding
                                                                                       Diana                             Cring, Andy [REDACTED]    Finn,               RE: Project                   Attorney      corporate communications after Natick
                                                                                       [REDACTED]                        Molly [REDACTED]       Huber,                 Lewis - Reddit                Client        events and prepared in anticipation of
                                                                                       Traquina, Perry                   Marie [REDACTED]                              posting and                   Privileged;   litigation.
                                                                                       [REDACTED]                        Schenkel, Scott                               revised                       Work
              Standalone                            Huber,        Huber, Marie         Tierney, Thomas                   [REDACTED]             Yetto, Kristin         statement -                   Product
Log00581      Document       10/31/2019 Request 6   Marie         [REDACTED]           [REDACTED]                        [REDACTED]                                    Privileged                    Protected




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                                                                                                                                                                                                       Email chain between counsel and
                                                                                                                                                           RE: Project                   Attorney
                                                                                                                                                                                                       company representative(s) providing
                                                                                                                                                           Lewis - Reddit                Client
                                                                                                                                                                                                       and discussing legal advice regarding
                                                                                                                                                           posting and                   Privileged;
                                                                                                                                                                                                       corporate communications after Natick
                                                                                                                                                           revised                       Work
                                                                                                                                                                                                       events and prepared in anticipation of
              Standalone                               Huber,      Huber, Marie      Brown, Adriane                       Finn, Molly [REDACTED]           statement -                   Product
                                                                                                                                                                                                       litigation.
Log00582      Document       10/31/2019 Request 6      Marie       [REDACTED]        [REDACTED]                           Huber, Marie [REDACTED]          Privileged                    Protected




                                                                                     Brown, Adriane
                                                                                     [REDACTED]
                                                                                     Bates, Anthony [REDACTED]
                                                                                                ; Swan, Bob
                                                                                     [REDACTED]             Hammer,
                                                                                     Bonnie
                                                                                                                                                                                                       Email chain from company
                                                                                     [REDACTED]
                                                                                                                                                                                                       representative to counsel providing
                                                                                     Farrell, Diana
                                                                                                                                                                                                       information to allow for the rendering of
                                                                                     [REDACTED]
                                                                                                                                                                                                       legal advice regarding Board/Committee
                                                                                     Anderson, Fred
                                                                                                                                                                                                       evaluations and/or determinations
                                                                                     [REDACTED]       Cohn,
                                                                                                                                                                                                       related to executive employment
                                                                                     Jesse [REDACTED]
                                                                                                                                                                                                       matters and regarding general corporate
                                                                                     Mitic, Katie
                                                                                                                                                                                                       matters and regarding unrelated
                                                                                     [REDACTED]       Green,
                                                                                                                                                                                                       litigation/legal matters.
                                                                                     Logan [REDACTED] Murphy,
                                                                                     Matt [REDACTED]
                                                                                     Pressler, Paul [REDACTED]
                                                                                                Traquina, Perry
                                                                                     [REDACTED]
                                                                                     Omidyar, Pierre
                                                                                     [REDACTED]                Tierney,                                                                  Attorney
              Standalone                               Schenkel,   Schenkel, Scott   Thomas                                                                Quick Update                  Client
Log00583      Document           11/1/2019 Request 6   Scott       [REDACTED]        [REDACTED]                           Huber, Marie [REDACTED]          #3                            Privileged

                                                                                                                                                                                                       Email chain between counsel and
                                                                                                                                                                                                       company employee(s) discussing legal
                                                                                                                                                                                                       advice regarding Board/Committee
                                                                                                                                                                                                       evaluations and/or determinations
                                                                                                                                                                                                       related to executive employment
                                                                                                                                                                                                       matters and regarding corporate
                                                                                                                                                                                                       communications after Natick events and
                                                                                                                                                                                                       regarding general corporate matters and
                                                                                                                                                                                         Attorney
                                                                                                                                                                                                       regarding unrelated litigation/legal
              Standalone                               Huber,      Huber, Marie      Schenkel, Scott                                                       RE: Quick                     Client
                                                                                                                                                                                                       matters.
Log00584      Document           11/3/2019 Request 6   Marie       [REDACTED]        [REDACTED]                                                            Update #3                     Privileged

                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                                                                                                                                       and outside counsel providing and
                                                                                                                                                                                                       discussing legal advice regarding eBay
                                                                                                                                                                                         Attorney      internal investigation after Natick events
                                                                                                                                                                                         Client        and regarding eBay response to law
                                                                                     Phelan, Andrew C.                                                                                   Privileged;   enforcement investigations after Natick
                                                                                     [REDACTED]                           Connor, Bryan M.                 Re: 11/1                      Work          events and prepared in anticipation of
              Standalone                               Vonsover,   Vonsover, Amir          Macauley, Shannon              [REDACTED]                       Telcon with                   Product       litigation.
Log00585      Document           11/4/2019 Request 6   Amir        [REDACTED]        [REDACTED]                           Finn, Molly [REDACTED]           the AUSA                      Protected




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                                                                                                                                                                                                       Email chain from in-house counsel
                                                                                                                                                           Re: Demand                    Attorney      providing and discussing legal advice
                                                                                                                                                           for Defense                   Client        regarding employment/personnel
                                                                                                                                                           and                           Privileged;   matters and/or actions after Natick
                                                                                                                                                           Indemnificatio                Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir                                                                        n - David                     Product       litigation.
Log00586      Document           11/4/2019 Request 6   Amir          [REDACTED]           Finn, Molly [REDACTED]                                           Harville                      Protected

                                                                                                                                                                                                       Email chain from in-house counsel
                                                                                                                                                           RE: Demand                    Attorney      providing and discussing legal advice
                                                                                                                                                           for Defense                   Client        regarding employment/personnel
                                                                                                                                                           and                           Privileged;   matters and/or actions after Natick
                                                                                                                                                           Indemnificatio                Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly          Vonsover, Amir                                                   n - David                     Product       litigation.
Log00587      Document           11/4/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       Harville                      Protected

                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                                                                                                                                       and outside counsel providing and
                                                                                                                                                                                                       discussing legal advice regarding eBay
                                                                                                                                                                                         Attorney      internal investigation after Natick events
                                                                                                                                                                                         Client        and regarding eBay response to law
                                                                                          Phelan, Andrew C.                                                                              Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                     Connor, Bryan M.                  Re: 11/1                      Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir           Macauley, Shannon          [REDACTED]                        Telcon with                   Product       litigation.
Log00588      Document           11/4/2019 Request 6   Amir          [REDACTED]           [REDACTED]                     Finn, Molly [REDACTED]            the AUSA                      Protected

                                                                                                                                                                                                       Email chain from in-house counsel
                                                                                                                                                                                         Attorney      requesting and providing legal advice
                                                                                                                                                                                         Client        regarding employment/personnel
                                                                                          Johnson, Aaron                                                                                 Privileged;   matters and/or actions after Natick
                                                                                          [REDACTED]                                                       FW: Re your                   Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir       Macauley, Shannon                                                client Jim                    Product       litigation.
Log00589      Document           11/5/2019 Request 6   Amir          [REDACTED]           [REDACTED]                                                       Baugh                         Protected

                                                                                                                                                                                                       Email chain from in-house counsel
                                                                                                                                                           Re: Demand                    Attorney      providing and discussing legal advice
                                                                                                                                                           for Defense                   Client        regarding employment/personnel
                                                                                                                                                           and                           Privileged;   matters and/or actions after Natick
                                                                                                                                                           Indemnificatio                Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir                                                                        n - David                     Product       litigation.
Log00590      Document           11/5/2019 Request 6   Amir          [REDACTED]           Finn, Molly [REDACTED]                                           Harville                      Protected

                                                                                                                                                                                                       Email chain from in-house counsel
                                                                                                                                                           Re: Demand                    Attorney      providing and discussing legal advice
                                                                                                                                                           for Defense                   Client        regarding employment/personnel
                                                                                                                                                           and                           Privileged;   matters and/or actions after Natick
                                                                                                                                                           Indemnificatio                Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly          Vonsover, Amir                                                   n - David                     Product       litigation.
Log00591      Document           11/5/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                       Harville                      Protected




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                                                                                                                                                                                                         Email chain between in-house counsel
                                                                                                                                                                                                         and outside counsel requesting and
                                                                                                                                                                                                         providing legal advice regarding eBay
                                                                                                                                                                                           Attorney      internal investigation after Natick events
                                                                                                                                                                                           Client        and regarding eBay response to law
                                                                                          Phelan, Andrew C.                                                 RE: Privileged                 Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                                                        and                            Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie             Finn, Molly                                                   Confidential --                Product       litigation.
Log00592      Document           11/5/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                        RE: Update?                    Protected

                                                                                                                                                                                                         Email chain from in-house counsel
                                                                                                                                                                                           Attorney      providing and discussing legal advice
                                                                                                                                                                                           Client        regarding employment/personnel
                                                                                          Vonsover, Amir                                                                                   Privileged;   matters and/or actions after Natick
                                                                                          [REDACTED]                                                        RE: Re your                    Work          events and prepared in anticipation of
              Standalone                               Johnson,      Johnson, Aaron       Macauley, Shannon                                                 client Jim                     Product       litigation.
Log00593      Document           11/5/2019 Request 6   Aaron         [REDACTED]           [REDACTED]                                                        Baugh                          Protected


                                                                                                                                                                                                         Email chain from in-house counsel
                                                                                                                                                                                           Attorney      requesting and providing legal advice
                                                                                                                                                                                           Client        regarding employment/personnel
                                                                                          Johnson, Aaron                                                                                   Privileged;   matters and/or actions after Natick
                                                                                          [REDACTED]                                                        Re: Re your                    Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir       Macauley, Shannon                                                 client Jim                     Product       litigation.
Log00594      Document           11/5/2019 Request 6   Amir          [REDACTED]           [REDACTED]                                                        Baugh                          Protected

                                                                                                                                                                                                         Email from counsel to company
                                                                                                                                                                                                         employee(s) providing legal advice
                                                                                                                                                                                           Attorney      regarding eBay response to law
                                                                                                                                                                                           Client        enforcement investigations after Natick
                                                                                                                                                                                           Privileged;   events and regarding corporate
                                                                                                                                                                                           Work          communications after Natick events and
              Standalone                               Huber,        Huber, Marie         Schenkel, Scott                                                   Project Lewis -                Product       prepared in anticipation of litigation.
Log00595      Document           11/5/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Huber, Marie [REDACTED]           Privileged                     Protected

                                                                                                                                                                                                         Email chain between counsel and
                                                                                                                                                                                                         company employee(s) providing and
                                                                                                                                                                                                         discussing legal advice regarding eBay
                                                                                                                                                                                           Attorney      response to law enforcement
                                                                                                                                                                                           Client        investigations after Natick events and
                                                                                                                                                                                           Privileged;   regarding corporate communications
                                                                                                                                                            RE: Project                    Work          after Natick events and prepared in
              Standalone                               Schenkel,     Schenkel, Scott      Huber, Marie                                                      Lewis -                        Product       anticipation of litigation.
Log00596      Document           11/5/2019 Request 6   Scott         [REDACTED]           [REDACTED]                                                        Privileged                     Protected
                                                                                                                                                            Fwd:
                                                                                                                                                            [REDACTED] --                                Email chain from in-house counsel
                                                                                                                                                            doj-evaluation-                Attorney      providing and discussing legal advice
                                                                                                                                                            of-corporate-                  Client        regarding employment/personnel
                                                                                                                                                            compliance-                    Privileged;   matters and/or actions after Natick
                                                                                          Apte, Anagha [REDACTED]                                           programs-april-                Work          events and prepared in anticipation of
                                                                     Finn, Molly          Vonsover, Amir                                                    2019-final                     Product       litigation.
Log00597      Parent             11/6/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                        (1).pdf                        Protected




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                                                                                                                                                                                                                       Attachment to Privileged/Protected
                                                                                                                                                                                         doj-evaluation-               Communication from in-house counsel
                                                                                                                                                                                         of-corporate-                 providing information to allow for the
                                                                                                                                                                                         compliance-                   rendering of legal advice regarding
                                                                                                                                                                                         programs-april- Attorney      employment/personnel matters and/or
                                                       Heron,                                                                                                                            2019-final      Client        actions after Natick events.
Log00598      Attachment         11/6/2019 Request 6   Jolene                                                                                                                            (1).pdf         Privileged
                                                                                                                                                                       Fwd:
                                                                                                                                                                       [REDACTED] --                                   Email chain from in-house counsel
                                                                                                                                                                       doj-evaluation-                   Attorney      providing and discussing legal advice
                                                                                                                                                                       of-corporate-                     Client        regarding employment/personnel
                                                                                                                                                                       compliance-                       Privileged;   matters and/or actions after Natick
                                                                                                                                                                       programs-april-                   Work          events and prepared in anticipation of
                                                                     Finn, Molly          Huber, Marie                                                                 2019-final                        Product       litigation.
Log00599      Parent             11/6/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                                   (1).pdf                           Protected


                                                                                                                                                                                                                       Attachment to Privileged/Protected
                                                                                                                                                                                         doj-evaluation-               Communication from in-house counsel
                                                                                                                                                                                         of-corporate-                 providing information to allow for the
                                                                                                                                                                                         compliance-                   rendering of legal advice regarding
                                                                                                                                                                                         programs-april- Attorney      employment/personnel matters and/or
                                                       Heron,                                                                                                                            2019-final      Client        actions after Natick events.
Log00600      Attachment         11/6/2019 Request 6   Jolene                                                                                                                            (1).pdf         Privileged

                                                                                                                                                                                                                       Email from counsel to company
                                                                                                                         Phelan, Andrew C.                                                                             representative(s) providing legal advice
                                                                                                                         [REDACTED]                                    eBay - Andy                       Attorney      regarding eBay internal investigation
                                                                                                                         Finn, Molly [REDACTED]                        Phelan Update                     Client        after Natick events and regarding eBay
                                                                                                                         Huber, Marie [REDACTED]                       to Project                        Privileged;   response to law enforcement
                                                                                                                         Schenkel, Scott                               Lewis Special                     Work          investigations after Natick events and
                                                       Huber,        Huber, Marie         Tierney, Thomas                [REDACTED]             Yetto, Kristin         Committee -                       Product       prepared in anticipation of litigation.
Log00601      Parent             11/7/2019 Request 6   Marie         [REDACTED]           [REDACTED]                     [REDACTED]                                    Privileged                        Protected

                                                                                                                                                                                                                       Memorandum from Andrew C. Phelan to
                                                                                                                                                                                                                       Special Committee prepared by counsel
                                                                                                                                                                                                                       providing legal advice regarding eBay
                                                                                                                                                                                                                       internal investigation after Natick
                                                                                                                                                                                                                       events; regarding eBay response to law
                                                                                                                                                                                                                       enforcement investigations after Natick
                                                                                                                                                                                                                       events; regarding
                                                                                                                                                                                                                       employment/personnel matters and/or
                                                                                                                                                                                                                       actions after Natick events; and
                                                                                                                                                                                         052094-                       regarding corporate communications
                                                                                                                                                                                         02__109777006   Attorney      after Natick events prepared in
                                                                                                                                                                                         v1_eBay ACP     Client        anticipation of litigation, and reflecting
                                                                                                                                                                                         Memo to         Privileged;   mental impressions, conclusions,
                                                                                                                                                                                         Special         Work          opinions and/or legal theories of counsel
                                                                                                                                                                                         Committee       Product       and/or counsel's agents.
Log00602      Attachment         11/7/2019 Request 6                                                                                                                                     11_6_19.DOCX    Protected




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                                                                                                                                                                                                      Email chain between in-house counsel
                                                                                                                                                                                                      and outside counsel providing and
                                                                                                                                                                                                      discussing legal advice regarding eBay
                                                                                                                                                                                        Attorney      internal investigation after Natick events
                                                                                                                                                                                        Client        and regarding employment/personnel
                                                                                                                                                                                        Privileged;   matters and/or actions after Natick
                                                                                     Phelan, Andrew C.                                                                                  Work          events and prepared in anticipation of
              Standalone                               Vonsover,   Vonsover, Amir    [REDACTED]                       Finn, Molly [REDACTED]            Re: Brian                       Product       litigation.
Log00603      Document           11/8/2019 Request 6   Amir        [REDACTED]                                         Huber, Marie [REDACTED]           Gilbert                         Protected

                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                                                                      company representative(s) providing
                                                                                                                                                                                                      and discussing legal advice regarding
                                                                                                                                                        RE: eBay: Andy                  Attorney      eBay internal investigation after Natick
                                                                                                                                                        Phelan Memo                     Client        events and regarding eBay response to
                                                                                                                      Phelan, Andrew C.                 to Lewis                        Privileged;   law enforcement investigations after
                                                                                                                      [REDACTED]                        Special                         Work          Natick events and prepared in
              Standalone                               Huber,      Huber, Marie      Farrell, Diana                   Finn, Molly [REDACTED]            Committee -                     Product       anticipation of litigation.
Log00604      Document       11/10/2019 Request 6      Marie       [REDACTED]        [REDACTED]                       Huber, Marie [REDACTED]           Privileged                      Protected


                                                                                                                                                                                        Attorney      Email chain between in-house counsel
                                                                                                                      Connor, Bryan M.                                                  Client        and outside counsel providing and
                                                                                     Phelan, Andrew C.                [REDACTED]                                                        Privileged;   discussing legal advice regarding eBay
                                                                                     [REDACTED]                       Finn, Molly [REDACTED]            Re: Locker in                   Work          internal investigation after Natick events
              Standalone                               Vonsover,   Vonsover, Amir          Macauley, Shannon          Ricupero, Kara                    Global Security                 Product       and prepared in anticipation of litigation.
Log00605      Document       11/14/2019 Request 6      Amir        [REDACTED]        [REDACTED]                       [REDACTED]                        office                          Protected

                                                                                                                                                                                        Attorney      Email between in-house counsel and
                                                                                                                                                                                        Client        outside counsel requesting legal advice
                                                                                                                                                                                        Privileged;   regarding eBay internal investigation
                                                                                     Phelan, Andrew C.                                                  Lewis update                    Work          after Natick events and prepared in
              Standalone                               Huber,      Huber, Marie      [REDACTED]                       Huber, Marie [REDACTED]           on Monday -                     Product       anticipation of litigation.
Log00606      Document       11/16/2019 Request 6      Marie       [REDACTED]                                         Finn, Molly [REDACTED]            Privileged                      Protected

                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                                                                      company employee(s) requesting and
                                                                                                                                                                                                      providing legal advice regarding eBay
                                                                                                                                                                                                      internal investigation after Natick events
                                                                                                                                                                                        Attorney      and regarding eBay response to law
                                                                                                                                                        RE: Wed BoD                     Client        enforcement investigations after Natick
                                                                                                                                                        Update - Draft -                Privileged;   events and regarding general corporate
                                                                                                                                                        missing                         Work          matters and prepared in anticipation of
              Standalone                               Huber,      Huber, Marie      Schenkel, Scott                                                    anything? -                     Product       litigation.
Log00607      Document       11/16/2019 Request 6      Marie       [REDACTED]        [REDACTED]                                                         Privileged                      Protected




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                                                                                                                                                                                                              Email chain between in-house counsel
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                                                                                                                                                                                                              advice regarding eBay internal
                                                                                                                                                                                                Attorney      investigation after Natick events and
                                                                                                                                                                                                Client        regarding eBay response to law
                                                                                       Phelan, Andrew C.                                                        Re: Lewis                       Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                               update on                       Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly              Huber, Marie                                                         Monday -                        Product       litigation.
Log00608      Document       11/17/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                               Privileged                      Protected

                                                                                                                                                                                                              Email from counsel to company
                                                                                                                                                                                                              representative(s) providing legal advice
                                                                                                                                                                Project Lewis                   Attorney      regarding eBay internal investigation
                                                                                                                                                                Special                         Client        after Natick events and regarding eBay
                                                                                                                      Huber, Marie [REDACTED]                   Committee                       Privileged;   response to law enforcement
                                                                                                                      Schenkel, Scott                           Update                          Work          investigations after Natick events and
                                                    Huber,        Huber, Marie         Tierney, Thomas                [REDACTED]         Yetto, Kristin         11.18.19 -                      Product       prepared in anticipation of litigation.
Log00609      Parent         11/18/2019 Request 6   Marie         [REDACTED]           [REDACTED]                     [REDACTED]                                Privileged                      Protected

                                                                                                                                                                                                              Memorandum from Andrew C. Phelan to
                                                                                                                                                                                                              Special Committee prepared by counsel
                                                                                                                                                                                                              providing legal advice regarding eBay
                                                                                                                                                                                                              internal investigation after Natick
                                                                                                                                                                                                              events; regarding eBay response to law
                                                                                                                                                                                                              enforcement investigations after Natick
                                                                                                                                                                                                              events; regarding
                                                                                                                                                                                052094-
                                                                                                                                                                                                              employment/personnel matters and/or
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                                                                                                                                                                                                              actions after Natick events; and
                                                                                                                                                                                v1_eBay
                                                                                                                                                                                                              regarding corporate communications
                                                                                                                                                                                11_18_19        Attorney
                                                                                                                                                                                                              after Natick events prepared in
                                                                                                                                                                                Project Lewis   Client
                                                                                                                                                                                                              anticipation of litigation, and reflecting
                                                                                                                                                                                update to       Privileged;
                                                                                                                                                                                                              mental impressions, conclusions,
                                                                                                                                                                                Special         Work
                                                                                                                                                                                                              opinions and/or legal theories of counsel
                                                                                                                                                                                Committee.DOC   Product
                                                                                                                                                                                                              and/or counsel's agents.
Log00610      Attachment     11/18/2019 Request 6                                                                                                                               X               Protected




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              Attachment                  Request                                                                                                                                          Basis




                                                                                     Brown, Adriane
                                                                                     [REDACTED]
                                                                                     Bates, Anthony [REDACTED]
                                                                                                ; Swan, Bob
                                                                                     [REDACTED]             Hammer,
                                                                                     Bonnie
                                                                                                                                                                                                     Email chain from company
                                                                                     [REDACTED]
                                                                                                                                                                                                     representative to counsel providing
                                                                                     Farrell, Diana
                                                                                                                                                                                                     information to allow for the rendering of
                                                                                     [REDACTED]
                                                                                                                                                                                                     legal advice regarding Board/Committee
                                                                                     Anderson, Fred
                                                                                                                                                                                                     evaluations and/or determinations
                                                                                     [REDACTED]       Cohn,
                                                                                                                                                                                                     related to executive employment
                                                                                     Jesse [REDACTED]
                                                                                                                                                                                                     matters and regarding general corporate
                                                                                     Mitic, Katie
                                                                                                                                                                                                     matters and regarding unrelated
                                                                                     [REDACTED]       Green,
                                                                                                                                                                                                     litigation/legal matters.
                                                                                     Logan [REDACTED] Murphy,
                                                                                     Matt [REDACTED]
                                                                                     Pressler, Paul [REDACTED]
                                                                                                Traquina, Perry
                                                                                     [REDACTED]
                                                                                     Omidyar, Pierre
                                                                                     [REDACTED]                Tierney,                                                                Attorney
              Standalone                            Schenkel,   Schenkel, Scott      Thomas                                                                Quick Update                Client
Log00611      Document       11/18/2019 Request 6   Scott       [REDACTED]           [REDACTED]                           Huber, Marie [REDACTED]          #4                          Privileged

                                                                                                                                                                                                     Email chain between counsel and
                                                                                                                                                                                                     company employee(s) discussing legal
                                                                                                                                                                                                     advice regarding eBay internal
                                                                                                                                                                                                     investigation after Natick events and
                                                                                                                                                                                                     regarding Board/Committee evaluations
                                                                                                                                                                                                     and/or determinations related to
                                                                                                                                                                                                     executive employment matters and
                                                                                                                                                                                                     regarding corporate communications
                                                                                                                                                                                                     after Natick events and regarding
                                                                                                                                                                                       Attorney
                                                                                                                                                                                                     general corporate matters and regarding
              Standalone                            Huber,      Huber, Marie         Schenkel, Scott                                                       RE: Quick                   Client
                                                                                                                                                                                                     unrelated litigation/legal matters.
Log00612      Document       11/18/2019 Request 6   Marie       [REDACTED]           [REDACTED]                                                            Update #4                   Privileged

                                                                                                                                                                                                     Email chain from company employee(s)
                                                                                                                                                                                                     to counsel providing information to
                                                                                                                                                                                                     allow for the rendering of legal advice
                                                                                                                                                                                                     regarding Board/Committee evaluations
                                                                                                                                                                                                     and/or determinations related to
                                                                                                                                                                                                     executive employment matters and
                                                                                                                                                                                                     regarding general corporate matters and
                                                                                                                                                                                       Attorney
                                                                                                                                                                                                     regarding unrelated litigation/legal
              Standalone                            Schenkel,   Schenkel, Scott                                                                            Fwd: Quick                  Client
                                                                                                                                                                                                     matters.
Log00613      Document       11/19/2019 Request 6   Scott       [REDACTED]           Lam, Cindy [REDACTED]                                                 Update #4                   Privileged




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              Attachment                  Request                                                                                                                                           Basis


                                                                                                                                                                                                      Email chain between in-house counsel
                                                                                                                                                                                                      and outside counsel providing and
                                                                                                                                                                                                      discussing legal advice regarding eBay
                                                                                                                                                                                                      internal investigation after Natick events
                                                                                                                                                                                        Attorney
                                                                                                                                                                                                      and regarding eBay response to law
                                                                                       Phelan, Andrew C.                                                                                Client
                                                                                                                                                                                                      enforcement investigations after Natick
                                                                                       [REDACTED]                                                                                       Privileged;
                                                                                                                                                                                                      events and prepared in anticipation of
                                                                                           Finn, Molly                                                    Re: Emailing:                 Work
                                                                                                                                                                                                      litigation.
              Standalone                            Vonsover,     Vonsover, Amir       [REDACTED]     Macauley, Connor, Bryan M.                          Re MA - ebay                  Product
Log00614      Document       11/22/2019 Request 6   Amir          [REDACTED]           Shannon [REDACTED]       [REDACTED]                                phil cook                     Protected


                                                                                                                                                                                                      Email chain between in-house and
                                                                                       Andrew Phelan (External)                                                                                       outside counsel providing and discussing
                                                                                       [REDACTED]                                                                                                     legal advice regarding eBay internal
                                                                                           Connor, Bryan M.                                                                             Attorney      investigation after Natick events and
                                                                                       [REDACTED]                                                                                       Client        regarding eBay response to law
                                                                                         Vonsover, Amir                                                                                 Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                         Re: Emailing:                 Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly          Macauley, Shannon                                                  Re MA - ebay                  Product       litigation.
Log00615      Document       11/22/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                         phil cook                     Protected


                                                                                                                                                                                                      Email chain between in-house and
                                                                                       Andrew Phelan (External)                                                                                       outside counsel providing and discussing
                                                                                       [REDACTED]                                                                                                     legal advice regarding eBay internal
                                                                                           Connor, Bryan M.                                                                             Attorney      investigation after Natick events and
                                                                                       [REDACTED]                                                                                       Client        regarding eBay response to law
                                                                                         Vonsover, Amir                                                                                 Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                         Re: Emailing:                 Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly          Macauley, Shannon                                                  Re MA - ebay                  Product       litigation.
Log00616      Document       11/22/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                         phil cook                     Protected

                                                                                                                                                                                                      Email between in-house counsel and
                                                                                       Phelan, Andrew C.                                                                                Attorney      outside counsel providing and discussing
                                                                                       [REDACTED]                                                                                       Client        legal advice regarding eBay response to
                                                                                           Billante, Joe                                                  RE: Privileged                Privileged;   law enforcement investigations after
                                                                                       [REDACTED]       Finn, Molly                                       and                           Work          Natick events and prepared in
              Standalone                            Huber,        Huber, Marie         [REDACTED]       Whitelaw, Connor, Bryan M.                        Confidential -                Product       anticipation of litigation.
Log00617      Document       11/22/2019 Request 6   Marie         [REDACTED]           Julianne [REDACTED]          [REDACTED]                            Project Lewis                 Protected

                                                                                                                                                                                                      Email chain from company
                                                                                                                                                                                        Attorney      representative to counsel providing and
                                                                                                                                                                                        Client        discussing legal advice regarding eBay
                                                                                                                                                          FW: Privileged                Privileged;   response to law enforcement
                                                                                                                                                          and                           Work          investigations after Natick events and
              Standalone                            Huber,        Huber, Marie         Yetto, Kristin                                                     Confidential -                Product       prepared in anticipation of litigation.
Log00618      Document       11/22/2019 Request 6   Marie         [REDACTED]           [REDACTED]                       Finn, Molly [REDACTED]            Project Lewis                 Protected




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                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                       Phelan, Andrew C.                                                                               Attorney      and outside counsel providing and
                                                                                       [REDACTED]                                                                                      Client        discussing legal advice regarding eBay
                                                                                           Billante, Joe               Connor, Bryan M.                  RE: Privileged                Privileged;   response to law enforcement
                                                                                       [REDACTED]       Finn, Molly [REDACTED]                           and                           Work          investigations after Natick events and
              Standalone                            Huber,        Huber, Marie         [REDACTED]       Whitelaw, Huber, Marie [REDACTED]                Confidential -                Product       prepared in anticipation of litigation.
Log00619      Document       11/22/2019 Request 6   Marie         [REDACTED]           Julianne [REDACTED]          Yetto, Kristin [REDACTED]            Project Lewis                 Protected

                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                                     and outside counsel providing and
                                                                                       Phelan, Andrew C.                                                                                             discussing legal advice regarding eBay
                                                                                       [REDACTED]                                                                                      Attorney      internal investigation after Natick events
                                                                                           Billante, Joe                                                                               Client        and regarding eBay response to law
                                                                                       [REDACTED]     Huber,           Connor, Bryan M.                  Re: Privileged                Privileged;   enforcement investigations after Natick
                                                                                       Marie [REDACTED]                [REDACTED]                        and                           Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly          Whitelaw, Julianne              Huber, Marie [REDACTED]           Confidential -                Product       litigation.
Log00620      Document       11/22/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                      Yetto, Kristin [REDACTED]         Project Lewis                 Protected


                                                                                                                                                                                                     Email chain between in-house counsel
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                                                                                                                                                                                                     discussing legal advice regarding eBay
                                                                                       Phelan, Andrew C.                                                                               Attorney      internal investigation after Natick events
                                                                                       [REDACTED]                                                                                      Client        and regarding eBay response to law
                                                                                           Billante, Joe                                                 RE: Privileged                Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]       Finn, Molly Connor, Bryan M.                     and                           Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie         [REDACTED]       Whitelaw, [REDACTED]                             Confidential -                Product       litigation.
Log00621      Document       11/22/2019 Request 6   Marie         [REDACTED]           Julianne [REDACTED]          Yetto, Kristin [REDACTED]            Project Lewis                 Protected

                                                                                                                                                                                                     Email chain between in-house counsel
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                                                                                                                                                                                       Attorney      internal investigation after Natick events
                                                                                                                                                                                       Client        and regarding eBay response to law
                                                                                       Phelan, Andrew C.               Connor, Bryan M.                  RE: Privileged                Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                      [REDACTED]                        and                           Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie             Finn, Molly                 Huber, Marie [REDACTED]           Confidential -                Product       litigation.
Log00622      Document       11/22/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Yetto, Kristin [REDACTED]         Project Lewis                 Protected

                                                                                                                                                                                                     Email chain between in-house counsel
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                                                                                                                                                                                       Attorney      internal investigation after Natick events
                                                                                                                                                                                       Client        and regarding eBay response to law
                                                                                       Phelan, Andrew C.               Connor, Bryan M.                  RE: Privileged                Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                      [REDACTED]                        and                           Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie             Finn, Molly                 Huber, Marie [REDACTED]           Confidential -                Product       litigation.
Log00623      Document       11/22/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Yetto, Kristin [REDACTED]         Project Lewis                 Protected




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              Attachment                  Request                                                                                                                                          Basis

                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                       Attorney      and outside counsel providing and
                                                                                                                                                                                       Client        discussing legal advice regarding eBay
                                                                                       Phelan, Andrew C.                                                 RE: Privileged                Privileged;   response to law enforcement
                                                                                       [REDACTED]                      Connor, Bryan M.                  and                           Work          investigations after Natick events and
              Standalone                            Huber,        Huber, Marie             Finn, Molly                 [REDACTED]                        Confidential -                Product       prepared in anticipation of litigation.
Log00624      Document       11/22/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Yetto, Kristin [REDACTED]         Project Lewis                 Protected

                                                                                                                                                                                                     Email chain between in-house counsel
                                                                                                                                                                                                     and outside counsel providing and
                                                                                                                                                                                                     discussing legal advice regarding eBay
                                                                                                                                                                                       Attorney      internal investigation after Natick events
                                                                                                                                                                                       Client        and regarding employment/personnel
                                                                                       Phelan, Andrew C.                                                                               Privileged;   matters and/or actions after Natick
                                                                                       [REDACTED]                                                                                      Work          events and prepared in anticipation of
              Standalone                            Vonsover,     Vonsover, Amir           Finn, Molly                                                   Re: Legal                     Product       litigation.
Log00625      Document       11/25/2019 Request 6   Amir          [REDACTED]           [REDACTED]                                                        Agreement                     Protected

                                                                                                                                                                                                     Email chain between in-house counsel
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                                                                                                                                                                                                     discussing legal advice regarding eBay
                                                                                                                                                                                       Attorney      internal investigation after Natick events
                                                                                                                                                                                       Client        and regarding employment/personnel
                                                                                       Phelan, Andrew C.                                                                               Privileged;   matters and/or actions after Natick
                                                                                       [REDACTED]                                                                                      Work          events and prepared in anticipation of
              Standalone                            Vonsover,     Vonsover, Amir           Finn, Molly                 Connor, Bryan M.                  Re: Legal                     Product       litigation.
Log00626      Document       11/25/2019 Request 6   Amir          [REDACTED]           [REDACTED]                      [REDACTED]                        Agreement                     Protected

                                                                                                                                                                                                     Email chain between in-house counsel
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                                                                                                                                                                                       Attorney      internal investigation after Natick events
                                                                                                                                                                                       Client        and regarding employment/personnel
                                                                                       Phelan, Andrew C.                                                                               Privileged;   matters and/or actions after Natick
                                                                                       [REDACTED]                                                                                      Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly              Vonsover, Amir              Connor, Bryan M.                  RE: Legal                     Product       litigation.
Log00627      Document       11/25/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                      [REDACTED]                        Agreement                     Protected




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 Log Number                      Date                 Author                    From                      To                                   CC      BCC     Subject**       Filename**                           Privilege Description
              Attachment                  Request                                                                                                                                               Basis




                                                                                       Brown, Adriane
                                                                                       [REDACTED]
                                                                                       Bates, Anthony [REDACTED]
                                                                                                   Swan, Bob
                                                                                       [REDACTED]             Hammer,
                                                                                       Bonnie
                                                                                       [REDACTED]
                                                                                       Farrell, Diana
                                                                                       [REDACTED]                                                                                                         Email chain from company
                                                                                                                                                                                                          representative to counsel providing
                                                                                       Anderson, Fred
                                                                                                                                                                                                          information to allow for the rendering of
                                                                                       [REDACTED]       Cohn,
                                                                                                                                                                                                          legal advice regarding general corporate
                                                                                       Jesse [REDACTED]
                                                                                                                                                                                                          matters.
                                                                                       Mitic, Katie
                                                                                       [REDACTED]       Green,
                                                                                       Logan [REDACTED] Murphy,
                                                                                       Matt [REDACTED]
                                                                                       Pressler, Paul [REDACTED]
                                                                                                  Traquina, Perry
                                                                                       [REDACTED]
                                                                                       Omidyar, Pierre
                                                                                       [REDACTED]                Tierney,                                                                   Attorney
              Standalone                            Schenkel,     Schenkel, Scott      Thomas                                                                Quick Update                   Client
Log00628      Document       11/25/2019 Request 6   Scott         [REDACTED]           [REDACTED]                           Huber, Marie [REDACTED]          #5                             Privileged


                                                                                                                                                                                                          Email chain between in-house counsel
                                                                                                                                                                                                          and outside counsel providing and
                                                                                                                                                                                                          discussing legal advice regarding eBay
                                                                                                                                                                                            Attorney      internal investigation after Natick events
                                                                                                                                                                                            Client        and regarding employment/personnel
                                                                                       Phelan, Andrew C.                                                                                    Privileged;   matters and/or actions after Natick
                                                                                       [REDACTED]                                                                                           Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly              Vonsover, Amir                   Connor, Bryan M.                 RE: Legal                      Product       litigation.
Log00629      Document       11/25/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                           [REDACTED]                       Agreement                      Protected


                                                                                                                                                             RE: eBay                                     Email chain between in-house counsel
                                                                                                                                                             11_25_19                                     and outside counsel providing and
                                                                                                                                                             Project Lewis                                discussing legal advice regarding eBay
                                                                                                                                                             update to                      Attorney      internal investigation after Natick events
                                                                                                                                                             Special                        Client        and regarding eBay response to law
                                                                                       Phelan, Andrew C.                                                     Committee.DO                   Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                            CX - Privileged                Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie             Finn, Molly                      Connor, Bryan M.                 and                            Product       litigation.
Log00630      Document       11/25/2019 Request 6   Marie         [REDACTED]           [REDACTED]                           [REDACTED]                       Confidential                   Protected
                                                                                                                                                                                                          Email chain between counsel and
                                                                                                                                                                                            Attorney      company employee(s) discussing legal
              Standalone                            Huber,        Huber, Marie         Schenkel, Scott                                                       RE: Quick                      Client        advice regarding general corporate
Log00631      Document       11/25/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                            Update #5                      Privileged    matters.




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              Attachment                     Request                                                                                                                                         Basis


                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                                                                                         RE: eBay
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                                                                                                                                                         11_25_19
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                                                                                                                                                                                                       internal investigation after Natick events
                                                                                                                                                         update to                       Attorney
                                                                                                                                                                                                       and regarding eBay response to law
                                                                                                                                                         Special                         Client
                                                                                                                                                                                                       enforcement investigations after Natick
                                                                                     Phelan, Andrew C.                                                   Committee.DO                    Privileged;
                                                                                                                                                                                                       events and prepared in anticipation of
                                                                                     [REDACTED]                                                          CX - Privileged                 Work
                                                                                                                                                                                                       litigation.
              Standalone                               Huber,     Huber, Marie             Finn, Molly                 Connor, Bryan M.                  and                             Product
Log00632      Document       11/26/2019 Request 6      Marie      [REDACTED]         [REDACTED]                        [REDACTED]                        Confidential                    Protected

                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                                                                                                                                       and outside counsel providing and
                                                                                                                                                         Fwd: Project                                  discussing legal advice regarding eBay
                                                                                                                                                         Lewis update                    Attorney      internal investigation after Natick events
                                                                                                                                                         to Special                      Client        and regarding eBay response to law
                                                                                                                                                         Committee                       Privileged;   enforcement investigations after Natick
                                                                                     Phelan, Andrew C.                                                   11 26.19 -                      Work          events and prepared in anticipation of
              Standalone                               Huber,     Huber, Marie       [REDACTED]                                                          Privileged and                  Product       litigation.
Log00633      Document       11/26/2019 Request 6      Marie      [REDACTED]                                           Finn, Molly [REDACTED]            Confidential                    Protected

                                                                                                                                                                                                       Email chain between in-house counsel
                                                                                                                                                                                                       and outside counsel providing and
                                                                                                                                                         RE: Project                                   discussing legal advice regarding eBay
                                                                                                                                                         Lewis update                    Attorney      internal investigation after Natick events
                                                                                                                                                         to Special                      Client        and regarding eBay response to law
                                                                                                                                                         Committee                       Privileged;   enforcement investigations after Natick
                                                                                     Phelan, Andrew C.                                                   11 26.19 -                      Work          events and prepared in anticipation of
              Standalone                               Huber,     Huber, Marie       [REDACTED]                                                          Privileged and                  Product       litigation.
Log00634      Document       11/26/2019 Request 6      Marie      [REDACTED]                                           Finn, Molly [REDACTED]            Confidential                    Protected

                                                                                                                                                                                                       Email chain from in-house counsel
                                                                                                                                                                                                       providing and discussing legal advice
                                                                                                                                                                                         Attorney      regarding eBay internal investigation
                                                                                                                                                                                         Client        after Natick events and regarding eBay
                                                                                                                                                                                         Privileged;   response to law enforcement
                                                                                                                                                                                         Work          investigations after Natick events and
              Standalone                               Huber,     Huber, Marie                                                                                                           Product       prepared in anticipation of litigation.
Log00635      Document           12/2/2019 Request 6   Marie      [REDACTED]         Finn, Molly [REDACTED]                                              FW: Phil Cook                   Protected



                                                                                                                                                         RE: Privileged                                Email chain between in-house counsel
                                                                                                                                                         and                                           and outside counsel providing and
                                                                                                                                                         Confidential --                               discussing legal advice regarding eBay
                                                                                                                                                         12/2 USAO                                     internal investigation after Natick events
                                                                                                                                                         interview of                                  and regarding eBay response to law
                                                                                                                                                         Ryan Moore;                     Attorney      enforcement investigations after Natick
                                                                                                                                                         next scheduled                  Client        events and prepared in anticipation of
                                                                                     Phelan, Andrew C.                 Phelan, Andrew C.                 eBay interview                  Privileged;   litigation.
                                                                                     [REDACTED]                        [REDACTED]                        (Phil Cooke) is                 Work
              Standalone                               Huber,     Huber, Marie             Finn, Molly                 Connor, Bryan M.                  set for Dec. 16-                Product
Log00636      Document           12/3/2019 Request 6   Marie      [REDACTED]         [REDACTED]                        [REDACTED]                        17.                             Protected




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                                                                                                                                                            RE: Privileged                                Email chain between in-house counsel
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                                                                                                                                                            Confidential --                               discussing legal advice regarding eBay
                                                                                                                                                            12/2 USAO                                     internal investigation after Natick events
                                                                                                                                                            interview of                                  and regarding eBay response to law
                                                                                                                                                            Ryan Moore;                     Attorney      enforcement investigations after Natick
                                                                                                                                                            next scheduled                  Client        events and prepared in anticipation of
                                                                                          Phelan, Andrew C.                                                 eBay interview                  Privileged;   litigation.
                                                                                          [REDACTED]                                                        (Phil Cooke) is                 Work
              Standalone                               Huber,        Huber, Marie             Finn, Molly                 Connor, Bryan M.                  set for Dec. 16-                Product
Log00637      Document           12/3/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      [REDACTED]                        17.                             Protected

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                                                                                                                                                                                            Attorney      internal investigation after Natick events
                                                                                                                                                                                            Client        and regarding eBay response to law
                                                                                          Phelan, Andrew C.                                                                                 Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                                                        Re: Atty/Client                 Work          events and prepared in anticipation of
              Standalone                               Vonsover,     Vonsover, Amir           Finn, Molly                 Connor, Bryan M.                  Privilege- Phil                 Product       litigation.
Log00638      Document           12/5/2019 Request 6   Amir          [REDACTED]           [REDACTED]                      [REDACTED]                        Cooke Phone                     Protected

                                                                                                                                                                                                          Email chain between in-house counsel
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                                                                                                                                                                                                          discussing legal advice regarding eBay
                                                                                                                                                                                            Attorney      internal investigation after Natick events
                                                                                                                                                                                            Client        and regarding eBay response to law
                                                                                          Phelan, Andrew C.                                                                                 Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                                                        Re: Atty/Client                 Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly              Vonsover, Amir              Connor, Bryan M.                  Privilege- Phil                 Product       litigation.
Log00639      Document           12/5/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                      [REDACTED]                        Cooke Phone                     Protected

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                                                                                          Phelan, Andrew C.               Connor, Bryan M.                                                  Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                      [REDACTED]                                                        Work          events and prepared in anticipation of
              Standalone                                             Finn, Molly              Huber, Marie                Vonsover, Amir                    Re: Project                     Product       litigation.
Log00640      Document       12/11/2019 Request 6      Finn, Molly   [REDACTED]           [REDACTED]                      [REDACTED]                        Lewis                           Protected

                                                                                                                                                                                                          Email chain between in-house counsel
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                                                                                          Phelan, Andrew C.               Connor, Bryan M.                                                  Privileged;   enforcement investigations after Natick
                                                                                          [REDACTED]                      [REDACTED]                                                        Work          events and prepared in anticipation of
              Standalone                               Huber,        Huber, Marie             Finn, Molly                 Vonsover, Amir                    Re: Project                     Product       litigation.
Log00641      Document       12/11/2019 Request 6      Marie         [REDACTED]           [REDACTED]                      [REDACTED]                        Lewis                           Protected




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                                                                                                                                                                                                     internal investigation after Natick events
                                                                                                                       Connor, Bryan M.                                                Attorney      and regarding eBay response to law
                                                                                                                       [REDACTED]                                                      Client        enforcement investigations after Natick
                                                                                                                       Finn, Molly [REDACTED]                                          Privileged;   events and regarding corporate
                                                                                       Phelan, Andrew C.               Rome, Marc [REDACTED]             RE: Project                   Work          communications after Natick events and
              Standalone                            Huber,        Huber, Marie         [REDACTED]                      Vonsover, Amir                    Lewis -                       Product       prepared in anticipation of litigation.
Log00642      Document       12/11/2019 Request 6   Marie         [REDACTED]                                           [REDACTED]                        Privileged                    Protected

                                                                                                                                                                                                     Email chain between in-house counsel
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                                                                                                                                                                                       Attorney      internal investigation after Natick events
                                                                                                                                                                                       Client        and regarding eBay response to law
                                                                                       Phelan, Andrew C.                                                                               Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                        Re: Google                    Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie             Finn, Molly                                                   notice                        Product       litigation.
Log00643      Document       12/13/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                        regarding eBay                Protected


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                                                                                                                                                                                                     internal investigation after Natick events
                                                                                                                                                                                                     and eBay response to law enforcement
                                                                                                                       Connor, Bryan M.                                                Attorney
                                                                                                                                                                                                     investigations after Natick events and
                                                                                                                       [REDACTED]                                                      Client
                                                                                                                                                                                                     regarding corporate communications
                                                                                                                       Finn, Molly [REDACTED]                                          Privileged;
                                                                                                                                                                                                     after Natick events and prepared in
                                                                                       Phelan, Andrew C.               Rome, Marc [REDACTED]             RE: Project                   Work
                                                                                                                                                                                                     anticipation of litigation.
              Standalone                            Huber,        Huber, Marie         [REDACTED]                      Vonsover, Amir                    Lewis -                       Product
Log00644      Document       12/13/2019 Request 6   Marie         [REDACTED]                                           [REDACTED]                        Privileged                    Protected


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                                                                                                                       Connor, Bryan M.                                                Client
                                                                                                                                                                                                     events and regarding corporate
                                                                                       Phelan, Andrew C.               [REDACTED]                                                      Privileged;
                                                                                                                                                                                                     communications after Natick events and
                                                                                       [REDACTED]                      Rome, Marc [REDACTED]             Re: Project                   Work
                                                                                                                                                                                                     prepared in anticipation of litigation.
              Standalone                                          Finn, Molly              Huber, Marie                Vonsover, Amir                    Lewis -                       Product
Log00645      Document       12/13/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                      [REDACTED]                        Privileged                    Protected




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                                                                                                                                                                                                      internal investigation after Natick events
                                                                                                                                                                                                      and regarding eBay response to law
                                                                                                                        Connor, Bryan M.                                                Attorney
                                                                                                                                                                                                      enforcement investigations after Natick
                                                                                                                        [REDACTED]                                                      Client
                                                                                                                                                                                                      events and regarding corporate
                                                                                                                        Finn, Molly [REDACTED]                                          Privileged;
                                                                                                                                                                                                      communications after Natick events and
                                                                                       Phelan, Andrew C.                Rome, Marc [REDACTED]             RE: Project                   Work
                                                                                                                                                                                                      prepared in anticipation of litigation.
              Standalone                            Huber,        Huber, Marie         [REDACTED]                       Vonsover, Amir                    Lewis -                       Product
Log00646      Document       12/13/2019 Request 6   Marie         [REDACTED]                                            [REDACTED]                        Privileged                    Protected
                                                                                                                                                                                        Attorney
                                                                                                                                                                                                      Email between counsel and company
                                                                                                                                                                                        Client
                                                                                                                                                                                                      employee(s) providing legal advice
                                                                                                                                                                                        Privileged;
                                                                                                                                                                                                      regarding corporate communications
                                                                                       Billante, Joe                                                                                    Work
                                                                                                                                                                                                      after Natick events and prepared in
              Standalone                                          Finn, Molly          [REDACTED]       Whitelaw, Vonsover, Amir                          Project Lewis                 Product
                                                                                                                                                                                                      anticipation of litigation.
Log00647      Document       12/13/2019 Request 6   Finn, Molly   [REDACTED]           Julianne [REDACTED]        [REDACTED]                              Comms Plan                    Protected

                                                                                                                                                                                                      Email chain between counsel and
                                                                                                                                                                                        Attorney      company employee(s) providing and
                                                                                                                                                                                        Client        discussing legal advice regarding
                                                                                                                                                                                        Privileged;   corporate communications after Natick
                                                                                       Billante, Joe                                                      RE: Project                   Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly          [REDACTED]       Whitelaw, Vonsover, Amir                          Lewis Comms                   Product       litigation.
Log00648      Document       12/13/2019 Request 6   Finn, Molly   [REDACTED]           Julianne [REDACTED]        [REDACTED]                              Plan                          Protected

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                                                                                                                                                                                        Attorney      internal investigation after Natick events
                                                                                                                                                                                        Client        and regarding eBay response to law
                                                                                       Phelan, Andrew C.                                                                                Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                         RE: Google                    Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie             Finn, Molly                  Connor, Bryan M.                  notice                        Product       litigation.
Log00649      Document       12/13/2019 Request 6   Marie         [REDACTED]           [REDACTED]                       [REDACTED]                        regarding eBay                Protected

                                                                                                                                                                                                      Email chain between in-house counsel
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                                                                                                                                                                                        Attorney      internal investigation after Natick events
                                                                                                                                                                                        Client        and regarding eBay response to law
                                                                                       Phelan, Andrew C.                                                                                Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                         Re: Google                    Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie             Finn, Molly                  Connor, Bryan M.                  notice                        Product       litigation.
Log00650      Document       12/13/2019 Request 6   Marie         [REDACTED]           [REDACTED]                       [REDACTED]                        regarding eBay                Protected




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                                                                                                                                                                                                      discussing legal advice regarding eBay
                                                                                                                                                         RE: ACP's draft                Attorney      internal investigation after Natick events
                                                                                                                                                         agenda/talking                 Client        and regarding eBay response to law
                                                                                       Phelan, Andrew C.                                                 points for eBay                Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                        1_7_20 Special                 Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie             Finn, Molly                                                   Committee                      Product       litigation.
Log00651      Document       12/18/2019 Request 6   Marie         [REDACTED]           [REDACTED]                                                        meeting                        Protected


                                                                                                                                                                                                      Email chain from in-house counsel
                                                                                                                                                                                                      providing and discussing legal advice
                                                                                                                                                         RE: ACP's draft                Attorney      regarding eBay internal investigation
                                                                                                                                                         agenda/talking                 Client        after Natick events and regarding eBay
                                                                                                                                                         points for eBay                Privileged;   response to law enforcement
                                                                                                                                                         1_7_20 Special                 Work          investigations after Natick events and
              Standalone                            Huber,        Huber, Marie                                                                           Committee                      Product       prepared in anticipation of litigation.
Log00652      Document       12/18/2019 Request 6   Marie         [REDACTED]           Finn, Molly [REDACTED]                                            meeting                        Protected


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                                                                                                                                                         RE: ACP's draft                Attorney      internal investigation after Natick events
                                                                                                                                                         agenda/talking                 Client        and regarding eBay response to law
                                                                                                                                                         points for eBay                Privileged;   enforcement investigations after Natick
                                                                                                                                                         1_7_20 Special                 Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly          Huber, Marie                                                      Committee                      Product       litigation.
Log00653      Document       12/18/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                        meeting                        Protected


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                                                                                                                                                         RE: ACP's draft                Attorney      internal investigation after Natick events
                                                                                                                                                         agenda/talking                 Client        and regarding eBay response to law
                                                                                       Phelan, Andrew C.                                                 points for eBay                Privileged;   enforcement investigations after Natick
                                                                                       [REDACTED]                                                        1_7_20 Special                 Work          events and prepared in anticipation of
              Standalone                                          Finn, Molly              Huber, Marie                                                  Committee                      Product       litigation.
Log00654      Document       12/18/2019 Request 6   Finn, Molly   [REDACTED]           [REDACTED]                                                        meeting                        Protected

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                                                                                                                                                         RE: ACP's draft                Attorney      internal investigation after Natick events
                                                                                                                                                         agenda/talking                 Client        and regarding eBay response to law
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                                                                                       Phelan, Andrew C.                                                 1_7_20 Special                 Work          events and prepared in anticipation of
              Standalone                            Huber,        Huber, Marie         [REDACTED]                                                        Committee                      Product       litigation.
Log00655      Document       12/19/2019 Request 6   Marie         [REDACTED]                                           Finn, Molly [REDACTED]            meeting                        Protected




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                                                                                                                                                                                                           Email from counsel to company
                                                                                                                                                                                                           representative(s) providing and
                                                                                                                                                                                                           discussing legal advice regarding eBay
                                                                                                                                                                                                           internal investigation after Natick events
                                                                                                                                                                                             Attorney      and regarding eBay response to law
                                                                                       Cring, Andy [REDACTED]                                            Project Lewis                       Client        enforcement investigations after Natick
                                                                                       Yetto, Kristin                                                    1.7.20 Agenda                       Privileged;   events and regarding corporate
                                                                                       [REDACTED]                      Billante, Joe [REDACTED]          and Talking                         Work          communications after Natick events and
                                                    Huber,        Huber, Marie         Schenkel, Scott                 Finn, Molly [REDACTED]            Points -                            Product       prepared in anticipation of litigation.
Log00656      Parent         12/20/2019 Request 6   Marie         [REDACTED]           [REDACTED]                      Huber, Marie [REDACTED]           Privileged                          Protected

                                                                                                                                                                                                           Draft document between in-house
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                                                                                                                                                                            02__110483204    Attorney      eBay internal investigation after Natick
                                                                                                                                                                            v1_eBay 1_7_20   Client        events and regarding eBay response to
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                                                                                                                                                                            Committee_Age    Work          Natick events and prepared in
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Log00657      Attachment     12/20/2019 Request 6                                                                                                                           Points.DOCX      Protected


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                                                                                                                                                                                                           internal investigation after Natick events
                                                                                                                                                                                             Attorney      and regarding eBay response to law
                                                                                                                                                         RE: Project                         Client        enforcement investigations after Natick
                                                                                       Cring, Andy [REDACTED]                                            Lewis 1.7.20                        Privileged;   events and regarding corporate
                                                                                       Huber, Marie                                                      Agenda and                          Work          communications after Natick events and
              Standalone                            Schenkel,     Schenkel, Scott      [REDACTED]        Yetto,        Billante, Joe [REDACTED]          Talking Points -                    Product       prepared in anticipation of litigation.
Log00658      Document       12/27/2019 Request 6   Scott         [REDACTED]           Kristin [REDACTED]              Finn, Molly [REDACTED]            Privileged                          Protected


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                                                                                       Cring, Andy [REDACTED]                                            Lewis 1.7.20                        Privileged;
                                                                                                                                                                                                           communications after Natick events and
                                                                                       Schenkel, Scott                 Billante, Joe [REDACTED]          Agenda and                          Work
                                                                                                                                                                                                           prepared in anticipation of litigation.
              Standalone                            Huber,        Huber, Marie         [REDACTED]         Yetto,       Finn, Molly [REDACTED]            Talking Points -                    Product
Log00659      Document       12/27/2019 Request 6   Marie         [REDACTED]           Kristin [REDACTED]              Huber, Marie [REDACTED]           Privileged                          Protected


                                                                                                                                                         Re: Privileged                      Attorney      Email chain between in-house counsel
                                                                                                                                                         and                                 Client        and outside counsel providing and
                                                                                                                       Connor, Bryan M.                  Confidential --                     Privileged;   discussing legal advice regarding eBay
                                                                                       Phelan, Andrew C.               [REDACTED]                        Project Lewis -                     Work          internal investigation after Natick events
              Standalone                                          Finn, Molly          [REDACTED]                      Vonsover, Amir                    phone/device                        Product       and prepared in anticipation of litigation.
Log00660      Document       12/27/2019 Request 6   Finn, Molly   [REDACTED]                                           [REDACTED]                        assignments                         Protected




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 * eBay produces this privilege log without waiver of, and expressly preserves, any and all objections and challenges to the Fed. R. Crim. P. 17(c) subpoenas issued to eBay Inc. and Morgan Lewis Bockius LLP, and reserves all rights to file a motion to quash the subpoenas or to
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                                                    work product protection, but expressly preserves and does not waive all claims of privilege/protection. eBay reserves the right to supplement and/or amend this privilege log.
                                                                                      ** Certain content subject to claims of privilege/protection has been redacted with the notation [REDACTED].




CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY CONCERNING PRIVILEGE LOGS                                                                                                                                                                           EBAY_BAUGHPRIV_0002
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UNITED STATES V. BAUGH, ET AL.                FIRST SUPPLEMENTAL PRIVILEGE LOG OF EBAY INC.*
20‐CR‐10263
Attorneys and Legal Personnel                                    Email Address
Apte, Anagha                                                     [REDACTED]
Connor, Bryan                                                    [REDACTED]
Cordo, Andrew                                                    [REDACTED]
Delis, Michael (Legal Technology Manager)                        [REDACTED]
Dwyer, Daniela (Head of Legal Operations)                        [REDACTED]
Finn, Molly                                                      [REDACTED]
Fitzgerald, Kate                                                 [REDACTED]
Hill, Melissa                                                    [REDACTED]
Huber, Marie                                                     [REDACTED]
Johnson, Aaron                                                   [REDACTED]

Macauley, Shannon (Legal Employee Relations Manager/Paralegal)   [REDACTED]
Mundell, Jordan                                                  [REDACTED]
Narayan, Raaj                                                    [REDACTED]
Neff, Daniel                                                     [REDACTED]
Niles, Sabastian                                                 [REDACTED]
O'Neill, Katherine                                               [REDACTED]
Phelan, Andrew                                                   [REDACTED]
Ricpuero, Kara                                                   [REDACTED]
Rome, Marc                                                       [REDACTED]
Ryan, Victoria                                                   [REDACTED]
Sands, Penny                                                     [REDACTED]
Shaulson, Samuel                                                 [REDACTED]
Stuart, David                                                    [REDACTED]
Tamboura, Angela                                                 [REDACTED]
Vonsover, Amir                                                   [REDACTED]
Wahlquist, Andrea                                                [REDACTED]
West, Colin                                                      [REDACTED]
White, John                                                      [REDACTED]




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               EXHIBIT 3




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20-CR-10263                                                                                                     PRIVILEGE LOG OF EBAY INC.*



   Log         Parent                      Subpoena
                                Date                        Author           From                 To               CC              BCC               Subject                Filename           Privilege Basis               Privilege Description
 Number      Attachment                     Request


                                                                                                                                                                                                                 Notes of confidential interview of Michelle
                                                                                                                                                                                                                 Echevaria on October 17, 2019, attended by
                                                                                                                                                                                                                 Bryan Connor, Andrew Phelan, Amir
                                                                                                                                                                                                                 Vonsover and Molly Finn reflecting the
                                                                                                                                                                                                                 collection of information for the purpose of
                                                                                                                                                                     052094-                                     rendering legal advice in connection with
                                                                                                                                                                     02__108919332v1_P                           eBay internal investigation after Natick
                                                                                                                                                                     roject Lewis -           Attorney Client    events, prepared by counsel in anticipation of
                                                                                                                                                                     Michelle Echevarria      Privileged; Work   litigation, and reflecting mental impressions,
         Standalone                                      Bryan                                                                                                       Call Memo to File        Product            conclusions, opinions and/or legal theories of
Log00661 Document           10/17/2019 Request 4         Connor                                                                                                      (10.17.2019).DOCX        Protected          counsel and/or counsel’s agents.



* eBay produces this privilege log without waiver of, and expressly preserves, any and all objections and challenges to the Fed. R. Crim. P. 17(c) subpoenas issued to eBay Inc. and Morgan
Lewis Bockius LLP, and reserves all rights to file a motion to quash the subpoenas or to seek other protections, on all available grounds. The provision of this privilege log, or any
purported failure to list a document or information within the privilege log, shall not constitute a waiver of the attorney client privilege, work product protections or other applicable
protections in this case or in any other federal or state proceeding and shall not limit eBay’s right to assert privilege or work product protection over material or information in
connection with this or any other proceeding. Further, eBay notes that certain of the documents logged within this privilege log may reflect potentially attorney client privileged and/or
work product protected information concerning matters not responsive to the subpoena. eBay has not undertaken to review all nonresponsive content for attorney client privilege
and/or work product protection, but expressly preserves and does not waive all claims of privilege/protection. eBay reserves the right to supplement and/or amend this privilege log.




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UNITED STATES V. BAUGH, ET AL.                        SECOND SUPPLEMENTAL
20-CR-10263                                         PRIVILEGE LOG OF EBAY INC.*
Attorneys and Legal Support Personnel         Email Address
Connor, Bryan                                 [REDACTED]
Finn, Molly                                   [REDACTED]
Phelan, Andrew                                [REDACTED]
Vonsover, Amir                                [REDACTED]




CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY CONCERNING PRIVILEGE LOGS              EBAY_BAUGHPRIV_0019
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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                                Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,

        Defendants.


  INTERVENORS EBAY INC.’S AND MORGAN, LEWIS & BOCKIUS LLP’S JOINT
          RESPONSE TO THE COURT’S JANUARY 28, 2022 ORDER

        Intervenors eBay Inc. (“eBay”) and Morgan, Lewis & Bockius LLP (“Morgan Lewis”)

hereby file their response to the Court’s January 28, 2022 Order (Dkt. 170) (the “Order”), which

requested a declaration regarding disclosures of witness statements to the government as well as

a more condensed privileged log focusing on witness statements. In accordance with the Order,

eBay and Morgan Lewis attach two declarations: (1) Supplemental Declaration of Andrew C.

Phelan, Esq. (Attachment A) and (2) Supplemental Declaration of Jack. W. Pirozzolo, Esq.

(Attachment B).

Dated: March 1, 2022                           Respectfully submitted,

                                               /s/ Jack W. Pirozzolo
                                               Jack W. Pirozzolo (BBO #564879)
                                               Kathryn L. Alessi (BBO #651110)
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                                    Counsel for eBay Inc.


                                    /s/ Nathan J. Andrisani
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                                    Counsel for Morgan, Lewis & Bockius LLP




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                                 CERTIFICATE OF SERVICE

   I hereby certify that on March 1, 2022, this document, filed through the CM/ECF system,

will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing (NEF) and paper copies will be sent to those indicated as non-registered participants.

                                                   /s/ Jack W. Pirozzolo
                                                   Jack. W. Pirozzolo




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          ATTACHMENT A




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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                                  Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,

Defendants.


              SUPPLEMENTAL DECLARATION OF ANDREW C. PHELAN, ESQ.

      I, Andrew C. Phelan, Esq., hereby depose and say as follows:

         1.      I submit this supplemental declaration pursuant to the Court’s January 28, 2022

order requiring eBay, Inc. (“eBay”) and Morgan, Lewis & Bockius LLP ("Morgan Lewis") to

produce a declaration to the Court regarding witness interviews and disclosures to the

Government made during the course of the eBay and Morgan Lewis investigation into the

conduct of Jim Baugh (“Baugh”) and others. (Dkt. 170). In its Order, the Court requested to see

“declarations from Morgan Lewis and eBay about exactly what was disclosed about the people

whose statements [eBay] is withholding.” Dkt. 180 at 92-93.

         2.      My original declaration in this case was filed December 17, 2021 (Dkt. 139) and

contains facts about my role in the investigation concerning this matter.

         3.      My statements here are based on my personal knowledge and are true to the best

of my knowledge, information, and belief after the review I describe below and as of the date I

sign this declaration.

         4.      I was the principal lawyer for eBay who had substantive communications with the

Government regarding its investigation beginning in September 2019. Three other lawyers also

had direct contact about the investigation with the Government on behalf of eBay as follows.


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Bryan Connor, an associate at Morgan Lewis who worked with me, had communications with

the Government between 2019 and August 2021, primarily by email. I do not recall his

communications ever involving the substance of witness statements. Amir Vonsover, an in-house

eBay lawyer, was interviewed by the Government on February 23, 2021 about the substance of

certain interviews he conducted during eBay’s Internal Investigation. I was present for his

interview by the Government. eBay's Chief Compliance Officer, Molly Finn, participated in the

March 16, 2021 presentation that I made to the Government on behalf of eBay but made no

disclosures as to any witness statement.

       5.      After the Court's January 28, 2022 hearing, I reviewed records to identify the

communications I had with the Government, including notes and emails from the electronic

searches that Morgan Lewis performed to identify email communications between the

Government on the one hand and me and/or Bryan Connor on the other. In my review, I sought

to identify all material communications with the Government and, from those, identify all

instances in which I did disclose, or might have disclosed, any substance from witness

interviews.

       6.      For this review, and consistent with the Court's direction, I interpreted the term

“substance” broadly to mean not just formal quotes or verbatim readouts, but any communication

in which I did convey, or may have conveyed, the gist of what a witness said in an interview, in

whole or in part. I sought to identify instances “not limited to just whether there was a verbal

download” but, more broadly, any instance in which I “told them in sum and substance what

somebody said.” See Dkt 180 at 93. This interpretation of "substance" is broader than in my

earlier declaration, where I focused on the specific Government requests for the substance of

eBay's interviews of defendants Baugh and Harville and of Steve Wymer and where I gave a

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verbal download directly from the written notes of their interviews. The disclosures captured by

this broader scope are detailed below.

       7.      I communicated with the Government about the investigation more than fifty

times starting in September 2019, primarily by telephone and email, with one in-person meeting

and several video calls. The volume of contacts reflected the extensiveness of eBay’s

cooperation with the Government, which began immediately upon eBay's learning from the

Natick Police Department of defendants' actions against the Steiners. eBay's cooperation

included providing the government with facts from its internal investigation, thousands of pages

of documents, and responses to numerous Government requests for information. Most

communications involved no discussion of witness substance. I identify below, to the best of my

recollection those instances in which I disclosed, or even might have disclosed, the substance of

what a witness said. Most frequently, these substantive disclosures concerned facts relevant to

the defendants' concealing and destroying evidence, creating and altering documents, and

attempting to mislead the eBay investigators and the Natick Police Department. I never provided

copies of any memoranda or notes of any interview and only read to the Government from the

written eBay witness statements of three individuals: Jim Baugh, Dave Harville, and Steve

Wymer.

       8.      September 16, 2019 Telephone Call with the Government. This was my first

contact with the Boston U.S. Attorney's office. I told AUSA Amy Burkart during this call that

eBay was in the midst of an internal investigation into allegations first brought to their attention

by an inquiry just a few weeks prior by the Natick Police Department. I recall mentioning Jim

Baugh's name, that there were other eBay employees involved, that eBay was concerned that




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some of them may have taken steps to mislead and interfere with the police investigation, and

that eBay intended to voluntarily report to the Government on these matters within about a week.

       9.      September 24, 2019 Meeting with the Government. This was my first

substantive meeting with the Government. Bryan Connor and I attended for eBay with AUSAs

Burkart and Seth Kosto attending for the Government. This meeting was a voluntary report by

eBay and came less than a month after eBay first learned of criminal acts by defendants Baugh,

Harville, and others. The facts reported here closely tracked those in the detailed FBI affidavit

that the Government filed about nine months later in its public announcement of charges against

Baugh, Harville, and others. At this meeting, I reported facts learned in the investigation as to

the roles of direct participants in the conduct, namely, Jim Baugh, David Harville, Stephanie

Popp, Veronica Zea, and Stephanie Stockwell. I also reported the apparent roles of Brian Gilbert

and Scott Fitzgerald and the concern that one or both had sought to obstruct or mislead the

Natick Police Department. This information derived from travel records, texts, and emails as

well as from interviews either conducted by Mr. Vonsover as part of eBay’s initial investigation

or by me as outside counsel from Morgan Lewis. I am not certain that I disclosed the substance

of any statement made by any of them but believe that I did disclose that they all concealed their

actions from eBay and lied to eBay before, during, and after the events in Natick. I also believe

that I disclosed at this meeting the statements made to me by eBay's former-CEO Devin Wenig

and former Chief Communications Officer Steve Wymer to the effect that they claimed to be

shocked when they learned of the Natick events and denied that they directed or intended from

any of their communications before the Natick events for anyone to engage in criminal conduct.

       10.      October 18, and October 30, 2019 Telephone Calls with the Government.

On October 18, 2019, I informed AUSA Kosto about two additional potentially relevant

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witnesses for his investigation, Michelle Alford (Echeveria) and Eleanor Mount. I had learned of

their identities shortly before the October 18 call. Ms. Mount declined to be interviewed, so I

could not have disclosed any substance as to her. I recall disclosing that Alford reported that she

had resigned rather than participate in Baugh's scheme and that Baugh fired Mount for refusing

to participate. I spoke again by phone with AUSA Kosto on October 30. I do not recall making

any further disclosure about Alford or Mount to him or whether he made some disclosure to me

resulting from a Government interview.

       11.     November 1, 2019 Telephone Call with the Government. In response to a

question from AUSA Kosto, I told the Government that certain witnesses lied to or tried to

mislead the company in their eBay interviews about their actions in Natick. I believe that I

disclosed in this call Baugh’s admission to Mr. Vonsover in his August 28, 2019 interview that

he had lied to Mr. Vonsover in his earlier eBay interviews.

       12.     March 12, 2020 Email to the Government. I emailed AUSA Kosto on this date

that Harville's lawyer invoked the Fifth Amendment for Harville for virtually all questions asked

during my interview of him. I do not recall revealing the substance of anything that Harville said

during that September 13, 2019 interview.

       13.     August 12, 2020 Telephone Call with the Government. In this call, I identified

Meagan Barret to AUSAs Kosto and D’Addio as another potentially relevant witness that the

Government might want to interview. I disclosed in this call information, likely from my and

eBay's interviews with her, that she had been at an August 2019 planning meeting that Baugh

had held for the Natick events, that she thereafter sought to avoid Baugh and involvement, that

she denied other involvement, and that she only very recently reported any of this to eBay. This

information was derived from interviews of her by eBay and me in March and July 2020.

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         14.   September 24, 2020 Telephone Call with the Government. I disclosed to

AUSA Kosto that Baugh and Harville had lied to Mr. Vonsover in their eBay interviews with

him.

         15.   October 2, 2020 Telephone Call with the Government. I told AUSA Kosto

that eBay would make Mr. Vonsover available for an interview with the Government regarding

his interviews of Baugh and Harville as well as to facts that Mr. Vonsover could provide as a

percipient witness to the interviews.

         16.   October 13, 2020 Telephone Call with the Government. During this call, I

read to the Government, including AUSA Kosto and an FBI agent, directly from the typed notes

of Mr. Vonsover's 2019 interviews of: (a) Jim Baugh on August 23 (2 interviews), August 27,

and August 28; and (b) Dave Harville on August 23, August 26, and August 27.

         17.    October 16, 2020 Telephone Call with the Government. During this call, I

read to AUSA Kosto and an FBI Agent directly from the typed notes of Mr. Vonsover’s 2019

interviews of Steve Wymer on August 27 and 28.

         18.   February 23, 2021 USAO Interview of Amir Vonsover. I attended the

Government interview of Mr. Vonsover by AUSA Kosto and an FBI agent. During that

interview, Mr. Vonsover principally answered questions regarding his interviews of Baugh and

Harville but also was asked, and answered, questions about some of the substance of his

interviews of Brian Gilbert, Scott Fitzgerald, Stephanie Popp, Veronica Zea, and Stephanie

Stockwell. My records do not reflect, and I do not recall, Mr. Vonsover providing the substance

of any other witness statement.

         19.   March 16, 2021 Presentation to the Government. I and eBay's Chief

Compliance Officer, Ms. Finn, met by videoconference with several AUSAs, including Mr.

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Kosto. During that meeting, I presented a PowerPoint deck that focused on the Department of

Justice’s principles of federal prosecution applicable to corporations, including the factors set

forth in the Department of Justice Manual applicable to consideration of corporate criminal

liability. The PowerPoint included factual findings from the Internal Investigation. It also stated

that the investigation had not uncovered evidence that either Wenig or Wymer had directed

anyone to engage in the criminal actions in Natick or knew that those actions would occur.

       20.     Following the March 16, 2021, presentation I do not recall any further

communications with the Government in which I disclosed the substance of any witness

interview.

       21.     The communications referenced above indicate, to the best of my present

recollection, all of the instances where I either did or might have disclosed the substance of

witness interviews. If there is anything that might refresh my recollection as to any other such

communications (if any), I will review them if brought to my attention.

       22.     To summarize the paragraphs above, to the best of my present recollection and on

behalf of eBay, I did disclose, or may have disclosed, to the Government substance from witness

statements of the following: Michelle Alford (Echeveria); Meagan Barret; Jim Baugh; Scott

Fitzgerald; Brian Gilbert; David Harville; Stephanie Popp; Stephanie Stockwell; Devin Wenig;

Steve Wymer; and Veronica Zea.

       23.     To the best of my present recollection, I did not disclose to the Government the

substance of any witness statements from the following: Phil Cooke; Jose Gordon; Wendy

Jones; Ryan Moore; and Julianne Whitelaw.

       24.     I declare under the penalties of perjury that the foregoing is true and correct to the

best of my knowledge, information and belief.

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      Executed, March 1, 2022, in the Commonwealth of Massachusetts, United States of

America.


                                            /s/ Andrew C. Phelan
                                            Andrew C. Phelan, Esq.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2022, this document, filed through the CM/ECF system,

will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing (NEF) and paper copies will be sent to those indicated as non-registered participants.

                                                   /s/ Jack W. Pirozzolo
                                                   Jack. W. Pirozzolo




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           ATTACHMENT B




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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                                        Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,

        Defendants.


             SUPPLEMENTAL DECLARATION OF JACK W. PIROZZOLO, ESQ.

        I, Jack W. Pirozzolo, hereby depose and say as follows:

        1.       I am counsel of record for eBay in the above-captioned matter. Unless otherwise

noted, the statements set forth herein are based on my own personal knowledge. They are also

true to the best of my knowledge, information and belief as of the date I signed this declaration.

        2.       I submit this supplemental declaration in accordance with the Court’s instructions

at the January 28, 2022 hearing in this matter for eBay Inc. (“eBay”) to submit to the Court a

“supplemental privilege log focusing on those categories” of documents most relevant to the

Court’s waiver analysis in light of the Court’s direction that it would not review all documents

on the privilege logs eBay supplied to defendant Jim Baugh (“Baugh”) in response to his Rule 17

subpoena. Dkt. 180 at 29-30.

        3.       Attached hereto as Exhibit 1 is the requested supplemental privilege log

(“Condensed Log”). 1 The Condensed Log contains entries from all logs produced to Baugh that

are most germane to the Court’s waiver analysis as articulated at the January 28, 2022 hearing.

Specifically, the Condensed Log contains entries for those interview notes/memoranda that




1
 eBay has removed email addresses from the entries contained within the Condensed Log per the Court’s January
20, 2022 order. Dkt. 160.




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remain within scope of Subpoena Request No. 4 and that eBay has not produced to Baugh. The

Condensed Log also contains entries for those emails and documents that remain within the

scope of Subpoena Request Nos. 2 and 6 and that, after a reasonably diligent review, eBay has

identified as referencing or discussing statements of witnesses from the interviews that remain

within the scope of Subpoena Request No. 4. The Condensed Log also contains nineteen

additional documents that eBay identified after conducting an additional review. These consist

of additional drafts of witness statements and notes of communications with certain witnesses, all

of which may be responsive to the Court’s interest in documents relating to witness statements.2

        4.       As is the case with any curated set of documents, it is likely that there remain

documents on the original logs that do not appear on the Condensed Log that may touch on

statements of witnesses. Nevertheless, this Condensed Log represents a good faith effort to

identify for the Court the documents on the original logs that the Court said during the January

28, 2022 hearing that it was most interested in, namely, memoranda of witness statements and

emails or other communications referencing statements of witnesses.

        5.       Attached hereto at Exhibit 2 is a table listing alphabetically the relevant witnesses

interviewed during the course of eBay’s internal investigation along with the dates of the

interviews, whether the interviews were conducted by eBay counsel or Morgan Lewis and

whether the substance of the interviews was provided to the government. Although the relevant

documents already appear on the Condensed Log, I have attached this table for the convenience

of the Court so that it can see in a more simplified format relevant information regarding witness




2
 eBay has included within the Condensed Log an entry for notes taken by an employee in eBay’s legal counsel
office of a conversation with Natick Police Detective Jason Sutherland on August 22, 2019 and a conversation with
Tony Shepard of Progressive Force Concepts on August 23, 2019. Although the conversations themselves may not
have been privileged, the notes and the accompanying emails transmitting them are work product and privileged.




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interviews. These also correspond to the witness interviews that Mr. Phelan addresses in his

Supplemental Declaration filed simultaneously with this declaration.

       6.     I declare, under the pains and penalties of perjury that the foregoing is true and

correct to the best of my knowledge, information and belief.

       Executed, March 1, 2022, in the Commonwealth of Massachusetts, United States of

America.

                                                 /s/ Jack W. Pirozzolo
                                                 Jack W. Pirozzolo, Esq.




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                                 CERTIFICATE OF SERVICE

   I hereby certify that on March 1, 2022, this document, filed through the CM/ECF system,

will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing (NEF) and paper copies will be sent to those indicated as non-registered participants.

                                                   /s/ Jack W. Pirozzolo
                                                   Jack. W. Pirozzolo




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                    EXHIBIT 1




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                                                                                                                                                                                                        Memorandum of confidential interview of Meaghan
                                                                                                                                                                                                        Barrett on March 6, 2020, attended by Andy Phelan
                                                                                                                                                                                                        and Amir Vonsover reflecting the collection of
                                                                                                                                                                                                        information for the purpose of rendering legal advice
                                                                                                                                                                                                        in connection with eBay internal investigation after
                                                                                                                                                                                                        Natick events, prepared by counsel in anticipation of
                                                                                                                                                   2020.03.06 Meagan                                    litigation, and reflecting mental impressions,
                          Standalone                              Kimberley                                                                        Barret Interview         Attorney Client Privileged; conclusions, opinions and/or legal theories of
    1     Log00085        Document       7/2/2020    Request 4    Phelan                                                                           (ML).docx                Work Product Protected counsel and/or counsel's agents.

                                                                                                                                                                                                          Notes of confidential interview of Michelle Echevaria
                                                                                                                                                                                                          on October 15, 2019, attended by Molly Finn, Amir
                                                                                                                                                                                                          Vonsover, and Michelle Echevaria reflecting the
                                                                                                                                                                                                          collection of information for the purpose of
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                                                                                                                                                                                                          internal investigation after Natick events, prepared
                                                                                                                                                                                                          by counsel in anticipation of litigation, and reflecting
                          Standalone                                                                                                               2019.10.15 Michelle      Attorney Client Privileged;   mental impressions, conclusions, opinions and/or
    2     Log00084        Document       10/15/2019 Request 4     Vonsover, Amir                                                                   Echevaria.docx           Work Product Protected        legal theories of counsel and/or counsel's agents.
                                                                                                                                                                                                          Notes of confidential interview of Michelle Echevaria
                                                                                                                                                                                                          on October 17, 2019, attended by Bryan Connor,
                                                                                                                                                                                                          Andrew Phelan, Amir Vonsover and Molly Finn
                                                                                                                                                                                                          reflecting the collection of information for the
                                                                                                                                                                                                          purpose of rendering legal advice in connection with
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                                                                                                                                                   02__108919332v1_Proj                                   prepared by counsel in anticipation of litigation, and
                                                                                                                                                   ect Lewis - Michelle                                   reflecting mental impressions, conclusions, opinions
                          Standalone                                                                                                               Echevarria Call Memo to Attorney Client Privileged;    and/or legal theories of counsel and/or counsel’s
    3     Log00661        Document       10/17/2019 Request 4     Bryan Connor                                                                     File (10.17.2019).DOCX Work Product Protected          agents.
                                                                                                                                                                                                          Notes of confidential interview of Scott Fitzgerald on
                                                                                                                                                                                                          August 23, 2019, attended by Shannon Macauley,
                                                                                                                                                                                                          Amir Vonsover, and Scott Fitzgerald reflecting the
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                          Standalone                              Macauley,                                                                        2019.08.23 Scott         Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    4     Log00061        Document       9/12/2019   Request 4    Shannon                                                                          Fitzgerald.docx          Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                          Notes of confidential interview of Scott Fitzgerald on
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                          Standalone                              Macauley,                                                                        2019.08.23 Scott         Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    5     Log00773**      Document       8/29/2019   Request 4    Shannon                                                                          Fitzgerald.docx          Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                          Notes of confidential interview of Scott Fitzgerald on
                                                                                                                                                                                                          August 30, 2019, attended by Colin West, Bryan
                                                                                                                                                                                                          Connor, Shannon Macauley, and Scott Fitzgerald
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                          Standalone                              Macauley,                                                                        2019.08.30 Scott         Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    6     Log00075        Document       9/12/2019   Request 4    Shannon                                                                          Fitzgerald (ML).docx     Work Product Protected        counsel and/or counsel's agents.

                                                                                                                                                                                                        Notes of confidential interview of Scott Fitzgerald on
                                                                                                                                                                                                        September 3, 2019, attended by Colin West, Jordan
                                                                                                                                                                                                        Mundell, Andy Phelan, Shannon Macauley, and Scott
                                                                                                                                                                                                        Fitzgerald reflecting the collection of information for
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                          Standalone                              Macauley,                                                                        2019.09.03 Scott         Attorney Client Privileged; conclusions, opinions and/or legal theories of
    7     Log00079        Document       9/12/2019   Request 4    Shannon                                                                          Fitzgerald (ML).docx     Work Product Protected counsel and/or counsel's agents.




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                                                                                                                                                                                                          Notes of confidential interview of Scott Fitzgerald on
                                                                                                                                                                                                          September 5, 2019, attended by Colin West, Andy
                                                                                                                                                                                                          Phelan, Shannon Macauley, and Scott Fitzgerald
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                          Standalone                              Macauley,                                                                        2019.09.05 Scott         Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    8     Log00080        Document       9/12/2019   Request 4    Shannon                                                                          Fitzgerald (ML).docx     Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                          Notes of confidential interview of Brian Gilbert on
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                          Standalone                              Macauley,                                                                        2019.08.23 Brian         Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    9     Log00059        Document       9/12/2019   Request 4    Shannon                                                                          Gilbert.docx             Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                          Notes of confidential interview of Brian Gilbert on
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                          Standalone                              Macauley,                                                                        2019.08.23 Brian         Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    10    Log00774**      Document       8/29/2019   Request 4    Shannon                                                                          Gilbert.docx             Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                          Notes of confidential interview of Brian Gilbert on
                                                                                                                                                                                                          August 30, 2019, attended by Andy Phelan, Jordan
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                          Standalone                              Macauley,                                                                        2019.08.30 Brian Gilbert Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    11    Log00074        Document       9/12/2019   Request 4    Shannon                                                                          (ML).docx                Work Product Protected        counsel and/or counsel's agents.

                                                                                                                                                                                                        Notes of confidential interview of Brian Gilbert on
                                                                                                                                                                                                        September 3, 2019, attended by Andy Phelan, Jordan
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                          Standalone                              Macauley,                                                                        2019.09.03 Brian Gilbert Attorney Client Privileged; conclusions, opinions and/or legal theories of
    12    Log00078        Document       9/12/2019   Request 4    Shannon                                                                          (ML).docx                Work Product Protected counsel and/or counsel's agents.
                                                                                                                                                                                                        Notes of confidential interview of David Harville on
                                                                                                                                                                                                        August 23, 2019, attended by Shannon Macauley,
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                          Standalone                              Macauley,                                                                        2019.08.23 Dave          Attorney Client Privileged; conclusions, opinions and/or legal theories of
    13    Log00060        Document       9/12/2019   Request 4    Shannon                                                                          Harville.docx            Work Product Protected counsel and/or counsel's agents.
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                          Standalone                              Macauley,                                                                        2019.08.23 Dave          Attorney Client Privileged; conclusions, opinions and/or legal theories of
    14    Log00775**      Document       8/29/2019   Request 4    Shannon                                                                          Harville.docx            Work Product Protected counsel and/or counsel's agents.




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                                                                                                                                                                                                     Notes of confidential interview of David Harville on
                                                                                                                                                                                                     August 26, 2019, attended by Shannon Macauley,
                                                                                                                                                                                                     Amir Vonsover, and David Harville reflecting the
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                          Standalone                              Macauley,                                                                        2019.08.26 Dave     Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    15    Log00066        Document       9/12/2019   Request 4    Shannon                                                                          Harville_2.docx     Work Product Protected        counsel and/or counsel's agents.
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                          Standalone                              Macauley,                                                                        2019.08.26 Dave     Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    16    Log00776**      Document       8/29/2019   Request 4    Shannon                                                                          Harville_2.docx     Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                     Notes of confidential interview of David Harville on
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                          Standalone                              Macauley,                                                                        2019.08.27 Dave     Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    17    Log00070        Document       9/12/2019   Request 4    Shannon                                                                          Harville_3.docx     Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                     Notes of confidential interview of David Harville on
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                          Standalone                              Macauley,                                                                        2019.08.27 Dave     Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    18    Log00777**      Document       8/29/2019   Request 4    Shannon                                                                          Harville_3.docx     Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                     Notes of confidential interview of David Harville on
                                                                                                                                                                                                     September 13, 2019, attended by Andy Phelan, Colin
                                                                                                                                                                                                     West, Amir Vonsover, David Harville, and Evan
                                                                                                                                                                                                     Nelson reflecting the collection of information for
                                                                                                                                                                                                     the purpose of rendering legal advice in connection
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                                                                                                                                                                                                     prepared by counsel in anticipation of litigation, and
                                                                                                                                                   Harville Attorney                                 reflecting mental impressions, conclusions, opinions
                                                     Request 4;                                                                                    meeting 9.13.2019   Attorney Client Privileged;   and/or legal theories of counsel and/or counsel's
    19    Log00126        Attachment     9/13/2019   Request 6    Vonsover, Amir                                                                   AJV.docx            Work Product Protected        agents.
                                                                                                                                                                                                     Notes of confidential interview of Wendy Jones on
                                                                                                                                                                                                     August 30, 2019, attended by Andy Phelan, Jordan
                                                                                                                                                                                                     Mundell, Shannon Macauley, and Wendy Jones
                                                                                                                                                                                                     reflecting the collection of information for the
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                          Standalone                              Macauley,                                                                        2019.08.30 Wendy    Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    20    Log00077        Document       9/12/2019   Request 4    Shannon                                                                          Jones (ML).docx     Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                     Notes of confidential interview of Wendy Jones on
                                                                                                                                                                                                     September 6, 2019, attended by Andy Phelan, Colin
                                                                                                                                                                                                     West, Shannon Macauley, and Wendy Jones
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                          Standalone                              Macauley,                                                                        2019.09.06 Wendy    Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    21    Log00081        Document       9/12/2019   Request 4    Shannon                                                                          Jones (ML).docx     Work Product Protected        counsel and/or counsel's agents.




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                                                                                                                                                                                                      Notes of confidential interview of Ryan Moore on
                                                                                                                                                                                                      September 13, 2019, attended by Andy Phelan, Colin
                                                                                                                                                                                                      West, Amir Vonsover, and Ryan Moore reflecting the
                                                                                                                                                                                                      collection of information for the purpose of
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                          Standalone                                                                                                            2019.09.13 Ryan Moore Attorney Client Privileged;     mental impressions, conclusions, opinions and/or
    22    Log00266        Document         11/2/2021 Request 4                                                                                  Interview (ML).docx   Work Product Protected          legal theories of counsel and/or counsel's.
                                                                                                                                                                                                      Notes of confidential interview of Stephanie Popp on
                                                                                                                                                                                                      August 23, 2019, attended by Shannon Macauley,
                                                                                                                                                                                                      Amir Vonsover, and Stephanie Popp reflecting the
                                                                                                                                                                                                      collection of information for the purpose of
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                          Standalone                              Macauley,                                                                     2019.08.23 Stephanie    Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    23    Log00062        Document       9/12/2019   Request 4    Shannon                                                                       Popp.docx               Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                      Notes of confidential interview of Stephanie Popp on
                                                                                                                                                                                                      August 23, 2019, attended by Shannon Macauley,
                                                                                                                                                                                                      Amir Vonsover, and Stephanie Popp reflecting the
                                                                                                                                                                                                      collection of information for the purpose of
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                                                                                                                                                                                                      at the direction of counsel in anticipation of
                                                                                                                                                                                                      litigation, and reflecting mental impressions,
                          Standalone                              Macauley,                                                                     2019.08.23 Stephanie    Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    24    Log00778**      Document       8/29/2019   Request 4    Shannon                                                                       Popp.docx               Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                      Notes of confidential interview of Stephanie Popp on
                                                                                                                                                                                                      August 26, 2019, attended by Shannon Macauley,
                                                                                                                                                                                                      Amir Vonsover, and Stephanie Popp reflecting the
                                                                                                                                                                                                      collection of information for the purpose of
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                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                      litigation, and reflecting mental impressions,
                          Standalone                              Macauley,                                                                     2019.08.26 Stephanie    Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    25    Log00067        Document       9/12/2019   Request 4    Shannon                                                                       Popp_2.docx             Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                      Notes of confidential interview of Stephanie Popp on
                                                                                                                                                                                                      August 26, 2019, attended by Shannon Macauley,
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                          Standalone                              Macauley,                                                                     2019.08.26 Stephanie    Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    26    Log00779**      Document       8/29/2019   Request 4    Shannon                                                                       Popp_2.docx             Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                      Notes of confidential interview of Stephanie Popp on
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                                                                                                                                                                                                      litigation, and reflecting mental impressions,
                          Standalone                              Macauley,                                                                     2019.08.27 Stephanie    Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    27    Log00071        Document       9/12/2019   Request 4    Shannon                                                                       Popp_3.docx             Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                      Notes of confidential interview of Stephanie Popp on
                                                                                                                                                                                                      August 27, 2019, attended by Shannon Macauley,
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                                                                                                                                                                                                      internal investigation after Natick events, prepared
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                                                                                                                                                                                                      litigation, and reflecting mental impressions,
                          Standalone                              Macauley,                                                                     2019.08.27 Stephanie    Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    28    Log00780**      Document       8/29/2019   Request 4    Shannon                                                                       Popp_3.docx             Work Product Protected        counsel and/or counsel's agents.




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                                                                                                                                                                                                     Notes of conversation between Shannon Macauley,
                                                                                                                                                                                                     Amir Vonsover and Tony Shepard on August 23,
                                                                                                                                                                                                     2019, in connection with eBay internal investigation
                                                                                                                                                                                                     after Natick events, prepared at the direction of
                                                                                                                                                                                                     counsel in anticipation of litigation, and reflecting
                          Standalone                              Macauley,                                                                     2019.08.23 Tony          Attorney Client Privileged; mental impressions, conclusions, opinions and/or
    29    Log00063        Document       9/12/2019   Request 4    Shannon                                                                       Shepard.docx             Work Product Protected legal theories of counsel and/or counsel's agents.

                                                                                                                                                                                                     Notes of conversation between Shannon Macauley,
                                                                                                                                                                                                     Amir Vonsover and Tony Shepard on August 23,
                                                                                                                                                                                                     2019, in connection with eBay internal investigation
                                                                                                                                                                                                     after Natick events, prepared at the direction of
                                                                                                                                                                                                     counsel in anticipation of litigation, and reflecting
                          Standalone                              Macauley,                                                                     2019.08.23 Tony          Attorney Client Privileged; mental impressions, conclusions, opinions and/or
    30    Log00781**      Document       8/29/2019   Request 4    Shannon                                                                       Shepard.docx             Work Product Protected legal theories of counsel and/or counsel's agents.
                                                                                                                                                                                                     Notes of conversation between Natick Police
                                                                                                                                                                                                     Detective Jason Sutherland, Shannon Macauley, and
                                                                                                                                                                                                     Amir Vonsover on August 22, 2019 reflecting the
                                                                                                                                                                                                     collection of information for the purpose of
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                                                                                                                                                                                                     internal investigation after Natick events, prepared
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                          Standalone                              Macauley,                                                                     2019.08.22 Sutherland    Attorney Client Privileged; conclusions, opinions and/or legal theories of
    31    Log00782**      Document         9/12/2019 Request 4    Shannon                                                                       Convo.docx               Work Product Protected counsel and/or counsel's agents.
                                                                                                                                                                                                     Notes of conversation between Natick Police
                                                                                                                                                                                                     Detective Jason Sutherland, Shannon Macauley, and
                                                                                                                                                                                                     Amir Vonsover on August 22, 2019 reflecting the
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                                                                                                                                                                                                     litigation, and reflecting mental impressions,
                          Standalone                              Macauley,                                                                     2019.08.22 Sutherland    Attorney Client Privileged; conclusions, opinions and/or legal theories of
    32    Log00783**      Document         8/29/2019 Request 4    Shannon                                                                       Convo.docx               Work Product Protected counsel and/or counsel's agents.

                                                                                                                                                                                                     Notes of confidential interview of Stephanie
                                                                                                                                                                                                     Stockwell on August 26, 2019, attended by Shannon
                                                                                                                                                                                                     Macauley, Amir Vonsover, and Stephanie Stockwell
                                                                                                                                                                                                     reflecting the collection of information for the
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                                                                                                                                                                                                     eBay internal investigation after Natick events,
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                                                                                                                                                                                                     of litigation, and reflecting mental impressions,
                          Standalone                              Macauley,                                                                     2019.08.26 Stephanie     Attorney Client Privileged; conclusions, opinions and/or legal theories of
    33    Log00068        Document       9/12/2019   Request 4    Shannon                                                                       Stockwell.docx           Work Product Protected counsel and/or counsel's agents.

                                                                                                                                                                                                     Notes of confidential interview of Stephanie
                                                                                                                                                                                                     Stockwell on August 26, 2019, attended by Shannon
                                                                                                                                                                                                     Macauley, Amir Vonsover, and Stephanie Stockwell
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                                                                                                                                                                                                     of litigation, and reflecting mental impressions,
                          Standalone                              Macauley,                                                                     2019.08.26 Stephanie     Attorney Client Privileged; conclusions, opinions and/or legal theories of
    34    Log00784**      Document       8/29/2019   Request 4    Shannon                                                                       Stockwell.docx           Work Product Protected counsel and/or counsel's agents.

                                                                                                                                                                                                  Notes of confidential interview of Devin Wenig on
                                                                                                                                                                                                  September 10, 2019, attended by Andrew Phelan,
                                                                                                                                                                                                  Colin West, and Devin Wenig, reflecting the
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                                                                                                                                                                      Attorney Client Privileged; mental impressions, conclusions, opinions and/or
    35    Log00125        Attachment     9/10/2019   Request 4                                                                                  Notes from Wenig.docx Work Product Protected legal theories of counsel and/or counsel's agents.




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                                                                                                                                                                                                    Notes of confidential interview of Julianne Whitelaw
                                                                                                                                                                                                    on September 13, 2019, attended by Andy Phelan,
                                                                                                                                                                                                    Colin West, Amir Vonsover, and Julianne Whitelaw
                                                                                                                                                                                                    reflecting the collection of information for the
                                                                                                                                                                                                    purpose of rendering legal advice in connection with
                                                                                                                                                                                                    eBay internal investigation after Natick events,
                                                                                                                                                                                                    prepared by counsel in anticipation of litigation, and
                                                                                                                                                2019.09.13 Julianne                                 reflecting mental impressions, conclusions, opinions
                          Standalone                                                                                                            Whitelaw Interview    Attorney Client Privileged;   and/or legal theories of counsel and/or counsel's
    36    Log00083        Document       11/2/2021   Request 4                                                                                  (ML).docx             Work Product Protected        agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                    August 27, 2019, attended by Shannon Macauley,
                                                                                                                                                                                                    Amir Vonsover, and Steve Wymer reflecting the
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                          Standalone                              Macauley,                                                                     2019.08.27 Steve      Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    37    Log00072        Document       9/12/2019   Request 4    Shannon                                                                       Wymer.docx            Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                    August 27, 2019, attended by Shannon Macauley,
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                          Standalone                              Macauley,                                                                     2019.08.27 Steve      Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    38    Log00785**      Document       8/29/2019   Request 4    Shannon                                                                       Wymer.docx            Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                    August 28, 2019, attended by Shannon Macauley,
                                                                                                                                                                                                    Amir Vonsover, and Steve Wymer reflecting the
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                          Standalone                              Macauley,                                                                     2019.08.28 Steve      Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    39    Log00073        Document       9/12/2019   Request 4    Shannon                                                                       Wymer _2.docx         Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
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                          Standalone                              Macauley,                                                                     2019.08.28 Steve      Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    40    Log00786**      Document       8/29/2019   Request 4    Shannon                                                                       Wymer _2.docx         Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                    August 30, 2019, attended by Andy Phelan, Jordan
                                                                                                                                                                                                    Mundell, Shannon Macauley, and Steve Wymer
                                                                                                                                                                                                    reflecting the collection of information for the
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                                                                                                                                                                                                    of litigation, and reflecting mental impressions,
                          Standalone                              Macauley,                                                                     2019.08.30 Steve      Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    41    Log00076        Document       2/3/2020    Request 4    Shannon                                                                       Wymer (ML).docx       Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                    August 30, 2019, attended by Andy Phelan, Jordan
                                                                                                                                                                                                    Mundell, Shannon Macauley, and Steve Wymer
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                          Standalone                              Macauley,                                                                     2019.08.30 Steve      Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    42    Log00787**      Document       9/16/2019   Request 4    Shannon                                                                       Wymer (ML).docx       Work Product Protected        counsel and/or counsel's agents.




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                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
                                                                                                                                                                                                    September 9, 2019, attended by Andy Phelan, Colin
                                                                                                                                                                                                    West, Shannon Macauley, and Steve Wymer
                                                                                                                                                                                                    reflecting the collection of information for the
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                          Standalone                              Macauley,                                                                     2019.09.09 Steve      Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    43    Log00082        Document       2/3/2020    Request 4    Shannon                                                                       Wymer (ML).docx       Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
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                          Standalone                              Macauley,                                                                     2019.09.09 Steve      Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    44    Log00240        Document          9/9/2019 Request 4    Shannon                                                                       Wymer (ML) (1).docx   Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
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                                                                                                                                                2019.09.09 Steve                                    anticipation of litigation, and reflecting mental
                          Standalone                              Macauley,                                                                     Wymer (ML) (1)        Attorney Client Privileged;   impressions, conclusions, opinions and/or legal
    45    Log00241        Document         9/11/2019 Request 4    Shannon                                                                       (003).docx            Work Product Protected        theories of counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Steve Wymer on
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                          Standalone                              Macauley,                                                                     2019.09.09 Steve      Attorney Client Privileged;   impressions, conclusions, opinions and/or legal
    46    Log00788**      Document         9/16/2019 Request 4    Shannon                                                                       Wymer (ML).docx       Work Product Protected        theories of counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                    August 23, 2019, attended by Shannon Macauley,
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                          Standalone                              Macauley,                                                                     2019.08.23 Veronica   Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    47    Log00064        Document       9/12/2019   Request 4    Shannon                                                                       Zea.docx              Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Veronica Zea on
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                          Standalone                              Macauley,                                                                     2019.08.23 Veronica   Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    48    Log00789**      Document       8/29/2019   Request 4    Shannon                                                                       Zea.docx              Work Product Protected        counsel and/or counsel's agents.
                                                                                                                                                                                                    Notes of confidential interview of Veronica Zea on
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                          Standalone                              Macauley,                                                                     2019.08.23 Veronica   Attorney Client Privileged;   conclusions, opinions and/or legal theories of
    49    Log00065        Document       9/12/2019   Request 4    Shannon                                                                       Zea_2.docx            Work Product Protected        counsel and/or counsel's agents.




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 Number                     Attachment                  Request
                                                                                                                                                                                                                                                                      Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                                                                                      August 23, 2019, attended by Shannon Macauley,
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                          Standalone                              Macauley,                                                                                                                                      2019.08.23 Veronica      Attorney Client Privileged; conclusions, opinions and/or legal theories of
    50    Log00790**      Document       8/29/2019   Request 4    Shannon                                                                                                                                        Zea_2.docx               Work Product Protected counsel and/or counsel's agents.

                                                                                                                                                                                                                                                                      Notes of confidential interview of Veronica Zea on
                                                                                                                                                                                                                                                                      August 26, 2019, attended by Shannon Macauley,
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                                                                                                                                                                                                                                                                      Veronica Zea reflecting the collection of information
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                          Standalone                              Macauley,                                                                                                                                      2019.08.26 Veronica      Attorney Client Privileged; impressions, conclusions, opinions and/or legal
    51    Log00069        Document       9/12/2019   Request 4    Shannon                                                                                                                                        Zea_3.docx               Work Product Protected theories of counsel and/or counsel's agents.

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                          Standalone                              Macauley,                                                                                                                                      2019.08.26 Veronica      Attorney Client Privileged;   impressions, conclusions, opinions and/or legal
    52    Log00791**      Document       8/29/2019   Request 4    Shannon                                                                                                                                        Zea_3.docx               Work Product Protected        theories of counsel and/or counsel's agents.
                                                                                                                                                                                                                                                                        Email chain between counsel and company
                                                                                                                                                                                                                                                                        representative(s) providing and discussing legal
                                                                                                                                                                                                                                                                        advice regarding eBay internal investigation after
                                                                                                                                                                                                                                                                        Natick events and regarding eBay response to law
                                                                                                                                                                                                                                                                        enforcement investigations after Natick events and
                                                                                                                                                                                                                                                                        regarding employment/personnel matters and/or
                                                                                                    Brown, Adriane; Swan, Bob;         Phelan, Andrew C.; Finn,               FW: Project Lewis -- USAO Update                                                          actions after Natick events and regarding corporate
                                                    Request 2;                                      Farrell, Diana; Traquina, Perry;   Molly; Huber, Marie; Schenkel,         10/23/19 - Privileged and                                   Attorney Client Privileged;   communications after Natick events and prepared in
    53    Log00043        Parent         10/23/2019 Request 6     Huber, Marie     Huber, Marie     Tierney, Thomas                    Scott; Yetto, Kristin                  Confidential                                                Work Product Protected        anticipation of litigation.
                                                                                                                                                                                                                                                                        Attachment to Privileged/Protected Communication
                                                                                                                                                                                                                                                                        prepared by counsel providing information to allow
                                                                                                                                                                                                                                                                        for the rendering of legal advice regarding eBay
                                                                                                                                                                                                                                                                        internal investigation after Natick events and
                                                    Request 2;                                                                                                                                                   2019.10.18 - Production                                regarding eBay response to law enforcement
    54    Log00044        Attachment     10/23/2019 Request 6                                                                                                                                                    Letter 2 to USAO.pdf    Attorney Client Privileged     investigations after Natick events.
                                                                                                                                                                                                                                                                        Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                                        counsel providing information to allow for the
                                                                                                                                                                                                                                                                        rendering of legal advice regarding eBay internal
                          Standalone                                                                Macauley, Shannon; Phelan,                                                Re: Atty/Client Privilege -                                 Attorney Client Privileged;   investigation after Natick events and prepared in
    55    Log00216        Document       8/29/2019   Request 6    Vonsover, Amir   Vonsover, Amir   Andrew C.; Shaulson, Samuel S.     Finn, Molly                            Interesting Doc                                             Work Product Protected        anticipation of litigation.
                                                                                                                                                                                                                                                                        Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                                        counsel providing information to allow for the
                          Standalone                                                                Finn, Molly; Phelan, Andrew C.;                                           FW: Confidential - Investigation                                                          rendering of legal advice regarding eBay internal
    56    Log00272        Document         8/30/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Shaulson, Samuel S.                                                       Follow Up                                                   Attorney Client Privileged    investigation after Natick events.
                                                                                                                                                                                                                                                                        Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                                        counsel providing information to allow for the
                          Standalone                                                                Finn, Molly; Phelan, Andrew C.;                                           Re: Confidential - Investigation                                                          rendering of legal advice regarding eBay internal
    57    Log00273        Document         8/30/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Shaulson, Samuel S.                                                       Follow Up                                                   Attorney Client Privileged    investigation after Natick events.
                                                                                                                                                                                                                                                                        Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                                        counsel providing information to allow for the
                          Standalone                                                                Finn, Molly; Phelan, Andrew C.;                                           Re: Confidential - Investigation                                                          rendering of legal advice regarding eBay internal
    58    Log00274        Document         8/30/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Shaulson, Samuel S.                                                       Follow Up                                                   Attorney Client Privileged    investigation after Natick events.
                                                                                                                                                                                                                                                                        Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                                        counsel providing information to allow for the
                                                                                                                                                                                                                                                                        rendering of legal advice regarding eBay internal
                          Standalone                                                                Finn, Molly; Phelan, Andrew C.;                                           Re: Confidential - Investigation                            Attorney Client Privileged;   investigation after Natick events and prepared in
    59    Log00275        Document         8/30/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Shaulson, Samuel S.                                                       Follow Up                                                   Work Product Protected        anticipation of litigation.




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                                                                                                                                                                                                                                                      Email chain between in-house counsel and outside
                                                                                                  Finn, Molly; Macauley, Shannon;                                                                                                                     counsel providing information to allow for the
                          Standalone                                                              Phelan, Andrew C.; Shaulson,                                              Fwd: Confidential - Investigation                                         rendering of legal advice regarding eBay internal
    60    Log00278        Document       8/30/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Samuel S.                                                                 Follow Up                                      Attorney Client Privileged investigation after Natick events.
                                                                                                                                                                                                                                                      Email chain between in-house counsel and outside
                                                                                                  Finn, Molly; Macauley, Shannon;                                                                                                                     counsel providing information to allow for the
                          Standalone                                                              Phelan, Andrew C.; Shaulson,                                              Re: Confidential - Investigation                                          rendering of legal advice regarding eBay internal
    61    Log00279        Document       8/30/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Samuel S.                                                                 Follow Up                                      Attorney Client Privileged investigation after Natick events.
                                                                                                                                                                                                                                                      Email chain between in-house counsel and outside
                                                                                                  Finn, Molly; Macauley, Shannon;                                                                                                                     counsel providing information to allow for the
                          Standalone                                                              Phelan, Andrew C.; Shaulson,                                              Fwd: Confidential - Investigation                                         rendering of legal advice regarding eBay internal
    62    Log00284        Document       8/30/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Samuel S.                                                                 Follow Up                                      Attorney Client Privileged investigation after Natick events.

                                                                                                                                                                                                                                                       Email chain between in-house counsel and outside
                                                                                                                                     Connor, Bryan M.; Mundell,                                                                                        counsel providing and discussing legal advice
                          Standalone                                                              Macauley, Shannon; Phelan,         Jordan; Vonsover, Amir; West,          Re: Atty/Client Privilege -                    Attorney Client Privileged; regarding eBay internal investigation after Natick
    63    Log00303        Document        9/4/2019 Request 6    Finn, Molly      Finn, Molly      Andrew C.; Shaulson, Samuel S.     Colin C.                               Fitzgerald Phone                               Work Product Protected events and prepared in anticipation of litigation.

                                                                                                                                                                                                                                                       Email chain between in-house counsel and outside
                                                                                                                                     Connor, Bryan M.; Finn, Molly;                                                                                    counsel requesting and providing legal advice
                          Standalone                                                              Macauley, Shannon; Phelan,         Mundell, Jordan; West, Colin           Re: Atty/Client Privilege -                    Attorney Client Privileged; regarding eBay internal investigation after Natick
    64    Log00304        Document        9/4/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Andrew C.; Shaulson, Samuel S.     C.                                     Fitzgerald Phone                               Work Product Protected events and prepared in anticipation of litigation.

                                                                                                                                                                                                                                                       Email chain between in-house counsel and outside
                                                                                                  Macauley, Shannon; Phelan,                                                                                                                           counsel providing and discussing legal advice
                          Standalone                                                              Andrew C.; Shaulson, Samuel S.;    Connor, Bryan M.; Mundell,             Re: Atty/Client Privilege -                    Attorney Client Privileged; regarding eBay internal investigation after Natick
    65    Log00305        Document        9/4/2019 Request 6    Finn, Molly      Finn, Molly      Vonsover, Amir                     Jordan; West, Colin C.                 Fitzgerald Phone                               Work Product Protected events and prepared in anticipation of litigation.

                                                                                                                                                                                                                                                       Email chain between in-house counsel and outside
                                                                                                  Finn, Molly>; Macauley, Shannon;                                                                                                                     counsel requesting and providing legal advice
                          Standalone                                                              Phelan, Andrew C.; Shaulson,     Connor, Bryan M.; Mundell,               Re: Atty/Client Privilege -                    Attorney Client Privileged; regarding eBay internal investigation after Natick
    66    Log00306        Document        9/4/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Samuel S.                        Jordan; West, Colin C.                   Fitzgerald Phone                               Work Product Protected events and prepared in anticipation of litigation.

                                                                                                                                                                                                                                                       Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                       counsel requesting and providing legal advice
                          Standalone                                                              Finn, Molly; Phelan, Andrew C.;                                           Re: Atty/Client Privilege -                    Attorney Client Privileged; regarding eBay internal investigation after Natick
    67    Log00307        Document        9/4/2019 Request 6    Vonsover, Amir   Vonsover, Amir   West, Colin C.                                                            Fitzgerald Phone                               Work Product Protected events and prepared in anticipation of litigation.
                                                                                                                                                                                                                                                       Email chain from in-house counsel requesting and
                                                                                                                                                                                                                                                       providing legal advice regarding eBay internal
                          Standalone                                                                                                                                        Fwd: CONFIDENTIAL Cell Phone                   Attorney Client Privileged; investigation after Natick events and prepared in
    68    Log00308        Document        9/4/2019 Request 6    Vonsover, Amir   Vonsover, Amir   Ricupero, Kara                     Finn, Molly                            Check                                          Work Product Protected anticipation of litigation.
                                                                                                                                                                                                                                                       Email chain between in-house counsel and outside
                                                                                                  Connor, Bryan M.; Macauley,                                                                                                                          counsel providing information to allow for the
                                                                                                  Shannon; Mundell, Jordan; Phelan,                                                                                                                    rendering of legal advice regarding eBay internal
                          Standalone                                                              Andrew C.; Shaulson, Samuel S.;                                           Re: CONFIDENTIAL Cell Phone                    Attorney Client Privileged; investigation after Natick events and prepared in
    69    Log00309        Document        9/4/2019 Request 6    Vonsover, Amir   Vonsover, Amir   West, Colin C.                    Finn, Molly                             Check                                          Work Product Protected anticipation of litigation.
                                                                                                                                                                                                                                                       Email chain from in-house counsel requesting and
                                                                                                                                                                                                                                                       providing legal advice regarding eBay internal
                          Standalone                                                                                                                                        Re: CONFIDENTIAL Cell Phone                    Attorney Client Privileged; investigation after Natick events and prepared in
    70    Log00310        Document        9/4/2019 Request 6    Finn, Molly      Finn, Molly      Ricupero, Kara; Vonsover, Amir                                            Check                                          Work Product Protected anticipation of litigation.
                                                                                                                                                                                                                                                       Email between in-house counsel and outside counsel
                                                                                                  Macauley, Shannon; Phelan,                                                                                                                           reflecting legal advice regarding eBay internal
                          Standalone                                                              Andrew C.; Vonsover, Amir; West,                                          Attorney/Client Privilege - Draft              Attorney Client Privileged; investigation after Natick events and prepared in
    71    Log00320        Document        9/5/2019 Request 6    Finn, Molly      Finn, Molly      Colin C.                                                                  Talking points for Devin's phone               Work Product Protected anticipation of litigation.

                                                                                                                                                                                                                                                       Email chain from in-house counsel providing
                                                                                                                                                                                                                                                       information to allow for the rendering of legal advice
                          Standalone                                                              Macauley, Shannon; Ricupero,                                                                                             Attorney Client Privileged; regarding eBay internal investigation after Natick
    72    Log00321        Document        9/5/2019 Request 6    Finn, Molly      Finn, Molly      Kara                               Vonsover, Amir                         RE: Project Lewis SP Sites                     Work Product Protected events and prepared in anticipation of litigation.
                                                                                                                                                                                                                                                       Email chain from in-house counsel reflecting legal
                                                                                                                                                                            FW: Attorney/Client Privilege -                                            advice regarding eBay internal investigation after
                          Standalone                                                                                                                                        Draft Talking points for Devin's               Attorney Client Privileged; Natick events and prepared in anticipation of
    73    Log00322        Document        9/5/2019 Request 6    Finn, Molly      Finn, Molly      Huber, Marie                                                              phone v.3                                      Work Product Protected litigation.

                                                                                                                                                                                                                                                       Email chain between in-house counsel and outside
                                                                                                                                     Connor, Bryan M.; Mundell,                                                                                        counsel providing and discussing legal advice
                          Standalone                                                              Macauley, Shannon; Phelan,         Jordan; Shaulson, Samuel S.;           Re: Atty/Client Privilege -                    Attorney Client Privileged; regarding eBay internal investigation after Natick
    74    Log00333        Document        9/7/2019 Request 6    Finn, Molly      Finn, Molly      Andrew C.; Vonsover, Amir          West, Colin C.                         Interesting Doc                                Work Product Protected events and prepared in anticipation of litigation.




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                                                                                                                                                                                                                                                                                                          Email chain between in-house counsel and outside
                                                                                                                                                              Connor, Bryan M.; Mundell,                                                                                                                  counsel providing and discussing legal advice
                            Standalone                                                                                    Macauley, Shannon; Phelan,          Jordan; Shaulson, Samuel S.;                         Re: Atty/Client Privilege -                                Attorney Client Privileged; regarding eBay internal investigation after Natick
    75     Log00334         Document             9/8/2019 Request 6         Finn, Molly       Finn, Molly                 Andrew C.; Vonsover, Amir           West, Colin C.                                       Interesting Doc                                            Work Product Protected events and prepared in anticipation of litigation.
                                                                                                                                                                                                                                                                                                          Email between in-house counsel and outside counsel
                                                                                                                                                                                                                                                                                                          providing information to allow for the rendering of
                                                                                                                          Finn, Molly; Macauley, Shannon;                                                                                                                                                 legal advice regarding eBay internal investigation
                                                                                                                          Phelan, Andrew C.; Shaulson,                                                                                                                        Attorney Client Privileged; after Natick events and prepared in anticipation of
    76     Log00351         Parent              9/12/2019 Request 6         Vonsover, Amir    Vonsover, Amir              Samuel S.                                                                                Andy interview w Josh Bentley                              Work Product Protected litigation.
                                                                                                                                                                                                                                                                                                          Notes of conversation between Andy Phelan, Amir
                                                                                                                                                                                                                                                                                                          Vonsover, and Josh Bentley on September 12, 2019
                                                                                                                                                                                                                                                                                                          reflecting the collection of information for the
                                                                                                                                                                                                                                                                                                          purpose of rendering legal advice in connection with
                                                                                                                                                                                                                                                                                                          eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                                                          prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                                                                                          reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                                        Phelan Bentley call   Attorney Client Privileged; and/or legal theories of counsel and/or counsel's
    77     Log00352***      Attachment          9/12/2019 Request 6         Vonsover, Amir                                                                                                                                                              9.12.2019 AJV.docx    Work Product Protected agents.
                                                                                                                                                                                                                                                                                                          Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                                                                          counsel providing information to allow for the
                                                                                                                          Finn, Molly; Macauley, Shannon;                                                                                                                                                 rendering of legal advice regarding eBay internal
                                                                                                                          Phelan, Andrew C.; Shaulson,                                                                                                                        Attorney Client Privileged; investigation after Natick events and prepared in
    78     Log00353         Parent              9/12/2019 Request 6         Vonsover, Amir    Vonsover, Amir              Samuel S.                                                                                Re: Andy interview w Josh Bentley                          Work Product Protected anticipation of litigation.
                                                                                                                                                                                                                                                                                                          Notes of conversation between Andy Phelan, Amir
                                                                                                                                                                                                                                                                                                          Vonsover, and Josh Bentley on September 12, 2019
                                                                                                                                                                                                                                                                                                          reflecting the collection of information for the
                                                                                                                                                                                                                                                                                                          purpose of rendering legal advice in connection with
                                                                                                                                                                                                                                                                                                          eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                                                          prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                                                                                          reflecting mental impressions, conclusions, opinions
                                                                                                                                                                                                                                                        Phelan Bentley call   Attorney Client Privileged; and/or legal theories of counsel and/or counsel's
    79     Log00354***      Attachment          9/12/2019 Request 6         Vonsover, Amir                                                                                                                                                              9.12.2019 AJV.docx    Work Product Protected agents.
                                                                                                                                                                                                                                                                                                          Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                                                                          counsel providing information to allow for the
                                                                                                                          Macauley, Shannon; Phelan,                                                                                                                                                      rendering of legal advice regarding eBay internal
                            Standalone                                                                                    Andrew C.; Shaulson, Samuel S.;                                                                                                                     Attorney Client Privileged; investigation after Natick events and prepared in
    80     Log00355         Document            9/12/2019 Request 6         Finn, Molly       Finn, Molly                 Vonsover, Amir                                                                           Re: Andy interview w Josh Bentley                          Work Product Protected anticipation of litigation.
                                                                                                                                                                                                                                                                                                          Email chain between in-house counsel and outside
                                                                                                                                                                                                                                                                                                          counsel providing information to allow for the
                                                                                                                          Shaulson, Samuel S.; Vonsover,                                                                                                                                                  rendering of legal advice regarding eBay internal
                            Standalone                                                                                    Amir; Macauley, Shannon; Phelan,                                                         Re: Confidential - Investigation                           Attorney Client Privileged; investigation after Natick events and prepared in
    81     Log00685         Document            8/30/2019 Request 6         Finn, Molly       Finn, Molly                 Andrew C.                                                                                Follow Up                                                  Work Product Protected anticipation of litigation.
                                                                                                                                                                                                                                                                                                          Email chain between in-house and outside counsel
                                                                                                                                                                                                                                                                                                          providing and discussing legal advice regarding eBay
                            Standalone                                                                                                                                                                             Re: Privileged and Confidential --                         Attorney Client Privileged; internal investigation after Natick events and
    82     Log00688         Document             9/1/2019 Request 6         Vonsover, Amir    Vonsover, Amir              Phelan, Andrew C.; Finn, Molly      Shaulson, Samuel S.                                  Project Lewis planning                                     Work Product Protected prepared in anticipation of litigation.
                                                                                                                          Vonsover, Amir; West, Colin C.;
                                                                                                                          Finn, Molly; Shaulson, Samuel S.;                                                                                                                                               Email chain between in-house counsel and outside
                                                                                                                          Macauley, Shannon; Phelan,                                                                                                                                                      counsel providing and discussing legal advice
                            Standalone                                                                                    Andrew C.; Mundell, Jordan;                                                              RE: Atty/Client Privilege -                                Attorney Client Privileged; regarding eBay internal investigation after Natick
    83     Log00691         Document             9/4/2019 Request 6         Vonsover, Amir    Vonsover, Amir              Connor, Bryan M.                                                                         Fitzgerald Phone                                           Work Product Protected events and prepared in anticipation of litigation.

                                                                                                                          Macauley, Shannon; Phelan,                                                               RE: Attorney/Client Privilege -                                                        Email from in-house counsel providing legal advice
                            Standalone                                                                                    Andrew C.; West, Colin C.;                                                               Draft Talking points for Devin's                           Attorney Client Privileged; regarding eBay internal investigation after Natick
    84     Log00698         Document             9/5/2019 Request 6         Finn, Molly       Finn, Molly                 Vonsover, Amir                                                                           phone                                                      Work Product Protected events and prepared in anticipation of litigation.

                                                                                                                          Macauley, Shannon; Phelan,                                                               RE: Attorney/Client Privilege -                                                        Email from in-house counsel providing legal advice
                            Standalone                                                                                    Andrew C.; West, Colin C.;                                                               Draft Talking points for Devin's                           Attorney Client Privileged; regarding eBay internal investigation after Natick
    85     Log00699         Document             9/5/2019 Request 6         Finn, Molly       Finn, Molly                 Vonsover, Amir                                                                           phone v.3                                                  Work Product Protected events and prepared in anticipation of litigation.
 * eBay produced its privilege logs without waiver of, and expressly preserving, any and all objections and challenges to the Fed. R. Crim. P. 17(c) subpoenas issued to eBay Inc. and Morgan Lewis Bockius LLP,
and reserving all rights to file a motion to quash the subpoenas or to seek other protections, on all available grounds. The provision of eBay's privilege logs, or any purported failure to list a document or
information within the privilege logs, shall not constitute a waiver of the attorney client privilege, work product protections or other applicable protections in this case or in any other federal or state
proceeding and shall not limit eBay’s right to assert privilege or work product protection over material or information in connection with this or any other proceeding. Further, eBay notes that certain of the
documents logged within this privilege log may reflect potentially attorney client privileged and/or work product protected information concerning matters not responsive to the subpoena. eBay has not
undertaken to review all nonresponsive content for attorney client privilege and/or work product protection, but expressly preserves and does not waive all claims of privilege/protection. eBay reserves the
right to supplement and/or amend this privilege log.
** After conducting an additional review, eBay has determined that this document should be considered as part of its privilege logs.
*** A copy of this document was produced to Baugh on February 4, 2022.




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Attorneys and Legal Support Personnel
Connor, Bryan
Finn, Molly
Huber, Marie
Johnson, Aaron
FitzGerald, Kate
Macauley, Shannon (Legal Employee Relations
Manager/Paralegal)
Mundell, Jordan
Neff, Daniel
Phelan, Andrew
Ricupero, Kara
Rome, Marc
Ryan, Victoria
Shaulson, Samuel
Stuart, David
Vonsover, Amir
West, Colin
White, John




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Witness (Alphabetical)   Interview (eBay or Morgan Lewis)     Disclosure of Certain
                                                              Substance (Yes or No)

Michelle Alford          eBay (10/15/2019)                            Yes
(Echeveria)
                         Morgan Lewis (10/17/2019,
                         11/1/2019)

Meagan Barret            eBay and Andrew Phelan (3/6/2020)            Yes

Phil Cooke               Morgan Lewis (11/22/2019,                     No
                         11/25/2019, 11/26/2019)

Scott Fitzgerald         eBay (8/23/2019)                             Yes

                         Morgan Lewis (8/30/2019, 9/3/2019,
                         9/5/2019)

Brian Gilbert            eBay (8/23/2019)                             Yes

                         Morgan Lewis (8/30/2019,
                         9/3/2019)

Jose Gordon              Morgan Lewis (9/17/2019)                      No

David Harville           eBay (8/23/2019, 8/26/2019,                  Yes
                         8/27/2019)

                         Morgan Lewis (9/13/2019)

Wendy Jones              Morgan Lewis (8/30/2019,                      No
                         9/6/2019)

Ryan Moore               Morgan Lewis (9/13/2019)                      No

Stephanie Popp           eBay (8/23/2019, 8/26/2019,                  Yes
                         8/27/2019)

Stephanie Stockwell      eBay (8/26/2019)                             Yes

Devin Wenig              Morgan Lewis Interviews                      Yes
                         (9/10/2019, 9/11/2019)

                         Morgan Lewis Conversations
                         (9/12/2019, 9/13/2019)




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Witness (Alphabetical)   Interview (eBay or Morgan Lewis)   Disclosure of Certain
                                                            Substance (Yes or No)

Julianne Whitelaw        Morgan Lewis (9/13/2019,                    No
                         9/17/2019)

Steve Wymer              eBay (8/27/2019, 8/28/2019)                Yes

                         Morgan Lewis (8/30/2019,
                         9/9/2019)

Veronica Zea             eBay (8/23/2019 (2 interviews),            Yes
                         8/26/2019)




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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA,
                                                            Criminal No. 20-CR-10263-PBS
          v.

  JIM BAUGH, et al,

          Defendants.


                        DECLARATION OF NATHAN J. ANDRISANI

       I, Nathan J. Andrisani, hereby declare as follows:

           1. I am an attorney licensed to practice law in Pennsylvania and New Jersey. I am

admitted to practice before this Court pro hac vice. I am a partner at the law firm Morgan, Lewis

& Bockius LLP (“Morgan Lewis”) and I represent Morgan Lewis in connection with the

subpoena Defendant Jim Baugh (“Defendant”) issued to Morgan Lewis in this matter.

           2. I submit this declaration to correct three typographical errors identified in Morgan

Lewis’s Initial Privilege Log, filed in response to the Court’s January 20, 2022 Order, instructing

Morgan Lewis to file copies of its privilege logs with “email addresses and confidential personal

contact information” redacted “on the public docket within 15 business days.” [D.E. 160; D.E.

182-1 (Ex. A)].

           3. Exhibit A to this Declaration is a true and accurate copy of Morgan Lewis’s

Corrected Initial Privilege Log, served on all parties on February 28, 2022.

           4. This Privilege Log makes the following corrections to Morgan Lewis’s Initial

Privilege Log, filed on the public docket on February 10, 2022 [D.E. 182-1 (Ex. A)]:

                  a. The date of the interview of Brian Gilbert reflected in Log No. 37 is

                     corrected to September 3, 2019 from September 2, 2019;


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                b. The date of the interview of Dave Harville reflected in Log No. 49 is

                    corrected to August 26, 2019 from August 23, 2019; and

                c. The date of the interview of Dave Harville reflected in Log No. 50 is

                    corrected to August 27, 2019 from August 23, 2019.

      I declare under the penalty of perjury that the foregoing is true and correct.

Dated: March 4, 2022                                /s/ Nathan J. Andrisani
                                                      Nathan J. Andrisani




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              EXHIBIT A




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UNITED STAES V. BAUGH, ET AL.                                                                            INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP (Corrected)*
20-CR-10263


      Log Number           Parent/Standalone      Family Date            Author/From                    Recipient/To              Other Recipient(s)/CC          Other Recipient(s)/BCC   Email Subject              File Name                      Privilege Basis                                   Document Description



                                                                                                                                                                                                                                                                            Memorandum from Andrew C. Phelan to Special Committee prepared by
                                                                                                                                                                                                                                                                            counsel providing legal advice regarding eBay internal investigation after
                                                                                                                                                                                                          052094-02__107451934v1_ACP
                                                                                               Special Committee, eBay Board of                                                                                                                                             Natick events; regarding eBay response to law enforcement investigations
          1                     Standalone         09/25/19           Phelan, Andrew C.                                                                                                                    Memo to Special Committee         Attorney Client;Work Product
                                                                                                          Directors                                                                                                                                                         after Natick events; regarding Board/Committee evaluations and/or
                                                                                                                                                                                                                 9_25_19.DOCX
                                                                                                                                                                                                                                                                            determinations related to executive employment matters; regarding
                                                                                                                                                                                                                                                                            employment/personnel matters and/or actions after Natick events; and
                                                                                                                                                                                                                                                                            regarding corporate communications after Natick events prepared in
                                                                                                                                                                                                                                                                            anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                                            opinions and/or legal theories of counsel and/or counsel's agents.



                                                                                                                                                                                                                                                                            Memorandum from Andrew C. Phelan to Special Committee prepared by
                                                                                                                                                                                                                                                                            counsel providing legal advice regarding eBay internal investigation after
                                                                                                                                                                                                           052094-02__109967407v1_eBay
                                                                                               Special Committee, eBay Board of                                                                                                                                             Natick events; regarding eBay response to law enforcement investigations
          2                     Standalone         11/18/19           Phelan, Andrew C.                                                                                                                   11_18_19 Project Lewis update to   Attorney Client;Work Product
                                                                                                          Directors                                                                                                                                                         after Natick events; regarding employment/personnel matters and/or
                                                                                                                                                                                                              Special Committee.DOCX
                                                                                                                                                                                                                                                                            actions after Natick events; and regarding corporate communications after
                                                                                                                                                                                                                                                                            Natick events prepared in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                                            impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                                            counsel's agents.


                                                                                                                                                                                                                                                                            Memorandum from Andrew C. Phelan to Special Committee prepared by
                                                                                                                                                                                                           052094-02__110136207v2_eBay                                      counsel providing legal advice regarding eBay internal investigation after
                                                                                               Special Committee, eBay Board of
          3                     Standalone         11/26/19           Phelan, Andrew C.                                                                                                                   11_26_19 Project Lewis update to   Attorney Client;Work Product   Natick events; regarding eBay response to law enforcement investigations
                                                                                                          Directors
                                                                                                                                                                                                              Special Committee.DOCX                                        after Natick events; and regarding employment/personnel matters and/or
                                                                                                                                                                                                                                                                            actions after Natick events prepared in anticipation of litigation, and
                                                                                                                                                                                                                                                                            reflecting mental impressions, conclusions, opinions and/or legal theories
                                                                                                                                                                                                                                                                            of counsel and/or counsel's agents.


                                                                                                                                                                                                                                                                            Notes of confidential interview of Jim Baugh on 8/23/2019 at 3:30 PM
                                                                                                                                                                                                                                                                            attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                            collection of information and annotations by counsel and/or counsel's
          4               Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                                                         Baugh.pdf               Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                            internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                                                            Notes of confidential interview of Jim Baugh on 8/23/2019 at 4:50 PM
                                                                                                                                                                                                                                                                            attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                            collection of information and annotations by counsel and/or counsel's
          5               Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                                                         Baugh.pdf               Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
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                                                                                                                                                                                                                                                                            Notes of confidential interview of Jim Baugh on 8/23/2019 at 7:58 PM
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                                                                                                                                                                                                                                                                            collection of information and annotations by counsel and/or counsel's
          6               Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                                                         Baugh.pdf               Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                            internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                                                            Notes of confidential interview of Jim Baugh on 8/23/2019 at 10:17 AM
                                                                                                                                                                                                                                                                            attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                            collection of information and annotations by counsel and/or counsel's
          7               Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                                                         Baugh.pdf               Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                            internal investigation after Natick events, prepared by counsel in
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                                           MLB_BAUGHPRIV_0001
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UNITED STAES V. BAUGH, ET AL.                                                                  INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP (Corrected)*
20-CR-10263


      Log Number           Parent/Standalone      Family Date            Author/From           Recipient/To     Other Recipient(s)/CC          Other Recipient(s)/BCC   Email Subject           File Name                    Privilege Basis                                    Document Description

                                                                                                                                                                                                                                                     Notes of confidential interview of Josh Bentley on 9/12/2019 at 3:19 PM
                                                                                                                                                                                                                                                     attended by Andrew Phelan reflecting the collection of information and
                                                                                                                                                                                                                                                     annotations by counsel and/or counsel's agents for the purpose of
          8               Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                                    Baugh.pdf             Attorney Client;Work Product   rendering legal advice in connection with eBay internal investigation after
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                                                                                                                                                                                                                                                     Notes of confidential interview of Josh Bentley on 9/12/2019 at 10:50 AM
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          9               Standalone Document   8/30/19 10:28 AM   eBay Legal / Morgan Lewis                                                                                                    Baugh.pdf             Attorney Client;Work Product   purpose of rendering legal advice in connection with eBay internal
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                                                                                                                                                                                                                                                     Notes of confidential interview of Jim Baugh on 8/27/2019 at 7:58 PM
                                                                                                                                                                                                                                                     attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                     collection of information for the purpose of rendering legal advice in
         10                     Standalone      8/28/2019 22:29       Macauley, Shannon                                                                                                 2019.08.27 Jim Baugh_3.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                     by counsel in anticipation of litigation, and reflecting mental impressions,
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                                                                                                                                                                                                                                                     Notes of confidential interview of Jim Baugh on 8/23/2019 at 4:50 PM
                                                                                                                                                                                                                                                     attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                     collection of information for the purpose of rendering legal advice in
         11                     Standalone      8/28/2019 22:22       Macauley, Shannon                                                                                                 2019.08.23 Jim Baugh_2.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                     Notes of confidential interview of Jim Baugh on 8/23/2019 at 3:30 PM
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                                                                                                                                                                                                                                                     collection of information for the purpose of rendering legal advice in
         12                     Standalone      8/28/2019 22:20       Macauley, Shannon                                                                                                  2019.08.23 Jim Baugh.docx    Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                     Notes of confidential interview of Jim Baugh on 8/28/2019 at 10:17 AM
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         13                     Standalone      8/28/2019 22:35       Macauley, Shannon                                                                                                 2019.08.28 Jim Baugh_4.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                     by counsel in anticipation of litigation, and reflecting mental impressions,
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                                                                                                                                                                                                                                                     Notes of confidential interview of Steve Wymer on 8/27/2019 at 10:35 AM
                                                                                                                                                                                                                                                     attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                     collection of information for the purpose of rendering legal advice in
         14                     Standalone      8/28/2019 22:32       Macauley, Shannon                                                                                                 2019.08.27 Steve Wymer.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                    MLB_BAUGHPRIV_0001
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      Log Number           Parent/Standalone      Family Date            Author/From           Recipient/To     Other Recipient(s)/CC          Other Recipient(s)/BCC   Email Subject            File Name                     Privilege Basis                                    Document Description

                                                                                                                                                                                                                                                       Notes of confidential interview of Wendy Jones on 8/30/2019 attended by
                                                                                                                                                                                                                                                       Andrew Phelan and Jordan Mundell reflecting the collection of
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         15               Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                                     Jones.pdf              Attorney Client;Work Product   purpose of rendering legal advice in connection with eBay internal
                                                                                                                                                                                                                                                       investigation after Natick events, prepared by counsel in anticipation of
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                                                                                                                                                                                                                                                       Notes of confidential interview of Wendy Jones on 8/30/2019 at 9:00 AM
                                                                                                                                                                                                                                                       attended by Andrew Phelan, Jordan Mundell, and Shannon Macauley
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         16               Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                                     Jones.pdf              Attorney Client;Work Product   counsel's agents for the purpose of rendering legal advice in connection
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                                                                                                                                                                                                                                                       Notes in preparation of confidential interview of Wendy Jones on
                                                                                                                                                                                                                                                       9/6/2019 reflecting the collection of information and annotations by
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         17               Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                                     Jones.pdf              Attorney Client;Work Product   in connection with eBay internal investigation after Natick events,
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                                                                                                                                                                                                                                                       Notes in preparation of confidential interview of Wendy Jones on
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         18               Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                                     Jones.pdf              Attorney Client;Work Product   in connection with eBay internal investigation after Natick events,
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                                                                                                                                                                                                                                                       Notes of confidential interview of Wendy Jones on 9/6/2019 attended by
                                                                                                                                                                                                                                                       Andrew Phelan, Colin West, and Shannon Macauley reflecting the
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         19               Standalone Document   9/20/19 12:08 PM   eBay Legal / Morgan Lewis                                                                                                     Jones.pdf              Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
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                                                                                                                                                                                                                                                       Notes of confidential interview of Dave Harville on 8/23/2019 at 12:30 AM
                                                                                                                                                                                                                                                       attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information for the purpose of rendering legal advice in
         20                     Standalone      8/28/2019 22:18       Macauley, Shannon                                                                                                 2019.08.23 Dave Harville.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
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                                                                                                                                                                                                                                                       agents.



                                                                                                                                                                                                                                                       Notes of confidential interview of Tony Shepard on 8/23/2019 at 12:45
                                                                                                                                                                                                                                                       PM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information for the purpose of rendering legal advice in
         21                     Standalone      9/20/19 12:36 PM          eBay Legal                                                                                                            Shepard.pdf             Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                      MLB_BAUGHPRIV_0001
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UNITED STAES V. BAUGH, ET AL.                                                                  INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP (Corrected)*
20-CR-10263


      Log Number           Parent/Standalone      Family Date            Author/From           Recipient/To     Other Recipient(s)/CC          Other Recipient(s)/BCC   Email Subject   File Name          Privilege Basis                                   Document Description

                                                                                                                                                                                                                                   Notes of confidential interview of Steve Wymer on 8/27/2019 at 10:35 AM
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                                                                                                                                                                                                                                   collection of information and annotations by counsel and/or counsel's
         22               Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                            Wymer.pdf   Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                   internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                   Notes of confidential interview of Steve Wymer on 8/28/2019 at 1:30 PM
                                                                                                                                                                                                                                   attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                   collection of information and annotations by counsel and/or counsel's
         23               Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                            Wymer.pdf   Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                   internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                   Notes of confidential interview of Steve Wymer on 8/30/2019 attended by
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         24               Standalone Document   9/20/19 12:55 PM       Mundell, Jordan                                                                                                  Wymer.pdf   Attorney Client;Work Product   purpose of rendering legal advice in connection with eBay internal
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                                                                                                                                                                                                                                   Notes of confidential interview of Steve Wymer on 8/30/2019 at 3:30 PM
                                                                                                                                                                                                                                   attended by Andrew Phelan, Jordan Mundell, and Shannon Macauley
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         25               Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                            Wymer.pdf   Attorney Client;Work Product   counsel's agents for the purpose of rendering legal advice in connection
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                                                                                                                                                                                                                                   Notes of confidential interview of Josh Bentley on 9/12/2019 at 3:19 PM
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         26               Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                            Wymer.pdf   Attorney Client;Work Product
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                                                                                                                                                                                                                                   Notes of confidential interview of Steve Wymer on 9/9/2019 attended by
                                                                                                                                                                                                                                   Shannon Macauley, Andy Phelan and Colin West reflecting the collection
                                                                                                                                                                                                                                   of information and annotations by counsel and/or counsel's agents for the
         27               Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                            Wymer.pdf   Attorney Client;Work Product   purpose of rendering legal advice in connection with eBay internal
                                                                                                                                                                                                                                   investigation after Natick events, prepared by counsel in anticipation of
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         28               Standalone Document   9/20/19 12:55 PM   eBay Legal / Morgan Lewis                                                                                            Wymer.pdf   Attorney Client;Work Product   purpose of rendering legal advice in connection with eBay internal
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                  MLB_BAUGHPRIV_0001
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UNITED STAES V. BAUGH, ET AL.                                                                 INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP (Corrected)*
20-CR-10263


      Log Number           Parent/Standalone      Family Date           Author/From           Recipient/To     Other Recipient(s)/CC          Other Recipient(s)/BCC   Email Subject             File Name                      Privilege Basis                                    Document Description

                                                                                                                                                                                                                                                        Notes of confidential interview of Dave Harville on 8/26/2019 at 10:22 AM
                                                                                                                                                                                                                                                        attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                        collection of information for the purpose of rendering legal advice in
         29                     Standalone      8/28/2019 22:26      Macauley, Shannon                                                                                                 2019.08.26 Dave Harville_2.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                        by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                        conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                        agents.


                                                                                                                                                                                                                                                        Notes of confidential interview of Stephanie Popp on 8/23/2019 at 8:30
                                                                                                                                                                                                                                                        AM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                        collection of information and annotations by counsel and/or counsel's
         30               Standalone Document   9/7/19 9:46 AM       Phelan, Andrew C.                                                                                                            Popp.pdf               Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                        internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                        anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                        opinions and/or legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                        Notes of confidential interview of Stephanie Popp on 8/26/2019 at 9:30
                                                                                                                                                                                                                                                        AM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                        collection of information and annotations by counsel and/or counsel's
         31               Standalone Document   9/7/19 9:46 AM    eBay Legal / Morgan Lewis                                                                                                       Popp.pdf               Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                        internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                        anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                        opinions and/or legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                        Notes of confidential interview of Stephanie Popp on 8/27/2019 at 11:30
                                                                                                                                                                                                                                                        AM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                        collection of information for the purpose of rendering legal advice in
         32               Standalone Document   9/7/19 9:46 AM    eBay Legal / Morgan Lewis                                                                                                       Popp.pdf               Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                        by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                        conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                        agents.



                                                                                                                                                                                                                                                        Notes of confidential interview of Brian Gilbert on 8/23/2019 at 10:00 AM
                                                                                                                                                                                                                                                        attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                        collection of information and annotations by counsel and/or counsel's
         33               Standalone Document   9/4/19 11:42 AM   eBay Legal / Morgan Lewis                                                                                                      Gilbert.pdf             Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                        internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                        anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                        opinions and/or legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                        Notes of confidential interview of Brian Gilbert on 8/30/2019 attended by
                                                                                                                                                                                                                                                        Andrew Phelan reflecting the collection of information and annotations by
                                                                                                                                                                                                                                                        counsel and/or counsel's agents for the purpose of rendering legal advice
         34               Standalone Document   9/4/19 11:42 AM   eBay Legal / Morgan Lewis                                                                                                      Gilbert.pdf             Attorney Client;Work Product   in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                        prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                        impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                        counsel’s agents.



                                                                                                                                                                                                                                                        Notes in preparation of confidential interview of Brian Gilbert on 9/3/2019
                                                                                                                                                                                                                                                        reflecting the collection of information and annotations by counsel and/or
                                                                                                                                                                                                                                                        counsel's agents for the purpose of rendering legal advice in connection
         35               Standalone Document   9/4/19 11:42 AM   eBay Legal / Morgan Lewis                                                                                                      Gilbert.pdf             Attorney Client;Work Product
                                                                                                                                                                                                                                                        with eBay internal investigation after Natick events, prepared by counsel in
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                       MLB_BAUGHPRIV_0001
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UNITED STAES V. BAUGH, ET AL.                                                                  INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP (Corrected)*
20-CR-10263


      Log Number           Parent/Standalone      Family Date            Author/From           Recipient/To     Other Recipient(s)/CC          Other Recipient(s)/BCC   Email Subject             File Name                     Privilege Basis                                   Document Description


                                                                                                                                                                                                                                                        Notes of confidential interview of Brian Gilbert on 8/30/2019 at 2:00 PM
                                                                                                                                                                                                                                                        attended by Andrew Phelan, Jordan Mundell, and Shannon Macauley
                                                                                                                                                                                                                                                        reflecting the collection of information and annotations by counsel and/or
         36               Standalone Document   9/4/19 11:42 AM    eBay Legal / Morgan Lewis                                                                                                      Gilbert.pdf            Attorney Client;Work Product   counsel's agents for the purpose of rendering legal advice in connection
                                                                                                                                                                                                                                                        with eBay internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                                        opinions and/or legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                        Notes of confidential interview of Brian Gilbert on 9/3/2019 at 2:00 PM
                                                                                                                                                                                                                                                        attended by Andrew Phelan, Jordan Mundell, Colin West, and Shannon
                                                                                                                                                                                                                                                        Macauley reflecting the collection of information and annotations by
                                                                                                                                                                                                                                                        counsel and/or counsel's agents for the purpose of rendering legal advice
         37               Standalone Document   9/4/19 11:42 AM    eBay Legal / Morgan Lewis                                                                                                      Gilbert.pdf            Attorney Client;Work Product
                                                                                                                                                                                                                                                        in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                        prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                        impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                        counsel’s agents.



                                                                                                                                                                                                                                                        Notes of confidential interview of Julianne Whitelaw on 9/13/2019
                                                                                                                                                                                                                                                        attended by Andrew Phelan, Colin West, and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                        collection of information for the purpose of rendering legal advice in
                                                                                                                                                                                         2019.09.13 Julianne Whitelaw
         38                     Standalone      9/16/2019 10:06    eBay Legal / Morgan Lewis                                                                                                                             Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                Interview.docx
                                                                                                                                                                                                                                                        by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                        conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                        agents.



                                                                                                                                                                                                                                                        Notes of confidential interview of Julianne Whitelaw on 9/13/2019
                                                                                                                                                                                                                                                        attended by Andrew Phelan, Colin West, and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                        collection of information and annotations by counsel and/or counsel's
         39                     Standalone      9/20/19 12:48 PM   eBay Legal / Morgan Lewis                                                                                                    Whitelaw.pdf             Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                        internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                        anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                        opinions and/or legal theories of counsel and/or counsel’s agents.




                                                                                                                                                                                                                                                        Notes of confidential interview of Veronica Zea on 8/23/2019 at 12:00 PM
                                                                                                                                                                                                                                                        attended by Shannon Macauley, Amir Vonsover, and Tony Shepard
                                                                                                                                                                                                                                                        reflecting the collection of information for the purpose of rendering legal
         40                     Standalone      8/28/2019 22:25       Macauley, Shannon                                                                                                 2019.08.23 Veronica Zea_2.docx   Attorney Client;Work Product   advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                        prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                        impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                        counsel’s agents.




                                                                                                                                                                                                                                                        Notes in preparation for a confidential interview of Devin Wenig for the
                                                                                                                                                                                                                                                        purpose of rendering legal advice in connection with eBay internal
         41               Standalone Document   9/20/19 12:44 PM   eBay Legal / Morgan Lewis                                                                                                      Wenig.pdf              Attorney Client;Work Product   investigation after Natick events, prepared by counsel in anticipation of
                                                                                                                                                                                                                                                        litigation, and reflecting mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                                        legal theories of counsel and/or counsel’s agents.




                                                                                                                                                                                                                                                        Notes of confidential interview of Devin Wenig on 9/10/2019 attended by
                                                                                                                                                                                                                                                        Andrew Phelan and Colin West reflecting the collection of information and
                                                                                                                                                                                                                                                        annotations by counsel and/or counsel's agents for the purpose of
         42               Standalone Document   9/20/19 12:44 PM   eBay Legal / Morgan Lewis                                                                                                      Wenig.pdf              Attorney Client;Work Product   rendering legal advice in connection with eBay internal investigation after
                                                                                                                                                                                                                                                        Natick events, prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                                        reflecting mental impressions, conclusions, opinions and/or legal theories
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                       MLB_BAUGHPRIV_0001
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20-CR-10263


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                                                                                                                                                                                                                                                                Notes of confidential interview of Steve Wymer on 9/9/2019 attended by
                                                                                                                                                                                                                                                                Andrew Phelan, Colin West, and Shannon Macauley reflecting the
                                                                                                                                                                                                  2019.09.09 Steve Wymer
                                                                                                                                                                                                                                                                collection of information for the purpose of rendering legal advice in
                                                                                                                                                                                                 Interview Notes ebay acp-
         43                     Standalone       9/10/2019 9:25       Macauley, Shannon                                                                                                                                          Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                              combined CWest and SMacauley
                                                                                                                                                                                                                                                                by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                       summary.docx
                                                                                                                                                                                                                                                                conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                                agents.



                                                                                                                                                                                                                                                                Notes of confidential interview of Stephanie Popp on 8/26/2019 at 9:30
                                                                                                                                                                                                                                                                AM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                collection of information for the purpose of rendering legal advice in
                                                                                                                                                                                                   2019.08.26 Stephanie
         44                     Standalone      8/28/2019 22:26       Macauley, Shannon                                                                                                                                          Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                       Popp_2.docx
                                                                                                                                                                                                                                                                by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                                conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                                agents.



                                                                                                                                                                                                                                                                Notes of confidential interview of Stephanie Popp on 8/27/2019 at 11:30
                                                                                                                                                                                                                                                                AM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                collection of information for the purpose of rendering legal advice in
                                                                                                                                                                                                   2019.08.27 Stephanie
         45                     Standalone      8/28/2019 22:31       Macauley, Shannon                                                                                                                                          Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                       Popp_3.docx
                                                                                                                                                                                                                                                                by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                                conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                                agents.



                                                                                                                                                                                                                                                                Notes of confidential interview of Steve Wymer on 8/28/2019 at 1:30 PM
                                                                                                                                                                                                                                                                attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                collection of information for the purpose of rendering legal advice in
         46                     Standalone      8/28/2019 22:36       Macauley, Shannon                                                                                                       2019.08.28 Steve Wymer _2.docx     Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                                by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                                conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                                agents.



                                                                                                                                                                                                                                                                Memorandum of confidential interview of Scott Fitzgerald on 8/30/2019
                                                                                                                                                                                                                                                                attended by Colin West, Bryan Connor, and Shannon Macauley reflecting
                                                                                                                                                                                              2019.08.30 Project Lewis - Scott                                  the collection of information for the purpose of rendering legal advice in
         47                     Standalone       9/4/2019 20:32        Connor, Bryan M.        Project Lewis - File                                                                           Fitzgerald August 30th Interview   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                        Memo.DOCX                                               by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                                conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                                agents.



                                                                                                                                                                                                                                                                Notes of confidential interview of Dave Harville on 8/23/2019 at 12:30 AM
                                                                                                                                                                                                                                                                attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                collection of information and annotations by counsel and/or counsel's
         48               Standalone Document   9/20/19 12:01 PM   eBay Legal / Morgan Lewis                                                                                                            Harville.pdf             Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                                                opinions and/or legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                                Notes of confidential interview of Dave Harville on 8/26/2019 at 10:22 AM
                                                                                                                                                                                                                                                                attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                collection of information and annotations by counsel and/or counsel's
         49               Standalone Document   9/20/19 12:01 PM   eBay Legal / Morgan Lewis                                                                                                            Harville.pdf             Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                internal investigation after Natick events, prepared by counsel in
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                               MLB_BAUGHPRIV_0001
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                                                                                                                                                                                                                                                                         Notes of confidential interview of Dave Harville on 8/27/2019 at 4:35 PM
                                                                                                                                                                                                                                                                         attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                         collection of information and annotations by counsel and/or counsel's
         50               Standalone Document   9/20/19 12:01 PM   eBay Legal / Morgan Lewis                                                                                                                      Harville.pdf            Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                                         internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                                                         opinions and/or legal theories of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                                                         Notes of confidential interview of Dave Harville on 9/13/2019 at 3:00 PM
                                                                                                                                                                                                                                                                         attended by Andy Phelan, Colin West, Amir Vonsover, and Evan Nelson
                                                                                                                                                                                                                                                                         reflecting the collection of information and annotations by counsel and/or
         51               Standalone Document   9/20/19 12:01 PM   eBay Legal / Morgan Lewis                                                                                                                      Harville.pdf            Attorney Client;Work Product   counsel's agents for the purpose of rendering legal advice in connection
                                                                                                                                                                                                                                                                         with eBay internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                                         anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                                         opinions and/or legal theories of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                                                         Notes of confidential interview of Veronica Zea on 8/23/2019 at 9:00 AM
                                                                                                                                                                                                                                                                         attended by Shannon Macauley, Amir Vonsover, and Tony Shepard
                                                                                                                                                                                                                                                                         reflecting the collection of information for the purpose of rendering legal
         52                     Standalone      8/28/2019 22:25       Macauley, Shannon                                                                                                                  2019.08.23 Veronica Zea.docx     Attorney Client;Work Product   advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                         prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                                         impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                                         counsel’s agents.


                                                                                                                                                                                                                                                                         Notes of confidential interview of David Harville on 9/13/2019 at 3:00 PM
                                                                                                                                                                                                                                                                         attended by Andrew Phelan, Colin West, Amir Vonsover, and Evan Nelson
                                                                                                                                                                                                                                                                         reflecting the collection of information for the purpose of rendering legal
                                                                                                                                                                                                          2019.09.13 Harville Attorney
         53                     Standalone      9/13/2019 17:31         Vonsover, Amir                                                                                                                                                    Attorney Client;Work Product   advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                             Meeting Notes.docx
                                                                                                                                                                                                                                                                         prepared by counsel in anticipation of litigation, and reflecting mental
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                                                                                                                                                                                                                                                                         Notes of confidential interview of Jose Gordon on 9/17/2019 at 2:35 PM
                                                                                                                                                                                                                                                                         attended by Andrew Phelan reflecting the collection of information for the
                                                                                                                                                                                                            2019.09.17 Jose Gordon                                       purpose of rendering legal advice in connection with eBay internal
         54                     Standalone      9/17/2019 18:39        Connor, Bryan M.                                                                                                                                                   Attorney Client;Work Product
                                                                                                                                                                                                                Interview.docx                                           investigation after Natick events, prepared by counsel in anticipation of
                                                                                                                                                                                                                                                                         litigation, and reflecting mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                                                         legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                                         Notes of confidential interview of Ryan Moore on 9/13/2019 attended by
                                                                                                                                                                                                                                                                         Andrew Phelan, Colin West, and Amir Vonsover reflecting the collection of
                                                                                                                                                                                                                                                                         information and annotations by counsel and/or counsel's agents for the
         55                     Standalone      9/20/19 12:24 PM   eBay Legal / Morgan Lewis                                                                                                                      Moore.pdf               Attorney Client;Work Product   purpose of rendering legal advice in connection with eBay internal
                                                                                                                                                                                                                                                                         investigation after Natick events, prepared by counsel in anticipation of
                                                                                                                                                                                                                                                                         litigation, and reflecting mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                                                         legal theories of counsel and/or counsel’s agents.




                                                                                                                                                                                                                                                                         Email between counsel providing and discussing legal advice and prepared
                                                                                                                                                                        August 30th Meeting with Scott   August 30th Meeting with Scott
         56                     Standalone      8/30/2019 17:47        Connor, Bryan M.        West, Colin C.                                                                                                                             Attorney Client;Work Product   in anticipation of litigation regarding eBay internal investigation after
                                                                                                                                                                                  Fitzgerald                       Fitzgerald
                                                                                                                                                                                                                                                                         Natick events.




                                                                                                                                                                                                                                                                         Notes of confidential interview of Ryan Moore on 9/13/2019 attended by
                                                                                                                                                                                                                                                                         Andrew Phelan, Colin West, and Amir Vonsover reflecting the collection of
                                                                                                                                                                                                            2019.09.13 Ryan Moore                                        information for the purpose of rendering legal advice in connection with
         57                     Standalone      9/16/2019 10:06    eBay Legal / Morgan Lewis                                                                                                                                              Attorney Client;Work Product
                                                                                                                                                                                                                Interview.docx                                           eBay internal investigation after Natick events, prepared by counsel in
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                                        MLB_BAUGHPRIV_0001
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UNITED STAES V. BAUGH, ET AL.                                                                  INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP (Corrected)*
20-CR-10263


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                                                                                                                                                                                                                                                         Notes of confidential interview of Veronica Zea on 8/23/2019 at 9:00 AM
                                                                                                                                                                                                                                                         attended by Shannon Macauley, Amir Vonsover, and Tony Shepard
                                                                                                                                                                                                                                                         reflecting the collection of information and annotations by counsel and/or
         58               Standalone Document   9/20/19 1:00 PM    eBay Legal / Morgan Lewis                                                                                                       Zea.pdf                Attorney Client;Work Product   counsel's agents for the purpose of rendering legal advice in connection
                                                                                                                                                                                                                                                         with eBay internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                                         Notes of confidential interview of Veronica Zea on 8/23/2019 at 12:00 PM
                                                                                                                                                                                                                                                         attended by Shannon Macauley, Amir Vonsover, and Tony Shepard
                                                                                                                                                                                                                                                         reflecting the collection of information and annotations by counsel and/or
         59               Standalone Document   9/20/19 1:00 PM    eBay Legal / Morgan Lewis                                                                                                       Zea.pdf                Attorney Client;Work Product   counsel's agents for the purpose of rendering legal advice in connection
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                                                                                                                                                                                                                                                         Notes of confidential interview of Veronica Zea on 8/26/2019 at 12:30 PM
                                                                                                                                                                                                                                                         attended by Shannon Macauley, Amir Vonsover, Tony Shepard, and Ellen
                                                                                                                                                                                                                                                         Sherman reflecting the collection of information and annotations by
                                                                                                                                                                                                                                                         counsel and/or counsel's agents for the purpose of rendering legal advice
         60               Standalone Document   9/20/19 1:00 PM    eBay Legal / Morgan Lewis                                                                                                       Zea.pdf                Attorney Client;Work Product
                                                                                                                                                                                                                                                         in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                         prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                         impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                         counsel’s agents.


                                                                                                                                                                                                                                                         Notes of confidential interview of Dave Harville on 8/27/2019 at 4:35 PM
                                                                                                                                                                                                                                                         attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                         collection of information for the purpose of rendering legal advice in
         61                     Standalone      8/28/2019 22:37       Macauley, Shannon                                                                                                 2019.08.27 Dave Harville_3.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                         by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                         conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                         agents.


                                                                                                                                                                                                                                                         Notes of confidential interview of Scott Fitzgerald on 9/5/2019 attended
                                                                                                                                                                                                                                                         by Colin West, Andrew Phelan, and Shannon Macauley reflecting the
                                                                                                                                                                                                                                                         collection of information for the purpose of rendering legal advice in
                                                                                                                                                                                          2019.09.05 Scott Fitzgerald
         62                     Standalone      9/12/2019 12:36       Macauley, Shannon                                                                                                                                   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                  (ML).docx
                                                                                                                                                                                                                                                         by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                         conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                         agents.


                                                                                                                                                                                                                                                         Notes of confidential interview of Stephanie Stockwell on 8/26/2019 at
                                                                                                                                                                                                                                                         2:16 PM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                         collection of information for the purpose of rendering legal advice in
         63                     Standalone      9/20/19 12:38 PM          eBay Legal                                                                                                             Stockwell.pdf            Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                         by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                         conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                         agents.


                                                                                                                                                                                                                                                         Notes of confidential interview of Michelle (last name unknown) on
                                                                                                                                                                                                                                                         10/15/2019 at 4:30 PM attended by Molly Finn and Amir Vonsover
                                                                                                                                                                                                                                                         reflecting the collection of information for the purpose of rendering legal
                                                                                                                                                                                        Michelle Interview Oct 15 2019
         64                     Standalone      10/15/2019 23:47        Vonsover, Amir                                                                                                                                    Attorney Client;Work Product   advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                             Project Lewis.docx
                                                                                                                                                                                                                                                         prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                         impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                         counsel’s agents.


                                                                                                                                                                                                                                                         Notes of confidential interview of Stephanie Popp on 8/23/2019 at 8:30
                                                                                                                                                                                                                                                         AM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                         collection of information for the purpose of rendering legal advice in
         65                     Standalone      8/28/2019 22:24       Macauley, Shannon                                                                                                 2019.08.23 Stephanie Popp.docx    Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                         by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                         conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                         agents.




CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                        MLB_BAUGHPRIV_0001
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UNITED STAES V. BAUGH, ET AL.                                                                  INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP (Corrected)*
20-CR-10263


      Log Number           Parent/Standalone      Family Date            Author/From           Recipient/To     Other Recipient(s)/CC          Other Recipient(s)/BCC   Email Subject            File Name                     Privilege Basis                                   Document Description

                                                                                                                                                                                                                                                       Notes of confidential interview of Scott Fitzgerald on 8/23/2019 at 10:30
                                                                                                                                                                                                                                                       AM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information and annotations by counsel and/or counsel's
         66               Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                                    Fitzgerald.pdf          Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                       anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                       opinions and/or legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                       Notes of confidential interview of Scott Fitzgerald on 9/3/2019 at 5:50 PM
                                                                                                                                                                                                                                                       reflecting the collection of information and annotations by counsel and/or
                                                                                                                                                                                                                                                       counsel's agents for the purpose of rendering legal advice in connection
         67               Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                                    Fitzgerald.pdf          Attorney Client;Work Product
                                                                                                                                                                                                                                                       with eBay internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                       anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                       opinions and/or legal theories of counsel and/or counsel’s agents.



                                                                                                                                                                                                                                                       Notes in preparation for confidential interview of Scott Fitzgerald on
                                                                                                                                                                                                                                                       9/5/2019 at 2:30 PM reflecting the collection of information and
                                                                                                                                                                                                                                                       annotations by counsel and/or counsel's agents for the purpose of
         68               Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                                    Fitzgerald.pdf          Attorney Client;Work Product   rendering legal advice in connection with eBay internal investigation after
                                                                                                                                                                                                                                                       Natick events, prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                                       reflecting mental impressions, conclusions, opinions and/or legal theories
                                                                                                                                                                                                                                                       of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                                       Notes of confidential interview of Scott Fitzgerald on 8/30/2019 at 3:00
                                                                                                                                                                                                                                                       PM attended by Colin West, Bryan Connor, and Shannon Macauley
                                                                                                                                                                                                                                                       reflecting the collection of information and annotations by counsel and/or
         69               Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                                    Fitzgerald.pdf          Attorney Client;Work Product   counsel's agents for the purpose of rendering legal advice in connection
                                                                                                                                                                                                                                                       with eBay internal investigation after Natick events, prepared by counsel in
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                                                                                                                                                                                                                                                       opinions and/or legal theories of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                                       Notes of confidential interview of Scott Fitzgerald on 9/3/2019 at 3:43 PM
                                                                                                                                                                                                                                                       attended by Colin West, Jordan Mundell, Andrew Phelan, and Shannon
                                                                                                                                                                                                                                                       Macauley reflecting the collection of information and annotations by
                                                                                                                                                                                                                                                       counsel and/or counsel's agents for the purpose of rendering legal advice
         70               Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                                    Fitzgerald.pdf          Attorney Client;Work Product
                                                                                                                                                                                                                                                       in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                       prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                       impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                       counsel’s agents.


                                                                                                                                                                                                                                                       Notes of confidential interview of Scott Fitzgerald on 9/5/2019 attended
                                                                                                                                                                                                                                                       by Colin West, Andrew Phelan, and Shannon Macauley reflecting the
                                                                                                                                                                                                                                                       collection of information and annotations by counsel and/or counsel's
         71               Standalone Document   9/20/19 11:53 AM   eBay Legal / Morgan Lewis                                                                                                    Fitzgerald.pdf          Attorney Client;Work Product   agents for the purpose of rendering legal advice in connection with eBay
                                                                                                                                                                                                                                                       internal investigation after Natick events, prepared by counsel in
                                                                                                                                                                                                                                                       anticipation of litigation, and reflecting mental impressions, conclusions,
                                                                                                                                                                                                                                                       opinions and/or legal theories of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                                       Notes of confidential interview of Brian Gilbert on 8/23/2019 at 10:00 AM
                                                                                                                                                                                                                                                       attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                       collection of information for the purpose of rendering legal advice in
         72               Standalone Document   8/28/2019 22:17       Macauley, Shannon                                                                                                 2019.08.23 Brian Gilbert.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                       by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                       conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                       agents.


                                                                                                                                                                                                                                                       Memorandum of confidential interviews of Wendy Jones, Brian Gilbert,
                                                                                                                                                                                                                                                       and Steve Wymer on 8/30/2019 attended by Andrew Phelan, Colin West,
                                                                                                                                                                                                                                                       Bryan Connor, and Jordan Mundell reflecting the collection of information
                                                                                                                                                                                        Memorandum of Interview with
         73               Standalone Document       8/30/19            Mundell, Jordan             File                                                                                                                 Attorney Client;Work Product   for the purpose of rendering legal advice in connection with eBay internal
                                                                                                                                                                                           ebay Employees.DOCX
                                                                                                                                                                                                                                                       investigation after Natick events, prepared by counsel in anticipation of
                                                                                                                                                                                                                                                       litigation, and reflecting mental impressions, conclusions, opinions and/or
                                                                                                                                                                                                                                                       legal theories of counsel and/or counsel’s agents.




CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                      MLB_BAUGHPRIV_0001
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20-CR-10263


      Log Number           Parent/Standalone      Family Date       Author/From       Recipient/To     Other Recipient(s)/CC          Other Recipient(s)/BCC   Email Subject             File Name                       Privilege Basis                                    Document Description

                                                                                                                                                                                                                                                 Notes of confidential interview of Stephanie Stockwell on 8/26/2019 at
                                                                                                                                                                                                                                                 2:16 PM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                 collection of information for the purpose of rendering legal advice in
                                                                                                                                                                                    2019.08.26 Stephanie
         74               Standalone Document   8/28/2019 22:27   Macauley, Shannon                                                                                                                               Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                       Stockwell.docx
                                                                                                                                                                                                                                                 by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                 conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                 agents.


                                                                                                                                                                                                                                                 Notes of confidential interview of Scott Fitzgerald on 8/23/2019 at 10:30
                                                                                                                                                                                                                                                 AM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                 collection of information for the purpose of rendering legal advice in
         75               Standalone Document   8/28/2019 22:23   Macauley, Shannon                                                                                            2019.08.23 Scott Fitzgerald.docx   Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                 by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                 conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                 agents.


                                                                                                                                                                                                                                                 Notes of confidential interview of Veronica Zea on 8/26/2019 at 12:30 PM
                                                                                                                                                                                                                                                 attended by Shannon Macauley, Amir Vonsover, Tony Shepard, and Ellen
                                                                                                                                                                                                                                                 Sherman reflecting the collection of information for the purpose of
         76               Standalone Document   8/28/2019 22:29   Macauley, Shannon                                                                                            2019.08.26 Veronica Zea_3.docx     Attorney Client;Work Product   rendering legal advice in connection with eBay internal investigation after
                                                                                                                                                                                                                                                 Natick events, prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                                 reflecting mental impressions, conclusions, opinions and/or legal theories
                                                                                                                                                                                                                                                 of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                                 Notes of confidential interview of Steve Wymer on 8/30/2019 at 3:30 PM
                                                                                                                                                                                                                                                 attended by Andrew Phelan, Jordan Mundell, and Shannon Macauley
                                                                                                                                                                                                                                                 reflecting the collection of information for the purpose of rendering legal
                                                                                                                                                                                   2019.08.30 Steve Wymer
         77               Standalone Document   9/12/2019 12:34   Macauley, Shannon                                                                                                                               Attorney Client;Work Product   advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                  (ML)_107862029_1.DOCX
                                                                                                                                                                                                                                                 prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                 impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                 counsel’s agents.


                                                                                                                                                                                                                                                 Notes of confidential interview of Wendy Jones on 8/30/2019 at 9:00 PM
                                                                                                                                                                                                                                                 attended by Andrew Phelan, Jordan Mundell, and Shannon Macauley
                                                                                                                                                                                                                                                 reflecting the collection of information for the purpose of rendering legal
                                                                                                                                                                                   2019.08.30 Wendy Jones
         78               Standalone Document   9/12/2019 12:35   Macauley, Shannon                                                                                                                               Attorney Client;Work Product   advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                  (ML)_107862030_1.DOCX
                                                                                                                                                                                                                                                 prepared by counsel in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                 impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                 counsel’s agents.


                                                                                                                                                                                                                                                 Notes of confidential interview of Scott Fitzgerald on 9/3/2019 at 3:34 PM
                                                                                                                                                                                                                                                 attended by Colin West, Jordan Mundel, Andrew Phelan, and Shannon
                                                                                                                                                                                                                                                 Macauley reflecting the collection of information for the purpose of
                                                                                                                                                                                 2019.09.03 Scott Fitzgerald
         79               Standalone Document   9/12/2019 12:35   Macauley, Shannon                                                                                                                               Attorney Client;Work Product   rendering legal advice in connection with eBay internal investigation after
                                                                                                                                                                                  (ML)_107862032_1.DOCX
                                                                                                                                                                                                                                                 Natick events, prepared by counsel in anticipation of litigation, and
                                                                                                                                                                                                                                                 reflecting mental impressions, conclusions, opinions and/or legal theories
                                                                                                                                                                                                                                                 of counsel and/or counsel’s agents.


                                                                                                                                                                                                                                                 Notes of confidential interview of Wendy Jones on 9/6/2019 at 11:00 AM
                                                                                                                                                                                                                                                 attended by Andrew Phelan, Colin West, and Shannon Macauley reflecting
                                                                                                                                                                                                                                                 the collection of information for the purpose of rendering legal advice in
                                                                                                                                                                                   2019.09.06 Wendy Jones
         80               Standalone Document   9/12/2019 12:37   Macauley, Shannon                                                                                                                               Attorney Client;Work Product   connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                  (ML)_107862035_1.DOCX
                                                                                                                                                                                                                                                 by counsel in anticipation of litigation, and reflecting mental impressions,
                                                                                                                                                                                                                                                 conclusions, opinions and/or legal theories of counsel and/or counsel’s
                                                                                                                                                                                                                                                 agents.


                                                                                                                                                                                                                                                 Notes of confidential interview of Brian Gilbert on 9/3/2019 at 2:00 PM
                                                                                                                                                                                                                                                 attended by Andrew Phelan, Jordan Mundell, Colin West, and Shannon
                                                                                                                                                                                                                                                 Macauley reflecting the collection of information for the purpose of
                                                                                                                                                                                   2019.09.03 Brian Gilbert
         81               Standalone Document   9/12/2019 12:09   Macauley, Shannon                                                                                                                               Attorney Client;Work Product   rendering legal advice in connection with eBay internal investigation after
                                                                                                                                                                                  (ML)_107862040_1.DOCX
                                                                                                                                                                                                                                                 Natick events, prepared by counsel in anticipation of litigation, and
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CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                MLB_BAUGHPRIV_0001
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UNITED STAES V. BAUGH, ET AL.                                                                                                                                        INIITIAL PRIIVLEGE LOG OF MORGAN, LEWIS AND BOCKIUS LLP (Corrected)*
20-CR-10263


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                                                                                                                                                                                                                                                                                                                                                                                                      Notes of confidential interview of Tony Shepard on 8/23/2019 at 12:45
                                                                                                                                                                                                                                                                                                                                                                                                      PM attended by Shannon Macauley and Amir Vonsover reflecting the
                                                                                                                                                                                                                                                                                                                                                                                                      collection of information for the purpose of rendering legal advice in
                                                                                                                                                                                                                                                                                                                                       2019.08.23 Tony
                 82                                 Standalone Document                         9/12/2019 12:15               Macauley, Shannon                                                                                                                                                                                                                      Attorney Client;Work Product     connection with eBay internal investigation after Natick events, prepared
                                                                                                                                                                                                                                                                                                                                  Shepard_107862008_1.DOCX
                                                                                                                                                                                                                                                                                                                                                                                                      by counsel in anticipation of litigation, and reflecting mental impressions,
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                                                                                                                                                                                                                                                                                                                                                                                                      agents.


                                                                                                                                                                                                                                                                                                                                                                                                      Notes of confidential interview of Scott Fitzgerald on 8/30/2019 at 3:00
                                                                                                                                                                                                                                                                                                                                                                                                      PM attended by Colin West, Bryan Connor, and Shannon Macauley
                                                                                                                                                                                                                                                                                                                                                                                                      reflecting the collection of information for the purpose of rendering legal
                                                                                                                                                                                                                                                                                                                                   2019.08.30 Scott Fitzgerald
                 83                                 Standalone Document                         9/12/2019 12:33               Macauley, Shannon                                                                                                                                                                                                                      Attorney Client;Work Product     advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                                                                                    (ML)_107862028_1.DOCX
                                                                                                                                                                                                                                                                                                                                                                                                      prepared by counsel in anticipation of litigation, and reflecting mental
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                                                                                                                                                                                                                                                                                                                                                                                                      counsel’s agents.


                                                                                                                                                                                                                                                                                                                                                                                                      Notes of confidential interview of Brian Gilbert on 8/30/2019 at 2:00 PM
                                                                                                                                                                                                                                                                                                                                                                                                      attended by Andrew Phelan, Jordan Mundell, and Shannon Macauley
                                                                                                                                                                                                                                                                                                                                                                                                      reflecting the collection of information for the purpose of rendering legal
                                                                                                                                                                                                                                                                                                                                     2019.08.30 Brian Gilbert
                 84                                 Standalone Document                         9/12/2019 12:32               Macauley, Shannon                                                                                                                                                                                                                      Attorney Client;Work Product     advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                                                                                    (ML)_107862027_1.DOCX
                                                                                                                                                                                                                                                                                                                                                                                                      prepared by counsel in anticipation of litigation, and reflecting mental
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                                                                                                                                                                                                                                                                                                                                                                                                      Notes of confidential interview of Detective Jason Sutherland on
                                                                                                                                                                                                                                                                                                                                                                                                      8/22/2019 at 4:00 PM attended by Shannon Macauley and Amir Vonsover
                                                                                                                                                                                                                                                                                                                                                                                                      reflecting the collection of information for the purpose of rendering legal
                                                                                                                                                                                                                                                                                                                                   2019.08.22 Sutherland
                 85                                 Standalone Document                        9/12/2019 12:08               Macauley, Shannon                                                                                                                                                                                                                       Attorney Client;Work Product     advice in connection with eBay internal investigation after Natick events,
                                                                                                                                                                                                                                                                                                                                 Convo_107862041_1.DOCX
                                                                                                                                                                                                                                                                                                                                                                                                      prepared by counsel in anticipation of litigation, and reflecting mental
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                                                                                                                                                                                                                                                                                             Project Lewis -- USAO Update Project Lewis -- USAO Update                                                Email between counsel and company employees providing legal advice
                 86                                    Parent Document                        10/23/19 3:44 PM                Phelan, Andrew C.               Huber, Marie; Finn, Molly          Vonsover, Amir; Connor, Bryan M.                                                              10/23/19 - Privileged and    10/23/19 - Privileged and                Attorney Client;Work Product     and prepared in anticipation of litigation regarding eBay internal
                                                                                                                                                                                                                                                                                                      Confidential                 Confidential                                                       investigation after Natick events.




                                                                                                                                                                                                                                                                                                                                                                                                      Memorandum from Andrew C. Phelan to Special Committee prepared by
                                                                                                                                                                                                                                                                                                                                         052094-                                                      counsel providing legal advice regarding eBay internal investigation after
                                                                                                                                                           Special Committee, eBay Board of                                                                                                                                     02__109777006v1_eBay ACP                                              Natick events; regarding eBay response to law enforcement investigations
                 87                                 Standalone Document                            11/7/2019                   Andrew C. Phelan                                                                                                                                                                                                                      Attorney Client;Work Product     after Natick events; regarding employment/personnel matters and/or
                                                                                                                                                                      Directors                                                                                                                                                  Memo to Special Committee
                                                                                                                                                                                                                                                                                                                                      11_7_19.DOCX                                                    actions after Natick events; and regarding corporate communications after
                                                                                                                                                                                                                                                                                                                                                                                                      Natick events prepared in anticipation of litigation, and reflecting mental
                                                                                                                                                                                                                                                                                                                                                                                                      impressions, conclusions, opinions and/or legal theories of counsel and/or
                                                                                                                                                                                                                                                                                                                                                                                                      counsel's agents.

 * Morgan Lewis & Bockius LLP produces this privilege log without waiver of, and expressly preserves, any and all objections and challenges to the Fed. R. Crim. P. 17(c) subpoena issued to it, and reserves all rights to file a motion to quash the subpoena or to seek other protections, on all available grounds. The provision of this privilege log, or any purported failure to list a document or information within the privilege log, shall not constitute a waiver of
   the attorney client privilege, work product protections or other applicable protections in this case or in any other federal or state proceeding and shall not limit the right of eBay or Morgan Lewis & Bockius LLP to assert privilege or work product protection over material or information in connection with this or any other proceeding. Further, Morgan Lewis & Bockius LLP notes that certain of the documents logged within this privilege log may reflect
 potentially attorney client privileged and/or work product protected information concerning matters not responsive to the subpoena. Morgan Lewis & Bockius LLP has not undertaken to review all nonresponsive content for attorney client privilege and/or work product protection, but expressly preserves and does not waive all claims of privilege/protection. Morgan Lewis & Bockius LLP reserves the right to supplement and/or amend this privilege log.




CONFIDENTIAL - SUBJECT TO AGREED UPON ORDER OF CONFIDENTIALITY REGARDING PRIVILEGE LOGS                                                                                                                                                                                                                                                                                                                                                      MLB_BAUGHPRIV_0001
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2022, this document, filed through the CM/ECF system,

will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing (NEF) and paper copies will be sent to those indicated as non-registered participants.



                                              /s/ Emma Diamond Hall
                                              Emma Diamond Hall




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 1                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
 2

 3

 4       United States of America,         )
                       Plaintiff,          )
 5                                         )
                                           )
 6       vs.                               )   Case No. 20-cr-10263-PBS
                                           )
 7                                         )
         Jim Baugh, also known as          )
 8       James Baugh,                      )
                       Defendant.          )
 9

10
         BEFORE:   The Honorable Patti B. Saris
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16                                   Remote Rule 11

17                                   April 25, 2022

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                            Marianne Kusa-Ryll, RDR, CRR
23                             Official Court Reporter
                            United States District Court
24                           595 Main Street, Room 514A
                         Worcester, Massachusetts 01608-2093
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 1       APPEARANCES (REMOTELY):

 2       United States Attorney's Office
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 3       1 Courthouse Way, Suite 9200
         Boston, Massachusetts 02210
 4       on behalf of the Government

 5       Fick & Marx LLP
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 6       24 Federal Street
         4th Floor
 7       Boston, Massachusetts 02110
         on behalf of the Defendant
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 1                                P R O C E E D I N G S

 2                  (The following proceedings were held remotely before

 3       the Honorable Patti B. Saris, United States District Judge,

 4       United States District Court, District of Massachusetts, on

 5       April 25, 2022.)

 6                  THE CLERK:   The Court calls Criminal Action 20-10263,

 7       United States versus Jim Baugh.

 8                  Would counsel please identify themselves.

 9                  MR. KOSTO:   Good morning, your Honor.      Seth Kosto for

10       the United States.

11                  MR. FICK:    Good morning, your Honor.     William Fick for

12       Mr. Baugh.    He is here as well via video at our request.         He is

13       waiving his presence in the courtroom for this change of plea

14       hearing.

15                  THE COURT:   Thank you.

16                  May I ask, Miss Alice, who are you?

17                  THE CLERK:   She's supposed to shut off -- Clary, can

18       you shut off her video, please.

19                  THE COURT:   Okay.      All right.   All right.   So why are

20       we hear today, Mr. Fick?

21                  MR. FICK:    We're here for a Rule 11 hearing for

22       Mr. Baugh to change his plea to the counts of the indictment

23       charging him.

24                  THE COURT:   Mr. Baugh, can you -- it's Baugh or Baugh?

25                  THE DEFENDANT:    It's Baugh.




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 1                 THE COURT:    Baugh.    Mr. Baugh, can you hear me and see

 2       me?

 3                 THE DEFENDANT:     I can.

 4                 THE COURT:    Okay.     Thank you.

 5                 Do you waive your right to be here in Massachusetts

 6       in person in the courtroom?

 7                 THE DEFENDANT:     I do.

 8                 THE COURT:    Okay.     All right.   So do you want to put

 9       him under oath and take the plea, Maryellen.

10                 THE CLERK:    Yes, I will.

11                 THE COURT:    Thank you.

12                 THE CLERK:    Sir, can you raise your right hand.

13                 Do you solemnly swear the answers you shall give to

14       this Court will be the truth, the whole truth, and nothing but

15       the truth, so help you God?

16                 THE DEFENDANT:     I do.

17                 THE CLERK:    Okay.     Thank you.

18                 Count One:    Conspiracy to commit stalking through

19       interstate travel and through facilities of interstate commerce

20       all in violation of Title 18 U.S.C. Section 371.

21                 How do you plead to Count One, guilty or not guilty?

22                 THE DEFENDANT:     Guilty.

23                 THE CLERK:    Okay.     Counts Two and Three:    Stalking

24       through interstate travel; aiding and abetting, all in

25       violation of Title 18 U.S.C. Section 2261A(1) and 2.




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 1                   How to you plead to Counts Two and Three, guilty or

 2       not guilty?

 3                   THE DEFENDANT:    Guilty.

 4                   THE CLERK:   Thank you.

 5                   As to Counts Six and Seven:      Stalking through

 6       facilities of interstate commerce and aiding and abetting, all

 7       in violation of Title 18 U.S.C. Section 2261A(2) and 2.

 8                   How to you plead to Counts Six and Seven, guilty or

 9       not guilty?

10                   THE DEFENDANT:    Guilty.

11                   THE CLERK:   Thank you.

12                   As to Counts Ten and Eleven:      Witness tampering and

13       aiding and abetting, all in violation of Title 18 U.S.C.

14       Section 1512(b)(3) and 2.

15                   How do you plead to Counts Ten and Eleven, guilty or

16       not guilty?

17                   THE DEFENDANT:    Guilty.

18                   THE CLERK:   Okay.      And as to Counts Thirteen and

19       Fourteen:    Destruction, altercation, and falsification [sic] of

20       records in a federal investigation; and aiding and abetting,

21       all in violation of Title 18 U.S.C. Section 1519 and 2.

22                   How do you plead to Counts Thirteen and Fourteen,

23       guilty or not guilty?

24                   THE DEFENDANT:    Guilty.

25                   THE CLERK:   Thank you.




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 1                 That's it, Judge.

 2                 THE COURT:    Thank you.

 3                 Sir, do you understand that you are now under oath and

 4       if you answer any of my questions falsely, your answers can

 5       later be used against you in another prosecution for perjury or

 6       making a false statement?

 7                 THE DEFENDANT:     I understand.

 8                 THE COURT:    What is your full name?

 9                 THE DEFENDANT:     Jim Lance Baugh.

10                 THE COURT:    Do you go by any other names?

11                 THE DEFENDANT:     I go by Jim.

12                 THE COURT:    Jim?

13                 THE DEFENDANT:     Yeah.

14                 THE COURT:    No -- no false names or aliases?

15                 THE DEFENDANT:     No.   No.

16                 THE COURT:    All right.    Where were you born?

17                 THE DEFENDANT:     I was born in Pine Bluff, Arkansas.

18                 THE COURT:    And how far did you go in school?

19                 THE DEFENDANT:     I completed graduate school.

20                 THE COURT:    Where?

21                 THE DEFENDANT:     University of Oklahoma.

22                 THE COURT:    All right.    And what was the specialty?

23                 THE DEFENDANT:     I have a master's of public

24       administration.

25                 THE COURT:    Okay.     Thank you.




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 1                   Did you -- how old are you?

 2                   THE DEFENDANT:    I'm 47.

 3                   THE COURT:   All right.     And have you ever been treated

 4       for any mental health issues?

 5                   THE DEFENDANT:    I have not.

 6                   THE COURT:   Have you taken any unlawful drugs in the

 7       last 48 hours?

 8                   THE DEFENDANT:    I have not.

 9                   THE COURT:   Have you had anything to drink in the last

10       48 hours?

11                   THE DEFENDANT:    I have not.

12                   THE COURT:   Yeah -- alcohol -- excuse me.

13                   THE DEFENDANT:    No, no alcohol.

14                   THE COURT:   All right.     And have you had enough -- I

15       know you worked a lot with Mr. Fick, and I'm sure people in his

16       office.

17                   Do you feel as if you've had enough time to discuss

18       this plea with him?

19                   THE DEFENDANT:    Yes.

20                   THE COURT:   Do you understand that you're not -- that

21       you are pleading guilty, as I understand it, without a plea

22       agreement?

23                   THE DEFENDANT:    I do.

24                   THE COURT:   And do you feel in any way as if your

25       attorney has pressured you into pleading guilty?




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 1                 THE DEFENDANT:     I do not.

 2                 THE COURT:    Has anyone pressured you into pleading

 3       guilty?

 4                 THE DEFENDANT:     No.

 5                 THE COURT:    Has anyone threatened you in any way?

 6                 THE DEFENDANT:     No.

 7                 THE COURT:    Have there been any promises made to

 8       you --

 9                 THE DEFENDANT:     No.

10                 THE COURT:    -- to get you to induce this plea?

11                 THE DEFENDANT:     No.

12                 THE COURT:    Let me ask counsel, because sometimes

13       defendants aren't as aware.

14                 Are there any representations or promises with respect

15       to sentencing or any other issue regarding this case?

16                 MR. KOSTO:    The government has made none, your Honor.

17                 THE COURT:    Excuse me.

18                 MR. FICK:    No, your Honor.

19                 THE COURT:    Okay.

20                 MR. KOSTO:    The government has made no promises or

21       representations regarding sentencing.

22                 THE COURT:    Okay.     Now, to the government at this

23       point, please state the penalties that could be imposed.

24                 MR. KOSTO:    Yes, your Honor, on Count One, which is

25       the conspiracy count under 18 U.S.C. Section 371, that's a




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 1       maximum term of imprisonment of five years; a $250,000 fine; a

 2       maximum of three years supervised release; and as to each of

 3       these counts, your Honor, restitution and forfeiture are

 4       applicable.

 5                  Counts Two and Three, which charge stalking through

 6       interstate travel also carries a maximum term of five years per

 7       count; a $250,000 fine; and three years of supervised release

 8       maximum.

 9                  Counts Six and Seven, which are the stalking through

10       facilities of interstate commerce also for each count carries a

11       maximum term of five years imprisonment; a $250,000 fine; and

12       three years of supervised release per count, although the

13       supervised release years generally run concurrently.

14                  Counts Ten and Eleven, which charge witness tampering

15       in violation of 18 U.S.C., Section 1512(b)(3), each carry a

16       potential maximum term of imprisonment of 20 years in prison; a

17       $250,000 fine; again three years maximum supervised release.

18                  And Counts Thirteen and Fourteen, each of which

19       charges falsification of documents in violation of 18 U.S.C.

20       Section 1519 also carries a maximum term of 20 years

21       imprisonment per count; a $250,000 fine; and a maximum of three

22       years supervised release.

23                  THE COURT:   So there are no mandatory minimums, right?

24                  MR. KOSTO:   There are no mandatory minimums, your

25       Honor.




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 1                 THE COURT:    I know this is preliminary, and we'll have

 2       to wait for the probation department, but do you have a

 3       preliminary calculation of the United States Sentencing

 4       Commission guideline ranges?

 5                 MR. KOSTO:    Your Honor, we estimate the -- the low end

 6       of the advisory guidelines range to be 57, and the high end to

 7       be 71 months with a Criminal History Category of I, although we

 8       have yet to go through the PSR process.

 9                 THE COURT:    Is that including acceptance of

10       responsibility?

11                 MR. KOSTO:    That does include a -- that does include

12       three points for acceptance, your Honor.

13                 THE COURT:    Thank you.

14                 Mr. Fick, do you have a similar guideline range

15       calculation, although I'm sure you will be seeking, you know,

16       departures and variances.

17                 MR. FICK:    Sure.   There's one sort of disputed

18       enhancement.    You know, there's several cases that have already

19       been -- several cases with a similar guideline basis have been

20       brought in this case, and the -- there is one in particular

21       enhancement application that has a two-point swing that is

22       disputed, and so we would -- I think are likely to contend the

23       range is 46 to 57, not 57 to 71.

24                 I think -- I believe Judge Burroughs is the only

25       person who has addressed the issue, and I think she kind of




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 1       punted on it, because the sentence she gave was below the range

 2       anyway.   Mr. Kosto can correct me if that's incorrect.            But in

 3       any event that will be laid out in the PSR in the objections

 4       and sentencing memos.

 5                 THE COURT:    All right.    So there is a bit of a dispute

 6       of the appropriate guideline range, do you understand that?

 7                 THE DEFENDANT:     Yes.

 8                 THE COURT:    Okay.     And -- and do you understand though

 9       that what will happen is I will send this to the probation

10       department, which will calculate a sentencing guideline range,

11       look at the offense conduct as well as information about you as

12       a human being and your personal history, and they'll calculate

13       a guideline range.

14                 In a sentencing hearing, you, your lawyer, very

15       knowledgeable in these things, can object if he thinks the

16       guideline range is wrong.       The government's also quite

17       knowledgeable.    They can object if the government doesn't

18       believe in the guideline range, and at that point I will rule

19       on the objections.

20                 Do you understand that?

21                 THE DEFENDANT:     I do.

22                 THE COURT:    And then at that point, both sides could

23       ask for a variance or a departure because you're pleading

24       without a plea agreement; do you understand that?

25                 Both sides are free to ask for departures or variances




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 1       under the guidelines; do you understand that?

 2                 THE DEFENDANT:     I do.

 3                 THE COURT:    And at that point what I will do is I will

 4       impose a sentence.     If you disagree with the sentence, you can

 5       appeal the sentence, but you can't at that point withdraw your

 6       guilty plea.

 7                 Do you understand that?

 8                 THE DEFENDANT:     I understand.

 9                 THE COURT:    Okay.     And do you understand that by

10       pleading guilty you're essentially -- your counsel, as well as

11       I guess together with the codefendant filed many, many motions,

12       which I've ruled on I think most of them; and at this point,

13       that means you're basically giving up your claims with respect

14       to those motions.

15                 Do you understand that?

16                 THE DEFENDANT:     I do.

17                 MR. FICK:    Your Honor, if I could just interject.      The

18       one thing that I think we would argue is not moot is the

19       lingering issues under the subpoena motion to eBay, because

20       some of that information could be pertinent to sentencing.

21                 THE COURT:    You know, I was going to ask you about

22       that.

23                 MR. FICK:    So we're not --

24                 THE COURT:    So I haven't yet --

25                 MR. FICK:    Right.




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 1                 THE COURT:    -- ruled on that, I believe, and I was

 2       going to ask you precisely that question.

 3                 So let me just at least at this point say I've ruled

 4       on the motion to dismiss for multiplicity, for failure to state

 5       a claim; I've ruled on the motion to compel and the motion

 6       involving venue.

 7                 The one outstanding thing is that motion to quash.         So

 8       I'll -- can I get to that later?          I don't think that's critical

 9       right now.

10                 MR. FICK:    Of course, of course, we have plenty of

11       time until sentencing, your Honor.

12                 THE COURT:    Okay.     Okay.

13                 MR. FICK:    I just want to be clear we're not waiving

14       that today.

15                 THE COURT:    I get that.       Thank you.

16                 MR. FICK:    Thank you.

17                 THE COURT:    Other than that one issue Mr. Fick just

18       raised do you understand that you're waiving all those issues

19       that were presented to me?

20                 THE DEFENDANT:     I understand, yes.

21                 THE COURT:    All right.    And I want to go through the

22       very important rights that you're giving up by pleading guilty,

23       and let me start since your Criminal History Category I, which

24       means you haven't got any -- probably don't have any felony

25       convictions on your record.




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 1                 Do you understand you're giving up the right to a jury

 2       trial -- excuse me -- that -- that a felony conviction will

 3       deprive you of certain important rights, such as the right to

 4       vote, the right to hold public office, the right to serve on

 5       juries, and the right to possess a firearm and -- so many

 6       collateral consequences, I couldn't outline them here now

 7       having to do with licensing and that sort of thing.

 8                 Do you understand it will have that collateral

 9       consequence?

10                 THE DEFENDANT:     Yes.

11                 THE COURT:    And similarly, do you understand that by

12       pleading guilty you're giving up some very important

13       constitutional rights; for example, you have a right to

14       representation by counsel at each and every stage of the

15       proceeding; do you understand that?

16                 THE DEFENDANT:     Yes.

17                 THE COURT:    If you could not afford Mr. Fick or

18       somebody else, I could appoint counsel for you.

19                 Do you understand that?

20                 THE DEFENDANT:     Yes.

21                 THE COURT:    Do you understand that you would be

22       entitled to a jury trial, which means 12 people chosen at

23       random from the community, 12 citizens would have to decide

24       you're guilty beyond a reasonable doubt before you could be

25       convicted?




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 1                 THE DEFENDANT:     Yes.

 2                 THE COURT:    Do you understand that proof beyond a

 3       reasonable doubt's a very high standard and the government

 4       always bears it; do you understand that?

 5                 THE DEFENDANT:     I do.

 6                 THE COURT:    The one -- the one area that is a little

 7       bit of a lower standard is venue, and that would be by a

 8       preponderance, and you're giving up the right to force the

 9       government to prove venue.

10                 Do you understand that?

11                 THE DEFENDANT:     Yes.

12                 THE COURT:    Do you understand that the jury verdict

13       has to be unanimous?

14                 THE DEFENDANT:     Yes.

15                 THE COURT:    Do you understand that you would have the

16       right to cross-examine the government's witnesses; and as you

17       just heard, your attorney's subpoenaed some people and has a

18       right to subpoena people; do you understand that?

19                 THE DEFENDANT:     Yes.

20                 THE COURT:    And you're giving up the right not only to

21       cross-examine the government's witnesses, but to present your

22       own; do you understand that?

23                 THE DEFENDANT:     Yes.

24                 THE COURT:    And do you understand you have the

25       privilege against self-incrimination, which means you can't be




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 1       forced to testify against yourself?

 2                 THE DEFENDANT:     I understand.

 3                 THE COURT:    And -- but if you wanted to, you could

 4       testify on your own behalf; do you understand that?

 5                 THE DEFENDANT:     I do.

 6                 THE COURT:    And present evidence which you have no

 7       requirement to do so; do you understand that?

 8                 THE DEFENDANT:     Yes.

 9                 THE COURT:    All right.    And understanding all these

10       very important rights do you still want to plead guilty?

11                 THE DEFENDANT:     I do.

12                 THE COURT:    Okay.     Now, I'm going to ask the

13       government to state the evidence that you would introduce at

14       trial.

15                 Now, there's -- there's still a codefendant,

16       Mr. Harville, so to some extent some of these counts overlap

17       with his, but some don't.

18                 So should we go count by count, and I should take the

19       plea, or are you going to do it all at once, Mr. Kosto?

20                 What makes the most sense because it's a very long

21       indictment?

22                 MR. KOSTO:    Your Honor, I'd propose to describe

23       the -- the facts that apply most generally to the conspiracy

24       Count One, and then pick up any remaining facts as to the

25       substantive counts in that single description.




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 1                 THE COURT:    Thank you.

 2                 MR. KOSTO:    May I proceed?

 3                 THE COURT:    Yes.

 4                 MR. KOSTO:    And I apologize, your Honor, I forgot to

 5       mention with respect to the statutory -- statutory maximums.

 6       There would be a $900 special assessment that the Court is

 7       inquire -- required to impose.       I apologize for leaving that

 8       out.

 9                 THE COURT:    Thank you.

10                 And while you're on it, that's a good comeback.          Has

11       there been any discussion of the amount of restitution to this?

12                 MR. KOSTO:    We should have more to say about that at

13       sentencing, your Honor.

14                 THE COURT:    So there has been no agreement -- that

15       might be -- in other words, that might take a longer time?

16                 MR. KOSTO:    I don't believe it will -- it should

17       require any additional time.

18                 THE COURT:    All right.    Well, it's not essential right

19       now, but right now we don't know what that number would look

20       like?

21                 MR. KOSTO:    I think that's correct, your Honor.

22                 THE COURT:    Have you talked that over, sir, Mr. Fick,

23       with Mr. Baugh?

24                 MR. FICK:    I mean, we've talked about it in general

25       terms.   There's also a civil case by the -- the -- the -- the




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 1       affected parties out there against Mr. Baugh and others.           So

 2       we've talked about these issues.       So he understands there's

 3       uncertainty with regard to those issues.

 4                 THE COURT:    Okay.     Thank you very much.

 5                 All right.    I'm sorry to interrupt.      Go ahead, sir.

 6                 MR. KOSTO:    Thank you, your Honor.

 7                 Had the case proceeded to trial, the United States

 8       would have proven beyond a reasonable doubt each of elements of

 9       the five charged offenses, through and among other evidence,

10       witness testimony, including the testimony of witnesses

11       cooperating with the government's investigation; physical

12       evidence; electronic communications, including those to the

13       victims, between and among the coconspirators, and to and from

14       third parties, as well as the use of business records.

15                 And what that evidence would show, the government

16       submits beyond a reasonable doubt, is that between

17       approximately August 5, 2019, and August 23, 2019, the

18       defendant, Mr. Baugh, and several coconspirators, all whom

19       worked at eBay, Inc., the multinational e-commerce company,

20       agreed to engage in a harassment campaign that targeted a

21       husband and wife who lived in Natick, Massachusetts.          They're

22       described in the indictment as Victim 1 and Victim 2.

23                 The coconspirators included Mr. Baugh, who was then

24       eBay's senior director of safety and security --

25                 THE COURT:    Can I step you right then --




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 1                 MR. KOSTO:    Yes, your Honor.

 2                 THE COURT:    -- because it just occurred to me, I want

 3       to make sure since this is a critical stage in the proceedings,

 4       they've been -- I assume the two of them have been notified of

 5       these proceedings?

 6                 MR. KOSTO:    And I have seen the -- I'm aware that the

 7       victims both planned to attend, and I see at least a connection

 8       from one of them on the Zoom, and I assume they're together.

 9                 THE COURT:    Okay.     I should have asked -- I should

10       have asked that earlier.      I'm sorry.    I interrupted.    Go ahead.

11                 MR. KOSTO:    No, thank you for clarifying.        And, yes,

12       they are aware of the proceeding, and I believe they're both in

13       attendance today.

14                 I mentioned Mr. Baugh, who was the senior director of

15       safety and security at eBay; Stephanie Popp, a coconspirator,

16       who was eBay's senior manager of global intelligence; David

17       Harville, Mr. Baugh's codefendant, who was eBay's director of

18       global resiliency; Brian Gilbert and Philip Cooke, two retired

19       San Jose, California, police captains, who worked on eBay's

20       global security team; Stephanie Stockwell, an eBay intelligence

21       analyst, who managed eBay's Global Intelligence Center, which I

22       may refer to as the GIC; and Veronica Zea, an eBay contractor

23       who was assigned to the GIC.

24                 The campaign, your Honor, targeted Victims 1 and 2 for

25       their roles in publishing a newsletter that reported on issues




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 1       of interest to eBay sellers.      Senior executives at eBay were

 2       frustrated with the newsletter's tone and content, and with the

 3       tone and content of comments that appeared underneath the

 4       newsletter's articles online.       The harassment campaign arose

 5       from communications between those senior executives and

 6       Mr. Baugh, who was at that time eBay's senior security

 7       employee.

 8                   The campaign, which was intended to intimidate and

 9       harass the victims, was, of course, a conduct that included,

10       first, sending threatening messages and communications to the

11       victims over Twitter, which was an instrumental --

12       instrumentality of interstate commerce.

13                   Second, ordering unwarranted and disturbing deliveries

14       to the victims' home.

15                   And third, Zea, Harville, Mr. Baugh, and Popps [sic]

16       traveled to Natick to surveil the victims in their home and

17       community.    The deliveries ordered to the victims's homes

18       included a book on surviving the death of a spouse, a bloody

19       pig mask, a fetal pig, a funeral wreath, and live insects.         The

20       harassment also featured Craigslist posts that invited the

21       public for sexual encounters or estate sales at the victims's

22       home.

23                   The threatening Twitter messages were written to

24       Victim 1 and sometimes addressed to Victim 2 by name as if they

25       had been sent by eBay sellers who were unhappy with the




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 1       victims's coverage of eBay in the newsletter.         Some of these

 2       messages posted the victims's addresses publicly on the

 3       Internet, a concept known as doxing, and threatened to visit

 4       the victims at their home.

 5                   An August 29th -- an August 22, 2019, message stated,

 6       for example, At newsletter 20 years of lies and destroying

 7       families.    Don't be proud of that you worthless bitch.           I will

 8       destroy your family and business too.        See how you like it.

 9                   Another involved the author of one post asking another

10       when the two were going to visit Victim 1 in Natick.

11                   Mr. Baugh intended for the harassment and intimidation

12       to distract the victims from publishing the newsletter, to

13       change the newsletter's coverage of eBay, and ultimately to

14       enable eBay to contact the victims to offer assistance with the

15       harassment, what the government has called a "White Knight

16       Strategy."    The White Knight Strategy would earn goodwill with

17       the victims such that they might help eBay learn the identity

18       of Phytomaster, an anonymous online persona who frequently

19       posted negative comments about eBay underneath the newsletter's

20       articles and thereby allow eBay to discredit both Phytomaster

21       and the victims.

22                   Mr. Baugh, Harville, Zea, and -- and Ms. Zea also flew

23       to Boston and then drove immediately to Natick on August 15,

24       2019.   Mr. Baugh and Mr. Harville intended to install a GPS

25       tracking device on the victim's car, but it was safely locked




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 1       in their garage at the time.

 2                 The victims spotted the surveillance team on

 3       August 16th, which led them to call the Natick Police

 4       Department -- which I'll refer to as the NPD -- in fear.           Zea

 5       and Mr. Baugh and Ms. Popp, who arrived to replace Mr. Harville

 6       on August 17th, continued that surveillance even after having

 7       been spotted by the victims.

 8                 The NPD which began investigating the deliveries, the

 9       threats and the surveillance connected Ms. Zea and Mr. Harville

10       to two rented cars and then to eBay.        The NPD reached out to

11       the company for assistance; and when Mr. Baugh learned that the

12       NPD was making inquiries, he and his coconspirators took steps

13       to prevent the NPD from learning about eBay's involvement in

14       the harassment campaign.      This included sending Brian Gilbert,

15       one of the retired police captains, to a meeting with the NPD

16       at which Mr. Gilbert made false statements about Zea and

17       Harville's and eBay's involvement.

18                 Mr. Baugh and several of his coconspirators also made

19       false statements to internal investigators at eBay who they

20       knew were attempting to respond to the NPD's request for

21       information and assistance.

22                 Mr. Baugh and other coconspirators also deleted

23       digital evidence related to the cyberstalking campaign and

24       falsified records intended to throw the NPD off the trail.

25                 As these events were unfolding, the NPD referred the




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 1       victims's harassment matter to the FBI for investigation in

 2       late August of 2019.

 3                 On or about the dates below, Mr. Baugh took the

 4       following additional steps in furtherance of the conspiracy

 5       charged in Count One of the indictment or in an attempt to

 6       obstruct the investigation into it.

 7                 And with respect to the Counts Two and Three, the

 8       interstate travel in furtherance of stalking, the evidence

 9       would show that on August 15, 2019, Mr. Baugh flew interstate

10       from California to Boston with Ms. Zea; and that upon arrival

11       at Logan Airport, the pair met up with Mr. Harville, rented

12       cars and drove out to the victims's residence in Natick in that

13       unsuccessful attempt to install a GPS device on the victim's

14       car.

15                 With respect to Counts Six and Seven, the use of the

16       instrumentalities of interstate commerce in furtherance of

17       stalking, the evidence would show that on August 5, 2021,

18       Mr. Baugh convened a meeting at the GIC at eBay's corporate

19       headquarters with Stephanie Stockwell, Veronica Zea, Stephanie

20       Popp and others.     He directed them to brainstorm the harassing

21       packages that could be sent to the victims's residence.            This

22       meeting led to the delivery of the harassing packages that I

23       described a moment ago.

24                 On or about August 6, 2019, Mr. Baugh convened a

25       second meeting among himself, Mr. Gilbert, Ms. Popp, and




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 1       Mr. Cooke.    In that meeting, Mr. Baugh and those in attendance

 2       planned the online harassment that would lead to the White

 3       Knight Strategy that I described a moment ago, and that led to

 4       the delivery of those harassing and threatening communications

 5       that I described a moment ago.

 6                 In Natick, during the course of surveilling Victim 1

 7       and Victim 2, Mr. Baugh dialed into a telephone conference line

 8       and used that facility of interstate commerce to communicate

 9       with other members of the surveillance team in part to monitor

10       any police activity that might compromise the surveillance

11       team.

12                 Mr. Baugh also used WhatsApp in a facility of

13       interstate commerce to communicate with his coconspirators

14       about the surveillance and about the content of the harassing

15       messages that would be sent to Victims 1 and 2.

16                 As to Count Ten, the first of the witness tampering

17       counts, your Honor, on August 21, 2019, at approximately

18       9:34 a.m. at Boston's Ritz Carlton Hotel the evidence would

19       show that with the intent to prevent NPD Detective Jason

20       Sutherland from speaking with Ms. Zea, Mr. Baugh falsely told

21       the detective that Ms. Zea was his wife.        Mr. Baugh also stated

22       that Ms. Zea didn't want to speak with the detective; and

23       within 10 minutes Mr. Baugh took -- took Ms. Zea away from the

24       Ritz Carlton where the police were looking to speak with her to

25       another Boston area hotel.




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 1                  As to Count Eleven, a second obstruction count, your

 2       Honor.   By August 22, 2019, and thereafter, Mr. Baugh engaged

 3       in misleading conduct, including making false statements and

 4       statements that omitted certain material facts to eBay

 5       investigators, including eBay corporate counsel, internal

 6       counsel.

 7                  The statements which Mr. Baugh made to keep eBay and

 8       the NPD from learning about eBay's role in the campaign

 9       included that Mr. Baugh's team was not responsible for sending

10       harassing deliveries or messages to the victims; that his team

11       had been to Natick to investigate threats to the victims and

12       that Mr. Harville had gone to Boston to attend a conference.

13                  As to Count Three, the first of the falsification

14       counts, your Honor, the evidence would show that on August 21,

15       2019, Mr. Baugh learned from Brian Gilbert, who had attended

16       the meeting with the NPD, that the NPD was looking into the use

17       of a prepaid debit card in the San Jose, California, area to

18       purchase one of the harassing deliveries.

19                  Veronica Zea, one of the coconspirators, had, in fact,

20       made that purchase using that prepaid debit card, but Mr. Baugh

21       directed a subordinate, Stephanie Stockwell, to assemble a list

22       of eBay, quote, persons of interest in the Bay area that could

23       be used to throw the NPD off the trail of Ms. Zea as a suspect,

24       and that persons of interest list did not include Ms. Zea's

25       name.




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 1                  As to Count Fourteen, a second falsification and

 2       destruction count, your Honor, on or about August 26, 2019,

 3       there was a meeting at eBay headquarters among Mr. Baugh and

 4       his coconspirators, and during that meeting Mr. Baugh directed

 5       the group to delete their WhatsApp and electronic messages

 6       concerning the trip to Boston and the harassment of the

 7       victims.

 8                  Together, your Honor, those facts, the government

 9       respectfully submits, would provide the Court an adequate

10       factual basis to accept a plea as to each of the charged

11       offenses in the indictment, specifically Count One, Counts Two

12       and Three, Counts Six and Seven, Counts Ten and Eleven, and

13       Counts Thirteen and Fourteen.

14                  THE COURT:   Thank you.

15                  Mr. Baugh, do you disagree with any of those facts?

16                  THE DEFENDANT:    I do not.

17                  THE COURT:   So do you happen to have the indictment in

18       front of you?

19                  THE DEFENDANT:    I have it on my computer.      I can pull

20       that up.

21                  THE COURT:   Well -- well, here's the thing.       I'm not

22       going to read the entire indictment, we'd be here for the rest

23       of the day, but I am going to read the counts, and I didn't

24       know if you wanted, because I'm going to ask you to plead one

25       by one, and it's not essential that you have them, but




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 1       sometimes it's easier to read along rather than just listen,

 2       so...

 3                 THE DEFENDANT:     I have it up now.

 4                 THE COURT:    Okay.     Great.   So I'm starting with Count

 5       One, sir, which is conspiracy to commit stalking through travel

 6       and through facilities of interstate commerce in violation of

 7       18 U.S.C. Section 371 -- I think it's on page 14.

 8                 Do you have that up?

 9                 THE DEFENDANT:     I do.

10                 THE COURT:    Okay.     So do you plead guilty knowingly,

11       freely, and voluntarily to Count One, that is, from on or about

12       August 5, 2019, through at least September 6, 2019, in the

13       District of Massachusetts and elsewhere that you, Jim Baugh,

14       together with David Harville, conspired with each other and

15       with others known and unknown to the grand jury, to commit

16       offenses against the United States, to wit:         a. stalking

17       through interstate travel, that is, to travel in interstate

18       commerce with the intent to harass, intimidate, and place under

19       surveillance with intent to harass and intimidate another

20       person, and in the course of, and as a result of, such travel,

21       engage in conduct that caused, attempted to cause, and would be

22       reasonably be expected to cause substantial emotional distress

23       to a person, that is Victims 1 and 2, in violation of 18 U.S.C.

24       Section 2261(A)(1)(B); and plead guilty to b. stalking through

25       facilities of interstate commerce, that is, with the intent to




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 1       harass, intimidate, and place under surveillance with intent to

 2       harass and intimidate another person, use the mail, any

 3       interactive computer service, electronic communication service,

 4       electronic communication system of interstate commerce, and any

 5       other facility of interstate and foreign commerce to engage in

 6       a course of conduct that caused, attempted to cause, and would

 7       be reasonably expected to cause substantial emotional distress

 8       to a person, specifically, Victims 1 and 2, in violation of

 9       18 U.S. Code Section 2261(A)(2)(B).        All in violation of

10       18 U.S.C. Section 371.

11                 Do you plead guilty knowingly, freely, and voluntary

12       to Count One?

13                 THE DEFENDANT:     I do.

14                 THE COURT:    Count Two and Three, I suppose.       Yes,

15       because it involves the two separate victims.

16                 From -- do you plead guilty to Counts Two and Three

17       that from on or about August 15, 2019, through on or about

18       August 23, 2019, in the District of Massachusetts and elsewhere

19       that you did travel in interstate commerce with intent to

20       harass, intimidate, and place under surveillance with intent to

21       harass and intimidate another person, and in the course of, and

22       as a result of, such travel engaged in conduct that caused,

23       attempted to cause, and would be reasonably expected to cause

24       substantial emotional distress to the persons described below:

25       Count Two, Victim 1; Count Three, Victim 2, in violation of




                                    R287
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 1       18 U.S.C. Section 2261A(1)(B) and 2.

 2                  Do you plead guilty knowingly, freely, and voluntarily

 3       to Counts Two and Three?

 4                  THE DEFENDANT:    Yes.

 5                  THE COURT:   Now, we're moving on to Counts, I believe,

 6       Six and Seven.

 7                  Do you plead guilty -- and again it involves the two

 8       victims.

 9                  Do you plead guilty from on or about August 5, 2019,

10       through on or about August 23, 2019, in the District of

11       Massachusetts and elsewhere that you did with intent to harass,

12       intimidate, and place under surveillance with the intent to

13       harass and intimidate another person, use the mail, an

14       interactive computer service, electronic communication service,

15       electronic communication system of interstate commerce, and

16       other facilities of interstate commerce to engage in a course

17       of conduct that caused, attempted to cause, and would be

18       reasonably expected to cause substantial emotional distress to

19       the persons described below:        Count Six, Victim 1; Count Seven,

20       Victim 2, in violation of 18 U.S.C. Section 2261A(2)(B) and 2.

21                  Do you plead guilty knowingly, freely, and voluntarily

22       to Six and Seven?

23                  THE DEFENDANT:    Yes.

24                  THE COURT:   I guess we can go up to Counts Ten and

25       Eleven, the witness tampering and aiding and abetting.




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 1                 Do you plead guilty from on or about August 20th

 2       through on or about August 30, 2019, in the District of

 3       Massachusetts and elsewhere that you, the defendant, did

 4       knowingly engage in misleading conduct toward the persons

 5       described below, with intent to hinder, delay, and prevent the

 6       communication to a law enforcement officer of the United States

 7       of information relating to the commission and possible

 8       commission of a federal offense, that is, the conspiracy

 9       described in Count One of the indictment; and that the object

10       of the misleading conduct in Count Ten was the Natick Police

11       Department detective; and with respect to Count Eleven was the

12       eBay internal investigator, all in violation of 18 U.S.C.

13       Section 1512(b)(3) and 2.

14                 Do you plead guilty knowingly, freely, and

15       voluntarily?

16                 THE DEFENDANT:     Yes.

17                 THE COURT:    And, finally, with respect to Counts

18       Thirteen and Fourteen.      Do you plead guilty to on or about the

19       dates set forth below in the District of Massachusetts and

20       elsewhere that you did knowingly alter, destroy, conceal and

21       falsify the records, documents, and tangible objects below with

22       the intent to impede, obstruct, and influence the investigation

23       and proper administration of a matter within the jurisdiction

24       of any department and agency of the United States, that is, the

25       conspiracy charged in Count One of the indictment.          Count




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 1       Thirteen, the date was August 21, 2019, the Bay area -- POI is

 2       persons of interest, I assume; is that right?         Do I have that

 3       right?

 4                 THE DEFENDANT:     You do.

 5                 THE COURT:    Okay.     August 2019 docx; and Count

 6       Fourteen, August 26th to the 30th, records on eBay issued-cell

 7       phone, all in violation of 18 U.S.C. Section 1519 and 2, do you

 8       plead guilty knowingly, freely, and voluntarily?

 9                 THE DEFENDANT:     Yes.

10                 THE COURT:    All right.     I think that's it.    I'm about

11       to accept this plea.

12                 Would you like to discuss anything with your attorney

13       or me first?

14                 THE DEFENDANT:     Not at this time, no.

15                 THE COURT:    Okay.     I find the plea is knowing and -- I

16       find you're competent and capable of entering into an informed

17       plea, and that the plea is knowing and voluntary concerning

18       each of the essential elements of the offense, and I accept it.

19                 What is the date of sentencing?       Maryellen, have you

20       already worked that out?

21                 THE CLERK:    I did, Judge, yes.     We gave them

22       September -- hold on.     I think it was the 29th.      29th at 2:30.

23       September 29th at 2:30; is that okay?

24                 THE COURT:    Well, so far, yes.

25                 MR. FICK:    Yes, your Honor, thank you.




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 1                  THE COURT:   As I understand it, I heard from probation

 2       that there are no problems with the meeting the conditions of

 3       release; is that correct?

 4                  MR. FICK:    That's correct, your Honor.

 5                  MR. KOSTO:   That is, your Honor.

 6                  THE COURT:   So I just put you -- I just maintain those

 7       same correct conditions and leave you out on bail until that

 8       period of time.

 9                  Is there -- so now there are a few other things that I

10       think we need to talk about.

11                  One is recently I've had a number of these hearings

12       where restitution is then put off for another 90 days, and that

13       sort of prolongs things.      So I would encourage you to either

14       discuss this beforehand, and we'll combine a restitution

15       hearing with a sentencing hearing, as you said, Mr. Fick, that

16       there may be one contest with respect to the guideline ranges,

17       but ideally speaking, you would together at your sentencing

18       memo put together a restitution memo if it's not agreed upon.

19       So that would be very helpful just to get this moving.

20                  The second thing is, Mr. Fick, I brought up the one

21       question I had in mind, which is we were pretty close to

22       issuing an opinion, and we weren't sure whether or not it was

23       moot or not.    You are still looking for some of this

24       information, I take it, for the sentencing hearing; is that

25       correct?




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 1                 MR. FICK:    That's correct, your Honor.

 2                 THE COURT:    All right.    So we will be issuing

 3       something.

 4                 Do you know, Mr. Kosto, whether or not Mr. Harville

 5       has -- oh, see, that's not such a big rush shall I say.            That's

 6       easily -- I can get that out by then.        The concern I have is do

 7       you know whether Mr. Harville -- we couldn't find whether for

 8       sure he joined in on that or not.

 9                 MR. KOSTO:    Sorry, on the --

10                 THE COURT:    It was Mr. -- it was Mr. Baugh's --

11       Baugh's motion.

12                 MR. KOSTO:    The motion -- the motion for the Rule 7 --

13       the Rule 17 subpoenas or the motion for additional information

14       regarding Mr. -- Mr. Baugh's past --

15                 THE COURT:    I've already ruled on the motion to

16       compel.   You've received that, but I'm worried --

17                 MR. KOSTO:    Yes.

18                 THE COURT:    -- right now about the 17(c) subpoena

19       because we still have a trial date.

20                 When's Mr. Harville's trial?

21                 MR. KOSTO:    May 31, your Honor.

22                 THE COURT:    May 31, and that's still going forward,

23       right, as far as you know?

24                 MR. KOSTO:    As far as I know, your Honor.

25                 THE COURT:    Okay.     So I may have to get that out.      I




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 1       don't know whether he has joined in that so...

 2                   MR. KOSTO:   I believe he did join in Mr. Fick's

 3       motion.

 4                   I see Mr. Gelb on camera now.     I'm sure he would be

 5       happy to speak to it, your Honor.        He represents Mr. Harville.

 6                   THE COURT:   Hello, Mr. Gelb.

 7                   MR. GELB:    Good morning, your Honor.

 8                   THE COURT:   Good morning.

 9                   MR. GELB:    Good morning.   We -- we had joined in on it

10       orally, your Honor.

11                   THE COURT:   Oh, you did orally.    Okay.   I just -- I

12       just wasn't sure where we were all left with that motion.          So

13       we will get something out with that.

14                   And, Mr. Gelb, is that likely to be a trial at this

15       point?

16                   MR. GELB:    Nothing is -- no status has changed as of

17       our position at this point, your Honor.

18                   THE COURT:   Okay.     So, I just have a case backed up

19       behind you.    So I just want to let them know fairly what's

20       going on.    So, I'm sure we'll be in touch, but right now that

21       17(c) subpoena's still very much alive you're telling me?

22                   MR. GELB:    We -- it is, your Honor, relative to --

23       we're not waiving that issue as well.

24                   THE COURT:   Okay.     Was there anything else that needed

25       to be discussed at this point?




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 1                   MR. KOSTO:   Not from the government, your Honor.

 2       Thank you.

 3                   THE COURT:   All right.

 4                   MR. FICK:    I don't believe so, your Honor.     Thank you.

 5                   THE COURT:   All right.    Thank you.

 6                   So we have finished this hearing at this point, and

 7       we'll see you in September.        I guess that's it right now.

 8                   THE CLERK:   Judge, Mr. -- Mr. Gelb's case,

 9       Mr. Harville, they have a pretrial conference scheduled for

10       Thursday, May 19th, at 2:30.       That's --

11                   THE COURT:   So that's really helpful.     I'm on trial in

12       the morning so it has to be in the afternoon, but -- so we'll

13       hold it then.    And I guess I did say -- I forgot one key thing,

14       do you want sentencing in person?

15                   MR. FICK:    Yes, your Honor, I mean, our intention at

16       this time absent some dramatic change and circumstance would be

17       to do the sentencing in person.

18                   THE COURT:   I -- I like that actually.     I prefer that.

19                   MR. FICK:    Yes.

20                   THE COURT:   I think -- so -- and also to make sure

21       that the victims know.      You say they're on the phone or some

22       are on the phone as to whether or not they want to say

23       anything.

24                   MR. KOSTO:   The victims intend to speak at sentencing.

25       They prefer the sentencing to take place in person, and the




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 1       government does as well.

 2                 THE COURT:    Yes, I think we're all on the same page

 3       there.   It's much easier.      This feels -- you know, I just see a

 4       little tiny box with Mr. Baugh in it, so I prefer to -- it

 5       feels more -- I feel like I'm more connected to what's going on

 6       when we're all in person.       So unless somebody has a major COVID

 7       outbreak, that's what I plan to do.

 8                 Thank you.

 9                 MR. FICK:    Thank you, your Honor.

10                 THE COURT:    Okay.     Thank you.   And we'll be seeing you

11       soon, Mr. Gelb.

12                 MR. GELB:    Thank you, your Honor.

13                 MR. KOSTO:    Thank you, your Honor.

14                 THE COURT:    All right.    We'll stand in recess.       Thank

15       you.

16                 THE CLERK:    Thank you, everybody.

17                 THE COURT:    And I accept the plea.      Thank you.

18                 THE CLERK:    Thanks.

19                 (At 11:21 a.m., court was adjourned.)

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 1                               C E R T I F I C A T E

 2

 3                       I, Marianne Kusa-Ryll, RDR, CRR, do hereby

 4       certify that the foregoing transcript is a true and accurate

 5       transcription of my stenographic notes before the Honorable

 6       Patti B. Saris, to the best of my skill, knowledge, and

 7       ability.

 8

 9

10             /s/ Marianne Kusa-Ryll                             05-09-22

11             Marianne Kusa-Ryll, RDR, CRR                       Date

12             Official Court Reporter

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 1                        UNITED STATES DISTRICT COURT
 2                          DISTRICT OF MASSACHUSETTS
 3    _______________________________
 4    UNITED STATES OF AMERICA,
 5                          Plaintiff,           Criminal Action
                                                 No. 20-cr-10126-ADB-1
 6    v.
                                                 July 27, 2021
 7    PHILIP COOKE,
                         Defendant.              Pages 1 to 58
 8    _______________________________
 9

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11

12                     TRANSCRIPT OF SENTENCING HEARING
                   BEFORE THE HONORABLE ALLISON D. BURROUGHS
13                       UNITED STATES DISTRICT COURT
                       JOHN J. MOAKLEY U.S. COURTHOUSE
14                            ONE COURTHOUSE WAY
                         BOSTON, MASSACHUSETTS 02210
15

16

17

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20
                             JOAN M. DALY, RMR, CRR
21                           Official Court Reporter
                         John J. Moakley U.S. Courthouse
22                         One Courthouse Way, Room 5507
                           Boston, Massachusetts 02210
23                            joanmdaly62@gmail.com
24

25




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 1                            P R O C E E D I N G S
 2                   (The following proceedings were held in open
 3    court before the Honorable Allison D. Burroughs, United
 4    States District Judge, United States District Court, District
 5    of Massachusetts, One Courthouse Way, Boston, Massachusetts,
 6    on July 27, 2021.
 7               The defendant, Philip Cooke, is present with
 8    counsel. The Assistant U.S. Attorney is present.)
 9               THE CLERK: Court is in session. Please be seated.
10    This is criminal matter 20-10126. United States versus
11    Philip Cooke. Will counsel identify themselves for the
12    record.
13               MR. KOSTA: Good morning, Your Honor. Assistant
14    United States Attorney Seth Kosta on behalf of the
15    government.
16               MS. WINKLER: Good morning, Your Honor. Susan
17    Winkler for defendant Phil Cooke who is at counsel table with
18    me.
19               THE COURT: Good to see you both, Mr. Cooke. Just
20    a preliminary announcement or reminder. If you're
21    vaccinated, you can be in here with no mask. If you're not
22    vaccinated, you need to have a mask on. If you are
23    vaccinated and you want to wear a mask anyway, that's fine.
24    I don't care. But if you're not vaccinated, you need a mask.
25               We are here for Mr. Cooke's sentencing. In



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 1    preparation for the sentencing, I have received and read the
 2    following: Presentence report revised on July 20; the
 3    defendant's sentencing memorandum filed on July 20; the
 4    government's sentencing memorandum filed on July 22. There
 5    are 11 letters on behalf of the defendant, two victim impact
 6    statements, and I have the transcript from the Ogden
 7    sentencing sentencing which I think was provided by the
 8    government, but I'm not sure. Does anybody think there's
 9    anything else that I should have been considering?
10               THE PROBATION OFFICER: Not from probation, Your
11    Honor.
12               MR. KOSTA: No, Your Honor. Both victims are here
13    today and they would like to speak to the Court at the
14    appropriate time.
15               THE COURT: That's fine. I've read their
16    statements. If you want to additionally speak, that's fine
17    with me.
18               MS. WINKLER: Nothing further, Your Honor.
19               THE COURT: Ms. Winkler, as long as I have
20    probation, I take it nothing has about withheld from the
21    report?
22               THE PROBATION OFFICER: No, Your Honor.
23               THE COURT: Ms. Winkler, have you had an
24    opportunity to review the presentence report?
25               MS. WINKLER: Yes, Your Honor.



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 1               THE COURT: Have you gone over it with your client?
 2               MS. WINKLER: I have, Your Honor.
 3               THE COURT: Mr. Cooke, have you had an opportunity
 4    to review the presentence report?
 5               MS. WINKLER: Yes, Your Honor.
 6               THE COURT: If you guys want to stand up and sit
 7    down, that's absolutely fine. If you want to remain seated,
 8    that is also absolutely fine. Mr. Cooke, have you had an
 9    opportunity to go over it with your counsel?
10               THE DEFENDANT: Yes, Your Honor.
11               THE COURT: There are no objections on the part of
12    the government. There are 11 objections on the part of the
13    defendant, most of which I think don't need to be resolved.
14    So let me just run through them quickly. The first one were
15    a series of corrections that have been made by probation. 2,
16    3, 4, and 5, 6, are all things that I have noted but they
17    don't actually change the calculation. Let me just double
18    check that to see if one of them does.
19               MS. WINKLER: Your Honor, I believe it's 2 through
20    8 that are for information for you only.
21               THE COURT: 2, 3, 4, 5, 6, 7, 8. The 9th one is
22    the discussion about the pattern of activity enhancement;
23    that paragraph 10 reflects the changes that would come about
24    depending on how the pattern of activity enhancement
25    objection is handled. And 11 is just a series of updates



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 1    which I understand.
 2               It seems like the disputed issue is the pattern of
 3    activity enhancement. I have to say I've read the
 4    guidelines. I've read the case law. I've read the
 5    commentary. It is extremely poorly drafted and hard to
 6    understand. What I would like -- I think I understand your
 7    position on this, Ms. Winkler. I'll give you a chance to
 8    speak on it in a moment.
 9               Mr. Kosta, can you describe for me the conviction
10    under the statute that would not bring the enhancement into
11    play?
12               MR. KOSTA: A conviction under 2261A or a
13    conspiracy for it does have it as an element a course of
14    conduct which consists of two or more events.
15               THE COURT: That's my problem.
16               MR. KOSTA: And that's a problem that the First
17    Circuit has spoken to in Fiume. Where the commission wants
18    to permit or not permit double counting, it's not shy about
19    saying so. The fact that there are two other statutes that
20    are also referenced it 2A6.2 that do not include course of
21    conduct. The fact that the commission goes about actually
22    speaking to other instances of double counting in the
23    commentary under 2A6.2 indicates as Fiume and basically holds
24    with respect to one of the other five aggravating factor. I
25    think it was the court order factor. Let's take it from the



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 1    court order factor in Fiume. Fiume involved a conviction for
 2    violating a court order that then went to apply a court order
 3    enhancement two additional levels. The court held that the
 4    fact that the second, there's no situation in which a court
 5    order could be violated under the statute in which it
 6    couldn't be under the guidelines was immaterial because the
 7    commission, one, would have spoken to it. And they regularly
 8    do.
 9               And I'd point the Court to the commentary under
10    application note 4, which we're not dealing with particularly
11    today. This deals with multiple counts and how they're
12    applied. But the commission says that the grouping procedure
13    described in application of 4, I'm on page 81 of the red
14    book, Your Honor, avoids unwarranted double counting with the
15    enhancement in subsection B1E for multiple acts of stalking,
16    threatening, harassing or assaulting the same victim.
17               The idea here being the commission recognizes the
18    potential for double counting has expressly not applied with
19    respect to the pattern of activity. And that's essentially
20    what the court in Fiume held and the fact that Fiume deals
21    with court order and this deals with pattern of activity
22    shouldn't be material to the reasoning.
23               THE COURT: Ms. Winkler?
24               MS. WINKLER: Your Honor, I think a close read of
25    the cases actually suggest the opposite to what Mr. Kosta is



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 1    suggesting. In Lee, the case that is cited by probation, the
 2    offensive conviction was interstate stalking.
 3               THE COURT: Yes.
 4               MS. WINKLER: It was the emails that were a
 5    pattern. So they were add-on.
 6               THE COURT: Right.
 7               MS. WINKLER: They were not the offense. In Fiume,
 8    the court actually notes, they say the commission may have
 9    rationally intended upon or punish a stalking type offense
10    more seriously where it simultaneously involved the violation
11    of court order. I think the First Circuit appreciates the
12    difference between a court order and use of email or
13    interstate communication. There are different levels of
14    crimes set forth in the statute itself.
15               The other cases that are under -- that have
16    addressed this problem in the First Circuit similarly reflect
17    the offense conduct and the pattern are different or they
18    actually refer to like in Sayer, the First Circuit referred
19    to the long term pattern. In Robinson there was a choking
20    and an assault conviction, but it was the letters that the
21    defendant sent when he was incarcerated that became part of
22    the of the pattern. And I think that is --
23               So if you look a little deeper than just the
24    language the First Circuit uses in Fiume, I don't think Fiume
25    controls in this circumstance. They're talking about --



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 1    they're not talking about this kind of situation. Yes, in
 2    the absence of an express prohibition, they're saying
 3    generally the Sentencing Commission speaks to double
 4    counting. In this case the First Circuit has never
 5    addressed, never taken head-on the question of course of
 6    conduct and being two or more instances being the same as, in
 7    this case, more than one electronic communication. And that
 8    then would slide us into the facts, if you want us to go
 9    there yet.
10               THE COURT: I know there are other judges that are
11    going to be sentencing other people in this case. The
12    resolution of this issue I would rather leave to them. I
13    don't think it's particularly material in this sentencing or
14    not, whether or not those two points are added. The plus or
15    minus of those two points is not going to affect what I do
16    mainly because I'm focused on the conduct and not exactly
17    where we come out on the guideline number.
18               Particularly where my understanding from the
19    submissions that the government is going to recommend
20    something in the vicinity of 30 months, which is within the
21    guideline range, certainly under the calculation without the
22    extra two points.
23               So given my view that how this issue was resolved
24    is not going to affect where I ultimately come out on the
25    sentencing. Does it need to be further resolved than that



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 1    because it is not going to affect my sentence. My proposal
 2    is I do the guideline calculation without it but without
 3    actually ruling on the issue. It's a plea. It's a contested
 4    sentencing but it's not a contested sentencing after a trial
 5    where this has the potential to really factor in. I
 6    understand this is taking the easy way out of what I think is
 7    a difficult call. Mr. Kosta?
 8               MR. KOSTA: Your Honor, the government is going to
 9    recommend 30 months incarceration regardless of how the Court
10    rules or does not rule. I do think it's important that
11    factually as Ms. Winkler was saying that the Court recognize
12    the facts that there is harassing conduct here. There is
13    threatening conduct here. There is also stalking conduct in
14    relation to the surveillance that took place while Mr. Cooke
15    was abroad. And we have an express adoption.
16               The short way of this is let's set aside Lee and
17    whether or not it controls. What I think the government's
18    strongest argument is on the factual applicability of the
19    three different types of harassment is by the time that
20    WhatsApp threat sees the light of the world, Mr. Cooke is
21    advised of the fact that there are deliveries, the fact that
22    there's been surveillance, and the fact that the harassing
23    messages that he says he authorized in the August 6 meeting
24    became threatening messages. So we have a --
25               THE COURT: Let me interrupt you. This is a



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 1    reading of the guideline that I don't agree with. I don't
 2    think that the guideline is contemplating -- you could have
 3    charged him with all of those things and maybe dated back to
 4    the language of the indictment. It can't be that you charge
 5    him with one of those things then all of this happened, that
 6    that gives you the enhancement [technical issue] -- doesn't
 7    apply.
 8               MR. KOSTA: We've charged him with conspiracy to do
 9    those things.
10               THE COURT: I think the guideline is focusing on a
11    pattern. It's not focusing on whether they've done one, two,
12    or three of those things I don't think.
13               MR. KOSTA: But that's where the application note
14    one, the example, is very telling. It says a single instance
15    of stalking accompanied by a separate instance of
16    threatening. It contemplates that these things take place
17    simultaneously. It's not one big instance as long as the
18    objective was to harass the victims. That doesn't make it
19    open season for any number of different kinds of stalking
20    without the pattern of activity applying.
21               THE COURT: You're talking about a statute that
22    already requires a pattern. You're not going to be here on
23    something where you have a single instance of stalking.
24               MR. KOSTA: You could be here -- yes. But that
25    takes us right back into the double counting argument which



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 1    Fiume has rejected. I know the Court doesn't want to reach
 2    that issue.
 3               THE COURT: I'm not sure Fiume has rejected that.
 4    The cases like Lee, which is the one I spent the most time
 5    with, she's right when she says there was the crossing the
 6    state lines aspect of it and separate from the actual offense
 7    itself.
 8               MR. KOSTA: The only facts that the court
 9    considered in reaching that pattern of activity enhancement
10    in April of 2012, the Court in its footnote 3 says, We need
11    not reach whether the 2010 conduct was directly or
12    substantially related to the offense of conviction because we
13    find that the series of threatening emails suffices.
14               There was a lot going on in Lee, but the only thing
15    the First Circuit was concerned about was the spring of 2012
16    and the series emails that the defendant sent to the victim.
17    It wasn't even concerned with the phone calls that were made
18    to the mother. It says the pattern of email suffices. What
19    that says to the government at least is that two or more
20    emails suffices, constitutes in the language of the
21    application of two or more separate instances of stalking or
22    harassing or threatening.
23               THE COURT: What's probation's view on this.
24    Pattern review on this?
25               THE PROBATION OFFICER: With regard to the pattern



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 1    I rely on the Court.
 2               THE COURT: Great.
 3               THE PROBATION OFFICER: With regard to accepting or
 4    not accepting that enhancement, I believe the statement of
 5    reasons just says to have a total offense level. And that's
 6    where that may become an issue.
 7               THE COURT: What I would do is duck the issue and
 8    just use the lower guideline calculation without actually
 9    ruling on the objection. I don't want to bind the courts
10    that come after me, as appealing as that may be, to the
11    government. There are other people that will have reason to
12    think about this more deeply than I have reason to think
13    about it right now given what we're fighting over.
14               MR. KOSTA: Candidly, the defendants as to who that
15    guideline will apply are or not apply stand in different
16    shoes than Mr. Cooke. We'd be in a position asking for it
17    anyway.
18               THE COURT: So as I say, it's not -- the resolution
19    of this issue is not going to affect the sentence. I haven't
20    decided the sentence, but when I think about what goes into
21    coming up with a sentence in this case, it is the pattern of
22    activity. It's not whether it actually changes the advisory
23    guideline range. Are you interested in giving up the two
24    points voluntary in this case, Mr. Kosta?
25               MR. KOSTA: No. If the Court is not going to rule.



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 1               THE COURT: Are you content with that?
 2               MS. WINKLER: We are content, Your Honor.
 3               THE COURT: I'll leave it at this for those that
 4    come after me. I don't know the answer to this question. I
 5    don't think it's an easy thing. And I think that the
 6    guidelines are poorly drafted on it. It would lead to double
 7    counting; that the application notes from the case law don't
 8    make clear to me that it's what the guideline commission
 9    contemplated, but I also accept and agree with Mr. Kosta that
10    there are aspects of the sentencing guidelines where double
11    counting is allowed and contemplated, but I'm just not sure
12    this is one of them, and I'm not going to come down with a
13    decision on that given how that issue is resolved is not
14    particularly material to the sentencing that we're going to
15    do today. So that is a punt.
16               I am going to sentence him based on the following
17    advisory guideline sentencing range with the understanding
18    that my focus is on the conduct and not so much on the exact
19    place where the guidelines end up. With the grouping and
20    where I come out with an adjusted base offense level of 19
21    which results in an advisory guideline sentencing range of 30
22    to 37 months given that he has zero criminal history points
23    and is in Criminal History Category I. So again that's 30 to
24    37 months. Supervised release range of one to three years.
25    Do those two points change the guideline?



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 1               THE PROBATION OFFICER: Yes, Your Honor. 10,000 to
 2    $100,000 is the new fine range.
 3               THE COURT: 10,000 to 100,000 under the guideline
 4    fine range. 250,000 under the statute. There's been no
 5    request for restitution made to this point. If you
 6    anticipate that, we can defer on that.
 7               MR. KOSTA: I don't anticipate a restitution
 8    request, Your Honor.
 9               THE COURT: No restitution request and a mandatory
10    special assessment of $200. Are we all in agreement that
11    that's where we are at this moment in time?
12               THE PROBATION OFFICER: Yes, Your Honor.
13               THE COURT: Am I correct?
14               THE PROBATION OFFICER: Yes.
15               THE COURT: Mr. Kosta?
16               MR. KOSTA: With the caveat that we think the
17    proper guidelines calculations is 37 to 46 months but we
18    understand the Court is not deciding that issue and it won't
19    impact the Court's sentence.
20               MS. WINKLER: We agree, Your Honor.
21               THE COURT: Mr. Kosta, I read your sentence
22    memoranda. I'm happy to hear whatever position or argument
23    you want to make.
24               MR. KOSTA: I thought I would not reargue my memo
25    to you.



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 1               THE COURT: You're welcome to. I have read it.
 2               MR. KOSTA: Before I begin, would the Court hear
 3    from the victims?
 4               THE COURT: I am going to hear from the victims,
 5    but I normally do it your recommendation, her recommendation,
 6    then the victims, and then the defendant. If you have some
 7    reason that you want me to do it differently, I can.
 8               MR. KOSTA: I don't feel strongly about it, Your
 9    Honor. You've read their statements.
10               THE COURT: Yes.
11               MR. KOSTA: The memo speaks to the physical and
12    social and psychological impact that this offense had on the
13    victims and is continuing to have on the victims. I'll note
14    that the victims have been very brave and patient through the
15    pandemic even though this conduct predated the pandemic to
16    getting to this point to be able to address you today.
17               As I was thinking about the sentence, though, I
18    realize that every cyberstalking case that I'm familiar with,
19    and I've handled a bunch in the district or supervised ones
20    that come down, has a victim that's grievously mistreated.
21    The Court had the Cardozo matter where a young woman wrote
22    off her experience being sexually assaulted as a 13-year-old.
23    Custus was a case where a woman was stalked by her then
24    boyfriend anonymously. The Lynn case, probably the longest
25    cyberstalking sentence in the courthouse was a woman who



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 1    happened to move into the defendant's home in response to a
 2    Craig's List post. There are other cases. But they all
 3    involve blameless victims.
 4               Usually there's a loan actor, someone who may have
 5    significant issues of his or her own who is responsible for
 6    the harassment, the ex-spouse, the ex-boyfriend, the roommate
 7    in Lynn's case with serious issues. And what happened to the
 8    victims here is obviously serious and unspeakable.
 9               But the fact that so many people came together to
10    accomplish this objective is one of the different and
11    significant facts about this case. Sometimes people think of
12    a conspiracy charge almost as a junior varsity charge,
13    there's just an agreement, there's no completion of the act.
14    The government submits that the conspiracy charge here is
15    appropriate, and it underscores the seriousness of this
16    offense.
17               I think the Court knows that Mr. D'Addio and I
18    teach over at BU, and we taught this term of a Supreme Court
19    case called Ionelli. It goes away back to 1975. It's at 420
20    U.S. 770. I never thought I'd cite it in an argument to the
21    Court, but it talks about partnership in crime and what it is
22    that makes conspiracy a very significant and different
23    offense from the substantive offenses themselves, and it
24    applies almost dead-on to what happened here.
25               The court held that the concerted action, that



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 1    partnership in crime, makes success more likely because
 2    co-conspirators are less likely to walk away from a group.
 3    And we have that in spades in this case.
 4               We have this group of E-bay employees almost
 5    unquestionably backing their bosses and accomplishing what
 6    their view is of what the company wants. We have friends
 7    backing up friends. Mr. Cooke when he finds out all of this
 8    is happened says in his memo he wanted to back up his friend
 9    from the police force, Mr. Gilbert. People are less likely
10    to walk away from a conspiracy that's come together to
11    accomplice a person. That conspiracy in this case allowed
12    for something else that Ionelli talks about which is
13    specialization and complexity.
14               We have this almost like MBA situation here where a
15    group of people come together and they have brainstorming
16    sessions separately about how the harassment is going to
17    work, how the surveillance is going to flow, what packages
18    should be sent to the victims' homes, participants bringing
19    different expertise. Some knowledgeable about how to keep
20    from getting caught on the Internet; some knowledge about the
21    way Twitter and eBay work; some knowledge, as in Mr. Cooke's
22    case, about how law enforcement can be involved in this.
23               The image that keeps coming back to me is this
24    meeting that Mr. Cooke participated in on August 6 at which
25    they set forth the lines of a harassment of the victims in



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 1    this case with an intent to essentially soften her up and
 2    soften her husband up so they could get help to identify
 3    Fidomaster. That's the most benign expression of it. And
 4    they left that meeting, a planning meeting, with the
 5    conclusion that that conclusion was appropriate. And I think
 6    part of that comes from the fact of this specialization,
 7    people bringing different roles to the conspiracy.
 8               You have this group think problem where people get
 9    together and start brainstorming, the ideas get better and
10    better, and what happened to the victims got worse and worse
11    than if it had just been a single individual sitting in a
12    basement fuming about the injustice of what happened in their
13    relationship.
14               The Supreme Court also said in Ionelli that the
15    combination in crime, that partnership in crime, makes more
16    likely the commission of crimes unrelated to the original
17    purpose for which the group was formed which is again even
18    crediting the idea that something more limited was talked
19    about on August 6, it became much much worse as a result of
20    the fact that it was so planned by group thinking.
21               And I think it also allows for a lot of what the
22    Court is hearing in this proceeding about sort of
23    compartmentalization, well, I knew about this, I wasn't aware
24    of that, I approved this kind of message, I had no idea this
25    kind of message would follow. Whether or not the Court



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 1    credits those sort of after-the-fact limitations, that's one
 2    thing that makes this crime difficult to investigate and to
 3    gather around because it was divided into so many different
 4    silos that it allowed a degree of deniability.
 5               And so we're asking the Court to punish this
 6    conspiracy with that significant sentence, that 31 sentence,
 7    because while it was just an agreement, the conspiracy made
 8    this offense worse than if it had just been even a single
 9    disgruntled employee. The fact that seven people got
10    together makes it more serious.
11               I'd also point the Court to the fact that there are
12    really two significant crimes here. You've just mentioned
13    the cyberstalking. Haven't even mentioned the obstruction
14    yet. In the government's view, either would justify a
15    significant jail sentence. The government isn't familiar
16    with a cyberstalking case that doesn't involve a significant
17    jail sentence.
18               The Court sentenced Mr. Cardozo on very serious
19    facts, Mr. Lynn with a whole variety of conduct involved, 17
20    years. He's a bit of an outlier. You don't see a lot of
21    noncustodial cases for cyberstalking alone in this district
22    and elsewhere the government would submit.
23               Combining them adds two points to the guidelines.
24    You have the obstruction object.
25               THE COURT: Yes.



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 1               MR. KOSTA: You have the cyberstalking object.
 2    It's difficult to imagine how taking two serious crimes in
 3    their own right and combining them with a rather small amount
 4    of adjustment given these two crimes would justify the kind
 5    of sentence that Ms. Winkler has requested on Mr. Cooke's
 6    behalf. I think that's particularly true where the defendant
 7    is a former law enforcement officer. I've spoken about that
 8    in our memo. In preparing today I've had the chance to read
 9    the letters and commendations that Ms. Winkler submitted on
10    behalf of Mr. Cooke. And I think it's clear that his friends
11    and family see a great deal of good in him. That's not
12    surprising even with the prosecutors, I think there are acts
13    of bravery and kindness and compassion reflected in those
14    letters. But there's a big "but" there. And for the
15    government it's this: How does the man in those letters, how
16    does the retired captain in the police department in those
17    letters do this to those victims who will address the Court?
18               Mr. Cooke was in incident response, was a SWAT team
19    leader. He was the hostage negotiator for the Santa Clara
20    Police Department. He had 30 years of experience that led
21    him up to that moment where he sat down in a meeting and
22    planned to cyberstalk Victims 1 and 2 to degrees that I can't
23    comprehend. And he had 30 years of experience to do the same
24    with respect to the police investigation that followed. This
25    is an officer who investigated internal affairs matters. He



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 1    knew according to these letters how to investigate a cop that
 2    bent the law or broke the rules. He had all the experience
 3    necessary to make the right decision when the Natick Police
 4    Department came knocking.
 5               It doesn't matter in the government's view if you
 6    go to the FBI academy if you don't put to use what you've
 7    learned there. It doesn't matter in the government's view if
 8    you are the best incident commander for Super Bowl 50 and
 9    handled the incursions in the air space that gets you a
10    commendation from the general who's managing the safety at
11    the event. To get it wrong for a powerless pair of victims
12    in Massachusetts.
13               It wasn't just not standing up. We talk about
14    being an upstander in my household. It wasn't just about not
15    standing up. He piled onto them when it was apparent they
16    were rattled, when it was apparent they were disturbed.
17    Mr. Gilbert says, perfect, they're rattled, time for the next
18    phase. And Mr. Cooke, somewhere else, somewhere in Asia,
19    yes, jumps right in.
20               And the idea that a retired law enforcement officer
21    in that series of letters or two of them would ask the Court
22    to impose a noncustodial sentence in this case is troubling.
23    I'd expect that from friends and family. But that was a
24    little jarring for what the Court's going to do, which is
25    evaluate the totality of his conduct and its seriousness.



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 1               The place I'd end, Your Honor, is just the idea of
 2    general deterrence. The memo already speaks to the idea of
 3    corporations not liking what's said about them in this unique
 4    and absurd situation where negative comments on a website
 5    about a corporation lead to an attack on a journalist who
 6    posts a website where those comments are placed.
 7               There is a different aspect of general deterrence
 8    that the government submits is necessary in light of the
 9    Lynn, Custus, and Cardozo-type cases that are here, and it's
10    the havoc that anyone can create with a keyboard. People
11    write and the people in this case wrote criminal threats and
12    engaged in harassment over the Internet that from thousands
13    of miles away things that the government submits they
14    probably would not do if sitting down across a table in a
15    business meeting with Victim 1 and Victim 2. And there is
16    something there that needs to be deterred.
17               Judge Young was the sentencing judge in the United
18    States versus Lynn, and I'm just going to close with
19    something he said in that sentencing which I think is
20    applicable here. The result isn't the question. Lynn was
21    just an outlier in every way and earned every day of those 17
22    years that he got. Judge Young focused on how interconnected
23    we are as a community, and I think that's what this sentence
24    should reach to. Because what this group of seven people
25    did, what Mr. Cooke did as part of that group was break a



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 1    duty that he owed, whatever his job was, the way that people
 2    should treat each other. Judge Young said, This conduct is
 3    monstrous. We live in a community, reading this entire
 4    record, listening to the victims, listening to the Assistant
 5    Attorneys, listening to your counsel who has done a superb
 6    job on your behalf, not the least the negotiation of the plea
 7    agreement.
 8               He's right to point out all of these crimes
 9    committed were with you sitting behind a commuter. That
10    point is well taken. Yet in today's world, that does not
11    diminish the crimes in any way. In fact, it ought to bring
12    home to all of us how interconnected we are and what havoc
13    can be wreaked by the improper evil criminal conduct in which
14    you so gleefully engaged. I'll grant that you may not have
15    fully appreciated the harm you did to your specific victims
16    and to the community as a whole. In the eyes of this Court
17    that does not diminish the sentence which ought to be
18    imposed.
19               Respectfully, Your Honor, the Court should take
20    into account that breach of the interconnectedness that we
21    owe to each other, and that this group of defendants ran
22    roughshod over the course of this conspiracy. Thank you.
23               THE COURT: Ms. Winkler.
24               MS. WINKLER: With regard to what Mr. Kosta says
25    about conspiracy. There is no question a conspiracy



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 1    dangerous. But in this sentencing we're looking at an
 2    individual and his role in this particular set of activities.
 3    This is an individual who did, while he did participate in
 4    that August 6 meeting, he did not participate in the follow
 5    up meeting that day about deliveries.
 6               He did not participate in the August 14 meeting
 7    about surveillance both of which are detailed in the
 8    indictment against Jim Baugh but are not present in the
 9    information here. And so the question becomes what was
10    reasonably foreseeable to Mr. Cooke when he left that
11    August 6 meeting thinking that he had talked to his
12    co-conspirators out of surveillance and tracking and
13    threatening deliveries and threatening messages.
14               At least as of that day what was reasonably
15    foreseeable to him would be what a reasonable person who knew
16    everything he knew at that time would have been able to know
17    in advance with a fair degree of probability. That comes
18    from U.S. v. Lacroix. It's a First Circuit case from 1994.
19    Here is a situation where being a former police officer hurt
20    Mr. Cooke. Imagine being in a meeting with people talking
21    about doing the kinds of things that Jim Baugh was tossing
22    out as options for harassment of these victims. It's just
23    not logical. None of it makes sense.
24               Supposedly, according to Mr. Baugh, this person
25    named Fidomaster, who he didn't know who he was, had



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 1    threatened Devon Wood and his family, which is of course what
 2    the police officers in the room, Mr. Cooke and Mr. Gilbert,
 3    needed to hear to think that they should be taking steps to
 4    help the executives. That's what they were there for.
 5               That's the kind of lies that Jim Baugh seemed to
 6    tell with a frequent -- whenever necessary for him. For
 7    example, he tells Ms. Popp according to Ms. Popp that
 8    Mr. Gilbert and Mr. Cooke was there to approve the messages.
 9    He never told that to Mr. Cooke or Mr. Popp who, yes, they
10    were there, yes, they saw some of the draft messages, but
11    they didn't understand they were proffers of these Twitter
12    messages. They thought they were there to set some
13    guardrails. You cannot threaten. You have to stop when
14    someone says stop. So there were guardrails they were
15    setting up.
16               They did agree to the harassment with the idea
17    under this white night strategy as the government calls it,
18    that it would soften the victims up so they would identify
19    Fidomaster and so the protection group could help protect,
20    better protect Devon and his family. That was the idea.
21               Now, for him to believe that this group of people
22    who he liked, who he knew and liked as colleagues, and
23    particularly Brian Gilbert, who was his close friend for over
24    25 years, would engage in such dangerous, awful, illegal
25    conduct as they did, whether it was delivering pig heads and



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 1    funeral wreaths, surveillance, role play, sending people to
 2    the door to suggest they had been called there for awful
 3    reasons. That was not something that he could foresee that
 4    it would go so far off the rails, that these people would
 5    engage in that kind of conduct.
 6               So on August 7 Jim Baugh says, stay here, I don't
 7    want you to take your trip overseas. Mr. Cooke ignored that
 8    directive. He left. He went overseas. And while over
 9    there, he starts to get some Twitter messages and there is a
10    stream -- or WhatsApp messages on August 20. And the first
11    ones that come in are these where Brian Gilbert -- and they
12    are harassing messages. Those are harassing messages. And
13    they're going to take place over three accounts with the idea
14    that it's going to soften the victims up for that final call.
15    They all take place on August 20 and the call was placed on
16    August 21.
17               And that's the cyberstalking conspiracy as
18    Mr. Cooke then knew it. He did not know that surveillance
19    had taken place at the time those messages came in. He did
20    not know that they had broken in to try to put on a tracker.
21    He did not know that those deliveries had occurred or that
22    they had been signed up for all of these different magazines
23    and other websites that they had no interest in.
24               So from where he stood, yes, he did engage in a
25    cyberstalking conspiracy, which he pled guilty to and



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 1    accepted responsibility for, but it was on that day. That
 2    does not explain the witness tampering, the assistance and
 3    creating the deception of the Natick Police. And I think the
 4    best thing is to let Mr. Cooke speak to that when he provides
 5    a statement, Your Honor. There is, frankly, that, yes, it's
 6    an obstruction, it does add two points to the guideline
 7    calculation.
 8               There's nothing to be said except that he did not
 9    make it worse when he dealt with the people at eBay. For
10    them at least he did not lie. He did not -- he's not even
11    mentioned in that part of the PSR because he was not involved
12    in that. That was the other group. He wasn't even in town
13    on August 26 when they got together and decided what they
14    were going to do. He was still overseas. He didn't get back
15    until early September.
16               So that was with regard to conspiracy and what he
17    knew and did. And while -- let me turn now to the reason for
18    a variance, Your Honor. I won't go back over all of the --
19    Although I will say, it is a pleasure to represent someone
20    who has had the career that Mr. Cooke has had. And prior to
21    this horrible judgment, he had a wonderful, admirable,
22    exemplary career, pulling himself up from a neighborhood that
23    was tough, going through the Marine Reserves honorably, doing
24    his time at the Department of Corrections as a correctional
25    officer, and ultimately being a police officer and conducting



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 1    hundreds of investigations.
 2               There is no question he had an outstanding career.
 3    He worked incredibly hard. And as the letters attest, he is
 4    an incredibly kind, generous, giving man. He sacrificed for
 5    his community, for his family, and his selflessness is
 6    apparent in the different letters that are attached to his
 7    sentencing memorandum.
 8               He retired on December 24, 2016, and in some ways
 9    this is a story of a failed retirement. Mr. Cooke left a job
10    that was incredibly demanding and suddenly had no purpose, no
11    particular thing to do with his life. He was bored. He
12    didn't have his colleagues. He didn't have the information,
13    the direction, if you will, that he needed at that point in
14    time. And as his wife explained, he began to drink heavily.
15               Sometimes it was frustrating to her because he
16    wouldn't remember things or wouldn't understand what she was
17    saying. Believing it would help him to go back to work, she
18    encouraged him to. And he did. He found a job as a
19    contractor with Progressive Force. The Silicon Valleys were
20    looking to have people on campus to help in case of
21    emergencies.
22               He took a job with eBay eventually, which didn't
23    help at all because eBay had an on campus bar that opened at
24    3:00, and apparently there was a lot of heavy drinking that
25    went on starting in the midafternoon and carrying through



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 1    into the late evenings. So there was a worsening of his
 2    alcoholism, not a getting better in connection with what
 3    happened at eBay.
 4               Since being notified he was a target, Mr. Cooke has
 5    dealt with that problem. As part of court ordered therapy,
 6    he saw a therapist. He accepted his alcoholism problem. He
 7    has not been drunk since June 2020. He has taken the time
 8    and made the effort to become a counselor/facilitator for an
 9    addict recovery program in California where he facilitates
10    meetings of addicts. He goes to meetings himself, and he
11    facilitates meetings of friends and family. All of which
12    he's done to make sure that his life has turned around as a
13    result of the horrible things that happened at eBay.
14               So in terms of the three factors, I leave the
15    overstating seriousness to the brief. For specific
16    deterrence, this is not a man who will re-offend.
17               THE COURT: I agree.
18               MS. WINKLER: With regard to general deterrence,
19    there has been huge press in his area where the Fortune 500
20    Silicon Valley companies are located. I take Mr. Kosta's
21    point people sometimes don't like what's written about them
22    in the press. But between this case, which has received
23    substantial press and the significant civil RICO suit that
24    was filed last week on behalf of the victims complete with
25    press conference and was shown at least on nightly news here,



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 1    I don't know whether it made nightly news in Santa Clara or
 2    the Silicon Valley, that is the kind of risk that teaches
 3    companies they don't want to see anything like this happen
 4    under their watch. That's significant on both fronts.
 5                If an incarcerative sentence is necessary, if the
 6    Court believes that, I would suggest 30 months is way more
 7    than necessary. It is the fact of incarceration that deters,
 8    not the amount. So if there is a need for that kind of
 9    sentence, a much lower amount will accomplish the same
10    purpose of sending a message that this is a serious crime
11    that could result in prison time. And I think partly to
12    that, incarcerative sentences are much harsher in this time
13    of COVID.
14                And while certain things are opening up like this
15    courtroom, the prisons are still requiring segregation,
16    isolation for two weeks upon entry with that sometimes
17    extended if someone touches or comes in contact with somebody
18    else who has COVID. And those incarceration times now, there
19    are less programs, less opportunities than there used to be
20    all because of COVID to try to protect the populations in the
21    prisons.
22                So that in terms of training and programs, I don't
23    think there's anything he can get in prison that he can't get
24    and hasn't done for himself outside, and home confinement
25    would allow him to continue that.



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 1               For the sentencing disparities, I'll just rely on
 2    the briefs. I think the important points are he was abroad.
 3    He was not on the ground in Massachusetts. He did not come
 4    here and stalk anyone. He was not involved in the delivery
 5    of those threatening and scary packages. All of which made
 6    worse the electronic communications, the Twitter messages
 7    that went to the victims. But not knowing about those, he
 8    couldn't appreciate the full scope of what was going on and
 9    the effect it could have. That's not an excuse. That's just
10    a fact. There was only so much that was foreseeable to him.
11               And for those reasons, Your Honor, we would request
12    that home confinement would accomplish the purposes of the
13    sentencing guidelines. And that if you feel an incarcerative
14    sentence is necessary, we ask for a short one. For example,
15    in Varsity Blues, we saw how significant even a short period
16    of incarceration can be for all kinds of individuals such
17    that that would accomplish the purposes that Mr. Kosta points
18    to in the 3553(a) factors.
19               THE COURT: I'd rather hear the impact statements,
20    if the victims want to be further heard.
21               MR. KOSTA: They would like to speak. Will the
22    Court permit me one brief minute?
23               THE COURT: Yes.
24               MR. KOSTA: The granularity of the WhatsApp threat
25    that the government managed to find starting on August 20 and



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 1    continuing through August 23, most of the devices in this
 2    case were deleted. Pointed out to the Court that Mr. Cooke's
 3    device came back to eBay with none of this on it. The idea
 4    that there is that degree of granularity between the 20th and
 5    the 23rd that Mr. Cooke has to be responsible for because his
 6    name is on it and he's participating in it, and he's
 7    ha-ha-ha-ing all the way through the lies the idea that --
 8                THE COURT: You think he's responsible for what
 9    happened during those days, or are you saying he was not
10    aware of it?
11                MR. KOSTA: I'm saying that the idea -- on the 20th
12    to 23rd, he is fully aware of what's happening and he stays
13    involved.
14                THE COURT: Yes.
15                MR. KOSTA: But what the PSR says is there was a
16    series of WhatsApp messages that continued from the 7th all
17    the way to the 23rd. We found the one from the 20th to the
18    23rd, and the idea because it's not in writing it didn't
19    happen and there wasn't this kind of information and
20    communication between the 7th and the 20th is not a factual
21    issue that the Court names to resolve seems awfully unlikely
22    that suddenly on August 20 Mr. Cooke is let into a small
23    portion of this conspiracy. But I'll defer to the victim's
24    time. I appreciate the Court giving me a minute.
25                We have Victim 1 and Victim 2. Who would like to



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 1    speak first. Victim 2, Your Honor. Is it okay if he sits?
 2               THE COURT: Yes.
 3               VICTIM 2: Thank you, Your Honor. My name is David
 4    Steiner. I am Victim 2 in this criminal complaint. I want
 5    you to know how important it was for us to be here to let the
 6    defendant know that we were not faceless concepts at the end
 7    of a tweet or an email; that we were flesh and blood human
 8    beings that were deeply affected by his actions. This has
 9    been a difficult two years for Ina and myself. The actions
10    of Philip Cooke, the other defendants and all involved in
11    these concepts. Employees involved have done immeasurable
12    harm to us, physically, mentally, and emotionally. Online
13    threats, disturbing deliveries at all hours of the day and
14    night and early morning, being tailed in our car were daily
15    occurrences in August of 2019.
16               It would take too long to detail all the ways that
17    defendant Cooke and eBay's aggressive acts affected our lives
18    and caused as much anxiety as it did when it happened to us
19    two years ago. We had an endless parade of Natick Police
20    cruisers parking in front of our home. We spent hours with
21    patrolmen filling out accomplice reports. But one particular
22    date exemplified the date of siege we were under. We were
23    exhausted from weeks of relentless attacks by assailants who
24    were at the time unknown to us. We did not feel safe leaving
25    our home and spent this particularly stressful day barricaded



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 1    in our house with a friend's borrowed car blocking the head
 2    of that driveway to scathe off unwanted deliveries. A stack
 3    of baking sheets was leaning against our back door so we
 4    could hear anyone trying to break into our home. That day we
 5    only answered the door to the Natick Police and to explain to
 6    visitors that we were not having a yard sale, and we weren't
 7    selling off the contents of our home. That day was our 31st
 8    wedding anniversary.
 9               Defendant Cooke was involved in the early planning
10    of the attack on us. He approved threatening Twitter
11    messages that were sent to my wife, the listing of our home
12    address and the decision to mislead Natick Police Department
13    and obstruct their investigation. Defendant Cooke spent 27
14    years as a member of the Santa Clara Police Department. He
15    left as a captain.
16               This was the type of crime that he himself might
17    have investigated as a Santa Clara police officer. But
18    instead he was willing to subvert attempts by local police to
19    identify persons of interest involved in our harassment by
20    using his experience and contacts within law enforcement to
21    keep the Natick Police off track. After eBay claimed it
22    conduct their own investigation with the cyberstalking
23    campaign in September of 2019, six of the defendants were
24    terminated.
25               EBay promoted defendant Cooke from senior manager



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 1    of eBay's global security to director. What does that say
 2    about the thoroughness of eBay's thorough investigation?
 3    This case is about the culture of a company that promote and
 4    rewards employees that break the law.
 5               Defendant Cooke's employment was not terminated by
 6    eBay until the charging document was made public in mid June
 7    of 2020. The cumulative effect of this operation has been
 8    devastating to us. But the most painful of this aspect of
 9    this nightmare was to witness the effect it had on my wife
10    Ina. To say she is the most important thing in my life is
11    not fully expressing it. I know her heart, her moral
12    compass, her ethics, and her compassion. She is simply the
13    best person I know. And to see her targeted, terrorized and
14    traumatized was excruciating.
15               In the defendant's Cooke's sentencing memorandum,
16    the word remorseful was used three times. He was remorseful
17    for his bad choices. He was remorseful for conduct that for
18    an offer of 25 years got Gilbert into trouble. He was
19    remorseful for misleading the Natick Police. Nowhere in the
20    memorandum was there remorse for the pain, terror, and brutal
21    punishment he and the other defendants inflicted upon his
22    victims, my wife, and myself.
23               This was defendant Cooke's opportunity to express
24    to the Court that he has changed as a person, and he left out
25    the most obvious reason to believe that.



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 1               Being involved in a federal case is not easy for
 2    any victim. But as a journalist, it is an impossible
 3    situation to be placed in. Aside from the tremendous
 4    physical, mental, and emotional damage that the defendant's
 5    actions had on us personally, we also carry the burden of
 6    maintaining the integrity of this investigation and not
 7    influencing it with public comment. But we understand that
 8    this case extends far beyond Ina and myself. It carries a
 9    chilling message to journalists.
10               If corporations with limitless resources are
11    allowed to intimidate and threaten members of the media to
12    influence their reporting, it renders the First Amendment
13    virtually useless. Defendant Cooke and his cohorts have also
14    done no favors to law enforcement.
15               In a particularly challenging time, the Natick
16    Police Department took our case seriously and made Ina and I
17    feel protected. We were fortunate. Defendant Cooke's
18    illegal contacts would shine a negative light on law
19    enforcement. But these were his decisions, his acts done
20    with foresight, forethought and malice, and his sentence
21    should reflect that. Thank you.
22               VICTIM 1: Good afternoon, Your Honor. My name is
23    Ina Steiner. I'm Victim 1. And thank you for letting us
24    speak.
25               THE COURT: I want to remind you I have read your



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 1    victim impact statement. I'm happy to hear anything you want
 2    to add to that. But --
 3               VICTIM 1: I'm sorry, Your Honor, but for two
 4    years, we haven't been able to speak.
 5               THE COURT: Okay. Your statement is longer than
 6    your husband's, and I know he just read his. Were you
 7    intending on reading the whole statement?
 8               VICTIM 1: Yes, Your Honor.
 9               THE COURT: All right. I have read it. If that's
10    what you want to do, go ahead.
11               VICTIM 1: Thank you, Your Honor. When I learned
12    someone posing as my husband had ordered a pig fetus to be
13    delivered to my home, my heart sank. It signaled that the
14    person who had been harassing me online was taking it to a
15    new, very disturbing level. The profane, depraved threats
16    were disturbing and continued.
17               I began to be afraid that we would get swatted. I
18    was distressed at having neighbors hand us packages they
19    received containing pornographic magazines sent to their
20    address in my husband's name. How could one deeply disturbed
21    individual afford to send a $255 bereavement floral
22    arrangement. This was not a run-of-the-mill Internet troll.
23    My feeling of dread intensified.
24               I froze my credit. David bought additional
25    security cameras. I grew watchful of strangers and began to



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 1    fear being in public by myself. Seeing a delivery van drive
 2    into my yard one day when I was home alone made me fearful
 3    that our stalker would trick other local businesses into
 4    making unwanted deliveries. What if he had a company drop
 5    off gravel or manure and instructed them to place it in a
 6    driveway in front of our garage so our car would be trapped.
 7    That evening a friend dropped off a spare car to place at the
 8    head of our driveway to thwart any such attacks. But as
 9    David went to take our friend home, my fear turned to
10    paralyzing terror. It was a real life nightmare.
11               I had remained at home, and I was watching the live
12    video on the new camera we had installed that day. I watched
13    David pull out of our driveway in our car, then watched with
14    horror as a black van with New York plates with its
15    headlights on slowly began to follow at a distance. It was
16    the same black van we had spotted earlier in the day driving
17    by our house. It had caught our attention because we were on
18    high alert, and it looked out of place on our quiet little
19    one-way street.
20               I was sure they were following David with plans to
21    physically assault him. But David had spotted the van. He
22    did everything right. And our 81-year old friend in the car
23    with him was able to get the license plate number, but it was
24    off by one digit leaving the police unable to determine the
25    identity of the driver. After the police left it was dusk,



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 1    and we sat in the living room in shock. David looked ill.
 2    He was sweating and nauseous. I feared he was having a heart
 3    attack. Compounding my fear of a potentially life
 4    threatening health emergency was the terror that our stalker
 5    was outside watching the house and would see an ambulance
 6    take him away.
 7               As I talked to him and tried to assess what to do,
 8    I told him at least if we died, we'd have died doing
 9    something we loved and believed in. I believe that even if
10    our stalker was caught, I would be afraid of him for the rest
11    of my life. Someone so obsessed with destroying us would
12    never stop I believed. No longer fearing we were being
13    surveilled but actually knowing it turned my fear to panic.
14               David stood guard all night and he watched in
15    horror as a car pulled up in front of our house at 4:30 a.m.
16    A man got out. He reached into the back seat. He removed a
17    leather case. We had been primed for fear. The attacks were
18    meant to scare us, and they did. We were terrified. During
19    this period I began to feel pressure when breathing. I laid
20    in bed at night afraid someone was going to break in. When I
21    did sleep, I had nightmares.
22               I woke up with pain in my chest. I lost weight.
23    Fears that I would be doxed were realized. I was greatly
24    concerned for the safety of family members. We cancelled
25    social engagements. We were afraid to leave the house not



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 1    knowing what might be coming next out in the world or at our
 2    home. I was afraid to leave my house. But I didn't feel
 3    safe there either.
 4               Several friends invited us to stay with them, but I
 5    was horrified at the thought of putting their lives in
 6    danger. I was certain the perpetrator would follow us
 7    wherever we went. After the Natick Police traced the car
 8    used in another tailing incident to eBay, they reached out to
 9    the company. But then in a cruel twist, eBay doxed me.
10    After weeks of torture, I was devastated and terrified.
11    Would the attacks ever stop? Would I are ever be safe?
12               The Natick Police and the FBI did get the online
13    and real life attacks to stop, but I continued to dread going
14    to the grocery store even though accompanied by David. I
15    eyed every shopper as a possible assailant.
16               One night as I was shutting off the lights before
17    going upstairs stairs to join David, I thought with a pain, I
18    don't know if I can ever be home alone at night again. The
19    fear didn't stop. I was an avid walker, but I was afraid of
20    cars coming up behind me and the people I encountered. There
21    were days when I crawled back into bed in the middle of the
22    afternoon. Some days I found myself crying. Having to wait
23    until June 15, 2020, to get answers from the government about
24    who exactly was behind the attack was mental torture
25    compounded by having to keep silent to preserve the integrity



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 1    of the criminal investigation, and later by the concerns that
 2    the pandemic would hinder our search for answers and for
 3    justice.
 4               There's no way to mentally erase the trauma that we
 5    sustained by having a cyberstalker and a real life stalker.
 6    It's difficult to convey how life-changing the campaign of
 7    terror sowed a deep distrust in me. We continue to memorize
 8    car license plates. We keep the alarms on our doors. I have
 9    a golf club in my office to fend off any would-be attackers.
10    I still carry around pepper spray every single team I leave
11    the house. There are days still when I feel an overwhelming
12    anxiety.
13               The attacks had an impact on my business. The
14    government published some of the private messages exchanged
15    in 2019 between eBay's CEO Chief Communications Officer and
16    the head of eBay Safety and Security all referring to me.
17    Some of them were, "We're going to crush this lady; I'm not
18    f-ing around with her anymore; if you are ever going to take
19    her down, now is the time; I'll embrace managing any bad fall
20    out. We need to stop her. I want to see ashes as long as it
21    takes, whatever it takes."
22               A New York Times reporter profiled one of the
23    perpetrators in September of 2020 casting her as a victim and
24    making light of my continuing to do my job as a reporter
25    without recognizing the grit it requires me to keep going.



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 1    The Natick Police exposed Cooke's acts and his concealment of
 2    them, but the outside world doesn't know how close our
 3    stalkers came to succeeding. I thought I would be physically
 4    and emotionally incapable of sitting in front of my computer
 5    or of communicating with anyone in the industry given the
 6    level of distrust of the defendants, including the defendant
 7    Cooke, sowed in my mind.
 8               No matter who you are, there's one place that's
 9    supposed to be safe -- home. The people who attacked me took
10    that away from me. Like everything else about this case, I
11    feel my life is laid bare, and I'll forever be linked to the
12    notoriety. I am inextricably tied to eBay employees all the
13    way up to the CEO. I worry that the perpetrators may profit
14    from their criminal acts against me and my husband, and I
15    hope the Court will take that into account when considering
16    conditions of probation and length of probation.
17               As a reporter I firmly believe in getting the story
18    out there. But people who inserted such deep pain on my
19    husband and me should not profit from their crimes at our
20    expense. Thank you, Your Honor.
21               THE COURT: Thank you very much. I know it's a
22    difficult thing to come here and make those kinds of
23    statements, and I appreciate it. I appreciate it.
24    Mr. Cooke, your turn if you want to speak.
25               THE DEFENDANT: Thank you, Your Honor. Your Honor,



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 1    I know there's been some back and forth about legal points in
 2    this case, and I very much appreciate all the help my
 3    attorney has provided me. But I don't think about this that
 4    way any longer. There's a simpler and more easy way to look
 5    at this. Something I completely failed to do back on
 6    August 6. And that is by asking a simple question about what
 7    is right and what is wrong.
 8               When looking at it from that simple ethical point
 9    of view, it's crystal clear that this was all wrong from
10    start to fish. I once heard a judge say there is no
11    acceptable level of violence. He's 100 percent right. In
12    this matter there is no acceptable level of violence or fear
13    that would be okay. It was all simply wrong and nothing can
14    justify it.
15               The second question or another question is why.
16    And I simply took way too long to think about the victims.
17    And that's not an excuse, Your Honor. It's a failure. I
18    have thought about my CEO, my boss, my teammates. I had
19    empathy for all the wrong people.
20               The crushing realization I ever felt when I was
21    talking to the lawyers about this case, I said something, it
22    wasn't a response to a question, it was just an awful
23    realization that nobody said something, nobody thought about
24    the Steiners. I spent my whole adult life [technical issue]
25    one more time for them, I failed. And I failed miserably. I



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 1    let a twisted sense of loyalty to all the wrong people
 2    override the needs of the only people that really mattered,
 3    the victims. For that I am truly sorry and disgusted with
 4    myself.
 5               I used to think this case was complicated and felt
 6    for those that had to piece it all together. It's not
 7    complicated at all. It's simple. What happened is a group
 8    of people got together and immorally and illegally
 9    rationalized and justified horrific behavior in order to
10    please the boss. That's disgusting. That's not who I am.
11    But that's what I did. And no words could ever make up for
12    that.
13               I bent all that I stood for because I did not have
14    the strength to do what was right. The only right answer was
15    to throw a fit after the August 6 meeting and do everything
16    in my power to stop what ultimately occurred. Instead I ran
17    away and abandoned my responsibility to be a good person, to
18    stick up for people in need.
19               That realization is again the most devastating
20    thing I've ever felt. I know it's too late to change my
21    actions. So I have nothing to say except I'm sorry. I would
22    do anything to change my behavior if I could. I hurt plenty
23    of others as well. Before I address them, I need to make a
24    statement in regards to eBay. EBay is actually a great
25    company filled with wonderful people who do good work



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 1    providing a way for small businesses to operate in a global
 2    economy. My failures hurt them very much as well and they
 3    did not deserve that.
 4               I am truly sorry for the grief I caused them and
 5    wish I could go back in time. But again I'm left with the
 6    only thing I can do now and that is to say I'm sorry.
 7               To the Santa Clara Police Department, an agency
 8    filled with wonderful, dedicated people, I am so sorry. Even
 9    though I was retired, my obligation to live a good life for
10    them was a lifelong commitment, and I failed them miserably
11    as well. I created horrible negative press that hurt them
12    badly, and they did not deserve that.
13               Like the victims they made me think about others
14    and act accordingly, something I simply did not do. And I'm
15    very sorry. To the Natick Police I put my own selfish
16    desires above you. There is no excuse for that. Again, I
17    failed you. I know my words do not change the choices I made
18    and the grief I caused you. There is no excuse for it.
19               I cared deeply for my friends and I didn't want
20    anyone to be in trouble. That's pathetic and feeble. I
21    should have known better and I do know better than to
22    selfishly place wrong over right, the same failure as I had
23    on August 6. And for that I'm very sorry. I also let down
24    and betrayed the good cops around the country who did not
25    need another stain on the profession. I never thought I



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 1    would be that guy. But I am and I did. I'm so disgusted
 2    with myself for it. I'm very sorry for my conduct and awful
 3    decisions. I just wish there was more I could do except to
 4    say I'm sorry.
 5               To my family that always stood by me and still do.
 6    You did not deserve the shame I brought to you. I made it
 7    through many years in life with your help. I was safe now.
 8    It was supposed to be the good times, not this. I'm very
 9    sorry for what I did to you and the pain I caused especially
10    to my wife, children, and mother.
11               Your Honor, I know my eBay friends are not victims.
12    I know that very clearly. But I let them down, too.
13    Especially Ronnie Zea and Stephanie Stockwell. I'm not
14    blaming the others for what I did and I hold myself
15    responsible for my own actions. I look at those young people
16    differently. They're young, wonderful women who trusted the
17    adults in their lives. We had an obligation to safeguard
18    them. And my failure to act appropriately on August 6 let
19    them down immensely. For that I'm very sorry.
20               To the victims, the most important people of all of
21    this. There are no words I can come up with to express how
22    sorry I am. I have failed you and allowed you to be
23    victimized. I spent years protecting people but failed to do
24    that for you. I am so very sorry. That is not who I am or
25    how I live my life. But that is how I did. I can't ask you



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 1    to forgive me. That's inappropriate. I can't ask you for
 2    anything. I just sincerely hope that everyone who played a
 3    part in hurting you is held accountable and that you can put
 4    this behind you and once again enjoy the peace in your home
 5    that you deserve and that we took from you. Doing that to
 6    you will forever haunt me. It's shameful. It's awful. I'm
 7    very sorry that any of this happened to you. I wish I could
 8    change this for you. I really do. I'm just sorry that I
 9    can't.
10               And lastly, I just need to thank the Court for the
11    counseling that was ordered when I pled guilty last year. No
12    one deserves to benefit from criminal behavior, but that was
13    a gift, Your Honor. Actually everyone I've dealt with
14    through this process from the Marshals to U.S. Probation to
15    the U.S. Attorney's Office was extremely professional, kind,
16    polite, patient. And I did not deserve that.
17               It really highlights the guilt I feel for not only
18    betraying the victims on August 6 but for betraying the
19    criminal justice world I was once so proud to be a part of.
20    Thank you.
21               THE COURT: All right. I want to thank you all for
22    your participation in this proceeding. I am sure it goes
23    without saying that this is not an easy decision to make.
24    There are real life victims in this case. I need to take
25    into account what they have suffered through. I also have a



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 1    defendant who has fundamentally led a very good life, who was
 2    involved for reasons I will never understand in conduct that
 3    is just nuts. The idea of all of these grown people sitting
 4    around a table coming up with this plan is almost
 5    unfathomable to me. I'm not sure if I saw it on television
 6    if I would actually find it to be believable.
 7               So the conduct, as Mr. Cooke certainly knows, was
 8    not good. And when I say not good, I mean extremely not
 9    good. And I am also cognizant of the fact that there's a lot
10    of defendants coming behind you, and I am the first one
11    taking a look at these facts. I am aware of that as well.
12    It's a difficult situation.
13               I am thinking about this, and I've thought about it
14    long and hard. I don't mean to set a precedent for the
15    defendants coming after. I think Mr. Cooke is in a different
16    situation than many of the other people that are involved in
17    this. I think the government is correct to recognize that
18    although he really didn't qualify for a role reduction under
19    the guidelines, that his role was different than that of many
20    other people in the case. And the government's
21    recommendation in this case was certainly reasonable.
22               I also think about Mr. Cooke, and I've listened to
23    him here today, and I've read the letters on his behalf which
24    were in some ways very exceptional. And I think about the
25    fact that again although he does not actually qualify under



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 1    the guidelines, I don't think that the behavior was aberrant.
 2    He has health issues. His rehabilitation has been admirable.
 3    And I agree with a lot of things that Ms. Winkler said,
 4    although not all of them.
 5               I'm not buying into what was reasonably foreseeable
 6    to him because it was reasonably foreseeable to him on day
 7    one really doesn't inform what happened afterwards. But that
 8    being said, he left the first meeting early. He didn't
 9    attend the second meeting. He removed himself from the
10    situation. He says he ran away or he hid. He certainly did
11    not withdraw from the conspiracy, but he did distance himself
12    from it in a way. He didn't visit the victim's house.
13               I don't want to use alcoholism as an excuse, but
14    when somebody who is drunk sends a thumbs up sign, I'm not
15    really sure what that means. Which is not to say that it is
16    acceptable or good conduct, but -- So anyway, in thinking
17    about the appropriate sentence, I have considered, as I need
18    to consider the advisory guideline sentencing range, the
19    nature and circumstances of the crimes at issue here, the
20    defendant's personal characteristics, his criminal history or
21    in this case lack thereof, and then the institutional
22    concerns which is the need for the sentence to reflect the
23    seriousness of the offense, promote respect for the law, just
24    punishment, and adequate general and specific deterrence and
25    all the other factors under 18 U.S.C. 3553(a).



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 1               I do agree with Ms. Winkler that specific
 2    deterrence in this case are unnecessary. I very much doubt
 3    we will see this defendant here or involved in the criminal
 4    justice system again. There does need to be a strong general
 5    deterrent message.
 6               Ms. Winkler is right in many many respects what's
 7    already happened has served as a deterrent message I'm sure.
 8    There's obviously a civil case pending and that has a
 9    potential to have some serious financial consequences which
10    will provide other deterrence especially for a corporation
11    where I think that money is very much the bottom line.
12               So I have wrestled with this. I don't think it's
13    an easy situation. As I say, the defendant is a
14    fundamentally good man who has participated in a horrible
15    offense that really victimized some very undeserving victims.
16    As is often the position from here, I am going to make nobody
17    happy. And I hope that the making of no one happy suggests
18    that I have found some measure of the right place to be.
19               So pursuant to the Sentencing Reform Act of 1984
20    and having considered the sentencing factors enumerated at 18
21    U.S.C. 3553(a), it is the judgment of the Court that the
22    defendant Philip Cooke is hereby committed to the custody of
23    Bureau of Prisons to be in prison for a term of 18 months.
24    That is 18 months on each count to be served concurrently. I
25    don't know that that's long enough for him to participate in



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 1    the RDAP program. If it is, I would like him to participate
 2    in that. If he can get himself into that, that may allow him
 3    to participate in the Bureau of Prisons alternative community
 4    placement program which would let him transition to a
 5    treatment setting as an alternative to residential re-entry
 6    center.
 7               I am going to place him on a term of supervised
 8    release for three years. That is three years on each count
 9    to run concurrently. Within 72 hours of release from
10    custody, the defendant shall report in person to the district
11    in which he is released. There has been no request for
12    restitution, and I therefore am not going to order
13    restitution.
14               While under the probation office's supervision, the
15    defendant shall comply with the following terms and
16    conditions. Some of these are mandatory. The mandatory ones
17    include: You must not commit another federal, state, or
18    local crime. You must not possess a controlled substance. I
19    am not going to impose drug testing conditions, but he will
20    have to cooperate in the collection of a DNA sample. Plus
21    any other standard conditions that are adopted by the Court.
22               I am also going to impose the following special
23    conditions: And there are a bunch of these, and some of them
24    I am making up as I go. So you will correct me if I need to
25    temper them in any way.



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 1               You may not have any contact, direct or indirect,
 2    with the victims unless it is initiated by them. You are
 3    prohibited from drinking alcohol to the point of
 4    intoxication, which at this point is defined in Massachusetts
 5    state law as .10 -- I think .08.
 6               THE PROBATION OFFICER: I think .08 is for driving.
 7               THE COURT: .10 alcohol level. I'm not going set
 8    you up for failure by prohibiting drinking, which I know is
 9    what you've been doing. That's fine. I don't want you out
10    on the streets drunk. As I tell everyone in your situation,
11    if you feel the need to get drunk, I suggest you do it alone
12    in your basement. Participate in a mental health treatment
13    program as directed by the probation office, and you'll
14    contribute to the cost, evaluation, treatment, and
15    programming if you can afford it. If you can't, that's all
16    right, too.
17               I'm going to impose the $15,000 fine requested by
18    the government. No new credit charges or open additional
19    lines of credit without the approval of probation until that
20    fine is satisfied. While that fine is pending, you'll
21    provide to the probation office any financial information
22    that they need.
23               I am also going to impose following 18 months of
24    incarceration as a special condition of your supervised
25    release that you spend 12 months on home confinement. What I



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 1    mean by home confinement, I'm going to make it simple for
 2    you. You're not supposed to be doing anything fun. You can
 3    work. You can volunteer. You can go to your medical
 4    appointments. You can do your religious stuff. But no
 5    dinners, no vacations. Nothing like that.
 6               That Mr. Kosta adds up to the 30 months that you
 7    asked for, although not quite in the form you asked for. 18
 8    months incarceration, 12 months home confinement.
 9               I imposed the $15,000 fine. I am also going to
10    order 100 hours of community service which I think is
11    something you might be inclined to do anyway. I'm going to
12    make that part of your sentence. That's 100 hours. I impose
13    three years of supervised release because I want him
14    supervised until the community service, the one year of home
15    confinement, and the fine are satisfied. Once those things
16    are satisfied, and if he has been behaving himself and you
17    want to ask that that period of supervised release be
18    terminated early, I will be amenable to that. But I want him
19    supervised while the obligations are pending in the case.
20               Lastly, a special assessment of $200 which shall be
21    due immediately. You have your rights to appeal such as they
22    are. And I'm sure Ms. Winkler will help you with that if you
23    want to appeal what I've done here today. You can speak to
24    my Deputy Clerk Karen. I suspect Ms. Winkler is going to ask
25    for a recommendation of incarceration close to where his



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 1    family is. It's my experience that that and three dollars
 2    will get you a cup of coffee. I'll make the recommendation
 3    that he be held as close to home as possible so that his
 4    family can have access to him. Be that California or
 5    Massachusetts, wherever you decide your home is. What have I
 6    forgotten?
 7               THE PROBATION OFFICER: Your Honor, I would ask
 8    that it be home detention as opposed to home confinement with
 9    the need to leave for community service and things like that.
10    It would be easier.
11               THE COURT: That's fine. Done. Mr. Kosta?
12               MR. KOSTA: I owe a clarification to the Court.
13    The government's plea agreement committed to a recommendation
14    of 12 months supervised release based on the specific
15    deterrent factors. I apologize to Ms. Winkler for not
16    raising it earlier. The horse left the barn. I just wanted
17    to be clear our recommendation was 12.
18               THE COURT: I know what your recommendation was.
19    To tell you the truth, I would have given a higher fine
20    except that if I abided by your recommendation, I know
21    there's a civil suit pending. I understand what your
22    recommendation is. I thought about it independently. I do
23    think that a year of supervised release is enough for him. I
24    don't think there's a need for specific deterrence. I want
25    him supervised until the fine is paid, the community service



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 1    is done, and the 12 months of home detention. I would like
 2    him supervised until that's over. Once those things are
 3    successfully completed, you or her or them can ask for it to
 4    be terminated. I just want to keep track of him while the
 5    obligations are pending. Anything else from you, Mr. Kosta?
 6               MR. KOSTA: No, Your Honor. Thank you for your
 7    time.
 8               MS. WINKLER: No, Your Honor.
 9               THE COURT: You're amenable to self reporting?
10               MR. KOSTA: Yes, Your Honor.
11               THE COURT: We'll come up with a date for that.
12    Mr. Cooke, I feel for the victims in this case. I really
13    really do. And I know that you do, too. And what they were
14    put through was really unfathomable. I heard your statement.
15    Some day it would be interesting to have a better
16    understanding of what exactly you could have been thinking
17    when you engaged in this.
18               All of that being said, I feel for you, too,
19    because you're so lucky in so many ways and you've led such a
20    good life in so many ways, people that love you and family
21    that supports you. You will do your time on this and you
22    will be punished. A police officer in prison is never an
23    easy situation. I appreciate what you're about to go through
24    particularly during COVID. You will come out and you will
25    get to the other side of this, and you will be okay. A lot



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 1    of people I expect to see again on supervised release. I
 2    don't expect that you and I will ever cross paths again. I'm
 3    going to tell you now it is my fervent hope that you get
 4    through this, get past it and get back to living the better
 5    life that you are clearly capable of. And again I think
 6    you're lucky because there are so many people that love you
 7    and support you and will help you make that happen.
 8               If there's nothing else, I'm going to recess the
 9    case. Anything? Case is recessed. Self report date.
10    Sorry. What do you think?
11               THE PROBATION OFFICER: I believe it's still been
12    six weeks, Your Honor. I defer to counsel.
13               THE COURT: Six weeks.
14               MR. KOSTA: Yes.
15               MS. WINKLER: Yes, that's fine.
16               THE COURT: I'm intending for him to self report.
17    If there's not a designation within the six weeks, come back
18    and we will straighten that out.
19               THE CLERK: September 7.
20               THE COURT: September 7. Thanks, everyone. The
21    case is recessed.
22               (Court recessed at 12:20 p.m.)
23

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 1                           - - - - - - - - - - - -
 2                                CERTIFICATION
 3

 4               I certify that the foregoing is a correct
 5    transcript of the record of proceedings in the above-entitled
 6    matter to the best of my skill and ability.
 7

 8

 9

10    /s/ Joan M. Daly                         August 18, 2021
11

12    ______________________                   ____________________
13    Joan M. Daly, RMR, CRR                   Date
      Official Court Reporter
14

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                                         IBW'lfiiNIT
       I, Mark Wilson, state:

                        INTRODUCTION AND AGENT BACKGROUND

        1.     I make this affidavit in support of an application for a criminal complaint

charging James Baugh ("BAUGH") and David Harville ("HARVILLE") with violations of

federal criminal law, namely, eonspiracy to commit cyberstalking, contrary to 18 U.S.C. §

2261A, and conspiracy to tamper with a witness, contrary to 18 U.S.C. § 1512(b)(3), each in

violation of 18 U.S.C. § 371 (together, "the Target Offenses"), and for warrants to arrest

BAUGH and HARVILLE.

       2.      I have been a Special Agent with the Federal Bureau of Investigation ("FBI")

since approximately January 2019. Before becoming a Special Agent, I worked for five years as

a Staff Operations Specialist in the FBI's Cleveland Division, providing analytic support for

criminal and national security cyber investigations. I was also a member ofthe FBI's Child

Abduction Rapid Deployment Team, which investigates child abductions nationwide by

providing cyber analysis. I was also assigned to the Cleveland Police Department's Homicide

Unit Task Force, vvhere I implemented intemet and technical analysis to investigate homicide

cases. Beyond my work experience, I have also received tvventy-one vveeks' formal training in

investigative techniques at the FBI Academy in Quantico, Virginia.

       3.      I am currently assigned to the FBI Boston Division's Cyber Crimes Squad. I am

responsible for investigations involving computer system intrusions, internet fraud, and

cyberstalking. Based on my training and experienee, I am familiar with the means by which

individuals use computers and information networks to commit these and other crimes. I am a




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law enforcement officer ofthe United States within the meaning of 18 U.S.C. § 2510(7), and I

am accordingly empowered by law to conduct investigations and to make aiTests for federal

felony offenses.

        4.      Based on my training and experience and the facts set forth in this affidavit, there

is probable cause to believe that BAUGH, HARVILLE, Stephanie Popp, Brian Gilbert,

Stephanie Stockwell, Veronica Zea, and other persons known and unknown ("the Target

Subjects") bsys CQEninitte(ltheTargetOfisnses.

        5.     The facts in this affidavit come from my observations and review ofrecords, my

training and experience, information obtained from other law enforcement personnel, and

information obtained through legal process, court orders, intei-views, and search warrants. This

affidavit is intended to show merely that there is sufficient probable cause for the requested

complaint and does not set forth all of my knowledge about this matter. Statements attributed to

individuals, unless otherwise indicated, are in substance and in part.

                                         THESTATUTES

       6.      Title 18, United States Code, Section 2261A, the federal cyberstalking statute,

provides in pertinent part:

        Whoever—...

       (2) with the intent to kill, injure, harass, intimidate, or place under surveillance with
       intent to kill, injure, harass, or intimidate another person, uses the mail, any interaetive
       computer service or electronic communication service or electronic eommunication
       system of interstate commerce, or any other facility of interstate or foreign commeree to
       engage in a course ofconduct that-

               (A) places that person in reasonable fear ofthe death ofor serious bodily injury to
                   [that] person, [an immediate family member ofthat person; or a spouse or
                   intimate partner ofthat person]; or




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                   (B) causes, attempts to cause, or would be reasonably expected to cause
                       suBstantiaTemotionaHilstresstoTtEatpeKonTa^
                       that person; or a spouse or intimate partner ofthat person]

commits a felony punishable by five years in prison and a $250,000 fine. 18 U.S.C.

§2261(b)(5).

        7.         Title 18, United States Code, Section 1512(b)(3), partofthe federal witness

tampering statute, provides in pertinent part:

        (b)        Whoever biowingly uses intimidation, threatens, or corruptly persuades another
                   person, or attempts to do so, or engages in misleading conduct toward another
                   person, with intent to-

                   (3)    hinder, delay, or prevent the communication to a law enforcement officer
                          orjudge ofthe United States ofinformation relating to the commission or
                          possible commission ofa Federal offense ...

commits a felony punishable by twenty years in prison and a $250,000 fine.

        8.         Under Title 18, United States Code, Section 371, iftwo or more persons conspire

to commit any offense against the United States, including the two above, and one or more of

such persons do any act to effect the object ofthe conspiracy, each commits a felony punishable

by five years in prison and a $250,000 fine.

                                          PROBABLECAUSE

        At all times relevant to this affidavit:

        9.         Victim 1 lived in Natick, Massachusetts. Victim 1 was a reporter and editor ofan

online newsletter ("the Newsletter") that covered ecommerce companies, including eBay, Inc.

Victim 1 used a Tvvitter account in the Newsletter's name to promote her reporting.

        10.        Victim 2 lived in Natick and was married to Victim 1. He was the publisher of

the Nevvsletter.


                                                     3




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        11.    The investigation described below has revealed that in or about August 2019,

BAUGH, HARVILLE, and the rest ofthe Target Subjects—allofwhom were then officers,

employees or contractors ofeBay—engagedin an extensive harassment campaign that targeted

and terrified Victims 1 and 2, causing them substantial emotional distress. The campaign

included: sending anonymous, threatening communications to the Victims; ordering unwanted

and disturbing deliveries to their home, including funeral wreaths and books on surviving the

lossofaspQuse;andBAUGH,HARyiLLE,Zea,andPopptrayellingtQNaticktQsutveilthe

Victims at their home and in their community.

        12.    After the Victims spotted one of the surveillance teams, the Natick Police

Department ("NPD") investigated, connected HARVILLE and Zea to eBay, and reached out to

eBay for assistance.

        13.    When BAUGH, HARVILLE, Gilbert, Popp, Stockwell, Zea, and others leamed

that the NPD was making inquiries, they interfered with the investigation, either lying to the

NPD about eBay's involvement while pretending to offer the company's assistance with the

harassment, lying to eBay's lawyers about their own involvement, or both. As the NPD and

eBay's lawyers began to close in on the truth, the Target Subjects deleted evidence that showed

their involvement, further obstructing what had by then become a federal investigation.

       eBay

       14.     According to Fortiine magazine's most recent online listing, eBay's
"multinational e-commerce
                          platforms allow[] consumer-to-consumer and business-to-consumer

transactions." Founded in 1995 and headquartered in San Jose, California, eBay ranked 295 in

the 2019 Fortune 500 with more than $10 billion in revenue andjust over 13,000 employees




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worldwide.

        15.     In August 2019, according to written records obtained from eBay and witnesses

interviewed in connection with the investigation:

                a.     Executive l and Executive 2 were members ofeBay's executive

leadership team.

                b.     BAUGH was eBay's Senior Director of Safety & Security. He ran eBay's

Global Security and Resiliency ("GSR") business, a company division responsible for, in general

terms, the physical security ofeBay's employees and facilities worldwide.

                c.     HARVILLE, who reported directly to BAUGH, was eBay's Director of

Global Resiliency, a unit focused on ensuring that eBay could eontinue to operate worldwide

after business disruptions, such as security threats, political unrest, or natural disasters. BAUGH

recruited HARVILLE to eBay from a security consulting firm where the two had worked

together.

                d.     Popp, a Target Subject who is separately eharged in the District of

Massachusetts with committing both ofthe Target Offenses, was eBay's Senior Manager of

Global Intelligence. She served as BAUGH's de facto chiefofstaff. Before May 2019, Popp

managed eBay's Global Intelligence Center ("GIC"), an intelligence and analytics group within

the GSR business that supported eBay's security operations.

                e.     Stockwell, a Target Subject who is separately charged in the District of

Massachusetts with committing both ofthe Target Offenses, was an intelligence analyst in the

GIC who later became its manager when eBay reassigned Popp to work directly with BAUGH.

                f.     Zea, a Target Subject who is separately charged in the District of




                                             R359
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Massachusetts with committing both ofthe Target Ot'fenses, was an eBay contractor who worked

as an intelligence analyst in the GIC.

                 g.      Gilbert, a Target Subject ivho is separately charged in the District of

Massachusetts with committing both ofthe Target Offenses, was a Senior Manager ofSpeciat

Operations for eBay's Global Security Team. A former police captain in Santa Clara, Califomia,

Gilbert was responsible for, among other things, executive proteetion, special events security,

andsafetyateBay'sNQrthAmericanQffices.

                 h.      Supervisor 1 was a GSR employee responsible for, among other things,

safety and security at eBay's offices outside ofNorth America.

                 i.      Analyst 1, Analyst 2, and Analyst 3 worked in the GIC.

       The Newsletter

        16.      Based on my review ofthe Newsletter's intemet website, www.[Newsletter].com,

the Newsletter devotes its coverage to online marketplaces, including eBay, Amazon, and

Craigslist, among others. Victim 1 has foeused much ofher reporting on issues ofinterest to
"sellers"                                                                           "What is
            (i.e., people who sell merchandise online). Examples ofarticles include

Behind Amazon Prime Shipping Delays? and "Craigslist FINALLY Launches a Mobile App:

Worth the Wait''"

        17.      Based on my review oftext messages and emails provided by eBay and otherwise

obtained during the course ofthe investigation, eBay executives, including Executives 1 and 2,

followed the Newsletter with interest, often taking issue with the content of Victim 1 's coverage

ofeBay.

        18.      On April 10, 201 9, for example, Executive 2 texted Executive 1, "We are going to




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crush this lady, sending along a link to the Newsletter's coverage that day ofExecutive 1's

compensation.

        19.     On April 20, 2019, discussing the Wall Street Journal's coverage of Executive 1,

Executive 1 texted to Executive 2, "Fuck them. Thejoumal is next on the list after [Victim 1]."

       20.      On May 31, 2019, eommentingon theNevvsletter's coverage ofeBaythatday,

Executive 2 texted to Executive 1, "Shockingly reasonable..." Executive 1 replied, "I couldn't

care less what she says." Seconds later, Executive 1 added, "Take her down."

       21.      In or about June 2019, eBay (at Executive 2's direction) retained a consultancy

that prepared a document entitled "Next Steps: Altemative Digital Methods for Reducing Impact

of[Victim 1] and [Victim 2] and [Newsletter]." The document included the recommendation,

among others, that eBay promote company-friendly content that would drive the Newsletter's

posts lower in seareh engine results.



       The Parocly Account

       22.      Like many news outlets, the Newsletter offered its readers the opportunity to

comment underneath Victim 1 's stories. The anonymous comments were sometimes critical of

eBay and its executive leadership team. At other times, the comments amounted to name-

calling. For example, a May 2015 comment ealled eBay exeeutives "liars" and "thugs" vvho

should bejailed; a May 2017 comment called Exeeutive 1 the devil; and an April 2018 comment

stated that Executive 1 was "delusional."




        Documents do not indieate that the strategies were executed.

                                                 7




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          23.    One commenter in particular, who went by the online nicknames "FidoMaster,
"FidoMasterl," "Dan Davis," or "UnsuckeBay"                "the Parody Account
                                            (collectively,                     )-

expressed frequent and negative opinions regarding eBay.     [n addition to commenting below the

Newsletter's articles, the anonymous author(s) ofthe Parody Account sometimes posted opinions

critical ofeBay in Twitter feeds, impersonated official eBay communications using a distorted

version ofthe company's logo, or sent messages that one eBay seller considered to be harassing.

          24.    On May21, 2019, forexample, theNewsletterreportedthateBayhadbuiltonits

campus an expensive replica ofWalker's—a                           "(t's
                                       popular Manhattan bar—noting, probably

news to sellers (and shareholders?) that eBay has a pub-like lounge on campus - especially one

built vvith what appears to be no-expenses spared." FidoMasterl tvveeted a link to the article,

noting "@[Newsletter] posted about @eBay's beleagured [Executive 1s] self-indulgent vanity
          'Walker's West' campus bar." The tweet continued, "The bar,
project                                                               [Executive 1's] recreation

of iconic @WalkersBarNYC is a throwback to intemet and gaming company CEO's lavish

overspending on 'legacy' facilities and landmarks." FidoMasterl also eriticized Executive 1 for

undertaking the project while eBay was experiencing "cost reduction, layoffs, and scrutiny by

activist investors."

          25.    In March 2019, in response to a request from Exeeutive 2, the GIC prepared a

report for BAUGH summarizing the Parody Account's discussions ofeBay over the last year.

The report noted that FidoMasterl/Dan Davis was an "anonymous [T]witter user that posts

negative content about eBay and its senior leadership." Regarding Fidomasterl/Dan Davis'



          It appears that these account handles/nicknames were commonly controlled, but it is
possible that  more than one individual used them.




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relationship with the Newsletter, the report noted "the owner ofthis account corresponds

regularly vvith [the Newsletter] editor [Victim 1] about issues pertaining to eBay. [Victim 1] and

[the Newsletter] are knovvn for publishing negative content about eBay and its exeeutives."

       May lo July 2019—the Lead Up to the Harassment Campaign

       26.     In either April or May 2019, according to CW-1, CW-2, and CW-33, BAUGH

summoned Popp, Stockwell, Analyst 1, and Zea to an eBay conference room. BAUGH stated

that the GIC would be writing an anonymous, threatening letter to Victim 1 to get her to stop

publishing artieles critical ofeBay. The letter, which was to be handwritten and sent from

Austin, Texas so that it could not be connected to eBay, was never sent.

       27.     On or about June 8, 2019, Gilbert scribbled the word "Fidomaster" on the fence in

front ofthe Victims' home.

       28.     In or about July 2019, aceording to CW-3, BAUGH directed Stockwell and later




                                                                                               las
any criminal history that would bear on credibility, and each has provided facts generally
corroborated by the other records, documents, and interviews conducted in the investigation to
date and reflected elsewhere in this affidavit. I accordingly believe each individual's information
to be reliable.

         Gilbert had flown to Boston using tickets that CW-2 purchased for him with CW-2's
credit card. Gilbert rented a black Ford Explorer similar to one that appears in surveillance video
from the Victims' home security system that day. In the video, the driver of the Explorer
approaches the Victims' fence before returning to the SUV.




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Zea to monitor Victim 1 's Newsletter posts, screenshot them, and forward them by WhatsApp

on a real-time basis, day or night, any day ofthe week.

       29.     In July and early August 2019, as described below, members ofeBay's executive

leadership team and others increased pressure on BAUGH to address both the Newsletter and the

Parody Account.

       30.     On July 10,2019, Executive 1 received and shared with BAUGH and others an

email complaintfrom an eBay setlerthatthe ParodyAeeount@unsuckeBaywasharassingthe

seller on Twitter and answering customers' questions that had been posted to an official eBay

Twitter account. The seller asked for Executive 1's help in addressing the problem.

       31.     On or about July 18,2019, Executive 1' s spouse texted BAUGH privately about a

comment undemeath a Newsletter article that called Executive 1 a "con artist and thief."

The spouse vvrote: "I'm not exactly thrilled with this post on my favorite [Newsletter]. The

author gets people worked up with the way she skews her stories. Don't tell [Executive 1] I sent

this I'mjust letting you know about it. Ok?"

       32.     In mid-July 2019, according to CW-1, BAUGH tasked the GIC with identifyin^

the author ofthe Parody Account. BAUGH stated that identifying Fidomaster was a top priority

coming from eBay's executive leadership, including Executive 1 and Executive 2. [n an email to

BAUGH and Zea, Stockwell laid out several theories, including that the author ofthe Parody

Aecount might have "made contact with or know" Victim 1 .

       33.     BAUGH directed the GIC to find evidence that the Victims and the Parody



       WhatsApp is an encrypted messaging and internet telephony application owned by
Facebook.

                                                10




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Account were collaborating to publish negative content about eBay, including by using a fake

social media account to attempt to trick Fidomaster into admitting a connection with Victim 1.

The GIC never found such evidence. According to CW-1, however, BAUGH remained

convinced that Victim 2, or possibly Victim 1, vvas Fidomaster.

       34.     On August 1,2019, theNew York Times published an article reportingthat eBay

had accused Amazon in a lawsuit ofunlawfully poaching eBay sellers to Amazon's online

marketplace.

       35.     That day, at approximately 1:46 p.m., Victim 1 posted an article on the Newsletter

under the headline "eBay RICO Lawsuit Meant to Curb Seller Exodus to Amazon?" Victim 1 's

article reported on both Executive 1 and eBay's lawsuit: "[Executive 1] has been unable to stop

a decline in market sales, but trying to dissuade sellers from turning to Amazon (and trying to get

Amazon to stop recruiting sellers) may not be the best tactic."

       36.     Just halfan hour later, at 2:19 p.m., Executive 1 texted Executive 2: "[Victim 1]

is out vvith a hot piece on the litigation. Ifyou are ever going to take her do\vn..now is the time."

       37.     Executive 2 responded shortly afterward by text message: "On it."

       38.     As set forth below, a series oftext messages followed between Executive 2 and

BAUGH, beginning with Executive 1 's suggestion to Executive 2 that "we ... take her down":




                                                 11




                                              R365
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                                                                                  [EXECUTIVE 2's
                                                                                  INi'HALS A^ FERST N.AMEj


                                               ~>''ith ?:i hst
                                     j!ii O'R                  pk-cy e^"
                                   t! li3s:9:ii;flrt.

                                   if 'f'i'e ane svsr gsmg to iaks b&r
                                   dQwn..'~;ow is ths t^ris.




                                   HBtred b 3 S!P. i am vs^' sinFui.




                                   Amsn,-

                                   I WiifiS her PON!

       [EXECLTEVE ]'s
          INITIALS^


                                   $hQ is biassd tfftll 'Ahe n&e^s
                                   to get §URNEDDO'^H




       39.        Executive 2 and BAUGH's August 1, 2019 conversation continued by text, with

Executive 2 committing to "embrace managing any bad fall out."




                                   f'fi ennbrace managing anybad
                                   fatl out. We need to STOP hsr.


       Aligtist 2019 - Planning and Execiiting the Harassment Campaign

       40.        Aceording to CW-1, CW-2, and CW-3, BAUGH convened several meetings that

included one or more ofthe following: HARVILLE, Gilbert, Popp, Stockwell, Zea, Supervisor

1, and Analysts 1, 2, and 3, among others.

       Harassing ancl Threatening Deliveries

       41.        In the first ofthese meetings, BAUGH directed Popp, Stockwell, Zea,and

                                                                12




                                                          R366
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Analysts 1, 2, and 3 to anonymously harass Victims 1 and 2, with the goal of distracting Victim

1 and making her uncomfortable to the point where Victim 1 would stop writing negative articles

about eBay. BAUGH called the harassment a "distraction campaign" and suggested that scary

masks, live insects, or embarrassing items, such as pornography and strippers, be sent to the

Victims (and in some cases to their neighbors in the Victims' names).

       42.     According to CW-2, BAUGH showed a clip from the 1988 movie Jolmny Be

Good, m which two friends an'anged for the delivery, to their football coach's home, ofa series

ofunwanted and distracting items and people, including $283 in pizzas, an elephant, a male

stripper, an exterminator, and Hare Krishna missionaries. BAUGH stated he wanted somethin;

similar to happen to the Victims and tasked the GlC's members with brainstorming other things

that could be delivered to the Victims' home.

       43.     BAUGH also directed that the deliveries not be traceable to eBay. At his

direction, Zea and other G1C analysts paid for the deliveries using prepaid debit cards, and made

online orders using anonymous email accounts, virtual private networks, and cell phones and

computers specifically purchased for the harassment campaign.

       44.     In these meetings, BAUGH referred to having executive support for these actions

and shared with one or more members of the group text messages that BAUGH claimed to have

received from executive management, including ones similar to the ones between BAUGH and

Executive 2 described above.




         I am aware based on my training and experience as a cybercrime investigator that virtual
private networks are leased Intemet Protocol ("IP") addresses that would obfuscate the source of
the harassment.

                                                13




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       45.     BAUGH nevertheless stressed that the harassment campaign must remain

confidential. In one ofthese meetings, BAUGH displayed a photograph ofwhat he said were

members ofa Samoan gang. BAUGH said, in substance, that ifthe distraction campaign didn't

work, he would send the gang to the Victims' home, that they were not "good guys," and that

whatever happened would be out of BAUGH s control.

       Threutenmg Messages

       46.     AecordingtQ CW-2, ina separMe mefitJngduiingtbeweekQfAu

gathered Popp, Gilbert, and Supervisor 1 to plan another way to harass the Victims.
       47.     Specifically, Baugh, Popp, Gilbert, and Supervisor 1 planned to send a series of

anonymous tweets and Twitter direct messages. According to CW-2, the purpose ofthe

anonymous messages was to create the impression that there were eBay sellers who disapproved

ofthe Newsletter and its content. BAUGH, Gilbert, Popp, and Supervisor 1 discussed that the

messages would gradually get more aggressive, culminating in the publication ofthe Victims

home address in Natick. Popp selected @Tui_Elei for the Twitter account's handle ("the

Tui_Elei Account") and used a picture ofa skull that BAUGH approved for the account profile

to further intimidate the Victims.

       48.     By design, according to CW-2 and others interviewed in connection with the

investigation, these threatening messages would allow eBay—throughGilbert and another GSR

employee—toapproach the Victims in Natick with an offer of assistance to investigate and stop

the threatening messages, thereby eaming the Victims' trust, creating good will toward eBay,



         Tvvitter posts, or "tweets," are generally pubticly displayed. Twitter "direct messages"
are sent from one Tivitter account to another and are generatly not pubtic.

                                                14




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and getting the Victims cooperation in identifying the author ofthe Parody Account. (This will

be referred to in this affidavit as "the White Knight Strategy").

         49.      BAUGH told Popp, Gilbert, and Supervisor 1 that eBay's leadership supported

these efforts. He later forwarded them the email beloiv from Executive 2 in which Executive 2

complained about "Fidomaster" and "the [Newsletter] gal," and suggested that eBay should do
"Whatever. It. Takes" to address them:

 1 am utteriy vexed by this' This twitter account dominates our soclal narrative with his CONSTANT obsession
 with tro!ling us. it's more than annoying. st's very damaging. There are a few people (this guy and the
                   |gal) infatuated with eBay who have seemingly dedlcated their [ives to erroneous!y trashing us
 as a way to build their own brand - or even buiid a business. It's genuine!y unfair and causes tremendous
 damage because we !ook bad fighting back In pubiic and standing up for ourseives. if we could engage, I'd
 weicome the fight and we have a !ot of facts and truth to wln wlth. But, instead we take shots broadside and sit
 on our powder. This issue glves me ulcers, harms empioyee mora!, and tricKIes Into everythlng about our
 brand.! genuineiy belleve these people are acting out of maiice and ANYTHING we can do to soive it should
 be expiored. Somewhere, at some point, someone chose to iet this slide. It has grown to a point that is
 absoiutely unacceptabie. It's the "blind eye toward graffiti that turns Into mayhem" syndrome and I'm sick about
 it. Whatever. !t. Takes.

         50.      At or around the end ofthat week, BAUGH showed the Leonardo DiCaprio

movie, Body ofLies, to Zea. In the movie, DiCaprio's character creates a fake terrorist plot that

is intended to trick and draw an actual terrorist out ofhiding. BAUGH stated that this was his

current thinking regarding the Victims, which I believe vvas a reference to the White Knight

Strategy (i.e., tricking the Victims into helping eBay by creating and then eliminating the

harassment campaign).

         Siin'eillance Campaign

         51.      In a third set of planning meetings in early August 2019, BAUGH recruited

HARV1LLE and Zea to travel to Boston to physically surveil Vietims 1 and 2 at their home and

in their community. The purported purpose ofthe trip, according to CW-2 and CW-3, was to
                                             15




                                                     R369
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find evidenee that the Victims and the author ofthe Parody Account were collabomting to

publish negative content about eBay, presumably for the purpose of discrediting both.
        52.    On August 11, 2019, at approximately 3:15 p.m. (PT), BAUGH messaged

HARVILLE: "you and 1 need to fly to east coast for op. I'll book travel arrangements offthe
                         "copy."
grid." HARVILLE replied,

        53.    BAUGH instructed HARVILLE not to tell an eBay coworker that "you are going

anywheK,'^HARyiLLEmessaged:'MQoneknp\ysshit,''andBAUGHrep|ie^

lie to [HARVILLE's wife] too."

        54.    BAUGH then messaged that he would be sending a screenshot to HARVILLE:
"Once
        you read it delete this entire thread and DONT SAVE TO YOUR PHONE or we will all

?et fired."

        55.    The following messages came next, including a copy of an earlier message that

BAUGH had exchanged with Executive 2 about "neutralizing [Victim 1's] website" and

Executive 2's response that he wanted to "see ashes":




                                               16




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                                The'e are 2 tar^ets. One known 3nd
                                one unknown- NEVER search for
                                them on yoL.ir personal, work phone
                                ar conipute!'




                                  ev wili find vou first




                                                                           —-———
                                                                             tVlCTIM 1's HRST NA\[E]




                                 1 want to see ashes
                                 A$ iORg as it tskes. Whatever it
                                 tgkes




       56.     From BAUGH's use ofa message featuring Victim 1's name, I believe BAUGH

was referring to Victim 1 as one ofthe "2 targets."

       57.     BAUGH next sent screenshots ofseveral July 2019 emails regarding the

executive leadership team's concerns about UnsuckeBay (i.e., the Parody Aecount).

HARVILLE replied, "Holy crap!"

       58.    BAUGH then forwarded to HARVILLE a sereenshot of Executive 2's August 6,

2019 email to BAUGH and others (described above in paragraph 49), complaining about both

the Parody Account's author and Victim 1 ("the [Newsletter] gal") and stating "I genuinely

believe these people are acting out ofmaliee and ANYTHING we can do to solve it should be

explored."

       59.    After sharing these screenshots, BAUGH messaged HARVILLE at 3:32 p.m.:
                                               17




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              won'
             've b<



       60.      HARVILLE's reply message at 3:33 p.m.:


                                  Copy, Totally black        , ,. •; ^
                               rm'c)eIe{ing'tHJsnow.'''''''".:'.~'T

       61.      Interviews with CW-1, CW-2, and CW-3 and records obtained from Apple show

that BAUGH, HARVILLE, and others obtained and tested a GPS device to install on the

Victims' car in aid ofthe surveillance campaign. BAUGH practiced installing the device on a

car in eBay's parking lot that matched the make and model that the Victims drove.

       62.      On or about August 14, 2019, according to CW-2 and CW-3, BAUGH held a

meeting that included HARVILLE, Popp, Gilbert, and Zea. During the meeting, BAUGH

displayed a map ofNatick on the wall and discussed surveillance planning. Gilbert advised the

;roup that the harassing deliveries, which were still undervvay to the Victims' home, would put

the Victims on alert, could result in the Victims paying closer attention to who was approachinj

their home, and potentially compromise the surveillance team. BAUGH directed Zea to try to

stop the package deliveries.

       63.      According to CW-3, on August 14, 2019, BAUGH directed Zea to go to a Target

store to purchase permanent markers that could be used to write on the Victims' fence. Zea

purehased these markers at approximately 8:10 p.m. that day (as reflected in a Target receipt

obtained by the FBI from eBay).
                                                  18




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       .M;....—J^^SHiji^£X!]^yiL2li^s^!l2is^jl];£iLs^22L!s!i£j2SS
According to CW-2 and CW-3, these included HARVILLE and Zea's registration for a software

development conference in Boston that happened to be occurring that week.

       65.     On or about August 15,2019, BAUGH also directed Stockvvell and Zea to create

a document that featured Victims 1 and 2 as eBay "Persons of Interest" (or "POIs"). While I am

aware from CW-1, CW-2, and CW-3 that the GIC did track as POIs customers and sellers who

threatened violence, this document falsely suggested that Victims 1 and 2 were the authors ofthe

Parody Account, and that Victims 1 and 2 had disparaged and threatened eBay executives,

including Executive 1. Ifpolice detected their surveillance and pulled them over, according to

CW-2 and CW-3, BAUGH and HARV1LLE could use the documents tojustify, falsely, why

they and Zea were in Boston—to
                             investigate two people who had supposedly threatened eBay

and its executive personnel.

       The Target Sitbjects' Harassment Campaign

       66.     Beginning on August 7, 2019, as described below, the Victims began to

experience what BAUGH had directed: a stream ofharassing, embarrassing, and disturbins

deliveries. Victim 1 similarly began to receive a torrent oftweets and direct messages directed

by BAUGH, drafted by Popp, and approved by Gilbert and Supervisor 1, in furtherance ofthe

White Knight Strategy.

       67.     That day, Victim 1 received a Twitter private message from an account with a



          Records obtained from eBay and Red Hat, the sponsor ofthe conference, indicate that
HARVILLE and Zea attempted to register for the DevConf conference on or about August 14,
2019, but also that none ofthe three ever attended the conference or claimed a spot offthe
ivaiting list when it was offered to them.

                                               19




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username and display name that she did not recognize, the Tui_Elei Account. The private

message asked her what her problem was vvitb eBay.

        68.     When Victim 1 did not respond, the private messages from the Tui_Elei Account

escalated, asking "HELLO!!!!!!"; "WTF ...ru there??"; "im waiting... i don't like waiting";
"WTF whats it                                        "I
              goin to take for u to answer me??"; and guess im goin to have to get ur

attention another way bitch.. ."

        69,     When'Victim 1 continuednotto respond.more prwate messages fQllowed that

included explicit language: "U dont have the balls to talk to me?? Stop hiding behind ur

computer screen u fuckin cunt!!!"

        70.     On or about August 8, 2019, at approximately 11:00 p.m. (ET), Victim 1'semail

inbox was flooded over the course of an hour with dozens of emails and newsletters that she had

not signed up for (for example, emails with the subjects "the Communist Party"; "the Satanic

Temple"; and "Cat Faeries").

        71.    On or about August 10, 2019, Victims 1 and 2 began to receive a series ofhome

deliveries that they had not ordered. The content ofmessages that followed from the Tui_Elei

Account caused Victims 1 and 2 to believe the person controlling the Tui_Elei Aceount had sent

(or at least knew of) these deliveries.

        72.    For example, on August 10, 2019, Victim 2 received an email reporting that a
"Preserved Fetal Pig" had been ordered online to be sent to the Vietims' house.

        73.    At approximately 4:00 p.m. that day, an Amazon.com package addressed to

Victim 1 was delivered to the Victims' home. The package contained a Halloween mask

featuring a bloody pig faee:


                                               20




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       74.    At 4:14 p.m., Victim 1 received a message from the Tui_Elei Account asking
"DO I HAVE UR ATTENTION NOW????"

       75.    On August 11, 2019, Victim 1 received a series ofprivate messages from the

Tui_Elei Aceount. The first message stated: "Ur fat fuck pussy husband [Victim 2] needs to put

u in line cunt." The nextmessage stated: "afterhe takes the plugsoutofhis asshole...fuckin
               "U are sick motha fuckers..and every one will kno! U fuckin cunt ass bitch!!"
pussies!!! and

       76.    On August 12,2019, Victim 2 received from Amazon the death-themed book
                        "GriefDiaries: Surviving the Loss ofa Spouse":
pictured below entitled




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       77.     The Tui_Elei Account continued messaging Victim 1 that day, asking her what

her problem was with eBay.

       78.     On August 13, 2019, Victim 2 reeeived a voicemail message in response to his

purported interest in opening an Adam & Eve sex toys franehise. (Victims 1 and 2 reported to

the NPD that Victim 2 had not expressed such interest).

       79.     The Tui Elei Account continued to tweet at Victim l on August 13, 2019, writing
••RUTHERE???'\"ywQntuanswrme???'\and,''m^^

pay 4 food cloths and rent by selling on ebay.. . UR stupid idiot comments r pushin buyers away
fromebayandhurtinfamilys!! STOPITNOW!! #ebay #ebayseller."

       80.     On August 14, 2019, Victims 1 and 2 received a package from Carolina

Biological Supply in Burlington, North Carolina that, according to the company, contained fly

larvae and live spiders.

       81.     On August 14, 2019, Victims l and 2 also received a box of cockroaches sent

from Dubia Roaches ofWichita, Kansas.

       82.     That day, the Tui_Elei Account tweeted "[Victim 1] wen u hurt our bizness u hurt

our familys... Ppl will do ANYTH1NG 2 protect family!!!!"

       83.     [n response to these deliveries and messages, Victims 1 and 2 added a security

camera to their house, and the NPD—to
                                    whom the Victims had reported many ofthese

incidents—committedto conduct extra checks near the Victims' house in the future.

       84.     On August 15, 2019, pornography entitled "Hustler: Barely Legal" arrived at the

homes oftwo ofthe Victims' neighbors; the packages had Victim 2s name on them. The

contents ofone ofthe packages is pictured below:


                                               22




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       85.     On August 15, 2019, a Cambridge, Massachusetts florist delivered a "sympathy"

wreath to the Victims' home, another death-themed delivery. When an NPD officer ealled the

florist, the florist stated that the person who had ordered the wreath tried unsuccessfully to cancel

the order before completing the transaction. (This information is consistent with BAUGH's

instruction to Zea on August 14 that Zea should cancel outstanding deliveries in anticipation of

the surveillance campaign).

       Surveillance Begins and the Harassment Contimies

       86.     On August 15, 2019, BAUGH and Zea flew to Boston. HARVILLE also flew to

Boston, separately, the same day.

       87.     Once in Boston, Zea rented a black Dodge Caravan, and HARVILLE rented a

blue Subaru Forester, both from Enterprise Rent-a-Car. BAUGH, HARVILLE, and Zea checked

into Boston's Ritz Carlton hotel.

       88.     At approximately 8:30 p.m., according to records obtained from Apple, Stockwell




       First-hand observations ofevents taking place in Boston were reponed to me by
CW-2, CW-3, or both.

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sent a WhatsApp message to HARVILLE providing the make, model, and license plates ofthe

Victims' family cars, including their Toyota Rav4.

        89.    OnAugust 15, 2019, at ll:30p.m., the day BAUGH, HARVILLE, andZeahad

arrived in Boston, the three drove the Dodge Caravan to Natick, where BAUGH and

HARVILLE approached the Victims' home on foot with the intention of installing the GPS

device on the Victims' car. Zea and Popp, whojoined the surveillance by conference call from

SanJQse.monitRredtheNEQdispatcboverthejntemetto

(Records obtained from Apple show that one of HARVILLE s iPhones was used that morning to

visit the vvebsite "Natick Police and Fire Live Audio Feed at m.broadcastify.com). Although

BAUGH and HARVILLE approached the Victims' home, they did not install the GPS that night

because the Toyota Rav4 was locked in the Victims' garage.

        90.    Upon retuming to the hotel, BAUGH, RARVILLE, and Zea ordered room

service. HARVILLE discussed breaking into the Victims' garage (using tape and either a paint

scraper or putty knife) in order to install the GPS tracker.

       91.     The next day, Friday, August 16, 2019, at 3:48 p.m., according to records

obtained from a Boston-area hardware store and Apple, HARVILLE purchased: (1)a slotted

screwdriver; (2) a 6-in-l painters' tool; (3) a two-ended catspaw/pry bar; and (4) nitrile (rubber)

gloves. I believe based on my training and experience that these were the tools that HARVILLE

intended to use to break into the Victims' garage.

       92.     On the aftemoon of Friday, August 16, 2019, HARVILLE, BAUGH, and Zea

retumed to Natick to continue the sui'veillance. HARVILLE drove separately in the Subaru




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Forester.10

       93.     On that same afternoon, one or both ofthe Victims drove by the Dodge Caravan.

BAUGH started to follow the Victims. Monitoring the NPD dispatch, Zea heard the dispatcher

call in the fact that the Victims were being followed. Zea and HARV1LLE went back to the Ritz

Carlton in the Subaru while BAUGH returned the Dodge Caravan to Enterprise.

       94.     As Zea heard, Victims 1 and 2 reported to the NPD that a dark-colored minivan

with New York plates had circled their neighborhood and followed Victim 2. But the license

plate the Victims reported was off by one letter, so the NPD was not able to identify the

surveillance team's Dodge Caravan.

       95.     On the evening of August 16,2019, BAUGH, HARVILLE, and Zea ate and drank

at Boston's Oceannaire Restaurant. (A receipt from the restaurant shows an approximately $750

tab closed out at 10:41 p.m.). During the meal, BAUGH discussed with HARVILLE and Zea

that they would need to start "spamming" the Victims again. HARVILLE proposed delivering

chainsaws and human feces to the Victims; BAUGH suggested a dead rat.

       96.     That evening, BAUGH asked Stockwell to send an emergency plumber to the

Victims home. (Internet records from Stockwell s eBay-issued iPhone show that it was used to

look up a Boston-area emergency drain repair service on August 17, 2019 at 3:08 a.m. (ET)).

Later on August 17, Stoekwell also visited the website

https://shamrockentertainment.net/featured-dancers ("New England's Finest Female & Male




 Records obtained from Apple show a saved photograph ofthe Victims' home on one of
HARVILLE's iPhones at approximately 5:30 p.m. (ET) that day.


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Exotic Dancers For Any Occasion from Mild to Witd"),

        97.      On Saturday, August 17, 2019, according to airline records, HARVILLE flew

back to Califomia, and Popp flew to Boston.

        98.      On Sunday, August 18,2019, BAUGH, Zea, and Popp returnedtoNatickto

conduct more surveillance in a GMC SUV that Zea rented. BAUGH again followed Victim 2 as

he drove the Toyota Rav4 around Natick, but BAUGH abandoned the surveillance when he saw

Victim2takingpictiffeso£theGMC,yictim2re(3ortgdtotheNP^

by a silver or gray GMC and had taken a photograph ofits license plate.

        99.      On Tuesday, August 20, 2019, BAUGH, Popp, and Zea returned to Natick for a

fourth surveillance. They abandoned it when they saw a Jeep with tinted windows parked in

front of the Victims' home. The three feared, correctly, that the NPD had sent an undercover

officer there.

        100.     Meanwhile, as BAUGH had suggested at the Oceannaire Restaurant, the

harassment campaign had resumed. On August 17, 2019, the NPD responded to the Victims

house at 4:30 a.m. because a pizza delivery person had shown up from Boston seeking payment

for $70.00 vvorth ofpizza that Victims 1 and 2 had not ordered.

        101.     Laterthe nextnight, at approximately 1 1:30 p.m., asecond pizza delivery arrived.

According to Victim 1, the telephone number used to place the order was (470) 472-9158, the

same number that had been used to place the "sympathy" wreath order with the florist.

        102.     On August 18, 2019, at 12:58 a.m. (ET), Craigslist records reveal that the

following classified advertisement was posted on the company s website featuring the Victims

home address:


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              S/17-8/26: BI.OC K r'VKI'Y in Niitick - Let's h,ivc some fiin; (N.itick.MA)
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       103.       Later that day, at 1:53 p.m. (ET), the Tui_Elei Aceount publicly posted Victim 1 's

full name and the address ofthe Victims' house, asking "Dis UR address???" I am aware based

on my training and experience and my conversations with other agents involved in cyberstalkin;

investigations that the public posting ofa victim's home address or other personally identifiable

information is known as "doxing," and that doxing is a typical method ofonline intimidation and

harassment.

       104.   Three minutes later, at 1:56 p.m., the Tui_Elei Account delivered a private
                                                                             's
message to Victim 1 asking "U get my gifts cunt! !??," confinning in Victim 1 mind that the

same person was both threatening her and sending the unwanted deliveries.

       105.       Two minutes later, at 1:58 p.m., Craigslist records show the posting of an
"Everything must
                        go! estate sale featuring the Victims' address.

       106.       A short time later, at 3:07 p.m., Craigslist records reveal another post featuring

the Victims' home address:



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                                                                    R381
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                  M/F couple seekiiig activity partner (Natick, MA)
              in;!ttire (50s j suaiTted ccniple seekkig siiiglris orotiier cotipltis opfn to iaxptyriiig thrtfesomes. bdsui.
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       107.      In response to the doxing, either Victim I, the NPD, or other Twiner users who

know Victim 1 asked Twitter to take down the doxing posts and to suspend the TuiElei

Account.

       108.      On August 20, 2019, NPD officers responded to the Victims' house yet again.

They leamed from Victims 1 and 2 that people had been arriving at the Victims home lookin;

for a yard sale listed on yardsaleseareh.com. The advertisement on the vvebsite reported a week-

long tag sale and stated, "We are moving out of the country soon, and are trying to get rid of as

many ofour possessions as possible. ... Ifwe are not outside, feel free to knock on the door.

Maybe we can make a deal ifyou see something you like."

       109.      On August 20, 2019, more pornography was delivered to a third neighbor

(addressed in Victim 2's name).

       Threatening Messages Resiime

       110.      On August 21, 2019, NPD officers responded to the Victims' house again. They

leamed from Victims 1 and 2 that other Twitter aceounts were now posting harassing messages.

       111.      First, on August 21, 2019, a Twitter account with the usemame @Elei_Tui ("the

Elei_Tui Account"), only slightly different than the Tui_Elei Account, was used to post "Nice try

[Victim 1]... U cant shut me down!!!"
                                                                      28




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        112.   Two other Twitter aecounts also responded to the Elei_Tui Account's August 2]

2019 harassment:

               a.      A user named @[xxxxxxxx] ("the Mask Account")            wrote, "I agree!

[Victim 1] is hurting small businesses with all the negativity and pushing buyers to Amazon!"

This account featured an icon ofan individual pointing a finger and wearing a sinister mask:




               b.      Another account, @TopSellerl 3 ("the TopSellerl 3 Account"), also

responded, stating: "[Victim 1 ] focuz on sumthin else and stop fuckin with our customers!!! I

dunt wanna c unuther fuckin post bout #ebay.. . Leave our bizness alone !!!!!! @Elei_Tui." Like

the Mask Account, the TopSellerl3 Account featured a menacing photograph, this one with a

disturbing image ofapig:




         ' The investigation reveals that there is an active eBay seller who shares the first and last
name featured in the Mask Account. It is deleted here to avoid any suggestion that this eBay
seller was the author ofthe threatening Tweets. The author was Popp, as described below.

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                                              Top Seller
                                              ©TbpSeilerU
                                              ???7i ^;n.-.^ A..^..^- ^r-l-i-




               c.     The TopSelterl3 Account went on to threaten Victim 1 directly:
"WTF!!??? Hey,                                                                                 In
               @Elei_Tui wats [Victim 1] adress again?? guest i hav to pay heravisit...

response, the Elei_Tui Account posted Victim I's home address.just as the Tui_Elei Account

had days before.

       113.    As described below, records obtained from Apple reveal that BAUGH, Popp,

Gilbert, and Supervisor 1 agreed to have Popp direct these tweets at the Victims, in part to

execute the White Knight Strategy, and in part to mislead the NPD, which hadjust connected the

GMC that was surveilling Victim 2 to Zea.

       114.    Victims 1 and 2 have reported to law enforcement that the harassment caused

them distress during and after the harassment campaign. Both complained of lost sleep, physical

symptoms ofanKiety, concem about vvhat would happen to them next, and when in public, a fear

that they were being followed.

       Obstriiction and Witness Tampering

       115.    As noted above, CW-2 and CW-3 have reported that BAUGH, HARVILLE,

Popp, and Zea were aware that the Victims had spotted their surveillance on August 16 and/or

August 18, whieh is consistent with the quick retum to Enterprise Rent-a-Car of both the Dodge
                                               30




                                             R384
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Caravan and GMC SUV on those dates.

           116.   Records obtained from Apple reveal that BAUGH, Popp, Gilbert, Stockwell, and

Supervisor 1 also began to attempt to obstruct the NPD s investigation as early as Tuesday,

August20,2019.

           117.   On that date, Popp sent a WhatsApp message to BAUGH, Gilbert, and Supervisor

1 with a link to an audio recording ofan NPD dispatcher describing the ongoing harassment of

the Victims and the August 16 surveillance. Popp commented to the group: "This is from

Friday." In response, Gilbert asked, "They did not get the license plate?" Popp replied,
"Doesn't sound like it - either way, we
                                        got rid ofthat car the same day." BAUGH continued:
"We bumed         another 2 days later, but again, there was no cause and and they can't prove

anything. They are seeing ghosts now. Lol." I believe basedon BAUGH's referenceto"2

days" after Popp's reference to "Friday," BAUGH was referring to BAUGH, Popp, and Zea's

surveillance on Sunday (August 18).

           118.   BAUGH forwarded the same police recording to Stockwell and Analyst 3: "A

little glimpse ofwhat all your hard work is has led too. Lol. And stuff like this around the

clock.."

           119.   BAUGH then sent Stoekwell and Analyst 3 a link to the 2003 movie OldSchool

in which a character arrives at a home unannounced, stating: "I'm here for the gang bang."

           120.   Knowing that the NPD was investigating the harassment of the Victims, Gilbert




          Based on my training and experience as a criminal investigator, I believe BAUGH's
reference to "buming" references the retum ofthe rental car after the Vietims identified it to the
NPD as having followed Victim 2.

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stated to the group: "The moreIthought about it I do think we should bring a dossiers on the
                                                                             "I
[Victims] to the PD. Definitely want to make them look crazy." BAUGH replied, agree, and

Popp relied, "Copy re dossiers."

       121.    I believe from the context ofthese messages and the investigation to date that

Gilbert, Popp, and BAUGH were referring to the August 15, 2019 "Person oflnterest" ("POl")

document that falsely reported that the Victims had threatened eBay and Executive 1, and that

GilbertwDuldbrmgthePQldQCumenttotheNPQSodisersdittheVitStimsLliaras^

complaints.

       122.    At 9:48 p.m. (ET), BAUGH stated over WhatsApp, "Just sent poi doc with

[Victims] included. I had GIC send this to me last week in case we got stopped..that way would

at least have something to show to PD." A minute earlier, BAUGH emailed Gilbert the POI

document that falsely reported that the Victims had threatened Executive 1, noting, "Brian - take

a look at this, I think we need more details on them. Steph [Popp] is calling you. Let her know

what you think." Gilbert acknowledged receiving the false P01 document and stated he would

speak with Popp.

       123.    Meanwhile, BAUGH continued to discuss the harassment campaign, sending the

OtdSchool excerpt that he had sent to Stockwell and Analyst 3 to Popp, Gilbert, and Supervisor

1, commenting that "this has been the [Victims]' house for the past five nights."

       Awareness ofthe Victims' Emotional Distress

       124.    At 10:13 p.m., still on August 20, BAUGH messaged Stockwell and Analyst 3,
"We've "bumed' 2 ofour rental cars by following them..now they are seeing
                                                                          ghosts, think

everyone is following them and they call the police every 10 minutes." This causes me to


                                                32




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believe that BAUGH was aware ofboth the NPD investigation and the emotional distress that

the conspiracy's actions were causing the Victims.

        125.   Similarly, at 10:34 p.m., BAUGH messaged Stockwell and Analyst 3,taskin;

Analyst 3 with conducting a background check on an "idiot prosecutor" in BAUGH's hometown

in Arkansas vvho was prosecuting BAUGH's father. BAUGH asked Analyst 3 for "his office

and cell number. His email. Wife's name and cell/email. Kids names. Vehicle information etc.

I've done a quick osint [open source intelligence] search and I can see that likely having an affair

with at least one person." Regarding the prosecutor, BAUGH messaged: "This is a very small

town. If I gave him an ounce ofwhat we've been giving the [Victims], it would be devastating to

him."

        Obstrucling the NPD cmd Executing the White Knight Strategy

        126.   Just before midnight on August 21, 2019, Popp informed the group via WhatsApp

that BAUGH had authorized Gilbert to call Victim 1, but not to leave a voicemail. "He says you

can call her a few times so you have a record on your phone to show cops." Based on the earlier

meetings regarding the White Knight Strategy (as reported by CW-2), l believe the "call" was a

way to begin Gilbert's offer ofassistance to help the Victims with the harassing

communications, even though BAUGH, Gilbert, Popp, and Supervisor 1 knew ofthe NPD

investigation (and the fact that they were the ones behind the harassment).

        127.   The same WhatsApp group (BAUGH, Popp, Gilbert, and Supervisor 1) tracked

the interference with the NPD investigation vvithin moments of its next signifieant development,

the August 21 arrival in the lobby ofthe Ritz Carlton ofan NPD detective, who asked to speak

with Zea. (The NPD had in fact connected the GMC's license plate to Enterprise, Zea, and the


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hotel). A portion ofthe WhatsApp exchange, refening to Zea as "Ronnie," is depicted below:




          128.   Over the WhatsApp chat, Gilbert asked whether Zea could be connected to eBay.

Popp noted to the group that Zea's Linkedln profile connected her to eBay, and that Popp had

instructed Zea to "take it down in case they [i.e., the NPD] do social media research."

          129.   As BAUGH, Gilbert, and Popp discussed whose credit cards had been used to pay

for the room stays at the hotel and the travel to Boston, Popp reported that Zea had booked

BAUGH's room. BAUGH replied, "Whatever - fuck them. I'll get [Zea] on the plane and I'll

come back and deal with them." BAUGH instructed Popp to stay in her room and not talk to

anyone.

          130.   At 9:44 a.m. (ET), Gilbert proposed to the group a false explanation they could
                       "[Zea] was driving around looking for antiques. Must have
provide to the NPD:                                                              got lost and

they picked up her plate by accident. Can they visually identify her?" BAUGH replied that he

was in an Uber with Zea on the way to the airport and that the NPD could not identify her,

adding that the NPD detective had been "polite and clueless" when BAUGH spoke to him (i.e.,

when BAUGH impersonated Zea's husband).

          131.   At 9:48 a.m., Gilbert replied, "Good. This is fine. The cops obviously have
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nothing else to do in Natick. We known the targets have been very impacted by this op. Perfect

time for next phase." By "next phase," 1 believe Gilbert vvas referring to executing the White

Knight Strategy by contacting the Victims and the NPD to offer help with the harassment and

surveillance, despite the Target Subjects being responsible for it.

        132.     BAUGH replied, "Bring out bad boy out please; these people are vvasting our

time. It'sgotime."

       Contimiation ofthe Harassing Tweets

        133.     Popp messaged BAUGH, Gilbert, and Supervisor 1 that she had tried

unsuccessfully to purchase additional followers for her Twitter account and requested, "Am I

clear to start tweeting [Victim 1] even without followers?" At 11:22 a.m., Popp added, "Brian

[Gilbert] - you're running out oftime so I'm going to go ahead and start the public tweets so you

can call her before your flight..." Gilbert agreed.

        134.     At approximately 12:08 p.m., Popp shared a screenshot oftweets she had posted

moments earlier undemeath one ofthe Newsletter's tweets:


               Tui Eiel ^:^.w r>..n • 3m       --..'


               Nifi? try^B . U cant shut me down!"



               Tui Elei ®i-1e.


               Y do u keep atfgckinq us n hurbn our "^?rily bi2n




                                                       35




                                                   R389
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                            Top Sefier


                                ioLyZQn3u {ni"d;=j!;dstvp'uck'iiwKhi>ijr.:us;U!ncR!;;fcu!ilWun!tiiC
                            iiiL^h-T' fiisktn pQif ho;« ::r"^-,'... L-'rfV^ Sii!' biznri? 3ionR;:SJ!: .^";-:   ..:




                                                            •^r:
                            TopSelSer^'-!:uS-;"s;;i




                            Tuj Elei •.^•^::\ ;\;i   :::L




       135.   Based on the investigation to date, these public tweets were intended to continue

to harass the Victims in furtherance ofthe White Knight Strategy, and to deceive the NPD into

accepting Gilbert's help with the harassment eampaign, Gilbert replied to the group: "Good to
                                               36




                                                               R390
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go. Will make the calls."
        136.   Minutes earlier, Popp sent the same screenshots from her eBay email account to

Gilbert, copying BAUGH. Popp wrote: "Brian - FYI, she's really bringing out some angry

Twitter users." I believe based on the fact that Popp, Gilbert, and BAUGH had discussed Popp

writing these very Tweets, that the email itselfwas intended for either the Victims or the NPD in

furtherance ofthe White Knight Strategy. In other vvords, the email is intended to make it seem

like Popp discovered the tweets, not that she had vvritten them at the direction ofBAUGH and

Gilbert. The use oftheir eBay email accounts itselfis significant as well—the
                                                                            Target Subjects

took care to avoid discussing their harassment campaign and obstruction efforts over corporate

email; I believe the use ofcorporate email in this limited instance was intended to create false

documents that would support the White Knight Strategy.

        137.   Approximately thirty minutes later, at 12:34 p.m. (ET), BAUGH foi-warded

Popp's email ofPopp's threatening tweets to HARVILLE, and separately to the G1C.

       138.    At 1:03 p.m., Popp emailed BAUGH and Gilbert several documents: (1)the false

POI document featuring the Victims as eBay's two top Persons oflnterest along with selections

from the Newsletter's comments critical ofor mocking eBay and Executive 1; (2) an eBay POI

list that did not include the Victims but did include a POI that the Victims had mentioned to the

NPD; (3) screenshots ofthe unsuckEbay Parody Account; and (4) a selection ofthe tweets that

Popp had written targeting the Victims.

       139.    At 2:46 p.m., after speaking vvith the Vietims, Gilbert wrote: "Just made phone

contaet with [Victim 1] and [Victim 2]. They are totally rattled and immediately referred me to

Natick PD Detective [omitted]. [Victim 1] was a bitch, [Victim 2] wanted to talk to me and was


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receptive. [Victim 1] said talk to the detective and then hung up the phone.

        140.   At4:04p.m.,BAUGHsenttoGilbertandPoppacopyofanAugust 15,2019

email confirming that Zea was eligible to come offthe waitlist for the DevConf.US 2019

conference in Boston. (As noted above, Red Hat records show that Zea never claimed this spot

or attended the conference). In the private group chat, BAUGH responded: "I'm looking at the

docs that Steph put together..there's good stuffthere we can use, specifically the screenshot of

theyictjros' address bemg pQSted,'' (jilbertreRljed,"4grced.Wejyrt^n^^

[Zea] and Dave's [HARVILLE's] activities. Adamantly deny any deliveries and put focus on

the POIs."

        141.   At 4:10 p.m. (ET), Gilbert reported to the group that he had spoken to the NPD:
       "The detectives involved are
                                      [omitted] and [omitted], I spoke to [omitted]
       and he [g]ave up everything. Initially the PD was disregarding the reports
       as Paranoia. But when they gave the an accurate license plate number the
       detectives tracked it back to Veronica Zea. They also identified the pizza
       delivery to coming from a gift card purchased in Santa CIara. They leamed
       [Zea] lives in In Santa Clara. The rental car was tumed into the ritz Carlton
       which led the detectives to the Ritz. Checking with hotel they learned Zea
       was currently staying there. PD also discovered that David Harville is
       staying at the Ritz. They contact someone at eBay and confirmed Zea is
       with the global intel center and Harville is with the global security resiliency
       unit. Now PD thinks there is a connection."

        142.   Gilbert continued:




       143.    Based on the investigation to date, several ofGilbert s statements to the detective

were false. Specifically, Gilbert falsely told the detective that: (1) he did not know Zea or
                                                  38




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HARVILLE despite having met with both at eBay within the previous week; (2) that there was a

legitimate investigation underway; and (3) that there had been an "accidental" order of pizzas for

surveillance that was sent to the Victims' house.

       144.    Gilbert also emailed the NPD with other fatse statements, specifically that he had

planned travel in Toronto and New York City that he vvould change plans to be able to meet the

NPD in Boston. According to his flight itinerary, Gilben was, in tact, on the plane to Boston as

he wrote that he would try to move around other trips.

                                   You   '^PM




                           Hi


                           1 had plans to be in NYC and Toronto but trying
                           to move those around. Let the^^^^g<now
                           we are happy to work with you (PD) and get to
                           the bottom of this. 111 update you as soon as
                           my travel changes are conflrmed.


                           Brian


       145.    In response to Gilbert's suggestion "to make sure none ofthe other deliveries can

be tracked back to Zea and Santa CIara," Popp stated that the GIC had intended to order pizza

COD (payable on delivery) so that the delivery person would ask the Victims for cash. Gilbert

directed Popp to confirm the use ofa payment card: "The detective said the debit card used for

the pizza was purchased at a Safeway in Santa Clara. [Zea's] drivers license comes back to an

address in Santa Clara."

       146.    Popp acknowledged that the GIC had in fact purchased a "bunch ofgift cards" at

a Safeway in Santa Clara (as video surveillance ofZea and Analyst 3 obtained by the NPD

                                                  39




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showed).

        147.    In response, BAUGH, Popp, Gilbert, and Stockwell set out to concoct an

explanation for the gift card purchases that would lead the NPD away from the Target Subjects.

        148.    Specifically, at 4:33 p.m. (ET), Gilbert proposed that the group "pin the deliveries

to a POI in the San Jose or Santa Clara Area. Most of ebay employees live in San Jose or Santa

Clara. So that sjust a coincidence."

        149.    A^A:4Q p.m., BAUGHiristmctedPoppto"fitidaleca^

the request by stating that she had called Stockwell and asked for "all POIs in Bay Area since I

don't have visibility to those anymore. She will email you and me a report. I didn't tell her why

just said you would talk to her about it later."

        150.    BAUGH later messaged Stockwell privately on WhatsApp: "Cops traced the gift

eard from the pizza delivery back to Safeway in Santa Clara." BAUGH then asked Stockwell if

Popp had requested "Santa Clara poi's from [Stockwell]." Stockwell replied: "Yes, I'm still

compiling the list." BAUGH stated: "We need to pinthe Safewaycardon one ofthem."

Stockwell replied: "Copy. I figured as much."

        151.    At 5:05 p.m. (ET), Gilbert proposed creating a "Samoan POI": "If needed we

create a Samoan POI in Santa Clara. Then he becomes our primary suspect. This actually might

help the entire op." I believe Gilbert was referring to an attempt to link the Santa Clara debit

cards and the harassing deliveries to the harassing messages from Samoan-sounding Twitter

accounts, @Tui Elei and @Elei Tui.

        152.   At 5:10 p.m. (ET), picking up on Gilbert's suggestion, BAUGH instructed Popp

to "ereate another Tui that's in San Jose." Popp acknowledged the request. BAUGH continued:


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"Security had reason to believe they were in the area," referring to the Victims' harasser

                                                                 "Fidomaster and the
(@Elei_Tui). BAUGH also proposed that the group not forget about

fence..prob a good angle to play there somewhere." Gilbert replied that "they" (NPD) did not

knovv about the fence, and that Gilbert would have to wait for the NPD to raise the issue, because

Gilbert did not know whether or not the Victims had reported the Fidomaster fence vandalism.

See para. 27 & n.4 above. BAUGH suggested that Gilbert coutd say eBay's G1C leamed about

the fence on a random intemet forum.

       153.    BAUGH, Popp, and Gilbert continued to discuss what Gilbert would say to the

NPD at the meeting Gilbert had scheduled for the following moming. Gilbert stated, "it's going

to be difficult not acknowledging [HARVILLE and Zea] were conducting an investigation. I can

say their investigation was compartmentalized and not known to the rest ofglobal security. Then

we come up with why they were watching the [Victims]."

       154.    BAUGH replied, telling Gilbert about the alibi that BAUGH, HARVILLE, and

Zea had selected: "defcon conference in Boston." BAUGH continued: "I don't think we deny

we investigating, but we are not send omg pizzas to there house that would be silly."

       155.    BAUGH also proposed that the "investigation is there to find Tui or chuck|

etc" (i.e., to help the Victims with the harassment). This was the White Knight Strategy.

       156.    Gilbert, the former police captain, proposed blaming the Victims for the problems

that the Target Subjects had created: "All that I told the Det I was looking into POIs and

someone posting the [Vietims'] home address. We can say [Zea] and Harville vvere looking into

the Tui case. That investigation is confidential and details weren't shared with Special Ops

[Gilbert's unit]. 1 11 give briefthe cops on the [Victims'] background and make them look tike


                                                41




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the problem. The copsjust want a logical legitimate reason for Ronnie [Zea] and Harville being

here."

         157.   BAUGH's reply summed up the White Knight Strategy for the NPD meeting;
"Regardless, we are here to help.

         158.   At 6:17 p.m. (ET), Gilbert proposed another story: "How does this sound for

[Zea]and[HARVILLE]:

           thsywereinBostonJforthecQnference(ifwecanRroyeit)

         - they already were tracking Tui and were aware he was targeting the [Victims]

         - Tui has not been identified but GIC and Resiliency was investigating

         - Spee Ops became aware of home address post and other POIs today. I cold called the

[Victims] for a welfare check."

         159.   BAUGH replied, "I don't think ive need to mention that Resiliency [i.e,

HARVILLE's department] vvas investigating."

         160.   Gitbert replied at 6:19 p.m., "I'm going to push the idea that ebay is a massive

company and have no interest in the [Victims]. The idea we vvould send shit to their house is

ridiculous." BAUGH replied, "I agree," but noted that HARVILLE knew "almost" nothin;

about the Victims or their history.

         161.   At 6:39 p.m., BAUGH wrote to Gilbert and Popp and Supervisor 1: "And just

remember, [Executive 2] said this has to stop even ifthere ebay takes on some risk (which we

have). If I need to bring in and ebay attomey to talk to cops, I have that in my back pocket.

BAUGH added that HARVILLE did not biow that the NPD had his name, "but he witl scream

violation ofhis privacy..lol." At 6:46 p.m., BAUOH added that his "main thing" was that he did


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not want Zea "talking to a detective."

        162.   Gilbert responded: "Agreed. I hope to resolve it with they were doing a

confidential proprietary info investigation. Ifwe give the detectives enough info they will shut

down. Most important we have to make sure there are no other connections to the deliveries."

        163.   Separately, at 6:57 to 6:59 p.m., BAUGH messaged Stockwell and told her to

make sure no one was "using those debit cards that were purchased."

        164.   At 8:22 p.m., BAUGH added: "For [HARVILLE's] cover..since he is business

continuity, we couldjust tell them we are reopening our Boston office - which is confidential. he

was also resistered for that conference too."

        165.   Gilbert continued his suggestions: "Hovv about this; [Zea] was at the conference

with [HARVILLE] when she got instructions to check to see ifthe [Victims'] address was

correct. She was told this is a confidential case and just asked to validate the address. [Zea] is

not a trained investigator and that's why all the suspicious movements. [HARVILLE] vvas just

there for the conference.   BAUGH replied, "I think that is perfect."

        166.   At approximately 9:30 p.m., POPP emailed Gilbert a Bay Area P01 report so that

Gilbert could attribute the pizza delivery to a P01 unrelated to the GIC. Popp also messaged

Gilbert the same information via WhatsApp. Popp continued over WhatsApp, "Let me know if

you're good with the info on there or ifyou want more / less..."

        167.   In reply to the WhatsApp chain, at 9:47 p.m. and 9:48 p.m., Supervisor 1 replied:
"Copy all. Good
                plan and cover. Brian, important to be convincing so they don't start looking to

find video ofwho purchased the gift cards. Don't think they would go that far but is a little

concerning. If 1 was the Detective 1 would ask you for a local PD context to go get video. Might


                                                 43




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want to have a friendly in mind." Gilbert replied: "I was thinking the same thing. Ifthey bring it

up l might volunteer to assist with that. Then we can control the local cop and maybe provide a

video from a different Santa Clara Safeway.

        168.   At 10:06 p.m., Supervisor 1 replied with two thumbs up, and at 10:15 p.m.,

BAUGH added: "They were in a bit ofdisguise when they bought them. Would be a lot ofwork

and extremely hard to prove." I believe based on my review ofthe video surveillance in the

jnvestigatiQn,BAUGHisrefemngtQZea,whg\yQreabaseballc^inA

Analyst 3.

        169.   At 11:52 p.m., having arrived in Boston, Gilbert asked the group: "Ifasked

tomorroiv who is [Zea's] supervisor? Just in case they want to verify what I m saying.

BAUOH replied that Stockwell was Zea's eBay supervisor, but an individual at eBay's

eontractor was Zea's actual supervisor. Gilbert clarified: "I guess l should say who do we want

it to be? I'm leaning toward Popp being the person ifthe detectives want to verify my story

about [Zea]." BAUGH agreed to having a member ofthe conspiracy be Zea's supervisor ifthe

detectives wanted to speak to one: "Yep. I agree. Popp would have been the one requesting that

she verify that the address posted online is a real address." BAUGH added that Gilbert could

also use him as a supervisor.

        170.   Supervisor 1 added: "Agreed. Good idea. No mention of[Zea's actual manager]

in my opinion and [Popp] can handle this well."

        171.   At 12:15 a.m., BAUGH noted: "The [Victims] have a lot ofenemies and they are

also equally crazy.

        172.   At 12:27 a.m., ending the discussion for the day, BAUGH asked, in an apparent


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suggestion that the operation against the Victims continue, "Is there a chance in hell we are even
                                                                 "They couldn't be more on
gonna try to put this tracker on at this point? Gilbert replied:                           guard

than right noiv. If we can calm them down and win them over maybe. Right now I would not

risk an attempt."

       173.    BAUGH added, referring to a post that Victim 1 had made that evening to the

Newsletter: "[Victim 1] is such a cunt-that 20 year anniversary article aboutjournalism and

integrity came out ofnowhere. I assume it s for the cops. These people are scum. I think we

could still get [the tracker] on the car, bu[t] My concem with the tracker is that you guys patch

things up and build a rapport with the local cops tomorrow then [either Victim 1 or Victim 2]

finds it next month during an oil change and we lose credibility with PD."

       Aiigust 22, 2019 - Gilbert 's Meeting with the NPD

       174.    On August 22, 2019, according to NPD representatives, Gilbert elaimed that eBay

had no role in the harassment ofVictims 1 and 2. He falsely stated that HARVILLE and Zea had

traveled to Boston to attend a conference and that Zea had gone to Natick on her own. Despite

knowing that eBay employees and contractors were harassing the Victims, Gilbert offered

eBay's assistance to the NPD in looking into the harassment,

       175.    Both immediately before andjustafterthe meeting, NPD officialshad contacted

and briefed the FBI regarding the harassment targeting the Victims and the possible involvement

ofeBay personnel. Thereafter, after consulting with representatives ofthe U.S. Attorney's




         Although Popp and BAUGH had equipped Gilbert with the documents described
above, Gilbert did not shovv any ofthem to the NPD.


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Office, the FBI opened an investigation into the commission ofa federal criminal offense,

namely cyberstalking.

       176.     Even while Gilbert was meeting with the NPD, at approximately 12:12 and

12:20 p.m. (ET), Popp, at BAUGH's direction, continued to taunt and threaten Victim 1 using

the TopSellerl3 Account:


              gR»||Silt|Jj%g8gg||IgHg||gHgg

              lEtiiNnMiefit'iiiiri                 ai^aiiww              (E5S..... Ers^ljK
              MBKliliKBiiBi.fgi
                                                            .'sK'




                         :SaiSSs9SW»9f


              • SSSiiSSiSSfiWSSsSiKiiSSSiSSWffiS/S!9                              Ul-Uffi
              ||i|||s||«^g||(|}|| it|flgi|^a|@J||i||||U|^||it||
              ?UffBBtBlwS8iS6^:eiiai iStKt'(6tSnSnatjlc%*
              "^'                                          •:h^:




       Aitgust 23-26, 2019 - Further Obstruction

       177.     On Friday, August 23, 2019, at approximately 8:15 p.m. (ET), BAUGH sent the

following text message to Executive 2.




                                              46




                                            R400
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       178.    Over the weekend ofAugust 24, 2019, and August 25, 2019, according to both

CW-2 and CW-3, BAUGH directed Popp to take down any aceounts that had been used to

contact the Victims, including any accounts registered with the Newsletter.

       179.    On the moming of August 26, 201 9, BAUGH, HARVILLE, Popp, Gilbert, Zea,

and others gathered in an eBay conference room. According to CW-2 and CW-3, all present

discussed that the NPD was investigating the criminal harassment and stalking ofthe Victims.

They were also aware that eBay's legal department was attempting to investigate in response to

the NPD's request for assistance.

       180.    According to CW-2 and CW-3, HARVILLE was furious that both the Ritz

Carlton and Enterprise had invaded his privacy by giving his information to the NPD. He swore

and screamed about suing the NPD for putting his name in the request to eBay for assistance.

       181.    According to CW-3, BAUGH directed the group not to talk to anyone and to keep

Executive 1 and Executive 2's names out ofany conversations.

       182.    During the August 26, 2019 meeting, according to CW-2 and CW-3, eBay's legal

department interviewed HARVILLE. HARVILLE, who left the call on speakerphone for the

group to hear, falsely stated that he had attended the cont'erence that Zea, HARV1LLE, and
                                                 47




                                            R401
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BAUGH had earlier planned to use as an alibi with the police. HARVILLE also reviewed the

conference schedulejust prior to his call with counsel. HARVILLE also falsely told eBay's

legal department that he had rented a car to be able to visit his sister, who lived in the area.

        183.   Popp also had an interview with eBay's lawyers over speakerphone in front ofthe

;roup in which she falsely stated that Zea had traveled to Boston at BAUGH's direction to go to

the conference.

        184.AeeocdingtobQthCW-2andCW-3,BAUGHdirsctedPQpRt9inQnitQrZea'sm^

Stockwell's interviews v/ith eBay's legal department. Popp listened to both interviews on

speakerphone and gave prompts to Zea that helped her get the conference cover story out. Popp

provided similar support to Stockwell.
        185.   According to more than one participant in the meeting, BAUGH directed Popp,

Gilbert, Zea, Stockwell, and HARVILLE to delete their WhatsApp communications and phone

data. BAUGH also directed Popp to make sure that Gilbert's phone and the WhatsApp messages

on them were deleted.

       186.    Reeords obtained from Apple reveal that HARVILLE sent a message to Zea on or

about August 26, 2019, at approximately 8:00 p.m. (PT) stating: "Hey - I'm not gonna let you

speak to [inhouse counsel for eBay] anymore. He has had enough time with you. Let me know

ifhe reaches out to you. (fhe does, I will brief [redacted] and he will represent you. Great

work.. .you're awesome!" (BAUGH had similarly stated that the "main thing" was that Zea not

speak to the NPD).

       187.    On August 29, 2019, beginning at 8:27 p.m. (PT), BAUGH, HARVILLE, Popp

and Gilbert exchanged WhatsApp messages regarding the NPD investigation and eBay's


                                                  48




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corresponding investigation. The group discussed emails they received in which eBay lawyers

had directed each ofthem to appear for an interview with eBay's outside lawyers the next day at

eBay's headquarters. In sum and substance, the WhatsApp group chat included:

               a.      BAUGH proposing that he, HARVILLE, Popp and Gilbert refuse to meet

with counsel for eBay to send "a strong message that we are not fucking around."

               b.      HARVILLE's statement that a meeting would permit eBay counsel to
"form an opine and
                   provide a recommendation for punitive action pending any additional

information from PD and or negative media."

               c.      Popp's statement that "we all have each other s back. That's all that

matters. They are fucked." HARVILLE immediately replied: "Agree".

               d.      HARVILLE's statement that "The paper trail leads no where Alltheir

findings are speculative and they have to confer ivith police to get anything substantive vvhieh

they probably would not be given."

               e.      Popp's sharing with HARVILLE, BAUGH, and Gilbert her email to eBay

legal acknowledging that there was an "active criminal investigation" in refusing to meet with

eBay's outside lavvyers without her oivn attomey.

               f.      BAUGH's acknovvledgement to an eBay lawyer's statement that "you

have indieated that there is a possible ongoing criminal investigation, in which my colleagues

have been named."

       188.    On August 30, 2019, at 12:08 p.m. (PT), HARVILLE forwarded to the same

WhatsApp group (including BAUGH) an email from an eBay lawyer requiring HARVILLE to

turn in his eBay-issued cell phone:


                                                49




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                         in order to enabls eBay to prssar/e all relevanl
                         inforinatton, please immediately- today-turn in
                         your eBay-issued mobile telephonetsj, withoul
                         deleting or altering any information on it/'them,
                         to tho Employee Assistance Center at B7.1.
                         3'ttgntionE                In additlon, ptease
                         advise us immsdi<itely if you used any personal
                         device for any eBay '/.'ark-related
                         communications and be sure to preserva all of
                         those un3itered.



       189.    Immediately after sharing this email with BAUGH and the others, HARVILLE

asked the group:




BAUGH's iPhone record indicates that BAUGH received and read the message at 12:44 p.m.

(PT) the same day.

       190.    Popp instructed HARVILLE to "stand by" in response, and BAUGH stated,
"Don't do anything until we speak to an attorney" [but] "Don't tum pbone in either"—requests

                                       "Copy." HARVILLE stated at 1 :23            "I'm
that HARVILLE acknowledged by stating,                                  p.m. (PT),

just finished and will give them my eBay phone since they know I have it here.'

       191.    On August 30, 2019, eBay placed BAUGH, HARVILLE, and Popp on

administrative leave.

        192.   ln connection with the investigation, eBay collected HARVILLE's iPhone and

determined much ofits data had been deleted. The FBI later obtained the phone itselfand

confirmed through forensic analysis that there had been deletions on HARVILLE's work-issued
                                                50




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device, including, among other records: (1) all ofthe phone's iMessages from before August 29,

2019 at 12:47 p.m. (PT); (2) all ofthe phone's contacts; (3) web browsing activity related to both
"defcon boston"—the
                  conterence that was to serve as HARVILLE's alibi for the surveillance

           a website associated with "Natick Police and Fire Live Audio Feed."
campaign—and

       193.       On August 30, 2019, at 9:08 p.m. (PT), BAUGH messaged Stockwell and stated,
"It's all
          good...youjust need to stay clean and you and I never spoke."

                                           CONCLUSION

       194.       Based on the infonnation described above, there is probable cause to believe that

BAUGH and HARVILLE committed the Target Offenses. The requested Complaint and

accompanying arrest vvarrants for both men should issue.



                                                       Resnectfullv submitted.
                                                             5%
                                                        /-
                                                       MARK WILSON
                                                       Special Agent
                                                       Federal Bureau of Investieation

Sworn to me telephonically on June 11, 2020




              i^i A.XT^   ; B;^rw
                          sim'fJ'itli




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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                                    )   Criminal No. 20cr10263
  UNITED STATES OF AMERICA          )
                                    )   Violations:
          V.                        )
                                    )   Count One: Conspiracy To Commit Stalking
  JIM BAUGH and                     )   Through Interstate Travel and Through
  DAVID HARVILLE,                   )   Facilities of Interstate Commerce
                                    )   (18 u.s.c. § 371)
               Defendants           )
                                    )   Counts Two - Five: Stalking Through Interstate
                                    )   Travel; Aiding and Abetting
                                    )   (18 U.S.C. §§ 2261A(l) and 2)
                                    )
                                    )   Counts Six - Nine: Stalking Through Facilities
                                    )   of Interstate Commerce; Aiding and Abetting
                                    )   (18 U.S.C. §§ 2261A(2) and 2)
                                    )
                                    )   Counts Ten - Twelve: Tampering with a
                                    )   Witness; Aiding and Abetting
                                    )   (18 U.S.C. §§ 1512(b)(3) and 2)
                                    )
                                    )   Counts Thi1teen - Fifteen: Destruction,
                                    )   Alteration, and Fabrication of Records in a
                                    )   Federal Investigation; Aiding and Abetting
                                   ')   (18 U.S.C. §§ 1519 and 2)
                                    )
                                    )   Forfeiture Allegations:
                                    )   (18 U.S.C. § 981(a)(l)(C) and 28 U.S.C.
                                    )   § 2461(c))




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                         Case     MA 3/25/2011)
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Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.         II                   Investigating Agency       FBI

City      Natick                                   Related Case Information:

County       Middlesex                             Superseding Ind./ Inf.                          Case No.
                                                   Same Defendant                             New Defendant
                                                   Magistrate Judge Case Number             20-MJ-2398-MBB
                                                   Search Warrant Case Number
                                                   R 20/R 40 from District of

Defendant Information:

Defendant Name         JIM BAUGH                                                Juvenile:               G Yes G
                                                                                                              ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:             G    Yes ✔
                                                                                                                 G No
Alias Name
Address                (City & State) Little Rock, Arkansas
                      1974 SSN (last4#):________
Birth date (Yr only): _____              6549        M
                                                 Sex _____                       W
                                                                          Race: ___________                       USA
                                                                                                    Nationality: ____________________

Defense Counsel if known:                 William Fick, Esq.                        Address Fick & Marx LLP

Bar Number

U.S. Attorney Information:

AUSA         Seth B. Kosto                                               Bar Number if applicable

Interpreter:            G Yes       ✔ No
                                    G                      List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                       G Yes      ✔ No
                                                                                                                          9

Matter to be SEALED:                G Yes         G✔    No

          G Warrant Requested                       ✔ Regular Process
                                                    G                                         G In Custody

Location Status:

Arrest Date                  06/15/2020

G Already in Federal Custody as of                                                    in                                     .
G Already in State Custody at                                           G Serving Sentence             G Awaiting Trial
G
✔ On Pretrial Release:   Ordered by:              NDCA                                 on        6/16/2020

Charging Document:                  G Complaint                     G Information                   ✔ Indictment
                                                                                                    G
                                                                                                                 9
Total # of Counts:                  G Petty                         G Misdemeanor                   G Felony
                                                                                                    ✔

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G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     11/02/2020                          Signature of AUSA:
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JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                Jim Baugh

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged                   Count Numbers
                                                     Conspiracy to commit stalking through interstate travel
Set 1     18 USC 371                                 and facilities of interstate commerce                     1

                                                     Stalking through interstate travel
Set 2     18 USC 2261A(1)                                                                                      2-3
                                                     Stalking through facilities of interstate commerce
Set 3     18 USC 2261A(2)                                                                                      6-7

                                                     witness tampering
Set 4     18 USC 1512(b)(3)                                                                                    10-11

                                                     fabrication and destruction of records in a federal
Set 5     18 USC 1519                                investigation                                             13-14

                                                     Asset Forfeiture
Set 6     18 USC 981(a)(1)(c)                                                                                  N/A
                                                     Asset Forfeiture
Set 7     28 USC 2461(c)                                                                                       N/A


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013



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                         Case     MA 3/25/2011)
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Criminal Case Cover Sheet                                                          U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.       II                   Investigating Agency       FBI

City      Natick                                  Related Case Information:

County       Middlesex                            Superseding Ind./ Inf.                         Case No.
                                                  Same Defendant                            New Defendant
                                                  Magistrate Judge Case Number             20-MJ-2398-MBB
                                                  Search Warrant Case Number
                                                  R 20/R 40 from District of

Defendant Information:

Defendant Name         DAVID HARVILLE                                         Juvenile:               G Yes G
                                                                                                            ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:           G     Yes ✔
                                                                                                                G No
Alias Name
Address                (City & State) Las Vegas, NV
                      1971 SSN (last4#):________
Birth date (Yr only): _____              5021        M
                                                 Sex _____                     W
                                                                        Race: ___________                       USA
                                                                                                  Nationality: ____________________

Defense Counsel if known:                 Daniel Gelb                             Address 900 Cummings Center, Suite 207-V

Bar Number                                                                                  Beverly, MA 01915

U.S. Attorney Information:

AUSA         Seth B. Kosto                                             Bar Number if applicable

Interpreter:            G Yes       ✔ No
                                    G                    List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                     G Yes      ✔ No
                                                                                                                        9

Matter to be SEALED:                G Yes        G✔     No

          G Warrant Requested                       ✔ Regular Process
                                                    G                                        G In Custody

Location Status:

Arrest Date                  06/15/2020

G Already in Federal Custody as of                                                  in                                       .
G Already in State Custody at                                         G Serving Sentence             G Awaiting Trial
G
✔ On Pretrial Release:   Ordered by:             Marianne B Bowler                    on        6/15/2020

Charging Document:                  G Complaint                   G Information                   ✔ Indictment
                                                                                                  G
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Total # of Counts:                  G Petty                       G Misdemeanor                   G Felony
                                                                                                  ✔

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✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

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JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                David Harville

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged                   Count Numbers
                                                     Conspiracy to commit stalking through interstate travel
Set 1     18 USC 371                                 and facilities of interstate commerce                     1

                                                     Stalking through interstate travel
Set 2     18 USC 2261A(1)                                                                                      4-5
                                                     Stalking through facilities of interstate commerce
Set 3     18 USC 2261A(2)                                                                                      8-9

                                                     witness tampering
Set 4     18 USC 1512(b)(3)                                                                                    12

                                                     fabrication and destruction of records in a federal
Set 5     18 USC 1519                                investigation                                             15

                                                     Asset Forfeiture
Set 6     18 USC 981(a)(1)(c)                                                                                  N/A
                                                     Asset Forfeiture
Set 7     28 USC 2461(c)                                                                                       N/A


Set 8


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Set 10


Set 11


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ADDITIONAL INFORMATION:




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                           Exhibit C




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


    UNITED STATES OF AMERICA

         v.                                             No. 20-cr-10263-PBS

    JIM BAUGH, et al.


        DEFENDANT JIM BAUGH’S MOTION FOR RULE 17(c) SUBPOENAS
      TO EBAY AND MORGAN LEWIS WITH INCORPORATED MEMORANDUM

        Pursuant to Fed. R. Crim. P. 17(c), Defendant Jim Baugh respectfully moves for leave to

issue pretrial document subpoenas to eBay Inc. (Exhibit A) and Morgan, Lewis & Bockius LLP

(Exhibit B).1

                                        INTRODUCTION

        The Indictment in this case alleges a bicoastal conspiracy that was planned from eBay’s

headquarters in San Jose, California, and unfolded around a private residence in Natick,

Massachusetts. D.E. 33. It alleges that Mr. Baugh, along with other eBay employees and

contractors, harassed and intimidated a couple (“Victims 1 and 2”), who published an online

newsletter (“Newsletter”) about eBay and other ecommerce companies. 2 It further alleges that Mr.



1
  While Mr. Baugh could have filed this motion ex parte, see, e.g., United States v. Colburn, No.
19-cr-10080-NMG, 2020 U.S. Dist. 209113, *7-*8 (D. Mass. Nov. 9, 2020), there would be little
strategic advantage in doing so given the close cooperation between eBay and the prosecution.
Notably, however, a party (here, the prosecution) has no standing to challenge a subpoena served
upon non-parties. See, e.g., Katz v. Liberty Power Corp., LLC, No. 18-cv-10506-ADB, 2020 U.S.
Dist. LEXIS 112969, *26-*28 (D. Mass. Jun. 26, 2020) (collecting cases).
2
 This motion refers to the “Victims” and “Newsletter” as in the Indictment, but their identities are
no secret. Indeed, they have filed a civil lawsuit and held at least one press conference. See Steiner
et al. v. eBay, Inc. et al., No. 21-cv-11181-DPW (D. Mass.); see also Aaron Pressman, “‘It has to
be known what was done to us’: Natick couple harassed by eBay tell their story for the first time,”
THE BOSTON GLOBE (Jul. 31, 2021), available at https://tinyurl.com/3ydekuzz.
                                                  1

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Baugh and the others sought to obstruct an investigation of the charged conspiracy by lying to

eBay investigators and local police and by destroying documents.

        The alleged objectives of the charged conspiracy, according to the Indictment, were “to

distract the Victims from publishing the Newsletter, to alter the Newsletter’s coverage of eBay,

and to gather information that the defendants and their co-conspirators could use to discredit the

Victims and the Newsletter.” Id. ¶ 12. But the broader purpose, the Indictment indicates, was to

satisfy “eBay’s senior leadership,” who “perceived the Newsletter as a threat to eBay’s public

image.” Id. ¶ 10 (“These senior eBay executives disliked the Newsletter’s content and comments

that the Newsletter’s readers posed[.]”).

        Specifically, the fifteen-count Indictment charges that, in violation of 18 U.S.C. § 371, Mr.

Baugh conspired (i) to travel in interstate commerce to stalk the Victims and (ii) to use the facilities

of interstates commerce to cyber-stalk them (Count I). D.E. 33. It also charges the substantive

offenses of stalking in violation of 18 U.S.C. § 2261(A)(1)(B) (Counts II and III) and cyber-

stalking in violation of 18 U.S.C. § 2261(A)(2)(B) (Counts VI and VII). Further, the Indictment

charges that, in violation of 18 U.S.C. § 1512(b)(3), Mr. Baugh committed witness tampering

against a Natick Police Department (“NPD”) detective (Count X) and eBay investigators (Count

XI). Finally, it charges that, in violation of 18 U.S.C. § 1519, Mr. Baugh obstructed a federal

investigation into the charged conspiracy by directing a colleague to falsify a document (Count

XIII) and by destroying data on his cellphone (Count XIV). 3

        Although the Indictment does not identify the “eBay investigators” whom Mr. Baugh

allegedly misled, published reports indicate that, to assist in-house counsel, in August 2019, eBay




3
  The Indictment includes parallel counts against co-Defendant David Harville for all but two of
the substantive charges (Counts IV, V, VIII, IX, XII, and XV).
                                                   2

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hired Morgan Lewis & Bockius LLP, a global law firm, to conduct “an internal probe of the

scheme.” Brian Dowling, “Former EBay Execs Deny New Charges In Cyberstalking Case,”

LAW360 (Nov. 19, 2020).4 Based on that internal investigation, eBay “fired everyone involved,

including then-Chief Communications Officer Steven Wymer.” Id.

                                        BACKGROUND5

        The criminal complaint recounts that former Chief Executive Officer Devin Wenig

(identified as “Executive 1”) and Wymer (identified as “Executive 2”) closely followed the

Newsletter, expressed extreme hostility toward the Victims, and were the primary drivers of the

alleged efforts to harass and intimidate them. On April 10, 2019, Wymer texted Wenig, “We are

going to crush this lady,” referring to Victim 1. D.E. 3-2 at ¶ 18. On May 31, 2019, Wenig directed

Wymer, “Take her down.” Id. at ¶ 20. On July 18, 2019, Wenig’s wife contacted Baugh about the

Newsletter, expressing her concern that Victim 1 “gets people worked up with the way she skews

her stories.” Id. at ¶ 31.

        Concerns that false, misleading, personal, and inflammatory content in the Newsletter

could incite actual physical violence preoccupied eBay’s executives—and, as a result, Mr. Baugh

and his eBay security team, too. In the wake of the April 2018 mass shooting at YouTube

headquarters, the large, open eBay “campus” comprised of multiple buildings in San Jose was

viewed as particularly vulnerable. And the eBay “Open” conference, which draws a large, often-




4
  Available at https://tinyurl.com/yyn2rmzp. In addition, the prosecution has produced in
discovery multiple cover letters from Morgan Lewis accompanying materials from its
investigation that the firm selectively provided to federal law enforcement.
5
 This background narrative is for the purpose of this Motion only. It is substantially based on the
charging documents and materials produced by the government in discovery. Mr. Baugh does not
concede that any particular facts or allegations, many of which are outside his personal knowledge,
are true or accurate.
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fractious collection of eBay sellers to Las Vegas every year, was also viewed as high-risk. Indeed,

the 2019 conference was held at the Mandalay Bay, the same site where one of the nation’s worst

mass shooting incidents had taken place in 2017.

       On August 1, 2019, the Newsletter posted an article about a RICO lawsuit by eBay, in

which Victim 1 criticized Wenig for his failure “to stop a decline in market sales” and the lawsuit

as “not the best tactic” in an effort “to dissuade sellers from turning to Amazon.” That same day,

Wenig angrily texted Wymer: “If you are ever going to take [Victim 1] down . . . now is the time.”

Id. at ¶¶ 35-36. Wymer quickly responded: “On it.” Id. at ¶ 37. Following his exchange with

Wenig, Wymer contacted Mr. Baugh, calling Victim 1 a “biased troll” who “needs to get BURNED

DOWN.” Id. at ¶ 38. Critically, Wymer assured Mr. Baugh that eBay would “embrace managing

any bad fall out,” because the company “need[s] to STOP her.” Id. ¶ 39. According to the criminal

complaint, the charged conspiracy then moved into its planning and execution phases.

       During the initial planning, Mr. Baugh allegedly told his co-conspirators, who all worked

in eBay’s corporate security operation, that they had “executive support for these actions,” and he

“shared with one or more members of the group” text messages from eBay’s senior leadership. Id.

at ¶ 44. Later, Mr. Baugh forwarded to others an email from Wymer, in which Wymer wrote that

the Newsletter was “very damaging” to eBay and that the Victims were “acting out of malice.” Id.

at ¶ 49. In his email, Wymer exhorted Mr. Baugh:

               ANYTHING we can do to solve it should be explored. Somewhere,
               at some point, someone chose to let this slide. It has grown to a point
               that is absolutely unacceptable. It’s the “blind eye toward graffiti
               that turns into mayhem” syndrome and I’m sick about it. Whatever.
               It. Takes.

Id. (emphasis added). In another message, sent a few days later, Wymer told Mr. Baugh:

               I want to see ashes. As long as it takes. Whatever it takes.

Id. at ¶ 56 (emphasis added).

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          Based on these consistent, unequivocal messages from eBay’s senior leadership, Mr.

Baugh allegedly advised his co-conspirators that he had been “ordered” by “the bosses” “to find

and destroy” the Victims and their Newsletter. Id. at ¶ 59. Mr. Baugh allegedly emphasized that

“[Wymer] said this has to stop even if . . . eBay takes on some risk,” referring to potential legal

liability, and that the company would provide any necessary legal support. Id. at ¶ 161 (“If I need

to bring in an[] eBay attorney to talk to cops, I have that in my back pocket.”).

          The charged conspiracy failed to accomplish its alleged objectives. Rather than distract the

Victims or change the content of their Newsletter, it prompted a local police investigation in

Massachusetts. After a detective from the Natick Police Department followed several clues back

to eBay’s headquarters in California, Mr. Baugh and other eBay employees and contractors

allegedly lied to “eBay investigators,” destroyed records on “eBay-issued cellphones,” and

removed computers from eBay’s offices. Id. at ¶¶ 13, 16jjj, 16lll, 16mmm, 16ooo.

          These developments were a focus of extensive discussions at the highest levels of the

company.

                 The eBay board’s audit committee learned of the investigation in
                 late August [2019], and the broader board was briefed the following
                 month during a five-hour call led by lawyers at Morgan Lewis &
                 Bockius, according to people familiar with the matter.

Kristin Grind & Sebastian Herrera, “‘Crush This Lady.’ Inside eBay’s Bizarre Campaign Against

a Blog Critic,” THE WALL STREET JOURNAL (June 24, 2020).6 Although the board was reportedly

told that Wenig had been unaware of the charged conspiracy, he promptly left eBay in September

2019 with an “exit package” reportedly worth $57 million. See id.; see also eBay, Inc. SEC Form

8-K (Sept. 25, 2019).7 Wymer, on the other hand, was fired in September 2019. See Spencer Soper,


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    Available at https://tinyurl.com/yzvd43tp.
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    Available at https://sec.report/Document/0001193125-19-254832/.
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“EBay Former PR Chief Is ‘Executive 2’ in Indictment,” BLOOMBERG LAW (June 17, 2020).8 Mr.

Baugh and all his co-defendants were also fired.

                                SUBPOENAS FOR DOCUMENTS

          A defendant may request subpoenas decus tecum that are returnable prior to trial. See Fed.

R. Crim. P. 17(c); United States v. Kravetz, 706 F.3d 47, 53 n.2 (1st Cir. 2013). To obtain a

subpoena for documents, a criminal defendant must “clear three hurdles: (1) relevancy, (2)

admissibility; and (3) specificity.” United States v. Henry, 482 F.3d 27, 30 (1st Cir 2007) (citing

United States v. Nixon, 418 U.S. 683, 698-700 (1974)) (explaining the “chief innovation” of Rule

17(c) was “to expedite . . . trial by providing a time and place before trial for the inspection of

subpoenaed materials”). Because Rule 17(c) has “constitutional underpinnings,” based on a

defendant’s rights to due process (Fifth Amendment) and compulsory process (Sixth Amendment),

the courts have “the resultant obligation . . . to assist criminal defendants in exercising their rights.”

United States v. Colburn, No. 19-cr-10080-NMG-PK, 2020 U.S. Dist. LEXIS 209113, at *6-7 (D.

Mass. Nov. 9, 2020).

          The materials that Mr. Baugh seeks from eBay and Morgan Lewis are plainly relevant to

the pending criminal charges; indeed, they concern eBay’s internal investigation of the very same

alleged conduct.

          The requested materials also have evidentiary value, for several reasons. They will

undoubtedly include direct evidence of the events that transpired (i) at eBay headquarters before

the alleged “operation”; (ii) in Natick when the alleged harassment, intimidation, and surveillance

later occurred; and (iii) again in San Jose during the alleged “cover-up.” The records will also

provide definitive proof that senior eBay executives, including in-house attorneys, knowingly



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    Available at https://tinyurl.com/ys5s9pux.
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participated in the charged conspiracy. Finally, internal documents from eBay and Morgan Lewis

will offer support for a necessity defense, and show that at all times, Mr. Baugh acted in good-

faith.

         For example, it will be impossible for the prosecution to prove that Mr. Baugh misled eBay

because, as the evidence from the company’s investigation will show, Mr. Baugh acted at the

direction of Wenig and Wymer and provided regular updates as events unfolded to Wenig and

Wymer as well as Marie Huber, the General Counsel; Wendy Jones, the Chief Operating Officer

(who was Mr. Baugh’s boss); and other eBay executives. Moreover, the prosecution will not be

able prove that Mr. Baugh acted “knowingly” and “intentionally” – that is, with a general

awareness that his conduct was unlawful – because senior corporate leadership led Mr. Baugh to

believe that the alleged actions the Victims were necessary to protect the security of eBay and its

employees, and they promised to provide legal support to Mr. Baugh and the others.

         The email that Wymer sent on August 7, 2019, which the criminal complaint quoted at

length, see D.E. 3-2 at ¶ 49, was written in response to an earlier email that an in-house eBay

attorney sent to Wymer, Huber, and Mr. Baugh, about the limited options for addressing disturbing

tweets about eBay, which the company believed were connected to, or provoked by, the

Newsletter. The full thread, attached as Exhibit C, makes clear that Huber and Aaron Johnson in

eBay’s legal department requested that Mr. Baugh regularly update the company’s senior

executives about “any news/developments on [his] end.” Ex. C. That is exactly what happened.

During a lengthy discussion by email about @unsuckebay (also known as “the Parody Account”),

attached as Exhibit D, one of the accounts that sent many of the most troubling tweets and

continuously harassed eBay executives, see D.E. 3-2 at ¶¶ 18, 57-58, Mr. Baugh reported to Wenig,

Wymer, and Huber that the security department was working to gather “information regarding [the



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poster’s] identity and location” and stating that he would continue to “work with” Wenig and

Huber “to determine the best course of action.” Ex. D. In the same thread, Wymer mentioned

corporate and legal efforts to “get [@unsuckebay] killed.” Id.

       Although eBay will likely assert attorney-client privilege over some of the requested

materials, Mr. Baugh’s constitutional rights to a fair trial trump any common-law interest that the

company may have in the confidentiality of internal investigation. “Whether rooted” in the rights

of due process, compulsory process, or confrontation, “the Constitution guarantees criminal

defendants a meaningful opportunity to present a complete defense.” Crane v. Kentucky, 476 U.S.

683, 690 (1986); see Taylor v. Illinois, 484 U.S. 400, 409 (1988) (holding the Sixth Amendment

guarantees “the right to present the defendant’s version of the facts”); Pennsylvania v. Ritchie, 480

U.S. 39, 56 (1987) (holding “criminal defendants have the right . . . to put before a jury evidence

that might influence the determination of guilt”). As a result, “[e]ven the attorney-client privilege”

should “yield in a particular case” if a defendant’s constitutional rights “would be violated by

enforcing the privilege.” United States v. Rainone, 32 F.3d 1203, 1206 (7th Cir. 1994); see United

States v. W.R. Grace, 439 F. Supp. 2d 1125 (D. Mont. 2006) (ruling “the attorney-client privilege

could in certain circumstances yield to a defendant’s Sixth Amendment rights”) (citing Murdoch

v. Castro, 365 F.3d 699 (9th Cir. 2004)).

       Here, separately, given the materials that eBay has apparently provided to investigators

and that the prosecution has quoted in its charging documents, eBay has likely waived any claim

of attorney-client privilege through its voluntary disclosure to a third-party. See In re Keeper of

the Records (Grand Jury Subpoena Addressed to XYZ Corp.), 348 F.3d 16, 22 (1st Cir. 2003)

(“[T]he attorney-client privilege may be waived . . . When otherwise privileged communications

are disclosed to a third party, the disclosure destroys the confidentiality upon which the privilege



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is premised.”); see generally United States v. Mass. Inst. of Tech., 129 F.3d 681, 684-85 (1st Cir.

1997) (including under “waiver,” “selective disclosure to some outsiders but not all,” and

explaining that such disclosure is inconsistent with confidentiality, “the search for truth,” and

“fairness” to all parties); see also Burden-Meeks v. Welch, 319 F.3d 897, 899 (7th Cir. 2003)

(“Knowing disclosure to third-party almost invariably surrenders the privilege with respect to the

world at large; selective disclosure is not an option.”). To be sure, a party, like eBay, “cannot . . .

engage in selective disclosure and waive the privilege only as to beneficial communications,” Mag

Jewelry Co. v. Cherokee, Inc., No. 04-174T, 2005 U.S. Dist. LEXIS 53358, at *5 (D.R.I. Aug.

12, 2005), or as to cherry-picked information that it chooses to reveal to the prosecution for use

against Baugh and other former employees.

        Even if eBay has not already waived any privilege claim, courts have concluded that, when

in conflict, a defendant’s confidential rights take precedence over a corporation’s common-law

claim to confidentiality. In United States v. W.R. Grace, 439 F. Supp. 2d 1125 (D. Mont. 2006),

the court allowed a motion by three defendants to use Grace’s privileged documents in their

defense at trial.

                Grace has asserted its legitimate interest in protecting its privileged
                communications unconditionally and in good faith. Still, the law
                requires that the privilege yield where its invocation is incompatible
                with a criminal defendant’s Sixth Amendment rights.

Id. at 1145; see id. at 1142 (recognizing that privileged material may be “of such probative and

exculpatory value as to compel admission of the evidence over Defendant Grace’s objection as the

attorney-client privilege holder” and ruling admissibility determinations would be “made on a

document-by-document basis at trial”). Similarly, in United States v. Mix, Crim. No. 12-171

Section “K”(1), 2012 U.S. Dist. LEXIS 88044 (E.D. La. June 26, 2012), the court ordered BP to

disclose its privileged materials to the defendant and stated that, if necessary at trial, it would


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establish a protocol to determine which documents are subject to the attorney-client privilege and

whether any such documents should be admitted into evidence at trial,” notwithstanding the

privilege. Id. at *8-*9 (following W.R. Grace). In United States v. Weisberg, No. 08-CR-347

(NGG) (RML), 2011 U.S. Dist. LEXIS 37221 (E.D.N.Y. Apr. 5, 2011), the defendant sought a

Rule 17(c) subpoena for documents from two law firms that asserted attorney-client privilege.

Recognizing that such material may be “so important to the defense that its disclosure is

constitutionally required,” the court ruled that it would be “appropriate” to review in camera each

privileged item. Id. at *15.

       Precedent exists in this District for a strategy of piercing a corporation’s privilege to obtain

evidence that may show a defendant’s “good faith.” In United States v. Stryker Biotech, No. 09-

cr-10330 (D. Mass.), the former president of Stryker Biotech, Mark Philip, who had been indicted

along with the company and three former sales executives, moved to sever his trial from the

company’s case so that he could present a good-faith defense based on his frequent

communications with in-house and outside counsel who (according to Philip) had not raised any

legal or compliance concerns. See id., D.E. 264-65. Philip argued that his constitutional right to

use exculpatory material was incompatible with the company’s attorney-client privilege. Stryker

Biotech acknowledged that privileged material was exculpatory to Philip because it tended to

negate the prosecution’s proof of specific intent, but the company objected to the admission of

those materials, claiming they would prejudice the company’s own right to a fair trial. See id., D.E.

267 at 1-2. To protect Philip’s right to present his defense and also to respect Stryker’s interest in

the privilege, on the eve of trial, the court allowed Philip’s motion to sever, ordering a separate

trial at which Philip could use Stryker’s privileged materials to present his good-faith defense. See

Electronic Clerk’s Note (Jan. 9, 2019); see also Stephen G. Huggard and Hilary B. Dudley, “The



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Sword, a Shield, and Severance: The Corporate Attorney-Client Privilege in White Collar

Criminal Prosecutions,” BLOOMBERG LAW (Sept. 11, 2012).9 Ultimately, before the separate trial,

the prosecution dismissed all charges against Philip. See Stryker, supra, D.E. 309.

         Finally, the requested subpoenas are narrowly tailored to serve Mr. Baugh’s need to gather

relevant, admissible evidence in advance of trial to prepare his defense. Mr. Baugh does not seek

“any and all” documents in eBay’s possession, custody, or control concerning the charged

conspiracy or “any and all” documents concerning Morgan Lewis’s internal investigation. Rather

Baugh seeks only the following specific, discrete categories of documents: (1) the final report (or

reports) from eBay’s internal investigation, (2) the presentation (or presentations) made by Morgan

Lewis to the Audit Committee and the Board (along with the supporting materials that Morgan

Lewis provided and any minutes of those meetings), (3) the memoranda or recordings of interviews

with Mr. Baugh in which he allegedly lied to eBay investigators, (4) the memoranda or recordings

of interviews with other eBay employees who spoke to investigators about Mr. Baugh’s alleged

involvement in the charged conspiracy, and (5) forensic analysis of Baugh’s alleged falsification

or destruction of evidence; and (6) (from eBay only) communications among specific eBay

personnel concerning a limited range of key topics. It should not be difficult for eBay and/or

Morgan Lewis to locate these materials or unduly burdensome to produce them to Mr. Baugh,

especially in light of his constitutional rights to confront his accusers and present his defense.

                                          CONCLUSION

         For the foregoing reasons, Defendant Jim Baugh respectfully requests that this Court allow

the Motion and grant him leave to serve the proposed subpoena on eBay, Inc. and Morgan, Lewis

& Bockius LLP.



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    Available at https://tinyurl.com/3emccueb.
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                                             Respectfully submitted,

                                             JIM BAUGH

                                             by his attorneys,

                                                    /s/ William Fick
                                             William W. Fick (BBO #650562)
                                             Daniel N. Marx (BBO #674523)
                                             FICK & MARX LLP
                                             24 Federal Street, 4th Floor
                                             Boston, MA 02110
                                             (857) 321-8360
                                             wfick@fickmarx.com
                                             dmarx@fickmarx.com


                                CERTIFICATE OF SERVICE

        I caused the foregoing document to be served, by ECF filing August 24, 2021, on the parties
registered for ECF notices in this case. A courtesy copy will also be served by e-mail on counsel
for eBay.

                                             /s/ William Fick




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            '16) Subpoena to Produce Documents, Infomiation. or Objects in a Crimina] Case


                                       UNITED STATES DlSTRICT COURT
                                                                       for the
                                                            District ofMassachusetts

                  United States ofAmerica                                    )
                                 V.
                           Jim Baugh                                          )       CaseNo. 20-CT-10263-PBS
                                                                              )
                             Defendant                                        )
                               SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                          OBJECTS IN A CR1MINAL CASE
         eBay Inc.


                                                        (Name ofperson to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
See Attachment A

Place:                                                                                Date and Time:
          Fick & Marx LLP, 24 Federal Street FL 4, Boston, MA
          02116                                                                                 Within 21 days


         Certain provisions ofFed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govem service ofsubpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences ofnot doing so.

            (SEAL)
Date:
                                                                                      CLERKOFCOURT


                                                                                                 Signature ofClerk or Deputy Clerk


The name, address, e-mai), and telephone number ofthe attomey representing fname ofparty)          Jim Baugh
                                                                                   , who requests this subpoena, are:
William Fick, Fick & Marx LLP, 24 Federal Street, FL 4, Boston, MA 02116
wfick@fickmarx.com
 857-3^1-8360

                                Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules ofpractice ofthe court in which the criminal proceeding is pending to determine whether any local rufes
or orders establish requirements in connection with the issuance ofsuch a subpoena. Ifno local rules or orders govern
practice under Rule 17(c), counsel shouldask the assignedjudgewhetherthe court regulates practice underRule 17(c)to
l)require priorjudicial approval forthe issuanceofthe subpoena, eitheron notice orex parte; 2) specify where the
documents must be retumed (e.g., to the court clerk, the chambers ofthe assignedjudge, orcounsel's office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
underFed. R. Crim. P. 16.

Please note that Rule 1 7(c) (attached) provides that a subpoena for the production of certain information aboul a victim
may not be issued unless first approved by separate court order.




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          '6) Subpoena to Produce Documents, Information, orObjects inaCriminal Case (Page 2)


   ^No.    20-CT-10263-PBS


                                                         PROOFOFSERVICE

        This Subpoena for (nameofindividualatuittde. ifany)
was received by me on (daie)

        D I served the subpoena by delivering a copy to the named person as follows:


                                                                             on (daie)                                        ; or

        O I retumed the subpoena unexecuted because:



        Unless the subpoena was issued on behalfofthe United States, or one ofits officers or agents, I have also
        tendered to the witness fees tor one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                               for travel and $                             for services, for a total of$               0 QQ



        I declare under penalty ofperjury that this information is true.


Date:
                                                                                                         's
                                                                                                Server        signalwe



                                                                                           Printedname andtitle




                                                                                                Server 's address


Additional information regarding attempted service, etc.:




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            '6) SubpoenatoProduceDocuments, Information, orObjects in aCrsminal Case (Page 3)



                        Federal Rule ofCriminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)

(c) Producing Documents and Objects.

    (1) In General. A subpoena may order the vvitness to produce any books, papers, documents, data, or other objects the subpoena
    designates. The court may direct the witness to produce the designated items in coun before trial or before they are to be ofTered in
    evidence. When the items arrive, the court may permit the parties and their attomeys to inspect all or part oftheni,

    (2) Quashing or Modifying the Subpoena. On motion made promptly. the court may quash or modify the subpoena ifcompliance
    would be unreasonable or oppressive.

    (3) Subpoena for Personal or Confidential Information About a V'ictim. After a complaint, indictment, or information is filed, a
    subpoena requiring the production ofpersonal or confidential information about a victim may be served on a third part^' only by court
    order. Before entering the order and unless there are exceptional circumstances, the coun must require giving notice to the victun so that
    the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
ofthe subpoena to the witness and must tender to the witness one day s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal ofFiccr, or a federal agency has requested the
subpoena.

(c) Place ofSer\'ice.

    (1) In the L'nited States. A subpoena requirmg a witness to attend a hearing ortrial may be served at any place within the United
    States.

    (2) In a Foreign Country. Ifthe witness is in a foreign countr)', 28 U.S.C. § 1783 govems the subpoena's service.

(g) Contempt. Fhe court (other than a magistratejudge) may hold in contempt a wimess who> without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistratejudge may hold in contempl a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).




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                                      ATTACHMENT A

      (1) Final report(s) from the eBay and/or Morgan Lewis intemal investigation(s) of
Baugh and/or activities by Baugh and/or other eBay officers, employees, or agents in relation to
EcommerceBytes and/or David and/or Ina Steiner;

        (2) Presentation(s) conceming Baugh and/or activities by Baugh and/or other eBay
officers, employees, or agents in relation to EcommerceBytes and/or David and/or [na Steiner
made by eBay employees, in-house counsel, or Morgan Lewis to the Audit Committee or the
Board (along with the supporting materials that eBay employees, in-house counsel, or Morgan
Lewis provided and any minutes ofthose meetings);

      (3) Memoranda, recordings, and notes ofinterviews with Baugh conducted by eBay
employees, in-house counsel, or Morgan Lewis;

        (4) Memoranda, recordings, and notes ofinterviews with individuals who spoke to eBay
employees, in-house counsel, or Morgan Lewis about Baugh and/or activities by Baugh and/or
other eBay officers, employees, or agents in relation to EcommerceBytes and/or David and/or
Ina Steiner;

       (5) Forensic analyses ofalleged falsification or destruction ofevidence by Baugh and/or
other eBay employees or contractors;

      (6) Communications from 2017 through 2019 between or among any ofDevin Wenig,
Cyndy Lam, Scott Schenkel, Steve Wymer, Wendy Jones, Marie Huber, Molly Finn, Amir
Vonsover, Aaron Johnson, Russell Phimister, and/or Baugh conceming any ofthe following:

       EcommerceBytes

       David Steiner

       Ina Steiner

       @FidoMasterl Twitter account

       @unsuckebay Twitter account
       Elliott Management

       Jessie Cohn




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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                                  Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,                                   HEARING SCHEDULED FOR:
                                                     January 28, 2022
Defendants.



                      DECLARATION OF ANDREW C. PHELAN, ESQ.

      I, Andrew C. Phelan, Esq., hereby depose and say as follows:

         1.     I submit this declaration in support of the motions of eBay, Inc. (“eBay”) and

Morgan, Lewis & Bockius LLP ("Morgan Lewis") to partially quash the Rule 17 subpoenas

served on them by defendant Jim Baugh (“Baugh” or “Defendant”) in the above-captioned

matter. Unless otherwise noted, the statements set forth herein are based on my own personal

knowledge. They are true to the best of my knowledge, information and belief as of the date I

signed this declaration.

         2.     I am an attorney licensed to practice law in Massachusetts. I am currently the

managing partner of Phelan Law, LLC, a position I have held since January 2020. Prior to

January 2020, I was a partner for over fifteen years at the law firms of Morgan Lewis and

Bingham McCutchen LLP prior to its acquisition by Morgan Lewis. Prior to joining Bingham

McCutchen, I was an Assistant United States Attorney in the District of Columbia and, before

that, a Trial Attorney at the U.S. Department of Justice. For the past twenty years, my practice

has primarily focused on representing individuals and organizations in commercial litigation

matters and criminal and regulatory investigations and enforcement matters, including many

internal investigations.


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       3.      On or about August 28, 2019, eBay engaged Morgan Lewis to conduct an internal

investigation in coordination with eBay’s in-house legal team (the “Internal Investigation”) of

allegations that certain eBay employees and contractors were involved in the harassment of Ina

and David Steiner (the “Steiners”), a couple living in Natick, Massachusetts.

       4.      Around that same time, the United States Attorney’s Office for the District of

Massachusetts (“USAO”), in conjunction with the Natick Police Department, the FBI and other

law enforcement agencies, initiated an investigation of the alleged harassment (the “USAO

Investigation”). Morgan Lewis represented eBay in connection with the USAO Investigation.

       5.      I was the partner at Morgan Lewis primarily responsible for representing eBay in

both the Internal Investigation and the USAO Investigation. I held that role through the date of

my departure from Morgan Lewis. Following my departure, I continued to represent eBay as its

principal outside counsel responsible for both the Internal Investigation and the USAO

Investigation. Morgan Lewis also continued to represent eBay in connection with the USAO

Investigation after my departure. Morgan Lewis and I continuously acted as eBay’s attorneys in

connection with both the Internal Investigation and the USAO Investigation from August 28,

2019 through the present.

       6.      The purpose of the Internal Investigation was to collect relevant facts regarding

the alleged harassment of the Steiners in order to provide legal advice to eBay. Documents and

communications created during the course of the Internal Investigation were prepared to provide

legal advice and in anticipation of potential litigation.

       7.      The Internal Investigation was conducted in close coordination with eBay’s in-

house legal team. That team includes attorneys who regularly conduct internal investigations,

including investigations of potential misconduct by eBay employees. Among the members of



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that team were Amir Vonsover, an attorney in eBay’s legal department, who had principal

responsibility within eBay to investigate the alleged harassment, and Shannon Macauley, a

senior paralegal in eBay’s legal department.

       8.      Shortly before eBay engaged Morgan Lewis to conduct the Internal Investigation,

eBay attorneys had begun their own investigation of the allegations regarding the Steiners. The

Natick Police Department first contacted eBay about harassment of the Steiners on August 20

and 21, 2019, in response to which eBay immediately began an internal investigation. eBay’s

investigation included rapidly collecting documents and conducting numerous interviews,

including of Baugh, the other co-conspirators identified in Baugh’s indictment, then-Chief

Communications Officer Steven Wymer, and others.

       9.      As part of the Internal Investigation, Morgan Lewis collected relevant documents

and conducted interviews. Morgan Lewis also reviewed information that eBay’s in-house legal

team had collected as part of their initial investigation.

       10.     As is common in my experience, both the initial eBay in-house investigation and

the Internal Investigation were intended to be subject to eBay’s attorney client privilege, as well

as work product protection applicable to documents created during the course of the

investigations by both eBay and Morgan Lewis.

       11.     Beginning in September 2019 and continuing to the present, I communicated

multiple times with the USAO on behalf of eBay. I provided to the USAO information that eBay

had learned during the course of the initial eBay in-house investigation and the Internal

Investigation. I also provided information in response to specific requests for information the

USAO made of eBay.




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       12.     The information I provided consisted of factual information collected during the

course of the initial eBay in-house investigation and the Internal Investigation. That information

included documents collected during the investigations, for example, emails and text messages

by and among Defendants in this matter and other eBay personnel. I also provided information

showing that certain individuals, including Defendants Baugh and Harville, had hidden their

actions from eBay, including by destroying or otherwise deleting evidence of their harassment of

the Steiners. The information included their communications and activities before, during, and

after the harassment of the Steiners occurred. It also included, among other things, evidence of

the Defendants’ concealing and destroying evidence, inventing and coordinating a false "cover"

story to tell eBay investigators, and falsifying a document to support that false cover story.

Much of the information appeared later in the June 2020 FBI affidavit filed with the original

charging documents as well as in the November 3, 2020 indictment in this case against

Defendants Baugh and Harville.

       13.     I informed the government of statements certain individuals made to eBay

attorneys, during eBay’s initial investigation of the conduct. These included statements made to

eBay’s in-house counsel Amir Vonsover and paralegal Shannon Macauley. I did not provide

copies of any memoranda or notes of those interviews. Rather, on or about October 13 and 16,

2020, I provided oral reports of statements the following individuals gave to eBay in-house

attorneys in August 2019:

               a. Defendant Jim Baugh (October 13);

               b. Defendant David Harville (October 13); and

               c. Steven Wymer (October 16).




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To the best of my recollection, I did not discuss with the government the substance of any other

interviews conducted during the initial eBay investigation or the Internal Investigation.

       14.     With regard to Defendant Baugh, I also told the government that Baugh’s attorney

had told me in substance in early September 2019 that Baugh had lied to Mr. Vonsover when he

denied involvement in harassing the Steiners. I told the government the attorney’s statement that

Baugh had confirmed to him that Devin Wenig had never told him to do anything illegal or

improper with regard to the Steiners.

       15.     On February 23, 2021, eBay made Mr. Vonsover available to the USAO for an

interview via Zoom. I attended that interview. At the outset of the interview, the USAO said

that it was not asking Mr. Vonsover or eBay to waive the attorney client privilege or work

product protections and that it was not seeking information subject to those protections. The

government said, both in requesting the interview and in the interview, that it was interested in

the facts that came from persons interviewed, in particular, their statements about the Steiner

harassment. During the interview, Mr. Vonsover related in detail statements that Baugh and

Harville had made to him during his investigation in August 2019 as well as some statements

made in telephonic interviews of other defendants on the same days as the Harville and Baugh

interviews (Brian Gilbert, Scott Fitzgerald (not charged), Stephanie Popp, Veronica Zea,

Stephanie Stockwell). The USAO did not ask about the statements made by these other witnesses

in any detail. The government’s focus was on Baugh and Harville, and the accounts they gave in

late August 2019 of their August 2019 harassment of the Steiners. These facts included, for

example, Baugh’s and Harville’s then-immediate efforts to coordinate the false cover story

among all the defendants involved about the harassment actions and the steps they took to hide




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their actions. To the best of my recollection, the USAO did not ask Mr. Vonsover about any

statements by Devin Wenig, Steve Wymer, or Wendy Jones.

       16.     In March 2021, I, along with a lawyer from eBay, met with the USAO to discuss

the question of eBay’s potential criminal liability. During that meeting we discussed the

Department of Justice’s principles of federal prosecution applicable to corporations, including

the factors set forth in the Department of Justice Manual applicable to consideration of corporate

criminal liability. I showed a PowerPoint deck during the meeting, which set forth information

relevant to how the DOJ factors applied to eBay. That PowerPoint presentation was not

represented to be, nor was it intended to be, subject to either the attorney client privilege or work

product doctrine.

       17.     All information that I provided to the government was subject to the

understanding that eBay was not waiving any applicable attorney-client privilege or work

product protection. The government attorneys responsible for the USAO Investigation said to

me multiple times that the only information they sought were non-privileged facts regarding the

harassment of the Steiners and that the government was not asking eBay to waive the attorney

client privilege or work product protection.

       18.     I have reviewed the Rule 17 subpoena request for a “final report” on the Internal

Investigation. I did not prepare any document that I would characterize as a final report. I did not

prepare any written report of the investigation. I made oral reports to the company without any

handouts, PowerPoints or other writings, and in certain instances, I prepared updates reporting

the current status of the matter for the company, each of which was one or two pages long. I did

not at any time relay to the government any privileged communications outside or in-house

counsel had with the eBay Board regarding the Internal Investigation.



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       I declare under the pains and penalties of perjury that the foregoing is true and correct to

the best of my knowledge, information and belief.

       Executed, December 17, 2021, in the Commonwealth of Massachusetts, United States of

America.


                                              /s/ Andrew C. Phelan______
                                              Andrew C. Phelan, Esq.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 17, 2021, this document, filed through the CM/ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants.

                                                   /s/ Jack W. Pirozzolo

                                                   Jack. W. Pirozzolo




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 1                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
 2

 3      UNITED STATES OF AMERICA,               )
                                                )
 4                      Plaintiff               )
                                                )
 5               -VS-                           ) Criminal No. 20-10263-PBS
                                                ) Pages 1 - 106
 6      JIM BAUGH, also known as James          )
        Baugh, and DAVID HARVILLE,              )
 7                                              )
                        Defendants              )
 8                                              )
                  -AND-                         )
 9                                              )
        eBAY INC. and                           )
10      MORGAN LEWIS & BOCKIUS LLP,             )
                                                )
11                        Intervenors           )

12
                              MOTION HEARING BY VIDEO
13

14                      BEFORE THE HONORABLE PATTI B. SARIS
                           UNITED STATES DISTRICT JUDGE
15

16

17
                                        United States District Court
18                                      1 Courthouse Way
                                        Boston, Massachusetts 02210
19                                      January 28, 2022, 10:02 a.m.

20

21
                              LEE A. MARZILLI
22                         OFFICIAL COURT REPORTER
                         United States District Court
23                       1 Courthouse Way, Room 7200
                             Boston, MA 02210
24                            leemarz@aol.com

25




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         1   orders.   That will happen.

         2             MR. FICK:    And that may well affect all of our

         3   assessments of how broad a waiver may be, because to the extent

         4   the pitch is based on what they learned in interviews, whether

         5   or not they quote somebody, you know, the underlying information,

         6   you can't sort of check their work unless there's access to the

         7   underlying information, right?       So they're using the sword,

         8   they're using the fruits of their investigation to make a pitch

         9   to avoid prosecution, throw Mr. Baugh under the bus; but they

10:47   10   as a company have no Rule 16 obligation, they have no Brady

        11   obligation, so we're left as an employee, as Mr. Baugh's

        12   counsel, with a potentially very incomplete picture.

        13             Meanwhile, we also know they make presentations to the

        14   Board that results in Wenig, Wymer, other executives getting

        15   fired, which seems inconsistent with their apparent pitch to

        16   the government that, "Well, those guys had nothing to do with

        17   anything."    And, frankly, I find it astonishing for the

        18   government to sit here in this hearing if they never asked

        19   those pointed questions or asked for the fruits of those --

10:48   20             THE COURT:    And all of that's irrelevant.       I

        21   understand the emotional appeal of that, but right now we're

        22   dealing with particular charges against your clients and

        23   whether or not eBay and Morgan Lewis need to turn over witness

        24   statements, emails, and the like.       And so the issue is --

        25   what's hard for you is, many of the things you're asking for,




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         1   not all but many of them might not be admissible in court.

         2   They may or may not be, depending on what witnesses the

         3   government chooses to call, but at least they're not

         4   independently admissible; a witness interview, for example, or

         5   a report to the Board.      But it's not a business record, and I

         6   have to go through the Nixon -- I'm assuming specificity and

         7   relevance, but I need to get through admissibility.          And your

         8   argument on the evidence wasn't persuasive, so other than the

         9   emails, which are arguably very much admissible, I don't know

10:49   10   that you get them or the waiver.

        11             MR. FICK:    I think your Honor was right, though, to

        12   say that the LaRouche case does suggest that things like

        13   interview memos and reports and statements are admissible or

        14   could be potentially admissible for impeachment.         Sort of the

        15   holding of LaRouche was, it's very hard to make that

        16   determination in the abstract, but, you know, we're not going

        17   to reverse the District Court's order to produce the stuff.

        18   And I think it would be wrong to limit access to witnesses the

        19   government wants to call.      I mean whether or not the government

10:50   20   wants to call Wendy Jones, Devin Wenig, or Steve Wymer,

        21   Mr. Baugh I think very likely would ask those people pointed

        22   questions about, you know, why they believed the Steiners to be

        23   such a threat, what they told Mr. Baugh, and not only what they

        24   knew but what they didn't want to know and expressly said they

        25   didn't want to know about what measures --




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 1                        UNITED STATES DISTRICT COURT
 2                          DISTRICT OF MASSACHUSETTS
 3    _______________________________
 4    UNITED STATES OF AMERICA,
 5                          Plaintiff,           Criminal Action
                                                 No. 20-cr-10126-ADB-1
 6    v.
                                                 October 27, 2020
 7    PHILIP COOKE,
                         Defendant.              Pages 1 to 37
 8    _______________________________
 9

10

11

12
                        TRANSCRIPT OF RULE 11 HEARING
13                      HELD VIA ZOOM VIDEOCONFERENCE
                  BEFORE THE HONORABLE ALLISON D. BURROUGHS
14                       UNITED STATES DISTRICT COURT
15

16

17

18

19

20
                             JOAN M. DALY, RMR, CRR
21                           Official Court Reporter
                         John J. Moakley U.S. Courthouse
22                         One Courthouse Way, Room 5507
                           Boston, Massachusetts 02210
23                            joanmdaly62@gmail.com
24

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 1    APPEARANCES:
 2
      FOR THE GOVERNMENT:
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 7             617.748.3144
               seth.kosto@usdoj.gov
 8

 9
      FOR THE DEFENDANT:
10
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               Quincy, MA 02171
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               Winkler.susan@gmail.com
14

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 1                            P R O C E E D I N G S
 2                   (The following proceedings were held in via Zoom
 3    videoconference before the Honorable Allison D. Burroughs,
 4    United States District Judge, United States District Court,
 5    District of Massachusetts, on October 27, 2020.
 6               The defendant, Philip Cooke, is present with
 7    counsel. The Assistant U.S. Attorney is present.)
 8               THE CLERK: This is criminal matter 20-10126,
 9    United States versus Philip Cooke. Will counsel identify
10    themselves for the record.
11               MR. KOSTO: Good morning, Your Honor. Seth Kosto
12    for the United States.
13               MS. WINKLER: Good morning, Your Honor. Susan
14    Winkler for the defendant Phil Cooke who is also here.
15               THE COURT: I see him. I got him. All right. My
16    understanding is that we're here for a change of plea.
17    There's a plea agreement, and he's pleading to an
18    information, correct.
19               MR. KOSTO: Yes, Your Honor.
20               MS. WINKLER: Yes, Your Honor.
21               THE COURT: Do you want to swear the defendant,
22    please, Karen.
23               THE CLERK: Sure. Can you raise your right hand.
24               (PHILIP COOKE, duly sworn by the Deputy Clerk.)
25               THE COURT: Mr. Cooke, before we get started, you



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 1    have a right to have this proceeding done in person. And
 2    because of COVID, Congress has seen fit to let us do these
 3    proceedings remotely. But I have to make sure that you
 4    understand that you have the right to be here in person and
 5    that you're willing to waive your right to be here in person.
 6               Just a little bit of an explanation. We've tried
 7    to make this as much like the courtroom as possible. As you
 8    can see, proceedings are open to the public just like it
 9    would be in the courtroom. Joan, my court reporter, is here
10    just like in the courtroom. She'll take down everything that
11    you say. Your lawyer is here. The government lawyer is
12    here. If at any point you want to have a private
13    consultation with your lawyer during these proceedings, you
14    can just let us know and we'll have you go to a break-out
15    room so you two can talk. We've done really what we can to
16    both replicate the courtroom experience but also keep
17    everybody safe during a pandemic.
18               Do you have any questions about that?
19               THE DEFENDANT: No, Your Honor.
20               THE COURT: And having had that explanation, do you
21    still want to proceed by video?
22               THE DEFENDANT: Yes, I do. Thank you.
23               THE COURT: I'm going to make a finding then that
24    he has made a knowing and voluntary waiver of his right to be
25    present, and that the interest of justice would be impeded by



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 1    delaying these proceedings until it's safer for us all to be
 2    together.
 3                Ms. Winkler or Mr. Kosto, do you want any findings
 4    beyond those for him?
 5                MR. KOSTO: No, Your Honor.
 6                MS. WINKLER: No, Your Honor.
 7                THE COURT: If you want to talk to your lawyer at
 8    any point, you just let us know and we'll put you in a
 9    separate breakout room. Okay?
10                THE DEFENDANT: Yes. Thank you.
11                THE COURT: And also if you're having any trouble
12    understanding me, you don't understand the question, you want
13    me to repeat it, just go ahead and ask. All right?
14                THE DEFENDANT: Okay. Thank you.
15                THE COURT: Karen, my courtroom deputy, put you
16    under oath. That means if you answer any of my questions
17    falsely, you can be subject to a later prosecution for false
18    statements or perjury.
19                Do you understand that?
20                THE DEFENDANT: Yes, I do.
21                THE COURT: And do you understand that you have the
22    right to consult with your counsel if that's what you want
23    do?
24                THE DEFENDANT: Yes, I do.
25                THE COURT: Your full name, please.



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 1               THE DEFENDANT: My full name is Philip Arthur
 2    Cooke.
 3               THE COURT: How old are you, sir?
 4               THE DEFENDANT: 55.
 5               THE COURT: How far did you go in school?
 6               THE DEFENDANT: I have a bachelors degree in
 7    business administration.
 8               THE COURT: I take it from the conversation that
 9    we're having that you speak and understand English.
10               THE DEFENDANT: Yes, Your Honor.
11               THE COURT: Are you a citizen of the United States?
12               THE DEFENDANT: Yes, I am.
13               THE COURT: Have you been recently treated for or
14    diagnosed with any sort of mental illness, psychiatric, or
15    psychological problem of any kind?
16               THE DEFENDANT: No. My general practitioner gave
17    me some medicine when I told him about all of this, but I
18    have not it, and I haven't been diagnosed with anything.
19               THE COURT: You're not currently taking any
20    medication?
21               THE DEFENDANT: Just a heart pill but nothing for
22    mental health reasons.
23               THE COURT: What I'm trying to get at is are you
24    taking any kind of medication that's affecting your ability
25    to think clearly here today?



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 1               THE DEFENDANT: No, Your Honor. Not at all.
 2               THE COURT: Have you been recently treated or
 3    diagnosed with any drug addiction, drug problem, or alcohol
 4    problem of any kind?
 5               THE DEFENDANT: No, Your Honor. I self-diagnosed
 6    with an alcohol problem that I'm dealing with but not
 7    medically.
 8               THE COURT: When was the last time you had a drink?
 9               THE DEFENDANT: I had a little bit of wine two
10    nights ago, but that was it.
11               THE COURT: But you're not currently under the
12    influence of any alcohol?
13               THE DEFENDANT: No, Your Honor.
14               THE COURT: Are you having any symptoms of
15    withdrawal or cravings or anything else, either medication or
16    alcohol that's affecting your ability to think clearly?
17               THE DEFENDANT: No, Your Honor.
18               THE COURT: Are you having any trouble
19    understanding my questions?
20               THE DEFENDANT: Not at all.
21               THE COURT: And you understand why we're here
22    today?
23               THE DEFENDANT: Yes.
24               THE COURT: Mr. Kosto, Ms. Winkler, in terms of
25    competency, any reservations about going forward today?



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 1               MS. WINKLER: No, Your Honor.
 2               MR. KOSTO: No, Your Honor.
 3               THE COURT: Mr. Cooke, have you received a copy of
 4    the information, that is the written charges, pending against
 5    you?
 6               THE DEFENDANT: Yes, I have, Your Honor.
 7               THE COURT: And you know that you're charged with
 8    two counts. Count 1 is conspiracy to commit cyberstalking,
 9    and Count 2 is conspiracy to tamper with a witness.
10               THE DEFENDANT: Correct.
11               THE COURT: Have you had a chance to fully discuss
12    those charges with Ms. Winkler?
13               THE DEFENDANT: Yes, I have, Your Honor.
14               THE COURT: And given the plea agreement and
15    information in this case, Ms. Winkler, I'm sure this is just
16    a formality, but have you communicated all formal plea offers
17    from the prosecution to your client?
18               THE DEFENDANT: Yes, Your Honor.
19               THE COURT: Are you fully satisfied with the
20    counsel and representation and advice that you've received
21    from Ms. Winkler?
22               THE DEFENDANT: I'm sorry, Your Honor, I missed
23    that.
24               THE COURT: Are you fully satisfied with the
25    counsel, representation, and advice that you received from



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 1    Ms. Winkler?
 2               THE DEFENDANT: Yes, I am.
 3               THE COURT: I'm sure you two have discussed this,
 4    but you're entitled to be charged by a Grand Jury. In other
 5    words, you have the right to make the government proceed by
 6    an indictment. And in this case I have in front of me an
 7    information. And for them to proceed by information, you
 8    have to waive your right to be indicted, and that is a right
 9    that you can waive. But before I let you waive it, I want to
10    make sure you fully understand what you're giving up. Okay?
11               THE DEFENDANT: Okay.
12               THE COURT: You have a constitutional right to be
13    charged by an indictment returned by a Grand Jury, but you
14    can waive that right and consent to being charged by
15    information from the U.S. Attorney. In this case instead of
16    an indictment, they have brought these two felony charges
17    against you by the filing of an information.
18               Do you understand all that?
19               THE DEFENDANT: Yes, Your Honor.
20               THE COURT: Unless you waive indictment, you cannot
21    be charged with a felony unless a Grand Jury finds there's
22    probable cause to believe that a crime has been committed and
23    that you were the one that committed it.
24               Do you understand that?
25               THE DEFENDANT: Yes, Your Honor.



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 1               THE COURT: Do you understand that if you do not
 2    waive your indictment, your right to indictment here today,
 3    the government would have to present the case to a Grand Jury
 4    and ask it to indict you for you to be charged.
 5               THE DEFENDANT: Yes, I understand.
 6               THE COURT: A Grand Jury would be composed of at
 7    least 16 and not more than 23 people, and at least 12 of
 8    those people would have to vote that there was probable cause
 9    to believe that a crime was committed and that you were the
10    one that committed it. Do you understand that?
11               THE DEFENDANT: Yes, Your Honor.
12               THE COURT: So because it's a vote of somewhere
13    between 16 and 23 people, the Grand Jury might or might not
14    indict you depending on how that vote comes out. Do you
15    understand that?
16               THE DEFENDANT: Yes, I do.
17               THE COURT: If you waive indictment by Grand Jury,
18    the case will proceed against you on the U.S. Attorney's
19    Office's information just like you've been indicted but
20    without the Grand Jury process.
21               Do you understand that?
22               THE DEFENDANT: Yes, I do.
23               THE COURT: Do you have any questions about your
24    right to indictment by a Grand Jury?
25               THE DEFENDANT: No, Your Honor.



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 1               THE COURT: Have you discussed waiving your right
 2    with Ms. Winkler?
 3               THE DEFENDANT: Yes, I have.
 4               THE COURT: Has anyone made you any threats or
 5    promises to induce you to waive your right to indictment?
 6               THE DEFENDANT: No, Your Honor.
 7               THE COURT: And now that we've had this
 8    conversation, did you still want to waive your right to
 9    indictment and proceed by information?
10               THE DEFENDANT: Yes, Your Honor.
11               THE COURT: Ms. Winkler, Mr. Kosto, either one of
12    you have any reason why he should not waive indictment?
13               MS. WINKLER: No, Your Honor.
14               MR. KOSTO: No, Your Honor.
15               THE COURT: I have seen a signed copy of the
16    waiver, Mr. Cooke? Do you recall signing that waiver?
17               THE DEFENDANT: Yes, I do.
18               THE COURT: Ms. Winkler, can you verify that it was
19    your client that signed the waiver?
20               MS. WINKLER: Yes, Your Honor.
21               THE COURT: I find the defendant's waiver of
22    indictment is knowingly and voluntarily made by the defendant
23    and it is accepted by the Court.
24               All right, Mr. Cooke. You've also entered into a
25    plea agreement with the U.S. Attorney's Office, and I've also



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 1    seen that plea agreement. Did you sign it?
 2               THE DEFENDANT: Yes, Your Honor.
 3               THE COURT: Did you have an opportunity to read the
 4    agreement and discuss it with your lawyer before you signed
 5    it?
 6               THE DEFENDANT: Yes, I did.
 7               THE COURT: Mr. Kosto, do you want to summarize the
 8    plea agreement or do you want me to do it?
 9               MR. KOSTO: I'm happy to do it, Your Honor. It's
10    dated June 30, 2020. It has Mr. Cooke's signature,
11    Ms. Winkler's signature and a representative of my office's
12    signature. In essence, Mr. Cooke is agreeing to plead guilty
13    to each of the two charges in the information. In connection
14    with that agreement the parties have entered into a series of
15    agreements about the calculation of the advisory sentencing
16    guidelines range that binds the parties but doesn't bind the
17    Court.
18               Mr. Cooke has reserved the right to make certain
19    arguments about the applicability of certain enhancements.
20    The government has agreed for its part to make a sentencing
21    recommendation of 30 months which is below the anticipated
22    sentencing guidelines range. Mr. Cooke has in exchange for
23    the consideration the government has provided agreed not to
24    appeal his conviction and the sentence that the Court imposes
25    so long as it is imposed in consultation of the guideline



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 1    sentencing range that's calculated by the parties. And
 2    Mr. Cooke has separately agreed in the agreement not to file
 3    any post conviction challenge in the form of, for example, a
 4    petition under 2255 or other form of post conviction civil
 5    litigation. He's given up that right as well. Those are the
 6    court elements of the plea agreement, Your Honor.
 7               THE COURT: All right. Mr. Cooke, did you
 8    understand everything that he said?
 9               THE DEFENDANT: Yes, Your Honor.
10               THE COURT: And you understand that was only a
11    summary of the plea agreement, and you're bound by the things
12    he just discussed as well as everything else in the
13    agreement?
14               THE DEFENDANT: Yes, Your Honor.
15               THE COURT: Do you have any questions about any of
16    the terms of the agreement that he did not just discuss?
17               THE DEFENDANT: No, Your Honor.
18               THE COURT: Do you understand that this plea
19    agreement is the only agreement that you have with the
20    government?
21               THE DEFENDANT: Yes, I do.
22               THE COURT: And do you think the government has
23    made you any other promises?
24               THE DEFENDANT: No.
25               THE COURT: Has anyone else made you any promises



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 1    for you to plead guilty here today?
 2                THE DEFENDANT: No, Your Honor.
 3                THE COURT: Do you understand that under the plea
 4    agreement the government has agreed to recommend a particular
 5    sentence?
 6                THE DEFENDANT: Yes, I do.
 7                THE COURT: Do you understand that's only a
 8    recommendation which means that I could accept it or I could
 9    reject it?
10                THE DEFENDANT: Yes, I understand.
11                THE COURT: And you understand that if I reject
12    that recommendation and sentence you to something different
13    than what you expect, you still will not be allowed to
14    withdraw your guilty plea?
15                THE DEFENDANT: I understand, Your Honor.
16                THE COURT: Anyone forcing you to plead guilty here
17    today?
18                THE DEFENDANT: No, Your Honor.
19                THE COURT: Are you pleading guilty of your own
20    free will and because you are, in fact, guilty?
21                THE DEFENDANT: Yes, Your Honor.
22                THE COURT: Do you understand the offenses to which
23    you're pleading guilty are felonies?
24                THE DEFENDANT: Yes, I do.
25                THE COURT: Do you understand that if I accept your



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 1    plea, you'll be judged guilty of those felonies?
 2               THE DEFENDANT: Yes, I do.
 3               THE COURT: Do you understand that once you're
 4    judged guilty of a felony, you can lose valuable civil
 5    rights. That includes things like the right to vote, the
 6    right to hold public office, the right to serve on a jury and
 7    the right to possess a firearm?
 8               THE DEFENDANT: I understand.
 9               THE COURT: Any civil tax consequences, Mr. Kosto?
10               MR. KOSTO: No, Your Honor.
11               THE COURT: The maximum penalties for these
12    offenses, as I understand them, are five years incarceration,
13    three years supervised release, a fine of $250,000, special
14    assessment of $100, restitution, and forfeiture.
15               Do I have that right, Mr. Kosto?
16               MR. KOSTO: Your Honor, yes, that's correct. Five
17    years for each count.
18               THE COURT: Mr. Cooke, do you understand that I'll
19    have the power to give you a term of imprisonment of up to
20    five years on each count?
21               THE DEFENDANT: Yes, Your Honor.
22               THE COURT: Do you understand that in addition to a
23    prison term I will have the power to give you a term of
24    supervised release of up to three years?
25               THE DEFENDANT: Yes, Your Honor.



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 1               THE COURT: Do you understand that if you're placed
 2    on supervised release and you violate the conditions of your
 3    supervised release, you can get additional prison time?
 4               THE DEFENDANT: I understand.
 5               THE COURT: Do you understand I also have the power
 6    to fine you up to $250,000 for each count?
 7               THE DEFENDANT: Yes, Your Honor.
 8               THE COURT: Do you understand by pleading guilty
 9    there may be forfeiture consequences and you may be required
10    to forfeit certain property to the United States?
11               THE DEFENDANT: Yes, Your Honor.
12               THE COURT: Do you have anything specific in mind,
13    Mr. Kosto?
14               MR. KOSTO: No. Not as to forfeiture. We do
15    anticipate seeking restitution at the time of sentencing.
16               THE COURT: Mr. Cooke, do you understand that I may
17    also order you to pay restitution to any victim of your
18    offense? In other words, to pay money to a victim to
19    compensate for the harm that you caused?
20               THE DEFENDANT: Yes, Your Honor.
21               THE COURT: Do you have a specific restitution
22    amount in mind at this point, Mr. Kosto?
23               MR. KOSTO: No, Your Honor. The parties will
24    discuss before sentencing and will submit it to the probation
25    office in connection with the presentence report.



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 1               THE COURT: Okay. They're going to ask for
 2    restitution, Mr. Cooke, but they have yet to determine the
 3    exact amount. Do you understand that?
 4               THE DEFENDANT: Yes, Your Honor.
 5               THE COURT: Do you understand that in addition to
 6    everything else that we just discussed, you'll be required to
 7    pay a $100 special assessment on each count for a total of
 8    $200?
 9               THE DEFENDANT: Yes, Your Honor.
10               THE COURT: All the possible consequences of
11    pleading guilty here today: Incarceration, supervised
12    release, a fine, special assessment, loss of civil rights,
13    restitution, possible forfeiture.
14               Do you have any questions about any of those?
15               THE DEFENDANT: No, Your Honor.
16               THE COURT: I am going to talk to you a little bit
17    about the sentencing guidelines and how they might affect
18    your sentence. There's a fairly detailed calculation in your
19    plea agreement, so I assume that you and Ms. Winkler have
20    already discussed the sentencing guidelines, but I want to
21    talk to you about them as well to make sure we're all on the
22    same page.
23               The sentencing guidelines were initially issued by
24    the United States Sentencing Commission for judges to follow
25    when determining an appropriate sentence in a criminal case.



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 1    They are not mandatory. They used to be mandatory. They no
 2    longer are. So I don't have to follow them, but they're
 3    still important because it's the starting point for my
 4    analysis.
 5                Do you understand that?
 6                THE DEFENDANT: Yes, Your Honor.
 7                THE COURT: Have you and your lawyer talked about
 8    the sentencing guidelines and how they might apply in your
 9    case?
10                THE DEFENDANT: Yes, Your Honor.
11                THE COURT: Do you understand that I will not be
12    able to determine your guideline sentencing it -- your
13    guideline sentence or your guideline sentencing range until
14    after the probation office has prepared a report?
15                THE DEFENDANT: Yes, Your Honor.
16                THE COURT: Do you understand that that report,
17    which is called a presentence report, will contain
18    information about you, any criminal history and the crimes
19    that you're alleged to have committed in this information?
20                Do you want me to repeat that?
21                THE DEFENDANT: I think my computer froze for a
22    second. But I understood, Your Honor, yes.
23                THE COURT: Just to make sure. What I asked is
24    that you understand that the presentence report will contain
25    information about you, any criminal background, and your



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 1    involvement in this offense?
 2               THE DEFENDANT: Yes, I understand.
 3               THE COURT: Do you understand the report will also
 4    contain a recommended application of the sentencing
 5    guidelines?
 6               THE DEFENDANT: Yes, Your Honor.
 7               THE COURT: Do you understand that both you and the
 8    government will have the opportunity to read the report first
 9    in draft and then in final form. And at both stages you'll
10    have the opportunity to challenge any facts and also to
11    challenge the application of the sentencing guidelines as
12    recommended by probation?
13               THE DEFENDANT: Yes, Your Honor.
14               THE COURT: Do you understand that although I'm not
15    required to follow the sentencing guidelines, I have to
16    consider them in fashioning an appropriate sentence?
17               THE DEFENDANT: Yes, Your Honor.
18               THE COURT: Do you understand that under the
19    guideline system, I have the authority to go above or below
20    the guideline range as long as my sentence is reasonable?
21               THE DEFENDANT: Yes, Your Honor.
22               THE COURT: And that means that I can give you a
23    sentence above or below the advisory guideline sentencing
24    range so long as I don't go above the statutory maximum?
25               Do you understand that?



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 1               THE DEFENDANT: Yes, Your Honor.
 2               THE COURT: Do you understand that you will not be
 3    permitted to withdraw your guilty plea if I sentence you to
 4    something longer than you expect or if you're unhappy with my
 5    sentence for any reason?
 6               THE DEFENDANT: Yes, Your Honor.
 7               THE COURT: Do you understand that parole has been
 8    abolished. If you're sentenced to prison, you will not be
 9    released early on parole.
10               THE DEFENDANT: Yes, Your Honor.
11               THE COURT: Do you understand that any victim of
12    your offense will have the right to participate in the
13    sentencing proceeding either in writing or in person?
14               THE DEFENDANT: Yes, Your Honor.
15               THE COURT: Do you understand that under certain
16    circumstances you or the government or both would have the
17    right to appeal any sentence that I impose?
18               THE DEFENDANT: Yes, Your Honor.
19               THE COURT: You have an appellate waiver in your
20    plea agreement. So that means that your rights to appeal are
21    very limited. You can appeal if I go above, what is it,
22    about 46 months, Mr. Kosto? You're muted. Still muted.
23               MR. KOSTO: Thank you, Your Honor. Yes, that's
24    correct.
25               THE COURT: And the government reserves the right



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 1    to appeal if I go below 30 months. Do you understand that?
 2               THE DEFENDANT: Yes, Your Honor.
 3               THE COURT: The only other grounds that you'll
 4    likely have for appeal are if you allege ineffective
 5    assistance on the part of your counsel or prosecutorial
 6    misconduct on the part of Mr. Kosto?
 7               Do you understand that?
 8               THE DEFENDANT: Yes, Your Honor.
 9               THE COURT: So though there's generally an
10    appellate right, the appellate waiver in your plea agreement
11    really circumscribes that. Do you understand?
12               THE DEFENDANT: Yes, Your Honor.
13               THE COURT: I'm sure you and Ms. Winkler have also
14    discussed this, but you don't have to plead guilty here
15    today. You have the right to go to trial. If you do decide
16    to plead guilty today, once we've finished this conversation,
17    your right to a trial will be gone as will all the rights
18    that go along with your right to a trial. Again before I let
19    you give up those rights, I want to make sure you understand
20    what they are. Okay?
21               THE DEFENDANT: Yes, Your Honor.
22               THE COURT: All right. Do you understand you have
23    the right to plead not guilty to any crime charged against
24    you and go to trial?
25               THE DEFENDANT: Yes, Your Honor.



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 1               THE COURT: Do you understand that you have the
 2    right to a trial by jury?
 3               THE DEFENDANT: Yes, Your Honor.
 4               THE COURT: Do you understand that at trial you'd
 5    be presumed to be innocent and the government would have to
 6    prove your guilt beyond a reasonable doubt.
 7               THE DEFENDANT: Yes, Your Honor.
 8               THE COURT: Do you understand that at trial you'd
 9    have the right to assistance of counsel, be it Ms. Winkler or
10    another employer?
11               THE DEFENDANT: Yes, I understand.
12               THE COURT: Do you understand that at trial you'd
13    have the right to see and hear all the witnesses against you
14    and have them cross-examined on your behalf?
15               THE DEFENDANT: Yes, Your Honor.
16               THE COURT: Do you understand that if you wanted
17    to, you could testify and put on evidence in your own
18    defense; and if you wanted to do that, we would give you
19    subpoena authorities to require people to come to court?
20               THE DEFENDANT: Yes, Your Honor.
21               THE COURT: Do you understand also that you would
22    likewise have the right to refuse to testify and refuse to
23    put on evidence if that's what you wanted to do. And if you
24    did decide that, neither one of those things could be used
25    against you?



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 1               THE DEFENDANT: Yes, Your Honor.
 2               THE COURT: And you understand that assuming you
 3    still want to enter a plea of guilty here today and assuming
 4    that I accept your plea, there will be no trial and all those
 5    rights we've just discussed will be gone?
 6               THE DEFENDANT: Yes, Your Honor.
 7               THE COURT: I'm going to ask Mr. Kosto to do two
 8    things. The first thing he's going to do is go through the
 9    elements of the offense. This is what the government would
10    have to prove beyond a reasonable doubt for you to be
11    convicted at trial. Okay?
12               Go ahead, Mr. Kosto, the elements of the offense,
13    please.
14               MR. KOSTO: Thank you, Your Honor. As to the
15    conspiracy offense there are three elements. There needs to
16    be an existence of an agreement to violate each of the
17    statutes charged in the information here, cyberstalking and
18    witness tampering respectively for Counts 1 and 2. Mr. Cooke
19    would have to knowingly join in the conspiracy and one or
20    more co-conspirators would have to commit one or more acts in
21    furtherance of each conspiracy.
22               The substantive elements of the cyberstalking
23    through instrumentalities of interstate commerce include the
24    defendant having the intent to harass, intimidate or place
25    under surveillance with intent to harass or intimidate



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 1    another person, the use of the mail, any interactive computer
 2    service or electronic service or electronic communication
 3    service of interstate commerce or any other facility of
 4    interstate commerce, and the engaging in a course of conduct
 5    that causes, attempts to cause, or would reasonably be
 6    expected to cause substantial emotional distress to the
 7    person who is the object of the harassment, intimidation or
 8    their spouse, among others.
 9               As to the witness tampering object of the
10    conspiracy, that involves, one, the corrupt persuasion of
11    another person or attempt to do so or engaging in misleading
12    conduct of another person; two, with intent to hinder, delay,
13    or prevent the communication to a law enforcement officer; of
14    three, information relating to the commission or possible
15    commission of a federal offense. Those are the elements of
16    the offenses that the government would prove at trial.
17               THE COURT: Mr. Cooke, that's what the government
18    would have to prove beyond a reasonable doubt. Do you have
19    any questions about any of those, the elements of the
20    offenses of what the government would have to prove?
21               THE DEFENDANT: No, Your Honor.
22               THE COURT: I'm going to go back to Mr. Kosto and
23    I'm going to ask him to give the factual bases for the plea.
24    He's already told you what he has to prove. Now he's going
25    to tell you how it would be proved at trial. I'm going to



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 1    ask you to listen to this closely, because when he is done I
 2    am going to ask if you disagree with anything that he said.
 3    Okay?
 4               THE DEFENDANT: Yes, Your Honor.
 5               THE COURT: Go ahead, Mr. Kosto. The factual
 6    basis, please.
 7               MR. KOSTO: Thank you, Your Honor. Had the case
 8    proceeded to trial, the United States would have proven
 9    beyond a reasonable doubt each of the elements of the two
10    charged offenses through, among other evidence, witness
11    testimony including the testimony of witnesses cooperating
12    with the government's investigation, physical evidence,
13    electronic communications to the victims, between and among
14    the co-conspirators and to and from third parties and various
15    business records.
16               All of that would show between approximately
17    August 5, 2019, and August 23, 2019, Mr. Cooke along with
18    separately charged co-conspirators, Stephanie Popp, Stephanie
19    Stockwell, Veronica Zea, Brian Gilbert, Jim Baugh, and David
20    Harville, all then employees or contractors of eBay, Inc.,
21    the multinational e-commerce company, agreed to engage in a
22    stalking campaign targeting a husband and wife who lived in
23    Natick, Massachusetts. They're identified here as Victim One
24    and Victim Two. And to tamper with witnesses to the criminal
25    investigation that followed, a former police captain in Santa



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 1    Clara, California, at the time of the offenses, Mr. Cooke,
 2    supervised security operations at eBay's European and Asian
 3    offices.
 4                The campaign, the evidence would show, targeted
 5    Victim One and Victim Two for their roles in publishing a
 6    newsletter that reported on issues of interest to eBay
 7    sellers. Senior executives at eBay were frustrated with the
 8    newsletter's tone and content and with the tone and content
 9    of comments underneath the newsletter's articles.
10                The stalking campaign arose from communications
11    between those executives and Jim Baugh who was an eBay senior
12    security officer. The campaign which was intended to harass
13    and intimidate the victims was a course of conduct that
14    included first the sending of threatening communications to
15    the victims over Twitter, an instrumentality of interstate
16    commerce.
17                Second, the ordering of unwanted and disturbing
18    deliveries to the victims' home. And, third, to Ms. Zea,
19    Mr. Harville, Mr. Baugh, and Ms. Popp traveled to Natick to
20    surveil the victims in their home and community. The
21    deliveries ordered to the victims' home included a book on
22    surviving the death of a spouse, a bloody pig mask, a fetal
23    pig, a funeral wreath, and live insects.
24                The harassment also featured Craig's List posts
25    inviting the public for sexual encounters or estate sales at



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 1    the victim's home. Threatening Twitter messages were written
 2    to Victim One and sometimes addressed to Victim Two as if
 3    they had been sent by eBay sellers who were unhappy with the
 4    victim's coverage in the newsletter. Some of these messages
 5    posted the victim's address publicly on the Internet and
 6    threatened to visit the victims at their home.
 7               On August 22, 2019, message stated, for example,
 8    "@ newsletter, 20 years of lives and destroying families,
 9    don't be proud of that, you worthless bitch. I will destroy
10    your family and business, too. See how you like it
11    \n\n@Elei_Tui, when are we going to visit her in
12    Natick? ? ? ?"
13               Mr. Baugh intended for the harassment and
14    intimidation to distract the victims from publishing the
15    newsletter, to change the newsletters coverage of eBay and
16    ultimately to enable eBay to contact the victims to offer
17    assistance with the harassment, what's government has called
18    the White Knight Strategy. The White Night Strategy would
19    earn good will with the victims such that they might help
20    eBay learn the identity of and discredit Auto Master who was
21    an anonymous online persona who frequently posted negative
22    comments about eBay underneath the newsletter's articles.
23               Mr. Baugh, Mr. Harville, and Ms. Zea also traveled
24    to Natick on August 15. Mr. Baugh and Mr. Harville intended
25    to install a GPS tracking device on the victim's car, but it



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 1    was safely locked in victim's garage. The victims spotted
 2    the surveillance team on August 16 which led them to call the
 3    Natick Police Department in fear.
 4               Ms. Zea and Mr. Baugh and Ms. Popp would arrive to
 5    replace Mr. Harville on August 17, continued their
 6    surveillance even after having been spotted by the victims.
 7    The NPD, which was investigating the deliveries, the threats
 8    and the surveillance connected Ms. Zea and Ms. Harville to
 9    two rented cars and then to eBay, who they reached out to for
10    assistance.
11               When Mr. Cooke and the other co-conspirators
12    learned that the NPD was making inquiries, they agreed to
13    prevent the NPD from learning about the harassment campaign.
14    With support from Ms. Stockwell, Ms. Popp, Mr. Cooke,
15    Mr. Baugh, and others, Mr. Gilbert made false statements to
16    the NPD. Many of the co-conspirators, although not
17    Mr. Cooke, made false statements to eBay's in-house lawyers
18    who were investigating in response to NPD's inquiries.
19               Many of the co-conspirators also either deleted
20    digital evidence related to the campaign or created records
21    intended to throw the NPD off the trail. As these events
22    were unfolding, the NPD referred the victims' harassment
23    matter to the FBI. Although not every co-conspirator was
24    aware of every act in furtherance of the cyberstalking
25    campaign, each agreed to harass and intimidate the victims



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 1    and to use the facilities of interstate commerce to engage in
 2    a course of conduct. And that conduct caused or would
 3    reasonably be expected to cause substantial emotional
 4    distress to Victims One and Two.
 5                As to Mr. Cooke specifically, on or about the dates
 6    below, he took the following steps in furtherance of the
 7    conspiracies charged in Counts One and Two of the
 8    information: First, on August 6, 2019, Mr. Cooke attended a
 9    meeting with Mr. Baugh, Ms. Popp, and Mr. Gilbert at which
10    the four of them agreed to what the government has called the
11    White Night Strategy, which included sending anonymous and
12    harassing Twitter messages to Victim One so that she would be
13    better receptive to eBay's offer of assistance with that very
14    same harassment.
15                On August 20, 2019, approximately two weeks after
16    the harassing messages had begun, in a WhatsApp group that
17    was created to vet the content of those anonymous messages to
18    Victim One, Mr. Gilbert proposed to Mr. Cooke, Ms. Popp and
19    Mr. Baugh the creation of more anonymous Twitter accounts in
20    support of "our cause". And Mr. Gilbert proposed specific
21    communications criticizing the victims' newsletter to be sent
22    over those anonymous accounts. Within 60 seconds of that
23    message being sent, Mr. Cooke send a thumbs up emoji in
24    response.
25                On August 20, 2019, at 9:43 p.m. Eastern in



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 1    response of Mr. Baugh's WhatsApp message to Mr. Cooke,
 2    Mr. Baugh, Ms. Popp, and Mr. Gilbert, stating that the
 3    surveillance team had "burned two cars", but there was "no
 4    cause and they can't prove anything. They are seeing ghosts
 5    now. LOL." Mr. Cooke replied, "Perfect."
 6               At 9:46 p.m. that same day in response to
 7    Mr. Baugh's WhatsApp message to Mr. Cooke, Ms. Popp, and
 8    Mr. Gilbert that a Natick investigator was polite and
 9    clueless, Mr. Cooke then replied "Perfect". At 9:40 p.m. in
10    response to Mr. Gilbert's WhatsApp message stating, "We have
11    known the targets have been very impacted by this op.
12    Perfect time for the next phase." Mr. Cooke replied "Yes!"
13               On the 21st of August 2019, at 9:47 p.m. in
14    response to Mr. Gilbert's report that the Natick Police
15    Department was looking into the purchase of prepaid gift
16    cards at a Santa Clara Safeway. Mr. Cooke messaged the
17    group, "If I was the detective, I would ask for a local
18    police department contact to go get video. Might want to
19    have a friendly in mind."
20               In response Mr. Gilbert wrote, "I was thinking the
21    same thing. I might volunteer to assist with that. Then we
22    can control the local cop and maybe provide a video from a
23    different Santa Clara Safeway."
24               At 12:15 a.m. on the 22nd of August, the night
25    before Mr. Gilbert met with the Natick Police Department's



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 1    investigation in person about Ms. Zea and Mr. Harville's
 2    connection to the harassment, Mr. Cooke agreed with the
 3    group's recommendation to have Stephanie Popp pose as
 4    Ms. Zea's supervisor and suggested to the group that there be
 5    no mention to the Natick Police Department of the identity of
 6    Ms. Zea's actual supervisor.
 7               Finally at 12.29 a.m. that morning in a discussion
 8    of whether or not the group should continue to attempt to
 9    install a GPS tracker on the victim's car, after Mr. Gilbert
10    wrote, "They couldn't be more on guard right now. If we can
11    calm them down and win them over, maybe. Right now I would
12    not risk an attempt." Mr. Cooke replied, "Agree with Brian,
13    was typing the same thing."
14               Your Honor, the United States respectfully submits
15    that at trial the facts and allegations the government has
16    laid out would be sufficient for the government to accept
17    that Mr. Cooke's plea of guilty to the two charges in the
18    information, that there would be an adequate factual basis
19    for the Court to do so.
20               THE COURT: Mr. Cooke, do you disagree with
21    anything Mr. Kosto just said?
22               THE DEFENDANT: No, Your Honor.
23               THE COURT: I'm prepared then to take the change of
24    plea. Do you still want to plead guilty here today,
25    Mr. Cooke, in light of our conversation?



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 1               THE DEFENDANT: Yes, Your Honor.
 2               THE COURT: Mr. Kosto, Ms. Winkler, either one of
 3    you know of any reason why the plea should not go forward?
 4               MS. WINKLER: No, Your Honor.
 5               MR. KOSTO: No, Your Honor.
 6               THE COURT: All right. It is the finding of the
 7    Court in the case of the United States versus Cooke that the
 8    defendant is fully competent and capable of entering an
 9    informed plea; that he is aware of the nature of the charges
10    and the consequences of plea; and that his plea of guilty
11    will be knowing and voluntary supported by an independent
12    basis in fact containing each of the essential elements of
13    the two offenses charged.
14               Karen, you can take the plea, please.
15               THE CLERK: Mr. Cooke, in criminal matter 20-10126,
16    you are charged in a two-count information. As to Count 1,
17    you are charged with conspiracy to commit cyberstalking in
18    violation of Title 18 United States Code Section 371. As to
19    Count 2, you are charged with conspiracy to tamper with a
20    witness in violation of Title 18 United States Code Section
21    371.
22               How do you wish to plead to Counts 1 and 2, guilty
23    or not guilty?
24               THE DEFENDANT: Guilty.
25               THE COURT: The plea is accepted. The defendant is



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 1    now judged guilty of the two offenses with which he's been
 2    charged. Mr. Cooke, as I told you, there will be a written
 3    presentence report prepared by probation to assist me in
 4    determining an appropriate sentence. You'll be interviewed
 5    for that report. You have the right to have your counsel
 6    present for that interview. You don't have to have her
 7    there. That's between the two of you, but you do have the
 8    right to have an attorney present.
 9               Super important that the report be accurate. It
10    can affect what sentence you receive. It can also affect
11    what happens to you after you're sentenced. For example,
12    what kind of institution you're designated to, what kind of
13    programming is available there. So when you have a chance to
14    review the report in both draft and in final form, you should
15    review it carefully and make even minor corrections in
16    conjunction with your attorney.
17               As I said, you'll have the chance to make
18    objections to probation on the draft and then directly to me
19    at the final report.
20               Both you and your lawyer will have the opportunity
21    to speak on your behalf at sentencing. I hope that you will
22    consider doing that and give some thought to what it is that
23    you might want to say. In the meantime, I'm going to refer
24    you to probation for preparation of the report.
25               Karen, do you have a date for them, right?



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 1                THE CLERK: Yes. For sentencing February 24 at 12
 2    p.m.
 3                THE COURT: Acceptable? Mr. Kosto?
 4                MR. KOSTO: Yes, Your Honor.
 5                THE COURT: Ms. Winkler?
 6                MS. WINKLER: Yes, Your Honor.
 7                THE COURT: February 24. All right. Mr. Cooke,
 8    I'm sure this goes without saying, but you should live a very
 9    clean life between now and the date of your sentencing. All
10    right? I have the presentence report in front of me in terms
11    of his release. They've proposed seven conditions. Have you
12    had a chance to review it, Ms. Winkler?
13                MS. WINKLER: Yes, Your Honor.
14                THE COURT: Mr. Kosto?
15                MR. KOSTO: I have, Your Honor.
16                THE COURT: Any objections to what probation has
17    proposed?
18                MS. WINKLER: No, Your Honor, not for the defense.
19                MR. KOSTO: No, Your Honor. We'll provide the
20    defense counsel the names of the witnesses with whom
21    Mr. Cooke should have no contact and that will include
22    obviously the victims in the case. That's a central concern
23    for the government.
24                THE COURT: All right. Mr. Cooke, I'm going to
25    release you between now and pending sentencing. There's



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 1    seven conditions. Probation will go over those and your
 2    counsel will go over them with you in more detail. I'm going
 3    to put them on the record. You need to report to U.S.
 4    Probation and Pretrial Services as directed. You need to
 5    avoid all contact direct or indirect with any person who is a
 6    victim or potential witness in the investigation or
 7    prosecution of this offense including the codefendants unless
 8    you're in the presence of your counsel, and Mr. Kosto says he
 9    will provide a list of who those people are.
10               You may not possess a firearm, destructive device
11    or other dangerous weapon. You'll have to provide
12    verification of transfer of any firearms to the probation
13    officer within 48 hours. I know there's already been a
14    verification prepared but make sure it gets to probation,
15    Ms. Winkler, Mr. Kosto, if it hasn't already.
16               Mr. Cooke, you'll need to participate in mental
17    health treatment program as directed by probation and comply
18    with all the rules of such a program. Refrain from the
19    excessive use of alcohol, report any contact with law
20    enforcement within 24 hours to U.S. Probations. That means
21    any contact. Okay? Jaywalking, speeding ticket. If you
22    have any interaction with law enforcement, you need to report
23    that. And then you'll need to obey all other statutory
24    conditions of release which probation will review with you
25    today or whenever you guys have set that up.



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 1                Do you have any questions about any of that,
 2    Mr. Cooke?
 3                THE DEFENDANT: No, Your Honor.
 4                THE COURT: Anything else for today, Mr. Kosto?
 5                MR. KOSTO: Not for the United States, Your Honor.
 6    Thank you.
 7                THE COURT: Ms. Winkler?
 8                MS. WINKLER: No, Your Honor. Thank you.
 9                THE COURT: Ms. Patten, did I miss anything?
10                THE PROBATION OFFICER: No, Your Honor.
11                THE COURT: Thanks, everyone. The case is
12    recessed.
13                (Court recessed at 9:38 a.m.)
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 1                           - - - - - - - - - - - -
 2                                CERTIFICATION
 3

 4               I certify that the foregoing is a correct
 5    transcript of the record of proceedings in the above-entitled
 6    matter to the best of my skill and ability.
 7

 8

 9

10    /s/ Joan M. Daly                         July 4, 2021
11

12    ______________________                   ____________________
13    Joan M. Daly, RMR, CRR                   Date
      Official Court Reporter
14

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                                  STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA               )
                                       )
v.                                     )              20-cr-10126-ADB
                                       )
PHILIP COOKE                           )


               DEFENDANT PHILIP COOKE’S SENTENCING MEMORANDUM
              (Motion for Leave to File Excess Pages Granted 7/14/2021, Docket #19)

       On October 27, 2020, Phil Cooke pled guilty to one count of conspiracy to commit

cyberstalking (Count 1), and one count of conspiracy to commit witness tampering (Count 2) to

an Information. No charges were filed before he reached an agreement to plead, and he was not

arrested. He has been on release with no issues. Under the non-binding plea agreement, the parties

agreed to an advisory U.S. Guidelines calculations that result in a Total Offense Level of 21 (37

to 46 months), except the defendant reserved the right to argue that he should not receive the two-

level enhancement for pattern of activity under USSG § 2A6.2(b)(1) for either victim group,

which, if the Court agreed, would result in a Total Offense Level of 19 (30-37 months). That

argument is set forth below.

       As a result of this prosecution, Mr. Cooke has endured extensive punishment already. He

lost a job he enjoyed, was devastated by the disappointment he caused his family, and was

humiliated in his community – a community he honorably and faithfully served for 30 years. He

has accepted full responsibility for his misconduct, is very remorseful for his bad choices, and

wants to do whatever it takes to put his life right. Since accepting responsibility, he has addressed

his substance abuse issue, remained sober, and successfully trained to facilitate meetings in a

substance abuse program in California for both other substance abusers and also for their friends

and families. He understands that this Court has multiple considerations in imposing a sentence

that is sufficient, but not greater than necessary, to comply with the purposes set forth in 18 U.S.C.
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§ 3553(a). He hopes that as a result of the factors under § 3553(a), this Court will find that a period

of home confinement will satisfy those considerations.

I.     THE PATTERN OF ACTIVITY ENHANCEMENT SHOULD NOT BE APPLIED
       IN MR. COOKE’S CASE.

       The two-level enhancement for “pattern of activity” under USSG 2A6.2(b)(1)(E) should

not be applied to Mr. Cooke with regards to either victim group.         Application Note 1 defines

“pattern of activity” as any combination of “two or more separate instances of . . . harassing. . .

the same victim, whether or not such conduct resulted in conviction.” Emphasis added.

       The application notes do not define “instance.” The government reads this enhancement

to apply to Mr. Cooke because the offense conduct at issue here involved a number of different

online threatening communications and harassing deliveries to the victims—in other words, that

the offense conduct in and of itself constitutes a pattern and multiple instances. However, the First

Circuit has interpreted the enhancement differently, applying it to defendants who have engaged

in other instances of stalking (or other violative) conduct separate from the offense conduct, rather

than multiple instances of stalking or threats forming the course of conduct itself. See, e.g., United

States v. Robinson, 433 F.3d 31, 36-37 (1st Cir. 2005); United States v. Lee, 790 F.3d 12, 18-19

(1st Cir. 2015); United States v. Walker, 665 F.3d 212 (1st Cir. 2011) (applying the “pattern”

enhancement where the defendant was convicted of multiple counts of cyberstalking, each count

emanating from a particular communication, along with a years-long history of other stalking and

threatening behavior); United States v. Fiume, 708 F.3d 59 (1st Cir. 2013) (applying the pattern

where defendant assaulted his wife in 2010, which resulted in a protective order, then violated the

protective order in 2015 by sending a series of threatening communications); see also United States

v. Sayer, 748 F.3d 425, 431 (1st Cir. 2014) (noting that the two-point enhancement was for “long-

term pattern[s]” of stalking, threatening, or harassing behavior) (emphasis added).

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       The First Circuit’s interpretation is logical because the statute itself requires a “course of

conduct,” 18 U.S.C. § 2261A, which is in turn defined as “a pattern of conduct comprised of 2 or

more acts evidencing a continuity of purpose.” 18 U.S.C. § 2266(2). Under the government’s

interpretation, the enhancement is no different than the “course of conduct” element of the crime

and would result in the application of the enhancement in every cyberstalking case. That cannot

be the purpose of an enhancement which implies an additional meaning or concern.

       Here, the offense conduct was confined to a two-week time-period. Although there were

multiple tweets and deliveries—all initiated by other members of the conspiracy—the entire

episode is more fairly characterized as a single “pattern of conduct comprised of 2 or more acts

evidencing continuity of purpose” rather than separate instances of activity or a long-term pattern.

As for the part of the activity in which Mr. Cooke engaged, the white knight strategy, while

multiple messages were involved, it was all part of a singular effort over a two-week period to

obtain the victims cooperation to learn the identity of Fidomaster, who Baugh said was threatening

CEO Devin Wenig and his family.

       Application Note 3 provides that in determining whether (b)(1)(E) applies, the court shall

consider “under the totality of the circumstances, any conduct that occurred prior to or during the

offense; however, conduct that occurred prior to the offense must be substantially and directly

connected to the offense.” There was no “prior” conduct alleged. To determine whether or not

the “during the offense” prong should be applied to Mr. Cooke, a closer look at his conduct is

warranted. Because Mr. Cooke was not involved in the surveillance, role play, and threatening

deliveries in which his co-conspirators engaged, and those acts were not reasonably foreseeable to

him, that conduct should not be attributed to him personally as conduct that occurred “during the

offense.”



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       A.      Mr. Cooke’s position at eBay

       At the time of events in August 2019, Mr. Cooke was Senior Manager of Security

Operations for eBay’s Global Security Team where he earned an annual salary of

approximately $185,000. He was hired into that position by eBay in April 2019, and he was

responsible for safety at eBay’s buildings in Europe, the Middle East, and Asia, as well as the

global operations center in Austin, which remotely monitors all of eBay’s properties. He was

the same rank as Gilbert and Popp at the time of the offense. He had three direct reports,

none of which were involved in this investigation. He did not supervise or utilize the Global

Intelligence Center in this position. He reported to Dan Cory, Director of Security

Operations, who reported to Jim Baugh.

       By June 2020, following the termination of Jim Baugh and Brian Gilbert, he was

promoted by eBay to Director of Security Operations. He continued to report to Dan Cory,

who had been promoted to Senior Director of Safety and Security; in this position, Mr. Cooke

made an annual salary of approximately $205,000. Ex. 1 (Mr. Cooke’s eBay cards from

before and after his promotion).

       B.      Mr. Cooke’s involvement in the cyberstalking conspiracy.

       On or about August 6, 2019, Baugh informed Mr. Cooke that Fidomaster had threatened

Devin Wenig and his family. Baugh believed victims 1 and 2 had information about the identity

of Fidomaster, and Mr. Cooke understood that the purpose of sending harassing Twitter messages

to the victims was to make them receptive to eBay’s offer of assistance, such that the victims would

provide eBay with Fidomaster’s identity to help the security team protect Wenig and his family.

       Mr. Cooke attended a meeting on August 6, 2019, with Baugh, Popp, and Gilbert, where a

plan was discussed to send harassing and anonymous Twitter messages to victim 1 so she would

be more receptive to eBay’s assistance, and hopefully provide eBay with the identity of

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Fidomaster. 10/27/2020 Plea Transcript, at 29 (conduct that the government describes as the “white

knight strategy”). The use of the @Tui Elei account was discussed. The group also discussed

using a friendly persona, one that also had been created prior to the August 6th meeting, that the

victims might respond to positively. Mr. Cooke suggested changes to a draft message that Popp

showed him at the meeting to tone it down. As for the message ultimately sent on August 7, 2019,

Mr. Cooke did not view that message as threatening. See, PSR Paragraph 27.

       While Mr. Cooke agreed with the “white knight strategy,” he did not “approve” the

messages. See, PSR Paragraphs 14 and 27 at FN 3. None of the co-conspirators, including Popp,

reported to him or were supervised by him. Whatever Baugh may have represented to Popp about

Mr. Cooke’s role, Mr. Cooke did not know or understand that he had any authority or responsibility

whatsoever to “approve” any of the messages that were sent to the victims. 1

       With regard to the remainder of the activities discussed in that meeting, Mr. Cooke warned

the group that they should not proceed, and agreed with Gilbert’s warnings that the suggestions

were ill-advised. More specifically, with regard to the publication of the victims’ address, Mr.

Cooke told the group that such a practice was illegal in California. He also told the group that in

California, the messages could not be threatening, and if the victims said “stop,” the messages had

to stop. When surveillance was discussed, Mr. Cooke told the group it was dangerous and that



1
 According to her plea agreement, Popp was a “a manager or supervisor (but not an organizer or
leader)” in the cyberstalking conspiracy. U.S. v. Stephanie Popp, et al. 20-cr-10098-WGY
(Docket #30), p. 3. The government applied no such designation to Mr. Cooke. Baugh was the
ultimate supervisor for all of the co-conspirators; he supervised Harville, and Popp directly; he
supervised Gilbert and Mr. Cooke indirectly through Dan Cory; and he supervised Stockwell and
Zea indirectly through Popp. Baugh directed and controlled all of the activities undertaken in the
conspiracy (e.g. PSR Paragraphs 37, 39, 43-48, and 54); and he was the organizer and leader of
all of the misconduct alleged by the government. See, Indictment in U.S. v. Jim Baugh and David
Harville, et al. 20-cr-10263-PBS (Docket #33), passim. Popp was Baugh’s de facto Chief of
Staff. Id. at Para 3. Popp was at the same level employee at eBay as Cooke and Gilbert.

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they should contact a Massachusetts private investigator, and not undertake surveillance

themselves. Mr. Cooke supplied Mr. Baugh the name and contact information for a Massachusetts

Private Investigator. When deliveries of unwanted items were discussed, Mr. Cooke told the group

that while deliveries might seem funny, the Postal Inspectors would not look kindly on the misuse

of the mails. He also explained that deliveries, like messages, could not be threatening. When

role play was discussed, and Mr. Cooke told the group that it was unwise, that the victims would

likely call the police. When use of a possible GPS tracking device was discussed, Mr. Cooke

warned trackers were illegal in California and possibly illegal in Massachusetts and suggested

contacting a Massachusetts private investigator to find out. By the end of the meeting, Mr. Cooke

believed Baugh had accepted his advice not to send threatening messages, not to do their own

surveillance, not to use a tracker without first finding out if it was legal, not to use role play, not

to use the mails improperly, and not to send threatening deliveries. He also believed his long-time

friend and colleague from the Santa Clara Police Department, Brian Gilbert, would keep Baugh in

line.

          At the time of the August 6 meeting, Mr. Cooke was scheduled to leave on August 9, 2019,

for a long-planned trip to Asia, Europe and the Middle East, where he was expected to join his

immediate boss, Dan Cory, to address eBay’s security concerns with properties in those areas of

the world. On August 7, 2019, Baugh instructed Mr. Cooke to cancel his overseas trip and stay to

help with the “operation.” Mr. Cooke defied the instruction from his boss’s boss, and on August

8, 2019, left work mid-day to pack for his long-planned trip to Asia, Europe, and the Middle East.

          While overseas where he was traveling alone, Mr. Cooke drank heavily. On August 20,

2019, while in India, Mr. Cooke’s saw and responded to a draft Twitter message from Gilbert, to

which he acquiesced with a “thumbs up emoji” and later assented to a plan to use multiple accounts



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to send the message string with a “copy all.” See, PSR Paragraphs 69 and 70. At the time he

received the draft message set forth in PSR Paragraph 69, Mr. Cooke was unaware that his co-

conspirators had attempted surveillance in Massachusetts (PSR Paragraphs 71 and 72); that Popp

might have engaged in role play at the victims’ house (PSR Paragraph 73); or that Baugh had

directed creation of fake person-of-interest reports to conceal their activities (PSR Paragraph 74).

As described in PSR Paragraph 39, Baugh directed that all deliveries, Craigslist posts, and spam

was to stop Wednesday night (August 14, 2019), while Mr. Cooke was in China. According to

the PSR, the last surveillance ended on August 16, 2019 (PSR Paragraph 59), also while he was in

China. He was not involved in any of those activities himself, and he did not know they were

being undertaken by others until after he responded to Gilbert’s draft Twitter message.

       Mr. Cooke often found the information he did receive incredible, not believing that Baugh

would actually direct and that others participate in the activities described. Mr. Cooke regularly

deleted messages from Baugh because so many of them were entirely inappropriate for the

workplace and because he believed Baugh was “messing with him.” In his few months at eBay,

Mr. Cooke had received inappropriate and false messages from Baugh, and he had difficulty

distinguishing which ones were serious.

       C.      Application of facts to pattern of activity enhancement.

       While Mr. Cooke joined the plan to engage in a “white knight strategy” to send harassing

and anonymous Twitter messages to soften up the victims for eBay’s security team’s assistance,

and viewed at least some draft messages in connection with that scheme, he was not personally

involved in two or more separate “instances” of harassing the same victim. His involvement is

more fairly described as a single “course of conduct” or “a pattern of conduct comprised of 2 or

more acts evidencing a continuity of purpose pattern of activity.” The conduct took place over a



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two-week period between August 7 and August 21, 2019. While it is true that on August 21, 2019,

Popp used three different Twitter accounts where one user asked for victim 1’s address, and

another user responded to that “guest [sic] I have to pay [victim 1] a visit,” the series of messages

was a single inclusive event designed to frighten the victims that an unhappy eBay seller intended

to visit their home. The use of three accounts does not change the essential singular character of

this harassment, which had one purpose of setting up Gilbert’s “white knight” call (PSR Paragraph

88) with the hope of uncovering the identity of Fidomaster.

       Further support for this interpretation of the enhancement is set forth in Application Note

3 which provides an example of where “a defendant engaged in several acts of stalking the same

victim over a period of years….” Here, the time-period involved was limited, and all of the

activities were directed to a singular purpose. Moreover, if the surveillance and threatening

deliveries are the basis for finding multiple instances, such activities were not reasonably

foreseeable to Mr. Cooke who believed his co-conspirators were talked out of such misconduct at

the August 6 meeting. Because these activities were not reasonably foreseeable to him, they should

not be considered conduct that occurred “prior to or during the offense” to be attributed personally

to Mr. Cooke. Other than some of the Twitter messages that comprised the “White Knight

strategy,” Mr. Cooke did not engage in or know about acts of harassment of the victims until after

he responded to Gilbert’s draft Twitter message on August 20.

       If the two-level enhancement for “pattern of activity” is not applied to Mr. Cooke as regards

either victim group, the Adjusted Offense Levels in Paragraph 134 and 140 will be 20, the

Combined Adjusted Offense Level will be 22, and the Total Offense Level will be 19 (30 – 37

months). If the Court follows the advisory USSG calculations of the parties, the Government

agreed to recommend a six-month downward variance from the low end based on Mr. Cooke’s



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relative culpability, as Mr. Cooke understands it. Para. 4. If the Court’s calculation of the advisory

USSG range is lower than the parties, the government will recommend the same 30 months, despite

the fact that Mr. Cooke’s relative culpability does not change. Para 4. The defendant requests that

this Court consider a downward variance from its ultimate calculation of the advisory USSG to

more appropriately reflect a sentence that is sufficient, but not greater than necessary, to

accomplish the goals of sentencing in connection with Mr. Cooke.

II.     A DOWNWARD VARIANCE IS APPROPRIATE UNDER 18 USC §3553(a)
        FACTORS

        A.     History and Characteristics of Mr. Cooke

        Prior to events in this case, Mr. Cooke led an exemplary life, one devoted to his family,

friends, and community. For decades, he was a dedicated, decorated, and hard-working public

servant who made his community a safer and better place to live. But for these crimes, Mr. Cooke

has led a truly admirable life, as the many persons who speak on his behalf attest.

               1.      Mr. Cooke’s History

        Mr. Cooke is 56 years old, born in Stamford Connecticut to a first-generation immigrant

Irish family, moving to Peabody Massachusetts a few years later. On the east coast, his family

enjoyed close family and friends nearby, and in Peabody, the boys played hockey and baseball,

and were in cub scouts. Exhibit 2 (Letter of Eileen Cooke) at 1. The family relocated to San Jose,

California when he was 12 years old, and bought an affordable home in a neighborhood with –

unbeknownst to them – significant drug and gang issues. Mr. Cooke’s mother describes the move

difficult because they “knew no one and no [one] knew us, so many mistakes, from Catholic to

public schools, and the neighborhood was not the best.”

        Out of high school in 1984, Mr. Cooke joined the Marine reserves because he believed it

was the best choice. Id. After six years of service, in 1990, he was honorably discharged as a

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Corporal. PSR Paragraph 177. By leaving the neighborhood, Mr. Cooke worked with colleagues

and made friends with individuals who had better life plans. He followed their lead, applied for,

and accepted a job as a correctional officer in the California Department of Corrections, where he

served for two years, from 1987 to 1989. Ex. 3 (Resume) at 2. While working in the prison, in

1988, he was commended for stopping what could have been an inmate perpetrated homicide.

PSR Paragraph 184; Ex. 4 (DOC commendation letter). In 1989, he received an AS degree in

Administrative Justice from West Valley College in Saratoga, California. Ex. 3, at 3.

       In 1989, Mr. Cooke joined the Santa Clara Police Department, where he served honorably

just under 28 years, ultimately retiring as a Captain. PSR Paragraph 182. He was a uniformed

patrol officer from 1989 to 1994; an undercover narcotics detective from 1994 to 1997 (for two of

the years in undercover narcotics, Gilbert was his partner); a property crimes detective from 1997

to 1998; a persons crime detective from 1998 to 2000; and a crisis and hostage negotiator from

1997 to 2000, which was a collateral assignment. Ex. 3 at 2.

       In 2000, Mr. Cooke was promoted to Sergeant. For the next four years, he led six to ten

person patrol teams and small detective units. He was lead detective on hundreds of investigations

involving fraud, burglary, theft, sexual assaults, robberies and homicides. Id.   Retired Captain

Greg Hill of the Santa Clara Police Department provided an illuminating example of the high

regard in which Mr. Cooke was held by his colleagues:

               Phil spent most of his career in our Investigations Bureau. When we had a criminal
               investigation involving one of our officers, it was common for Phil to be given the
               investigation as the primary investigator or to assist the primary investigator. This
               was due to his skill as an investigator and his relentless pursuit of the truth.

Ex. 5 (Letter from Retired Captain Greg Hill), at 1. Mr. Cooke was also the crisis and hostage

negotiator team leader. Officer Pablo Lopez, one of Mr. Cooke’s mentees, who met Mr. Cooke

on a ride-along in Police Explorer training in his senior year in high school explained:

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               I recognized Phil as the person who was the Gold Standard of police officers. Phil
               always had the answer on how to proceed with an investigation or a call for service,
               and always chose the most reasonable path to resolve matters. Phil was so willing
               to help others that he became a Hostage Negotiator, and eventually, a Sergeant on
               the Hostage Negotiations Team.

Ex. 6 (Letter of Officer Pablo Lopez), at 1. Officer Lopez concluded that Mr. Cooke changed his

[Officer Lopez’s] life (and the lives of [Officer Lopez’s] future wife and children) and made the

community safer for his work in the Police Department. Id. at 1 and 2. As he explained: “Phil

would take on many of the sex abuse and assault cases against children as many of the other

detectives did not want to take them on.” He continued, “[w]atching Phil investigate crimes was

both educating and heartbreaking. Phil investigated crimes ranging from undercover narcotics

cases, robbery and child sex crime investigations, to homicide investigations.” Id. Officer Lopez

explained that no person “can be expected to investigate a brutal homicide of two children and

go back to his own family and act like it was a normal day and work, but Phil did.” Id. Officer

Lopez pointed out that “Phil has spoken for the victims of homicides and child sex crimes when

they could not speak for themselves.” Id. His dedication and handling of the job impressed his

oldest son, Dustin, who noted:

               I distinctly remember a ride along I had with Phil while he was working as a
               police officer when I was a child. There were multiple people in custody
               throughout the day who told me things like: “your dad is the nicest cop” or “your
               dad has really helped me get in the right direction.” I remember being astonished
               that even those in custody felt admiration toward Phil.

Ex. 7 (Letter of Dustin Rothschild), at 1,

       In 2004, Mr. Cooke obtained his B.S. in Business Administration from the University of

Phoenix (PSR Para. 176), which he needed for any further promotion in departmental

management. After he received his BA degree in 2004, he was promoted to Lieutenant where he

supervised the sergeants and oversaw various units. He led the special response team (SWAT),



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the special enforcement team, the hostage negotiations team, multiple patrol teams, the traffic unit,

and the records unit. He spoke on behalf of the department and provided training. Ex. 3 at 2.

          In 2012, he was promoted to Captain. As Captain, he managed the Operations Division

including a $30 million budget, the personnel development and management of 129 full-time

employees, and managed all aspects of patrol, traffic, and the special response team (SWAT). He

also managed the Special Events Division, providing public safety at all planned special events

within the city from small events to 80,000 person events at Levi’s Stadium. He also managed the

Investigations Division with its $18 million budget and 52 employees which investigated person

and property crimes. He also managed undercover operations, police records, and a five-person

special enforcement unit. Id, at 1. When he was promoted to Captain, he was nominated and

selected to attend the FBI National Academy ten-week training course for police managers. Id.,

at 2.

          In 2016, Mr. Cooke was chosen as Incident Commander for Super Bowl 50 as someone

his colleagues trusted to put in the hard work to get a difficult job done. As Retired Captain Hill

explained, “[h]e was also selected to lead the entire department when Super Bowl 50 came to our

city. We had other Captains who could have taken this on, but everyone knew he was the Captain

who could make everything work (and he did).” Id. For his work as Incident Commander at that

event, Mr. Cooke received the California Commendation Medal from the Army General. Ex. 8.

As his nephew, Ryan Cooke explained, “he was recognized for his planning abilities, leadership

and patience in pulling together local, state, and federal law enforcement, emergency response,

military, and public safety agencies.” Ex. 8 (Letter from Ryan Cooke), at 1. During the event,

there were three air space violations that required action, a number of protestors, and a number of

police arrests, all that were handled effectively and without incident. Id.



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        Mr. Cooke retired on December 24, 2016. Upon his retirement, he received the ASIS

American Lifetime Achievement Award. Ex. 9.

        After retirement, he applied for and was approved for full industrial retirement benefits,

which under the CalPers retirement program, essentially means he was awarded a full disability

retirement based on service-related injuries, dated as of his original retirement date. See, PSR

Paragraph 167; Ex. 10 (disability payment form showing approval on p. 2, to original date of

retirement on p. 3); see also https://www.calpers.ca.gov/page/active-members/retirement-

benefits/service-disability-retirement.

        Mr. Cooke found retirement difficult because of the boredom and lack of purpose. He

went from intense, long hours at work where he contributed to the community every day to

having nothing to do. While he had been a heavy drinker in the evenings in the years before he

retired, upon retirement, he drank much more heavily. PSR Paragraph 172. As explained by his

wife:

               When Phil retired at the end of 2016, the amount and frequency of his
               consumption of alcohol increased dramatically. He often wouldn’t remember
               things that happened when he drank, and it was frustrating to even speak with him
               when he had been drinking because he wasn’t understanding what I was saying.

Ex. 11 (Letter of Deborah Rothschild), at 10. This wife encouraged him to return to work

believing that having hard work and purpose would relieve the boredom and reduce the drinking.

Id. at 10.

        Accordingly, after about a year in retirement, in 2018, Mr. Cooke accepted a position as a

contractor with Progressive Force Concepts in Las Vegas, Nevada as Assistant Team Leader for

an Emergency Response team that was tasked with providing armed plain clothes emergency

response at high-tech fortune 500 campuses in San Jose, California. In that position, he spent

time at private security jobs in Silicon Valley, including eBay. PSR Paragraphs 180-181. As a

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result, while the job provided a place to go, a purpose, and new colleagues, it did not resolve his

drinking problem. As his wife explained that she was wrong thinking his going back to work

would help with the drinking problem:

                 I did not know about the drinking culture at eBay and Facebook. First, he worked
                 as a contractor for eBay which has a bar on campus where he would drink with
                 his coworkers. They would often leave that bar and go over to a local
                 bar/restaurant and continue drinking until late at night. Then he started working
                 at Facebook where they allowed drinking during the day and would often have
                 free alcohol available.

Ex. 11, at 10.

       In April 2019, he became employed full-time at eBay, as discussed above. In that role,

he continued to drink heavily, especially with his friends and colleagues. As noted above, eBay

had a bar on campus that opened at 3:00 p.m., and drinking was part of the culture, with alcohol

present throughout the office space where it was typical to take morning shots of alcohol with

co-workers. PSR Paragraph 172. His wife explained:

                 When he returned to eBay as an employee, Phil’s drinking problem became even
                 worse. I remember one time Phil didn’t come home from work until around 4am
                 the following day. When I asked him where he had been, he said he closed down
                 a bar with his coworkers and slept in his car for a few hours until he felt safe to
                 drive home. I knew Phil and his coworkers had a liquor cabinet at work, but what
                 I didn’t know until later was they were taking shots of alcohol in the morning.

Ex. 11, at 10.

                 2.     Mr. Cooke’s Characteristics

       As his wife of 28 years describes, “Phil is: kind, caring, generous, considerate, dependable,

honest, hardworking, dedicated, and sincere. He puts others needs before his own, and he has an

enormous amount of integrity. He is a wonderful: husband, father, son, friend, coworker,

employee, boss, and overall person.” Ex. 11, at 1. Those themes are repeated throughout the letters

of the persons who speak on behalf of Mr. Cooke. He spent a lifetime helping others, working



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long hours, performing multiple kindnesses for family and friends, and prior to this instance of

incredibly bad judgment, living life well and with good purpose, serving his community and

making it better place.

                          a.   Hard work and devotion to duty

       Mr. Cooke worked incredibly hard as a police officer for Santa Clara County. His wife

describes the long hours he devoted throughout his career, missing birthdays, anniversaries,

Mother’s Days, Thanksgivings, and Christmas’s due to work obligations.” Ex. 11, at 8. His sister-

in-law noted that even while raising three boys, Mr. Cooke took on special assignments that

“required considerable risk, hours, and sleepless nights.” Ex 12 (Letter of Karen Rothschild), at

3. When he worked undercover narcotics for three years, “he would sometimes not return home

for several days without being able to call.” Id.

       Mr. Cooke did not just work hard at his job. In 1998, after working long hours, on days

off, he assisted his mother taking care of his father who was fighting cancer. Id., at 2. In 2001, as

a Detective, Mr. Cooke needed to make more money to support his growing family. To be

promoted, he needed a Bachelor’s Degree, which despite his already long hours at the job, he

obtained by studying nights and weekends on-line. Id., at 4. His sister-in-law, Karen Rothschild

notes that “Phil was a very hard-working policeman, taking on many overtime hours and sleepless

nights. He would sleep with his work phone on and often be awakened in the middle of the night.

He had many friends on the force and there was a deep code of loyalty between them. He was

respected by his superiors and was promoted quickly through the ranks.” Ex. 12, at 2-3.




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                       b.      Loyalty and kindness

        In addition to his devotion to his job and the long hours worked, Mr. Cooke gave of himself

to family and friends. His loyalty and kindness are widely regarded as among his strongest

qualities by those who know him best.

        His mother described when Mr. Cooke was a young policeman, and his father was fighting

cancer, “Phillip on his days off took care of his dad 3 days a week.” Ex. 2, at 2. The family had

no bathroom downstairs, and “Philip would take his father upstairs in his wheelchair to have a

shower, he wanted me to be able to keep my job in a pension company, he said it would be good

for my health.” Id. Mr. Cooke’s father died of thyroid cancer in 1991. PSR Paragraph 159.

        Mr. Cooke’s older brother, Jamie, passed away in 1996 from a drug overdose. PSR

Paragraph 161. As his mother, Eileen, explained, when Jamie passed away, it was “a very dark

day in our lives,” but he left a beautiful grandson, Ryan. Ex. 2, at 2. Mr. Cooke “always made

sure to spend time with Ryan because of the loss of his dad,” and included Ryan in the family

trip to Ireland. Id.

        Another person whom Mr. Cooke assisted through difficulties was Maurice Lawlor, his

mother’s second husband. As Mr. Lawlor’s daughter, Ann Lawlor Goyette, relates:

                As Dad grew older, he became mentally less agile. He particularly loved to recite
                (and repeat) poetry from his school days – often at random intervals. Phil liked to
                drop by Dad’s house to sit with him and visit for hours at a time. Phil shared news
                and listened to Dad’s stories and poems. Dad was very engaged in these
                conversations and looked forward to Phil’s visits. Phil was very patient and kind.
                He brought Dad great joy and for that, I am forever grateful.

Ex. 13 (Letter of Ann Lawlor Goyette), at 1. Ms. Goyette went on to describe what she

characterized as the greatest example of Mr. Cooke’s kindness as his “extraordinary relationship

with his mother.” Id. She explained that:




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                As long as she has known him, Phil has been the foundation of Eileen’s happiness
                and wellbeing. He is readily at her side, in good times and bad. He stops in for a
                cup of tea, a scone and a chat. They communicate daily and vacation together,
                nationally and internationally. After my dad died, Eileen moved within a few
                miles of Phil and his family, and she has built her world around them. Id.

        When his sister-in-law was hospitalized during aggressive cancer treatments, she

described Mr. Cooke and his wife’s contributions: “Phil and his wife stepped in to help with my

daughters. Phil and my sister would drive my girls around to different classes and sports

training, running to the store beforehand to get them dinner and to bring to them between

activities.” Ex. 13, at 5.

        Similarly, Mr. Cooke’s considerateness and willingness to take care of others was noted

by his wife, who explained that two of his mother’s elderly friends had theater tickets, and “Phil

was concerned with Joe driving in the dark and parking in a very crowded parking lot to come to

the theater. So Phil offered to pick Mary and Joe up. He decided to pick them up with Lyft so

we could be dropped off in front of the theater making it easier for Mary and Joe to walk in.” Mr.

Cooke and his wife have been taking them to the theater ever since. Ex. 12, at 8-9.

        Local friend Carra Sunseri describes Mr. Cooke as “the first to offer help with anything,

small or large.” Ex. 14 (Letter of Carra Sunseri), at 1. She explains that “for years he took good

care of making sure my boys and I were physically and emotionally safe and comfortable when

my husband would be away for long periods for work.” Id.

        Local friend Marni Jasso explained that she admires the “bond and partnership he and his

wife share.” Ex. 15 (Letter of Marni Jasso), at 1. She describes it as “a special and unique

partnership.” Id. Ms. Jasso further opined that “[h]e would give the shirt off of his back for anyone

in need. For the past three years, we have all attended the ‘Wounded for Warriors’ project

fundraiser together. Philip is passionate about serving others.” Id.



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                       c.     Selflessness and service

       His wife, Deborah Rothschild explains, “Phil has been an incredibly positive role model

for his family demonstrating the importance of service, hard work, sacrifice, dedication, and the

importance of taking care of those who cannot care for themselves.” Ex. 11, at 10. While children

do not always follow their parents’ lead, Mr. Cooke’s modeling of selflessness and service took

root in his own. As Karen Rothschild notes, “[a]ll three boys were model teenagers and have a

deep devotion and respect for their parents.” Ex. 12, at 3.

       Mr. Cooke’s first son, Dustin, became an emergency room nurse. Mr. Cooke met Dustin

when Dustin was 2 years old, and he raised him as his own. Karen Rothschild, Deborah’s sister,

saw how devoted Mr. Cooke was to her sister and her sister’s young son, and observed that “this

level of devotion and loyalty to a woman and her 2-year-old in a 27-year-old man was quite

unusual and admirable.” Ex. 12, at 2. Dustin was working in a Seattle emergency room as a

Registered Nurse when Covid-19 hit. He extended his travel nurse contract several times, working

around the clock to help sick patients. Ex. 11, at 11. Dustin became very sick with Covid himself,

but did not tell his family until he was better because he did not want to worry them. Id. When

he recovered, he returned to work, and donated plasma to help others. Id.; See also, Ex. 7.

       Mr. Cooke’s second son, Shea, joined the Army after high school. Shea focused on his

father’s selflessness and concern for Shea when Mr. Cooke described this case and its possible

consequences to Shea. Shea noted that his father’s “primary concern was not that he would be

going to prison for a number of years. Instead, he was primarily concerned about how this will

impact me [because of Shea’s security clearance and the background investigations required].” Ex.

16 (Letter of Shea Cooke), at 1. Shea continued, “I realize that I should not have been surprised

at how selfless he was being. As long as I have known him, I have never once seen my father put



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himself in front of others.” Id. Shea went on to describe how when the stress from a deployment

in a rural outpost in Syria nearly brought him to the breaking point, he thought about how strong

his father was over a lifetime as a police officer, and found the strength to make it through those

first six months in Syria. Id. at 1-2. Shea left for a second tour of duty in November 2020.

       Mr. Cooke’s third son, Evan, is still a college student. Evan has been accepted and is

transferring to UC Santa Barbara as a Junior, majoring in finance, this September after completing

his first two years at De Anza Junior College. This incident has been hard on Evan, and Evan still

has trouble speaking about the incident and its impact on himself and his family.

       His wife even attributes her own focus on caring for others in part to Mr. Cooke’s modeling,

as well as his support and inspiration, particularly with regard to shifting her career from physical

fitness generally to working with seniors and those dealing with cancer, osteoarthritis, joint

replacement, as well as stroke survivors. Ex. 11, at 11.

               3.      Health Issues

       As his wife explained, “[b]ecause he puts others needs before his own, Phil doesn’t take

care of himself.” His sister-in-law described the physical harm he suffered to himself while taking

care of others in the line of duty. One of the injuries was incurred when Mr. Cooke climbed a two-

story building with his arms where the escape ladders were locked. A dangerous suspect was

heading to the roof where his officers were located, so he scaled the building to try to help protect

them. This effort caused considerable damage to his shoulder, which resulted in an extensive

surgery and recovery. Ex. 11, at 4.

       In April 2013, his wife noted that Mr. Cooke was obviously sick but refused to take time

off to go to the doctor. Ex. 11, at 6. His wife finally took him herself. Id. As soon as the doctor

examined him, she called 911. Id. The emergency room physician noted that if Mr. Cooke had



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been brought in even a few minutes later, he would have died. Id. That led to nearly a year of

“hospital stays, 911 calls, emergency room visits, time in ICU, and a long recovery which left his

heart and lungs permanently damaged.” Id. As Karen Rothschild summed up, Mr. Cooke ended

up “with a very serious case of pericarditis which required emergency heart surgery and caused

permanent damage to his heart.” Ex. 12, at 3.

       Since the heart injury, Mr. Cooke continues to suffer from occasional uncontrolled

increases in heart rate that result in dangerous arrythmias, that in the past have been life

threatening. Ex. 11, at 6. He is prescribed Tenormin which, if taken daily, generally controls the

increased heart rate. Some days he needs access on an as-needed basis to an additional dose if the

single daily dose doesn’t sufficiently control his heart rate. PSR Paragraph 168. Whether and to

what extent any BOP facility to which Mr. Cooke is assigned can timely respond to Mr. Cooke’s

heart issues is not now known, but timely access to the important medication as needed is critical

for Mr. Cooke.

       Since June 2020, when he agreed to plead, Mr. Cooke has seen a court-ordered therapist as

part of his pre-trial release. Through that work, he ultimately appreciated and accepted that he is

an alcoholic, recognized that boredom and lack of purpose are triggers for him, and has become

and remained sober. His wife attests that he has not been drunk since June 2020. Ex. 11, at 10.

Through therapy and to address his need for meaningful activity, Mr. Cooke completed an

addiction recovery training program in California where he both attends and facilitates multiple

weekly meetings for substance abusers, and also trained to facilitate meetings for the friends and

families of substance abusers. See, Ex. 17 and 18 (certificates of completion of training).




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       B.      Nature and Circumstances of the Offense.

               1.      Cyberstalking conspiracy

       While the cyberstalking crime itself is serious, Mr. Cooke’s participation in the conspiracy

was limited. He did not obey Baugh’s instruction to stay in the United States and assist. He did

not travel to Boston to conduct surveillance or make deliveries or engage in role play, and he did

not know that his co-conspirators had done so before August 20, 2019, when he was in India. On

August 20, 2019, he responded to Gilbert’s message regarding sending a series of anonymous and

harassing Twitter messages designed to obtain the victims cooperation in identifying Fidomaster,

whom Baugh had described to him as personally threatening CEO Devin Wenig and his family.

At that time, the other activities directed by Baugh including surveillance, role play, and

threatening deliveries were not reasonably foreseeable to Mr. Cooke because he thought Baugh

had been persuaded not to engage in these more threatening behaviors at the August 6 meeting.

       Under the circumstances, the USSG calculation overstates the seriousness of the offense

for Mr. Cooke where a single course of conduct was involved that impacted two victims, as

opposed to injuring two victims in entirely different episodes. See, United States v. Hernandez

Coplin, 24 F.3d 312, 319 n.7 (1st Cir. 1994)(finding the Guidelines overstated the seriousness of

an offense by requiring separate groups for each victim, explaining that harm to two victims in one

course of conduct is “less culpable than injuring two victims in two entirely different episodes.” A

similar type of analysis was undertaken by the First Circuit in United States v. Montijo-Maysonet,

974 F.3d 34, 53–54 (1st Cir. 2020), where the First Circuit distinguished between an agreement to

commit the same crime or the use of mails and wires sent to further the same scam, and Montijo's

two trips to the motel with an underage victim to expose her to two different sexually-charged

encounters — away from familiar surroundings — to which she couldn't legally consent.



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Likewise, in United States v. Nedd, 262 F.3d 85 (1st Cir. 2001), the court addressed an interstate

threats and interstate violation of a restraining order case involving multiple victims. There, the

defendant made multiple threats targeting the same individual, but each threat (except one) also

named a different one of the primary victim’s family members as well. Id. at 92-93. Nonetheless,

in Nedd, the First Circuit analyzed which counts involved the same conduct and same group of

victims. Id.

       To be clear, Mr. Cooke agrees that the grouping rules under Application Note 8 of USSG

§ 3D1.2 envision two different groups, one for each victim (see, e.g., United States v. Vasco, 564

F.3d 12, 23 (1st Cir. 2009)), but he believes that in this case, where his participation was limited

and the same course of conduct impacted two victims, the resulting USSG calculation overstates

the seriousness of the offense for him. Even though the offense conduct resulted in

“independent, personal, and deeply traumatic effects” to two separate victims (see Nedd at 92),

the Twitter messages were sent to further a single course of conduct designed to ultimately

obtain the identity of Fidomaster.

               2.      Witness Tampering Conspiracy.

       Regarding the conspiracy to commit witness tampering, Mr. Cooke was worried for his

friends and colleagues, and particularly Gilbert, who had been a close friend and colleague for

more than 25 years in the Santa Clara Police Department and who had been his partner in

undercover narcotics for two years. He did not want his friends to get in trouble. He is utterly

remorseful for this conduct. Although it is no excuse, in the August 20-22 time period, when the

witness tampering occurred, Mr. Cooke was in India alone and inebriated. As a result of being

drunk, Mr. Cooke did not fully comprehend the extent of the misconduct toward the victims and

his judgment was impaired; he found it nearly impossible to believe after prior discussions that



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his friends and colleagues could or would engage engaged in surveillance, role play, and

threatening deliveries that he learned may have happened. He is utterly remorseful for his

involvement in misleading the Natick police. He knew better. It was inconsistent with

everything he stood for as a police officer for decades.

       Although it is of no solace to him at this time, it is significant that Mr. Cooke did not

compound that mistake by lying to eBay investigators. As specifically noted at the plea hearing

by the prosecutor, Mr. Cooke did not lie to eBay. 10/27/19 Plea Transcript, at 28. As described

in PSR Paragraphs 108-122, Mr. Cooke was not involved in the scheme to conceal information

from eBay investigators and their outside counsel.

       C.      Need for the Sentence Imposed.

       Mr. Cooke recognizes that among other factors, this Court will consider incarceration to

promote respect for the law and to provide just punishment for the offense, as set forth in 18 U.S.C.

§ 3553(a)(2)(A). Given Mr. Cooke’s lack of any criminal history, the Bureau of Prisons will likely

assign him to serve any period of incarceration imposed at a minimum-security prison. However,

even those who have been so assigned are required to quarantine, sometimes for two weeks in

solitary confinement, before entering the prison population. That time can be extended if a

prisoner is inadvertently exposed to another incoming inmate or person who may have been

exposed. Additionally, because of COVID-19, the circumstances of imprisonment are more severe

than incarceration in the past, with less ability for prisoners to engage in teaching, classes,

recreation, or other more communal pursuits. As a result, a period of incarceration is harsher than

in the past, and those difficult conditions should inform what type of sentence is necessary to

provide just punishment and provide respect for the law.




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       As to general deterrence under § 3553(a)(2)(B), the risk of imprisonment—as opposed to

the length of time in prison—deters others. The eBay matter has received intense media coverage,

particularly in California where eBay is located and where Mr. Cooke lives. A bright spotlight has

been shined on all participants, but has particularly impacted those who lived and worked in Santa

Clara County their entire adult lives. An unequivocal message has been sent to the public through

this press: it is against the law to use the internet to harass with the intent to cause substantial

emotional distress, and certainly to lie to the police.

       With regard to the need to protect the public from further crimes of Mr. Cooke, §

3553(a)(2)(C), there is no need for any prison sentence at all. Mr. Cooke is no longer employed

at eBay, and it is improbable that he will ever be employed in private security again. Importantly,

the traumatic experience of this prosecution to Mr. Cooke and his family assure that he will not

commit another criminal act, even in a misguided attempt to protect others. Mr. Cooke has

dedicated this past year to changing and improving his life – addressing his substance abuse issue,

finding purpose through his volunteer work, and recommitting to the quality of life he lived before

events in this case. He views these changes as vital to himself, his family, and his community.

       Finally, under § 3553(a)(2)(D), Mr. Cooke is unaware of any necessary educational or

vocational training, medical care, or correctional treatment that could be more effectively provided

in an institutional setting; U.S. Probation has identified him as a potential candidate for the

Residential Drug Abuse Program by the Bureau of Prisons. Of note, his completion of the training

for a substance abuse program in California, including his participation both as a participant and

as a facilitator for others, to which he is committed to continuing, provides an effective means of

dealing with his substance abuse problem.




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       D. Avoiding Unwarranted Sentencing Disparities -- Relative Culpability.

       Mr. Cooke is the first defendant in this crime to be sentenced, there are no other sentences

currently imposed. Four other defendants have been convicted (Gilbert, Popp, Stockwell and Zea);

two defendants have been indicted (Baugh and Harville). Accordingly, an examination of what

the government has said it intends to recommend based on what others did is illuminating.

       As indicated above, the Government agreed to a six-month downward variance for Mr.

Cooke from the USSG calculations as agreed by the parties based on, as Mr. Cooke understands

it, his relative culpability. Under the Plea Agreement, the recommendation for a downward

variance disappears if the Court calculates the USSG lower than the parties. While under the Plea

Agreement, the government will recommend 30 months no matter what the Court ultimately

determines the advisory USSG calculation to be, the facts about Mr. Cooke’s involvement in the

activities relative to others and his history and characteristics do not change.

       Without question, Baugh was the ringleader of the misconduct, directing others to carry

out his plans – whether travel to Boston, surveillance, role play, deliveries of unwanted items, or

threatening mailings, all as set forth in the Indictment. He supervised Popp and Harville directly,

and all of the other participants indirectly. He has not been convicted at this time.

       According to the government’s charges, Harville travelled to Massachusetts to participate

in the surveillance activity and attempt to install a tracker on the victims’ car. U.S. v. Jim Baugh

and David Harville, et al. 20-cr-10263-PBS (Docket #33), Para. 16w, z, aa, bb, and ff-ii. He has

also not been convicted at this time.

       Popp was Baugh’s de-facto Chief of Staff, and she supervised the younger women who

arranged unwanted and sometimes disturbing deliveries, misused the mails, and participated in

surveillance activities. She pled guilty last fall. In her plea agreement, the government calculates


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her TOL at 24 (51 to 63 months) based upon her supervisory role, but has agreed to recommend

41 months (a ten-month reduction from the low end of the advisory USSG). U.S. v. Brian Gilbert,

et al. 20-cr-10098-WGY (Docket #30; Popp Plea Agreement), p. 3. Popp was the same level

employee at eBay as Gilbert and Mr. Cooke. Popp was deeply involved in the underlying events

and was directly and personally involved in many of the activities that are the focus of this

prosecution at the direct instructions of Baugh. U.S. v. Brian Gilbert, et al. 20-cr-10098-WGY

(Docket #1; Information), passim; (Docket #27 -- Plea Transcript; government statement of facts

for Popp), pp. 36-38. She participated in key meetings including a meeting on August 6 regarding

the white knight strategy, a meeting on August 6 regarding the delivery of unwanted and disturbing

items to the victims’ home, and a meeting on August 14 regarding surveillance and installation of

a GPS tracker. Indictment in U.S. v. Jim Baugh and David Harville, et al. 20-cr-10263-PBS

(Docket #33), Paragraph 16a, b, and w. She personally sent the Tweets to the victims. Id,

Paragraph 16, passim. She personally travelled to Boston to replace Harville on the surveillance

team. Id., Paragraph 16mm and qq.

       The two younger women, Zea and Stockwell, both of whom have pled guilty and both of

whom reported to Popp, were members of the Global Intelligence Center, acting based upon the

express instructions of Baugh. U.S. v. Brian Gilbert, et al. 20-cr-10098-WGY (Docket #27 – Plea

Transcript; government statement of facts for Zea), pp. 35-36. The government assigned them

TOL 19 (30-37 months) based on a minor role reduction, with an agreement to recommend 30

months for Zea and 24 months for Stockwell. U.S. v. Brian Gilbert, et al. 20-cr-10098-WGY

(Docket #33 – Zea Plea Agreement; Docket #43 – Stockwell Plea Agreement).

       Gilbert also pled guilty. His TOL, like Mr. Cooke’s is 21 (37 to 46 months), and the

government indicates it will seek a 37-month sentence. U.S. v. Brian Gilbert, et al. 20-cr-10098-



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WGY (Docket #42 – Gilbert Plea Agreement), at 3. Like the other defendants in his case, Gilbert

operated under Baugh’s direction; however, unlike Mr. Cooke, Gilbert was on the ground in

Massachusetts, handling interactions with the Natick Police Department, and involved directly

with at least some of the other co-conspirators in real time, according to his Information (Docket

#1). However, because of the significant extent to which Baugh siloed information about the

inappropriate activities he was directing, Gilbert also may have been unaware of the full scope of

the misconduct, including some of the activities he and Mr. Cooke warned against at the August 6

meeting.

                                         CONCLUSION

       Mr. Cooke respectfully requests that he be sentenced to home confinement for whatever

period the Court believes is necessary, 12 months supervised release, a $200 special assessment,

no restitution (as none has been requested), and no fine. He requests the Court to find that no fine

is warranted because his wife’s income will be insufficient to pay his family’s living expenses and

she will need his pension for the family’s expenses. He believes that such a sentence would be

sufficient, but not greater than necessary, to accomplish the purposes of sentencing set forth in §

3553(a).




                                                     Respectfully submitted,

                                                     /s/ Susan G. Winkler
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                                       Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      /s/ Susan G. Winkler
July 20, 2021                                         Susan G. Winkler




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


    UNITED STATES OF AMERICA

         v.                                              No. 20-cr-10263-PBS

    JIM BAUGH, et al.


           DEFENDANT JIM BAUGH’S MOTION TO COMPEL DISCOVERY

        Defendant, Jim Baugh, moves to compel discovery pursuant to Fed. R. Crim. P. 16, Local

Rule 16.2, Brady v. Maryland, 373 U.S. 83 (1963), and the inherent power of the Court to order

discovery as appropriate. Specifically, the Court should order the prosecution to produce requested

materials concerning Mr. Baugh’s work, while in the private sector, assisting U.S. government

intelligence and/or law enforcement agencies with various undercover operations from 2014 to

2018. The requested materials are relevant and exculpatory as to the mens rea elements of the

charged offenses and a potential defense of necessity.

                                       BACKGROUND1

The Charges

        The prosecution alleges that Defendant, Jim Baugh, along with other eBay employees and

contractors, harassed, intimidated, and surveilled a couple (“Victims 1 and 2”), who published an

online newsletter (“Newsletter”) about eBay and other ecommerce companies. The alleged

objectives of the charged conspiracy, according to the Indictment, were “to distract the Victims

from publishing the Newsletter, to alter the Newsletter’s coverage of eBay, and to gather


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 This background narrative is presented for the purpose of this Motion only. It is substantially
based on the charging documents and materials produced by the government in discovery. Mr.
Baugh does not concede that any particular facts or allegations, many of which are outside his
personal knowledge, are true or accurate.
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information that the defendants and their co-conspirators could use to discredit the Victims and

the Newsletter.” D.E. 33 (Indictment) ¶ 12.

        Specifically, the fifteen-count Indictment charges that, in violation of 18 U.S.C. § 371, Mr.

Baugh conspired (i) to travel in interstate commerce to stalk the Victims and (ii) to use the facilities

of interstates commerce to cyber-stalk them (Count I). D.E. 33. It also charges the substantive

offense of stalking in violation of 18 U.S.C. § 2261(A)(1)(B) (Counts II and III) and cyber-stalking

in violation of 18 U.S.C. § 2261(A)(2)(B) (Counts VI and VII). Further, the Indictment charges

that, in violation of 18 U.S.C. § 1512(b)(3), Mr. Baugh committed witness tampering against a

Natick Police Department (“NPD”) detective (Count X) and eBay investigators (Count XI).

Finally, it charges that, in violation of 18 U.S.C. § 1519, Mr. Baugh obstructed a federal

investigation into the charged conspiracy by directing a colleague to falsify a document (Count

XIII) and by destroying data on his cellphone (Count XIV). 2

        At the time of the alleged conspiracy, in August and September 2019, Mr. Baugh served

as eBay’s Director of Safety and Security and, in that capacity, oversaw Global Security and

Resiliency (“GSR”), a division responsible for the physical security of eBay’s employees and

facilities. D.E. 33 ¶ 1. He also worked with other employees and contractors, including co-

defendant David Harville (eBay’s Director of Global Resiliency) and separately charged

defendants Brian Gilbert, Philip Cooke, Stephanie Popp, Stephanie Stockwell, and Veronica Zea.

Gilbert and Cooke were retired police captains working in GSR who were responsible for various

security operations. Id. ¶¶ 6-7. Popp, Stockwell, and Zea operated eBay’s Global Intelligence




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  The Superseding Indictment includes parallel counts against co-Defendant, David Harville, for
all but two of the substantive charges (Counts IV, V, VIII, IX, XII, and XV).
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Center (“GIC”), an intelligence and analytics group within GSR that supported the company’s

overall security operations. Id. ¶¶ 3-5.

       eBay’s senior corporate leadership, including CEO Devin Wenig and SVP Steve Wymer,

believed the Victims and their Newsletter posed an existential threat to the company as well as a

personal safety threat to executives and their families because of the Newsletter’s contents, the

comments that its readers posted online, and the hostility toward the company and its executives

the Newsletter and comments provoked. D.E. 33 ¶ 10.

       Concerns that false, misleading, personal, and inflammatory content in the Newsletter

could incite actual physical violence preoccupied eBay’s executives—and, as a result, Mr. Baugh

and his eBay security team, too. In the wake of the April 2018 mass shooting at YouTube

headquarters, the large, open eBay “campus” comprised of multiple buildings in San Jose was

viewed as particularly vulnerable. And the eBay “Open” conference, which draws a large, often-

fractious collection of eBay sellers to Las Vegas every year, was also viewed as high-risk. Indeed,

the 2019 conference was held at the Mandalay Bay, the same site where one of the nation’s worst

mass shooting incidents had taken place in 2017.

       In an effort to distract the Victims from publishing the Newsletter, to alter its coverage,

and to gather information that might discredit the Victims, Mr. Baugh allegedly conspired with

eBay colleagues to “harass and intimidate the Victims” by sending “repeated and hostile Twitter

messages” to the Victims and “deliveries of unwanted – and in some instances disturbing – items”

to their home. Id. ¶¶ 11-12. In addition, Mr. Baugh allegedly conspired with his co-defendants to

place the Victims “under surveillance” by travelling from California to Massachusetts to “conduct

physical surveillance.” Id.




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       On or about August 15, 2019, Mr. Baugh travelled from California to Massachusetts with

Harville and Zea. Id. ¶ 16z. Later that same day, all three drove to Natick in a rental car. The plan

was to install a GPS tracking device on the Victims’ car, but the car was locked in their garage. Id.

¶ 16bb. Then, on August 16, 2019, Mr. Baugh, Harville, and Zea returned to Natick, repeatedly

drove past the Victims’ home, and followed Victim 2 as he drove around town. Id. ¶ 16ff, 16hh.

On or about August 18, 2019, Mr. Baugh, Popp (who had travelled to Boston on August 17, 2019,

and replaced Harville on the “surveillance team”), and Zea drove to Natick and, again, followed

Victim 2 in his car. Mr. Baugh and the others were spotted again, and Victim 2 was able “to take

a photograph of the surveillance team’s license plate.” Id. ¶ 16qq. Shortly thereafter, on August

20, 2019, Mr. Baugh texted Popp, Cooke, and Brian Gilbert to report that two different rental cars

had been “burned.” Id. ¶ 16rr.

       On or about August 21, 2019, an NPD detective came to the Boston hotel where Mr. Baugh,

Popp, and Zea were staying, “to investigate Zea and Harville’s connection” to the alleged

“cyberstalking campaign.” Id. ¶ 16vv. Mr. Baugh also learned that the NPD detective was looking

into the purchase of prepaid debit cards in Santa Clara, California, to order pizzas for delivery to

the Victims. Id. ¶ 16ddd. Mr. Baugh and Popp then “directed” Stockwell to create “a list of eBay

‘Persons of Interest’ in the San Francisco Bay Area” that Gilbert could use in talking with the NPD

to “deflect attention from Zea.” Id. ¶ 16eee.

       The charged conspiracy failed to accomplish its alleged objectives. Rather than distract the

Victims or change the content of their Newsletter, it prompted a local police investigation in

Massachusetts. After an NPD detective followed several clues back to eBay’s headquarters in

California, Mr. Baugh and other eBay employees and contractors allegedly lied to “eBay




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investigators,” destroyed records on “eBay-issued cellphones,” and removed computers from

eBay’s offices. Id. ¶¶ 13, 16jjj, 16lll, 16mmm, 16ooo.

Mr. Baugh’s Prior Covert Operations as a Security Contractor

       As the prosecution knows, earlier in his career, Mr. Baugh was a U.S. government agent

involved in national security activities. Later, while working as a private sector security contractor,

Mr. Baugh was enlisted from time to time by U.S. government agencies, via a “handler” from the

FBI, to conduct and assist those agencies with certain covert operations. These activities involved

conducting physical and electronic surveillance, engaging in physical trespass, using false

pretenses and fake identities, and gaining unauthorized access to private corporate computer

systems, documentation, and resources, all in support of certain national security objectives.

       For example, in one covert government operation, Mr. Baugh used private corporate

resources to facilitate installation of surveillance devices at a hotel to monitor a visiting head of

state and accompanying delegation from a hostile foreign power; he then secretly funneled the

government-provided cash back into the corporation’s finance system to reimburse the costs. In

another operation, Mr. Baugh surreptitiously obtained falsified corporate credentials, without the

company’s consent, to permit a government agent to attend meetings between corporate employees

and a visiting foreign delegation. In yet another operation, Mr. Baugh used false pretenses to help

arrange meetings between a suspected foreign agent (target) and an undercover federal agent who

pretended to be a business consultant retained by Mr. Baugh, in order help the undercover agent

form a close relationship with, and obtain compromising information about, the target.

       Mr. Baugh was consistently instructed by his FBI handler to stick with his false “cover

story” if confronted or questioned by local law enforcement or corporate representatives about his

actions in connection with these covert government operations.



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       eBay executives were well aware of Mr. Baugh’s background, and they expected he would

use strategies and tactics that he learned in service of the U.S. government to address what they

characterized as the existential threat posed by the Newsletter. eBay’s General Counsel, Marie

Huber, had advised executives and Mr. Baugh that ordinary legal tools were unlikely to be

effective in addressing issues posed by the Newsletter and a Twitter account believed to be

associated with the Victims. Executives therefore turned to Mr. Baugh to solve the problem by

less conventional means. SVP Wymer’s direction to Mr. Baugh, cc’ed to GC Huber, could not

have been more clear:

       I genuinely believe these people are acting out of malice and ANYTHING we can
       do to solve it should be explored. Somewhere, at some point, someone chose to let
       this slide. It has grown to a point that is absolutely unacceptable. It’s the “blind eye
       toward graffiti that turns into mayhem” syndrome and I’m sick about it. Whatever.
       It. Takes.

D.E. 3-2 (Cmplt. Aff.) ¶ 49.

The Requested Discovery.

       By letter dated June 29, 2021, Mr. Baugh requested, inter alia, the following items in

discovery:

                Documents sufficient to identify activities performed by Mr. Baugh
                 authorized by or in support of U.S. government intelligence or law
                 enforcement agencies or operations from 2014 to 2018.

                Documents concerning or comprising any agreements between Mr.
                 Baugh and U.S. government agencies relating to the activities
                 referenced in the previous request.

                Documents concerning or comprising written instructions or
                 warnings provided to Mr. Baugh relating to the activities referenced
                 in the previous two requests.

D.E. 62 ¶¶ 6-8.

       The prosecution, “[w]ithout confirming or denying the existence of any of the described

activities, agreements, instructions, or warnings for the period between 2014 and 2018, …

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decline[d] to produce such records.” D.E. 67 at 3-4. It asserted the information is “irrelevant

because it predates the existence of the conspiracy alleged in the Indictment.” Id. at 4. Moreover,

implicitly admitting that the information, at minimum, would be relevant to the “degree of the

defendant’s culpability” under Local Rule 116.2(b)(4), the prosecution argued that the information

is not discoverable yet: “To the extent you seek information in the government’s possession that,

assuming it existed, would tend to diminish the degree of the defendants’ culpability, Local Rule

116.2(b)(4) requires only that a written summary of any information be provided before the earlier

of a plea or the defendant’s submission of objections to a Presentence Investigation Report.” Id.3

         The prosecution is wrong. Because the requested information is potentially exculpatory

and material to preparing Mr. Baugh’s defense, it must be turned over now. And even under the

prosecution’s narrow and jaundiced view of its obligation as limited to pre-plea sentence

mitigation, Mr. Baugh cannot meaningfully weigh whether to consider a plea without access to

the requested materials now. Finally, even if discovery were not yet required under the Local

Rules, delay under these circumstances is a waste of resources and inconsistent with the

prosecution’s obligation to seek justice, not simply a conviction.

                                          ARGUMENT

         The requested information is material to Mr. Baugh’s state of mind. Did he “intend” to

“harass” the alleged victims, using various means including physical surveillance, as the federal

stalking statute requires? Did he “corruptly” engage in misleading conduct as the witness

tampering statute requires? Or, instead, did he act in good faith, believing his actions to be

appropriate and necessary to avoid greater harms? Even if such a belief appears erroneous or




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    Notably, the government has not invoked the declination provision of Local Rule 116.6.
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unreasonable today, with the benefit of hindsight, Mr. Baugh is entitled to develop and present

evidence bearing on his state of mind at the time of alleged conduct at issue.

       Evidence concerning Mr. Baugh’s prior participation in U.S. government-sponsored covert

operations that employed physical surveillance and other arguably unlawful means in service of a

greater good (that is, to avoid greater perceived or potential harm), and any instructions and

warnings his official handler may have provided (e.g., to maintain a false “cover story” in response

to inquiries from local law enforcement or corporate representatives) would be exculpatory and

material to as evidence that tends to negate specific intent and/or support an affirmative defense

of actual or perceived necessity.

I.     Legal Standard

       The government has a constitutional “duty to disclose evidence in its possession that is

favorable to the accused and material to guilt or punishment.” United States v. Prochilo, 629 F.3d

264, 266 (1st Cir. 2011) (citing Brady v. Maryland, 373 U.S. 83 (1963)). The Local Rules further

provide:

               [e]xculpatory information includes, but may not be limited to, all
               information that is material and favorable to the accused because it
               tends to:
               (1) Cast doubt on defendant’s guilt as to any essential element in
               any count of the indictment or information;
               (2) Cast doubt on the admissibility of evidence that the government
               anticipates offering in its case-in-chief, that might be subject to a
               motion to suppress or exclude . . . .;
               (3) Cast doubt on the credibility or accuracy of any evidence that the
               government anticipates offering in its case-in-chief; or
               (4) Diminish the degree of the defendant’s culpability or the
               defendant’s Offense Level under the United States Sentencing
               Guidelines.

Local Rule 116.2(a) (emphasis added).

       In addition, the criminal discovery rules provide that



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               [u]pon a defendant’s request, the government must permit the
               defendant to inspect and to copy or photograph books, papers,
               documents, data, photographs, tangible objects, buildings or places,
               or copies or portions of any of these items, if the item is within the
               government's possession, custody, or control and:
               (i) the item is material to preparing the defense;
               (ii) the government intends to use the item in its case-in-chief at trial;
               or
               (iii) the item was obtained from or belongs to the defendant.

Fed. R. Crim. P. 16(a)(1)(E) (emphasis added); see Local Rule 116.1(c)(1)(A) (requiring

production of Rule 16 material within 28 days of arraignment). Thus, under Local Rule

116.1(c)(1)(E) and Fed. R. Crim. P. 16(a)(1)(E), the government must permit the inspection of

requested documents, within 28 days of arraignment, if they are “material to preparing the

defense.” Fed. R. Crim. P. 16(a)(1)(E)(i).

        Materiality is a low threshold: The First Circuit has observed that

               Rule 16’s mandatory discovery provisions were designed to
               contribute to the fair and efficient administration of justice by
               providing the defendant with sufficient information upon which to
               base an informed plea and litigation strategy; by facilitating the
               raising of objections to admissibility prior to trial; by minimizing
               the undesirable effect of surprise at trial; and by contributing to the
               accuracy of the fact-finding process.

United States v. Lanoue, 71 F.3d 966, 976 (1st Cir. 1995), abrogated on other grounds by United

States v. Watts, 519 U.S. 148 (1997). Information is material even if it does not ultimately lead to

a viable defense. See United States v. Hernandez-Meza, 720 F.3d 760, 768 (9th Cir. 2013)

(“[i]nformation is material even if it simply causes a defendant to completely abandon a planned

defense and take an entirely different path”).

II.     The Court Should Order the Requested Discovery

        The requested information is exculpatory and material to Mr. Baugh’s mens rea, which is

directly at issue in both the stalking and witness tampering charges. See Fed. R. Crim. P.

16(a)(1)(E)(i). Moreover, to the extent the requests include agreements, warnings, and other

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documents that Mr. Baugh actually signed, they constitute materials “obtained from” him to which

he is automatically entitled. See Fed. R. Crim. P. 16(a)(1)(E)(iii).

         In order to obtain a federal “stalking” conviction under 18 U.S.C. § 2261A, the government

must prove, among other things, that Mr. Baugh travelled in interstate commerce “[with] the intent

to kill, or injure, or harass, or intimidate, or place under surveillance with the intent to kill, injure,

harass or intimidate, the person named in the Indictment.” United States v. Walker, 665 F.3d 212,

224 (1st Cir. 2011); see 18 U.S.C. § 2261A(1); see also Pattern Crim. Jury Inst. for the District

Courts of the First Circuit 4.18.2261A.4 That specific intent must exist at the time of the interstate

travel. See United States v. Casile, 490 Fed. Appx. 470, 2012 U.S. App. LEXIS 15872 (3d Cir.

Aug. 1, 2012).

         In order to obtain a witness tampering conviction under 18 U.S.C. § 1512(b)(3), the

government must prove that Mr. Baugh knowingly and corruptly persuaded or attempted to

persuade, or engaged in misleading conduct toward an identified person with the intent to hinder,

delay, or prevent communication of information to federal law enforcement. Construing that

statute, the Supreme Court has emphasized that “[o]nly persons conscious of wrongdoing can be

said to ‘knowingly . . . corruptly persuade.’” Arthur Andersen LLP v. United States, 544 U.S. 696,

705-06 (2005) (ellipsis in original).

         As to both sets of charges, Mr. Baugh is entitled to present evidence that he did not have

the requisite mens rea—the specific intent to harass the Victims, or to corruptly tamper with a

witness. While the government always bears the burden to prove mens rea elements beyond a

reasonable doubt, Mr. Baugh may request a “good faith” instruction. See Pattern Crim. Jury Inst.




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    Available at https://www.med.uscourts.gov/pdf/crpjilinks.pdf .


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for the District Courts of the First Circuit § 5.02 (“Evidence has been presented of [defendant’s] [.

. . good faith. . .]. Such [ ] may be inconsistent with [the requisite culpable state of mind]”); United

States v. Sturm, 870 F.2d 769, 777 (1st Cir. 1989) (“Jury instructions that allow a conviction even

though the jury may not have found that the defendant possessed the mental state required for the

crime constitute plain error.”).

        Relatedly, Mr. Baugh can also seek to establish the necessity or, at least, the good-faith

perceived necessity of his conduct. That affirmative defense would require Mr. Baugh to prove

that he “(1) was faced with a choice of evils and chose the lesser evil, (2) acted to prevent imminent

harm, (3) reasonably anticipated a direct causal relationship between his acts and the harm to be

averted, and (4) had no legal alternative but to violate the law.” United States v. Lebreault-Feliz,

807 F.3d 1, 3-4 (1st Cir. 2015).

        The circumstances here indicate that Mr. Baugh: (1) believed the Victims and the

Newsletter posed a grave and imminent threat in the form of incitements to violence against eBay

personnel; (2) believed the alleged actions would avert the threatened harm; (3) was told by the

GC Huber that “ordinary” legal tools were ineffective to neutralize that threat; (4) had previously,

at the U.S. government’s direction and with its authorization, engaged in surveillance, trespassing,

and misleading activities similar to those charged here, in what he understood to be necessary for

the greater good. The requested discovery would show that Mr. Baugh was previously hired to

engage in similar conduct by the U.S. government; he reasonably understood the conduct was

lawful or, at least, necessary; and he undertook that conduct not to “harass or intimidate” or to

“corruptly” mislead but to serve important national security objectives. Such evidence would help

to demonstrate Mr. Baugh’s good faith.




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        Stated differently, evidence that Mr. Baugh previously engaged in surveillance and other

arguably unlawful activities believing them to be justified, supports the inference that he did so

here, too. In United States v. Lee, 790 F.3d 12 (1st Cir. 2015), the First Circuit found that historical

evidence of the defendant’s abuse of his former wife was relevant (and admissible) in a § 2261A

stalking prosecution, not only to show the victim’s state of mind but “relevant to [the defendant’s]

motive or intent” as well. Id. at 16-17 (emphasis added). If such evidence is relevant and admissible

when offered to show an inculpatory state of mind, as in Lee, it is similarly relevant and admissible

to show an exculpatory state of mind.

                                           CONCLUSION

        For the foregoing reasons Mr. Baugh respectfully requests that this Court order the

government to provide the discovery requested in paragraphs 6-8 of his June 29, 2021 letter.


                                                Respectfully submitted,

                                                JIM BAUGH

                                                by his attorneys,

                                                       /s/ William Fick
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                                                Daniel N. Marx (BBO #674523)
                                                Amy Barsky (BBO # 601111)
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                                                ABARSKY@FICKMARX.COM

                                  CERTIFICATE OF SERVICE

        I caused the foregoing document to be served, by ECF filing August 16, 2021, on the parties
registered for ECF notices in this case.

                                                /s/ William Fick

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                 From: WiSiiam Fick<w7^;^3^..kn.a?''<,.:;o"n>
                 Sent: Tuesday, November 23, 2021 11:33 AM
                 To: Pirozzolo, Jack ^^j^iQ^.SiM^i^y^: Danle! Marx
                 <^;^ar;< nci\'n^r'x.corn>
                 Cc: Alessi, Kathryn L. <K3lesi;;53:die, ;oni>; Nonaka,Scott
                 <i;-op3"3®.iidievcom>: Domina, Drew A. <i:i3o'ni!^u3;:a:t s^>, Feith,
                 Danie! J. <dreii:;^@^Jdl£Y.con";>
                 Subject: RE: US v. Baugh, 20-cr-10263

                 Jack:

                 We write in response to your letter dated November 22, 2021,and to
                 follow-up on the various meet-and-confer discussions chronicled in that
                 letter, in an ongoing effort to narrow potential areas ofdispute
                 concerning the subpoenas served on eBay. Nothing in our proposals,
                 here and in priorcommunications and discussions, should be
                 interpreted as an admission that the Subpoena as drafted was
                 overbroad, unduly burdensome, or without legal basis. Nor should any
                                       "concessions"
                 particular proposed                  about scope in this email be viewed
                 as binding, should we be unable to reach agreement on other aspects
                 ofthe Subpoena. Rather, as in any negotiation, we are engaging in give-
                 and-take discussions aimed at reaching a potential compromise to
                 resolve or narrow disputed matters.
                 As noted, should we reach agreement regarding production of any
                 arguably privileged materials, we are prepared to work with you to
                 accomplish that in a way that minimizes the risk of others claiming a
                 waiver ofthose arguably applicable privileges.
                 We propose the following;
                 Request1
                 Based on your representations about the forward-looking nature of the
                 "Guidepost
                            Solutions" exercise, we are prepared to agree that log entry
                 238 can be excluded from the scope ofthe request.
                 The PowerPoint presentation to the USAO is clearly not privileged. We
                 believe itfallssquarelywithintheambitofNixon (assumingwithout
                 conceding that Nixon controls over Mr. Baugh's constitutional right to
                 compulsory process) and should be produced in its entirety, not merely
                     "portions
                 the            of the presentation that refer to" Mr. Baugh.
                 With regard to the other responsive documents, we continue to believe
                 that Mr. Baugh's constitutional rights to defense overcome eBay's
                 corporate privilege, but we could agree that the materials be redacted
                 to conceal legal advice and to disclose only findings of fact.
                 Reauest 2
                 We are prepared to limit the scope of this request to 2019.
                 Request 3
                 As noted previously, we are prepared to accommodate production in a
                 manner to minimize the risk that third parties may claim eBay vvaived




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                 any arguably applicable privileges,
                 Request 4
                 Based on your representations about the nature of interviews in and
                 after 2020, we are prepared to limit the scope of production to
                 materials concerning interviews conducted in 2019. However, we are
                 not prepared to limit the scope to "charged individuals." At a minimum,
                 without limitation, the production should also include interview
                 materials for Wenig, Wymer, and Jones.
                 Request 5
                 We are prepared to limit the scope of this request to the full forensic
                 extraction (UFED or comparable) of Mr. Baugh's phone, subject to the
                 understanding that eBay will cooperate should we need to obtain a
                 native copy and/or business record certification for other
                 communications or documents already disclosed to the government,
                                                          "See
                 e.g., the 8/25/29 Wenig communication          you tomorrow. The
                 Cavalry is back" referenced at E_000021 (EBAY-BAUGHPRIV_00007).
                 Reauest 6
                 We are prepared to limit the scope of this request to communications
                 from January through September 2019. Arguably privileged, responsive
                 communications during this time period, some ofwhich included Mr.
                 Baugh, provide critical contemporaneous context to the alleged offense
                 conduct, at a time when eBay executives, including Wenig, Wymer, and
                 Jones, were arguably unindicted co-conspirators. Accordingly, Mr.
                 Baugh's constitutional rights clearly overcome eBay's assertion of any
                 corporate privilege, and these materials easily satisfy the Nixon
                 standard.
                 We would welcome further discussion if it could be fruitful in reaching
                 compromise.
                  Bil




                 From: Pirozzoio; Jack <j0[;'02zoio@5id|ev,coni>
                 Sent: Monday, November 22, 2021 5:02 PM
                 To: William Fick <mu.Ju£i&teaama>; Daniel Marx
                 <ar'n3:"x;&r<c;-:?'!'^rx.con';>
                 Cc: Alessi, Kathryn L. <Mi.a^         iSSft; Nonaka, Scott
                 <sr'ion3ka;®ijol;=:v.corn>;Domina, Drew A. <da.          k^ffl2>; Feith,
                 Daniel J. <d--;;'!;£i;die;con;>
                 Subject: RE: USv. Baugh, 20-cr-10263

                 Ok. Thx,

                 JACK W. PIROZZOLO


                 SIDLEY AUSTIN LLP
                 60 State Street, 36th Floor
                 Boston.MA 02109




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